     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                                     Exhibit Page 1 of 680



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9
                             UNITED STATES BANKRUPTCY COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
11                                  NORTHERN DIVISION

12     In re                                   §     CASE NO. 9:16-BK-11912-DS
                                               §
13     CHANNEL TECHNOLOGIES                    §              Chapter 11
       GROUP, LLC,                             §
14         Debtor.                             §      ADV NO. 9:18-AP-01058-DS
15                                             §
                                               §
16     CORPORATE RECOVERY                      §
       ASSOCIATES, LLC, as Trustee for         §
17     the Liquidating Trust of Channel        §
18     Technologies Group, LLC,                §      MEMORANDUM OF POINTS AND
                                               §      AUTHORITIES IN SUPPORT OF
19             Plaintiff,                      §    PLAINTIFF’S MOTION FOR DEFAULT
               v.                              §    JUDGMENT AGAINST DEFENDANTS
20                                             §     PENGDI HAN AND DHAN, LLC
21     BLUE WOLF CAPITAL PARTNERS,             §
       LLC, et al.,                            §
22                                             §
               Defendants.                     §
23

24
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
25         PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT AGAINST
                 DEFENDANTS PENGDI HAN AND DHAN, LLC
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28
     Case 9:18-ap-01058-DS              Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                                      Desc
                                              Exhibit Page 2 of 680



                                                TABLE OF CONTENTS
1

2      I.     JURISDICTION ................................................................................................ 1

3      II.    DEFAULT JUDGMENT EVIDENCE ............................................................ 2

4      III.   PROCEDURAL BACKGROUND ................................................................... 3
5      IV.    LEGAL STANDARD......................................................................................... 4
6
       V.     RELEVANT FACTUAL BACKGROUND...................................................... 5
7
              1.       Acquisition of the Debtor ......................................................................... 5
8
              2.       The Blue Wolf Entities acquire HC Materials but Saddle the Debtor
9                      with Debt. ................................................................................................. 6
10            3.       The Blue Wolf Entities Plan to Divest the Debtor of its Assets before
11                     Bankruptcy ............................................................................................... 7

12     VI.    ARGUMENT ...................................................................................................... 9

13            1.       Plaintiff satisfies the procedural requirements for default judgment. .. 9
14            2.       Plaintiff satisfies each Eitel factor in support of default judgment. ...... 9
15            3.       Plaintiff is entitled to liquidated damages in the amount of
16                     $2,329,366.24. ......................................................................................... 17

17     VII. CONCLUSION ................................................................................................18

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28
                                                                  (i)
     Case 9:18-ap-01058-DS                 Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                                      Desc
                                                 Exhibit Page 3 of 680



                                                TABLE OF AUTHORITIES
1

2      Cases

3      Bay Area Painters & Tapers Pension Tr. Fund v. J&C Fuentes Painting &
            Decorating Co. Inc., Case No. 18-cv-04118, 2019 WL 2649842 (N.D. Cal.
4           2019) .................................................................................................................. 16
5
       Eitel v. McCool, 782 F.2d 1470 (9th Cir. 1987) ............................................. 4, passim
6
       In re Bellingham Ins. Agency, Inc., 702 F.3d 553, 561 (9th Cir. 2012) ...................... 1
7
       In re DRI Cos., 552 B.R. 195 (C.D. Cal. 2016) ............................................................. 1
8
       In re GGW Brands, LLC, 504 B.R. 577 (Bankr. C.D. Cal. 2013) .............................. 11
9
       In re Jose Antonio Zamora, et al., v. Muziknewum Nevada Irrevocable Spendthrift
10
             Trust dba Muzikneum, Adv No: 2:19-ap-01139-BB, 2020 WL 1272257, at *2
11           (Bankr. C.D. Cal. Mar. 16, 2020 ......................................................................... 1

12     In re Sinclair, No. 14-91565-E-7, 2017 WL 5952160 (Bankr. E.D. Cal. Nov. 29,
             2017) .................................................................................................................. 14
13
       Lehman Brothers Holdings Inc. v. Cafcalas, Case No. LA CV16-03167 JAK
14
           (PJWx), 2018 WL 6074597 (C.D. Cal. 2018) .................................................... 15
15
       Pension Plan for Pension Tr. Fund for Operating Eng’rs v. J&J Equip., Inc., Case
16          No. 18-cv-07419-KAW, 2019 WL 508878 (N.D. Cal. 2019) ............................. 16
17     Pepsico, Inc. v. Cal. Sec. Cans, 238 F.Supp.2d 1172 (C.D. Cal. 2002)................ 15, 17
18     Rath v. Defy Media, LLC, Case No. 2:18-cv-09624-ODW, 2019 WL 3067198 (C.D.
19          Cal. 2019)..................................................................................................... 14, 17

20     Television Sys., Inc. v. Heidenthal, 826 F.2d 915 (9th Cir. 1987)......................... 4, 14

21     United States v. Yermian, No. SACV 15-0820-DOC-(RAOx), 2016 WL 1399519
            (C.D. Cal. Marc. 18, 2016)................................................................................. 14
22
       Wells Fargo Bank v. Beltran (In re Beltran), 182 B.R. 820 (9th Cir. BAP 1995) ....... 4
23

24     Statutes

25     11 U.S.C § 548(a) ................................................................................................ passim

26     11 U.S.C. §550 ...................................................................................................... 12, 13
27

28
                                                                    (ii)
     Case 9:18-ap-01058-DS                Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                                    Desc
                                                Exhibit Page 4 of 680



       Cal. Civ. Code §§ 3439.04 ........................................................................................... 13
1

2      Other Authorities

3      50 U.S.C. §§3901........................................................................................................... 5

4      Bankruptcy Code Section 101(32)(A)......................................................................... 13

5      Cen. Dist. Cal. General Order No. 13-05 ..................................................................... 2
6      Rules
7
       FED. R. CIV. P. 4(e)(2)(A)......................................................................................... 3, 16
8
       FED. R. CIV. P. 55 ...................................................................................................... 3, 4
9

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                                                                   (iii)
     Case 9:18-ap-01058-DS          Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                     Desc
                                          Exhibit Page 5 of 680



       TO THE HONORABLE COURT:
1

2              Pursuant to Local Bankruptcy Rule 7055-1 and Federal Rule of Civil

3      Procedure 55, Plaintiff Corporate Recovery Associates, LLC, as Trustee for the
4
       Liquidating Trust of Channel Technologies Group, LLC (“Plaintiff” or “Trustee”)
5
       files this Motion for Default Judgment against Defendants Pengdi Han (“Han”) and
6
       DHAN, LLC (“DHAN”) (collectively, “Defendants”), and in support thereof, would
7

8      respectfully show the Court as follows:

9                                            I.      JURISDICTION
10
               This Court has jurisdiction to enter a final judgment against Defendants.
11
       Defendants Han and DHAN have failed to respond to the summons and complaint
12
       in this proceeding. As a sister-court in this District recently held, bankruptcy courts
13

14     do not need a defendant’s express consent to enter a final judgment in the form of a

15     default judgment in an adversary proceeding. See In re Jose Antonio Zamora, et al.,
16
       v. Muziknewum Nevada Irrevocable Spendthrift Trust dba Muzikneum, Adv No:
17
       2:19-ap-01139-BB, 2020 WL 1272257, at *2 (Bankr. C.D. Cal. Mar. 16, 2020)
18
       (“Numerous bankruptcy decisions handed down after the Supreme Court decided
19

20     Wellness Int’l Network, Ltd. v. Sharif, 135 S.Ct. 1932 (2015), have held that

21     bankruptcy judges may enter default judgments based on implied consent resulting
22
       from a defendant’s failure to respond to a summons and complaint.”). 1
23

24             1 But see In re Bellingham Ins. Agency, Inc., 702 F.3d 553, 561 (9th Cir. 2012) (“fraudulent
       conveyance claims [against a non-claimant to the bankruptcy estate], because they do not fall within
25     the public rights exception, cannot be adjudicated by non-Article III judges.”); see also In re DRI Co.,
       552 B.R. 195, 198 (C.D. Cal. 2016) (“However, the Ninth Circuit has explained that ‘§ 157(b)(1)
26     provides bankruptcy courts the power to hear fraudulent conveyance cases and to submit reports and
       recommendations to the district courts. Such cases remain in the core, and the §157(b)(1) power to
27     ‘hear and determine them’ authorizes the bankruptcy courts to issue proposed findings of fact and

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                                        PAGE 1
     Case 9:18-ap-01058-DS          Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                Desc
                                          Exhibit Page 6 of 680



              Alternatively, “even without consent, this Court may hear this fraudulent
1

2      transfer action and then submit a report and recommendation, along with proposed

3      findings of fact and conclusions of law, to the U.S. District Court for the Central
4
       District of California.” In re DRI Co., 552 B.R. at 198; see also Cen. Dist. Cal. General
5
       Order No. 13-05.
6
              Defendants have impliedly consented to this Court’s jurisdiction, and it is
7

8      appropriate for the Court to enter default judgment against Defendants. However,

9      to the extent that the Court believes it may not enter a default judgment against
10
       Defendants Han and DHAN, Plaintiff requests that the Court hear this matter and
11
       submit a report and recommendation along with proposed findings of fact and
12
       conclusions of law to the District Court, recommending that default judgment be
13

14     entered against Defendants Pengdi Han and DHAN.

15                            II.     DEFAULT JUDGMENT EVIDENCE
16
        EXHIBIT                                      DESCRIPTION
17
        A             Declaration of Richard Feferman (including Exhibit 1 thereto)
18      B             Declaration of Richard Bass (including Exhibit 1 thereto)
19      C             Plaintiff’s Second Amended Complaint
        D             Proof of Service for Defendant Pengdi Han
20      E             Proof of Service for Defendant DHAN, LLC
21      F             Affidavit of Non-military Status for Defendant Pengdi Han (including
                      Exhibit 1 thereto)
22

23

24

25

26     conclusions of law. Only the power to enter final judgment is abrogated.’ ”) (emphasis in original)
       (internal citations omitted).
27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                                    PAGE 2
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30       Desc
                                    Exhibit Page 7 of 680



                             III.   PROCEDURAL BACKGROUND
1

2            On November 5, 2018, Plaintiff filed its First Amended Complaint against

3      Defendants. On November 8, 2018, the summons and complaint were served on
4
       Han through personal service, pursuant to FED. R. CIV. P. 4(e)(2)(A). See Docket No.
5
       208 at 3 (Declaration of C. Orozco (Han) ¶ 4); see also Ex. D. The deadline for Han
6
       to answer the Complaint was December 7, 2018. Docket No. 208 at 1. Han, to date,
7

8      has not filed an answer or pleading constituting an answer, and has not entered an

9      appearance. C. Orozco Decl. (Han) ¶ 10.
10
             On April 5, 2019, the summons and complaint were mailed to DHAN,
11
       pursuant to FED. R. CIV. P. 4(e)(2)(A). See Docket No. 209 at 3 (Declaration of C.
12
       Orozco (DHAN) ¶ 4); see also Ex. E.       The deadline for DHAN to answer the
13

14     Complaint was May 6, 2019. Docket No. 209 at 1. DHAN, to date, has not filed an

15     answer or pleading constituting an answer, and has not entered an appearance. C.
16
       Orozco Decl. (DHAN) ¶ 10.
17
             On October 9, 2019, Plaintiff filed a Request for Clerk to Enter Default Under
18
       LBR 7055-1(a) against Defendants (Docket Nos. 208 and 209). On October 10, 2019,
19

20     the Clerk entered default against Defendants (Docket Nos. 210 and 211).

21           Plaintiff now files this Motion for Default Judgment and respectfully requests
22
       that the Court enter a default judgment against Defendants for actual and
23
       constructive fraudulent transfer of property under 11 U.S.C §§ 548(a)(1)(A) and
24
       548(a)(1)(B), and award Plaintiff $2,329,366.24 owed in principal and interest
25

26

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                      PAGE 3
     Case 9:18-ap-01058-DS       Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30            Desc
                                       Exhibit Page 8 of 680



       pursuant to the transfers, court costs, and pre- and post-judgment interest at the
1

2      statutory rate.

3                                     IV.    LEGAL STANDARD
4
              Courts have wide discretion in deciding whether to enter a default judgment
5
       under FED. R. CIV. P. 55(a) and (b). Wells Fargo Bank v. Beltran (In re Beltran), 182
6
       B.R. 820, 823 (9th Cir. BAP 1995). The Ninth Circuit has established seven factors
7

8      a court may consider in exercising its discretion to grant default judgment: (1) the

9      possibility of prejudice to the plaintiff; (2) the merits of plaintiff’s substantive claims;
10
       (3) the sufficiency of the complaint; (4) the sum of money at stake in the action; (5)
11
       the possibility of dispute concerning material facts; (6) whether the default was due
12
       to excusable neglect; and (7) the strong policy underlying the Federal Rules of Civil
13

14     Procedure favoring decisions on the merits (the “Eitel factors”). Eitel v. McCool, 782

15     F.2d 1470, 1471–72 (9th Cir. 1987). “Upon entry of default, all well-pleaded facts in
16
       the complaint are taken as true, except those relating to damages.” Television Sys.,
17
       Inc. v. Heidenthal, 826 F.2d 915, 917–18 (9th Cir. 1987). The court may consider
18
       evidence pertaining to damages may be submitted in connection with a motion for
19

20     entry of default judgment.

21            In addition, LBR 7055-1(b) requires, in relevant part, that the motion for
22
       default judgment must state: (A) the identity of the party against whom default was
23
       entered and the date of the entry of default; (B) whether the defaulting party is an
24
       infant or incompetent person; (C) whether the individual defendant in default is
25

26     currently on active duty in the armed forces of the United States, based upon an

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                             PAGE 4
     Case 9:18-ap-01058-DS         Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                  Desc
                                         Exhibit Page 9 of 680



       appropriate declaration in compliance with the Servicemembers Civil Relief Act (50
1

2      U.S.C. §§3901-4043); (D) when the individual defendant is the debtor, the party

3      seeking the default may rely upon the debtor’s sworn statements contained in a
4
       statement of financial affairs; and (E) that notice of the motion has been served on
5
       the defaulting party, if required by FED. R. CIV. P. 55(b)(2).
6
                            V.      RELEVANT FACTUAL BACKGROUND
7

8             As alleged in the Second Amended Complaint, and admitted by Defendants’

9      failure to answer, the essential facts of this case are as follows:
10
           1. Acquisition of the Debtor
11
              CTG designed and manufactured piezoelectric ceramics, transducers, sonar
12
       equipment.      Ex. C, Second Am. Compl. ¶ 22, June 28, 2019, Docket No. 156
13

14     (hereinafter “SAC”). In 2011, Blue Wolf Capital Partners, LLC (“BW Partners”) 2

15     learned that CTG may have been facing financial challenges and sought to acquire
16     it. Id. ¶ 24. On or about December 2011, BW Partners, acting through its executive
17
       management team, reached an agreement to purchase CTG. Id.                         BW Partners
18
       directed one of its wholly-owned and controlled subsidiaries—BW Advisors—to
19

20     direct another subsidiary owned and controlled by BW Partners—BW Fund—to

21     form and fund BW Piezo for the sole purpose of acquiring CTG. Id. With its
22     mezzanine structure of shell companies in place, in late December 2011, BW
23
       Partners acquired CTG as a subsidiary of BW Piezo. Id.
24

25

26     2Blue Wolf Partners, Blue Wolf Capital Advisors, L.P. (“BW Advisors”), Blue Wolf Capital Fund II,
       L.P. (“BW Fund”), BW Piezo Holdings, LLC (“BW Piezo”) are collectively referred to as the “Blue Wolf
27     Entities.”

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                                    PAGE 5
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30      Desc
                                   Exhibit Page 10 of 680



             After the acquisition, on December 28, 2011, BW Partners directed BW Piezo
1

2      to execute CTG’s Operating Agreement, naming BW Piezo as the sole owner and

3      member of CTG. Id. ¶ 25.
4
         2. The Blue Wolf Entities acquire HC Materials but Saddle the Debtor
5           with Debt.

6            After acquiring CTG, CTG’s management, under BW Partners’ control,
7      decided to expand the CTG’s business to medical, ocean, and mining applications.
8
       Id. ¶ 28.   To achieve this goal, CTG’s management began negotiations with
9
       Defendant Pengdi Han to acquire H.C. Materials, Inc.’s (“HC Materials”) assets. Id.
10

11     ¶ 31 (stating BW Piezo would create a new entity to hold HC Materials’s assets).

12     HC Materials was a crystal manufacturer with a focus on medical ultrasound
13     imaging, ocean mining, and ocean exploration systems. Id.
14
             Instead of having CTG purchase H.C. Materials’ assets directly, BW Partners,
15
       acting through BW Piezo, decided to create a new entity to hold the assets: CTG
16

17     Advanced Materials (“AM”). Id. ¶ 32. In October 2013, BW Partners, acting through

18     BW Piezo, forced CTG and its subsidiary to join BW Piezo and AM as borrowers.
19     Neither BW Piezo nor the new entity had the financial capability to purchase HC
20
       Materials’ assets.   So, BW Partners, acting through BW Piezo, forced CTG’s
21
       management to obtain financing for these assets. Id.
22

23           At the same time, BW Partners acting through BW Piezo, forced CTG to enter

24     into separate loan and investment agreements with other defendants in this action,
25     the Mezzanine Lenders.     Id. ¶ 33. The terms of loan with the Mezzanine Lenders
26
       were onerous to CTG. In exchange for (1) a security interest in all the CTG’s and
27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                     PAGE 6
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30       Desc
                                   Exhibit Page 11 of 680



       Electro-Optical Industries, LLC’s assets (a subsidiary of CTG), and (2) equity in BW
1

2      Partners’s shell company and in BW Piezo (CTG’s owner), the Mezzanine Lenders

3      lent BW Partners, BW Piezo, and CTG $14,000,000 to purchase H.C. Materials’s
4
       assets. Id. ¶ 34.
5
              The new entity named AM purchased H.C. Materials’s assets; however, the
6
       Blue Wolf Entities structured AM to be a sister company to CTG under the
7

8      ownership of BW Piezo, instead of as a wholly-owned subsidiary of CTG. Id. ¶ 36.

9      Additionally, BW Piezo received all of the assets of DHAN, LLC. Id.
10
              This paper segregation was fictional. Having surreptitiously structured AM
11
       as a sister company, BW Partners, acting through its executive management team
12
       and BW Piezo, nevertheless forced CTG to use its assets to make payments to the
13

14     Mezzanine Lenders and to CIT Bank, N.A. pursuant to the loan agreements, for the

15     benefit of AM. Id. ¶ 37. BW Piezo, CTG, and AM operated as alter egos of each other
16
       and the three entities regularly commingled funds and assets. See id. ¶ 39.
17
         3. The Blue Wolf Entities Plan to Divest the Debtor of its Assets before
18          Bankruptcy
19            After years of commingling assets and depleting CTG’s resources for the
20
       benefit of AM, BW Piezo, and BW Partners, BW Partners learned that CTG was
21
       insolvent. In late 2015, BW Partners, realizing that it needed to create separation
22

23     between BW Piezo, CTG, and AM prior to CTG’s bankruptcy, decided to sell AM. Id.

24     ¶ 42. BW Partners hired an investment bank to solicit offers for the sale of AM. Id.
25            Then, in March 2016, BW Partners, through its executive management team
26
       and BW Piezo, sold AM for approximately $73 million to CTS Corporation. Id. ¶ 46.
27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                      PAGE 7
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30           Desc
                                    Exhibit Page 12 of 680



       Instead of returning to CTG the proceeds from the AM sale, BW Partners, acting
1

2      through BW Piezo, structured the transaction to have CTS Corporation transfer the

3      proceeds to—among other lenders, insiders, and Blue Wolf Partners—Defendants
4
       Han and DHAN as bonus payments. Id. ¶ 46. Having liquidated and distributed
5
       CTG’s assets, Blue Wolf Capital Partners and its Manager began to position CTG to
6
       declare for bankruptcy. Id. ¶ 47. Blue Wolf was desperate to delay CTG’s filing for
7

8      bankruptcy protection for as long as possible to avoid the bankruptcy preference

9      period and protect the validity of the transfers relating to the sale of AM. Id.
10
             To delay CTG’s inevitable bankruptcy filing, in April of 2016, Blue Wolf
11
       Capital Partners and its Manager directed CTG to enter a prepetition lending
12
       agreement with BW Fund, to provide a cash infusion to CTG in exchange for a
13

14     security interest in CTG’s assets. Id. Then, in June of 2016, Blue Wolf sold one of

15     CTG’s most valuable subsidiaries, Electro-Optical Industries, at a cut-rate price to
16
       keep CTG from being forced to file bankruptcy for a couple of more months. Id.
17
       CTG’s manager filed for bankruptcy protection in October of 2016, leaving CTG’s
18
       other creditors “holding the bag” while Defendants and the Blue Wolf Entities
19

20     enjoyed the millions in distributions from the sale of AM. Id. ¶ 48.

21           After reaping the benefits of the AM sale, lending CTG money on highly
22
       favorable terms (and insuring its being paid back), and selling EOI, the Blue Wolf
23
       Entities directed CTG to file for bankruptcy in October 2016—after the statutory
24
       preference period had lapsed leaving CTG’s creditors “holding the bag.” Id. ¶ 48.
25

26

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                           PAGE 8
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30         Desc
                                    Exhibit Page 13 of 680



       Plaintiff, as Trustee for the Liquidating Trust of Debtor Channel Technologies
1

2      Group, LLC, then filed the instant action.

3            Plaintiff alleges actual and constructive fraudulent transfers, under both
4
       federal and state law, against Defendants Han and DHAN. See SAC, Claims A–D.
5
       Plaintiff alleges these fraudulent transfers were made to Han and DHAN by CTG,
6
       AM, and BW Piezo as alter egos of each other or as a single-business enterprise in
7

8      connection with the AM sale in March 2016. SAC ¶¶ 63–156.

9                                       VI.       ARGUMENT
10
         1. Plaintiff satisfies the procedural requirements for default judgment.
11
             Defendants Han and DHAN have failed to appear or otherwise participate in
12
       this action.   Plaintiff’s motion sufficiently identifies the parties against whom
13

14     default was entered and the date of entry for default. See Docket Nos. 210 and 211.

15     Moreover, Defendant Han is not an infant, incompetent person, or currently in the
16     military. See Ex. F, Affidavit of Non-Military Status for Defendant Pengdi Han.
17
       Defendants Han and DHAN are not debtors in this action.
18
         2. Plaintiff satisfies each Eitel factor in support of default judgment.
19
             Every Eitel factor weighs in favor of default judgment against Defendants.
20

21     Plaintiff addresses each factor in turn:

22              a. Sufficiency of the complaint, the merits of Plaintiff’s substantive claims,
                   and the possibility of dispute concerning material facts
23

24           Pursuant to 11 U.S.C §§548(a), a trustee may avoid any transfer . . . of an

25     interest of the debtor in property, or any obligation . . . incurred by the debtor that
26

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                        PAGE 9
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30          Desc
                                    Exhibit Page 14 of 680



       was made or incurred on or within 2 years before the date of the filing of the petition,
1

2      if the debtor voluntarily or involuntarily:

3            (A) made such transfer or incurred such obligation with actual intent to
4
       hinder, delay, or, defraud any entity to which the debtor was or became, on or after
5
       the date after such transfer was made or such obligation was incurred, indebted; or
6
             (B) (i) received less than a reasonably equivalent value in exchange for such
7

8      transfer or obligation; and (ii) (I) was insolvent on the date that such transfer was

9      made or such obligation was incurred, or became insolvent as a result of such
10
       transfer or obligation; (II) was engaged in business or a transaction, or was about to
11
       engage in business or a transaction, for which any property remaining with the
12
       debtor was an unreasonably small capital; or (III) intended to incur, or believed that
13

14     the debtor would incur, debts that would be beyond the debtor’s ability to pay as

15     such debts matured.
16
                       i. Actual Fraudulent Transfer under 11 U.S.C. §§548(a)(1)(A)
17
             Plaintiff’s well-pleaded facts, which taken as true, establish by a
18
       preponderance of the evidence the elements of its Actual Fraudulent Transfer claims
19

20     under 11 U.S.C §§ 548(a)(1)(A). Plaintiff has proven: (1) that AM was the property

21     of the CTG, see SAC ¶¶ 90, 91–104 (2) that the Blue Wolf Entities, through BW
22     Piezo, sold AM to CTS Corporation for $ 73 million; (3) the initial transfer occurred
23
       within two years before CTG’s petition was filed; and (4) the transfer was made with
24
       the actual intent to hinder, delay, or defraud CTG’s creditors.
25

26           “It is often impracticable, on direct evidence, to demonstrate an actual intent

27     to hinder, delay or defraud creditors. Therefore, as is the case under the common
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                        PAGE 10
     Case 9:18-ap-01058-DS        Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30     Desc
                                       Exhibit Page 15 of 680



       law of fraudulent conveyance, courts applying Bankruptcy Code §548(a)(1)
1

2      frequently infer fraudulent intent from the circumstances surrounding the transfer,

3      taking particular note of certain recognized indicia or badges of fraud.” In re GGW
4
       Brands, LLC, 504 B.R. 577, 607 (Bankr. C.D. Cal. 2013) (quoting In re Acequia, Inc.,
5
       34 F.3d 800, 805–06 (9th Cir. 1994).        These circumstances include: actual or
6
       threatened litigation against the Debtor; a purported transfer of all or substantially
7

8      all of the debtor’s property; a special relationship between the debtor and the

9      transferee; insolvency or other unmanageable indebtedness on the part of the
10
       debtor; and after a transfer, retention by the debtor of the property involved in the
11
       putative transfer.   Id.    The “confluence” of several of these circumstances can
12
       constitute evidence of actual intent to defraud. Id.
13

14           In March of 2016, CTG transferred $26,000.00 to DHAN. SAC ¶ 70; see also

15     Ex. B-1 at 3 and 6. This transfer was made to DHAN’s bank account, which upon
16
       information and belief, is controlled by Defendant Han. Id.; see also Ex. A ¶ 14.
17
       Alternatively, the transfer was made for the benefit of Han, as the principal of
18
       DHAN. Id. In March of 2016, CTG transferred $2,303,366.24 to Defendant DHAN,
19

20     a transfer also made to DHAN’s bank account. Id. ¶ 74; see also Ex. B-1 at 4. Upon

21     information and belief, Defendant Han controls that bank account and that,
22
       alternatively, the transfer was made for the benefit of Defendant Han. Id.; see also
23
       Ex. A ¶ 14.
24
             Plaintiff has adequately pleaded that Blue Wolf Capital Partners, through its
25

26     shell companies and BW Piezo, and thus ultimately through CTG, made these

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                      PAGE 11
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30         Desc
                                    Exhibit Page 16 of 680



       transfers to Han and DHAN and incurred obligations specified above with the actual
1

2      intent to hinder, delay, and defraud CTG’s creditors. Id. ¶ 85. Blue Wolf Capital

3      Partners transferred substantially all of the sale of the proceeds—property
4
       belonging to CTG—and protected them from becoming part of the bankruptcy
5
       estate, hoping to distribute the proceeds to themselves or for their own benefit. Id.
6
       Plaintiff has further pleaded that Blue Wolf Capital Partners understood that
7

8      causing those transfers and incurring those obligations would inevitably harm

9      CTG’s creditors. Id. ¶ 86. With full knowledge that CTG did not have sufficient
10
       cash to cover all of its debts, Blue Wolf Capital Partners forced Debtor to
11
       intentionally short-change other creditors to which it was indebted. Id.
12
             Plaintiff has sufficiently alleged that it may avoid both of the transfers and
13

14     obligations under 11 U.S.C. §§ 548(a)(1)(A) and 550. Id. ¶ 88.

15                    ii. Constructive Fraudulent         Transfer      under     11   U.S.C.
                          §§548(a)(1)(B)
16

17           Plaintiff’s well-pleaded facts, which taken as true, also establish by a

18     preponderance of the evidence the elements of its Constructive Fraudulent Transfer
19     claims under 11 U.S.C §§ 548(a)(1)(B).      In addition to proving the first three
20
       elements—which are the same elements for a claim of actual fraudulent transfer
21
       and are established in the section above— Plaintiff has additionally shown that: (4)
22

23     CTG received less than reasonably equivalent value in exchange for the property

24     transferred; and (5) CTG became insolvent and undercapitalized because of the
25     transfers, and Blue Wolf Partners intended to incur or believed it would incur debts
26
       beyond its ability to pay as the debts matured. See SAC ¶107.
27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                        PAGE 12
     Case 9:18-ap-01058-DS      Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30        Desc
                                     Exhibit Page 17 of 680



              Plaintiff has sufficiently alleged that because CTG did not receive any
1

2      consideration for the sale of AM, CTG received less than reasonably equivalent value

3      in exchange for AM. See SAC ¶105. Moreover, the sale of AM left CTG insolvent
4
       and undercapitalized. Id. ¶106. Section 101(32)(A) of the Bankruptcy Code defines
5
       insolvency as the “financial condition such that the sum of such entity’s debts is
6
       greater than all of such entity’s property, at a fair valuation.”        Plaintiff has
7

8      supported its claim that it was left insolvent by referencing a litany of exhibits

9      showing that CTG paid for liabilities and expenses on behalf of AM and the Blue
10
       Wolf Entities without receiving reasonably equivalent value in return. SAC ¶¶ 54,
11
       105, Exs. 14, 19–27, SAC Schedule B 81–116.
12
              Plaintiff has further sufficiently alleged that it may avoid both of the
13

14     transfers and obligations under 11 U.S.C. §§ 548(a)(1)(B) and 550. Id. ¶ 88.

15                    iii. Actual and Constructive Fraudulent Transfers pursuant
                           to Cal. Civ. Code §§3439.04(1) and (2).
16

17            To prevail on a claim for actual and constructive fraudulent transfer under

18     the California Uniform Voidable Transactions Act, a plaintiff must prove the same
19     elements as under the Bankruptcy Code discussed above. See Cal. Civ. Code §§
20
       3439.04(1) (actual fraudulent transfer); 3439.04(2) (constructive fraudulent
21
       transfer). California differs in two ways: (1) a longer statute of limitations; and (2)
22

23     a possible identification of creditors.

24           CTG has already established that it sufficiently alleged claims for the
25     avoidance of both actual and constructive fraudulent transfers under § 548, which
26
       provides for a shorter limitations period than California law. See SAC ¶¶111–156,
27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                       PAGE 13
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30        Desc
                                    Exhibit Page 18 of 680



       201–241. Moreover, Plaintiff has provided names of unpaid creditors in satisfaction
1

2      of the fifth element. Id. Schedule A 76–80 (listing numerous creditors). Therefore,

3      Plaintiff has sufficiently alleged a claim for actual and constructive fraudulent
4
       transfer under California law as well.
5
             In sum, the SAC sufficiently alleges all of the necessary elements of actual and
6
       constructive fraudulent transfer under federal and California law, and are deemed
7

8      to be true by entry of default against Defendants. Pepisco, Inc. v. Cal. Sec. Cans,

9      238 F.Supp.2d 1172, 1177 (C.D. Cal. 2002). Plaintiff’s claims are meritorious and
10
       supported by the record. Moreover, because Defendants Han and DHAN defaulted,
11
       there is no possibility of disputed fact. See Rath v. Defy Media, LLC, Case No. 2:18-
12
       cv-09624-ODW, 2019 WL 3067198, at *6 (C.D. Cal. 2019); Television Sys., Inc. v.
13

14     Heidenthal, 826 F.2d 915, 917–18 (9th Cir. 1987) (“Upon entry of default, all well-

15     pleaded facts in the complaint are taken as true, except those relating to damages.”);
16
       United States v. Yermian, No. SACV 15-0820-DOC-(RAOx), 2016 WL 1399519, at *3
17
       (C.D. Cal. Marc. 18, 2016) (“Where a plaintiff’s complaint is well-pleaded and the
18
       defendant makes no effort to properly respond, the likelihood of disputes facts is
19

20     very low.”).

21           The second, third, and fifth Eitel factors strongly weigh in favor of default
22
       judgment.
23
                b. Possibility of prejudice to the Plaintiff
24
             Plaintiff will be prejudiced if default judgment is not granted because it
25

26     “would be denied the right to judicial resolution of the claims presented, and would

27     be without other recourse for recovery.” In re Sinclair, No. 14-91565-E-7, 2017 WL
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                      PAGE 14
     Case 9:18-ap-01058-DS         Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30                   Desc
                                        Exhibit Page 19 of 680



       5952160, at *3 (Bankr. E.D. Cal. Nov. 29, 2017) (quoting Electra Entm’t Grp. Inc. v.
1

2      Crawford, 226 F.R.D. 388, 392 (C.D. Cal. 2005)). Specifically, Plaintiff, as a trustee

3      of a bankruptcy estate, has demonstrated that it has been deprived of significant
4
       and valuable assets from the sale of AM, a portion of which was fraudulently
5
       transferred to Defendants.           These assets were liquidated and transferred to
6
       Defendants, and the bankruptcy estate has no other recourse or remedy for
7

8      recovering the fraudulently transferred funds. Therefore, this favor weighs in favor

9      of default judgment.
10
                 c. The sum of money at stake
11
              Defendants are liable to Plaintiff for the two transfers made by CTG at the
12
       direction of BWP and the Blue Wolf Entities, totaling $2,329,366.24. Though the
13

14     amount is not nominal, 3 it is appropriate in relation to the seriousness of

15     Defendants’ conduct. See PepsiCo, Inc. v. Cal. Sec. Cans., 238 F.Supp.2d 1172, 1176
16     (C.D. Cal. 2002); see also Lehman Brothers Holdings Inc. v. Cafcalas, Case No. LA
17
       CV16-03167 JAK (PJWx), 2018 WL 6074597, at *6 (C.D. Cal. 2018) (finding that
18
       though default judgment of $877,416,92, based on the value of five properties that
19

20     were fraudulently transferred was a substantial amount, it did not preclude the

21     entry of requested relief).
22            Moreover, “when the sum of money at stake is tailored to the specific
23
       misconduct of the defendant,” as is the case here, “default judgment may be
24

25
       3 Though the court in Eitel v. McCool, 782 F.2d at 1472 denied a default judgment of $3 million, the
26     court did so on the basis that “the parties disputed material facts in the pleadings.” Here, material
       facts are not disputed and a judgment of $3 million would not be contrary to the court’s decision in
27     Eitel.

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                                     PAGE 15
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30         Desc
                                    Exhibit Page 20 of 680



       appropriate.”   Bay Area Painters & Tapers Pension Tr. Fund v. J&C Fuentes
1

2      Painting & Decorating Co. Inc., Case No. 18-cv-04118, 2019 WL 2649842, at *8

3      (N.D. Cal. 2019) (citing Bd. Of Trs. Of the Pac. Coast Roofers Pension Plan v. Fryer
4
       Roofing Co., Inc., No. 16-cv-02798-LHK, 2017 WL 65396868, at *5 (N.D. Cal. Dec.
5
       21, 2017) (while amount of default of $2,399,038 was substantial, it was tailored to
6
       Defendant’s specific misconduct and supported by the record). Here, Plaintiff, upon
7

8      information and belief, has identified the exact amount of proceeds from the sale of

9      AM which were transferred to Defendants Han and DHAN. Thus, the sum of money
10
       at stake is tailored to Defendants and this factor weighs in favor of default judgment.
11
                d. Excusable neglect
12
             The sixth Eitel factor considers whether Defendants’ default was due to
13

14     excusable neglect. Here, Han was properly served through personal service on

15     November 8, 2019, according to FED. R. CIV. P. 4(e)(2)(A). See Docket No. 208
16     (Declaration of C. Orozco (Han) ¶ 4). DHAN was properly served through Certificate
17
       of Mailing on April 5, 2019 in accordance with FED. R. CIV. P. 4(h)(1)(A). See Docket
18
       Nos. 209 (Declaration of C. Orozco (DHAN) ¶¶ 4 and 5). The Proofs of Service were
19

20     filed with the Court. See Exs. C and D.

21           Plaintiff has properly served Defendants will all relevant pleadings to
22     Plaintiff’s cause of action and the relief sought, and neither Han nor DHAN have
23
       presented a defense or otherwise communicated with the court. There is no evidence
24
       that Defendants’ failure to appear and litigate this case is based on excusable
25

26     neglect. Pension Plan for Pension Tr. Fund for Operating Eng’rs v. J&J Equip., Inc.,

27     Case No. 18-cv-07419-KAW, 2019 WL 5088781, at 5 * (N.D. Cal. 2019). “Thus, the
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                       PAGE 16
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30         Desc
                                    Exhibit Page 21 of 680



       possibility of excusable neglect is remote,” and the sixth Eitel factor favors entry of
1

2      default judgment. Rath, 2019 WL 3067198, at *6.

3               e. The strong policy favoring decision on the merits
4            The seventh Eitel factor reflects the policy that “cases should be decided upon
5
       their merits whenever reasonably possible.” Eitel, 782 F.2d at 1472. “However, ‘a
6
       decision on the merits [is] impractical, if not impossible’ when a defendant fails to
7

8      answer the plaintiff’s complaint.” Rath, 2019 WL 3067198, at *7 (quoting PepsiCo

9      Inc., 238 F. Supp. 2d at 1177).
10           A decision on the merits will be impossible in this case because since the filing
11
       of this case over one year ago, neither Defendant has participated in the proceedings.
12
       Thus, this factor weighs in favor of granting default judgment.
13

14       3. Plaintiff is entitled to liquidated damages in the amount of
            $2,329,366.24.
15
             Plaintiff seeks a money judgment against Defendants Han and DHAN
16
       totaling $2,329,366.24 for two transfers in the sums of $26,000 and $2,303,366.24.
17

18     In support thereof, Plaintiff has submitted the declaration from Richard Feferman,

19     the Senior Managing Director for Trustee, who testifies that he instructed Richard
20
       Bass, the Senior Information Technology Analyst for Trustee, to locate documents
21
       contained in CTG’s hard-drives from David Tiffany, the Chief Restructuring Officer
22
       of CTG. Ex. A ¶ 5; see also Ex. B. Mr. Feferman and Mr. Bass located the documents
23

24     contained in Exhibit B-1, which are Excel spreadsheets showing the distribution of

25     AM’s post-sale proceeds. Id. ¶ 6; see also Ex. B.
26

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                       PAGE 17
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30        Desc
                                   Exhibit Page 22 of 680



             Mr. Feferman testifies that based on his review of the documents, CTG
1

2      directed the transfer of $26,000 to Pengdi Han, a transfer made to PNC Bank

3      Account Number 462391788 in the name of DHAN, LLC. Id. ¶ 7. He further
4
       testifies that CTG also directed the transfer of $2,303,366.24 to Pengdi Han, a
5
       transfer made to PNC Bank Account Number 462391788 in the name of DHAN,
6
       LLC. Id. ¶ 8. The sum of these two transfers amounts to $2,329,366.24. Id. ¶ 9.
7

8            Mr. Feferman testifies that this amount is confirmed in the Excel spreadsheet

9      demonstrating the Distribution of AM’s Net Proceeds after Debt Paydown and
10
       Expenses. Id. ¶ 10; see also Ex. B-1 at 6. This document demonstrates that the total
11
       proceeds paid to Pengdi Han from the sale of AM included: $26,000 for a Consulting
12
       Agreement Termination Payment; $365,000 for Pengdi Han’s Share of Sponsor
13

14     Transaction fee; and $1,938,366 in Equity Distribution. Id. Mr. Feferman testifies

15     that the sum of these three amounts also totals $2,329,366—matching exactly with
16
       the sum of the two transfers made to PNC Bank Account Number 46239178. Id. ¶
17
       11. See also SAC ¶¶ 70, 74, 95, 99, 118, 122, 142, and 146.
18
             Plaintiff has established that its damages for the fraudulent transfer of
19

20     proceeds from the sale of AM to Defendants amounts to $2,329,366.24.

21                                    VII.   CONCLUSION
22
             For the foregoing reasons, Plaintiff respectfully requests that the Court grant
23
       its Motion for Default Judgment against Defendants Pengdi Han and DHAN, and
24
       award Plaintiff damages in the amount of $2,329,366.24, costs, and pre-judgment
25

26

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                     PAGE 18
     Case 9:18-ap-01058-DS      Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30    Desc
                                     Exhibit Page 23 of 680



       and post-judgment interest. Plaintiff further requests the Court grant it all other
1

2      relief to which it may be justly entitled.

3

4      Dated: March 31, 2020                        Respectfully submitted,
5
                                                    __________________
6
                                                    Edward Jason Dennis
7                                                   jdennis@lynnllp.com
                                                    Samuel B. Hardy
8                                                   shardy@lynnllp.com
                                                    Christian Orozco
9
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10                                                  corozco@lynnllp.com
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14                                                  (214) 981-3839 - Facsimile
15
                                                    Special Litigation Counsel for
16                                                  Corporate Recovery Associates,
                                                    LLC, Trustee for the Liquidating
17                                                  Trust of Debtor Channel
                                                    Technologies Group, LLC
18

19

20

21

22

23

24

25

26

27

28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
      FOR DEFAULT JUDGMENT AGAINST DEFENDANTS HAN AND DHAN, LLC                    PAGE 19
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 24 of 680




            EXHIBIT A
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                                    Exhibit Page 25 of 680



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 7
 8     Special Litigation Counsel for
       Plaintiff
 9
                             UNITED STATES BANKRUPTCY COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
11                                  NORTHERN DIVISION

12     In re                                   §   CASE NO. 9:16-BK-11912-DS
                                               §
13     CHANNEL TECHNOLOGIES                    §   Chapter 11
       GROUP, LLC,                             §
14         Debtor.                             §   ADV NO. 9:18-AP-01058-DS
15                                             §
                                               §
16     CORPORATE RECOVERY                      §
       ASSOCIATES, LLC, as Trustee for         §
17     the Liquidating Trust of Channel        §
18     Technologies Group, LLC,                §   DECLARATION OF RICHARD FEFERMAN
                                               §
19             Plaintiff,                      §
       v.                                      §
20                                             §
21     BLUE WOLF CAPITAL PARTNERS,             §
       LLC, et al.,                            §
22                                             §
               Defendants.                     §
23
24
                             DECLARATION OF RICHARD FEFERMAN
25
26
27
28
                                                                                1
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30          Desc
                                   Exhibit Page 26 of 680



              I, Richard Feferman, pursuant to 28 U.S.C. § 1746, declare the following:
 1
 2     1.    My name is Richard Feferman. I am over 18 years of age, of sound mind, and
             capable of making this declaration. My business mailing address is 3830
 3           Valley Centre Drive, PMB 705-152, San Diego, CA 92130.

 4     2.    The facts stated in this declaration are true and correct and within my
             personal knowledge:
 5
 6     3.    I am the Senior Managing Director for Corporate Recovery Associates, LLC,
             Liquidating Trustee for the Liquidating Trust of Channel Technologies Group,
 7           LLC (“Trustee”).
 8     4.    Richard Bass is the Senior Information Technology Analyst for Trustee.
 9     5.    On the Trustee’s behalf, I instructed Richard Bass to locate documents
10           contained in CTG’s hard-drives from David Tiffany, the Chief Restructuring
             Officer of CTG. David Tiffany was appointed by the Court in the related
11           Chapter 11 bankruptcy action, Case No: 9:16-bk-11912-DS. See Docket No.
             90.
12
       6.    Richard Bass and I located the documents contained in Exhibit B-1, which are
13
             Excel spreadsheets showing distribution of AM’s post-sale proceeds.
14
       7.    Based on my review of the documents, CTG directed the transfer of $26,000 to
15           Pengdi Han. Ex. B-1 at 3. This transfer was made to PNC Bank Account
             Number 4612919788 in the name of DHAN LLC.
16
       8.    Based on my review of the documents, CTG also directed the transfer of
17
             $2,303,366.24 to Pengdi Han. Ex. B-1 at 4. This transfer was made to PNC
18           Bank Account Number 4612919788 in the name of DHAN LLC.

19     9.    The sum of these two transfers $2,329,366.24.
20     10.   Furthermore, this amount is confirmed in the Excel spreadsheet
             demonstrating the Distribution of AM’s Net Proceeds after Debt Paydown and
21
             Expenses. Ex. B-1 at 6. This document demonstrates that the total proceeds
22           paid to Pengdi Han from the sale of AM included: $26,000 for a Consulting
             Agreement Termination Payment; $365,000 for Pengdi Han’s Share of Sponsor
23           Transaction fee; and $1,938,366 in Equity Distribution.
24     11.   The sum of these three amounts also totals $2,329,366.
25
       12.   The registered agent for DHAN, LLC is Pengdi Han. A true and correct copy
26           of an unofficial Certificate of Good Standing for DHAN, LLC in the State of
             Illinois is attached hereto as Exhibit 1.
27
28
      DECLARATION OF RICHARD FEFERMAN        PAGE 2
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30          Desc
                                   Exhibit Page 27 of 680



       13.   Upon information and belief, Pengdi Han is the sole Manager of DHAN, LLC.
 1
             See Exhibit 1.
 2
       14.   Upon information and belief, Pengdi Han controls DHAN, LLC’s PNC Bank
 3           Account (Account Number 4612919788).

 4

 5           I declare under penalty of perjury that the foregoing is true and correct.
 6
            Executed in the County of San Diego, State of California, on the 30th day of
 7     March, 2020.

 8                                           ___________________________________
                                             RICHARD FEFERMAN
 9

10

11

12

13

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28
      DECLARATION OF RICHARD FEFERMAN        PAGE 3
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 28 of 680




            EXHIBIT A-1
9/26/2019 Case     9:18-ap-01058-DS                Doc 236-1     Filed Search/Certificate
                                                         Corporation/LLC 03/31/20 Entered           03/31/20 15:36:30
                                                                                          of Good Standing              Desc
                                                        Exhibit Page 29 of 680

                        Office of the Secretary of State Jesse White




       Corporation/LLC Search/Certificate of Good Standing

       LLC File Detail Report


           File Number             01849824

           Entity Name             DHAN LLC

           Status                  ACTIVE




          Entity Information


          Principal Office
          3236 JUSTAMERE RD
          WOODRIDGE, IL 60517

          Entity Type
          LLC

          Type of LLC
          Domestic

          Organization/Admission Date
          Monday, 8 May 2006

          Jurisdiction
          IL

          Duration
          PERPETUAL




          Agent Information


          Name

https://www.ilsos.gov/corporatellc/CorporateLlcController                                                                      1/3
9/26/2019 Case     9:18-ap-01058-DS                Doc 236-1     Filed Search/Certificate
                                                         Corporation/LLC 03/31/20 Entered           03/31/20 15:36:30
                                                                                          of Good Standing               Desc
          PENGDI HAN
                                                        Exhibit Page 30 of 680

          Address
          3236 JUSTAMERE RD
          WOODRIDGE , IL 60517

          Change Date
          Thursday, 13 May 2010




          Annual Report


          For Year
          2019

          Filing Date
          Monday, 8 April 2019




          Managers


          Name
          Address
          HAN, PENGDI
          479 QUADRANGLE DRIVE, SUITE E
          BOLINBROOK, IL 60440




          Series Name


          NOT AUTHORIZED TO ESTABLISH SERIES




          Return to Search


           File Annual Report
           Adopting Assumed Name
           Articles of Amendment Effecting A Name Change
           Change of Registered Agent and/or Registered O ce


                                                                                                (One Certificate per Transaction)




https://www.ilsos.gov/corporatellc/CorporateLlcController                                                                           2/3
9/26/2019 Case     9:18-ap-01058-DS                 Doc 236-1             Filed Search/Certificate
                                                               Corporation/LLC    03/31/20 Entered                  03/31/20 15:36:30
                                                                                                        of Good Standing                Desc
                                                             Exhibit          Page      31     of  680
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Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 32 of 680




            EXHIBIT B
     Case 9:18-ap-01058-DS     Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30    Desc
                                    Exhibit Page 33 of 680



       Edward Jason Dennis
1
       jdennis@lynnllp.com
2      Samuel B. Hardy
       shardy@lynnllp.com
3      Christian Orozco
       corozco@lynnllp.com
4
       LYNN PINKER COX & HURST, LLP
5      2100 Ross Avenue, Suite 2700
       Dallas, Texas 75201
6      (214) 981-3800 - Telephone
       (214) 981-3839 - Facsimile
7

8      Special Litigation Counsel for
       Plaintiff
9
                             UNITED STATES BANKRUPTCY COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
11                                  NORTHERN DIVISION

12     In re                                   §   CASE NO. 9:16-BK-11912-DS
                                               §
13     CHANNEL TECHNOLOGIES                    §   Chapter 11
       GROUP, LLC,                             §
14         Debtor.                             §   ADV NO. 9:18-AP-01058-DS
15                                             §
                                               §
16     CORPORATE RECOVERY                      §
       ASSOCIATES, LLC, as Trustee for         §
17     the Liquidating Trust of Channel        §
18     Technologies Group, LLC,                §   DECLARATION OF RICHARD BASS
                                               §
19             Plaintiff,                      §
       v.                                      §
20                                             §
21     BLUE WOLF CAPITAL PARTNERS,             §
       LLC, et al.,                            §
22                                             §
               Defendants.                     §
23

24
                               DECLARATION OF RICHARD BASS
25

26
27

28
                                                                                 1
     Case 9:18-ap-01058-DS    Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30          Desc
                                   Exhibit Page 34 of 680


             I, Richard Bass, pursuant to 28 U.S.C. § 1746, declare the following:
 1

 2     1.   My name is Richard Bass. I am over 18 years of age, of sound mind, and
            capable of making this declaration. My business mailing address is 3830
 3          Valley Centre Drive, PMB 705-152, San Diego, CA 92130.

 4     2.   The facts stated in this declaration are true and correct and within my
            personal knowledge:
 5

 6     3.   I am the Senior Information Technology Analyst for Corporate Recovery
            Associates, LLC, Trustee for the Liquidating Trust of Channel Technologies
 7          Group, LLC ("Trustee").

 8     4.   I was instructed by Richard Feferman, Senior Managing Director for Trustee,
            to locate documents contained on CTG's hard-drives from David Tiffany, the
 9
            Chief Restructuring Officer of the CTG. David Tiffany was appointed by the
10          Court in the related Chapter 11 bankruptcy action, Case No: 9:16-bk-11912-
            DS. See Docket No. 90.
11
       5.   Richard Feferman and I located the document attached hereto as Exhibit 1,
12          which are true and correct copies of Excel spreadsheets showing distribution
13          of AM proceeds to Pengdi Han and DHAN, LLC.

14
             I declare under penalty of perjury that the foregoing is true and correct.
15
            Executed in the County of San Diego, State of California, on the 30th day of
16


                                                            n-----..
       March, 2020.
17

18                                           RIHARDB�
                                               �

19

20

21

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28
      DECLARATION OF RICHARD BASS            PAGE2
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 35 of 680




       EXHIBIT B-1
               Case 9:18-ap-01058-DS        Doc 236-1         Filed 03/31/20 Entered 03/31/20 15:36:30        Desc
  ($s)                                              Exhibit      Page 36 of 680
  CTG Advanced Materials - Wiring Instructions for CTS

    #

  ALL WIRES BELOW ARE SENT BY CTS Corporation
    2   CIT                                                                                                     37,134,772.79
         Bank Name:                                                                                         OneWest Bank N.A.
         Bank Address:                                                                                     888 E. Walnut Street
         Bank City / State:                                                                                Pasadena, CA 91101
         Bank Account Name:                                                                                        Loan Control
         Account Number:
         ABA Number:
         Ref:                                                                                  Channel Technologies, Group, LLC.
                                                                              Facilities 1700006192, 1700006205 & 1700006211
                                                                                                                   Attn: CL Ops
                                                                                                                     David Ligon
                                                                                                            OneWest Bank, NA

    3   Fidus                                                                                                    7,264,770.39
          Bank Name:                                                                                            U.S. Bank, N.A.
          Bank City / State:                                                                                  Minneapolis, MN
          Bank Account Name:                                                                      Fidus Investment Corporation
          Account Number:
          ABA Number:
          FFC:                                                                       148378-202/Fidus Mezzanine Capital II, L.P.

    4   Avante Repayment                                                                                         7,263,263.90
         Bank Name:                                                                                        Silicon Valley Bank
         Bank Address:                                                                                    3003 Tasman Drive
         Bank City / State:                                                                             Santa Clara, CA 95054
         Bank Account Name:                                                                Avante Mezzanine Partners SBIC, LP
                                                                                          11150 Santa Monica Blvd., Suite 1470
                                                                                                       Los Angeles, CA 90025
         Account Number:
         ABA Number:
         By Order Of:                                                                                           CTS Corporation

    5   Avante Expenses                                                                                                1,340.39
         Bank Name:                                                                                             East West Bank
         Bank Address:                                                                         135 N. Los Robles Ave., Suite 600
         Bank City / State:                                                                                Pasadena, CA 91101
         Bank Account Name:                                                                    Avante Mezzanine Partners II Inc
         Account Number:
         ABA Number:




Confidential                                            12/3/2019 4:40 PM                                                          9
               Case 9:18-ap-01058-DS        Doc 236-1         Filed 03/31/20 Entered 03/31/20 15:36:30       Desc
  ($s)                                              Exhibit      Page 37 of 680
  CTG Advanced Materials - Wiring Instructions for CTS

    #
    6   Robinson Bradshaw & Hinson, P.A.                                                                           19,070.50
         Bank Name:                                                                                           Bank of America
         Bank Address:                                                                                     101 S. Tryon Street
         Bank City / State:                                                                               Charlotte, NC 28280
         Bank Account Name:                                                 Robinson, Bradshaw & Hinson, PA Operating Account
         Account Number:
         ABA Number:
         Ref:

    7   CTG Advanced Materials                                                                                  1,515,005.70
         Bank Name:                                                                                       OneWest Bank, FSB
         Bank Address:                                                                                     888 East Walnut St
         Bank City / State:                                                                              Pasadena, CA 91101
         Bank Account Name:                                                                           CTG Advanced Materials
         Account Number:
         ABA Number:
         SWIFT:

    8   Holland & Knight                                                                                           619,772.27
         Bank Name:                                                                                      Wells Fargo Bank N.A.
         Bank Address:                                                                                 420 Montgomery Street
         Bank City / State:                                                                      San Francisco, CA 94104-1207
         Bank Account Name:                                                                              Holland & Knight, LLP
         Account Number:
         ABA Number:
         SWIFT:

    9   BDO                                                                                                         80,996.14
         Bank Name:                                                                                            PNC Bank, N.A.
         Bank City / State:                                                                                     Pittsburgh, PA
         Bank Account Name:                                                                                     BDO USA, LLP
         Account Number:
         ABA Number:
         SWIFT:

   10 Raymond James                                                                                              1,480,184.03
       Bank Name:                                                                               The Bank of New York Mellon
       Bank Address:                                                                                           One Wall Street
       Bank City / State:                                                                                New York, NY 10286
       Bank Account Name:                                                      Raymond James & Associates, Inc.-ECM RMB Acct
       Account Number:
       ABA Number:
       Deal Code:
       Invoice Number:




Confidential                                            12/3/2019 4:40 PM                                                        10
               Case 9:18-ap-01058-DS        Doc 236-1         Filed 03/31/20 Entered 03/31/20 15:36:30       Desc
  ($s)                                              Exhibit      Page 38 of 680
  CTG Advanced Materials - Wiring Instructions for CTS

    #
   11 Escrow Agent                                                                                            1,052,250.00
       Bank Name:                                                                                            PNC Bank, N.A.
       Bank Account Name:                                                                       PNC Bank Trust Cash Account
       Account Number:
       ABA Number:
       Attention:                                                                                   Lisa Burke/Escrow Officer
       Reference:                                                                                         CTS - BWPH Escrow


   12 R&W Insurance Provider                                                                                      378,797.50
       Bank Name:                                                                                   Northern Trust Company
       Bank Address:                                                                                         50 South LaSalle
       Bank City / State:                                                                                   Chicago, IL 60675
       Bank Account Name:                                                                     Aon Risk Services, Inc. of Illinois
       Account Number:
       ABA Number:
       SWIFT:
       Ref:
                                                                                  Payment Description: R&W Premium and Fee

   13 Pengdi Han                                                                                                     26,000.00
       Bank Name:                                                                                                     PNC Bank
       Bank Account Name:                                                                                             DHAN LLC
       Account Number:
       ABA Number:

   14 Blue Wolf Fund II, L.P. (on behalf of BW Piezo Holdings)                                                16,612,424.11
       Bank Name:                                                                                         First Republic Bank
       Bank Address:                                                                                          111 Pine Street
       Bank City / State:                                                                            San Francisco, CA 94111
       Bank Account Name:                                                                         Blue Wolf Capital Fund II LP
       Account Number:
       ABA Number:




Confidential                                            12/3/2019 4:40 PM                                                           11
         Case 9:18-ap-01058-DS            Doc 236-1     Filed 03/31/20 Entered 03/31/20 15:36:30        Desc
  ($s)                                        Exhibit      Page 39 of 680
  CTG Advanced Materials - Wiring Instructions for BW

    #
  ALL WIRES BELOW ARE SENT BY BLUE WOLF FUND II, L.P.


    2   Pengdi Han                                                                              2,303,366.24
         Bank Name:                                                                                 PNC Bank
         Bank Account Name:                                                                         DHAN LLC
         Account Number:
         ABA Number:

    3   Blue Wolf Capital Partners, LLC                                                            633,872.00
         Bank Name:                                                                        First Republic Bank
         Bank Address:                                                                         111 Pine Street
         Bank City / State:                                                          San Francisco, CA 94111
         Bank Account Name:                                                     Blue Wolf Capital Partners LLC
         Account Number:
         ABA Number:

    4   Gary Douville                                                                            124,064.76
         Bank Name:                                                                          Bank of America
         Bank Account Name:                                           Gamble Parks Douville and Gary Douville
         Account Number:
         ABA Number:

    5   Gerald Schmidt                                                                             25,000.00
         Bank Name:                                                                 Nasa Federal Credit Union
         Bank Account Name:                                                                   Gerald Schmidt
         Account Number:
         ABA Number:

    6   Alta Properties                                                                          376,365.78
         Bank Name:                                                                      Wells Fargo Bank NA
         Bank City / State:                                                                      Houston, TX
         Bank Account Name:                                                              Alta Properties, Inc.
         Account Number:
         ABA Number:

    7   Channel Technologies Group                                                             1,000,000.00
         Bank Name:                                                                            CIT Bank N.A.
         Bank Address:                                                                888 East Walnut Street
         Bank City / State:                                                       Pasadena, California 91101
         Bank Account Name:                                                      Channel Technologies Group
         Account Number:
         ABA Number:
         SWIFT:



Confidential                                            12/3/2019                                                14
         Case 9:18-ap-01058-DS        Doc 236-1         Filed 03/31/20 Entered 03/31/20 15:36:30          Desc
  ($s)                                        Exhibit      Page 40 of 680
  CTG Advanced Materials - Wiring Instructions for BW

    #
    8   Gladstone                                                                                 752,245.09
         Bank Name:                                                              The Bank of New York Mellon
         Bank City / State:                                                                         Chicago, IL
         Bank Account Name:                                                     Gladstone Business Investment
         Account Number:
         ABA Number:

    9   Mark Shaw                                                                                 9,518.97
         Bank Name:                                                                             Wells Fargo
         Bank Account Name:                                                    Rhonda Shaw and Mark T. Shaw
         Account Number:
         ABA Number:

   10 John Ladd                                                                                    33,007.40
        Bank Name:                                                                           Wells Fargo Bank
        Bank Account Name:                                                                     Ladd Checking
        Account Number:
        ABA Number:

   11 Arsen Melconian                                                                              12,684.99
       Bank Name:                                                                        Bank of America, N.A.
       Bank Account Name:                                                                    Arsen Melconian
       Account Number:
       ABA Number:

   12 Fidus                                                                                       199,861.70
        Bank Name:                                                                             U.S. Bank, N.A.
        Bank City / State:                                                                   Minneapolis, MN
        Bank Account Name:                                                       Fidus Investment Corporation
        Account Number:
        ABA Number:
        FCC:                                                        183298-201/Fidus Investment Holdings, Inc.

   13 Avante                                                                                      199,861.70
       Bank Name:                                                                                SIL VLY BK SJ
       Bank Address:                                                                      3003 Tasman Drive
       Bank City / State:                                                               Santa Clara, CA 95054
       Bank Account Name:                                                  Avante Mezzanine Partners SBIC, LP
       Avante Address:                                                    11150 Santa Monica Blvd., Suite 1470
       Avante City / State:                                                             Los Angeles CA 90025
       Account Number:
       ABA Number:
       By Order Of:                                                                      Blue Wolf Fund II, L.P.




Confidential                                            12/3/2019                                                  15
                                      Case 9:18-ap-01058-DS        Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
  ($s)                                                                  Exhibit Page 41 of 680                                 DRAFT - Subject to Further Revision
  Distribution of Net Proceeds after Debt Paydown and Expenses


  Purchase Price                                 73,000,000

  18% Preferred Return:
   Blue Wolf                                         23,884
   DHAN                                                   -
   Other                                              2,046
  Total 18% Preferred Return                         25,930

  8% Preferred Return:
   Blue Wolf                                      6,737,757
   DHAN                                           1,938,366
   Other                                          1,324,169
  Total 8% Preferred Return                      10,000,293

  Contributed Capital:                                           Invested Capital
   Blue Wolf                                               -         39,424,996
   DHAN                                                    -         11,072,214
   Other                                                   -          7,742,490
  Total Contributed Capital                                -         58,239,701

  Proceeds to Common Shares:
   Blue Wolf                                               -
   DHAN                                                    -
   Other                                                   -
  Total Proceeds to Common Shares                          -

  Total Distributions:
   Blue Wolf                                      6,761,641
   DHAN                                           1,938,366
   Other                                          1,326,215
  Total Distributions                            10,026,223

  Total Proceeds to Pengdi:
   Consulting Agreement Termination Payment          26,000
   Pengdi Share of Sponsor Transaction Fee          365,000
   Equity Distribution                            1,938,366
  Total Proceeds to Pengdi                        2,329,366

  Note: Assumes exit at 03/11/2016.
Confidential                                                                        12/3/2019                                                                  17
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 42 of 680




        EXHIBIT C
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  43 of 680
                                                  Page 1 of 116



1      Edward Jason Dennis
       jdennis@lynnllp.com
2      Samuel B. Hardy
       shardy@lynnllp.com
3      Christian Orozco
4      California State Bar No. 285723
       corozco@lynnllp.com
5      LYNN PINKER COX & HURST, LLP
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6      Dallas, Texas 75201
       (214) 981-3800 - Telephone
7
       (214) 981-3839 - Facsimile
8
       Special Litigation Counsel for
9      Plaintiff
10                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
11
                                          NORTHERN DIVISION
12     In re                                        § CASE NO. 9:18-AP-01058-DS
                                                    §
13     CHANNEL TECHNOLOGIES GROUP, LLC, §
14           Debtor.                                §
                                                    §
       CORPORATE RECOVERY ASSOCIATES,
15     LLC, as Trustee for the Liquidating Trust of
                                                    § SECOND AMENDED COMPLAINT
                                                    §
16
       Channel Technologies Group, LLC,
                                                    §
             Plaintiff,
                                                    §
17     v.
                                                    §
       BLUE WOLF CAPITAL PARTNERS, LLC,
18     BLUE WOLF CAPITAL FUND II, L.P.,
                                                    §
                                                    §
19     GLADSTONE INVESTMENT                         §
       CORPORATION, BLUE WOLF CAPITAL               §
20     ADVISORS L.P., BW PIEZO HOLDINGS,            §
       LLC, FIDUS INVESTMENT                        §
21     CORPORATION, FIDUS MEZZANINE                 §
       CAPITAL II, L.P., AVANTE MEZZANINE
22     PARTNERS SBIC, LP, AVANTE
                                                    §
                                                    §
23     MEZZANINE PARTNERS II, INC., PENGDI §
       HAN, DHAN, LLC, GRANT THORNTON,              §
24     LLP, CTG ADVANCED MATERIALS, LLC, §
       CTS CORPORATION, ELECTRO OPTICAL §
25     INDUSTRIES,                                  §
             Defendants.
26                                                  §

27

28


      SECOND AMENDED COMPLAINT                                               Page 1 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  44 of 680
                                                  Page 2 of 116


              Plaintiff Corporate Recovery Associates, LLC, solely in its capacity as Trustee for the
1

2      Liquidating Trust of Debtor Channel Technologies Group, LLC (“Plaintiff”) files this Second

3      Amended Complaint against Blue Wolf Capital Partners, LLC, Blue Wolf Capital Fund II, L.P.,

4      Blue Wolf Capital Advisors L.P., BW Piezo Holdings, LLC—(collectively, the “Blue Wolf
5
       Entities”)—Defendants Fidus Investment Corporation; Fidus Mezzanine Capital II, L.P., Avante
6
       Mezzanine Partners SBIC, LP, Avante Mezzanine Partners II, Inc.—(collectively, the
7
       “Mezzanine Lenders”)— and Defendants Gladstone Investment Corporation, Grant Thornton,
8
       LLP, CTG Advanced Materials, LLC, CTS Corporation, Electro Optical Industries, Pengdi Han,
9

10     and DHAN, LLC and respectfully shows as follows:

11                                                     I.
                                                  SUMMARY
12
              1.     This is a fraudulent transfer case. In an abuse of the corporate form, Blue Wolf
13

14     Capital Partners organized and structured a series of shell corporations to nominally separate the

15     assets and liabilities of CTG despite running CTG, its parent company and sister company, as
16     alter egos of each other. Facing financial difficulty in 2016, the Blue Wolf Entities sold CTG’s
17
       de facto assets for over $70 million and distributed $30 million to themselves, their equity
18
       partners, and others involved in the transactions. Insufficient funds were retained or distributed
19
       to CTG for the protection of its creditors. Later that year, and having already disadvantaged
20

21     CTG’s creditors, the Blue Wolf Entities put CTG into bankruptcy. The bankruptcy left

22     approximately $35 million in unsecured general creditors such as small vendors and the U.S.

23     Navy holding the liabilities while distributed more than that amount earlier that year to
24     themselves Defendants.
25

26

27

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      SECOND AMENDED COMPLAINT                                                               Page 2 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  45 of 680
                                                  Page 3 of 116


                                                     II.
1                                                 PARTIES
2
              2.    Plaintiff Corporate Recovery Associates, LLC is a California limited liability
3
       company and Trustee for the Liquidating Trust of Debtor Channel Technologies Group, LLC.
4
              3.    Debtor Channel Technologies Group, LLC (“CTG”) is a California limited liability
5

6      company.

7             4.    Defendant Blue Wolf Capital Partners, LLC (“Blue Wolf Capital Partners”) is a

8      Delaware limited liability company, with its principal place of business in New York, New York.
9
       It has already been served and made an appearance through counsel.
10
              5.    Defendant Blue Wolf Capital Fund II, L.P. (“Blue Wolf Capital Fund”) is a
11
       Delaware limited partnership, with its principal place of business in New York, New York. It
12
       has already been served and made an appearance through counsel.
13

14            6.    Defendant Gladstone Investment Corporation is a Delaware corporation. It has

15     already been served and made an appearance through counsel.
16            7.    Defendant Blue Wolf Capital Advisors L.P. (“Blue Wolf Capital Advisors”) is a
17
       Delaware limited partnership, with its principal place of business in New York, New York. It
18
       has already been served and made an appearance through counsel.
19
              8.    Defendant BW Piezo Holdings, LLC (“BW Piezo”) is a Delaware limited liability
20

21     company, with its principal place of business in New York, New York. It has already been served

22     and made an appearance through counsel.

23            9.    Defendant Fidus Investment Corporation is a Maryland corporation, with its
24     principal place of business in Evanston, Illinois. It has already been served and made an
25
       appearance through counsel.
26
              10.   Defendant Fidus Mezzanine Capital II, L.P., is a Delaware limited partnership,
27

28


      SECOND AMENDED COMPLAINT                                                            Page 3 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  46 of 680
                                                  Page 4 of 116


       with its principal place of business in Evanston, Illinois. It has already been served and made an
1

2      appearance through counsel.

3             11.    Defendant Avante Mezzanine Partners SBIC, LP is a Delaware limited partnership,

4      with its principal place of business in Los Angeles, California. It has already been served and
5
       made an appearance through counsel.
6
              12.    Defendant Avante Mezzanine Partners II, Inc., is a Delaware corporation, with its
7
       principal place of business in Los Angeles, California. It has already been served and made an
8
       appearance through counsel.
9

10            13.    Grant Thornton, LLP is an Illinois limited liability partnership, with its principal

11     place of business in 171 N. Clark Street, Suite 200, Chicago, IL 60601. It has already been served
12     and made an appearance through counsel.
13
              14.    CTG Advanced Materials, LLC is a Delaware limited liability company, with its
14
       principal place of business in Bolingbrook, Illinois. It has already been served and made an
15
       appearance through counsel.
16

17            15.    CTS Corporation is a Delaware corporation, with its principal place of business in

18     Lisle, Illinois. It has already been served and made an appearance through counsel.

19            16.    Electro Optical Industries, Inc. is a Delaware corporation, with its principal place
20     of business in Goleta, California. It has already been served and made an appearance through
21
       counsel.
22
              17.    Defendant Pengdi Han is a natural person and resident of Washington. He has
23
       already been served and defaulted.
24

25            18.    DHAN, LLC is a Washington limited liability company, with its principal place of

26     business at 3236 Justamere Road, Woodridge, IL 60517. It has already been served and

27

28


      SECOND AMENDED COMPLAINT                                                               Page 4 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  47 of 680
                                                  Page 5 of 116


       defaulted.
1

2              19.   CTG alleges that at all relevant times alleged herein there existed a unity of interest

3      and ownership between BW Piezo, CTG, and CTG Advanced Materials, and each of them, such

4      that any individuality and separateness between them has ceased to exist. Adherence to the
5
       fiction of the separate existence of BW Piezo, CTG, and CTG Advanced Materials from one
6
       another would permit an abuse of the corporate privilege, would sanction fraud, and promote
7
       injustice.
8
               20.   In addition, and alternatively, CTG alleges that at all relevant times, Blue Wolf
9

10     Capital Partners was operating BW Piezo, CTG, and CTG Advanced Materials as a single

11     business enterprise. Blue Wolf Capital Partners, through its domination and control of Blue Wolf
12     Capital Advisors, managed Blue Wolf Capital Fund, and directed and used Blue Wolf Capital
13
       Fund to dominate and control BW Piezo to dominate and control CTG and CTG Advanced
14
       Materials. CTG alleges that all relevant times alleged herein, BW Piezo, CTG, and CTG
15
       Advanced Materials were agents, employees, representatives, partners, subsidiaries, affiliates,
16

17     and/or joint venturers of Blue Wolf Capital Partners, and in undertaking the actions complained

18     of below were acting within the course and scope of such relationships and with the knowledge,

19     authorization, consent, and ratification of each other.
20                                                    III.
21                                               JURISDICTION

22             21.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334,

23     and 11 U.S.C. §523. This matter constitutes a core proceeding within the meaning of 28 U.S.C.
24     §157(b)(2)(I) and (O). Venue is proper in this District pursuant to 28 U.S.C. §§1408 and 1409
25
       because the Debtor’s bankruptcy case is pending in this District and the causes asserted herein
26
       arise under the Bankruptcy Code and arise in a case under the Bankruptcy Code.
27

28


      SECOND AMENDED COMPLAINT                                                                 Page 5 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  48 of 680
                                                  Page 6 of 116


                                                      IV.
1                                                   FACTS
2
       A.    Blue Wolf Capital Partners Acquires CTG
3
              22.    CTG designed and manufactured piezoelectric ceramics, transducers, sonar
4
       equipment, and other related products sold primarily to military, commercial, and industrial
5

6      customers in the United States and internationally. CTG was founded in 1959 and was based in

7      Santa Barbara, California.

8             23.    Blue Wolf Capital Partners is a self-described “special-situation” private equity
9
       investment firm that targets the acquisition of middle-market companies facing structural,
10
       financial, or regulatory issues. After acquiring a company, Blue Wolf Capital Partners establishes
11
       a mezzanine structure of shell companies. Through its domination and control of these shell
12
       companies, Blue Wolf Capital Partners exercises control over its acquisition.
13

14            24.    Sometime in 2011, Blue Wolf Capital Partners learned that CTG may have been

15     facing financial challenges and approached CTG’s owner, Alta Properties, Inc., about acquiring
16     CTG. On or about December 2011, Blue Wolf Capital Partners, acting through its executive
17
       management team of Adam Blumenthal, Haranjeet Narulla, and Charles Miller among others,
18
       reached an agreement to purchase CTG. Blue Wolf Capital Partners directed one of its wholly
19
       owned and controlled subsidiaries—Blue Wolf Capital Advisors—to direct another subsidiary
20

21     owned and controlled by Blue Wolf Capital Partners—Blue Wolf Capital Fund—to form and

22     fund BW Piezo Holdings, LLC for the sole purpose of acquiring CTG. With its mezzanine

23     structure of shell companies in place, in late December 2011, Blue Wolf Capital Partners acquired
24     CTG as a subsidiary of BW Piezo.
25
              25.    After the acquisition, on December 28, 2011, Blue Wolf Capital Partners directed
26
       BW Piezo to execute the CTG Operating Agreement, naming BW Piezo as the sole owner and
27

28


      SECOND AMENDED COMPLAINT                                                               Page 6 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  49 of 680
                                                  Page 7 of 116


       member of CTG. See Ex. 1 (CTG Operating Agreement). The CTG Operating Agreement named
1

2      CTG’s previous manager, Kevin Ruelas, and Pierre Chao as managers of CTG and purported to

3      vest them with the full, exclusive, and complete discretion to manage and control the affairs of

4      CTG. Blue Wolf Capital Partners, however, acting through BW Piezo, retained complete control
5
       by including the following provision “[a]t any time, with or without cause and in its sole
6
       discretion, [BW Piezo] may (i) change the number of Managers, (ii) remove a Manager, (iii)
7
       replace a Manager or (iv) become a Manager.” This provision destroyed CTG’s management’s
8
       independence. With the looming threat of removal, a course of action that Blue Wolf Capital
9

10     Partners exercised frequently, Blue Wolf Capital Partners controlled CTG’s management and

11     ensured that CTG was operated for the benefit of Blue Wolf Capital Partners.
12            26.    On January 3, 2012, Blue Wolf Capital Partners issued a press release announcing
13
       its acquisition of CTG. See Ex. 2 (Blue Wolf Capital Partners Press Release). Although, the
14
       press release mentioned that Blue Wolf Capital Partners had acquired CTG through its shell
15
       companies, Blue Wolf Capital Partner’s press release left no doubt that it would dominate and
16

17     control CTG. In fact, Blue Wolf Capital Partners even announced that it would manage CTG’s

18     environmental, social, and governance features, and did not mention BW Piezo.

19            27.    On or about April 2013, Blue Wolf Capital Partners, acting through BW Piezo,
20     forced BW Piezo, CTG, and CTG’s subsidiary Electro Optical Industries to enter into a credit
21
       facility agreement with CIT Bank, N.A for $5,000,000 for CTG’s benefit.
22
       B.    CTG Acquires HC Materials’s Assets
23
              28.    After acquiring CTG, CTG’s management, under Blue Wolf Capital Partners’s
24

25     control, decided to expand CTG’s business to medical, ocean, and mining applications. To effect

26     this, CTG’s management began negotiations with Pengdi Han to acquire H.C. Materials, Inc.’s

27

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      SECOND AMENDED COMPLAINT                                                             Page 7 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  50 of 680
                                                  Page 8 of 116


       (“HC Materials”) assets, a crystal manufacturer with a focus on medical ultrasound imaging,
1

2      ocean mining, and ocean exploration systems.

3             29.    In June 2013, Blue Wolf Capital Partners, acting through BW Piezo, removed and

4      replaced CTG’s management and hired Ralph Phillips as President, Chief Executive Officer, and
5
       Manager of CTG. See Ex. 3 (Phillips Complaint). Adam Blumenthal and Haranjeet Narulla,
6
       acting on behalf of Blue Wolf Capital Partners, Blue Wolf Fund, and BW Piezo, represented to
7
       Mr. Phillips that CTG was in the process of acquiring H.C. Materials, and that the value of CTG
8
       equity he would be awarded as compensation would include the value of H.C. Materials.
9

10            30.    After hiring Mr. Phillips, CTG’s management, under the control of Blue Wolf

11     Capital Partners, continued to negotiate with Mr. Han regarding the acquisition of H.C. Materials.
12     Blue Wolf Capital Partners, acting through BW Piezo, directed CTG to hire an investment bank
13
       to obtain debt financing for the purchase of H.C. Materials’s assets. Per published comments
14
       from Blue Wolf Capital Partners and BW Piezo’s principal, Haranjeet Narulla, “[b]y outsourcing
15
       the financing process, [Blue Wolf Capital Partners] [was] able to focus [its] attention on a
16

17     complex add-on M&A transaction, while [the investment bank] helped us secure multiple sources

18     of debt capital that are well-suited to support [CTG’s] future growth and strategic initiatives.”

19     See Ex. 4 (Lincoln Financial Press Release).
20            31.    After exploring their financing options and evaluating their liability, Blue Wolf
21
       Capital Partners decided to restructure the transaction. Instead of having CTG purchase H.C.
22
       Materials’s assets directly, Blue Wolf Capital Partners, acting through BW Piezo, decided to
23
       create a new entity to hold the assets: CTG Advanced Materials. Neither BW Piezo nor the new
24

25     entity had the financial capability to purchase HC Materials’s assets, so Blue Wolf Capital

26     Partners, acting through BW Piezo, forced CTG’s management to obtain financing for these

27

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      SECOND AMENDED COMPLAINT                                                               Page 8 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                              Main Document Page  51 of 680
                                                  Page 9 of 116


       assets.
1

2                32.   In October 2013, Blue Wolf Capital Partners, acting through BW Piezo, forced

3      CTG and its subsidiary to join BW Piezo and CTG Advanced Materials as borrowers in the

4      Amended and Restated Credit Agreement with OneWest Bank (later CIT Bank, N.A. would
5
       become OneWest Bank’s successor in interest). See Ex. 5 (Amended and Restated Credit
6
       Agreement). Under the terms of the new loan agreement, CTG increased its revolving loan
7
       facility from $5,000,000 to $10,000,000. More significantly, though, CTG agreed to borrow
8
       $31,000,000 in a term loan and $8,000,000 in a revolving loan facility for CTG Advanced
9

10     Materials.

11               33.   At the same time, Blue Wolf Capital partners acting through BW Piezo, forced
12     CTG to enter into separate loan and investment agreements (“Loan and Investment Agreements”)
13
       with Fidus Investment Corporation; Fidus Mezzanine Capital II, L.P.; Avante Mezzanine
14
       Partners SBIC, LP; Avante Mezzanine Partners II, Inc. (the “Mezzanine Lenders”). See Exs. 6
15
       (Investment Agreement) and 7 (Security Agreement).
16

17               34.    The terms of the Loan and Investment Agreement with the Mezzanine Lenders

18     were onerous. In exchange for (1) a security interest in all CTG’s and Electro-Optical Industries,

19     LLC’s assets (a CTG subsidiary), and (2) equity in Blue Wolf Capital Partners’s shell company
20     and CTG’s owner, BW Piezo, the Mezzanine Lenders lent Blue Wolf Capital Partners, BW Piezo,
21
       and CTG $14,000,000 to be used to purchase the assets of H.C. Materials. Moreover, the terms
22
       of the agreement prohibited CTG and any of its subsidiaries from making any investments or
23
       acquisitions during the term of the agreement.
24

25               35.   After securing the financing, Blue Wolf Capital Partners, through BW Piezo, CTG,

26     and CTG Advanced Materials, used the loan proceeds and CTG’s cash to acquire H.C.

27

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      SECOND AMENDED COMPLAINT                                                               Page 9 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  52 of 680
                                                 Page 10 of 116


       Materials’s assets for $48 million. Immediately, the Blue Wolf Entities, Mr. Blumenthal, and
1

2      Mr. Narulla issued press releases and represented to the public that CTG had acquired H.C.

3      Materials. See Ex. 8 (October 15, 2013 Press Release). Blue Wolf Capital Partners’s actions left

4      CTG saddled with significant debt and limited CTG’s business.
5
              36.    Despite these public representations, Blue Wolf Capital Partners, acting through its
6
       executive management team and BW Piezo, surreptitiously decided to segregate the companies
7
       on paper. The new entity named CTG Advanced Materials purchased H.C. Materials’s assets;
8
       however, Blue Wolf structured CTG Advanced Materials to be a sister company to CTG under
9

10     the ownership of BW Piezo, instead of as a wholly-owned subsidiary of CTG. Additionally, BW

11     Piezo received all of the assets of DHAN, LLC.
12            37.    The paper segregation was fictional. Despite surreptitiously structuring CTG
13
       Advanced Materials as a sister company, Blue Wolf Capital Partners, acting through its executive
14
       management team and BW Piezo, forced CTG to use its assets to make payments to the
15
       Mezzanine Lenders and to CIT Bank, N.A. pursuant to the loan agreements. Further, Blue Wolf
16

17     Capital Partners told Mr. Phillips that CTG Advanced Materials would be formally merged and

18     directed him to run CTG Advanced Materials as a division of CTG. See Ex. 3 (Phillips

19     Complaint). The companies, along with BW Piezo, were then operated as a single enterprise by
20     CTG’s management.
21
              38.    From December 20, 2013 to December 31, 2015, CTG made regular payments to
22
       Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P. totaling $1,959,987.31.
23
       From December 19, 2013 to February 18, 2016, CTG made regular payments to Avante
24

25     Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II, Inc. totaling $1,957,300.44.

26            39.    As detailed below, BW Piezo, CTG, and CTG Advanced Materials operated as

27

28


      SECOND AMENDED COMPLAINT                                                              Page 10 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  53 of 680
                                                 Page 11 of 116


       alter egos of each other. The three entities commingled funds and assets of the companies. Blue
1

2      Wolf Capital Partners, acting through its executive management team and BW Piezo,

3      indiscriminately directed CTG to transfer funds to pay for BW Piezo’s and CTG Advanced

4      Materials’s liabilities, including payroll, professional services, and legal bills, and vice versa
5
       benefitting those entities, as well as Blue Wolf Capital Partners and its shell companies and the
6
       Mezzanine Lenders by virtue of their equity interest in BW Piezo. Further, Blue Wolf Capital
7
       Partners’s shell companies used the same business locations and employees, shared the same
8
       control group, and shared corporate records. BW Piezo did not have an independent corporate
9

10     existence and served only as a conduit for Blue Wolf Capital Partners to control CTG; BW Piezo

11     had no separate employees or independent board members. BW Piezo did not even have a
12     separate bank account. Moreover, CTG and CTG Advanced Materials were held out publicly to
13
       be the same entity, and even represented to the federal government that CTG had acquired H.C.
14
       Materials and was its successor legal entity. See Ex. 9 (Dorsey Whitney Letter).
15
       D.    CTG’s Financial Struggles
16

17            40.    These actions took their toll on CTG. Throughout 2014 and 2015, CTG struggled

18     to balance its finances. The onerous loan payments and loan conditions took a toll on CTG, and

19     coupled with CTG supporting BW Piezo and CTG Advanced Materials, CTG was unable to pay
20     its debts as they came due. See Ex. 3 (Phillips Complaint).
21
              41.    In 2015, CTG’s management discovered that CTG had material liabilities that
22
       threatened CTG’s status as a going concern. CTG’s management brought this to the attention of
23
       Blue Wolf Capital Partners and Adam Blumenthal. Realizing that CTG was insolvent and facing
24

25     mounting debt, Blue Wolf Capital Partners and Adam Blumenthal undertook a plan to a plan to

26     liquidate CTG’s assets in a manner to maximize their own recovery in the event of likely

27

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      SECOND AMENDED COMPLAINT                                                              Page 11 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  54 of 680
                                                 Page 12 of 116


       bankruptcy.
1

2             42.     In late 2015, Blue Wolf Capital Partners, realizing that it needed to create

3      separation between BW Piezo, CTG, and CTG Advanced Materials prior to CTG’s bankruptcy,

4      decided to sell CTG Advanced Materials. Blue Wolf Capital Partners hired an investment bank
5
       to solicit offers for the sale of CTG Advanced Materials.
6
              43.     On or about January 2016, Blue Wolf Capital Partners removed Mr. Phillips from
7
       his position at CTG and replaced him with Christopher Holmes. CTG was not in the financial
8
       position to repurchase Mr. Phillips’s ownership interests and needed to convince Mr. Phillips to
9

10     maintain his equity position. To do so, Mr. Blumenthal falsely represented to Mr. Phillips that

11     Blue Wolf was in the process of selling CTG Advanced Materials and misrepresented that the
12     proceeds would go to CTG. See Ex. 3 (Phillips Complaint).
13
       E.    CTG Was Habitually Cash-Strapped and Desperately in Need of Operating Capital
14
             44.      As noted, prior to filing for bankruptcy, CTG was habitually cash-strapped and in
15
       desperate need of operating capital. Indeed, it was standard operating procedure for CTG to
16

17     “string along” its vendors, because it simply did not have the funds to pay its debts. By way of

18     just a few examples:

19           •     By October of 2015, BW Piezo board minutes indicate that CTG was in poor financial
                   shape and was walking a “tightrope.” See Ex. 10 (attachment to 2/5/16 email from L.
20                 Chen to K. Carrington). In fact, by this same time, BW Piezo was already
21                 contemplating the sale of CTG Advanced Materials and noting that it needed to focus
                   on “how to improve cash flow to . . . direct capital to [Advanced Materials] . . . to
22                 improve the value before exit” at the expense of CTG. See Ex. 10 (attachment to 2/5/16
                   email from L. Chen to K. Carrington).
23
             •     By January 2016, CTG was instructing CTG Advanced Materials that: “we do need
24
                   you to stretch your payments out to suppliers as much as possible . . . [a]s you know
25                 we [i.e., CTG] are managing our cash very tightly and will need [Advanced Materials]
                   to slow down the outflows as well.” See Ex. 11 (1/27/16 email from L. Chen to S.
26                 Hoyos). Because CTG Advanced Materials was dependent on CTG’s support, Blue
27

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      SECOND AMENDED COMPLAINT                                                              Page 12 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  55 of 680
                                                 Page 13 of 116


                 Wolf Capital Partners made this request to delay CTG from running out of funds and
1                being forced to file for bankruptcy prior to the sale of CTG Advanced Materials.
2
             •   Unsurprisingly, then, by January 2016, CTG was insolvent and not making timely
3                payments to its vendors. Vendors were complaining to CTG of its late payments on
                 invoiced billings and failure to honor extended payment plans. See Ex. 12 (1/22/16
4                mail from L. Chen to J. Rumsey).
5
             •   By February 2016, CTG was lamenting its cash flow and insolvency, noting that
6                forecasts “do [] not look good.” See Ex. 13 (2/9/16 email from S. Hoyos to L. Chen).

7            •   Also, by February 2016, CTG Advanced Materials could not even make its payroll
                 without borrowing funds from CTG. See Ex. 14 (2/17/16 email from C. Hanna to J.
8                Hager).
9

10            45.    CTG’s precarious financial position was apparently due to a variety of factors,

11     among them:
12
             •   CTG’s assumption of CTG Advanced Material’s and other affiliates and subsidiaries’
13               liabilities and use of CTG’s capital and assets to maintain CTG Advanced Material’s
                 and other affiliates and subsidiaries’ businesses. See Ex. 17 (Presentation Structuring
14               CTG Advanced Materials as Subsidiary of CTG).
15           •   The sale of Electro-Optical Industries to “a foreign interest,” which CTG reported left
16               the Department of State “appalled” and jeopardized CTG’s security accreditation. See
                 Ex. 15 (6/24/16 email from C. Holmes to V. Caruso); Ex. 16 (6/20/16 email from C.
17               Holmes to V. Caruso).

18
       F.     Blue Wolf Capital Partners Liquidates CTG’s Assets and Prepares for Bankruptcy
19     Filing
20             46. On or about March 2016, Blue Wolf Capital Partners, through its executive

21     management team and BW Piezo, sold CTG Advanced Materials for approximately $73 million

22     to CTS Corporation. See Ex. 18 (CTS Corporation Press Release). Instead of returning to CTG
23
       the proceeds from the sale of assets of CTG Advanced Materials, Blue Wolf Capital Partners,
24
       acting through BW Piezo, structured the transaction to have CTS Corporation transfer the
25
       proceeds to Blue Wolf Capital Partners and its shell companies, CIT Bank, N.A., the Mezzanine
26
       Lenders, Pengdi Han, and to Blue Wolf Capital Partners insiders as bonus payments. In fact,
27

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      SECOND AMENDED COMPLAINT                                                             Page 13 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  56 of 680
                                                 Page 14 of 116


       because BW Piezo did not even have its own bank account, Blue Wolf Capital Partners directed
1

2      CTS Corporation to transfer the proceeds from the sale of CTG Advanced Materials to Blue Wolf

3      Capital Fund.

4             47.      Subsequently, and with CTG Advanced Materials’s assets liquidated and
5
       distributed amongst Blue Wolf Capital Partners, its insiders, and its lenders, Blue Wolf Capital
6
       Partners and Mr. Holmes began to position CTG to declare for bankruptcy. Blue Wolf was
7
       desperate to delay CTG’s filing for bankruptcy protection for as long as possible to avoid the
8
       bankruptcy preference period and protect the validity of the transfers related to the CTG
9

10     Advanced Materials sale. To accomplish this, Blue Wolf Capital Partners and Mr. Holmes

11     directed CTG, in April 2016, to enter a prepetition lending agreement with Blue Wolf Capital
12     Fund II, L.P., to provide a cash infusion in exchange for a security interest in CTG’s assets. Next,
13
       in June 2016, Blue Wolf sealed CTG’s fate by selling one of its most valuable subsidiaries,
14
       Electro-Optical Industries, at a cut-rate price in June 2016 to keep CTG from being forced to file
15
       bankruptcy for a couple more months.
16

17            48.      With these actions in place, Blue Wolf Capital Partners directed CTG to file for

18     bankruptcy in late 2016 to leave the other creditors of CTG “holding the bag” while Defendants

19     enjoyed the millions in distributions from the sale of CTG Advanced Materials.
20                                             V.
21                      BLUE WOLF CAPITAL PARTNERS CONTROL AND DOMINATION

22            49.      The foregoing and following paragraphs are hereby incorporated by reference as if

23     fully set forth herein are made by way of information and belief, which is expected to be borne
24     out through discovery,
25
              50.      At all relevant times, Blue Wolf Capital Partners was operated by its Founder,
26
       Managing Partner, and Managing Principal, Adam Blumenthal, and its partners, including
27

28


      SECOND AMENDED COMPLAINT                                                                Page 14 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  57 of 680
                                                 Page 15 of 116


       Charles Miller, Haranjeet Narulla, and Michael Ranson.
1

2             51.    Blue Wolf Capital Partners owns, dominates, and controls Blue Wolf Capital Fund

3      II, L.P. The two entities shared the same managing partner: Adam Blumenthal. In addition, Blue

4      Wolf Capital Partners insiders, including Blumenthal, Miller, Narulla, and Ranson serve as
5
       directors for Blue Wolf Capital Fund. Blue Wolf Capital Partners uses Blue Wolf Capital Fund
6
       as a mere liability shield for the operations of Blue Wolf Capital Partners, and all funds from it
7
       and its subsidiaries are siphoned up to Blue Wolf Capital Partners and its insiders. Blue Wolf
8
       Capital Fund does not have an independent office or independent employees.
9

10            52.    Blue Wolf Capital Partners uses another shell company to manage Blue Wolf

11     Capital Fund: Blue Wolf Capital Advisors. Blue Wolf Capital Advisors is owned and operated
12     by the same group of Blue Wolf Capital Partners insiders, including Blumenthal, Miller, Narulla,
13
       and Ranson. Blue Wolf Capital Partners structured Blue Wolf Capital Advisors, LP as the
14
       general partner of Blue Wolf Capital Fund II, LP. Blue Wolf Capital Partners uses Blue Wolf
15
       Capital Advisors as a mere liability shield to manage Blue Wolf Capital Fund, and all funds from
16

17     it and its subsidiaries are siphoned up to Blue Wolf Capital Partners and its insiders. Blue Wolf

18     Capital Advisors does not have an independent office or independent employees.

19            53.    Blue Wolf Capital Partners used Blue Wolf Capital Advisors to direct Blue Wolf
20     Fund to establish BW Piezo to acquire CTG. BW Piezo is not an independent entity and is made
21
       up and controlled by the same Blue Wolf Capital Partners insiders, including its Founder and
22
       Managing Partner, Adam Blumenthal, and Charles P. Miller, Haranjeet Narulla, and Michael
23
       Ranson. BW Piezo is merely a façade for the operations of Blue Wolf Capital Partners and all
24

25     funds from it and its subsidiaries are siphoned up to Blue Wolf Capital Partners and its insiders.

26     Further, Blue Wolf Capital Partners, and its agents, operate BW Piezo as a mere division of Blue

27

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      SECOND AMENDED COMPLAINT                                                              Page 15 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  58 of 680
                                                 Page 16 of 116


       Wolf Capital Partners and do not respect its distinct corporate form. BW Piezo does not have an
1

2      independent office or independent employees.

3             54.    BW Piezo, CTG, and CTG Advanced Materials were organized and operated as

4      alter egos of each other. Although Blue Wolf identified CTG and CTG Advanced Materials as
5
       separate entities in organizational charts, in practice, there was no corporate separateness between
6
       the two (or BW Piezo). Blue Wolf Capital Partners—utilizing its “shell company” BW Piezo—
7
       routinely commingled funds and assets between the two to cover company liabilities. Among
8
       other things, under Blue Wolf Capital Partners’ direction and control of BW Piezo, CTG, and
9

10     CTG Advanced Materials:

11               •   CTG funds were used to pay for the liabilities and debts of CTG Advanced
                     Materials and BW Piezo, including payroll. See Ex. 19 (1/26/16 email from L.
12
                     Chen to C. Hanna); Ex. 20 (1/5/16 email from L. Chen to C. Hanna); Ex. 14
13                   (2/17/16 email from C. Hanna to J. Hager).

14
                 •   CTG Advanced Materials funds were used to pay for the liabilities and debts of
15                   CTG, including accounts receivable. See Ex. 21 (12/2/15 email from L. Chen to
                     C. Hanna).
16

17               •   Accounting between the two companies was commingled. For example, CTG
18                   Advanced Materials’ revenues were accounted for as part of CTG’s overall
                     revenues. See Ex. 22 (1/21/16 email from L. Chen to S. Hoyos).
19

20               •   CTG funds were transferred to BW Piezo to pay out CTG Advanced Materials
                     bonuses and legal expenses.
21

22               •   CTG’s “cash flow” position was forecasted to include the “cash flow” position of
                     CTG Advanced Materials.
23

24               •   The liabilities of all BW Piezo subsidiaries were paid through CTG’s operating
25                   account, and BW Piezo did not have its own separate bank account. See Ex. 23
                     (1/21/16 email from L. Chen to A. Ortega).
26

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      SECOND AMENDED COMPLAINT                                                                Page 16 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  59 of 680
                                                 Page 17 of 116


                 •   CTG expenses were accrued between CTG and BW Piezo. See Ex. 24 (1/15/16
1
                     email from L. Chen to C. Hanna).
2

3                •   BW Piezo would pay for certain CTG-related expenses directly and then seek
                     reimbursement from CTG. See Ex. 25 (2/2/16 email from L. Chen to D.
4                    Oldham).
5
                 •   CTG incurred BW Piezo’s legal, tax, and other service expenses. See Ex. 26
6                    (3/8/16 email from C. Hanna to A. Ortega).
7

8                •   Legal expenses incurred in relation to CTG matters were charged to BW Piezo’s
                     general liabilities. See Ex. 27 (1/12/16 email from L. Chen to C. Hanna).
9

10               •   BW Piezo did not have its own physical location and held board meetings at the
                     offices of CTG. See Ex. 10 (attachment to 2/5/16 email from L. Chen to K.
11                   Carrington).
12
                 •   CTG’s corporate documents and communications with auditors represented CTG
13
                     Advanced Materials as a “division” of CTG. See Ex. 28 (pdf attachment to
14                   12/26/15 email rom L. Chen to D. Ligon); Ex. 29 (attachment to 1/19/16 email
                     from L. Chen to J. Cherry).
15

16               •   CTG Advanced Materials was represented in government submissions and public
                     press releases as being a subsidiary of CTG. See Ex. 9 (Dorsey Whitney letter).
17
              55.    In addition, and in the alternative, Blue Wolf Capital Partners, through its shell
18
       companies and executive management team, formed, organized, and operated BW Piezo, CTG,
19

20     and CTG Advanced Materials to evade government regulation, legal obligations, and debt

21     obligations, including national security related regulations and bankruptcy laws.
22            56.    In addition, and in the alternative, the Blue Wolf Entities allowed the entities to
23
       operate with inadequate capital for the type of business they were conducting. siphoning CTG’s
24
       assets and capital to repay Blue Wolf Capital Partners and make distributions to themselves.
25
              57.    In addition, and in the alternative, Blue Wolf Capital Partners operated BW Piezo,
26

27     CTG, and CTG Advanced Materials as part of a single business enterprise for the reasons stated

28


      SECOND AMENDED COMPLAINT                                                             Page 17 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  60 of 680
                                                 Page 18 of 116


       herein.
1

2                                                     VI.
                             CTG’S CREDITORS LEFT WITH INEQUITABLE RESULT
3
                 58.   Blue Wolf Capital Partners’s abuse of the corporate form is inequitable because
4
       Blue Wolf Capital Partners, Blue Wolf Capital Fund, Blue Wolf Capital Advisors, BW Piezo,
5

6      and CTG Advanced Materials reaped the benefits of holding out and treating CTG and CTG

7      Advanced Materials as the same entity but left CTG’s creditors to pay for that arrangement.

8                59.   Blue Wolf Capital Partners, and its principals, including Blumenthal, Miller,
9
       Narulla, and Ranson, completely dominated and controlled Blue Wolf Capital Fund, Blue Wolf
10
       Capital Advisors, and BW Piezo. Through these entities, Blue Wolf Capital Partners dominated
11
       and controlled CTG and CTG Advanced Materials.
12
                 60.   Blue Wolf Capital Partners controlled CTG’s management and board of directors
13

14     and directed CTG in every major decision, including whether to acquire companies or make

15     payments to vendors. Blue Wolf Capital Partners frequently exercised its power to remove and
16     replace CTG’s managers and appointed its own principals, including Charles Miller, Vic Caruso,
17
       and other Blue Wolf Capital Partners’s partners and employees.
18
                 61.   Blue Wolf Capital Partners forced CTG to enter into and secure oppressive loan
19
       agreements for the sole benefit of BW Piezo and itself, forced CTG to make payments on these
20

21     loans that did not benefit CTG, forced CTG to pass on corporate opportunities, such as the

22     acquisition of HC Materials’s assets directly, and forced CTG to pay for CTG Advanced

23     Materials’s and BW Piezo’s liabilities and debts—all without CTG receiving any reasonably
24     equivalent value. These actions were not in the best interest of CTG, limited CTG’s growth, and
25
       depleted the assets available to satisfy CTG’s debts. Conversely, these actions enriched BW
26
       Piezo and CTG Advanced Materials as they did not have to expend their own resources and
27

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      SECOND AMENDED COMPLAINT                                                            Page 18 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  61 of 680
                                                 Page 19 of 116


       benefitted from the allocation of assets.
1

2              62.    Moreover, because Blue Wolf Capital Partners made repeated public and private

3      declarations that Blue Wolf Capital Partners controlled CTG and that CTG owned CTG

4      Advanced Material, CTG’s creditors relied on these declarations to their detriment. In sum, Blue
5
       Wolf Capital Partners received the benefits resulting from perceived and implied increased
6
       creditworthiness while purporting to insulate itself from having to satisfy those creditors’ debts.
7
                                                     VI.
8                                             CAUSES OF ACTION
9
          A. Avoidance of Actual Fraudulent Transfers Under 11 U.S.C. §§ 548(a)(1)(A) and
10           550(a)

11     (Defendants Blue Wolf Capital Partners, Blue Wolf Capital Fund, Blue Wolf Capital Advisors,
                                             and BW Piezo)
12       (Avoidance of Transfers to Defendants Gladstone Investment Corporation, the Mezzanine
          Lenders, Pengdi Han, DHAN, LLC, CTS Corporation, CTG Advanced Materials, LLC)
13

14             63.    The foregoing and following paragraphs are hereby incorporated by reference as if

15     fully set forth herein.
16             64.    The proceeds from the sale of CTG Advanced Materials belonged to CTG. Blue
17
       Wolf Capital Partners, through its shell companies and BW Piezo, forced CTG to transfer the
18
       sale proceeds to Blue Wolf Capital Partners and its creditors. The following transfers with
19
       property of CTG:
20

21             65.    In March 2016, CTG transferred $7,264,770.39 to Fidus Investment Corporation

22     and Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s

23     bank account; however, a “For Further Credit” designation was included to route the transfer to
24     Fidus Mezzanine Capital II, L.P. The transfer was made for the benefit of Blue Wolf Capital
25
       Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
26
       pursuant to a loan agreement. In addition, the transfer was made for the benefit of Gladstone
27

28


      SECOND AMENDED COMPLAINT                                                               Page 19 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  62 of 680
                                                 Page 20 of 116


       Investment Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and
1

2      CTG Advanced Materials. CTG made this transfer to terminate its loan agreement and allow the

3      liquidation of CTG Advanced Materials’s assets to be siphoned to Blue Wolf Capital Advisors

4      through BW Piezo and away from CTG’s creditors.
5
              66.    Plaintiff’s research and receipt of public records do not reflect any perfected lien
6
       by the Mezzanine Lenders as to CTG. Therefore, at best, they would be another unsecured
7
       creditor of CTG and should have shared loan repayments with CTG’s other unsecured creditors.
8
              67.    In March 2016, CTG transferred $7,263,263.90 to Avante Mezzanine Partners
9

10     SBIC, LP. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and

11     CTG Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement.
12     In addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
13
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials. CTG
14
       made this transfer to terminate its loan agreement and allow the liquidation of CTG Advanced
15
       Materials’s assets to be siphoned to Blue Wolf Capital Advisors through BW Piezo and away
16

17     from CTG’s creditors.

18            68.    In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.

19     The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
20     Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In
21
       addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
22
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials. CTG
23
       made this transfer to terminate its loan agreement and allow the liquidation of CTG Advanced
24

25     Materials’s assets to be siphoned to Blue Wolf Capital Advisors through BW Piezo and away

26     from CTG’s creditors.

27

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      SECOND AMENDED COMPLAINT                                                              Page 20 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  63 of 680
                                                 Page 21 of 116


              69.     In March 2016, CTG transferred $1,515,005.70 to CTG Advanced Materials. The
1

2      transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, Gladstone Investment

3      Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine Lenders because they owned equity

4      in CTG Advanced Materials.       In addition, the transfer was made for the benefit of CTS
5
       Corporation.
6
              70.     In March 2016, CTG transferred $26,000.00 to DHAN, LLC. The transfer was
7
       made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han
8
       controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han,
9

10     as he is the principal of DHAN, LLC.

11            71.     In March 2016, CTG transferred $16,612,424.11 to Blue Wolf Capital Fund. The
12     transfer was made for the benefit of BW Piezo. The transfer was also made for the benefit of
13
       Blue Wolf Capital Partners, Gladstone Investment Corporation, Pengdi Han, DHAN, LLC, and
14
       the Mezzanine Lenders because they owned equity in BW Piezo. CTG made this transfer to
15
       siphon the proceeds of the CTG Advanced Materials sale to Blue Wolf Capital Advisors through
16

17     BW Piezo and away from CTG’s creditors.

18            72.     In March 2016, CTG transferred $1,052,250 to PNC Bank, N.A. PNC Bank, N.A.

19     was the escrow agent working with BW Piezo and CTS Corporation. The transfer was made for
20     the benefit of BW Piezo. The transfer was also made for the benefit of Blue Wolf Capital
21
       Partners, Gladstone Investment Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine
22
       Lenders because they owned equity in BW Piezo.
23
              73.     Additionally, and in the alternative, CTG, through its alter ego BW Piezo, made
24

25     the following transfers with CTG’s property:

26

27

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      SECOND AMENDED COMPLAINT                                                           Page 21 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  64 of 680
                                                 Page 22 of 116


              74.     In March 2016, CTG transferred $2,303,366.24 to DHAN, LLC. The transfer was
1

2      made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han

3      controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han,

4      as the principal of DHAN, LLC.
5
              75.     In March 2016, CTG transferred $633,872 to Blue Wolf Capital Partners, LLC.
6
              76.     In March 2016, CTG transferred $752,245.09 to Gladstone Investment
7
       Corporation.
8
              77.     In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.
9

10     The transfer was also made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG

11     Advanced Materials to resolve their liabilities and obligations pursuant to an investment
12     agreement.     In addition, the transfer was made for the benefit of Gladstone Investment
13
       Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and CTG
14
       Advanced Materials. CTG made this transfer to terminate its loan agreement and allow the
15
       liquidation of CTG Advanced Materials’s assets to be siphoned to Blue Wolf Capital Advisors
16

17     through BW Piezo and away from CTG’s creditors.

18            78.     In March 2016, CTG transferred $199,861.70 to Fidus Investment Corporation and

19     Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s bank
20     account; however, a “For Further Credit” designation was included to route the transfer to Fidus
21
       Mezzanine Capital II, L.P.   The transfer was also made for the benefit of Blue Wolf Capital
22
       Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
23
       pursuant to an investment agreement. In addition, the transfer was made for the benefit of
24

25     Gladstone Investment Corporation and the Mezzanine Lenders because they owned equity in BW

26     Piezo and CTG Advanced Materials. CTG made this transfer to terminate its investment

27

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      SECOND AMENDED COMPLAINT                                                            Page 22 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  65 of 680
                                                 Page 23 of 116


       agreement and allow the liquidation of CTG Advanced Materials’s assets to be siphoned to Blue
1

2      Wolf Capital Advisors through BW Piezo and away from CTG’s creditors.

3             79.    In March 2016, CTG transferred $199,861.70 to Avante Mezzanine Partners SBIC,

4      L.P. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
5
       Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In
6
       addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
7
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials. CTG
8
       made this transfer to terminate its investment agreement and allow the liquidation of CTG
9

10     Advanced Materials’s assets to be siphoned to Blue Wolf Capital Advisors through BW Piezo

11     and away from CTG’s creditors.
12            80.    Blue Wolf Capital Partners, through its shell companies, and its principals,
13
       including Blumenthal, Miller, and Narulla, nevertheless transferred the above-listed property to
14
       insiders of CTG.
15
              81.    Through CTG’s alter egos BW Piezo and CTG Advanced Materials, Blue Wolf
16

17     Capital Partners maintained control of a significant amount of the proceeds from the sale of

18     CTG’s property.

19            82.    Details of the transfer of CTG’s property were not fully disclosed and remained
20     concealed. In fact, under Blue Wolf Capital Partners’ control and Charles Miller acting as CTG’s
21
       manager, CTG continued to list CTG Advanced Materials as an entity that CTG owned or
22
       controlled:
23

24

25

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      SECOND AMENDED COMPLAINT                                                            Page 23 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  66 of 680
                                                 Page 24 of 116



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7      Submission of Statement of Financial Affairs, In re Channel Technologies Group, LLC, 9:16-

8      BK-11912-PC, ECF No. 114 (Bankr. N.D. Cal., Nov. 16, 2016). Moreover, Blue Wolf Capital

9      Partners, through its shell companies, principals, and BW Piezo, made, and forced CTG, to
10
       represent to the public, CTG’s creditors, and to the federal government that CTG owned CTG
11
       Advanced Materials.
12
              83.    The transfer of the sales proceeds amounted to substantially all CTG’s remaining
13
       assets. This is a result of Blue Wolf Capital Partners, through its shell companies, including BW
14

15     Piezo, forcing CTG to guaranty loans, make payments on loans, and pay liabilities and debts for

16     BW Piezo and CTG Advanced Materials.
17            84.    CTG did not receive any reasonably equivalent value for the above-listed transfers.
18
              85.    Blue Wolf Capital Partners, through its shell companies and BW Piezo, and thus
19
       ultimately through CTG, made the transfers and incurred the obligations specified above with the
20
       actual intent to hinder, delay, and defraud CTG’s creditors.       Blue Wolf Capital Partners
21

22     transferred the sale proceeds, Blue Wolf Capital Partners protected the proceeds from the sale

23     from becoming part of the bankruptcy estate. By causing such transfers to be made, the Blue

24     Wolf Entities hoped to distribute to themselves or for their benefit all of the proceeds from the
25     sale of CTG Advanced Materials.
26
              86.    At the time the transfers and obligations incurred were made, or entered into, Blue
27

28


      SECOND AMENDED COMPLAINT                                                             Page 24 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  67 of 680
                                                 Page 25 of 116


       Wolf Capital Partners understood that causing those transfers and incurring those obligations
1

2      would inevitably harm CTG’s creditors. Blue Wolf Capital Partners knew CTG would be left

3      insolvent and the transfers would reduce the amount of funds available to repay creditors. Blue

4      Wolf Capital Partners, through its domination and control of CTG, knew the true financial straits
5
       CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15). Despite this indisputable knowledge, Blue Wolf
6
       Capital Partners, by and through its principals, including Blumenthal, Miller, Narulla, and
7
       Ranson, as well as BW Piezo, directed CTG to make these transfers for their own benefit and for
8
       CTG Advanced Materials’s benefit. By doing so, and with the full knowledge that CTG did not
9

10     have sufficient cash to cover all debts, Blue Wolf Capital Advisors forced CTG to intentionally

11     short-change other creditors, including the unsecured creditors identified in Schedule A. This
12     pattern and practice of denuding CTG of funds to pay themselves and the identified transferees
13
       lead directly and proximately to the CTG bankruptcy.
14
              87.    Blue Wolf Capital Partners, through its shell companies, its principals, and BW
15
       Piezo, controlled and dominated CTG. Blue Wolf Capital Partners controlled the transfer of
16

17     funds, the ability for CTG to incur obligations, and the ability to direct those purchasing CTG’s

18     assets to transfer the proceeds from their sale.

19            88.    Plaintiff may avoid each of the transfers and obligations under 11 U.S.C. §§
20     548(a)(1)(A) and 550.
21

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      SECOND AMENDED COMPLAINT                                                             Page 25 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  68 of 680
                                                 Page 26 of 116


         B. Avoidance of Constructive Fraudulent Transfers Under 11 U.S.C. § 548(a)(1)(B)
1

2      (Defendants Blue Wolf Capital Partners, Blue Wolf Capital Fund, Blue Wolf Capital Advisors,
                                             and BW Piezo)
3        (Avoidance of Transfers to Defendants Gladstone Investment Corporation, the Mezzanine
          Lenders, Pengdi Han, DHAN, LLC, CTS Corporation, CTG Advanced Materials, LLC)
4
               89.    The foregoing and following paragraphs are hereby incorporated by reference as if
5

6      fully set forth herein

7              90.    The proceeds from the sale of CTG Advanced Materials belonged to CTG. Blue

8      Wolf Capital Partners, through its shell companies and BW Piezo, forced CTG to transfer the
9
       sale proceeds to Blue Wolf Capital Partners and its creditors. Upon information and belief, the
10
       following transfers with property of CTG:
11
               91.    In March 2016, CTG transferred $7,264,770.39 to Fidus Investment Corporation
12
       and Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s
13

14     bank account; however, a “For Further Credit” designation was included to route the transfer to

15     Fidus Mezzanine Capital II, L.P. The transfer was made for the benefit of Blue Wolf Capital
16     Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
17
       pursuant to a loan agreement. In addition, the transfer was made for the benefit of Gladstone
18
       Investment Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and
19
       CTG Advanced Materials.
20

21             92.    In March 2016, CTG transferred $7,263,263.90 to Avante Mezzanine Partners

22     SBIC, LP. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and

23     CTG Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement.
24     In addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
25
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials.
26

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      SECOND AMENDED COMPLAINT                                                             Page 26 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  69 of 680
                                                 Page 27 of 116


              93.     In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.
1

2      The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG

3      Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In

4      addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
5
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials.
6
              94.     In March 2016, CTG transferred $1,515,005.70 to CTG Advanced Materials. The
7
       transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, Gladstone Investment
8
       Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine Lenders because they owned equity
9

10     in CTG Advanced Materials.       In addition, the transfer was made for the benefit of CTS

11     Corporation.
12            95.     In March 2016, CTG transferred $26,000.00 to DHAN, LLC. The transfer was
13
       made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han
14
       controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han.
15
              96.     In March 2016, CTG transferred $16,612,424.11 to Blue Wolf Capital Fund. The
16

17     transfer was made to Blue Wolf Capital Fund because BW Piezo does not have an independent

18     bank account. The transfer was made for the benefit of BW Piezo. The transfer was also made

19     for the benefit of Blue Wolf Capital Partners, Gladstone Investment Corporation, Pengdi Han,
20     DHAN, LLC, and the Mezzanine Lenders because they owned equity in BW Piezo.
21
              97.     In March 2016, CTG transferred $1,052,250 to PNC Bank, N.A. PNC Bank, N.A.
22
       was the escrow agent working with BW Piezo and CTS Corporation. The transfer was made for
23
       the benefit of BW Piezo. The transfer was also made for the benefit of Blue Wolf Capital
24

25     Partners, Gladstone Investment Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine

26     Lenders because they owned equity in BW Piezo.

27

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      SECOND AMENDED COMPLAINT                                                            Page 27 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  70 of 680
                                                 Page 28 of 116


              98.     Additionally, and in the alternative, CTG, through its alter ego BW Piezo, made
1

2      the following transfers with CTG’s property:

3             99.     In March 2016, CTG transferred $2,303,366.24 to DHAN, LLC. The transfer was

4      made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han
5
       controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han.
6
              100. In March 2016, CTG transferred $633,872 to Blue Wolf Capital Partners, LLC.
7
              101. In March 2016, CTG transferred $752,245.09 to Gladstone Investment
8
       Corporation.
9

10            102. In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.

11     The transfer was also made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
12     Advanced Materials to resolve their liabilities and obligations pursuant to an investment
13
       agreement.     In addition, the transfer was made for the benefit of Gladstone Investment
14
       Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and CTG
15
       Advanced Materials.
16

17            103. In March 2016, CTG transferred $199,861.70 to Fidus Investment Corporation and

18     Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s bank

19     account; however, a “For Further Credit” designation was included to route the transfer to Fidus
20     Mezzanine Capital II, L.P.    The transfer was also made for the benefit of Blue Wolf Capital
21
       Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
22
       pursuant to an investment agreement. In addition, the transfer was made for the benefit of
23
       Gladstone Investment Corporation and the Mezzanine Lenders because they owned equity in BW
24

25     Piezo and CTG Advanced Materials.

26

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      SECOND AMENDED COMPLAINT                                                            Page 28 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  71 of 680
                                                 Page 29 of 116


              104. In March 2016, CTG transferred $199,861.70 to Avante Mezzanine Partners SBIC,
1

2      L.P. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG

3      Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In

4      addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
5
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials.
6
              105. CTG did not receive reasonably equivalent value in exchange for the property
7
       transferred.
8
              106. Because of the transfers and obligations, CTG became insolvent and
9

10     undercapitalized. CTG was unable to pay its debts to its creditors and ultimately had to file for

11     bankruptcy.
12            107. Additionally, and in the alternative, Blue Wolf Capital Partners intended and knew
13
       that the obligations CTG incurred were beyond its ability to pay as the debts matured. See, e.g.
14
       ¶¶ 44–45; Exs. 10–15.
15
              108. Blue Wolf Capital Partners, through its shell companies, its principals, and BW
16

17     Piezo, controlled and dominated CTG. Blue Wolf Capital Partners controlled the transfer of

18     funds, the ability for CTG to incur obligations, and the ability to direct those purchasing CTG’s

19     assets to transfer the proceeds from their sale.
20            109. The Liquidating Trustee has standing to assert this claim because the creditors
21
       listed on Schedule A have allowable unsecured claims, pursuant to 11 U.S.C. § 544(b)(1), under
22
       California and federal law against CTG.
23
              110. Plaintiff may avoid each of the transfers and obligations under 11 U.S.C. §
24

25     548(a)(1)(B).

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      SECOND AMENDED COMPLAINT                                                             Page 29 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  72 of 680
                                                 Page 30 of 116


       C.      Violation of California Uniform Fraudulent Transfer Act (Actual Fraud)
1

2      (Defendants   Blue Wolf Capital Partners, Blue Wolf Capital Fund, Blue Wolf Capital Advisors,
                                                and BW Piezo)
3           (Avoidance of Transfers to Defendants Gladstone Investment Corporation, the Mezzanine
             Lenders, Pengdi Han, DHAN, LLC, CTS Corporation, CTG Advanced Materials, LLC)
4
                111. The foregoing and following paragraphs are hereby incorporated by reference as if
5

6      fully set forth herein.

7               112. The proceeds from the sale of CTG Advanced Materials belonged to CTG. Blue

8      Wolf Capital Partners, through its shell companies and BW Piezo, forced CTG to transfer the
9
       sale proceeds to Blue Wolf Capital Partners and its creditors. The following transfers with
10
       property of CTG:
11
                113. In March 2016, CTG transferred $7,264,770.39 to Fidus Investment Corporation
12
       and Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s
13

14     bank account; however, a “For Further Credit” designation was included to route the transfer to

15     Fidus Mezzanine Capital II, L.P. The transfer was made for the benefit of Blue Wolf Capital
16     Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
17
       pursuant to a loan agreement. In addition, the transfer was made for the benefit of Gladstone
18
       Investment Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and
19
       CTG Advanced Materials. CTG made this transfer to terminate its loan agreement and allow the
20

21     liquidation of CTG Advanced Materials’s assets to be siphoned to Blue Wolf Capital Advisors

22     through BW Piezo and away from CTG’s creditors.

23              114. Plaintiff’s research and receipt of public records do not reflect any perfected lien
24     by the Mezzanine Lenders on CTG’s assets. Therefore, at best, they would be another unsecured
25
       creditor of CTG and should have shared loan repayments with the other unsecured creditors.
26

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      SECOND AMENDED COMPLAINT                                                              Page 30 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  73 of 680
                                                 Page 31 of 116


              115. In March 2016, CTG transferred $7,263,263.90 to Avante Mezzanine Partners
1

2      SBIC, LP. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and

3      CTG Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement.

4      In addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
5
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials. CTG
6
       made this transfer to terminate its loan agreement and allow the liquidation of CTG Advanced
7
       Materials’s assets to be siphoned to Blue Wolf Capital Advisors through BW Piezo and away
8
       from CTG’s creditors.
9

10            116. In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.

11     The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
12     Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In
13
       addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
14
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials. CTG
15
       made this transfer to terminate its loan agreement and allow the liquidation of CTG Advanced
16

17     Materials’s assets to be siphoned to Blue Wolf Capital Advisors through BW Piezo and away

18     from CTG’s creditors.

19            117. In March 2016, CTG transferred $1,515,005.70 to CTG Advanced Materials. The
20     transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, Gladstone Investment
21
       Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine Lenders because they owned equity
22
       in CTG Advanced Materials.       In addition, the transfer was made for the benefit of CTS
23
       Corporation.
24

25            118. In March 2016, CTG transferred $26,000.00 to DHAN, LLC. The transfer was

26     made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han

27

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      SECOND AMENDED COMPLAINT                                                             Page 31 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  74 of 680
                                                 Page 32 of 116


       controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han,
1

2      as he is the principal of DHAN, LLC.

3             119. In March 2016, CTG transferred $16,612,424.11 to Blue Wolf Capital Fund. The

4      transfer was made for the benefit of BW Piezo. The transfer was also made for the benefit of
5
       Blue Wolf Capital Partners, Gladstone Investment Corporation, Pengdi Han, DHAN, LLC, and
6
       the Mezzanine Lenders because they owned equity in BW Piezo. CTG made this transfer to
7
       siphon the proceeds of the CTG Advanced Materials sale to Blue Wolf Capital Advisors through
8
       BW Piezo and away from CTG’s creditors.
9

10            120. In March 2016, CTG transferred $1,052,250 to PNC Bank, N.A. PNC Bank, N.A.

11     was the escrow agent working with BW Piezo and CTS Corporation. The transfer was made for
12     the benefit of BW Piezo. The transfer was also made for the benefit of Blue Wolf Capital
13
       Partners, Gladstone Investment Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine
14
       Lenders because they owned equity in BW Piezo.
15
              121. Additionally, and in the alternative, CTG, through its alter ego BW Piezo, made
16

17     the following transfers with CTG’s property:

18            122. In March 2016, CTG transferred $2,303,366.24 to DHAN, LLC. The transfer was

19     made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han
20     controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han,
21
       as the principal of DHAN, LLC.
22
              123. In March 2016, CTG transferred $633,872 to Blue Wolf Capital Partners, LLC.
23
              124. In March 2016, CTG transferred $752,245.09 to Gladstone Investment
24

25     Corporation.

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      SECOND AMENDED COMPLAINT                                                           Page 32 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  75 of 680
                                                 Page 33 of 116


              125. In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.
1

2      The transfer was also made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG

3      Advanced Materials to resolve their liabilities and obligations pursuant to an investment

4      agreement.   In addition, the transfer was made for the benefit of Gladstone Investment
5
       Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and CTG
6
       Advanced Materials. CTG made this transfer to terminate its loan agreement and allow the
7
       liquidation of CTG Advanced Materials’s assets to be siphoned to Blue Wolf Capital Advisors
8
       through BW Piezo and away from CTG’s creditors.
9

10            126. In March 2016, CTG transferred $199,861.70 to Fidus Investment Corporation and

11     Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s bank
12     account; however, a “For Further Credit” designation was included to route the transfer to Fidus
13
       Mezzanine Capital II, L.P.   The transfer was also made for the benefit of Blue Wolf Capital
14
       Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
15
       pursuant to an investment agreement. In addition, the transfer was made for the benefit of
16

17     Gladstone Investment Corporation and the Mezzanine Lenders because they owned equity in BW

18     Piezo and CTG Advanced Materials. CTG made this transfer to terminate its investment

19     agreement and allow the liquidation of CTG Advanced Materials’s assets to be siphoned to Blue
20     Wolf Capital Advisors through BW Piezo and away from CTG’s creditors.
21
              127. In March 2016, CTG transferred $199,861.70 to Avante Mezzanine Partners SBIC,
22
       L.P. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
23
       Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In
24

25     addition, the transfer was made for the benefit of Gladstone Investment Corporation and the

26     Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials. CTG

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      SECOND AMENDED COMPLAINT                                                            Page 33 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  76 of 680
                                                 Page 34 of 116


       made this transfer to terminate its investment agreement and allow the liquidation of CTG
1

2      Advanced Materials’s assets to be siphoned to Blue Wolf Capital Advisors through BW Piezo

3      and away from CTG’s creditors.

4             128. Blue Wolf Capital Partners, through its shell companies, and its principals,
5
       including Blumenthal, Miller, and Narulla, nevertheless transferred the above-listed property to
6
       insiders of CTG.
7
              129. Through CTG’s alter egos BW Piezo and CTG Advanced Materials, Blue Wolf
8
       Capital Partners maintained control of a significant amount of the proceeds from the sale of
9

10     CTG’s property.

11            130. Details of the transfer of CTG’s property were not fully disclosed and remained
12     concealed. In fact, under Blue Wolf Capital Partners’ control and Charles Miller acting as CTG’s
13
       manager, CTG continued to list CTG Advanced Materials as an entity that CTG owned or
14
       controlled:
15

16

17

18

19

20

21

22     Submission of Statement of Financial Affairs, In re Channel Technologies Group, LLC, 9:16-

23     BK-11912-PC, ECF No. 114 (Bankr. N.D. Cal., Nov. 16, 2016). Moreover, Blue Wolf Capital

24     Partners, through its shell companies, principals, and BW Piezo, made, and forced CTG, to
25     represent to the public, CTG’s creditors, and to the federal government that CTG owned CTG
26
       Advanced Materials.
27

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      SECOND AMENDED COMPLAINT                                                            Page 34 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  77 of 680
                                                 Page 35 of 116


              131. The transfer of the sales proceeds amounted to substantially all CTG’s remaining
1

2      assets. This is a result of Blue Wolf Capital Partners, through its shell companies, including BW

3      Piezo, forcing CTG to guaranty loans, make payments on loans, and pay liabilities and debts for

4      BW Piezo and CTG Advanced Materials.
5
              132. CTG did not receive any reasonably equivalent value for the above-listed transfers.
6
              133.   Blue Wolf Capital Partners, through its shell companies and BW Piezo, and thus
7
       ultimately through CTG, made the transfers and incurred the obligations specified above with the
8
       actual intent to hinder, delay, and defraud CTG’s creditors.       Blue Wolf Capital Partners
9

10     transferred the sale proceeds, Blue Wolf Capital Partners protected the proceeds from the sale

11     from becoming part of the bankruptcy estate. By causing such transfers to be made, the Blue
12     Wolf Entities hoped to distribute to themselves or for their benefit all of the proceeds from the
13
       sale of CTG Advanced Materials.
14
              134. At the time the transfers and obligations incurred were made, or entered into, Blue
15
       Wolf Capital Partners understood that causing those transfers and incurring those obligations
16

17     would inevitably harm CTG’s creditors. Blue Wolf Capital Partners knew CTG would be left

18     insolvent and the transfers would reduce the amount of funds available to repay creditors. Blue

19     Wolf Capital Partners, through its domination and control of CTG, knew the true financial straits
20     CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15). Despite this indisputable knowledge, Blue Wolf
21
       Capital Partners, by and through its principals, including Blumenthal, Miller, Narulla, and
22
       Ranson, as well as BW Piezo, directed CTG to make these transfers for their own benefit and for
23
       CTG Advanced Materials’s benefit. By doing so, and with the full knowledge that CTG did not
24

25     have sufficient cash to cover all debts, Blue Wolf Capital Advisors forced CTG to intentionally

26     short-change other creditors, including the unsecured creditors identified in Schedule A. This

27

28


      SECOND AMENDED COMPLAINT                                                             Page 35 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  78 of 680
                                                 Page 36 of 116


       pattern and practice of denuding CTG of funds to pay themselves and the identified transferees
1

2      lead directly and proximately to the CTG bankruptcy.

3              135. Blue Wolf Capital Partners, through its shell companies, its principals, and BW

4      Piezo, controlled and dominated CTG. Blue Wolf Capital Partners controlled the transfer of
5
       funds, the ability for CTG to incur obligations, and the ability to direct those purchasing CTG’s
6
       assets to transfer the proceeds from their sale.
7
       D.     Violation of California Uniform Fraudulent Transfer Act (Constructive Fraud)
8
       (Defendants Blue Wolf Capital Partners, Blue Wolf Capital Fund, Blue Wolf Capital Advisors,
9
                                             and BW Piezo)
10       (Avoidance of Transfers to Defendants Gladstone Investment Corporation, the Mezzanine
          Lenders, Pengdi Han, DHAN, LLC, CTS Corporation, CTG Advanced Materials, LLC)
11
               136. The foregoing and following paragraphs are hereby incorporated by reference as if
12
       fully set forth herein
13

14             137. The proceeds from the sale of CTG Advanced Materials belonged to CTG. Blue

15     Wolf Capital Partners, through its shell companies and BW Piezo, forced CTG to transfer the
16     sale proceeds to Blue Wolf Capital Partners and its creditors. Upon information and belief, the
17
       following transfers with property of CTG:
18
               138. In March 2016, CTG transferred $7,264,770.39 to Fidus Investment Corporation
19
       and Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s
20

21     bank account; however, a “For Further Credit” designation was included to route the transfer to

22     Fidus Mezzanine Capital II, L.P. The transfer was made for the benefit of Blue Wolf Capital

23     Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
24     pursuant to a loan agreement. In addition, the transfer was made for the benefit of Gladstone
25
       Investment Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and
26
       CTG Advanced Materials.
27

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      SECOND AMENDED COMPLAINT                                                             Page 36 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  79 of 680
                                                 Page 37 of 116


              139. In March 2016, CTG transferred $7,263,263.90 to Avante Mezzanine Partners
1

2      SBIC, LP. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and

3      CTG Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement.

4      In addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
5
       Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials.
6
              140. In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.
7
       The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
8
       Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In
9

10     addition, the transfer was made for the benefit of Gladstone Investment Corporation and the

11     Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials.
12            141. In March 2016, CTG transferred $1,515,005.70 to CTG Advanced Materials. The
13
       transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, Gladstone Investment
14
       Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine Lenders because they owned equity
15
       in CTG Advanced Materials.       In addition, the transfer was made for the benefit of CTS
16

17     Corporation.

18            142. In March 2016, CTG transferred $26,000.00 to DHAN, LLC. The transfer was

19     made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han
20     controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han.
21
              143. In March 2016, CTG transferred $16,612,424.11 to Blue Wolf Capital Fund. The
22
       transfer was made to Blue Wolf Capital Fund because BW Piezo does not have an independent
23
       bank account. The transfer was made for the benefit of BW Piezo. The transfer was also made
24

25     for the benefit of Blue Wolf Capital Partners, Gladstone Investment Corporation, Pengdi Han,

26     DHAN, LLC, and the Mezzanine Lenders because they owned equity in BW Piezo.

27

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      SECOND AMENDED COMPLAINT                                                             Page 37 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  80 of 680
                                                 Page 38 of 116


              144. In March 2016, CTG transferred $1,052,250 to PNC Bank, N.A. PNC Bank, N.A.
1

2      was the escrow agent working with BW Piezo and CTS Corporation. The transfer was made for

3      the benefit of BW Piezo. The transfer was also made for the benefit of Blue Wolf Capital

4      Partners, Gladstone Investment Corporation, Pengdi Han, DHAN, LLC, and the Mezzanine
5
       Lenders because they owned equity in BW Piezo.
6
              145. Additionally, and in the alternative, CTG, through its alter ego BW Piezo, made
7
       the following transfers with CTG’s property:
8
              146. In March 2016, CTG transferred $2,303,366.24 to DHAN, LLC. The transfer was
9

10     made to DHAN, LLC’s bank account; however, upon information and belief, Pengdi Han

11     controls that bank account. Alternatively, the transfer was made for the benefit of Pengdi Han.
12            147. In March 2016, CTG transferred $633,872 to Blue Wolf Capital Partners, LLC.
13
              148. In March 2016, CTG transferred $752,245.09 to Gladstone Investment
14
       Corporation.
15
              149. In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.
16

17     The transfer was also made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG

18     Advanced Materials to resolve their liabilities and obligations pursuant to an investment

19     agreement.     In addition, the transfer was made for the benefit of Gladstone Investment
20     Corporation and the Mezzanine Lenders because they owned equity in BW Piezo and CTG
21
       Advanced Materials.
22
              150. In March 2016, CTG transferred $199,861.70 to Fidus Investment Corporation and
23
       Fidus Mezzanine Capital II, L.P. The transfer was made to Fidus Investment Corporation’s bank
24

25     account; however, a “For Further Credit” designation was included to route the transfer to Fidus

26     Mezzanine Capital II, L.P.   The transfer was also made for the benefit of Blue Wolf Capital

27

28


      SECOND AMENDED COMPLAINT                                                            Page 38 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  81 of 680
                                                 Page 39 of 116


       Partners, BW Piezo, and CTG Advanced Materials to resolve their liabilities and obligations
1

2      pursuant to an investment agreement. In addition, the transfer was made for the benefit of

3      Gladstone Investment Corporation and the Mezzanine Lenders because they owned equity in BW

4      Piezo and CTG Advanced Materials.
5
              151. In March 2016, CTG transferred $199,861.70 to Avante Mezzanine Partners SBIC,
6
       L.P. The transfer was made for the benefit of Blue Wolf Capital Partners, BW Piezo, and CTG
7
       Advanced Materials to resolve their liabilities and obligations pursuant to a loan agreement. In
8
       addition, the transfer was made for the benefit of Gladstone Investment Corporation and the
9

10     Mezzanine Lenders because they owned equity in BW Piezo and CTG Advanced Materials.

11            152. CTG did not receive reasonably equivalent value in exchange for the property
12     transferred.
13
              153. Because of the transfers and obligations, CTG became insolvent and
14
       undercapitalized. CTG was unable to pay its debts to its creditors and ultimately had to file for
15
       bankruptcy.
16

17            154. Additionally, and in the alternative, Blue Wolf Capital Partners intended and knew

18     that the obligations CTG incurred were beyond its ability to pay as the debts matured. See, e.g.

19     ¶¶ 44–45; Exs. 10–15.
20            155. Blue Wolf Capital Partners, through its shell companies, its principals, and BW
21
       Piezo, controlled and dominated CTG. Blue Wolf Capital Partners controlled the transfer of
22
       funds, the ability for CTG to incur obligations, and the ability to direct those purchasing CTG’s
23
       assets to transfer the proceeds from their sale.
24

25            156. The Liquidating Trustee has standing to assert this claim because the creditors

26     listed on Schedule A have allowable unsecured claims, pursuant to 11 U.S.C. § 544(b)(1), under

27

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      SECOND AMENDED COMPLAINT                                                             Page 39 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  82 of 680
                                                 Page 40 of 116


       California and federal law against CTG.
1

2       E. Avoidance of Actual Fraudulent Transfers Under 11 U.S.C. §§ 548(a)(1)(A) and
       550(a)
3
               157. Alternatively, in the event an alter ego determination is not made, CTG pleads the
4
       following cause of action.
5

6              158. The foregoing and following paragraphs are hereby incorporated by reference as if

7      fully set forth herein.

8              159. Blue Wolf Capital Partners, acting through its shell companies, and its principals,
9
       including Adam Blumenthal, Charles P. Miller, and Haranjeet Narulla, controlled and dominated
10
       CTG. CTG’s board of directors and management team were controlled by Blue Wolf Capital
11
       Partners and carried out its will. Blue Wolf Capital Partners controlled the transfer of funds, and
12
       the ability for CTG to incur obligations.
13

14             160. Blue Wolf Capital Partners, acting through its principals, shell companies, and BW

15     Piezo, forced CTG to assume loans, make loan payments, and pay for BW Piezo and CTG
16     Advanced Materials’s debts and liabilities. Blue Wolf Capital Partners, through its domination
17
       and control of CTG, knew the true financial straits CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15).
18
       Despite this indisputable knowledge, Blue Wolf Capital Partners, by and through its principals,
19
       including Blumenthal, Miller, Narulla, and Ranson, as well as BW Piezo, directed CTG to make
20

21     these transfers for their own benefit and for CTG Advanced Materials’s benefit. By doing so,

22     and with the full knowledge that CTG did not have sufficient cash to cover all debts, Blue Wolf

23     Capital Advisors forced CTG to intentionally short-change other creditors, including the
24     unsecured creditors identified in Schedule A. This pattern and practice of denuding CTG of
25
       funds to pay themselves and the identified transferees lead directly and proximately to the CTG
26

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      SECOND AMENDED COMPLAINT                                                               Page 40 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
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                                 Exhibit
                             Main Document  Page  83 of 680
                                                 Page 41 of 116


       bankruptcy. Upon information and belief, Blue Wolf Capital Partners forced CTG to make the
1

2      following transfers with property of CTG:

3             161. Grant Thornton, LLP—CTG transferred $1,054,753.85 to Grant Thornton, LLP

4      from January 2013 to March 2017. The transfers were made to pay for accounting and financial
5
       services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive
6
       reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG
7
       to pay these expenses to maximize CTG Advanced Materials’s assets and value, and thus BW
8
       Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
9

10     paying these expenses would deprive CTG of assets available to CTG’s creditors for satisfying

11     their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are
12     itemized in the attached Schedule B.
13
              162. Holland & Knight—CTG transferred $789,579.14 to Holland & Knight from
14
       December 2012 to September 2016. The transfers were made to pay for legal services rendered
15
       to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably equivalent value
16

17     for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to

18     maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the

19     sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
20     would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
21
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
22
       Schedule B.
23
              163. Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.—CTG
24

25     transferred $1,959,987.31 to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.

26     from December 2013 to December 2015. The transfers were loan payments pursuant to the Loan

27

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      SECOND AMENDED COMPLAINT                                                          Page 41 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  84 of 680
                                                 Page 42 of 116


       and Investment Agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and
1

2      Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG Advanced

3      Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value for making

4      these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to maximize
5
       CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG
6
       Advanced Materials. Blue Wolf Capital Partners knew that making these transfers would deprive
7
       CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
8
       Partners forced CTG into bankruptcy. The transfers are itemized in the attached Schedule B.
9

10            164. Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II,

11     Inc.—CTG transferred $1,957,300.44 to Avante Mezzanine Partners SBIC, LP and Avante
12     Mezzanine Partners II, Inc. from December 2013 to February 2016. The transfers were loan
13
       payments pursuant to the Loan and Investment Agreement entered into by BW Piezo, CTG
14
       Advanced Materials, CTG, and Electro Optical Industries for the purchase of HC Materials. If
15
       BW Piezo and CTG Advanced Materials are not CTG’s alter egos, then CTG received no
16

17     reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG

18     to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus BW

19     Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
20     making these transfers would deprive CTG of assets available to CTG’s creditors for satisfying
21
       their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are
22
       itemized in the attached Schedule B.
23
              165. CIT Bank, N.A. (successor in interest of OneWest Bank, N.A.)—CTG
24

25     transferred $ 33,248,711.36 to CIT Bank, N.A. from May 2013 to April 2016. The transfers were

26     loan payments pursuant to a loan agreement entered into by BW Piezo, CTG Advanced Materials,

27

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      SECOND AMENDED COMPLAINT                                                           Page 42 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  85 of 680
                                                 Page 43 of 116


       CTG, and Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG
1

2      Advanced Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value

3      for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to

4      maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
5
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
6
       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
7
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
8
       Schedule B.
9

10            166. Gladstone Investment Corporation—CTG transferred $7,576,027.49 to

11     Gladstone Investment Corporation from February 2012 to June 2016. The transfers were
12     distributions made to BW Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received
13
       no reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced
14
       CTG to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus
15
       BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew
16

17     that making these transfers would deprive CTG of assets available to CTG’s creditors for

18     satisfying their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The

19     transfers are itemized in the attached Schedule B.
20            167. Raymond James—CTG transferred $50,000 to Raymond James on December 11,
21
       2015. The transfer was made to pay for financial services rendered to BW Piezo and CTG
22
       Advanced Materials, and CTG did not receive reasonably equivalent value for making these
23
       transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to maximize CTG
24

25     Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG

26     Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses would deprive

27

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      SECOND AMENDED COMPLAINT                                                          Page 43 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  86 of 680
                                                 Page 44 of 116


       CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
1

2      Partners forced CTG into bankruptcy.

3             168. Blue Wolf Capital Partners—CTG transferred $1,984,330.21 to Blue Wolf

4      Capital Partners from January 2013 to May 2016. The transfers were distributions made to BW
5
       Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received no reasonably equivalent
6
       value for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers
7
       to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
8
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
9

10     would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue

11     Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
12     Schedule B.
13
              169. Duff & Phelps—CTG transferred $36,995 to Duff & Phelps on April 3, 2015. The
14
       transfer was made to pay for legal services rendered to BW Piezo and CTG Advanced Materials,
15
       and CTG did not receive reasonably equivalent value for making these transfers. Blue Wolf
16

17     Capital Partners forced CTG to pay these expenses to maximize CTG Advanced Materials’s

18     assets and value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue

19     Wolf Capital Partners knew that paying these expenses would deprive CTG of assets available
20     to CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG into
21
       bankruptcy.
22
              170. McDermott Will & Emery, LLP—CTG transferred $165,365.86 to McDermott
23
       Will & Emery, LLP from March 2015 to May 2016. The transfers were made to pay for legal
24

25     services rendered to CTG Advanced Materials, and CTG did not receive reasonably equivalent

26     value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses

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      SECOND AMENDED COMPLAINT                                                           Page 44 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  87 of 680
                                                 Page 45 of 116


       to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
1

2      sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses

3      would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue

4      Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
5
       Schedule B.
6
              171. Dorsey & Whitney, LLP—CTG transferred $49,022.75 to Dorsey & Whitney,
7
       LLP from November 2014 to April 2015. The transfers were made to pay for legal services
8
       rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably
9

10     equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these

11     expenses to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,
12     upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these
13
       expenses would deprive CTG of assets available to CTG’s creditors for satisfying their debts
14
       when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the
15
       attached Schedule B.
16

17            172. CTG transferred the above-listed property in order to benefit insiders of CTG,

18     including BW Piezo and entities owned by Blue Wolf Capital Partners.

19            173. Details of the transfer of CTG’s property were not fully disclosed and remained
20     concealed. In fact, under Blue Wolf Capital Partners’ control and Charles Miller acting as CTG’s
21
       manager, CTG continued to list CTG Advanced Materials as an entity that CTG owned or
22
       controlled:
23

24

25

26

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      SECOND AMENDED COMPLAINT                                                            Page 45 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  88 of 680
                                                 Page 46 of 116



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7      Submission of Statement of Financial Affairs, In re Channel Technologies Group, LLC, 9:16-

8      BK-11912-PC, ECF No. 114 (Bankr. N.D. Cal., Nov. 16, 2016). Moreover, Blue Wolf Capital

9      Partners, through its shell companies, principals, and BW Piezo, made, and forced CTG, to
10
       represent to the public, CTG’s creditors, and to the federal government that CTG owned CTG
11
       Advanced Materials.
12
              174. The transfers amounted to substantially all CTG’s remaining assets. This is a result
13
       of Blue Wolf Capital Partners, through its shell companies, including BW Piezo, forcing CTG to
14

15     guarantee loans, make payments on loans, and pay liabilities and debts for BW Piezo and CTG

16     Advanced Materials.
17            175. CTG did not receive any reasonably equivalent value for the above-listed transfers.
18
              176. At the time the transfers and obligations incurred were made, or entered into, Blue
19
       Wolf Capital Partners, acting through CTG, understood that causing those transfers and incurring
20
       those obligations would inevitably harm CTG’s creditors. Blue Wolf Capital Partners knew CTG
21

22     would be left insolvent and the transfers would reduce the amount of funds available to repay

23     creditors. Blue Wolf Capital Partners, through its domination and control of CTG, knew the true

24     financial straits CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15). Despite this indisputable
25     knowledge, Blue Wolf Capital Partners, by and through its principals, including Blumenthal,
26
       Miller, Narulla, and Ranson, as well as BW Piezo, directed CTG to make these transfers for their
27

28


      SECOND AMENDED COMPLAINT                                                            Page 46 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  89 of 680
                                                 Page 47 of 116


       own benefit and for CTG Advanced Materials’s benefit. By doing so, and with the full
1

2      knowledge that CTG did not have sufficient cash to cover all debts, Blue Wolf Capital Advisors

3      forced CTG to intentionally short-change other creditors, including the unsecured creditors

4      identified in Schedule A. This pattern and practice of denuding CTG of funds to pay themselves
5
       and the identified transferees lead directly and proximately to the CTG bankruptcy.
6
              177. Each transfer and obligation incurred was made, or entered into, in furtherance of
7
       the scheme perpetrated by CTG’s management and controlling shareholder. By causing such
8
       transfers to be made, CTG’s management and controlling shareholder hoped to enrich themselves
9

10     from the eventual sale or dissolution of CTG, CTG Advanced Materials, LLC, and Electro

11     Optical Industries.
12            178. At the time the transfers and obligations incurred were made, or entered into,
13
       CTG’s management and controlling shareholder understood that causing those transfers and
14
       incurring those obligations would inevitably harm CTG’s creditors. CTG’s management and
15
       controlling shareholder knew CTG would be left insolvent and the transfers would reduce the
16

17     amount of funds available to repay creditors. Blue Wolf Capital Partners, through its domination

18     and control of CTG, knew the true financial straits CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15).

19     Despite this indisputable knowledge, Blue Wolf Capital Partners, by and through its principals,
20     including Blumenthal, Miller, Narulla, and Ranson, as well as BW Piezo, directed CTG to make
21
       these transfers for their own benefit and for CTG Advanced Materials’s benefit. By doing so,
22
       and with the full knowledge that CTG did not have sufficient cash to cover all debts, Blue Wolf
23
       Capital Advisors forced CTG to intentionally short-change other creditors, including the
24

25     unsecured creditors identified in Schedule A. This pattern and practice of denuding CTG of

26     funds to pay themselves and the identified transferees lead directly and proximately to the CTG

27

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      SECOND AMENDED COMPLAINT                                                               Page 47 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  90 of 680
                                                 Page 48 of 116


       bankruptcy.
1

2              179. CTG’s management and controlling shareholder held an ownership interest in CTG

3      and/or exercised complete control over CTG. CTG’s management and controlling shareholder

4      controlled the transfer of funds, the ability for CTG to incur obligations, and the ability to direct
5
       those purchasing CTG’s assets to transfer the proceeds from their sale.
6
               180. Plaintiff may avoid each of the transfers and obligations under 11 U.S.C. §§
7
       548(a)(1)(A) and 550.
8
       F.     Avoidance of Constructive Fraudulent Transfers Under 11 U.S.C. § 548(a)(1)(B)
9

10             181. Alternatively, in the event an alter ego determination is not made, CTG pleads the

11     following cause of action.
12             182. The foregoing and following paragraphs are hereby incorporated by reference as if
13
       fully set forth herein.
14
               183. Blue Wolf Capital Partners, acting through its shell companies, and its principals,
15
       including Adam Blumenthal, Charles P. Miller, and Haranjeet Narulla, controlled and dominated
16

17     CTG. CTG’s board of directors and management team were controlled by Blue Wolf Capital

18     Partners and carried out its will. Blue Wolf Capital Partners controlled the transfer of funds, and

19     the ability for CTG to incur obligations.
20             184. Blue Wolf Capital Partners, acting through its principals, shell companies, and BW
21
       Piezo, forced CTG to assume loans, make loan payments, and pay for BW Piezo and CTG
22
       Advanced Materials’s debts and liabilities. Upon information and belief, Blue Wolf Capital
23
       Partners forced CTG to make the following transfers with property of CTG:
24

25             185. Grant Thornton, LLP—CTG transferred $1,054,753.85 to Grant Thornton, LLP

26     from January 2013 to March 2017. The transfers were made to pay for accounting and financial

27

28


      SECOND AMENDED COMPLAINT                                                                 Page 48 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  91 of 680
                                                 Page 49 of 116


       services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive
1

2      reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG

3      to pay these expenses to maximize CTG Advanced Materials’s assets and value, and thus BW

4      Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
5
       paying these expenses would deprive CTG of assets available to CTG’s creditors for satisfying
6
       their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are
7
       itemized in the attached Schedule B.
8
              186. Holland & Knight—CTG transferred $789,579.14 to Holland & Knight from
9

10     December 2012 to September 2016. The transfers were made to pay for legal services rendered

11     to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably equivalent value
12     for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to
13
       maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
14
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
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       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
16

17     Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached

18     Schedule B.

19            187. Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.—CTG
20     transferred $1,959,987.31 to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.
21
       from December 2013 to December 2015. The transfers were loan payments pursuant to the Loan
22
       and Investment Agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and
23
       Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG Advanced
24

25     Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value for making

26     these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to maximize

27

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      SECOND AMENDED COMPLAINT                                                           Page 49 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  92 of 680
                                                 Page 50 of 116


       CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG
1

2      Advanced Materials. Blue Wolf Capital Partners knew that making these transfers would deprive

3      CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital

4      Partners forced CTG into bankruptcy. The transfers are itemized in the attached Schedule B.
5
              188. Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II,
6
       Inc.—CTG transferred $1,957,300.44 to Avante Mezzanine Partners SBIC, LP and Avante
7
       Mezzanine Partners II, Inc. from December 2013 to February 2016. The transfers were loan
8
       payments pursuant to the Loan and Investment Agreement entered into by BW Piezo, CTG
9

10     Advanced Materials, CTG, and Electro Optical Industries for the purchase of HC Materials. If

11     BW Piezo and CTG Advanced Materials are not CTG’s alter egos, then CTG received no
12     reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG
13
       to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus BW
14
       Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
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       making these transfers would deprive CTG of assets available to CTG’s creditors for satisfying
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17     their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are

18     itemized in the attached Schedule B.

19            189. CIT Bank, N.A. (successor in interest of OneWest Bank, N.A.)—CTG
20     transferred $ 33,248,711.36 to CIT Bank, N.A. from May 2013 to April 2016. The transfers were
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       loan payments pursuant to a loan agreement entered into by BW Piezo, CTG Advanced Materials,
22
       CTG, and Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG
23
       Advanced Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value
24

25     for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to

26     maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the

27

28


      SECOND AMENDED COMPLAINT                                                          Page 50 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  93 of 680
                                                 Page 51 of 116


       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
1

2      would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue

3      Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached

4      Schedule B.
5
              190. Gladstone Investment Corporation—CTG transferred $7,576,027.49 to
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       Gladstone Investment Corporation from February 2012 to June 2016. The transfers were
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       distributions made to BW Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received
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       no reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced
9

10     CTG to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus

11     BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew
12     that making these transfers would deprive CTG of assets available to CTG’s creditors for
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       satisfying their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The
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17     2015. The transfer was made to pay for financial services rendered to BW Piezo and CTG

18     Advanced Materials, and CTG did not receive reasonably equivalent value for making these

19     transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to maximize CTG
20     Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG
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       Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses would deprive
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       CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
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       Partners forced CTG into bankruptcy.
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25            192. Blue Wolf Capital Partners—CTG transferred $1,984,330.21 to Blue Wolf

26     Capital Partners from January 2013 to May 2016. The transfers were distributions made to BW

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28


      SECOND AMENDED COMPLAINT                                                         Page 51 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  94 of 680
                                                 Page 52 of 116


       Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received no reasonably equivalent
1

2      value for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers

3      to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the

4      sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
5
       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
6
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
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              193. Duff & Phelps—CTG transferred $36,995 to Duff & Phelps on April 3, 2015. The
9

10     transfer was made to pay for legal services rendered to BW Piezo and CTG Advanced Materials,

11     and CTG did not receive reasonably equivalent value for making these transfers. Blue Wolf
12     Capital Partners forced CTG to pay these expenses to maximize CTG Advanced Materials’s
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       assets and value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue
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       Wolf Capital Partners knew that paying these expenses would deprive CTG of assets available
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       to CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG into
16

17     bankruptcy.

18            194. McDermott Will & Emery, LLP—CTG transferred $165,365.86 to McDermott

19     Will & Emery, LLP from March 2015 to May 2016. The transfers were made to pay for legal
20     services rendered to CTG Advanced Materials, and CTG did not receive reasonably equivalent
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       value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses
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       to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
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       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
24

25     would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue

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      SECOND AMENDED COMPLAINT                                                           Page 52 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  95 of 680
                                                 Page 53 of 116


       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
1

2      Schedule B.

3             195. Dorsey & Whitney, LLP—CTG transferred $49,022.75 to Dorsey & Whitney,

4      LLP from November 2014 to April 2015. The transfers were made to pay for legal services
5
       rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably
6
       equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these
7
       expenses to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,
8
       upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these
9

10     expenses would deprive CTG of assets available to CTG’s creditors for satisfying their debts

11     when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the
12     attached Schedule B.
13
              196. CTG did not receive reasonably equivalent value in exchange for the property
14
       transferred.
15
              197. As a result of the transfers and obligations, CTG became insolvent and
16

17     undercapitalized.

18            198. Additionally, and in the alternative, CTG’s management and controlling

19     shareholder intended and knew that the obligations CTG incurred were beyond its ability to pay
20     as the debts matured. See, e.g. ¶¶ 44–45; Exs. 10–15.
21
              199. The Liquidating Trustee has standing to assert this claim because the creditors
22
       listed on Schedule A have allowable unsecured claims, pursuant to 11 U.S.C. § 544(b)(1), under
23
       California and federal law against CTG.
24

25            200. Plaintiff may avoid each of the transfers and obligations under 11 U.S.C. §

26     548(a)(1)(B).

27

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      SECOND AMENDED COMPLAINT                                                           Page 53 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  96 of 680
                                                 Page 54 of 116


       G.     Violation of California Uniform Fraudulent Transfer Act (Actual Fraud)
1

2              201. Alternatively, in the event an alter ego determination is not made, CTG pleads the

3      following cause of action.

4              202. The foregoing and following paragraphs are hereby incorporated by reference as if
5
       fully set forth herein.
6
               203. Blue Wolf Capital Partners, acting through its shell companies, and its principals,
7
       including Adam Blumenthal, Charles P. Miller, and Haranjeet Narulla, controlled and dominated
8
       CTG. CTG’s board of directors and management team were controlled by Blue Wolf Capital
9

10     Partners and carried out its will. Blue Wolf Capital Partners controlled the transfer of funds, and

11     the ability for CTG to incur obligations.
12             204. Blue Wolf Capital Partners, acting through its principals, shell companies, and BW
13
       Piezo, forced CTG to assume loans, make loan payments, and pay for BW Piezo and CTG
14
       Advanced Materials’s debts and liabilities. Upon information and belief, Blue Wolf Capital
15
       Partners forced CTG to make the following transfers with property of CTG:
16

17             205. Grant Thornton, LLP—CTG transferred $1,054,753.85 to Grant Thornton, LLP

18     from January 2013 to March 2017. The transfers were made to pay for accounting and financial

19     services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive
20     reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG
21
       to pay these expenses to maximize CTG Advanced Materials’s assets and value, and thus BW
22
       Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
23
       paying these expenses would deprive CTG of assets available to CTG’s creditors for satisfying
24

25     their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are

26     itemized in the attached Schedule B.

27

28


      SECOND AMENDED COMPLAINT                                                               Page 54 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  97 of 680
                                                 Page 55 of 116


              206. Holland & Knight—CTG transferred $789,579.14 to Holland & Knight from
1

2      December 2012 to September 2016. The transfers were made to pay for legal services rendered

3      to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably equivalent value

4      for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to
5
       maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
6
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
7
       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
8
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
9

10     Schedule B.

11            207. Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.—CTG
12     transferred $1,959,987.31 to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.
13
       from December 2013 to December 2015. The transfers were loan payments pursuant to the Loan
14
       and Investment Agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and
15
       Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG Advanced
16

17     Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value for making

18     these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to maximize

19     CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG
20     Advanced Materials. Blue Wolf Capital Partners knew that making these transfers would deprive
21
       CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
22
       Partners forced CTG into bankruptcy. The transfers are itemized in the attached Schedule B.
23
              208. Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II,
24

25     Inc.—CTG transferred $1,957,300.44 to Avante Mezzanine Partners SBIC, LP and Avante

26     Mezzanine Partners II, Inc. from December 2013 to February 2016. The transfers were loan

27

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      SECOND AMENDED COMPLAINT                                                           Page 55 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  98 of 680
                                                 Page 56 of 116


       payments pursuant to the Loan and Investment Agreement entered into by BW Piezo, CTG
1

2      Advanced Materials, CTG, and Electro Optical Industries for the purchase of HC Materials. If

3      BW Piezo and CTG Advanced Materials are not CTG’s alter egos, then CTG received no

4      reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG
5
       to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus BW
6
       Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
7
       making these transfers would deprive CTG of assets available to CTG’s creditors for satisfying
8
       their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are
9

10     itemized in the attached Schedule B.

11            209. CIT Bank, N.A. (successor in interest of OneWest Bank, N.A.)—CTG
12     transferred $ 33,248,711.36 to CIT Bank, N.A. from May 2013 to April 2016. The transfers were
13
       loan payments pursuant to a loan agreement entered into by BW Piezo, CTG Advanced Materials,
14
       CTG, and Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG
15
       Advanced Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value
16

17     for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to

18     maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the

19     sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
20     would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
21
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
22
       Schedule B.
23
              210. Gladstone Investment Corporation—CTG transferred $7,576,027.49 to
24

25     Gladstone Investment Corporation from February 2012 to June 2016. The transfers were

26     distributions made to BW Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received

27

28


      SECOND AMENDED COMPLAINT                                                          Page 56 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page  99 of 680
                                                 Page 57 of 116


       no reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced
1

2      CTG to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus

3      BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew

4      that making these transfers would deprive CTG of assets available to CTG’s creditors for
5
       satisfying their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The
6
       transfers are itemized in the attached Schedule B.
7
              211. Raymond James—CTG transferred $50,000 to Raymond James on December 11,
8
       2015. The transfer was made to pay for financial services rendered to BW Piezo and CTG
9

10     Advanced Materials, and CTG did not receive reasonably equivalent value for making these

11     transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to maximize CTG
12     Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG
13
       Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses would deprive
14
       CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
15
       Partners forced CTG into bankruptcy.
16

17            212. Blue Wolf Capital Partners—CTG transferred $1,984,330.21 to Blue Wolf

18     Capital Partners from January 2013 to May 2016. The transfers were distributions made to BW

19     Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received no reasonably equivalent
20     value for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers
21
       to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
22
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
23
       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
24

25     Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached

26     Schedule B.

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      SECOND AMENDED COMPLAINT                                                           Page 57 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 100  of 680
                                                 Page 58 of 116


              213. Duff & Phelps—CTG transferred $36,995 to Duff & Phelps on April 3, 2015. The
1

2      transfer was made to pay for legal services rendered to BW Piezo and CTG Advanced Materials,

3      and CTG did not receive reasonably equivalent value for making these transfers. Blue Wolf

4      Capital Partners forced CTG to pay these expenses to maximize CTG Advanced Materials’s
5
       assets and value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue
6
       Wolf Capital Partners knew that paying these expenses would deprive CTG of assets available
7
       to CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG into
8
       bankruptcy.
9

10            214. McDermott Will & Emery, LLP—CTG transferred $165,365.86 to McDermott

11     Will & Emery, LLP from March 2015 to May 2016. The transfers were made to pay for legal
12     services rendered to CTG Advanced Materials, and CTG did not receive reasonably equivalent
13
       value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses
14
       to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
15
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
16

17     would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue

18     Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached

19     Schedule B.
20            215. Dorsey & Whitney, LLP—CTG transferred $49,022.75 to Dorsey & Whitney,
21
       LLP from November 2014 to April 2015. The transfers were made to pay for legal services
22
       rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably
23
       equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these
24

25     expenses to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,

26     upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these

27

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      SECOND AMENDED COMPLAINT                                                           Page 58 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 101  of 680
                                                 Page 59 of 116


       expenses would deprive CTG of assets available to CTG’s creditors for satisfying their debts
1

2      when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the

3      attached Schedule B.

4             216. CTG transferred the above-listed property in order to benefit insiders of CTG,
5
       including BW Piezo and entities owned by Blue Wolf Capital Partners.
6
              217. Details of the transfer of CTG’s property were not fully disclosed and remained
7
       concealed. In fact, under Blue Wolf Capital Partners’ control and Charles Miller acting as CTG’s
8
       manager, CTG continued to list CTG Advanced Materials as an entity that CTG owned or
9

10     controlled:

11

12

13

14

15

16

17     Submission of Statement of Financial Affairs, In re Channel Technologies Group, LLC, 9:16-
18
       BK-11912-PC, ECF No. 114 (Bankr. N.D. Cal., Nov. 16, 2016). Moreover, Blue Wolf Capital
19
       Partners, through its shell companies, principals, and BW Piezo, made, and forced CTG, to
20
       represent to the public, CTG’s creditors, and to the federal government that CTG owned CTG
21

22     Advanced Materials.

23            218. The transfers amounted to substantially all CTG’s remaining assets. This is a result

24     of Blue Wolf Capital Partners, through its shell companies, including BW Piezo, forcing CTG to
25     guarantee loans, make payments on loans, and pay liabilities and debts for BW Piezo and CTG
26
       Advanced Materials.
27

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      SECOND AMENDED COMPLAINT                                                            Page 59 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 102  of 680
                                                 Page 60 of 116


              219. CTG did not receive any reasonably equivalent value for the above-listed transfers.
1

2             220. At the time the transfers and obligations incurred were made, or entered into, Blue

3      Wolf Capital Partners, acting through CTG, understood that causing those transfers and incurring

4      those obligations would inevitably harm CTG’s creditors. Blue Wolf Capital Partners knew CTG
5
       would be left insolvent and the transfers would reduce the amount of funds available to repay
6
       creditors. Blue Wolf Capital Partners, through its domination and control of CTG, knew the true
7
       financial straits CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15). Despite this indisputable
8
       knowledge, Blue Wolf Capital Partners, by and through its principals, including Blumenthal,
9

10     Miller, Narulla, and Ranson, as well as BW Piezo, directed CTG to make these transfers for their

11     own benefit and for CTG Advanced Materials’s benefit. By doing so, and with the full
12     knowledge that CTG did not have sufficient cash to cover all debts, Blue Wolf Capital Advisors
13
       forced CTG to intentionally short-change other creditors, including the unsecured creditors
14
       identified in Schedule A. This pattern and practice of denuding CTG of funds to pay themselves
15
       and the identified transferees lead directly and proximately to the CTG bankruptcy.
16

17            221. Each transfer and obligation incurred was made, or entered into, in furtherance of

18     the scheme perpetrated by CTG’s management and controlling shareholder. By causing such

19     transfers to be made, CTG’s management and controlling shareholder hoped to enrich themselves
20     from the eventual sale or dissolution of CTG, CTG Advanced Materials, LLC, and Electro
21
       Optical Industries.
22
              222. At the time the transfers and obligations incurred were made, or entered into,
23
       CTG’s management and controlling shareholder understood that causing those transfers and
24

25     incurring those obligations would inevitably harm CTG’s creditors. CTG’s management and

26     controlling shareholder knew CTG would be left insolvent and the transfers would reduce the

27

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      SECOND AMENDED COMPLAINT                                                               Page 60 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 103  of 680
                                                 Page 61 of 116


       amount of funds available to repay creditors. Blue Wolf Capital Partners, through its domination
1

2      and control of CTG, knew the true financial straits CTG was in (see, e.g. ¶¶ 44–45; Exs. 10–15).

3      Despite this indisputable knowledge, Blue Wolf Capital Partners, by and through its principals,

4      including Blumenthal, Miller, Narulla, and Ranson, as well as BW Piezo, directed CTG to make
5
       these transfers for their own benefit and for CTG Advanced Materials’s benefit. By doing so,
6
       and with the full knowledge that CTG did not have sufficient cash to cover all debts, Blue Wolf
7
       Capital Advisors forced CTG to intentionally short-change other creditors, including the
8
       unsecured creditors identified in Schedule A. This pattern and practice of denuding CTG of
9

10     funds to pay themselves and the identified transferees lead directly and proximately to the CTG

11     bankruptcy.
12             223. CTG’s management and controlling shareholder held an ownership interest in CTG
13
       and/or exercised complete control over CTG. CTG’s management and controlling shareholder
14
       controlled the transfer of funds, the ability for CTG to incur obligations, and the ability to direct
15
       those purchasing CTG’s assets to transfer the proceeds from their sale.
16

17     H.     Violation of California Uniform Fraudulent Transfer Act (Constructive Fraud)

18             224. Alternatively, in the event an alter ego determination is not made, CTG pleads the

19     following cause of action.
20             225. The foregoing and following paragraphs are hereby incorporated by reference as if
21
       fully set forth herein.
22
               226. Blue Wolf Capital Partners, acting through its shell companies, and its principals,
23
       including Adam Blumenthal, Charles P. Miller, and Haranjeet Narulla, controlled and dominated
24

25     CTG. CTG’s board of directors and management team were controlled by Blue Wolf Capital

26     Partners and carried out its will. Blue Wolf Capital Partners controlled the transfer of funds, and

27

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      SECOND AMENDED COMPLAINT                                                                 Page 61 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 104  of 680
                                                 Page 62 of 116


       the ability for CTG to incur obligations.
1

2             227. Blue Wolf Capital Partners, acting through its principals, shell companies, and BW

3      Piezo, forced CTG to assume loans, make loan payments, and pay for BW Piezo and CTG

4      Advanced Materials’s debts and liabilities. Upon information and belief, Blue Wolf Capital
5
       Partners forced CTG to make the following transfers with property of CTG:
6
              228. Grant Thornton, LLP—CTG transferred $1,054,753.85 to Grant Thornton, LLP
7
       from January 2013 to March 2017. The transfers were made to pay for accounting and financial
8
       services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive
9

10     reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG

11     to pay these expenses to maximize CTG Advanced Materials’s assets and value, and thus BW
12     Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
13
       paying these expenses would deprive CTG of assets available to CTG’s creditors for satisfying
14
       their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are
15
       itemized in the attached Schedule B.
16

17            229. Holland & Knight—CTG transferred $789,579.14 to Holland & Knight from

18     December 2012 to September 2016. The transfers were made to pay for legal services rendered

19     to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably equivalent value
20     for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to
21
       maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
22
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
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       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
24

25     Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached

26     Schedule B.

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      SECOND AMENDED COMPLAINT                                                          Page 62 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 105  of 680
                                                 Page 63 of 116


              230. Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.—CTG
1

2      transferred $1,959,987.31 to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.

3      from December 2013 to December 2015. The transfers were loan payments pursuant to the Loan

4      and Investment Agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and
5
       Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG Advanced
6
       Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value for making
7
       these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to maximize
8
       CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG
9

10     Advanced Materials. Blue Wolf Capital Partners knew that making these transfers would deprive

11     CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
12     Partners forced CTG into bankruptcy. The transfers are itemized in the attached Schedule B.
13
              231. Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II,
14
       Inc.—CTG transferred $1,957,300.44 to Avante Mezzanine Partners SBIC, LP and Avante
15
       Mezzanine Partners II, Inc. from December 2013 to February 2016. The transfers were loan
16

17     payments pursuant to the Loan and Investment Agreement entered into by BW Piezo, CTG

18     Advanced Materials, CTG, and Electro Optical Industries for the purchase of HC Materials. If

19     BW Piezo and CTG Advanced Materials are not CTG’s alter egos, then CTG received no
20     reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG
21
       to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus BW
22
       Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that
23
       making these transfers would deprive CTG of assets available to CTG’s creditors for satisfying
24

25     their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are

26     itemized in the attached Schedule B.

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28


      SECOND AMENDED COMPLAINT                                                           Page 63 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 106  of 680
                                                 Page 64 of 116


              232. CIT Bank, N.A. (successor in interest of OneWest Bank, N.A.)—CTG
1

2      transferred $ 33,248,711.36 to CIT Bank, N.A. from May 2013 to April 2016. The transfers were

3      loan payments pursuant to a loan agreement entered into by BW Piezo, CTG Advanced Materials,

4      CTG, and Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG
5
       Advanced Materials are not CTG’s alter egos, then CTG received no reasonably equivalent value
6
       for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers to
7
       maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
8
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
9

10     would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue

11     Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
12     Schedule B.
13
              233. Gladstone Investment Corporation—CTG transferred $7,576,027.49 to
14
       Gladstone Investment Corporation from February 2012 to June 2016. The transfers were
15
       distributions made to BW Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received
16

17     no reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced

18     CTG to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus

19     BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew
20     that making these transfers would deprive CTG of assets available to CTG’s creditors for
21
       satisfying their debts when Blue Wolf Capital Partners forced CTG into bankruptcy. The
22
       transfers are itemized in the attached Schedule B.
23
              234. Raymond James—CTG transferred $50,000 to Raymond James on December 11,
24

25     2015. The transfer was made to pay for financial services rendered to BW Piezo and CTG

26     Advanced Materials, and CTG did not receive reasonably equivalent value for making these

27

28


      SECOND AMENDED COMPLAINT                                                          Page 64 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 107  of 680
                                                 Page 65 of 116


       transfers. Blue Wolf Capital Partners forced CTG to pay these expenses to maximize CTG
1

2      Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG

3      Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses would deprive

4      CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf Capital
5
       Partners forced CTG into bankruptcy.
6
              235. Blue Wolf Capital Partners—CTG transferred $1,984,330.21 to Blue Wolf
7
       Capital Partners from January 2013 to May 2016. The transfers were distributions made to BW
8
       Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received no reasonably equivalent
9

10     value for making these transfers. Blue Wolf Capital Partners forced CTG to make these transfers

11     to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
12     sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers
13
       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
14
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
15
       Schedule B.
16

17            236. Duff & Phelps—CTG transferred $36,995 to Duff & Phelps on April 3, 2015. The

18     transfer was made to pay for legal services rendered to BW Piezo and CTG Advanced Materials,

19     and CTG did not receive reasonably equivalent value for making these transfers. Blue Wolf
20     Capital Partners forced CTG to pay these expenses to maximize CTG Advanced Materials’s
21
       assets and value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue
22
       Wolf Capital Partners knew that paying these expenses would deprive CTG of assets available
23
       to CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG into
24

25     bankruptcy.

26

27

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      SECOND AMENDED COMPLAINT                                                           Page 65 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 108  of 680
                                                 Page 66 of 116


              237. McDermott Will & Emery, LLP—CTG transferred $165,365.86 to McDermott
1

2      Will & Emery, LLP from March 2015 to May 2016. The transfers were made to pay for legal

3      services rendered to CTG Advanced Materials, and CTG did not receive reasonably equivalent

4      value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these expenses
5
       to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the
6
       sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses
7
       would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue
8
       Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the attached
9

10     Schedule B.

11            238. Dorsey & Whitney, LLP—CTG transferred $49,022.75 to Dorsey & Whitney,
12     LLP from November 2014 to April 2015. The transfers were made to pay for legal services
13
       rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive reasonably
14
       equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these
15
       expenses to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,
16

17     upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these

18     expenses would deprive CTG of assets available to CTG’s creditors for satisfying their debts

19     when Blue Wolf Capital Partners forced CTG into bankruptcy. The transfers are itemized in the
20     attached Schedule B.
21
               239. CTG did not receive reasonably equivalent value in exchange for the property
22
       transferred.
23
               240. As a result of the transfers and obligations, CTG became insolvent and
24

25     undercapitalized.

26             241. Additionally, and in the alternative, CTG’s management and controlling

27

28


      SECOND AMENDED COMPLAINT                                                           Page 66 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 109  of 680
                                                 Page 67 of 116


       shareholder intended and knew that the obligations CTG incurred were beyond its ability to pay
1

2      as the debts matured. See, e.g. ¶¶ 44–45; Exs. 10–15).

3               242. The Liquidating Trustee has standing to assert this claim because the creditors

4      listed on Schedule A have allowable unsecured claims, pursuant to 11 U.S.C. § 544(b)(1), under
5
       California and federal law against CTG.
6
                I.    Conversion
7
                 (Defendants Blue Wolf Capital Partners, Blue Wolf Capital Fund, Blue Wolf Capital
8                                       Advisors, and BW Piezo)
9
                243. The foregoing and following paragraphs are hereby incorporated by reference as if
10
       fully set forth herein.
11
                244. In the alternative, CTG owned, possessed, or had the rights to immediate
12
       possession of the proceeds from the sale of its assets, including those of its subsidiary CTG
13

14     Advanced Materials. CTG paid for the assets, controlled the assets, and maintained the assets.

15              245. Blue Wolf Capital Partners, acting through its shell companies, principals,
16     including Adam Blumenthal, Charles Miller, Haranjeet Narulla, and Chris Ranson, and BW
17
       Piezo, wrongfully exercised dominion or control over the property and distributed to itself the
18
       proceeds from selling CTG’s assets.
19
                246. CTG suffered injury as a result including but not limited to actual damages,
20

21     exemplary damages, pre- and post-judgment interest, and court costs.

22              J.    Breach of Duty of Good Faith and Fair Dealing

23                                             (Defendant BW Piezo)
                247. The foregoing and following paragraphs are hereby incorporated by reference as if
24

25     fully set forth herein.

26

27

28


      SECOND AMENDED COMPLAINT                                                            Page 67 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 110  of 680
                                                 Page 68 of 116


                248. As the controlling shareholder of CTG, BW Piezo owed CTG a duty of good faith
1

2      and fair dealing.

3               249. BW Piezo breached this duty by engaging in the following conduct, which includes

4      but is not limited to:
5
                 •         Self-dealing, including but not limited to,
6                     o          Pursuing their self-interests at the expense of CTG and their obligations as
7                                fiduciaries;
                      o          Misdirecting CTG funds to pay for undue benefits and distributions for
8
                                 themselves; and
9                     o          Using the advantage of their position to misappropriate CTG’s assets and
10                               proceeds from the sale of the same to themselves; and
                 •         Engaging in transactions on behalf of themselves that were not fair and
11
                           equitable to CTG and violated their fiduciary duties to CTG.
12               •         Diverting funds that would have been retained by CTG, thereby rendering CTG
13                         insolvent and unable to pay its debts to its creditors.
                 •         Making improper corporate distribution in violation of California Corporate
14
                           Code sections 17704.05–.06.
15

16              250. The aforementioned breaches resulted in great damage to CTG’s business

17     operations, breaches of ongoing contracts, a severe impairment in the value of CTG, and

18     ultimately a bankruptcy filing by CTG and a liquidation of CTG, all to the detriment of CTG’s
19     creditors. As a result, CTG is entitled to damages including but not limited to actual damages,
20
       exemplary damages, rescission, an accounting, pre- and post-judgment interest, and court costs.
21
                     K.    Avoidance and Recovery of Unauthorized Post-Petition Transfers
22            Pursuant to 11 U.S.C. § 549
                                           (Defendant Grant Thornton)
23
               251. The foregoing and following paragraphs are hereby incorporated by reference as if
24
       fully set forth herein.
25
                252. Plaintiff is a California limited liability company and is the Liquidating Trustee
26

27

28


      SECOND AMENDED COMPLAINT                                                                  Page 68 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 111  of 680
                                                 Page 69 of 116


       duly appointed under the Chapter 11 Liquidating Plan (“Plan”) of CTG, which was confirmed by
1

2      order entered March 2, 2018 (“Confirmation Order”).

3                 253. The Liquidating Trustee was appointed as of the Effective Date of the Plan, April

4      2, 2018.
5
                  254. Pursuant to the Confirmation Order and the Plan, the Liquidating Trustee was
6
       granted requisite standing and authority to prosecute and pursue causes of action held by the
7
       Debtor and Debtor’s bankruptcy estate.
8
                  255. CTG made multiple post-petition payments to Grant Thornton, as follows:
9

10                                    a)     $3,562.00 on February 8, 2017;

11                                    b)     $26,000.00 on March 2, 2017;
12                                    c)     $20,800.00 on March 15, 2017;
13
                                      d)     $20,800 on April 20, 2017; and
14
                                      e)     $51,220.00 on April 26, 2017.
15
                  256. Grant Thornton was not, and never has been, employed and authorized to
16

17     perform services for CTG pursuant to 11 U.S.C. § 327, and to be compensated for such

18     services pursuant to 11 U.S.C. § 330.

19                257. CRA is informed and believes, and based thereon alleges, that some, it not all, of
20     the post-petition payments CTG made to Grant Thornton were payments made for services
21
       performed for non-debtor, third party entities.
22
                  258. CRA is informed and believes, and based thereon alleges, that Grant Thornton was
23
       not, and never has been, authorized either by an order of this Court or any provision of the
24

25     Bankruptcy Code to receive payment from CTG for services Grant Thornton performed for any

26     non-debtor third party.

27

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      SECOND AMENDED COMPLAINT                                                              Page 69 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 112  of 680
                                                 Page 70 of 116


                  259. CRA is informed and believes, and based thereon alleges, that CTG’s post-petition
1

2      payments to Grant Thornton totaling $122,382 were not authorized under any section of the

3      bankruptcy code or any order of this Court.

4                 260. Grant Thornton was the initial transferee/recipient of the payments.
5
                  261. The unauthorized post-petition payments made by CTG to Grant Thornton
6
       are voidable pursuant to 11 U.S.C. § 549(a), and recoverable by the Liquidating Trustee for
7
       the benefit of creditors in this case pursuant to 11 U.S.C. § 550(a)(1).
8
       L.         Avoidance and Recovery of Unauthorized Post-Petition Transfers Pursuant to 11
9
                  U.S.C. §544(b)(1) and Cal. Civ. Code § 3439.05
10
                                              (Defendant Grant Thornton)
11                262. The foregoing and following paragraphs are hereby incorporated by reference as if
12     fully set forth herein.
13
                  263. Plaintiff is a California limited liability company and is the Liquidating Trustee
14
       duly appointed under the Chapter 11 Liquidating Plan (“Plan”) of CTG, which was confirmed by
15
       order entered March 2, 2018 (“Confirmation Order”).
16

17                264. The Liquidating Trustee was appointed as of the Effective Date of the Plan, April

18     2, 2018.

19                265. Pursuant to the Confirmation Order and the Plan, the Liquidating Trustee was
20     granted requisite standing and authority to prosecute and pursue causes of action held by the
21
       Debtor and Debtor’s bankruptcy estate.
22
                  266. CTG made multiple post-petition payments to Grant Thornton, as follows:
23
                             a)        $3,562.00 on February 8, 2017;
24

25                           b)        $26,000.00 on March 2, 2017;

26                           c)        $20,800.00 on March 15, 2017;

27

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      SECOND AMENDED COMPLAINT                                                                 Page 70 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 113  of 680
                                                 Page 71 of 116


                           d)       $20,800 on April 20, 2017; and
1

2                          e)       $51,220.00 on April 26, 2017.

3              267. Grant Thornton was not, and never has been, employed and authorized to

4      perform services for CTG pursuant to 11 U.S.C. § 327, and to be compensated for such
5
       services pursuant to 11 U.S.C. § 330.
6
               268. CRA is informed and believes, and based thereon alleges, that some, it not all, of
7
       the post-petition payments CTG made to Grant Thornton were payments made for services
8
       performed for non-debtor, third party entities.
9

10             269. CRA is informed and believes, and based thereon alleges, that Grant Thornton was

11     not, and never has been, authorized either by an order of this Court or any provision of the
12     Bankruptcy Code to receive payment from CTG for services Grant Thornton performed for any
13
       non-debtor third party.
14
               270. CRA is informed and believes, and based thereon alleges, that CTG received less
15
       than reasonably equivalent value in exchange for any payments made to Grant Thornton that
16

17     were made for services performed for the benefit of a non-debtor third party.

18             271. The Trustee is informed and believes, and based thereon alleges, that CTG was

19     insolvent at the time the post-petition payments to Grant Thornton were made.
20             272. There were multiple creditors asserting unsecured claims against the estate of CTG
21
       at the time of CTG’s transfers to Grant Thornton. Those creditors are listed in the attached
22
       Schedule A.
23
               273. Grant Thornton was the initial transferee/recipient of the payments.
24

25

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      SECOND AMENDED COMPLAINT                                                             Page 71 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 114  of 680
                                                 Page 72 of 116


                274. CTG’s payments to Grant Thornton are voidable pursuant to 11 U.S.C. §
1

2      544(b)(1) and Cal. Civ. Code § 3439.05, and recoverable by the Trustee for the benefit of this

3      estate pursuant to 11 U.S.C. §550(a)(1).

4      L.     Avoidance and Recovery of Preferential Transfers Pursuant to 11 U.S.C. §547
5
                                          (Defendants Mezzanine Lenders)
6               275. The foregoing and following paragraphs are hereby incorporated by reference as if

7      fully set forth herein.

8               276. In March 2016, CTG transferred $7,264,770.39 to Fidus Investment Corporation
9
       and Fidus Mezzanine Capital II, L.P.
10
                277. In March 2016, CTG transferred $7,263,263.90 to Avante Mezzanine Partners
11
       SBIC, LP.
12
                278. In March 2016, CTG transferred $1,340.39 to Avante Mezzanine Partners II, Inc.
13

14              279. From October 2015 to December 2015, CTG transferred $230,144.68 to Fidus

15     Investment Corporation and Fidus Mezzanine Capital II, L.P. The transfers are itemized in the
16     attached Schedule B.
17
                280. From October 2015 to February 2016, CTG transferred $229,055.30 to Avante
18
       Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II, Inc. from December 2013 to
19
       February 2016. The transfers are itemized in the attached Schedule B.
20

21              281. Plaintiff’s research and receipt of public records do not reflect any perfected lien

22     by the Mezzanine Lenders as to CTG. Therefore, at best, they would be another unsecured

23     creditor of CTG and should have shared loan repayments with the other unsecured creditors.
24             282. Each of the Preferential Transfers was made within one (1) year prior to the Petition
25
       Date (“Preference Period”).
26

27

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      SECOND AMENDED COMPLAINT                                                              Page 72 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 115  of 680
                                                 Page 73 of 116


              283. The Mezzanine Lenders were insiders of CTG as defined in 11 U.S.C. §101(31),
1

2      when each of the preferential transfers were made.

3             284. The Preferential Transfers were made from property of the Debtor.

4             285. The Mezzanine Lenders were creditors of CTG at the time of the Preferential
5
       Transfers within the meaning of 11 U.S.C. § 101(10)(A). At the time of the Preferential Transfers,
6
       the Mezzanine Lenders had a right to payment on account of an obligation owed to the Mezzanine
7
       Lenders by CTG.
8
              286. Each of the Preferential Transfers was made on account of an antecedent debt owed
9

10     by CTG to the Mezzanine Lenders before the Preferential Transfers were made. The Preferential

11     Transfers were each made on account of a debt obligation for which CTG was legally bound to
12     pay to the Mezzanine Lenders pursuant to the terms of a loan and investment agreement.
13
              287. The Preferential Transfers were to or for the benefit of a creditor within the
14
       meaning of 11 U.S.C. § 547(b)(1) because the Preferential Transfers either reduced or fully
15
       satisfied a debt then owed by CTG to the Mezzanine Lenders.
16

17            288. CTG was insolvent at the time of the Preferential Transfers in that the sum of its

18     debts was greater than the fair value of its assets, within the meaning of 11 U.S.C. § 101(32)(A)

19     and 11 U.S.C. § 547(b)(3).
20            289. By reason of the Preferential Transfers, the Mezzanine Lenders received more on
21
       account of her claim than the Mezzanine Lenders would receive if this case were a case under
22
       Chapter 7 of the Bankruptcy Code, the Preferential Transfers had not been made, and the
23
       Mezzanine Lenders received payment of such debt to the extent provided by the provisions of
24

25     the Bankruptcy Code.

26

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      SECOND AMENDED COMPLAINT                                                              Page 73 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 116  of 680
                                                 Page 74 of 116


                  290. As of the date hereof, the Defendant has not returned any of the Preferential
1

2      Transfers to the Debtor.

3                 291. The Plaintiff is entitled to an order and judgment pursuant to 11 U.S.C. § 547 that

4      avoids the Preferential Transfers.
5

6                                                          VII.
                                                       JURY DEMAND
7
                  Plaintiff demands a trial by jury.
8
                                                       VIII.
9
                                                 PRAYER FOR RELIEF
10
                 WHEREFORE PREMISES CONSIDERED, upon final trial, CTG prays for the following
11
       relief:
12
                 (a)    Actual, consequential, and punitive damages against Defendants in an amount to
13
                        be proven at trial;
14
                 (b)    Disgorgement and forfeiture;
15
                 (c)    Reasonable and necessary attorneys’ fees and court costs;
16

17               (d)    Prejudgment and post-judgment interest at the highest lawful rates; and

18               (e)    All such other relief to which CTG may show itself to be justly entitled.

19
                                                         Respectfully submitted,
20

21                                                       __________________
                                                         Edward Jason Dennis
22                                                       jdennis@lynnllp.com
                                                         Samuel B. Hardy
23                                                       shardy@lynnllp.com
                                                         Christian Orozco
24                                                       California State Bar No. 285723
25                                                       corozco@lynnllp.com
                                                         Lynn Pinker Cox & Hurst, LLP
26                                                       2100 Ross Avenue, Suite 2700
                                                         Dallas, Texas 75201
27

28


      SECOND AMENDED COMPLAINT                                                                Page 74 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 117  of 680
                                                 Page 75 of 116


                                           (214) 981-3800 - Telephone
1                                          (214) 981-3839 - Facsimile
2
                                           Special Litigation Counsel for
3                                          Corporate Recovery Associates, LLC,
                                           Trustee for the Liquidating Trust of
4                                          Debtor Channel Technologies Group, LLC
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      SECOND AMENDED COMPLAINT                                              Page 75 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 118  of 680
                                                 Page 76 of 116


                                         SCHEDULE A
1

2      CTG’s Unsecured Creditors

3       ACF COMPONENTS & FASTENERS INC
        ADVANCED CERAMIC TECHNOLOGY
4
        ADVANCED GEOENVIRONMENTAL, INC
5       ADVANCED MEASUREMENT MACHINES, INC
        AIR SCIENCE
6
        ALION
7       ALL WAYS CLEAN
        ALL-CAL EQUIPMENT SERVICES INC.
8
        ALLIANCE FINISHING & MANUFACTURING
9       ALLIED ELECTRONICS, INC.
        ALLSTAR MAGNETICS, LLC
10      ALTA PROPERTIES, INC. AKA CHANNEL TECHNOLOGIES, INC.
11      AMAZON.COM
        AMERICAN DICING, INC.
12      ANDON ELECTRONICS CORPORATION
13      ANTHEM BLUE CROSS
        APPLIED CERAMICS INC
14      AQUA SYSTEMS, INC.
15      AQUA-FLO SUPPLY
        ASSOCIATED VACUUM SERVICES
16      ASTRO INDUSTRIES, INC.
17      AT&T
        AZ SAFETY
18      BAE SYSTEMS INFORMATION AND ELECTRONIC SYSTEMS INTEGRATION INC.
19      BAGHOUSE SERVICES, INC.
        BAY ALARM COMPANY
20      BECKMAN SOFTWARE ENGINEERING
        BORRMANN METAL CENTER
21
        BRENNTAG SPECIALTIES
22      BRYLEN TECHNOLOGIES
        BURKE INDUSTRIES
23
        CAL COAST LOCKSMITHS
24      CAL WEST ENVIRONMENTAL SERVICES, INC.
        CALIFORNIA METAL & SUPPLY, INC.
25
        CANON FINANCIAL SERVICES, INC.
26      CCT PLASTICS
        CEC ELECTRICAL SERVICES
27

28


      SECOND AMENDED COMPLAINT                                              Page 76 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 119  of 680
                                                 Page 77 of 116


        CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS, ON BEHALF OF ITS AFFILIATES
1
        AND SUBSIDIARIES
2       CHANNEL CITY LUMBER
        CINCINNATI TESTING LABORATORIES, INC.
3
        CINTAS DOCUMENT MANAGEMENT
4       CIREXX INTERNATIONAL, INC.
        CNC MACHINING, INC
5       COAST CARPET CLEANING
6       COAST FLUID-AIRE
        COCA COLA BOTTLING COMPANY OF NORTHERN NEW ENGLAND
7       COMCAST
8       COMPASS PUBLICATIONS
        CONTINENTAL DIAMOND TOOL CORP
9       COONER WIRE
10      COOPER CROUSE-HINDS, LLC
        COR-BRIDGE, INC.
11      CREATIVE MATERIALS, INC.
12      CTS CORPORATION - BOLINGBROOK
        CTS ELECTRONIC COMPONENTS, INC.
13      DAY ASSOCIATES, INC.
14      DIGI-KEY CORP 2021196
        DOCUPRODUCTS CORPORATION
15      EIS, INC
        ELITE METAL FINISHING
16
        ELLSWORTH ADHESIVES
17      ENGINEERED SYNTACTIC SYSTEMS
        ENTERPRISE RIDESHARE
18
        ENVIRONMENT ASSOCIATES INC
19      FARO TECHNOLOGIES INC.
        FEDEX
20
        FEDEX FREIGHT
21      FGL ENVIRONMENTAL
        FIRST CHOICE
22
        FORUM US, INC. DBA SYNTECH
23      FRC-ELECTRICAL INDUSTRIES
        FRONTIER COMMUNICATIONS
24
        GASKET SPECIALTIES, INC
25      GIFFIN RENTAL CORP
        GLENAIR, INC.
26      GLOBAL INDUSTRIAL EQUIPMENT
27      GOLETA VALLEY PAINT

28


      SECOND AMENDED COMPLAINT                                                   Page 77 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 120  of 680
                                                 Page 78 of 116


        GRAINGER
1
        GRAY LIFT
2       GREENE RUBBER COMPANY INC
        HANNA, CHERYL
3
        HENKEL COPRORATION
4       HERAEUS PRECIOUS METALS NORTH AMERICA
        HIRERIGHT, LLC
5
        IAR SYSTEMS SOFTWARE
6       IGO'S WELDING SUPPLY CO., INC.
        IMARC
7
        IMPULSE ADVANCED COMMUNIC
8       INTERSTATE RIGGING, LLC
        J.R. BARTO HEATING AIR CONDITIONING & SHEET METAL, INC
9       JOY EQUIPMENT PROTECTION, INC
10      KADCO CERAMICS
        KATS ENTERPRISES, LLC
11      KAVINELLI & SON PLUMBING & HEATING, INC.
12      KAYO DENSHI CO
        KEMLON PRODUCTS
13      KRAYDEN INC
14      LANDSBERG
        LANDSBERG ORORA
15      LASER SERVICES
16      LAWRENCE E. PRICE
        LEAF CAPITAL FUNDING, LLC
17      LEIDOS, INC.
18      LIGHTHOUSE PLACEMENT SERVICES
        LINDSTROM, BRENT A.
19      LINTEC OF AMERICA, INC.
        LOCKHEED MARTIN CORPORATION - ROTARY AND MISSION SYSTEMS
20
        M & J ENGINEERING
21      MACARTNEY INC, NORTHEAST
        MACHINE EXPERIENCE & DESIGN
22
        MANTRA COMPUTING, INC.
23      MARBORG INDUSTRIES
        MASLENNIKOV, NIKOLAY
24
        MCMASTER-CARR SUPPLY CO
25      METALMART INTERNATIONAL, INC
        METTLER TOLEDO
26
        MILLS MACHINE WORKS, INC.
27      MINITAB, INC

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      SECOND AMENDED COMPLAINT                                              Page 78 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 121  of 680
                                                 Page 79 of 116


        MISSION LINEN SUPPLY
1
        MI-TECH METALS, INC.
2       MOBILE MINI
        MORGAN ADVANCED CERAMICS, INC.
3
        MORGAN TECHNICAL CERAMICS
4       MOUSER ELECTRONICS
        MSC INDUSTRIAL SUPPLY COMPANY
5
        NATIONAL INSTRUMENTS
6       NATIONAL WIRE & CABLE CORP
        NEW ENGLAND COPY SPECIALISTS
7
        NORTHERN TOOL + EQUIPMENT
8       NORTHROP GRUMMAN SYSTEMS CORPORATION
        NRL & ASSOCIATES INC.
9       NSL ANALYTICAL SERVICES, INC
10      OFFICEMAX
        OMEGA ENGINEERING
11      OMNI OXIDE CORP
12      ONE WAY INDUSTRIAL SUPPLY INC
        ONLINESTORES COM
13      ORTEGA, ARTURO
14      PACIFICA SUITES HOTEL
        PHILLIPS, RALPH
15      PHOENIX INTL HOLDINGS
16      PLEX SYSTEMS, INC
        PPG AEROSPACE
17      PRAIRIE CERAMICS CORP
18      PRAXAIR DISTRIBUTION INC.
        PRECISION SCREW MACHINE PROD
19      PROTECTIVE WEATHER STRUCTURES, INC.
        PROTO LABS, INC.
20
        QUALITY MAGNETICS CORPORATION
21      QUICKPARTS.COM, INC
        R.S. HUGHES CO, INC.
22
        RACO INDUSTRIES LLC
23      RAMADA SANTA BARBARA
        RINCON ENGINEERING CORP.
24
        RONCELLI PLASTICS, INC.
25      S L FUSCO, INC.
        SANSUM CLINIC OCC. MEDICINE
26
        SANTA BARBARA IND. FINISHING
27      SCHMIDT, GERALD E.

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      SECOND AMENDED COMPLAINT                                              Page 79 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 122  of 680
                                                 Page 80 of 116


        SCIENCE APPLICATION INTERNATIONAL
1
        SDS SPRAY DRYING SYSTEMS INC
2       SEA TECHNOLOGY
        SEACON/BRANTNER & ASSOC., INC.
3
        SEFAR INC
4       SHAWSHEEN AIR SERVICES, INC
        SOTHEAR JOHNNY SUY
5
        SOUTHERN CALIFORNIA EDISON COMPANY
6       SOUTHWEST IMPREGLON SALES, INC.
        SPARKLETTS
7
        SPECIALTY TOOL LTD.
8       SPECTRUM CHEMICAL MFG CORP
        SPHERION
9       SPRAY DRYING SYSTEMS, INC.
10      STAPLES BUSINESS ADVANTAGE
        STEVEN L. RENICK
11      SUN CONFERENCE
12      SUNSHINE METALS
        SURMET CORPORATION
13      TEST EQUITY, INC.
14      THE RYDING COMPANY
        TJ ASSEMBLIES
15      TRAMONTO CIRCUITS
16      TRS CERAMICS, INC., DBA TRS TECHNOLOGIES
        TTE FILTERS, LLC
17      TURKANA
18      ULINE SHIPPING SUPPLIES
        UNITED PARCEL SERVICE DOMESTIC
19      UNITED STATES DEPARTMENT OF DEFENSE
        UPS
20
        UT SYSTEM OBO UT AT AUSTIN
21      UTZ, LLC
        VAGA INDUSTRIES
22
        VALLEY SEAL COMPANY
23      VALUE BASED SOLUTIONS LLC
        VERIZON WIRELESS
24
        VOLT
25      VWR INTERNATIONAL LLC
        W.W. GRAINGER
26
        WATER STORE
27      WHALING WEST PACKAGING CORP

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      SECOND AMENDED COMPLAINT                                              Page 80 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 123  of 680
                                                 Page 81 of 116


        WILLIAMS CONSULTING
1

2                                         SCHEDULE B

3      GRANT THORNTON, LLP
4
                       Initial
5         Date      Transferee   Amount        Beneficiary
                    GRANT                      BW Piezo
6                   THORNTON
7         1/25/13   LLP           $13,127.08
                    GRANT                      BW Piezo
8                   THORNTON
          2/22/13   LLP           $11,440.00
9
                    GRANT                      BW Piezo
10                  THORNTON
          3/15/13   LLP            $8,580.00
11                  GRANT                      BW Piezo
                    THORNTON
12
          3/15/13   LLP            $8,580.00
13                  GRANT                      BW Piezo
                    THORNTON
14        3/15/13   LLP            $8,580.00
15                  GRANT                      BW Piezo
                    THORNTON
16         5/1/13   LLP           $10,592.00
                    GRANT                      BW Piezo
17
                    THORNTON
18        5/31/13   LLP           $27,987.00
                    GRANT                      BW Piezo
19                  THORNTON
          6/14/13   LLP            $8,174.00
20
                    GRANT
21                  THORNTON
         10/28/13   LLP            $2,964.00 BW Piezo; CTG Advanced Materials
22                  GRANT
23                  THORNTON
         11/15/13   LLP            $1,404.00 BW Piezo; CTG Advanced Materials
24                  GRANT
                    THORNTON
25
          12/9/13   LLP           $17,928.00 BW Piezo; CTG Advanced Materials
26

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      SECOND AMENDED COMPLAINT                                                  Page 81 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 124  of 680
                                                 Page 82 of 116


                    GRANT
1
                    THORNTON
2         4/30/14   LLP           $32,760.00 BW Piezo; CTG Advanced Materials
                    GRANT
3                   THORNTON
4          5/7/14   LLP           $17,020.00 BW Piezo; CTG Advanced Materials
                    GRANT
5                   THORNTON
           7/9/14   LLP          $101,181.00 BW Piezo; CTG Advanced Materials
6                   GRANT
7                   THORNTON
          7/23/14   LLP           $39,115.52 BW Piezo; CTG Advanced Materials
8                   GRANT
                    THORNTON
9
          7/30/14   LLP           $17,680.00 BW Piezo; CTG Advanced Materials
10                  GRANT
                    THORNTON
11         8/7/14   LLP            $2,600.00 BW Piezo; CTG Advanced Materials
12                  GRANT
                    THORNTON
13       10/15/14   LLP            $3,796.00 BW Piezo; CTG Advanced Materials
                    GRANT
14
                    THORNTON
15       12/10/14   LLP            $2,480.00 BW Piezo; CTG Advanced Materials
                    GRANT
16                  THORNTON
           4/3/15   LLP           $14,204.01 BW Piezo; CTG Advanced Materials
17
                    GRANT
18                  THORNTON
          4/16/15   LLP           $15,600.00 BW Piezo; CTG Advanced Materials
19                  GRANT
20                  THORNTON
          4/23/15   LLP           $37,401.27 BW Piezo; CTG Advanced Materials
21                  GRANT
                    THORNTON
22
           5/7/15   LLP           $66,568.84 BW Piezo; CTG Advanced Materials
23                  GRANT
                    THORNTON
24        5/13/15   LLP           $30,420.00 BW Piezo; CTG Advanced Materials
25                  GRANT
                    THORNTON
26        5/21/15   LLP            $2,600.00 BW Piezo; CTG Advanced Materials

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      SECOND AMENDED COMPLAINT                                                  Page 82 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 125  of 680
                                                 Page 83 of 116


                    GRANT
1
                    THORNTON
2         7/24/15   LLP           $16,640.00 BW Piezo; CTG Advanced Materials
                    GRANT
3                   THORNTON
4         10/8/15   LLP           $18,352.91 BW Piezo; CTG Advanced Materials
                    GRANT
5                   THORNTON
          11/5/15   LLP            $8,060.00 BW Piezo; CTG Advanced Materials
6                   GRANT
7                   THORNTON
           4/7/16   LLP           $18,200.00 BW Piezo; CTG Advanced Materials
8                   GRANT
                    THORNTON
9
          5/13/16   LLP          $109,135.77 BW Piezo; CTG Advanced Materials
10                  GRANT
                    THORNTON
11        5/13/16   LLP          $109,135.77 BW Piezo; CTG Advanced Materials
12                  GRANT
                    THORNTON
13        5/13/16   LLP           $30,145.00 BW Piezo; CTG Advanced Materials
                    GRANT
14
                    THORNTON
15        5/20/16   LLP           $78,990.77 BW Piezo; CTG Advanced Materials
                    GRANT
16                  THORNTON
          6/24/16   LLP           $43,456.97 BW Piezo; CTG Advanced Materials
17
                    GRANT
18                  THORNTON
          6/24/16   LLP           $43,456.97 BW Piezo; CTG Advanced Materials
19                  GRANT
20                  THORNTON
          6/24/16   LLP           $43,456.97 BW Piezo; CTG Advanced Materials
21                  GRANT
                    THORNTON
22
          8/12/16   LLP           $11,880.00 BW Piezo; CTG Advanced Materials
23                  GRANT
                    THORNTON
24        8/19/16   LLP            $7,020.00 BW Piezo; CTG Advanced Materials
25                  GRANT
                    THORNTON
26        8/19/16   LLP            $7,020.00 BW Piezo; CTG Advanced Materials

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      SECOND AMENDED COMPLAINT                                                  Page 83 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 126  of 680
                                                 Page 84 of 116


                    GRANT
1
                    THORNTON
2         8/19/16   LLP             $7,020.00 BW Piezo; CTG Advanced Materials
                    GRANT
3                   THORNTON
4          2/8/17   LLP             $3,562.00 BW Piezo; CTG Advanced Materials
                    GRANT
5                   THORNTON
           3/2/17   LLP            $26,000.00 BW Piezo; CTG Advanced Materials
6                   GRANT
7                   THORNTON
          3/15/17   LLP             $20,800.00 BW Piezo; CTG Advanced Materials
8      Total                     $1,105,115.85
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      SECOND AMENDED COMPLAINT                                                    Page 84 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 127  of 680
                                                 Page 85 of 116


       HOLLAND & KNIGHT
1

2                      Initial
          Date       Transferee   Amount     Beneficiary
3
                    HOLLAND &
4        12/20/12   KNIGHT,LLP    $10,938.16 BW Piezo
                    HOLLAND &                BW Piezo
5        12/20/12   KNIGHT,LLP     $4,317.20
6                   HOLLAND &                BW Piezo
         12/20/12   KNIGHT,LLP    $39,292.67
7                                            BW Piezo
                    HOLLAND &
8         1/18/13   KNIGHT,LLP     $6,772.42
                    HOLLAND &                BW Piezo
9         1/31/13   KNIGHT,LLP     $7,172.04
10                  HOLLAND &                BW Piezo
          1/31/13   KNIGHT,LLP     $7,172.04
11                                           BW Piezo
                    HOLLAND &
12        1/31/13   KNIGHT,LLP     $7,172.04
                    HOLLAND &                BW Piezo
13        2/22/13   KNIGHT,LLP    $31,320.10
14                  HOLLAND &                BW Piezo
          3/15/13   KNIGHT,LLP     $3,460.50
15                                           BW Piezo
                    HOLLAND &
16        3/15/13   KNIGHT,LLP     $3,460.50
                    HOLLAND &                BW Piezo
17        3/15/13   KNIGHT,LLP     $3,460.50
18                  HOLLAND &                BW Piezo
           5/1/13   KNIGHT,LLP    $54,290.58
19                                           BW Piezo
                    HOLLAND &
20        5/31/13   KNIGHT,LLP     $7,050.96
                    HOLLAND &
21        11/6/13   KNIGHT,LLP    $69,039.09 BW Piezo; CTG Advanced Materials
22                  HOLLAND &
         12/30/13   KNIGHT,LLP    $61,155.89 BW Piezo; CTG Advanced Materials
23
                    HOLLAND &
24        1/24/14   KNIGHT,LLP    $68,125.30 BW Piezo; CTG Advanced Materials
                    HOLLAND &
25         3/6/14   KNIGHT,LLP     $2,493.36 BW Piezo; CTG Advanced Materials
26                  HOLLAND &
          4/18/14   KNIGHT,LLP     $8,437.54 BW Piezo; CTG Advanced Materials
27

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      SECOND AMENDED COMPLAINT                                                  Page 85 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 128  of 680
                                                 Page 86 of 116



1                   HOLLAND &
           5/7/14   KNIGHT,LLP     $5,985.10 BW Piezo; CTG Advanced Materials
2                   HOLLAND &
          5/16/14   KNIGHT,LLP     $2,970.00 BW Piezo; CTG Advanced Materials
3
                    HOLLAND &
4         7/15/14   KNIGHT,LLP    $21,968.55 BW Piezo; CTG Advanced Materials
5                   HOLLAND &
          7/30/14   KNIGHT,LLP    $15,757.56 BW Piezo; CTG Advanced Materials
6                   HOLLAND &
           9/5/14   KNIGHT,LLP    $18,105.15 BW Piezo; CTG Advanced Materials
7
                    HOLLAND &
8        10/15/14   KNIGHT,LLP   $128,005.31 BW Piezo; CTG Advanced Materials
9                   HOLLAND &
          11/5/14   KNIGHT,LLP      $207.50 BW Piezo; CTG Advanced Materials
10                  HOLLAND &
         11/12/14   KNIGHT,LLP     $9,802.14 BW Piezo; CTG Advanced Materials
11
                    HOLLAND &
12       11/26/14   KNIGHT,LLP    $23,093.92 BW Piezo; CTG Advanced Materials
13                  HOLLAND &
         12/30/14   KNIGHT,LLP    $92,009.26 BW Piezo; CTG Advanced Materials
14                  HOLLAND &
          1/29/15   KNIGHT,LLP      $690.00 BW Piezo; CTG Advanced Materials
15
                    HOLLAND &
16         3/4/15   KNIGHT,LLP    $15,498.25 BW Piezo; CTG Advanced Materials
17                  HOLLAND &
           4/3/15   KNIGHT,LLP     $8,125.67 BW Piezo; CTG Advanced Materials
18                  HOLLAND &
           5/1/15   KNIGHT,LLP     $3,091.54 BW Piezo; CTG Advanced Materials
19
                    HOLLAND &
20         6/1/15   KNIGHT,LLP     $4,598.68 BW Piezo; CTG Advanced Materials
21                  HOLLAND &
           6/4/15   KNIGHT,LLP      $216.00 BW Piezo; CTG Advanced Materials
22                  HOLLAND &
          6/12/15   KNIGHT,LLP    $11,046.23 BW Piezo; CTG Advanced Materials
23
                    HOLLAND &
24         7/1/15   KNIGHT,LLP      $875.00 BW Piezo; CTG Advanced Materials
25                  HOLLAND &
         10/15/15   KNIGHT,LLP     $5,589.58 BW Piezo; CTG Advanced Materials
26                  HOLLAND &
         12/18/15   KNIGHT,LLP     $3,403.50 BW Piezo; CTG Advanced Materials
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      SECOND AMENDED COMPLAINT                                                  Page 86 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 129  of 680
                                                 Page 87 of 116



1                 HOLLAND &
          1/22/16 KNIGHT,LLP       $3,840.81 BW Piezo; CTG Advanced Materials
2                 HOLLAND &
          2/24/16 KNIGHT,LLP       $6,144.50 BW Piezo; CTG Advanced Materials
3
                  HOLLAND &
4         9/30/16 KNIGHT,LLP      $13,424.00 BW Piezo; CTG Advanced Materials
5
             Total               $789,579.14
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      SECOND AMENDED COMPLAINT                                                  Page 87 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 130  of 680
                                                 Page 88 of 116


       DUFF & PHELPS
1

2                    Initial
          Date     Transferee     Amount     Beneficiary
3
                  DUFF &
4          4/3/15 PHELPS, LLC     $36,995.00 BW Piezo; CTG Advanced Materials

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      SECOND AMENDED COMPLAINT                                                  Page 88 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 131  of 680
                                                 Page 89 of 116


       AVANTE MEZZANINE PARTNERS SBIC, LP
1

2                       Initial                 Beneficia
          Date        Transferee    Amount         ry
3                   AVANTE
4                   MEZZANINE
                    PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
5        12/19/13   SBIC, LP       $195,319.45 Optical Industries
                    AVANTE
6
                    MEZZANINE
7                   PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
          3/26/14   SBIC, LP       $214,375.00 Optical Industries
8                   AVANTE
                    MEZZANINE
9
                    PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
10        6/30/14   SBIC, LP       $216,756.95 Optical Industries
                    AVANTE
11                  MEZZANINE
12                  PARTNERS                  BW Piezo; CTG Advanced Materials; Electro
          8/14/14   SBIC, LP          $497.00 Optical Industries
13                  AVANTE
                    MEZZANINE
14                  PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
15        9/30/14   SBIC, LP       $219,138.89 Optical Industries
                    AVANTE
16                  MEZZANINE
                    PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
17
         12/31/14   SBIC, LP       $219,138.89 Optical Industries
18                  AVANTE
                    MEZZANINE
19                  PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
20        3/31/15   SBIC, LP       $214,375.00 Optical Industries
                    AVANTE
21                  MEZZANINE
                    PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
22        6/30/15   SBIC, LP       $216,756.95 Optical Industries
23                  AVANTE
                    MEZZANINE
24                  PARTNERS                   BW Piezo; CTG Advanced Materials; Electro
          7/16/15   SBIC, LP         $3,803.67 Optical Industries
25
                    AVANTE                     BW Piezo; CTG Advanced Materials; Electro
26        9/30/15   MEZZANINE      $228,083.34 Optical Industries
27

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      SECOND AMENDED COMPLAINT                                                  Page 89 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 132  of 680
                                                 Page 90 of 116


                  PARTNERS
1
                  SBIC, LP
2                 AVANTE
                  MEZZANINE
3                 PARTNERS                    BW Piezo; CTG Advanced Materials; Electro
4        12/31/15 SBIC, LP        $228,083.34 Optical Industries
                  AVANTE
5                 MEZZANINE
                  PARTNERS                     BW Piezo; CTG Advanced Materials; Electro
6
          2/18/16 SBIC, LP             $971.96 Optical Industries
7                                 $1,957,300.4
            Total                            4
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      SECOND AMENDED COMPLAINT                                                  Page 90 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 133  of 680
                                                 Page 91 of 116


       BLUE WOLF CAPITAL PARTNERS
1

2
         Date     Initial Transferee   Amount            Beneficiary
3                 BLUE WOLF
4                 CAPITAL
        1/10/13   PARTNERS              $84,375.00 Blue Wolf Capital Partners
5                 BLUE WOLF                        Blue Wolf Capital Partners
                  CAPITAL
6
         2/1/13   PARTNERS              $77,700.51
7                 BLUE WOLF                          Blue Wolf Capital Partners
                  CAPITAL
8       3/28/13   PARTNERS              $84,375.00
                  BLUE WOLF                          Blue Wolf Capital Partners
9
                  CAPITAL
10      4/25/13   PARTNERS              $39,923.90
                  BLUE WOLF                          Blue Wolf Capital Partners
11                CAPITAL
12      7/11/13   PARTNERS              $84,375.00
                  BLUE WOLF                          Blue Wolf Capital Partners
13                CAPITAL
       10/24/13   PARTNERS              $35,767.67
14
                  BLUE WOLF                          Blue Wolf Capital Partners
15                CAPITAL
       10/15/13   PARTNERS              $84,375.00
16                BLUE WOLF                          Blue Wolf Capital Partners
17                CAPITAL
       10/10/13   PARTNERS             $116,589.50
18                BLUE WOLF                          Blue Wolf Capital Partners
                  CAPITAL
19       1/9/14   PARTNERS             $125,000.00
20                BLUE WOLF                          Blue Wolf Capital Partners
                  CAPITAL
21      4/10/14   PARTNERS             $125,000.00
                  BLUE WOLF                          Blue Wolf Capital Partners
22
                  CAPITAL
23       7/2/14   PARTNERS             $125,000.00
                  BLUE WOLF                          Blue Wolf Capital Partners
24                CAPITAL
25     10/16/14   PARTNERS             $125,000.00
                  BLUE WOLF                          Blue Wolf Capital Partners
26                CAPITAL
         1/9/15   PARTNERS             $125,000.00
27

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      SECOND AMENDED COMPLAINT                                                    Page 91 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 134  of 680
                                                 Page 92 of 116


                  BLUE WOLF                        Blue Wolf Capital Partners
1
                  CAPITAL
2        4/7/15   PARTNERS           $125,000.00
                  BLUE WOLF                        Blue Wolf Capital Partners
3                 CAPITAL
4        7/3/15   PARTNERS           $125,000.00
                  BLUE WOLF                        Blue Wolf Capital Partners
5                 CAPITAL
       10/16/15   PARTNERS           $125,000.00
6                 BLUE WOLF                        Blue Wolf Capital Partners
7                 CAPITAL
       12/18/15   PARTNERS           $126,848.63
8                 BLUE WOLF                        Blue Wolf Capital Partners
                  CAPITAL
9
        5/13/16   PARTNERS           $125,000.00
10                BLUE WOLF                        Blue Wolf Capital Partners
                  CAPITAL
11      5/13/16   PARTNERS           $125,000.00
12
          Total                    $1,984,330.21
13

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      SECOND AMENDED COMPLAINT                                                  Page 92 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 135  of 680
                                                 Page 93 of 116


       CIT BANK, N.A.
1

2                      Initial                  Beneficiar
          Date      Transferee     Amount           y
3                   CIT BANK,
4         5/31/13   N.A.            $14,259.96 BW Piezo
                    CIT BANK,                  BW Piezo
5         6/28/13   N.A.             $1,597.09
6                   CIT BANK,                  BW Piezo
          6/28/13   N.A.            $17,618.77
7                   CIT BANK,                  BW Piezo
8         7/24/13   N.A.          $120,213.65
                    CIT BANK,                  BW Piezo
9         7/31/13   N.A.            $20,937.22
10                  CIT BANK,                  BW Piezo
          7/31/13   N.A.            $20,937.22
11                  CIT BANK,                  BW Piezo
12        8/29/13   N.A.            $21,376.97
                    CIT BANK,                  BW Piezo
13        9/30/13   N.A.            $20,577.06
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/11/13   N.A.         $1,000,000.00 Optical Industries
15                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16       10/23/13   N.A.          $500,000.00 Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17       10/23/13   N.A.          $200,000.00 Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/14/13   N.A.          $129,524.89 Optical Industries
19                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20       11/14/13   N.A.          $129,524.89 Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21       11/25/13   N.A.          $300,000.00 Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/13/13   N.A.          $129,340.44 Optical Industries
23                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24       12/19/13   N.A.          $460,700.28 Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25       12/20/13   N.A.             $1,840.94 Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           1/6/14   N.A.          $400,000.00 Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                   Page 93 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 136  of 680
                                                 Page 94 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
           1/8/14   N.A.         $500,000.00   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          1/15/14   N.A.         $123,853.42   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         1/15/14   N.A.         $123,853.42   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
           2/3/14   N.A.           $1,964.53   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           2/3/14   N.A.           $1,964.53   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8          2/4/14   N.A.         $200,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
          2/12/14   N.A.         $139,996.06   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          2/12/14   N.A.         $139,996.06   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12        2/20/14   N.A.         $575,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
           3/3/14   N.A.           $1,714.42   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           3/3/14   N.A.           $1,714.42   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16         3/3/14   N.A.           $1,714.42   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          3/13/14   N.A.         $116,517.08   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          3/13/14   N.A.         $116,517.08   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        3/13/14   N.A.         $116,517.08   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          3/26/14   N.A.         $387,500.00   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          3/26/14   N.A.         $387,500.00   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24        3/26/14   N.A.         $387,500.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
          3/28/14   N.A.         $400,000.00   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          3/31/14   N.A.          $40,991.98   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                   Page 94 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 137  of 680
                                                 Page 95 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
          3/31/14   N.A.         $100,000.00   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          3/31/14   N.A.          $40,991.98   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         3/31/14   N.A.          $40,991.98   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
           4/2/14   N.A.           $1,896.38   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           4/2/14   N.A.           $1,896.38   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8          4/4/14   N.A.          $50,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
          4/14/14   N.A.           $1,517.45   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          4/14/14   N.A.           $1,517.45   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12        4/14/14   N.A.           $1,517.45   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
          4/16/14   N.A.         $400,000.00   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          4/17/14   N.A.         $195,000.00   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16        4/22/14   N.A.         $100,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          4/22/14   N.A.         $142,764.38   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          4/22/14   N.A.          $20,000.00   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        4/22/14   N.A.         $142,764.38   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          4/30/14   N.A.         $700,000.00   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          4/30/14   N.A.         $450,000.00   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24         5/6/14   N.A.           $2,017.13   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
           5/6/14   N.A.           $2,017.13   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           5/6/14   N.A.           $2,017.13   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                   Page 95 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 138  of 680
                                                 Page 96 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
           5/8/14   N.A.         $500,000.00   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          5/14/14   N.A.           $1,467.50   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         5/14/14   N.A.           $1,467.50   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
          5/14/14   N.A.           $1,467.50   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          5/14/14   N.A.           $1,467.50   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8         5/15/14   N.A.         $400,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
          5/22/14   N.A.         $121,880.38   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          5/22/14   N.A.         $121,880.38   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12        5/22/14   N.A.         $121,880.38   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
          5/22/14   N.A.         $121,880.38   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          5/23/14   N.A.         $200,000.00   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16         6/5/14   N.A.           $1,894.66   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          6/16/14   N.A.           $1,613.73   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          6/23/14   N.A.          $11,727.34   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        6/30/14   N.A.         $573,620.27   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
           7/2/14   N.A.         $400,000.00   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           7/2/14   N.A.         $100,000.00   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24         7/2/14   N.A.          $35,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
           7/7/14   N.A.           $1,895.30   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           7/7/14   N.A.           $1,895.30   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                   Page 96 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 139  of 680
                                                 Page 97 of 116


                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
1
           7/7/14   N.A.            $1,895.30    Optical Industries
2                   CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
           7/9/14   N.A.          $245,000.00    Optical Industries
3
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
4          7/9/14   N.A.         $1,500,000.00   Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
5
          7/16/14   N.A.            $1,467.25    Optical Industries
6                   CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          7/16/14   N.A.            $1,467.25    Optical Industries
7
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
8         7/16/14   N.A.          $600,000.00    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
9
          7/16/14   N.A.            $1,467.25    Optical Industries
10                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          7/16/14   N.A.           $12,475.37    Optical Industries
11
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
12        7/16/14   N.A.           $12,475.37    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
13
          7/18/14   N.A.          $700,000.00    Optical Industries
14                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          7/23/14   N.A.           $11,008.12    Optical Industries
15
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
16        7/23/14   N.A.           $11,008.12    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
17
          7/23/14   N.A.           $11,008.12    Optical Industries
18                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          7/31/14   N.A.          $113,038.13    Optical Industries
19
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
20         8/1/14   N.A.          $600,000.00    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
21
           8/7/14   N.A.            $1,896.81    Optical Industries
22                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
           8/7/14   N.A.            $1,896.81    Optical Industries
23
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
24         8/8/14   N.A.          $119,968.00    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
25
          8/13/14   N.A.          $189,295.00    Optical Industries
26                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          8/14/14   N.A.            $1,467.34    Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                     Page 97 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 140  of 680
                                                 Page 98 of 116


                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
1
          8/14/14   N.A.            $1,467.34    Optical Industries
2                   CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          8/21/14   N.A.           $11,011.88    Optical Industries
3
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
4         8/28/14   N.A.          $105,877.54    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
5
          8/28/14   N.A.           $70,000.00    Optical Industries
6                   CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          8/28/14   N.A.          $105,877.54    Optical Industries
7
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
8          9/3/14   N.A.           $25,000.00    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
9
           9/4/14   N.A.          $105,000.00    Optical Industries
10                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
           9/8/14   N.A.            $1,959.34    Optical Industries
11
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
12         9/8/14   N.A.            $1,959.34    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
13
           9/8/14   N.A.            $1,959.34    Optical Industries
14                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          9/15/14   N.A.            $1,517.28    Optical Industries
15
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
16        9/15/14   N.A.            $1,517.28    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
17
          9/16/14   N.A.         $1,000,000.00   Optical Industries
18                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          9/22/14   N.A.           $11,379.58    Optical Industries
19
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
20        9/22/14   N.A.           $11,379.58    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
21
          9/29/14   N.A.          $811,000.00    Optical Industries
22                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          9/29/14   N.A.           $89,000.00    Optical Industries
23
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
24        9/30/14   N.A.          $116,875.47    Optical Industries
                    CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
25
          9/30/14   N.A.            $4,812.50    Optical Industries
26                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
          9/30/14   N.A.            $9,072.22    Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                     Page 98 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                             Main Document  Page 141  of 680
                                                 Page 99 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
          9/30/14   N.A.          $52,979.45   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          9/30/14   N.A.         $571,239.64   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         10/8/14   N.A.           $1,835.87   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
          10/8/14   N.A.           $1,835.87   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/15/14   N.A.           $1,467.86   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8        10/15/14   N.A.           $1,467.86   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
         10/22/14   N.A.          $11,008.75   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/22/14   N.A.          $11,008.75   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12       10/22/14   N.A.          $11,008.75   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
         10/29/14   N.A.         $125,000.00   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/30/14   N.A.         $400,000.00   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16       10/31/14   N.A.         $111,684.22   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
         10/31/14   N.A.         $200,000.00   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/31/14   N.A.         $111,684.22   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20       10/31/14   N.A.         $111,684.22   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          11/6/14   N.A.           $1,834.59   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          11/6/14   N.A.           $1,834.59   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24        11/6/14   N.A.           $1,834.59   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
         11/10/14   N.A.          $40,000.00   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/12/14   N.A.           $1,467.57   Optical Industries
27

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      SECOND AMENDED COMPLAINT                                                   Page 99 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  142 of 680
                                                 Page 100 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
         11/12/14   N.A.           $1,467.57   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/12/14   N.A.           $1,467.57   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4        11/14/14   N.A.         $500,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
         11/19/14   N.A.          $11,014.25   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/19/14   N.A.          $11,014.25   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8        11/19/14   N.A.          $20,000.00   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
         11/19/14   N.A.          $11,014.25   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/25/14   N.A.         $100,876.07   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12       11/25/14   N.A.         $100,876.07   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
         11/25/14   N.A.         $100,876.07   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          12/4/14   N.A.          $40,000.00   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16        12/8/14   N.A.           $1,896.81   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          12/8/14   N.A.           $1,896.81   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          12/8/14   N.A.           $1,896.81   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20       12/15/14   N.A.           $1,516.52   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
         12/15/14   N.A.           $1,516.52   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/15/14   N.A.           $1,516.52   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24       12/22/14   N.A.          $11,379.58   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
         12/22/14   N.A.          $11,379.58   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/22/14   N.A.          $11,379.58   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 100 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  143 of 680
                                                 Page 101 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
         12/23/14   N.A.          $45,000.00   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/31/14   N.A.         $700,200.39   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4        12/31/14   N.A.           $4,531.95   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
         12/31/14   N.A.           $7,990.28   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/31/14   N.A.          $56,576.71   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8        12/31/14   N.A.          $13,872.60   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
         12/31/14   N.A.         $700,000.00   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/31/14   N.A.         $700,200.39   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12       12/31/14   N.A.          $82,971.54   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
           1/8/15   N.A.           $1,897.54   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           1/8/15   N.A.           $1,897.54   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16         1/8/15   N.A.           $1,897.54   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
           1/9/15   N.A.          $98,000.00   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          1/15/15   N.A.           $1,519.27   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        1/15/15   N.A.           $1,519.27   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          1/22/15   N.A.          $11,406.58   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          1/28/15   N.A.          $89,000.00   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24        1/28/15   N.A.          $99,807.84   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
          1/29/15   N.A.         $250,000.00   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           2/5/15   N.A.           $1,963.45   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 101 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  144 of 680
                                                 Page 102 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
           2/5/15   N.A.           $1,963.45   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           2/6/15   N.A.          $43,160.00   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         2/11/15   N.A.           $1,619.39   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
          2/19/15   N.A.          $11,782.67   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          2/20/15   N.A.          $38,780.90   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8         2/26/15   N.A.          $93,180.33   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
           3/5/15   N.A.           $1,842.08   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          3/12/15   N.A.           $1,474.00   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12        3/19/15   N.A.          $10,321.50   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
          3/31/15   N.A.         $652,200.77   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          3/31/15   N.A.          $81,115.76   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16        3/31/15   N.A.          $81,115.76   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          3/31/15   N.A.          $79,271.38   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           4/9/15   N.A.           $1,844.38   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        4/16/15   N.A.           $1,574.22   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          4/16/15   N.A.           $1,574.22   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          4/22/15   N.A.          $11,426.73   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24        4/22/15   N.A.          $11,426.73   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
          4/30/15   N.A.          $97,991.92   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          4/30/15   N.A.          $97,991.92   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 102 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  145 of 680
                                                 Page 103 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
          4/30/15   N.A.          $97,991.92   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           5/4/15   N.A.          $64,923.30   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4          5/6/15   N.A.           $1,907.77   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
           5/6/15   N.A.           $1,907.77   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          5/13/15   N.A.           $9,970.87   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8         5/13/15   N.A.           $1,476.85   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
          5/13/15   N.A.          $11,447.72   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          5/28/15   N.A.          $94,859.23   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12        5/28/15   N.A.          $94,859.23   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
          6/11/15   N.A.           $1,908.00   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          6/11/15   N.A.           $1,908.00   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16        6/17/15   N.A.          $12,193.50   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          6/17/15   N.A.           $1,625.80   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          6/17/15   N.A.          $13,819.30   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        6/30/15   N.A.         $650,371.04   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          6/30/15   N.A.           $3,993.06   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          6/30/15   N.A.           $7,772.92   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24        6/30/15   N.A.          $62,239.72   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
          6/30/15   N.A.          $15,395.20   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          6/30/15   N.A.         $650,371.04   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 103 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  146 of 680
                                                 Page 104 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
          6/30/15   N.A.          $89,400.90   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          7/13/15   N.A.           $1,972.23   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         7/22/15   N.A.          $11,091.88   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
          7/22/15   N.A.           $1,478.92   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          7/22/15   N.A.          $12,570.80   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8         7/30/15   N.A.          $99,370.29   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
          7/30/15   N.A.          $99,370.29   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          8/13/15   N.A.           $1,910.24   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12        8/13/15   N.A.           $1,910.24   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
          8/19/15   N.A.          $13,834.88   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          8/27/15   N.A.          $89,813.50   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16        9/10/15   N.A.           $1,974.87   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          9/10/15   N.A.           $1,974.87   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          9/24/15   N.A.          $13,029.78   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20        9/30/15   N.A.           $3,088.89   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
          9/30/15   N.A.           $7,505.55   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          9/30/15   N.A.          $75,079.45   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24        9/30/15   N.A.          $20,087.68   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
          9/30/15   N.A.         $106,053.09   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          9/30/15   N.A.         $545,672.82   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 104 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  147 of 680
                                                 Page 105 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
          9/30/15   N.A.         $106,053.09   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          9/30/15   N.A.         $105,761.57   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         9/30/15   N.A.         $545,672.82   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
          10/8/15   N.A.          $25,000.00   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          10/8/15   N.A.          $25,000.00   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8        10/14/15   N.A.           $1,856.81   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
         10/14/15   N.A.           $1,856.81   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/22/15   N.A.          $11,853.34   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12       10/22/15   N.A.           $1,580.44   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
         10/22/15   N.A.          $13,433.78   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         10/30/15   N.A.          $94,295.90   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16       10/30/15   N.A.          $94,295.90   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
          11/9/15   N.A.           $4,977.11   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          11/9/15   N.A.           $4,977.11   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20       11/12/15   N.A.           $2,038.14   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
         11/12/15   N.A.           $2,038.14   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/25/15   N.A.          $11,858.53   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24       11/25/15   N.A.           $1,581.14   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
         11/25/15   N.A.          $13,439.67   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         11/30/15   N.A.          $97,322.88   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 105 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  148 of 680
                                                 Page 106 of 116


                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
1
         11/30/15   N.A.          $97,322.88   Optical Industries
2                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          12/9/15   N.A.           $9,815.49   Optical Industries
3
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
4         12/9/15   N.A.          $11,111.87   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
5
          12/9/15   N.A.          $20,927.36   Optical Industries
6                   CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/16/15   N.A.           $1,852.92   Optical Industries
7
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
8        12/31/15   N.A.           $2,190.97   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
9
         12/31/15   N.A.             $842.36   Optical Industries
10                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/31/15   N.A.          $59,031.17   Optical Industries
11
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
12       12/31/15   N.A.           $9,616.43   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
13
         12/31/15   N.A.          $44,437.50   Optical Industries
14                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/31/15   N.A.          $12,679.17   Optical Industries
15
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
16       12/31/15   N.A.         $825,833.92   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
17
         12/31/15   N.A.             $957.18   Optical Industries
18                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
         12/31/15   N.A.           $1,690.55   Optical Industries
19
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
20       12/31/15   N.A.         $841,160.82   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
21
         12/31/15   N.A.         $116,118.43   Optical Industries
22                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
           1/8/16   N.A.          $23,497.87   Optical Industries
23
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
24         1/8/16   N.A.           $1,285.33   Optical Industries
                    CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
25
          1/28/16   N.A.         $119,573.10   Optical Industries
26                  CIT BANK,                  BW Piezo; CTG Advanced Materials; Electro
          2/25/16   N.A.         $137,939.23   Optical Industries
27

28


      SECOND AMENDED COMPLAINT                                                  Page 106 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  149 of 680
                                                 Page 107 of 116


                  CIT BANK,                    BW Piezo; CTG Advanced Materials; Electro
1
           4/4/16 N.A.              $50,000.00 Optical Industries
2                                $33,248,711.3
                                             6
3                  Total
4

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      SECOND AMENDED COMPLAINT                                                  Page 107 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  150 of 680
                                                 Page 108 of 116


       FIDUS MEZZANINE CAPITAL II, L.P.
1

2                         Initial                  Benefici
         Date         Transferee          Amount     ary
3                    FIDUS
4                    MEZZANINE
                     CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
5      12/20/13      L.P.             $195,319.45 Optical Industries
                     FIDUS
6
                     MEZZANINE
7                    CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
        3/26/14      L.P.             $216,553.37 Optical Industries
8                    FIDUS
9                    MEZZANINE
                     CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
10      6/30/14      L.P.             $216,756.95 Optical Industries
                     FIDUS
11                   MEZZANINE
12                   CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
        9/30/14      L.P.             $220,941.90 Optical Industries
13                   FIDUS
                     MEZZANINE
14
                     CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
15     12/31/14      L.P.             $221,055.67 Optical Industries
                     FIDUS
16                   MEZZANINE
                     CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
17
        3/31/15      L.P.             $214,375.00 Optical Industries
18                   FIDUS
                     MEZZANINE
19                   CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
20      6/30/15      L.P.             $216,756.95 Optical Industries
                     FIDUS
21                   MEZZANINE
                     CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
22
        9/30/15      L.P.             $228,083.34 Optical Industries
23                   FIDUS
                     MEZZANINE
24                   CAPITAL II,                  BW Piezo; CTG Advanced Materials; Electro
       12/31/15      L.P.             $228,083.34 Optical Industries
25
                     FIDUS                        BW Piezo; CTG Advanced Materials; Electro
26     12/31/15      MEZZANINE          $2,061.34 Optical Industries
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      SECOND AMENDED COMPLAINT                                                    Page 108 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
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                                 Exhibit
                            Main Document   Page  151 of 680
                                                 Page 109 of 116


                    CAPITAL II,
1
                    L.P.
2
           Total                  $1,959,987.31
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      SECOND AMENDED COMPLAINT                                              Page 109 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
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                                 Exhibit
                            Main Document   Page  152 of 680
                                                 Page 110 of 116


       GLADSTONE INVESTMENT CORPORATION
1

2                     Initial                  Beneficia
         Date       Transferee     Amount         ry
3                 GLADSTONE
4                 INVESTMENT
         2/2/12   CORPORATION     $173,435.43 BW Piezo
5                 GLADSTONE
                  INVESTMENT
6
        2/29/12   CORPORATION     $147,930.21 BW Piezo
7                 GLADSTONE
                  INVESTMENT
8        3/1/12   CORPORATION     $900,000.00 BW Piezo
9                 GLADSTONE
                  INVESTMENT
10      4/30/12   CORPORATION     $155,742.70 BW Piezo
                  GLADSTONE
11                INVESTMENT
12      5/31/12   CORPORATION     $160,968.89 BW Piezo
                  GLADSTONE
13                INVESTMENT
         6/8/12   CORPORATION       $1,003.07 BW Piezo
14
                  GLADSTONE
15                INVESTMENT
        6/29/12   CORPORATION     $229,214.37 BW Piezo
16                GLADSTONE
17                INVESTMENT
        7/31/12   CORPORATION     $160,413.53 BW Piezo
18                GLADSTONE
                  INVESTMENT
19       9/6/12   CORPORATION       $2,330.17 BW Piezo
20                GLADSTONE
                  INVESTMENT
21      9/26/12   CORPORATION     $450,000.00 BW Piezo
                  GLADSTONE
22
                  INVESTMENT
23      9/26/12   CORPORATION     $450,000.00 BW Piezo
                  GLADSTONE
24                INVESTMENT
25      10/1/12   CORPORATION     $228,709.47 BW Piezo
                  GLADSTONE
26                INVESTMENT
        12/3/12   CORPORATION     $154,766.58 BW Piezo
27

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      SECOND AMENDED COMPLAINT                                              Page 110 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  153 of 680
                                                 Page 111 of 116


                  GLADSTONE
1
                  INVESTMENT
2       12/3/12   CORPORATION     $154,766.58 BW Piezo
                  GLADSTONE
3                 INVESTMENT
4      12/14/12   CORPORATION       $1,429.56 BW Piezo
                  GLADSTONE
5                 INVESTMENT
       12/14/12   CORPORATION       $1,429.56 BW Piezo
6                 GLADSTONE
7                 INVESTMENT
       12/27/12   CORPORATION     $235,496.82 BW Piezo
8                 GLADSTONE
                  INVESTMENT
9
       12/27/12   CORPORATION      $25,000.00 BW Piezo
10                GLADSTONE
                  INVESTMENT
11     12/28/12   CORPORATION     $500,000.00 BW Piezo
12                GLADSTONE
                  INVESTMENT
13     12/28/12   CORPORATION     $500,000.00 BW Piezo
                  GLADSTONE
14
                  INVESTMENT
15      1/31/13   CORPORATION     $160,486.47 BW Piezo
                  GLADSTONE
16                INVESTMENT
        2/27/13   CORPORATION     $145,844.25 BW Piezo
17
                  GLADSTONE
18                INVESTMENT
        2/27/13   CORPORATION       $1,273.52 BW Piezo
19                GLADSTONE
20                INVESTMENT
        2/27/13   CORPORATION     $145,844.25 BW Piezo
21                GLADSTONE
                  INVESTMENT
22
        2/27/13   CORPORATION       $1,273.52 BW Piezo
23                GLADSTONE
                  INVESTMENT
24      3/28/13   CORPORATION     $271,626.42 BW Piezo
25                GLADSTONE
                  INVESTMENT
26      3/28/13   CORPORATION     $271,626.42 BW Piezo

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      SECOND AMENDED COMPLAINT                                              Page 111 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  154 of 680
                                                 Page 112 of 116


                  GLADSTONE
1
                  INVESTMENT
2       4/12/13   CORPORATION      $15,000.00 BW Piezo
                  GLADSTONE
3                 INVESTMENT
4       4/30/13   CORPORATION     $148,136.99 BW Piezo
                  GLADSTONE
5                 INVESTMENT
        5/30/13   CORPORATION     $148,136.99 BW Piezo
6                 GLADSTONE
7                 INVESTMENT
        6/13/13   CORPORATION     $153,153.13 BW Piezo
8                 GLADSTONE
                  INVESTMENT
9
        6/28/13   CORPORATION       $5,792.84 BW Piezo
10                GLADSTONE
                  INVESTMENT
11      7/31/13   CORPORATION     $258,368.71 BW Piezo
12                GLADSTONE
                  INVESTMENT
13      7/31/13   CORPORATION     $156,146.75 BW Piezo
                  GLADSTONE
14
                  INVESTMENT
15      8/29/13   CORPORATION     $156,146.75 BW Piezo
                  GLADSTONE
16                INVESTMENT
        9/30/13   CORPORATION     $155,913.57 BW Piezo
17
                  GLADSTONE
18                INVESTMENT
        9/30/13   CORPORATION     $261,040.10 BW Piezo
19                GLADSTONE
20                INVESTMENT
       10/15/13   CORPORATION     $261,040.10 BW Piezo; CTG Advanced Materials
21                GLADSTONE
                  INVESTMENT
22
       10/15/13   CORPORATION      $65,439.56 BW Piezo; CTG Advanced Materials
23                GLADSTONE
                  INVESTMENT
24     11/12/13   CORPORATION      $65,439.56 BW Piezo; CTG Advanced Materials
25                GLADSTONE
                  INVESTMENT
26      4/17/14   CORPORATION      $65,439.56 BW Piezo; CTG Advanced Materials

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      SECOND AMENDED COMPLAINT                                               Page 112 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
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                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  155 of 680
                                                 Page 113 of 116


                  GLADSTONE
1
                  INVESTMENT
2       4/17/14   CORPORATION      $11,435.71 BW Piezo; CTG Advanced Materials
                  GLADSTONE
3                 INVESTMENT
4        8/8/14   CORPORATION      $11,435.71 BW Piezo; CTG Advanced Materials
                  GLADSTONE
5                 INVESTMENT
         8/8/14   CORPORATION       $2,032.50 BW Piezo; CTG Advanced Materials
6                 GLADSTONE
7                 INVESTMENT
        7/17/15   CORPORATION       $2,032.50 BW Piezo; CTG Advanced Materials
8                 GLADSTONE
                  INVESTMENT
9
       12/18/15   CORPORATION       $1,195.91 BW Piezo; CTG Advanced Materials
10                GLADSTONE
                  INVESTMENT
11      6/10/16   CORPORATION       $1,104.87 BW Piezo; CTG Advanced Materials
12                               $7,576,027.4
                  Total                     9
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      SECOND AMENDED COMPLAINT                                               Page 113 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
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                                 Exhibit
                            Main Document   Page  156 of 680
                                                 Page 114 of 116


       MCDERMOTT WILL & EMERY LLP
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2                      Initial                    Beneficia
         Date        Transferee     Amount           ry
3                  MCDERMOTT
4                  WILL & EMERY
        3/11/15    LLP               $20,000.00 CTG Advanced Materials
5                  MCDERMOTT
                   WILL & EMERY
6
        11/5/15    LLP               $20,000.00 CTG Advanced Materials
7                  MCDERMOTT
                   WILL & EMERY
8      11/25/15    LLP               $10,000.00 CTG Advanced Materials
9                  MCDERMOTT
                   WILL & EMERY
10      12/3/15    LLP               $10,000.00 CTG Advanced Materials
                   MCDERMOTT
11                 WILL & EMERY
12     12/10/15    LLP               $33,355.57 CTG Advanced Materials
                   MCDERMOTT
13                 WILL & EMERY
        5/25/16    LLP               $24,003.43 CTG Advanced Materials
14
                   MCDERMOTT
15                 WILL & EMERY
        5/26/16    LLP               $24,003.43 CTG Advanced Materials
16                 MCDERMOTT
17                 WILL & EMERY
        5/26/16    LLP               $24,003.43 CTG Advanced Materials
18
           Total                    $165,365.86
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      SECOND AMENDED COMPLAINT                                              Page 114 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  157 of 680
                                                 Page 115 of 116


       RAYMOND JAMES & ASSOCIATES, INC
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2                   Initial
         Date     Transferee      Amount      Beneficiary
3               RAYMOND
4               JAMES &
                ASSOCIATES,
5      12/11/15 INC               $50,000.00 BW Piezo; CTG Advanced Materials
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      SECOND AMENDED COMPLAINT                                                  Page 115 of 116
     Case
      Case9:18-ap-01058-DS
           9:18-ap-01058-DS Doc
                             Doc236-1    Filed06/28/19
                                 156 Filed     03/31/20 Entered
                                                          Entered06/28/19
                                                                  03/31/2014:56:52
                                                                           15:36:30 Desc
                                                                                     Desc
                                 Exhibit
                            Main Document   Page  158 of 680
                                                 Page 116 of 116


       DORSEY & WHITNEY, LLP
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2                     Initial                    Beneficia
         Date       Transferee     Amount           ry
3
                  DORSEY &
4       11/5/14   WHITNEY, LLP      $15,939.50 BW Piezo; CTG Advanced Materials
                  DORSEY &
5      11/12/14   WHITNEY, LLP       $4,056.50 BW Piezo; CTG Advanced Materials
6                 DORSEY &
       11/26/14   WHITNEY, LLP       $2,706.00 BW Piezo; CTG Advanced Materials
7
                  DORSEY &
8       1/14/15   WHITNEY, LLP      $10,852.06 BW Piezo; CTG Advanced Materials
                  DORSEY &
9       1/21/15   WHITNEY, LLP       $4,238.00 BW Piezo; CTG Advanced Materials
10                DORSEY &
        3/18/15   WHITNEY, LLP       $8,558.00 BW Piezo; CTG Advanced Materials
11
                  DORSEY &
12       4/3/15   WHITNEY, LLP       $2,672.69 BW Piezo; CTG Advanced Materials

13                Total             $49,022.75
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      SECOND AMENDED COMPLAINT                                               Page 116 of 116
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
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                             Exhibit    Page 159  of 680
                            Exhibit 1-29 Page 1 of 500




                   EXHIBIT 1
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
                                          Filed 03/31/20
                                                06/28/19 Entered
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                                                                   06/28/19 15:36:30
                                                                            14:56:52 Desc
                                                                                     Desc
                                  Exhibit    Page 160  of 680
                                 Exhibit 1-29 Page 2 of 500
                                                                    EXECUTION VERSION

                              OPERATING AGREEMENT
                                       of
                         CHANNEL TECHNOLOGIES GROUP, LLC


        This Operating Agreement (the “Agreement”) of Channel Technologies Group, LLC (the
 “Company”) is entered into as of December ___,
                                              28 2011 by and between the Company and BW
 Piezo Holdings, LLC, as the sole member of the Company (the “Member”).


                                         RECITALS

         WHEREAS, the Company became a limited liability company pursuant to the filing of
 articles of organization – conversion with the Office of the Secretary of State of the State of
 California, which was accepted for record on the ___ day of December (the “Articles of
 Organization”); prior thereto, the Company was a corporation formed pursuant to the California
 Corporations Code.

        WHEREAS, the Company and the Member desire to enter into this Agreement in order
 to form and provide for the governance of the Company and the conduct of its business;

        NOW, THEREFORE, the Member hereby agrees as follows:

                                ARTICLE I: ORGANIZATION

         1.1. Formation. The Member hereby acknowledges that the Company became a
 limited liability company on December ___, 2011 pursuant to the Beverly-Killea Limited
 Liability Company Act, as amended (the “Act”); prior thereto, the Company was a corporation
 formed pursuant to the California Corporations Code.

        1.2.    Name. The name of the Company is Channel Technologies Group, LLC.

        1.3.   Principal Executive Office. The principal executive office of the Company is at
 879 Ward Drive, Santa Barbara, California 93111, or such other place or places as may be
 determined by the Managers (as such term is defined below) from time to time.

        1.4.   Agent for Service of Process. The initial agent for service of process on the
 Company shall be Corporation Service Company which will do business in California as CSC-
 Lawyers Incorporating Service. The address for the initial agent shall be 2730 Gateway Oaks
 Drive, Suite 100, Sacramento, CA, 95833. The Managers may from time to time change the
 Company’s agent for service of process.

        1.5.    Purpose. The Company will be formed for the purposes of engaging in any
 lawful business permitted under the law.

        1.6.    Limited Liability. The Member intends the Company to be a limited liability
 company under the Act. The Member shall not be bound by, or be personally liable for, the
 expenses, liabilities, or obligations of the Company except as otherwise provided in the Act or in
 this Agreement.
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
                                          Filed 03/31/20
                                                06/28/19 Entered
                                                           Entered 03/31/20
                                                                   06/28/19 15:36:30
                                                                            14:56:52            Desc
                                                                                                Desc
                                  Exhibit    Page 161  of 680
                                 Exhibit 1-29 Page 3 of 500


        1.7.     Term. The term of existence of the Company shall commence on the effective
 date of filing of Articles of Organization with the California Secretary of State, and shall
 continue until terminated by the provisions of this Agreement or as provided by law.


                             ARTICLE II: FINANCIAL MATTERS

        2.1.    Capital Contribution. The Member shall contribute to the capital of the Company
 as the Member’s initial capital contribution (together with any future contributions of capital, the
 “Capital Contribution”) the amount specified in Exhibit “A” to this Agreement. The Member
 may contribute such additional amounts of capital to the Company as the Member deems
 necessary or appropriate from time to time.

        2.2.    Capital Account. To the extent required by the Internal Revenue Code and the
 U.S. Treasury Regulations, a capital account shall be maintained for the Member consisting of
 the Capital Contribution, (1) increased by the Member’s share of Company profits, (2) decreased
 by the Member’s share of Company losses, and (3) otherwise adjusted as required in accordance
 with applicable provisions of such code and regulations.

        2.3.   No Interest. Except as specifically provided for in this Agreement, no interest
 shall be paid on funds contributed to the capital of the Company or on the balance of the
 Member’s capital account, if any.

         2.4.    Loans to Company. In addition to the Capital Contribution, the Member may,
 from time to time, loan money to the Company. Such loans shall be repaid with a reasonable
 interest based on prevailing loan rates.

        2.5.   Allocation of Profits and Losses. The profits and losses of the Company and all
 items of Company income, gain, loss, deduction, or credit shall be allocated, for Company book
 purposes and for tax purposes, to the Member.

         2.6. Distributions. All cash resulting from the normal business operations of the
 Company (including cash proceeds from the sale of Company assets, if any) shall be distributed
 to the Member at such times as the Managers deem appropriate.

         2.7. Certificated Interests. The membership interests in the Company shall be
 certificated. So long as the Company is a single member limited liability company, the
 certificates shall reference the percentage interest owned by the Member (i.e., 100%). If the
 Company becomes a multi-member limited liability company, this Agreement shall be amended
 and restated so that ownership in the Company is reflected by membership units instead of
 percentage interests. The membership interests of the Company shall be securities governed by
 Article 8 of the Uniform Commercial Code as adopted and in effect in the State of California.

                                ARTICLE III: MANAGEMENT

         3.1.    Management by Managers. The responsibility for managing the business and
 affairs of the Company shall be delegated to two Managers who, effective as of the date of this
 Agreement, shall be Kevin Ruelas and Pierre Chao (each a “Manager” and together the
 “Managers”). Any person or entity previously named as manager of the Company is hereby
                                                -2-
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
                                          Filed 03/31/20
                                                06/28/19 Entered
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                                                                   06/28/19 15:36:30
                                                                            14:56:52          Desc
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                                  Exhibit    Page 162  of 680
                                 Exhibit 1-29 Page 4 of 500


 removed and replaced by the named Managers as of the date of this Agreement. Except as
 otherwise provided herein, any actions taken by the two Managers must be taken by Managers
 appointed by the Member. At any time, with or without cause and in its sole discretion, the
 Member may (i) change the number of Managers, (ii) remove a Manager, (iii) replace a Manager
 or (iv) become a Manager. If the number of Managers is decreased to one (1), then all references
 herein to “Managers” shall be read to say “Manager.” The Managers may act by vote taken at a
 meeting of Managers where a quorum is present or by written consent, pursuant to Section 4.6.

         3.2.    Compensation. The Managers shall be entitled to such reasonable compensation
 for his services as the Managers may determine from time to time.

        3.3.     Power and Authority of the Managers. Subject to the terms hereof, the Managers
 will have full, exclusive and complete discretion in the management and control of the affairs of
 the Company, will make all decisions affecting Company affairs, and will have all of the rights,
 powers and obligations of a manager under the Act and otherwise as provided by law. Except as
 otherwise expressly provided in this Agreement, the Managers are hereby granted the right,
 power and authority to do on behalf of the Company all things that, in their judgment, are
 necessary or appropriate to manage the Company's affairs and to fulfill the purposes of the
 Company

          3.4.  Officers. The Managers hereby appoint as the initial officers of the Company,
 Kevin Ruelas as President, Secretary and Treasurer of the Company. The President, Secretary
 and Treasurer of the Company shall report to the Managers of the Company. The Managers or
 the Member may from time to time appoint additional officers, in each case by written consent,
 with such duties, authorities, responsibilities and titles as the Managers may deem appropriate.
 Such officers shall serve until their successors are duly appointed by the Managers or until their
 earlier removal by the Managers or their resignation.

         3.5.    Title to Company Assets. All Assets of the Company, whether real or personal,
 shall be held in the name of the Company.

        3.6.    Banking. All funds of the Company shall be deposited in one or more accounts
 with one or more recognized financial institutions in the name of the Company at such locations
 as shall be determined by the Managers. Withdrawal from such accounts shall require the
 signature of such person or persons as the Managers may designate.

                                   ARTICLE IV
                       MEETINGS AND CONSENTS OF MANAGERS

         4.1    Meetings. Any matter requiring the consent of the Managers under this
 Agreement may be considered at a meeting of the Managers held not less than two (2) nor more
 than ten (10) days after notice of that meeting has been given to all Managers. Any notice of a
 meeting shall be delivered personally, by mail or by other means of written communication
 addressed to the Manager at its address appearing on the books of the Company. All meetings
 shall be held at the principal executive office of the Company or such other reasonable place as
 the Managers designate and during normal business hours, unless waived by all the Managers.



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
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                                                                    06/28/19 15:36:30
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                                   Exhibit    Page 163  of 680
                                  Exhibit 1-29 Page 5 of 500


       4.2     Records of Meetings. A record of all actions, meetings or proceedings of the
 Managers shall be maintained in a Company minute book under the supervision of the Managers.

         4.3     Participation. Managers may participate in any meeting either in person or by
 means of a conference telephone or similar communications equipment through which all
 persons participating in the meeting can hear each other. Participation in a meeting pursuant to
 this Section 4.3 shall constitute presence in person at the meeting.

         4.4    Manner of Acting. Except as otherwise provided by law or this Agreement, the
 action of a majority of Managers at any meeting at which a quorum is present shall be the act of
 the Company.

         4.5    Quorum. For purposes of this Agreement, the presence of a majority of the
 Managers shall constitute a quorum for the transaction of business. Though less than a quorum,
 a majority of Managers present at a meeting may adjourn the meeting, from time to time and
 without further notice, until a quorum shall be present; provided, however, that any Managers
 absent from the adjourned meeting shall be provided written notice of such adjournment.

         4.6    Consent of Managers in Lieu of Meeting. Subject to the terms hereof, any action
 which may be taken at any meeting of the Managers may be taken without a meeting, without
 prior notice and without a vote if a written consent, setting forth the action so taken, is signed by
 both Managers. Such consent shall be filed with the minutes of the meetings of Managers in the
 records of the Company. Such written consent may be executed in counterparts, each of which,
 so executed, shall constitute one and the same original document. Facsimile signatures shall be
 deemed originals for purposes of this Section 4.6.

                                   ARTICLE V
                    RESIGNATION OR REPLACEMENT OF MANAGER

        5.1     Removal or Replacement of Manager. The removal or replacement (with or
 without cause) of any Manager shall be at the Member’s (or its, his or her successor’s or
 assign’s) request and in such Member’s sole discretion.

          5.2     Resignation of Manager. Any person serving in the capacity of a Manager may
 resign as Manager by giving at least ten (10) days’ prior written notice of his or her resignation
 to the Member. The resigning Manager shall cooperate fully with the successor Manager so that
 the responsibilities of the resigning Manager may be transferred to the successor Manager with
 as little disruption of the Company’s business and affairs as is practicable.

         5.3    Vacancy in Manager Position. In the event that any Manager designated
 hereunder (or by any of its, his or her successors or assigns) for any reason ceases to serve as a
 Manager during his or her term of office, whether as a result of removal or resignation, the
 resulting vacancy in such position shall be filled by a new Manager designated by the Member
 (or such Member’s successors or assigns).

        5.4    Appointment of a Successor Manager. The appointment of any person to be a
 successor Manager under this Article V shall be effective only if that person has accepted and
 assumed in writing all the terms and provisions of this Agreement.


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 164  of 680
                                 Exhibit 1-29 Page 6 of 500


                         ARTICLE VI: ACCOUNTS AND RECORDS

       6.1. Company Books. Complete books of account of the Company’s business, in
 which each Company transaction shall be fully and accurately entered, shall be kept at the
 Company’s principal executive office.

         6.2.    Accounting; Fiscal Year. A balance sheet and income statement of the Company
 shall be prepared promptly following the close of each fiscal year in a manner appropriate to and
 adequate for the Company’s business and for carrying out the provisions of this Agreement. The
 fiscal year of the Company shall be January 1 through December 31 or as otherwise determined
 by the Managers.

         6.3.   Records to be Maintained. At all times during the term of existence of the
 Company, and beyond that term if the Managers deem it necessary, the Managers shall keep or
 cause to be kept the books of account referred to in Section 6.2, and the following:

                (a)  A document including the full name and current business or residence
 address of the Member, together with the Capital Contribution and the share in Profits and
 Losses of the Member;

                (b)     A copy of the Articles of Organization, as amended;

                (c)    Copies of the Company’s federal, state, and local income tax or
 information returns and reports, if any, for the six most recent taxable years;

                (d)     Executed copy of this Agreement, as amended;

                (e)     Financial statements of the Company for the six most recent fiscal years;
 and

                  (f)     The books and records of the Company as they relate to the Company’s
 internal affairs for the current and past four fiscal years.

        6.4.    Information Provided to the Member. Within 90 days after the end of each
 taxable year of the Company, the Company shall send to the Member any information requested
 by the Member.

                      ARTICLE VII: DISSOLUTION AND WINDING UP

         7.1.   Events Causing Dissolution. The Company shall be dissolved on the first to occur
 of the following events:

                (a)     The decision of the Member to dissolve the Company;

                (b)     The sale or disposition of substantially all of the Company’s assets;

                 (c)    The election by the Managers to dissolve the Company following the
 distribution to the Members or other sale or disposition at any one time of all or substantially all
 of the assets of the Company; or

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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
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                                   Exhibit    Page 165  of 680
                                  Exhibit 1-29 Page 7 of 500


               (d)      Entry of a decree of judicial dissolution pursuant to the California
 Corporations Code.

         7.2.    Winding Up. On the dissolution of the Company, the Company shall engage in
 no further business other than that necessary to wind up the business and affairs of the Company.
 The Managers or a liquidating trustee, if one is appointed, shall wind up the affairs of the
 Company and shall give written notice of the commencement of winding up by mail to all known
 creditors and claimants against the Company whose addresses appear in the records of the
 Company. After paying or adequately providing for the payment of all known debts of the
 Company (except debts owing to the Member) the remaining assets of the Company shall be
 distributed or applied in the following order of priority:

                (a)     To pay the expenses of liquidation;

                (b)     To repay outstanding loans to the Member; and

                (c)     To the Member.

                           ARTICLE VIII: GENERAL PROVISIONS

         8.1.   Entire Agreement. This Agreement constitutes the whole and entire agreement
 with respect to the subject matter of this Agreement. This Agreement may be modified only by
 written instrument signed by the Member.

          8.2.   Governing Law; Severability. This Agreement shall be construed and enforced in
 accordance with the internal laws of the State of California. If any provision of this Agreement
 is determined by any court of competent jurisdiction or arbitrator to be invalid, illegal, or
 unenforceable to any extent, that provision shall, if possible, be construed as though more
 narrowly drawn, if a narrower construction would avoid such invalidity, illegality, or
 unenforceability or, if that is not possible, such provision shall, to the extent of such invalidity,
 illegality, or unenforceability, be severed, and the remaining provisions of this Agreement shall
 remain in effect.

        8.3.    Titles and Headings. The article, section, and paragraph titles and headings
 contained in this Agreement are inserted as matter of convenience and for ease of reference only
 and shall be disregarded for all other purposes, including the construction or enforcement of this
 Agreement or any of its provisions.

         8.4.   No Third Party Beneficiary Intended. This Agreement is made solely for the
 benefit of the Member and his permitted successors and assigns, and no other person or entity
 shall have or acquire any right by virtue of this Agreement.



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Case 9:18-ap-01058-DS
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                             Exhibit    Page 166  of 680
                            Exhibit 1-29 Page 8 of 500
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                             Exhibit    Page 167  of 680
                            Exhibit 1-29 Page 9 of 500
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                               Exhibit    Page 168  of 680
                             Exhibit 1-29 Page 10 of 500


                                      EXHIBIT A

                             MEMBERSHIP INTERESTS


 Member                       Membership              Initial Capital
                              Interest                Contribution

 BW Piezo Holdings, LLC       100%                    $1,000.00




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Case 9:18-ap-01058-DS
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                             Exhibit    Page 169  of 680
                           Exhibit 1-29 Page 11 of 500




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                                         Exhibit    Page 170  of 680
                                       Exhibit 1-29 Page 12 of 500




                  Blue Wolf Acquires Channel Technologies Group
January 03, 2012 09:00 AM Eastern Standard Time

NEW YORK--(BUSINESS WIRE)--Blue Wolf Capital Partners LLC, the New York-based private equity firm, today
announced that Blue Wolf Capital Fund II, L.P. ("Blue Wolf"), through an affiliate, has acquired Channel Technologies
Group, LLC (“Channel Technologies” or the “Company”), a vertically-integrated manufacturer and supplier of piezo-electric
ceramics, transducers and complex systems and services, from Channel Technologies, Inc. The Company’s executive
management team and Gladstone Investment Corporation (NASDAQ: GAIN) are investing in the Company alongside Blue
Wolf. Terms of the transaction were not disclosed.

Channel Technologies designs and manufactures products used in military, commercial, geophysical and medical
applications. The Company has four divisions: Channel Industries, which manufactures piezoelectric ceramics;
International Transducers, which designs, manufactures and repairs acoustic transducers; Sonatech, which provides
consulting and highly engineered acoustic solutions for defense-industry customers; and Electro-Optical Industries, which
manufactures advanced infrared and visible light spectrum test and calibration equipment. Based in Santa Barbara, CA,
the company has approximately 250 employees.

The Company's management team, led by CEO Kevin Ruelas, will remain with Channel Technologies under its new owner.
Mr. Ruelas said, "We look forward to continued growth under Blue Wolf's ownership. The financial resources and broad
expertise they bring to the table will allow us to augment our organic growth and consider potential acquisitions to keep up
with the rapid expansion of our end-markets."

Blue Wolf Partner Adam Blumenthal said, "Channel Technologies serves customers with complex requirements, driven by
both U.S. Government defense-spending priorities and the trajectory of the broader market. Channel Technologies has a
diverse customer base, has been a market leader virtually since its inception in 1959, and is led by a smart, engaged
management team. Blue Wolf’s commitment to managing the environmental, social and governance features of companies
makes us the ideal partner for a company whose business is so closely tied to important national and global trends."


Blue Wolf Principal Haranjeet Narulla added, "The Company's cutting edge technology has sophisticated applications in
many scientific, engineering, medical and military areas. We believe our experience working with government and
businesses in the healthcare, energy and other industries, coupled with our operational focus, will make us a good partner
for this dynamic organization. We expect to invest in all aspects of the Company, including human capital, capital
equipment and information systems, to further strengthen the Company’s leadership position."

Blue Wolf was assisted in this acquisition by Renaissance Strategic Advisors, a Washington, D.C.-based defense
consulting firm. Holland & Knight served as Blue Wolf's legal counsel.

About Channel Technologies Group

Channel Technologies Group (www.channeltechgroup.com) is a vertically integrated manufacturer that specializes in
mission critical technologies for military and commercial applications. Since its founding in 1959 as Channel Industries,
Channel Technologies has been providing a broad range of highly engineered value added products, components, and
systems for use in the most demanding environments. Channel Technologies’ products and services are used in a variety
of applications and by diverse end users, including medical device manufacturers, oil service and exploration companies,
and customers in the defense industry, including several departments of the U.S. Navy and many leading defense
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                                         Exhibit    Page 171  of 680
                                       Exhibit 1-29 Page 13 of 500
Blue Wolf Capital Partners LLC is a private equity firm that invests in companies in which effective management of
relationships with complex constituencies, such as government and labor, can change organizations and create value. For
additional information, please visit www.blue-wolf.com.

About Gladstone Investment Corporation

Gladstone Investment Corporation is a publicly traded business development company that seeks to make debt and equity
investments in small and mid-sized businesses in the United States in connection with acquisitions, changes in control and
recapitalizations. Information on the business activities of all the Gladstone funds can be found at
www.gladstonecompanies.com.


Contacts
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                             Exhibit    Page 172  of 680
                           Exhibit 1-29 Page 14 of 500




                   EXHIBIT 3
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                           Exhibit 1-29 Page 15 of 500
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Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 16 of 500
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                           Exhibit 1-29 Page 17 of 500
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                             Exhibit    Page 176  of 680
                           Exhibit 1-29 Page 18 of 500
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                             Exhibit    Page 177  of 680
                           Exhibit 1-29 Page 19 of 500
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Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 20 of 500
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                           Exhibit 1-29 Page 21 of 500
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                           Exhibit 1-29 Page 22 of 500
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Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 23 of 500
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                           Exhibit 1-29 Page 24 of 500
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                           Exhibit 1-29 Page 25 of 500
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Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 26 of 500
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                           Exhibit 1-29 Page 27 of 500
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Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 28 of 500
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Case 9:18-ap-01058-DS
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                             Exhibit    Page 187  of 680
                           Exhibit 1-29 Page 29 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 188  of 680
                           Exhibit 1-29 Page 30 of 500
Case
Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 189  of 680
                           Exhibit 1-29 Page 31 of 500
Case
Case 9:18-ap-01058-DS
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                        Doc 236-1
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                           Exhibit 1-29 Page 32 of 500
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                             Exhibit    Page 191  of 680
                           Exhibit 1-29 Page 33 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 34 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 35 of 500
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Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 194  of 680
                           Exhibit 1-29 Page 36 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                           Exhibit 1-29 Page 37 of 500
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                             Exhibit    Page 196  of 680
                           Exhibit 1-29 Page 38 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 39 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 198  of 680
                           Exhibit 1-29 Page 40 of 500
Case
Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 199  of 680
                           Exhibit 1-29 Page 41 of 500
Case
Case 9:18-ap-01058-DS
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                        Doc 236-1
                            156-1 Filed
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                           Exhibit 1-29 Page 42 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 201  of 680
                           Exhibit 1-29 Page 43 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                            156-1 Filed
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                             Exhibit    Page 202  of 680
                           Exhibit 1-29 Page 44 of 500
Case
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                            156-1 Filed
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                           Exhibit 1-29 Page 45 of 500
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                             Exhibit    Page 204  of 680
                           Exhibit 1-29 Page 46 of 500
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                             Exhibit    Page 205  of 680
                           Exhibit 1-29 Page 47 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                           Exhibit 1-29 Page 48 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 207  of 680
                           Exhibit 1-29 Page 49 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 208  of 680
                           Exhibit 1-29 Page 50 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 209  of 680
                           Exhibit 1-29 Page 51 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 210  of 680
                           Exhibit 1-29 Page 52 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 211  of 680
                           Exhibit 1-29 Page 53 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 212  of 680
                           Exhibit 1-29 Page 54 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 213  of 680
                           Exhibit 1-29 Page 55 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 56 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 57 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 216  of 680
                           Exhibit 1-29 Page 58 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 217  of 680
                           Exhibit 1-29 Page 59 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 60 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 219  of 680
                           Exhibit 1-29 Page 61 of 500
Case
Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 220  of 680
                           Exhibit 1-29 Page 62 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 221  of 680
                           Exhibit 1-29 Page 63 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 222  of 680
                           Exhibit 1-29 Page 64 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 223  of 680
                           Exhibit 1-29 Page 65 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 224  of 680
                           Exhibit 1-29 Page 66 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 225  of 680
                           Exhibit 1-29 Page 67 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 226  of 680
                           Exhibit 1-29 Page 68 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 227  of 680
                           Exhibit 1-29 Page 69 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 228  of 680
                           Exhibit 1-29 Page 70 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 71 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 230  of 680
                           Exhibit 1-29 Page 72 of 500
Case
Case 9:18-ap-01058-DS
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                           Exhibit 1-29 Page 73 of 500
Case
Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 232  of 680
                           Exhibit 1-29 Page 74 of 500
Case
Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 233  of 680
                           Exhibit 1-29 Page 75 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 234  of 680
                           Exhibit 1-29 Page 76 of 500
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 235  of 680
                           Exhibit 1-29 Page 77 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                            156-1 Filed
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                             Exhibit    Page 236  of 680
                           Exhibit 1-29 Page 78 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                            156-1 Filed
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                             Exhibit    Page 237  of 680
                           Exhibit 1-29 Page 79 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                             Exhibit    Page 238  of 680
                           Exhibit 1-29 Page 80 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                             Exhibit    Page 239  of 680
                           Exhibit 1-29 Page 81 of 500
Case
Case 9:18-ap-01058-DS
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                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
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                             Exhibit    Page 240  of 680
                           Exhibit 1-29 Page 82 of 500
Case
Case 9:18-ap-01058-DS
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                            156-1 Filed
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                             Exhibit    Page 241  of 680
                           Exhibit 1-29 Page 83 of 500




                   EXHIBIT 4
                 Case
                 Case 9:18-ap-01058-DS
                      9:18-ap-01058-DS    Doc
                                          Doc 236-1
                                              156-1 Filed
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                                               Exhibit    Page 242  of 680
                                             Exhibit 1-29 Page 84 of 500
   BACK TO TRANSACTIONS



CTG, a portfolio company
of Blue Wolf, has acquired
HC Materials
Lincoln International (“Lincoln”), a leading global mid-market investment
bank, announced today the successful completion of a ﬁnancing for an
aﬃliate of Channel Technologies Group, LLC (“Channel Technologies” or the
“Company”), a portfolio company of Blue Wolf Capital Fund II, L.P. (“Blue
Wolf”). Channel Technologies is a vertically integrated manufacturer and
supplier of mission-critical components and systems that utilize
piezoelectric ceramic technology.

Lincoln acted as the exclusive ﬁnancial advisor to the Company and Blue
Wolf and completed the placement of an undisclosed amount of debt
ﬁnancing, consisting of a senior credit facility provided by OneWest Bank
and subordinated notes funded by Avante Mezzanine Partners and Fidus
Investment Corporation. Proceeds from the transaction were used to
reﬁnance Channel Technologies’ existing credit facility and partially fund the
acquisition of the assets of H.C. Materials Corporation (“HC Materials”), the       2013
leading producer of piezoelectric crystals. Together, Channel Technologies          Close Year
and HC Materials are the leading developers and manufacturers of mission-
critical imaging components using piezoelectric ceramics and crystals,              Aerospace & Defense
primarily used in defense, healthcare and energy applications.                      Industry
As the Company’s exclusive ﬁnancial advisor, Lincoln International worked
closely with Blue Wolf and Channel Technologies’ management team to                 Private Equity
structure and arrange the ﬁnancing. Haranjeet Narulla, Principal of Blue            Client Type
Wolf, commented, “Lincoln did an excellent job preparing materials and
educating lenders on a highly technical industry. By outsourcing the
ﬁnancing process, we were able to focus our attention on a complex add-on
                                                                                    Financial | Domestic
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M&A transaction, while Lincoln helped us secure multiple sources of debt
capital that are well-suited to support the Company’s future growth and
strategic initiatives.”                                                             USA
                                                                                    Countries
About Channel Technologies Group, LLC
Located in Santa Barbara, California, Channel Technologies Group designs
and manufactures piezoelectric based advanced materials, sensors, and
completed integrated systems that support mission critical applications for
military and commercial markets. Since its founding in 1959 as Channel
Industries, Channel Technologies has been providing a broad range of
highly-engineered value-added products, components, and systems for use
in the most demanding environments. Channel Technologies’ products and
services are used in a variety of applications and by diverse end users,
including medical device manufacturers, oil service and exploration
companies, and customers in the defense industry, including numerous
departments of the U.S. Navy and many leading defense contractors.

About H.C. Materials Corporation
Located in Bolingbrook, Illinois, H.C. Materials Corporation is a worldwide
leader in the development and manufacture of giant-piezoelectric single
crystals, specializing in lead magnesium niobate-lead titanate (PMN-PT)
based piezocrystals and ﬁnished crystal elements. H.C. Materials also
supplies crystal products for next generation acoustic transduction devices
in a variety of applications such as medical ultrasound imaging, ocean
                  Case
                  Case 9:18-ap-01058-DS
                       9:18-ap-01058-DS  Doc
                                         Doc 236-1
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                                              Exhibit
                                            Exhibit 1-29 Page 243
                                                            Page 85of 680
                                                                      of 500
mining, sensors, transducers and sonar systems. H.C. Materials has two
production lines located in Bolingbrook, Illinois, a western suburb of
Chicago.

About Blue Wolf Capital
Blue Wolf Capital is a private equity ﬁrm that takes control stakes in middle
market companies based in the United States and Canada, and works with
those companies to resolve complexities and achieve sustainable growth.
Blue Wolf invests in strong businesses whose value can be increased by
constructive resolutions of complex challenges, particularly those involving
ﬁnancial or operational distress, troubled labor relations, or governmental or
regulatory issues. In July 2013, Blue Wolf closed on $300 million in limited
partner equity commitments for its latest fund, Blue Wolf Capital Fund III,
L.P. For more information about Blue Wolf visit www.blue-wolf.com.




                                       Meet our Senior Team




Natalie Marjancik                        Adam Hunia
Managing Director                        Director
Chicago                                  Chicago




                                     View More Transactions
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 244  of 680
                           Exhibit 1-29 Page 86 of 500




                                    VIEW ALL




                                  Who We Are

                                   Our People

                                  What We Do

                             Mergers & Acquisitions

                              Valuations & Opinions

                                 Capital Advisory

                          Joint Ventures & Partnering

                                 Who We Serve

                                  Our Thinking


                                     Careers

                                   Transactions

                                   Worldwide

                                Connect with Us


                                 Lincoln Alumni

                                  News & Media

                             Brochures & Collateral

                                      Search

                         Privacy Policy and Disclosures



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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                              06/28/19 15:36:30
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                             Exhibit    Page 245  of 680
                           Exhibit 1-29 Page 87 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
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                                                              06/28/19 15:36:30
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                             Exhibit    Page 246  of 680
                           Exhibit 1-29 Page 88 of 500




                   EXHIBIT 5
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                             Exhibit    Page 247  of 680
                           Exhibit 1-29 Page 89 of 500
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                AMENDED AND RESTATED CREDIT AGREEMENT


                                         among


                             BW PIEZO HOLDINGS, LLC,
                      CHANNEL TECHNOLOGIES GROUP, LLC,
                       ELECTRO-OPTICAL INDUSTRIES, LLC,
                         CTG ADVANCED MATERIALS, LLC,
                 and the other Borrowers from time to time Parties hereto



                          THE LENDERS PARTIES HERETO


                                           and


                                ONEWEST BANK, FSB
                                as Administrative Agent


                              Dated as of October 11, 2013




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                  Exhibit    Page 248  of 680
                                Exhibit 1-29 Page 90 of 500




                    AMENDED AND RESTATED CREDIT AGREEMENT

        THIS AMENDED AND RESTATED CREDIT AGREEMENT, dated as of October 11,
 2013, among (1) BW PIEZO HOLDINGS, LLC, a Delaware limited liability company,
 (“BWP”), CHANNEL TECHNOLOGIES GROUP, LLC, a California limited liability company
 (“CTG”), ELECTRO-OPTICAL INDUSTRIES, LLC, a California limited liability company
 (“EOI”), CTG ADVANCED MATERIALS, LLC, a Delaware limited liability company (“CTG
 Advanced”) and such additional Subsidiaries of BWP that may from time to time hereafter
 become party to this Agreement pursuant to Section 5.12 hereof (each of the foregoing a
 “Borrower” and collectively, the “Borrowers”), (2) the several banks and other lenders from time
 to time parties to this Agreement (the “Lenders”), and (3) ONEWEST BANK, FSB (in its
 individual capacity, “OneWest Bank”), as administrative agent for the Lenders (in such capacity,
 the “Agent”).

                                           RECITALS

        A.      BWP, CTG and EOI are party to that certain Credit Agreement dated as of April
 22, 2013 with OneWest Bank, as amended by that certain First Amendment to Credit Agreement
 dated as of September 23, 2013 (the “Existing Credit Agreement”) pursuant to which OneWest
 Bank made available to the Borrowers a revolving credit facility in the maximum principal
 amount of $5,000,000. As of the date hereof $3,500,000 in principal amount of revolving loans
 are outstanding under the Existing Credit Agreement, $500,000 of which is to be repaid on the
 Closing Date.

         B.      BWP and CTG Advanced have entered into that certain Asset Purchase and
 Contribution Agreement dated as of September 20, 2013 with H.C. Materials Corporation, an
 Illinois corporation (“HCMC”), DHAN LLC, an Illinois limited liability company (“DHAN”,
 and together with HCMC, the “Sellers”) and Dr. Pengdi Han (as it may be amended, modified,
 supplemented or restated from time to time, the “Acquisition Agreement”), pursuant to which
 DHAN will contribute to BWP all of the equipment and related intellectual property (the
 “DHAN Assets”) of DHAN, and CTG Advanced will purchase from HCMC substantially all of
 the assets of HCMC, all as more specifically set forth therein (such purchases and contributions
 are, collectively, the (“HCMC/DHAN Acquisition”).

         C.      The Borrowers have requested that the Credit Agreement be amended and
 restated to (i) increase the revolving loan facility to $10,000,000, (ii) provide for a term loan
 facility of $31,000,000, (iii) provide for a capital expenditures and acquisition facility of
 $8,000,000 and (iv) make other changes to the Credit Agreement as set forth herein. The Agent
 and the Lenders have agreed to extend such facilities and make such changes, in each case on the
 terms and conditions set forth in this Agreement.

       Accordingly, the parties hereto agree that the Existing Credit Agreement is hereby
 amended and restated as set forth in this Agreement.



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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                           Filed 03/31/20
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                                   Exhibit    Page 249  of 680
                                 Exhibit 1-29 Page 91 of 500


        NOW, THEREFORE, in consideration of the premises and the mutual covenants herein
 contained, the parties hereto hereby agree as follows:

             SECTION 1. DEFINITIONS

        1.1   Defined Terms. As used in this Agreement, the following terms shall have the
 following meanings:

         “Acquisition”: any transaction, or any series of related transactions, consummated after
 the Closing Date, by which any Borrower and/or any Subsidiary directly or indirectly
 (a) acquires any ongoing business, division or all or substantially all of the assets of any Person
 (other than individual), whether through purchase of assets, merger or otherwise, (b) acquires in
 one transaction or as the most recent transaction in a series of transactions control of securities of
 a Person engaged in an ongoing business representing more than 50% of the ordinary voting
 power for the election of directors or other governing position if the business affairs of such
 Person are managed by a board of directors or other governing body or (c) acquires control of
 more than 50% of the ownership interest in any partnership, joint venture, limited liability
 company, business trust or other Person that is not managed by a board of directors or other
 governing body.

         “Acquisition Agreement”: as defined in the recitals to this Agreement.

         “Acquisition Documents”: the Acquisition Agreement and all “Ancillary Agreements”
 (as defined in the Acquisition Agreement), which, for avoidance of doubt, shall not include the
 Loan Documents or the Subordinated Debt Documents.

         “Adjusted EBITDA”: with respect to the Borrowers, on a consolidated basis, for any
 applicable period, Net Income for such period, plus (a) to the extent deducted in determining Net
 Income, the sum for such period of (i) Net Interest Expense, plus (ii) all amounts treated as
 expenses for depreciation and amortization (including amortization of intangibles of any kind),
 plus (iii) the aggregate amount of Permitted Tax Distributions made; plus (b) to the extent
 included in determining Net Income, the sum for such period of any extraordinary, unusual or
 non-recurring non-cash expenses or losses, less non-cash gains, in each case, acceptable to the
 Agent, such acceptance not to be unreasonably withheld, delayed or conditioned, plus (c)
 Management Fees for such period to the extent paid; plus (d) reasonable expenses of members of
 the board of directors or any similar governing body of any Borrower, observers of any such
 board or body and any board of advisors (collectively, “Board Fees”), in each case reimbursed
 by the Borrowers during such period and not included under clause (c) above, in amounts not to
 exceed $225,000 in the aggregate in any consecutive 12-month period, plus (e) integration
 expenses incurred during the applicable period and on or before December 31, 2014 in
 connection with the HCMC/DHAN Acquisition, including, without limitation, (i) any duplicative
 costs relating to consolidation of operations, and (ii) to the extent not included in clause (i), any
 one-time, non-capitalized costs for technology transfer and security, duplication of crystal
 growing stations, and non-recurring employee retention payments in an aggregate amount not
 exceeding $2,000,000 for all such integration costs (“Integration Costs”), plus (f) Transaction
 Costs not to exceed an aggregate amount of $6,000,000. Adjusted EBITDA for periods prior to
 the Closing Date is set forth on Schedule 1.1(A) attached hereto.


                                             -2-
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                                   Exhibit    Page 250  of 680
                                 Exhibit 1-29 Page 92 of 500


         “Affiliate”: as to any Person, (a) any other Person which, directly or indirectly, is in
 control of, is controlled by, or is under common control with, such Person or (b) any Person who
 is a director, officer, shareholder, member or partner (i) of such Person, (ii) of any Subsidiary of
 such Person or (iii) of any Person described in the preceding clause (a). For purposes of this
 definition, “control” of a Person means the power, directly or indirectly, either to (i) vote
 securities having 10% or more of the ordinary voting power for the election of directors or
 managers of such Person or (ii) direct or cause the direction of the management and policies of
 such Person whether by contract or otherwise.

        “Agreement”: this Credit Agreement, as amended, restated, supplemented or otherwise
 modified from time to time.

         “Agent”: as defined in the preamble hereto.

         “Aggregate CapEx Commitment”: the sum of the CapEx Commitments.

      “Aggregate Revolving Loan Commitment”:                  the sum of the Revolving Loan
 Commitments.

         “Aggregate Term Loan Commitment”: the sum of the Term Loan Commitments.

       “Aggregate Total Commitment”: on any date of determination, collectively, the sum of
 the Aggregate Revolving Loan Commitment, the Aggregate Term Loan Commitment and the
 Aggregate CapEx Commitment.

        “Aggregate Total Commitment Percentage”: with respect to each Lender, the percentage
 equivalent to the ratio which such Lender’s Commitments bears to the Aggregate Total
 Commitment.

        “Anti-Terrorism Laws”: any Requirements of Law relating to terrorism or money
 laundering, including Executive Order No. 13224, the PATRIOT Act, the Bank Secrecy Act, the
 Money Laundering Control Act of 1986 (i.e., 18 U.S.C. §§ 1956 and 1957), the Requirements of
 Law administered by OFAC, and all Requirements of Law comprising or implementing these
 laws.

        “Applicable Margin”: with respect to LIBOR Loans and Base Rate Loans, subject to
 Section 2.8(d), the applicable per annum rate for such Type of Loan as set forth below:

             Leverage Level    LIBOR Margin                  Base Rate Margin
                   1              4.25%                           3.25%
                   2              4.00%                           3.00%
                   3              3.75%                           2.75%

         ; provided that, notwithstanding the foregoing, during the period from and including the
 Closing Date through the date that is three Business Days after the Agent’s receipt of the audited
 financial statements required by Section 5.1(a) for the period ended December 31, 2013 and the
 related Covenant Compliance Certificate, the Applicable Margin shall be that set forth for
 Leverage Level 1.

                                             -3-
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                                  Exhibit    Page 251  of 680
                                Exhibit 1-29 Page 93 of 500


         “Approved Fund”: with respect to any Lender, any Person (other than a natural Person)
 that (a) (i) is or will be engaged in making, purchasing, holding or otherwise investing in
 commercial loans and similar extensions of credit in the ordinary course of business or (ii)
 temporarily warehouses loans for any Lender or any Person described in clause (i) above and (b)
 is advised or managed by (i) such Lender, (ii) any Affiliate of such Lender or (iii) any Person
 (other than an individual) or any Affiliate of any Person (other than an individual) that
 administers or manages such Lender.

         “Asset Disposition”: the sale, transfer, conveyance, exchange, lease or disposal of any
 properties, business or assets of any Borrower or any Subsidiary, other than (a) the sale of
 inventory in the ordinary course of business, (b) sales or other dispositions of equipment that is
 substantially worn, damaged or obsolete in the ordinary course of business, (c) the use or transfer
 of money or cash equivalents in a manner not prohibited by the terms of this Agreement or the
 other Loan Documents, (d) the contribution of the DHAN Assets by BWP to CTG Advanced, (e)
 other disposition of assets by and among the Borrowers, (f) the sale, discount or write-off of past
 due or impaired accounts receivable for collection purposes (but not for factoring, securitization
 or other financing purposes), and the termination and unwinding of Hedging Agreements
 permitted hereunder, and (g) the sale or other disposition of assets pursuant to any casualty
 event, provided any Net Cash Proceeds therefrom are reinvested or, if required, applied to the
 prepayment of the Loans as provided herein.

         “Assignment and Acceptance”: an Assignment and Acceptance in the form of Exhibit E
 to this Agreement.

        “Available CapEx Commitment”: with respect to each CapEx Lender on the date of
 determination thereof, the amount by which (a) the CapEx Term Commitment of such Lender on
 such date exceeds (b) the principal sum of such Lender’s CapEx Term Loans outstanding.

        “Available Revolving Loan Commitment”: with respect to each Revolving Loan Lender
 on the date of determination thereof, the amount by which (a) the Revolving Loan Commitment
 of such Lender on such date exceeds (b) the principal sum of such Lender’s Revolving Loans
 outstanding.

        “Bankruptcy Code”: Title 11 of the United States Code entitled “Bankruptcy,” as now
 and hereafter in effect, or any successor statute.

         “Base Rate”: for any day, a rate per annum (rounded upwards, if necessary, to the next
 1/16 of 1%) equal to the greater of (a) the Prime Rate in effect on such day and (b) the Federal
 Funds Effective Rate in effect on such day plus 1/2 of 1%. “Prime Rate” shall mean the rate of
 interest per annum as published in The Wall Street Journal on the date of measurement or, if The
 Wall Street Journal ceases to quote such rate, the highest per annum interest rate published by
 the Federal Reserve Board as determined by the Agent as the “bank prime loan” rate. “Federal
 Funds Effective Rate” shall mean, for any day, the weighted average of the rates on overnight
 federal funds transactions with members of the Federal Reserve System arranged by federal
 funds brokers, as published on the next succeeding Business Day by the Federal Reserve Bank of
 New York, or, if such rate is not so published for any day which is a Business Day, the average
 of the quotations for the day of such transactions received by the Agent from three federal funds


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                                   Exhibit    Page 252  of 680
                                 Exhibit 1-29 Page 94 of 500


 brokers of national recognized standing selected by it. If, for any reason, the Agent shall have
 determined (which determination shall be conclusive absent manifest error) that it is unable to
 ascertain the Federal Funds Effective Rate for any reason, including the inability or failure of the
 Agent to obtain sufficient quotations in accordance with the terms hereof, the Base Rate shall be
 determined without regard to clause (b) of the first sentence of this definition until the
 circumstances giving rise to such inability no longer exist. Any change in the Base Rate due to a
 change in the Base Rate or the Federal Funds Effective Rate shall be effective on the effective
 date of such change in the Prime Rate or the Federal Funds Effective Rate, respectively.

         “Base Rate Loans”: Loans the rate of interest applicable to which is based upon the Base
 Rate.

         “Blocked Person”: a Person (i) listed in the annex to, or is otherwise subject to the
 provisions of, Executive Order No. 13224, (ii) owned or controlled by, or acting for or on behalf
 of, any Person that is listed in the annex to, or is otherwise subject to the provisions of, Executive
 Order No. 13224, (iii) with which any Lender is prohibited from dealing or otherwise engaging
 in any transaction by any Anti-Terrorism Law, (iv) that commits, threatens or conspires to
 commit or supports “terrorism” as defined in Executive Order No. 13224 or (v) that is named a
 “specially designated national” or “blocked person” on the most current list published by OFAC
 or other similar list.

         “Borrowers”: as defined in the preamble hereto.

         “Borrowing Base”: as of any date of determination, an amount determined with
 reference to the most recent Borrowing Base Certificate to be equal to the sum of (i) 80% of the
 book value of Eligible Accounts, as determined by the Agent plus (ii) 50% of the value of the
 Eligible Inventory, as determined by the Agent (and less any rent reserve contemplated by
 Section 5.14(b)); provided that (i) the advance rate for Eligible Inventory may be increased to
 60% (the “Seasonal Advance Rate”) for a three-calendar month period (the “Seasonal Period”)
 following written request received by Agent from Borrowers provided that (x) such notice is
 received at least ten Business Days prior to the commencement of the first month of such desired
 Seasonal Period (or such lesser notice period as may be agreed to by the Agent in its discretion),
 (y) there shall be not more than one Seasonal Period in any fiscal year of the Borrowers and (z)
 at the time of such increase, no Default or Event of Default shall have occurred and be
 continuing. The “value” of Eligible Inventory shall be based on the lower of cost or market
 value, less the Borrower’s current inventory reserve.

        “Borrowing Base Certificate”: a certificate duly executed by the chief financial officer of
 the Borrowers, substantially in the form attached hereto as Exhibit F.

        “Borrowing Notice”: a notice from the Borrowers to the Agent requesting a borrowing of
 Loans, substantially in the form of Exhibit C hereto.

        “Business Day”: a day other than a Saturday, Sunday or other day on which commercial
 banks in the State of California are authorized or required by law to close and which, in the case
 of a LIBOR Loan, is a Eurodollar Business Day.

         “BWCP” means Blue Wolf Capital Partners LLC, a Delaware limited liability company.

                                             -5-
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                                  Exhibit    Page 253  of 680
                                Exhibit 1-29 Page 95 of 500


         “BWP”: as defined in the preamble hereto.

         “CapEx Term Commitment”: the commitment of a Lender listed on the signature pages
 hereof, or in an Assignment and Acceptance, to make CapEx Loans, as the same may be adjusted
 pursuant to the provisions hereof.

        “CapEx Lender”: each Lender having (i) a CapEx Term Commitment or (ii) CapEx
 Loans outstanding.

        “CapEx Term Commitment Expiration Date”: October 11, 2015, or such earlier date as
 the CapEx Commitments shall expire or be terminated in accordance with the terms hereof
 (whether pursuant to Section 7.1 or otherwise).

         “CapEx Term Loan”: as defined in Section 2.3(a).

        “CapEx Term Loan Maturity Date”: October 11, 2018, or such earlier date as the CapEx
 Commitments shall expire or be terminated in accordance with the terms hereof (whether
 pursuant to Section 7.1 or otherwise).

         “CapEx Term Note”: as defined in Section 2.3(c).

         “CapEx Term Reduction Installment”: as defined in Section 2.3(e).

         “Capital Expenditures”: for any period, collectively, for any Person, the aggregate of all
 expenditures (including, for avoidance of doubt, related capitalized labor costs) which are made
 during such period (whether paid in cash or accrued as liabilities) by such Person for property,
 plant or equipment and which would be reflected as additions to property, plant or equipment on
 a balance sheet of such Person prepared in accordance with GAAP, including all Capitalized
 Lease Obligations; provided that “Capital Expenditures” shall not include Permitted
 Acquisitions.

        “Capitalized Lease Obligations”: obligations for the payment of rent for any real or
 personal property under leases or agreements to lease that, in accordance with GAAP, have been
 or should be capitalized on the books of the lessee and, for purposes hereof, the amount of any
 such obligation shall be the capitalized amount thereof determined in accordance with GAAP.

         “Capital Stock”: any and all shares, interests, participations or other equivalents
 (however designated) of capital stock of a corporation, any and all equivalent ownership interests
 in a Person (other than a corporation), any and all warrants, options or rights to purchase or any
 other securities convertible into any of the foregoing.

         “Cash Equivalents”: investments having a maturity of not greater than 12 months from
 the date of acquisition thereof in (a) obligations issued or unconditionally guaranteed by the
 United States of America or any agency thereof, (b) certificates of deposit of any commercial
 bank organized under the laws of the United States of America or any state thereof and having
 combined capital and surplus of at least $250,000,000, (c) commercial paper with a rating of at
 least Prime-1 by Moody’s Investors Service, Inc. or A-1 by Standard & Poor’s Ratings Group (a
 division of The McGraw Hill Companies, Inc.), (d) a readily redeemable “money market mutual

                                            -6-
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                                   Exhibit    Page 254  of 680
                                 Exhibit 1-29 Page 96 of 500


 fund” sponsored by a bank described in clause (b) hereof, or a broker or dealer registered under
 the Securities Exchange Act of 1934, as amended, and having on the date of the investment
 capital of at least $50,000,000, which fund maintains an investment policy limiting its
 investments primarily to instruments of the types described in clauses (a) through (c) hereof and
 given on the date of such investment a credit rating of at least AA by Moody’s Investors Service,
 Inc. or AA by Standard & Poor’s Ratings Group (a division of The McGraw-Hill Companies,
 Inc.) or (e) other investments agreed to from time to time between the Borrower and the Agent.

       “Cash Management Obligations”: means obligations of the Loan Parties to OneWest
 under one or more cash management agreements, deposit account agreements, treasury
 agreements, sweep agreements or similar agreements pertaining to cash management services.

         “CFC”: a controlled foreign corporation (as that term is defined in the Code).

         “Change in Law”: the occurrence, after the date of this Agreement, of any of the
 following: (i) the adoption or taking effect of any law, rule, regulation or treaty, (ii) any change
 in any law, rule, regulation or treaty or in the administration, interpretation, implementation or
 application thereof by any Governmental Authority or (iii) the making or issuance of any rule,
 guideline or directive (whether or not having the force of law) by any Governmental Authority;
 provided, notwithstanding anything herein to the contrary, (x) the Dodd-Frank Wall Street
 Reform and Consumer Protection Act and all requests, rules, guidelines or directives thereunder
 or issued in connection therewith and (y) all requests, rules, guidelines or directives promulgated
 by the Bank for International Settlements, the Basel Committee on Banking Supervision (or any
 successor or similar authority) or the United States or foreign regulatory authorities, in each case
 pursuant to Basel III, shall in each case be deemed to be a “Change in Law”, regardless of the
 date enacted, adopted or issued.

         “Change of Control”: any event, transaction or occurrence as a result of which (a)
 Sponsor shall cease to own or control, directly or indirectly, more than 50% of the outstanding
 equity interests of BWP on a fully diluted basis; (b) BWP shall cease to directly own 100% of
 the outstanding equity interests of CTG, CTG Advanced and EOI on a fully-diluted basis; (c)
 Sponsor shall cease to have the right to appoint to the board of directors or similar governing
 body of BWP at least a majority of the total members of such board or body; or (d) an
 underwritten public offering of the equity or debt securities of BWP shall become effective.

       “Closing Date”: the date on which the conditions set forth in Section 4.1 are satisfied or
 waived and the initial Loans are made.

         “Code”: the Internal Revenue Code of 1986, as amended from time to time.

        “Collateral”: all of the property (tangible or intangible) purported to be subject to the lien
 or security interest purported to be created by any Collateral Document executed by any Loan
 Party as security for all or part of the Obligations.

         “Collateral Documents”: the Security Agreement, the Control Agreements and all other
 instruments, documents and agreements encumbering the Collateral or evidencing or perfecting a
 security interest therein for the benefit of the Agent, or any Lender executed by any Loan Party,


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                                  Exhibit    Page 255  of 680
                                Exhibit 1-29 Page 97 of 500


 as the same may be amended, restated, supplemented or otherwise modified from time to time in
 accordance with the terms hereof and thereof.

       “Commitment”: a Revolving Loan Commitment, a Term Loan Commitment, or a CapEx
 Loan Commitment, as applicable.

        “Commodity Exchange Act”: means the Commodity Exchange Act (7 U.S.C. § 1 et seq.)
 as amended from time to time, and any successor statute.

         “Confidential Information”: all non-written information designated as confidential and
 all written information, in each case, received from any Borrower, or any of their Affiliates and
 their employees, officers, directors or advisors relating to an Acquisition, Sponsor, any Borrower
 or their operations, other than any such information that becomes generally available to the
 public or becomes available to any Lender, any Affiliate or Approved Fund of any Lender or
 Agent from a source other than Sponsor, any Borrower or any of their Affiliates and their
 employees, officers, directors or advisors and that is not known to such recipient to be subject to
 confidentiality obligations.

        “Consulting Agreement”: the Consulting Services Agreement, by and between Dr.
 Pengdi Han, CTG, and BWP, dated as of the date hereof.

        “Contingent Purchase Price Obligations”: any earnout obligations or similar deferred or
 contingent purchase price obligations (including all purchase price adjustments) and any
 indemnity obligations of the Borrowers incurred or created in connection with an Acquisition,
 including the HCMC/DHAN Acquisition.

        “Continuation Notice”: a request for continuation or conversion of a Loan as set forth in
 Section 2.6, substantially in the form of Exhibit B.

        “Contractual Obligation”: as to any Person, any provision of any security issued by such
 Person or of any agreement, instrument or other undertaking (other than a Loan Document) to
 which such Person is a party or by which it or any of its property is bound.

        “Control Agreement”: a control agreement, restricted account agreement or similar
 agreement or document, in each case in form and substance reasonably satisfactory to the Agent
 and entered into for the purpose of perfecting a security interest in one or more deposit accounts
 or securities accounts of the Loan Parties.

         “Covenant Compliance Certificate”: a certificate of a Responsible Officer or other senior
 officer of each Borrower substantially in the form of Exhibit D hereto.

         “CTG”: as defined in the preamble hereto.

         “CTG Advanced”: as defined in the preamble hereto.

        “Debt Offering”: the incurrence, sale or issuance by any Borrower or any Subsidiary of
 any debt securities or other Indebtedness, other than any Indebtedness permitted by Section 6.2.


                                            -8-
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                                  Exhibit    Page 256  of 680
                                Exhibit 1-29 Page 98 of 500


         “Default”: any of the events specified in Section 7.1, whether or not any requirement for
 the giving of notice, the lapse of time, or both, or any other condition, has been satisfied.

         “Defaulting Lender” means any Lender that (i) has failed to (a) fund all or any portion of
 its Loans within two Business Days of the date such Loans were required to be funded hereunder
 unless such Lender notifies the Agent and the Borrower in writing that such failure is the result
 of such Lender’s reasonable determination that one or more conditions precedent to funding
 (each of which conditions precedent, together with any applicable Default, shall be specifically
 identified in such writing) has not been satisfied, or (b) pay to the Agent or any Lender any other
 amount required to be paid by it hereunder within two Business Days of the date when due, (ii)
 has notified the Borrowers or the Agent in writing that it does not intend to comply with its
 funding obligations hereunder, or has made a public statement to that effect (unless such writing
 or public statement relates to such Lender’s obligation to fund a Loan hereunder and states that
 such position is based on such Lender’s determination that a condition precedent to funding
 (which condition precedent, together with any applicable Default, shall be specifically identified
 in such writing or public statement) cannot be satisfied), (iii) has failed, within three Business
 Days after written request by the Agent or the Borrower, to confirm in writing to the Agent and
 the Borrower that it will comply with its prospective funding obligations hereunder (provided,
 such Lender shall cease to be a Defaulting Lender pursuant to this clause (iii) upon receipt of
 such written confirmation by the Agent and the Borrowers), or (iv) has, or has a direct or indirect
 parent company that has, (a) become the subject of a proceeding under any Debtor Relief Law,
 or (b) had appointed for it a receiver, custodian, conservator, trustee, administrator, assignee for
 the benefit of creditors or similar Person charged with reorganization or liquidation of its
 business or assets, including the Federal Deposit Insurance Corporation or any other state or
 federal regulatory authority acting in such a capacity; provided, a Lender shall not be a
 Defaulting Lender solely by virtue of the ownership or acquisition of any equity interest in such
 Lender or any direct or indirect parent company thereof by a Governmental Authority so long as
 such ownership interest does not result in or provide such Lender with immunity from the
 jurisdiction of courts within the United States or from the enforcement of judgments or writs of
 attachment on its assets or permit such Lender (or such Governmental Authority) to reject,
 repudiate, disavow or disaffirm any contracts or agreements made with such Lender. Any
 determination by the Agent that a Lender is a Defaulting Lender under any one or more of
 clauses (i) through (iv) above shall be conclusive and binding absent manifest error, and such
 Lender shall be deemed to be a Defaulting Lender upon delivery of written notice of such
 determination to the Borrowers and each Lender.

         “DHAN”: as defined in Section 6.6(a)(v).

         “Dollars” and “$”: dollars in lawful currency of the United States.

        “Eligible Account”: as of any date of determination, an account receivable of any
 Borrower arising from the sale of goods in the ordinary course of business in which the Lender
 has a first-priority perfected Lien (which, for the avoidance of doubt, shall include accounts
 receivable under which the US federal government or any state is the account debtor):

                (a)    that is not subject to any defense, counterclaim, set-off or dispute asserted
  by the applicable account debtor in writing (provided, that in the event of a set-off or dispute,

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                                   Exhibit    Page 257  of 680
                                 Exhibit 1-29 Page 99 of 500


  the amount of the account receivable less the amount of the set-off or dispute nonetheless shall
  be an Eligible Account);

                 (b)    that is paid within 90 days from the invoice date; and

                 (c)    that is otherwise acceptable to the Agent in its reasonable discretion from
  the perspective of a secured lender.

         “Eligible Inventory”: as of any date of determination, inventory consisting of first-
 quality finished goods, work-in-process and raw materials of any Borrower in which the Lender
 has a first-priority perfected Lien:

                (a)    that is located on premises owned or leased by the Borrowers and is
  covered by insurance as contemplated by Section 5.5;

                 (b) that is otherwise acceptable to the Agent in its reasonable discretion from
  the perspective of a secured lender.

         “Environmental Laws”: all federal, state and local laws, rules and regulations governing
 (a) environmental matters, (b) the generation, use, control, removal, storage, transportation, spill,
 release or discharge of hazardous materials and (c) the effect of the environment on occupational
 safety and health, industrial hygiene, land use or the protection of human, plant or animal health
 or welfare, including without limitation as provided in the provisions of and the regulations
 under (i) the Comprehensive Environmental Response, Compensation and Liability Act of 1980,
 as amended by the Superfund Amendment and Reauthorization Act of 1986, (ii) the Solid Waste
 Disposal Act, (iii) the Clean Water Act and the Clean Air Act, (iv) the Hazardous Materials
 Transportation Act, (v) the Resource Conservation and Recovery Act of 1976 and (vi) the
 Federal Water Pollution Control Act Amendments of 1972.

         “EOI”: as defined in the preamble hereto.

        “Equityholder Agreements”: each shareholder agreement, member agreement, partner
 agreement, voting agreement, buy-sell agreement, option, warrant, put, call, right of first refusal,
 and other agreement or instrument governing the equity of any Loan Party or any other security
 with conversion rights into equity of any Loan Party.

         “Equity Offering”: the sale or issuance (or reissuance) by any Borrower or any
 Subsidiary of any Capital Stock, provided, however, that the term Equity Offering shall not
 include the (i) issuance, sale or other disposition of the Capital Stock of BWP issued in
 connection with the HCMC/DHAN Acquisition, (ii) issuance, sale, or other disposition of the
 Capital Stock of BWP contemplated by Section 6.9(vi), (iii) issuance, sale or other disposition of
 Capital Stock of BWP the proceeds of which are used in connection with the Cure Right, (iv)
 issuance or sale of Capital Stock of BWP the proceeds of which are used to make (in whole or in
 part), or such Capital Stock is used in connection with, a Permitted Acquisition or Capital
 Expenditures permitted by this Agreement or (v) issuance, sale or other disposition of Capital
 Stock of BWP the proceeds of which are used for other business uses of the Borrowers and their
 Subsidiaries reasonably acceptable to the Agent.


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                                  Exhibit    Page 258  of 680
                               Exhibit 1-29 Page 100 of 500


         “ERISA”: the Employee Retirement Income Security Act of 1974, as amended from
 time to time.

       “ERISA Affiliate”: as to any Person, each trade or business including such Person,
 whether or not incorporated, which together with such Person would be treated as a single
 employer under Section 4001(a)(14) of ERISA.

        “Eurodollar Business Day”: any day on which banks are open for dealings in Dollar
 deposits in the London interbank market.

         “Event of Default”: any of the events specified in Section 7.1, provided that any
 requirement for the giving of notice, the lapse of time, or both, or any other condition, has been
 satisfied.

         “Excess Cash Flow”: for the Borrowers and their Subsidiaries on a consolidated basis,
 with respect to any fiscal period, without duplication, the sum of (a) Adjusted EBITDA for such
 period, minus (b) cash Net Interest Expense paid during such period, minus (c) the aggregate
 principal amount of scheduled payments on any Indebtedness during such period, minus (d) the
 aggregate principal amount of any voluntary prepayments of the Term Loans or the CapEx Term
 Loans made during such period, minus (e) Unfinanced Capital Expenditures made during such
 period, minus (f) increases (or plus decreases) in Net Working Investment during such period,
 minus (g) the aggregate amount of federal and state taxes that are paid or funded through
 distributions in cash during such period (including Permitted Tax Distributions), minus (h)
 Management Fees paid under the Management Agreement during such period and permitted
 under Section 6.8., minus (i) Integration Costs incurred during such period, minus (j) Board Fees
 paid during such period.

        “Exchange Act”: means the Securities Exchange Act of 1934, as amended from time to
 time, and any successor statute, and all rules and regulations from time to time promulgated
 thereunder.

         “Excluded Swap Obligations”: means, with respect to any Loan Party (other than the
 direct counterparty of such Swap Obligation), any Swap Obligation of a Loan Party (other than
 the direct counterparty of such Swap Obligation) if, and to the extent that, all or a portion of the
 guarantee of such Loan Party pursuant to the Security Agreement of, or the grant by such Loan
 Party of a security interest to secure, such Swap Obligation (or any guarantee thereof) is or
 becomes illegal under the Commodity Exchange Act or any rule, regulation or order of the
 Commodity Futures Trading Commission (or the application or official interpretation of any
 thereof) by virtue of such Loan Party’s failure for any reason to constitute an “eligible contract
 participant” as defined in the Commodity Exchange Act at the time the guarantee of such Loan
 Party pursuant to the Security Agreement or the grant of such security interest becomes effective
 with respect to such Swap Obligation. If a Swap Obligation arises under a master agreement
 governing more than one swap, such exclusion shall apply only to the portion of such Swap
 Obligation that is attributable to swaps for which such guarantee or security interest is or
 becomes illegal.




                                            - 11 -
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                                     Exhibit    Page 259  of 680
                                  Exhibit 1-29 Page 101 of 500


         “Excluded Taxes”: any of the following taxes imposed on or with respect to any
 recipient or required to be withheld or deducted from a payment to any recipient (a) taxes
 imposed on or measured by its overall net income (however denominated), and franchise taxes
 imposed on it (in lieu of net income taxes) including backup withholding required by Section
 3406 of the Code, by the jurisdiction (or any political subdivision hereof) under the laws of
 which such recipient is organized or in which its principal office is located or, in the case of any
 Lender, in which its applicable lending office is located, (b) any branch profits taxes imposed by
 the United States of America or any similar tax imposed by any other jurisdiction in which the
 Lender is located, (c) in the case of a Foreign Lender (other than an assignee pursuant to a
 request by the Borrower), any withholding tax that is imposed on amounts payable to such
 Foreign Lender at the time such Foreign Lender becomes a party hereto (or designates a new
 lending office), or is attributable to such Foreign Lender’s failure or inability (other than as a
 result of a Change in Law) to comply with Section 2.14(d)(ii)(B), except to the extent that such
 Foreign Lender (or its assignor, if any) was entitled, at the time of designation of a new lending
 office (or assignment), to receive additional amounts from the Borrowers with respect to such
 withholding tax pursuant to Section 2.14, and (d) any U.S. federal withholding Taxes imposed
 under FATCA.

        “FATCA”: Sections 1471, 1472, 1473 and 1474 of the Code, as of the date of this
 Agreement (or any amended or successor version that is substantively comparable and not
 materially more onerous to comply with), current or future United States Treasury Regulations
 promulgated thereunder and published guidance with respect thereto, any agreements entered
 into pursuant to Section 1471(b)(1) of the Code and any applicable intergovernmental
 agreements with respect thereto.

         “Fee Letter”: as defined in Section 2.16(a).

         “Fixed Charge Coverage Ratio”: as of any date of determination, for the Borrowers and
 their Subsidiaries on a consolidated basis, for the twelve month period most-recently ended, the
 ratio of (a) (i) Adjusted EBITDA less (ii) maintenance Capital Expenditures which shall equal
 $500,000 less (iii) cash Permitted Tax Distributions to (b) Fixed Charges for such period;
 provided that, solely for the purposes of calculating the Fixed Charge Coverage Ratio as of the
 last day of each of the fourth quarter of fiscal year 2013, the first quarter of fiscal year 2014, the
 second quarter of fiscal year 2014 and the third quarter of fiscal year 2014, Fixed Charges shall
 be annualized based on the actual Fixed Charges from the Closing Date until the last day of each
 such fiscal quarter.

        “Fixed Charges”: for the Borrowers and their Subsidiaries on a consolidated basis, for
 the twelve month period most recently ended, without duplication, the sum of (a) Gross Interest
 Expense for such period paid or required to be paid in cash, and (b) the aggregate amount of
 scheduled principal payments on Indebtedness for such period.

             “Foreign Lender”: a Lender that is not a U.S. Person.

         “GAAP”: generally accepted accounting principles in the United States in effect from
 time to time. If, at any time, GAAP changes in a manner which will materially affect the
 calculations determining compliance by the Borrowers with any of its covenants in Section 6.1,


                                              - 12 -
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                                  Exhibit    Page 260  of 680
                               Exhibit 1-29 Page 102 of 500


 such covenants shall continue to be calculated in accordance with GAAP in effect prior to such
 changes in GAAP.

         “Governmental Authority”: any nation or government, any federal, state or other
 political subdivision thereof and any federal, state or local entity exercising executive,
 legislative, judicial, regulatory or administrative functions of government.

        “Governmental Authorization”: any permit, license, authorization, plan, directive,
 consent order or consent decree of or from any Governmental Authority.

        “Gross Interest Expense”: with respect to the Borrowers, on a consolidated basis, for any
 period as at any date of determination, cash interest expense for such period (including all
 commissions, discounts, fees and other charges under letters of credit and similar instruments
 and net costs under any Lender Hedging Agreement).

         “Guarantee Obligation”: means with respect to any Person, the guarantee obligations of
 such Person (including any bank under any letter of credit), in respect of, and obligations
 (contingent or otherwise) to purchase, advance or supply funds, otherwise acquire or otherwise
 to secure a credit against, a loss, liability or other obligation. The amount of any Guarantee
 Obligation of any guaranteeing person shall be deemed to be the lesser of (a) an amount equal to
 the stated or determinable amount of the primary obligation in respect of which such Guarantee
 Obligation is made and (b) the maximum amount for which such guaranteeing person may be
 liable pursuant to the terms of the instrument embodying such Guarantee Obligation, unless such
 primary obligation and the maximum amount for which such guaranteeing person may be liable
 are not stated or determinable, in which case the amount of such Guarantee Obligation shall be
 such guaranteeing person’s maximum reasonably anticipated liability in respect thereof as
 determined by the Borrower in good faith.

         “HCMC Call”: the call right held by BWP with respect to the Capital Stock of BWP held
 by DHAN or any Permitted Transferee (as defined in the LLC Agreement) of DHAN to require
 DHAN or any Permitted Transferee of DHAN to sell to BWP such Capital Stock pursuant to and
 subject to the terms and conditions of the LLC Agreement.

        “HCMC Put”: the put right held by DHAN with respect to the Capital Stock of BWP
 held by DHAN and/or any Permitted Transferee of DHAN to require BWP to purchase from
 DHAN and any Permitted Transferee of DHAN such Capital Stock pursuant to and subject to the
 terms and conditions of the LLC Agreement.

         “HCMC/DHAN Acquisition”: as defined in the recitals to this Agreement.

        “Hedging Agreements”: as defined in the definition of “Hedging Obligations” in this
 Section 1.1.

         “Hedging Obligations”: of any Person, any and all obligations of such Person, whether
 absolute or contingent and howsoever and whenever created, arising, evidenced or acquired
 (including all renewals, extensions and modifications thereof and substitutions therefor), under
 (i) any and all agreements, devices or arrangements designed to protect at least one of the parties
 thereto from the fluctuations of interest rates, commodity prices, exchange rates or forward rates

                                           - 13 -
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                                  Exhibit    Page 261  of 680
                               Exhibit 1-29 Page 103 of 500


 applicable to such party’s assets, liabilities or exchange transactions, including dollar-
 denominated or cross-currency interest rate exchange agreements, forward currency exchange
 agreements, interest rate cap or collar protection agreements, forward rate currency or interest
 rate options, puts and warrants or any similar derivative transactions (“Hedging Agreements”),
 and (ii) any and all cancellations, buy-backs, reversals, terminations or assignments of any of the
 foregoing.

          “Indebtedness”: as to any Person, (i) all indebtedness of such Person for borrowed
 money, or for the deferred purchase price of property or services (other than trade debt incurred
 and payable in the ordinary course of business), including any Contingent Purchase Price
 Obligations, (ii) all obligations of such Person evidenced by notes, bonds, debentures or other
 similar instruments, (iii) all indebtedness created or arising under any conditional-sale or other
 title-retention agreement with respect to property acquired by such Person, (iv) all Capitalized
 Lease Obligations of such Person, (v) all obligations of such Person under interest rate or foreign
 currency swaps or hedges, (vi) all obligations, contingent or otherwise, of such Person under
 acceptance, letter of credit or similar facilities, (vii) all mandatory redemption, repurchase or
 dividend obligations of such Person with respect to its stock or other equity interests (other than
 Permitted Tax Distributions), (viii) all liabilities in respect of unfunded vested benefits under
 plans covered by Title IV of ERISA, (ix) all indebtedness of the kinds referred to in clauses (i)
 through (viii) above and (x) below (A) of any partnership or unincorporated joint venture in
 which such Person is a general partner or joint venturer to the extent such Person is liable
 therefor or (B) secured by any Lien on any property or asset owned or held by such Person
 regardless of whether or not the indebtedness secured thereby shall have been incurred or
 assumed by such Person or is nonrecourse to the credit of such Person, the amount thereof being
 equal to the value of the property or assets subject to such Lien, and (x) all Guarantee
 Obligations in respect of, indebtedness or obligations of others of the kinds referred to in clauses
 (i) through (ix) of this definition. For avoidance of doubt, “Indebtedness” shall not include the
 obligations of BWP in respect of the HCMC Put or HCMC Call until and unless the rights in
 respect thereof have been exercised under the LLC Agreement.

       “Insolvency”: with respect to any Multiemployer Plan, the condition that such
 Multiemployer Plan is insolvent within the meaning of Section 4245 of ERISA.

        “Intercreditor Agreement”: that certain Intercreditor Agreement dated as of the Closing
 Date executed among the Subordinated Agent, the Subordinated Lender, the Agent and the
 Borrowers with respect to the Subordinated Debt, as it may be amended, modified or restated
 from time to time in accordance with the terms thereof.

         “Interest Payment Date”: (a) as to any Base Rate Loan, the last Business Day of each
 calendar quarter to occur while any such Loan is outstanding, (b) as to any LIBOR Loan having
 an Interest Period of three months or less, the last day of such Interest Period, (c) as to any
 LIBOR Loan having an Interest Period longer than three months, each day which is at the end of
 each three month-period within such Interest Period after the first day of such Interest Period and
 the last day of such Interest Period and (d) for each of (a), (b) and (c) above, the day on which
 any such Loan becomes due and payable in full or is paid or prepaid in full.




                                            - 14 -
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                                  Exhibit    Page 262  of 680
                               Exhibit 1-29 Page 104 of 500


         “Interest Period”: with respect to any LIBOR Loan:

                 (a)     initially, the period commencing on the borrowing or conversion date, as
 the case may be, with respect to such LIBOR Loan and ending one, two, three or six months
 thereafter, as selected by the Borrowers in its notice of borrowing or its Continuation Notice, as
 the case may be, given with respect thereto; and

                 (b)    thereafter, each period commencing on the last day of the next preceding
 Interest Period applicable to such LIBOR Loan and ending one, two, three or six months
 thereafter, as selected by the Borrowers by irrevocable notice to the Agent not less than three
 Eurodollar Business Days prior to the last day of the then current Interest Period with respect
 thereto;

 provided that, all of the foregoing provisions relating to Interest Periods are subject to the
 following:

                 (i)    if any Interest Period pertaining to a LIBOR Loan would otherwise end on
         a day that is not a Business Day, such Interest Period shall be extended to the next
         succeeding Business Day unless the result of such extension would be to carry such
         Interest Period into another calendar month in which event such Interest Period shall end
         on the immediately preceding Business Day;

                 (ii)   any Interest Period for any Loan that would otherwise extend beyond the
         date final payment is due on such Loan shall end on the date of such final payment; and

                  (iii) any Interest Period pertaining to a LIBOR Loan that begins on the last
         Business Day of a calendar month (or on a day for which there is no numerically
         corresponding day in the calendar month at the end of such Interest Period) shall end on
         the last Business Day of a calendar month.

         “Landlord Consent”: each waiver and consent or similar document executed by the
 landlord of the Borrowers or any Subsidiary, in form and substance reasonably satisfactory to the
 Agent, as such agreements may be amended, restated modified or supplemented from time to
 time in accordance with the terms hereof and thereof.

         “Lenders”: as defined in the preamble hereto and Section 8.8 hereof.

       “Lender Hedging Agreement”: any Hedging Agreement entered into between any
 Borrower or any Subsidiary and a Lender, or a Person who was a Lender at the time such
 Hedging Agreement was entered into, the Agent, or an Affiliate thereof.

         “Leverage Level”: if the Total Leverage Ratio shall be greater than 3.75:1, the Leverage
 Level shall be 1; if the Total Leverage Ratio shall be less than or equal to 3.75:1 but greater than
 3.25:1, the Total Leverage Level shall be 2; and if the Total Leverage Ratio shall be less than or
 equal to 3.25:1, the Leverage Level shall be 3.

        “LIBOR”: with respect to any LIBOR Loan for any Interest Period, the rate per annum
 determined by the Agent and equal to the rate (rounded upwards, if necessary, to the nearest 1/16

                                            - 15 -
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                                                                            14:56:52           Desc
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                                  Exhibit    Page 263  of 680
                               Exhibit 1-29 Page 105 of 500


 of 1%) quoted as (i) the rate at which dollar deposits in immediately available funds are offered
 two (2) Eurodollar Business Days prior to the first day of such Interest Period for delivery on the
 first day of such Interest Period in the interbank Eurodollar market on or about 9:00 a.m.
 (Los Angeles time) or (ii) the “LIBOR Rate” set forth in the money rates section of the Wall
 Street Journal two (2) Business Days prior to the first day of such Interest Period, in each case
 for a period equal to such Interest Period and in an amount comparable to the amount of such
 LIBOR Loan. The Agent currently uses Bloomberg to provide information with respect to the
 interbank Eurodollar market, but the Agent, in its sole discretion, may change the service
 providing such information at any time and/or may rely upon the rate quoted in the Wall Street
 Journal as indicated above. Each determination of the LIBOR Rate by the Agent shall be
 conclusive and binding upon the parties hereto, absent manifest error.

        “LIBOR Adjusted Rate”: with respect to each day during each Interest Period pertaining
 to a LIBOR Loan, a rate per annum determined for such day in accordance with the following
 formula (rounded upward to the nearest 1/100th of 1%):

                                            LIBOR
                               1.00 - LIBOR Reserve Requirements


        “LIBOR Loans”: Loans the rate of interest applicable to which is based upon the LIBOR
 Adjusted Rate.

         “LIBOR Reserve Requirements”: for any day as applied to a LIBOR Loan, the aggregate
 (without duplication) of the maximum rates (expressed as a decimal fraction) of reserve
 requirements in effect on such day (including basic, supplemental, marginal and emergency
 reserves under any regulations of the Board of Governors of the Federal Reserve System or other
 Governmental Authority having jurisdiction with respect thereto) dealing with reserve
 requirements prescribed for eurocurrency funding (currently referred to as “Eurocurrency
 Liabilities” in Regulation D of such Board) maintained by a member bank of such Federal
 Reserve System.

        “Lien”: any mortgage, pledge, charge, hypothecation, assignment, deposit arrangement,
 encumbrance, lien (statutory or other), security agreement or other security interest of any kind
 or nature whatsoever (including any conditional sale or other title retention agreement or any
 Capitalized Lease Obligation having substantially the same economic effect as any of the
 foregoing).

        “LLC Agreement”: the Second Amended and Restated Limited Liability Company
 Agreement of BWP dated as of the date hereof, as amended, modified, restated or supplemented
 from time to time.

        “Loan”: a Revolving Loan, a Term Loan or a CapEx Term Loan, as applicable; and
 “Loans” means the aggregate of all Revolving Loans, Term Loans and CapEx Term Loans, as
 applicable, outstanding at any given time.

       “Loan Documents”: this Agreement, the Collateral Documents, the Intercreditor
 Agreement, each Control Agreement, the Management Sideletter, the Fee Letter, any Notes, any

                                           - 16 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                                                            14:56:52          Desc
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                                  Exhibit    Page 264  of 680
                               Exhibit 1-29 Page 106 of 500


 Sweep Agreement, any Lender Hedging Agreement, any Landlord Consents and any other
 document or agreement in favor of the Agent or any Lender or to which the Agent or any Lender
 is party that is executed by any Borrower or any other Loan Party pursuant to this Agreement.

         “Loan Parties”: the Borrowers and their Subsidiaries.

        “Management Agreement”: the First Amended and Restated Management Agreement
 dated as of the date hereof by and between BWP and BWCP.

         “Management Fees”: subject to Section 6.8, management fees and reasonable expenses
 to be paid by BWP to BWCP pursuant to the Management Agreement.

        “Management Sideletter”: that certain letter executed among BWCP, the Borrowers and
 the Agent, regarding the subordination of payment of the Management Fees, as such letter may
 be amended or modified from time to time pursuant to the terms hereof.

         “Margin Stock”: as defined in Regulation U.

         “Material Adverse Effect”: (a) any material adverse effect upon the properties and assets,
 business, financial position or results of operations of the Borrowers taken as a whole, (b) the
 material impairment of the ability of the Borrowers taken as a whole to perform the Obligations,
 or (c) the material impairment of (i) the enforceability or priority of the Agent’s Liens with
 respect to a material portion of the Collateral, or (ii) the legality, validity, binding effect or
 enforceability of this Agreement or any of the other Loan Documents.

        “Material Agreements”: the Acquisition Documents, the Management Agreement, the
 Consulting Agreement and the Subordinated Debt Documents.

        “Maturity Date”: October 11, 2018, or such earlier date as the Loans shall become due
 and payable in full in accordance with the terms hereof (whether by acceleration or otherwise).

        “Multiemployer Plan”: a plan which is a multiemployer plan as defined in Section
 4001(a)(3) of ERISA and which is subject to Title IV of ERISA.

         “Net Income”: with respect to the Borrowers, on a consolidated basis for any applicable
 period, the aggregate of all amounts which, in accordance with GAAP, would be included as net
 income (or net loss, including any extraordinary losses) on a consolidated statement of income
 for such period.

         “Net Interest Expense”: with respect to the Borrowers on a consolidated basis, for any
 period as at any date of determination, (a) the sum of PIK Interest and any other non-cash
 interest accrued during such period and Gross Interest Expense less (b) interest income for such
 period and payments received under any Lender Hedging Agreement.

        “Net Proceeds”: (A) with respect to any Asset Disposition, the net amount equal to the
 aggregate amount received in cash (including any cash received by way of deferred payment
 pursuant to a note receivable, other non-cash consideration or otherwise, but only as and when
 such cash is so received) in connection with such Asset Disposition minus the sum of (a) the

                                           - 17 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 265  of 680
                               Exhibit 1-29 Page 107 of 500


 reasonable attorneys’, accountants’, investment banking, financial advisory and other customary
 fees, commissions and expenses incurred by the Borrowers or any of its Subsidiaries in
 connection with such Asset Disposition (including any such bona fide fees, commissions, costs
 and expenses payable to any Affiliate of the Loan Parties), (b) Indebtedness, other than the
 Loans, required to be paid as a result of such Asset Disposition and (c) United States federal,
 state and local and non-United States taxes paid or required to be paid as a result of such Asset
 Disposition; and (B) with respect to any Equity Offering or Debt Offering, the net amount equal
 to the aggregate amount received in cash (including any cash received by way of deferred
 payment pursuant to a note receivable, other non-cash consideration or otherwise, but only as
 and when such cash is so received) in connection with such Equity Offering or Debt Offering
 minus the reasonable attorneys’, accountants’, investment banking, financial advisory and other
 customary fees, commissions and expenses incurred by the Borrowers in connection with such
 Equity Offering or Debt Offering (including any such bona fide fees, commissions, costs and
 expenses payable to any Affiliate of the Loan Parties).

        “Net Working Investment”: for the Borrowers and their Subsidiaries on a consolidated
 basis, (i) current assets (excluding cash and Cash Equivalents) less (ii) current liabilities
 (excluding the current portion of Total Funded Debt).

        “Non-Defaulting Lender”: at any time, each Lender that is not a Defaulting Lender at
 such time.

        “Note”: a Revolving Note, a Term Note or a CapEx Term Note; and “Notes” means the
 aggregate of all Revolving Notes, all Term Notes and all CapEx Term Notes.

           “Obligations”: the unpaid principal of and interest on (including interest accruing after
 the maturity of the Loans and interest accruing on or after the filing of any petition in
 bankruptcy, or the commencement of any insolvency, reorganization or like proceeding, relating
 to any Borrower, whether or not a claim for post-filing or post-petition interest is allowed in such
 proceeding and whether or not at a default rate) the Loans, and all other obligations and
 liabilities of the Borrowers and the other Loan Parties to the Agent and the Lenders, whether
 direct or indirect, absolute or contingent, due or to become due, or now existing or hereafter
 incurred, which may arise under, out of, or in connection with, this Agreement, the Notes, any
 other Loan Document and any other document made, delivered or given in connection herewith
 or therewith, including any and all Lender Hedging Agreements, whether on account of
 principal, interest, reimbursement obligations, fees, indemnities, costs, expenses (including all
 reasonable fees and disbursements of counsel, and the allocated reasonable cost of internal
 counsel, to the Agent and the Lenders that are required to be paid by the Loan Parties pursuant to
 the terms of this Agreement) or otherwise; provided that Obligations shall not include Excluded
 Swap Obligations.

         “Occupancy Agreements”: as defined in Section 5.10.

        “OFAC”: the U.S. Department of Treasury Office of Foreign Assets Control, or any
 successor thereto.




                                            - 18 -
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Case 9:18-ap-01058-DS
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                                                                     06/28/19 15:36:30
                                                                              14:56:52               Desc
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                                    Exhibit    Page 266  of 680
                                 Exhibit 1-29 Page 108 of 500


        “OFAC Lists”: collectively, the Specially Designated Nationals and Blocked Persons
 List maintained by OFAC pursuant to any of the rules and regulations of OFAC or pursuant to
 any applicable executive orders, including Executive Order No. 13224, as that list may be
 amended from time to time.

         “Organic Documents”: with respect to any entity, in each case to the extent applicable
 thereto, its certificate or articles of incorporation or organization, its by-laws or operating
 agreement, its partnership agreement, all other formation and/or governing documents, and all
 Equityholder Agreements, voting agreements and similar arrangements applicable to any of its
 authorized shares of capital stock, its partnership interests or its membership interests, and any
 other arrangements relating to the control or management of any such entity (whether existing as
 corporation, a partnership, a limited liability company or otherwise).

         “Participant”: as defined in Section 9.6(b).

         “Participant Register”: as defined in Section 9.6(b).

         “PBGC”: the Pension Benefit Guaranty Corporation established pursuant to Subtitle A of
 Title IV of ERISA or any successor thereto.

         “Permitted Acquisition”: an Acquisition by any Borrower of any ongoing business,
 division or all or substantially all of the assets of, or all of the Capital Stock of, a Person (each,
 an “Acquired Person”), provided that each of the following conditions is satisfied with respect to
 such Acquisition:

        (a)     if such Acquisition is of all of the Capital Stock of an Acquired Person, such
 Acquisition is not opposed by the board of directors or management of the Acquired Person;

         (b)     such Acquisition will not cause the Borrowers to violate Section 6.13;

        (c)    at the time of such Acquisition, no Event of Default shall have occurred and be
 continuing and no Event of Default would occur as a result thereof on a pro forma basis
 immediately after giving effect to such Acquisition;

          (d)    in the case of the acquisition of all or substantially all of the assets of a Person, all
 such assets shall be owned 100% by the Borrowers, and the Borrowers shall have taken all
 actions to subject such assets to the Lien of the Agent (subject to Liens permitted by Section
 6.3), in accordance with the terms and conditions hereof and of the other Loan Documents;

        (e)    in the case of the acquisition of Capital Stock, all of the Capital Stock (except for
 any such securities in the nature of directors’ qualifying shares required pursuant to applicable
 Law) acquired or otherwise issued by such Person or any newly formed Subsidiary of the
 Borrowers in connection with such acquisition shall be owned 100% by the Borrowers, and the
 Borrowers shall have taken each of the actions set forth in Section 5.12;

         (f)    Borrowers shall have provided to the Agent, no later than ten Business Days prior
 to the date of consummation of the Acquisition, the following information and documentation
 pertaining to the Acquisition, in each case in form and substance reasonably satisfactory to the

                                              - 19 -
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                                  Exhibit    Page 267  of 680
                               Exhibit 1-29 Page 109 of 500


 Agent: (A) calculations certified by the Borrowers’ chief financial officer indicating pro forma
 compliance by the Borrowers with the covenants contained in Section 6.1 subsequent to the
 Acquisition, (B) if available, historical financial statements of the Acquired Person for the three
 full fiscal years of the Acquired Person immediately preceding the date of the consummation of
 the Permitted Acquisition, and (C) consolidated projections of the Borrowers, by fiscal quarter,
 incorporating the results of operations of the Acquired Person, and which detail Adjusted
 EBITDA for each relevant fiscal period for the Acquired Person; and

          (g)    on or prior to the closing date for such Permitted Acquisition, the Borrowers shall
 have delivered to the Agent a certificate of a Responsible Officer of the Borrowers certifying that
 all of the requirements set forth in this definition of “Permitted Acquisition” have been satisfied
 or will be satisfied on or prior to the consummation of such Acquisition.

        “Permitted Tax Distributions”: distributions by BWP to its members in an amount
 which shall not exceed, with respect to any fiscal year of the Borrowers, the taxable net income
 of BWP and its Subsidiaries allocated to its members for such fiscal year multiplied by the
 highest marginal federal, state and local combined effective income tax rate applicable to an
 individual Person resident in New York City, New York during such fiscal year.

        “Person”: any individual, firm, partnership, joint venture, corporation, limited liability
 company, association, business enterprise trust, unincorporated organization, government or
 department or agency thereof or other entity, whether acting in an individual, fiduciary or other
 capacity.

        “PIK Interest”: as defined in the Subordinated Investment Agreement, as in effect on the
 Closing Date.

        “Plan”: any plan (other than a Multiemployer Plan) subject to Title IV of ERISA
 maintained for employees of the Borrower or any ERISA Affiliate of the Borrower (and any
 such plan no longer maintained by the Borrower or any of the Borrower’s ERISA Affiliates to
 which the Borrower or any of the Borrower’s ERISA Affiliates has made or was required to
 make any contributions within any of the five preceding years).

        “Pricing Certificate”: a certificate of a Responsible Officer of the Borrowers,
 substantially in the form of Exhibit G hereto.

         “Purchasing Lender”: as defined in Section 9.6(c) hereof.

         “Register”: as defined in Section 9.6(d).

         “Regulation D”: Regulation D of the Board of Governors of the Federal Reserve System,
 as the same is from time to time in effect, and all official rulings and interpretations thereunder
 or thereof and any successor regulation thereto.

         “Regulation U”: Regulation U of the Board of Governors of the Federal Reserve System,
 as the same is from time to time in effect, and all official rulings and interpretations thereunder
 or thereof and any successor regulation thereto.


                                            - 20 -
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                                  Exhibit    Page 268  of 680
                               Exhibit 1-29 Page 110 of 500


          “Reorganization”: with respect to any Multiemployer Plan, the condition that such plan
 is in reorganization within the meaning of Section 4241 of ERISA.

        “Reportable Event”: the occurrence of any of the events set forth in Section 4043(b) of
 ERISA with respect to a Plan for which notice to the PBGC is required, other than those events
 as to which the thirty day notice period is waived under PBGC regulations.

         “Required Lenders”: Lenders having Commitments equal to or more than 50.1% of the
 Aggregate Total Commitment, or, if any Commitment has terminated, with respect to such
 Commitment, Lenders with the outstanding Loans under such Commitment having an unpaid
 principal balance equal to or more than 50.1% of the sum of the unpaid principal balance of all
 Loans outstanding, excluding from such calculation any Defaulting Lender; provided that at all
 times that there are only two Lenders, the Required Lenders shall mean both such Lenders.

         “Requirement of Law”: as to any Person, its Organic Documents, and any law, treaty,
 rule, order, judgment or regulation of an arbitrator or a court or other Governmental Authority, in
 each case applicable to or binding upon such Person or any of its property or to which such
 Person or any of its property is subject.

        “Responsible Officer”: with respect to any Loan Party, the president, the chairman, the
 chief executive officer, the chief operating officer or the chief financial officer of such Loan
 Party.

         “Restricted Payments”: as defined in Section 6.6.

         “Revolving Loan”: as defined in Section 2.1(b).

        “Revolving Loan Commitment”: the commitment of a Lender listed on the signature
 pages hereof to make Revolving Loans as set forth on the signature pages hereof, as the same
 may be adjusted pursuant to the provisions hereof.

        “Revolving Loan Commitment Expiration Date”: October 11, 2018, or such earlier date
 as the Revolving Loan Commitments shall expire in accordance with the terms hereof (whether
 pursuant to Section 7.1 or otherwise).

        “Revolving Loan Commitment Percentage”: with respect to each Revolving Loan
 Lender, the percentage equivalent of the ratio which such Lender’s Revolving Loan
 Commitment bears to the Aggregate Revolving Loan Commitment.

         “Revolving Loan Lender”: each Lender having (i) a Revolving Loan Commitment or
 (ii) Revolving Loans outstanding.

         “Revolving Note”: as defined in Section 2.1(c).

       “Secured Parties”:     shall have the meaning assigned to such term in the Security
 Agreement.




                                           - 21 -
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                                  Exhibit    Page 269  of 680
                               Exhibit 1-29 Page 111 of 500


         “Security Agreement”: the Amended and Restated Security Agreement dated as of the
 date hereof, made by each Borrower in favor of the Agent for the benefit of the Secured Parties,
 as it may be further amended or otherwise modified from time to time in accordance with the
 terms thereof.

        “Single Employer Plan”: any Plan which is covered by Title IV of ERISA, but which is
 not a Multiemployer Plan.

         “Solvent”: when used with respect to any Person, that:

                (a)    such Person is not “insolvent” within the meaning of 11 U.S.C. Section
  101(32) and the cases interpreting the same;

                 (b)   such Person is generally able to pay its debts as they become due; or

                (c)    such Person does not have unreasonably small capital to carry on such
  Person’s business as theretofore operated and all businesses in which such Person is about to
  engage.

         “Specified Loan Party”: means any Loan Party that is not then an “eligible contract
 participant” under the Commodity Exchange Act.

         “Sponsor”: Blue Wolf Capital Fund II, L.P., a Delaware limited partnership.

        “Subordinated Debt”: up to $14,000,000 in principal amount of subordinated loans
 extended by the Subordinated Lenders to the Borrowers pursuant to the Subordinated Investment
 Agreement, subject at all times to the Intercreditor Agreement.

        “Subordinated Debt Documents”: the Subordinated Investment Agreement and the
 “Investment Documents” (as defined in the Subordinated Investment Agreement), in each case
 as amended, modified or restated from time to time as permitted by the Intercreditor Agreement.

        “Subordinated Agent”: Fidus Mezzanine Capital II, L.P., a Delaware limited partnership,
 as Collateral Agent under the Subordinated Debt Documents, and any successor thereto in such
 capacity.

         “Subordinated Investment Agreement”: the Investment Agreement dated as of Closing
 Date executed by and among the Subordinated Lender, the Subordinated Agent and the
 Borrowers, as it may be amended, modified or restated from time to time as permitted by the
 Intercreditor Agreement.

       “Subordinated Lender”: collectively, each “Lender” from time to time party to the
 Subordinated Investment Agreement.

        “Subsidiary”: as to any Person at any time of determination, a corporation, partnership,
 limited liability company or other entity of which shares of stock or other ownership interests
 having ordinary voting power (other than stock or such other ownership interests having such
 power only by reason of the happening of a contingency) to elect a majority of the board of

                                           - 22 -
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                                  Exhibit    Page 270  of 680
                               Exhibit 1-29 Page 112 of 500


 directors or other managers of such corporation, partnership or other entity are at the time
 owned, or the management of which is otherwise controlled, directly or indirectly through one or
 more intermediaries or Subsidiaries, or both, by such Person. Unless otherwise qualified, all
 references to a “Subsidiary” or to “Subsidiaries” in this Agreement shall refer to a Subsidiary or
 Subsidiaries of the Borrower.

        “Swap Obligation” means, with respect to any Loan Party, any obligation to pay or
 perform under any agreement, contract or transaction that constitutes a “swap” within the
 meaning of Section 1a(47) of the Commodity Exchange Act.

        “Sweep Agreement”: any account sweep or similar agreement entered into between the
 Lender and the Borrowers from time to time with respect to the Borrowers’ cash management,
 pursuant to which the Lender will automatically credit Revolving Loans to the Borrowers’
 general account maintained with the Lender and automatically debit repayment of Revolving
 Loans to such general account to the extent provided therein.

         “Taxes”: as defined in Section 2.14 hereof.

         “Term Loan”: as defined in Section 2.2(a).

         “Term Loan Facility”: as described in the preamble hereto.

         “Term Loan Commitment”: the commitment of a Lender listed on the signature pages
 hereof, or in an Assignment and Acceptance, to make a Term Loan, as the same may be adjusted
 pursuant to the provisions hereof.

        “Term Loan Commitment Percentage”: with respect to each Term Loan Lender, the
 percentage equivalent of the ratio which such Lender’s Term Loan Commitment bears to the
 Aggregate Term Loan Commitment.

        “Term Loan Lender”: each Lender having a Term Loan Commitment or Term Loans
 outstanding.

         “Term Note”: as defined in Section 2.2(c).

         “Term Loan Reduction Installment”: as defined in Section 2.2(d) hereof.

         “Termination Event”: (a) a Reportable Event, (b) the institution of proceedings to
 terminate a Single Employer Plan by the PBGC under Section 4042 of ERISA, (c) the
 appointment by the PBGC of a trustee to administer any Single Employer Plan or (d) the
 existence of any other event or condition that would reasonably be expected to constitute
 grounds under Section 4042 of ERISA for the termination of, or the appointment by the PBGC
 of a trustee to administer, any Single Employer Plan.

         “Total Leverage Ratio”: for the Borrowers and their Subsidiaries on a consolidated basis,
 for the fiscal quarter most recently ended and the immediately preceding three fiscal quarters, the
 ratio of Total Funded Debt as of the last day of such quarter to Adjusted EBITDA for such
 period.

                                           - 23 -
 100037025
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                                  Exhibit    Page 271  of 680
                               Exhibit 1-29 Page 113 of 500


         “Total Funded Debt”: as of any date of determination, without duplication, the sum of all
 Indebtedness of the Borrowers or any Subsidiary on such date, including the Subordinated Debt
 and any Guarantee Obligations in respect of Funded Debt, but excluding (i) Indebtedness of the
 types referred to in clause (v), (vii), (viii), and (x) of the definition of “Indebtedness” and (ii)
 Contingent Purchase Price Obligations.

         “Tranche”: the collective reference to LIBOR Loans the Interest Periods with respect to
 all of which begin on the same date and end on the same later date (whether or not such LIBOR
 Loans shall originally have been made on the same day).

       “Transaction Costs”: all legal, accounting, broker, consulting and other fees, costs and
 expenses paid by the Borrowers, in each case in connection with the closing of the transactions
 contemplated by the Loan Documents and the HCMC/DHAN Acquisition.

         “Transferee”: as defined in Section 9.6(f) hereof.

         “Type”: as to any Loan, its nature as a Base Rate Loan or a LIBOR Loan.

         “Unfinanced Capital Expenditures”: Capital Expenditures made by the Borrowers or
 their Subsidiaries using the proceeds of the issuance, sale or other disposition of Capital Stock of
 BWP or the cash flow of the Borrowers, but not the proceeds of Loans made hereunder or term
 loans made under the Subordinated Investment Agreement.

        “U.S. Person”:      any Person that is a “United States Person” as defined in
 Section 7701(a)(30) of the Code.

        1.2    Other Definitional Provisions. (a) Unless otherwise specified therein, all terms
  defined in this Agreement shall have the defined meanings when used in any other Loan
  Document or any certificate or other document made or delivered pursuant hereto or thereto.

                  (b) As used herein, in any other Loan Document, and in any certificate or
  other document made or delivered pursuant hereto or thereto, accounting terms not defined in
  Section 1.1 and accounting terms partly defined in Section 1.1, to the extent not defined, shall
  have the respective meanings given to them under GAAP. Unless otherwise provided herein,
  all financial calculations made with respect to the Borrowers for the purpose of determining
  compliance with the terms of this Agreement shall be made on a consolidated basis and in
  accordance with GAAP. For the avoidance of doubt, notwithstanding any change in GAAP
  after the Closing Date that would require lease obligations that would be treated as operating
  leases as of the Closing Date to be classified and accounted for as capital leases or otherwise
  reflected on the Borrowers’ consolidated balance sheet, such obligations shall continue to be
  excluded from the definition of Indebtedness.

                 (c)    The words “hereof,” “herein” and “hereunder” and words of similar
  import when used in this Agreement shall refer to this Agreement as a whole and not to any
  particular provision of this Agreement, and Section, subsection, Schedule and Exhibit
  references are to this Agreement unless otherwise specified. The words “include,” “includes”
  and “including” shall be deemed to be followed by the phrase “without limitation”.


                                            - 24 -
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                                  Exhibit    Page 272  of 680
                               Exhibit 1-29 Page 114 of 500


                 (d) Any financial ratios required to be maintained by the Borrowers pursuant
  to this Agreement shall be calculated by dividing the appropriate component by the other
  component, carrying the result to one place more than the number of places by which such ratio
  is expressed in this Agreement and rounding the result up or down to the nearest number (with a
  round-up if there is no nearest number) to the number of places by which such ratio is expressed
  in this Agreement.

                 (e)    The meanings given to terms defined herein shall be equally applicable to
  both the singular and plural forms of such terms.

                 (f)   References to agreements, other contractual instruments and other
  documents include all subsequent amendments and other modifications to such agreement and
  documents, but only to the extent such amendments and other modifications are not prohibited
  by the terms of any Loan Document.

                (g) Notwithstanding anything herein to the contrary, whenever any document,
  agreement or other item is required by any Loan Document to be delivered on a day that is not a
  Business Day, the due date thereof shall be extended to the next succeeding Business Day.

             SECTION 2. AMOUNT AND TERMS OF LOANS; COMMITMENT
                        AMOUNTS

        2.1    Revolving Loans; Revolving Loan Commitments. (a) Effective as of the Closing
  Date, upon satisfaction of the conditions precedent set forth in Section 4.1, all “Revolving
  Loans” (as defined in the Existing Credit Agreement) outstanding under the Existing Credit
  Agreement shall be deemed outstanding under this Agreement. All “Interest Periods” for
  “LIBOR Loans”, if any, that have commenced and are continuing under the Existing Credit
  Agreement shall be deemed to have been elected pursuant to and outstanding under this
  Agreement, in each case with the same remaining term as existing immediately prior to the
  Closing Date, notwithstanding anything to the contrary contained in this Agreement.

                 (b)    Subject to the terms and conditions hereof, each Revolving Loan Lender
  severally agrees to make loans on a revolving credit basis to the Borrowers from time to time
  from and including the Closing Date to but excluding the Revolving Loan Commitment
  Expiration Date (each a “Revolving Loan,” and collectively, the “Revolving Loans”) in
  accordance with the terms of this Agreement; provided, however, that (i) the aggregate principal
  amount of all Revolving Loans outstanding shall not exceed the lesser of Aggregate Revolving
  Loan Commitment or the Borrowing Base at any time and (ii) not more than $3,000,000 in
  Revolving Loans may be borrowed on the Closing Date. Within the limits of each Revolving
  Loan Lender’s Revolving Loan Commitment and the Borrowing Base, the Borrower may
  borrow, prepay and reborrow Revolving Loans.

         With respect to each Revolving Loan Lender, the principal amount of each Revolving
 Loan to be made by such Revolving Loan Lender shall be in an amount equal to the product of
 (i) such Revolving Loan Lender’s Revolving Loan Commitment Percentage (expressed as a
 fraction) and (ii) the total amount of the Revolving Loan(s) requested; provided that in no event
 shall any Revolving Loan Lender be obligated to make a Revolving Loan if after giving effect to


                                           - 25 -
 100037025
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Case 9:18-ap-01058-DS
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                                                                            14:56:52           Desc
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                                  Exhibit    Page 273  of 680
                               Exhibit 1-29 Page 115 of 500


 such Revolving Loan the sum of such Revolving Loan Lender’s Revolving Loans outstanding
 would exceed its Revolving Loan Commitment or is in excess of such Revolving Loan Lender’s
 Available Revolving Loan Commitment.

                 (c)    Subject to Sections 2.10 and 2.12, the Revolving Loans may from time to
  time be (i) LIBOR Loans, (ii) Base Rate Loans or (iii) a combination thereof, as determined by
  the Borrowers and notified to the Agent in accordance with the terms hereof. Notwithstanding
  any provision in this Agreement to the contrary, all Revolving Loans borrowed on the Closing
  Date shall be Base Rate Loans, unless the Agent receives a notice requesting LIBOR Loans at
  least two Business Days prior to the Closing Date.

                 (d) Each Lender shall maintain in its internal records an account or accounts
  evidencing the Indebtedness hereunder of the Borrower to such Lender, including the amounts
  of the Revolving Loans made by it and each repayment and prepayment in respect thereof. Any
  such recordation shall be conclusive and binding on the Borrower, absent manifest error;
  provided, failure to make any such recordation, or any error in such recordation, shall not affect
  any Lender’s Revolving Loan Commitment or the Borrowers’ Obligations in respect of any
  Revolving Loans; and provided further, in the event of any inconsistency between the Register
  and any Lender’s records, the recordations in the Register shall govern. If so requested by any
  Lender by written notice to the Borrower (with a copy to the Agent), the Borrower shall execute
  and deliver to such Lender a Revolving Note substantially in the form of Exhibit A-1 (a
  “Revolving Note”) to evidence such Lender’s Revolving Loans.

                 (e)    The Borrower shall give the Agent irrevocable written notice (which may
  be by e-mail to the Agent’s operations contact), substantially in the form of a Borrowing Notice
  (which notice must be received by the Agent prior to 9:00 a.m., Los Angeles time, on the
  Business Day that is the proposed borrowing date or, if all or any part of the Revolving Loans
  are requested to be made as LIBOR Loans, at least three (3) Eurodollar Business Days prior to
  the proposed borrowing date) requesting that the Revolving Loan Lenders make Revolving
  Loans on the proposed borrowing date and specifying (i) the aggregate amount of Revolving
  Loans requested to be made, (ii) subject to Sections 2.10 and 2.12, whether the Revolving
  Loans are to be LIBOR Loans, Base Rate Loans or a combination thereof and (iii) if the
  Revolving Loans are to be entirely or partly LIBOR Loans, the respective amounts of each such
  Type of Revolving Loan and the respective lengths of the initial Interest Periods therefor.
  Notwithstanding the foregoing, such notice may be given by telephone, provided it is promptly
  confirmed on the same day in writing (which may be by e-mail to the Agent’s operations
  contact) by delivery to the Agent of a written notice, substantially in the form of a Borrowing
  Notice. Upon receipt of such notice, the Agent shall promptly notify each Revolving Loan
  Lender thereof on the date of receipt of such notice. On the proposed borrowing date, not later
  than 11:00 a.m., Los Angeles time, each Revolving Loan Lender shall make available to the
  Agent the amount of such Revolving Loan Lender’s pro rata share of the aggregate borrowing
  amount (as determined in accordance with the second paragraph of Section 2.1(b)) in
  immediately available funds by wiring such amount to such account as the Agent shall specify.
  The Agent may, in the absence of notification from any Revolving Loan Lender that such
  Revolving Loan Lender has not made its pro rata share available to the Agent on such date (or,
  if each such Lender shall so have made available to the Agent such amount, the Agent shall),
  credit on such date the account of the Borrower on the books of the Agent (or credit such other

                                           - 26 -
 100037025
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     9:18-ap-01058-DS       Doc
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                                                                  06/28/19 15:36:30
                                                                           14:56:52         Desc
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                                 Exhibit    Page 274  of 680
                              Exhibit 1-29 Page 116 of 500


  account as the Borrower shall instruct the Agent in writing) with the aggregate amount of
  Revolving Loans.

                (f)     Neither the Agent nor any Revolving Loan Lender shall be responsible for
  the obligations or Revolving Loan Commitment of any other Revolving Loan Lender
  hereunder, nor will the failure of any Revolving Loan Lender to comply with the terms of this
  Agreement relieve any other Revolving Loan Lender or the Borrower of its obligations under
  this Agreement.

               (g) The Revolving Loan Commitment of each Revolving Loan Lender, and
  the Aggregate Revolving Loan Commitment, shall terminate on the Revolving Loan
  Commitment Expiration Date.

               (h) All outstanding Revolving Loans shall be due and payable on the
  Revolving Loan Commitment Expiration Date.

         2.2     Term Loans; Term Loan Commitments. Subject to the terms and conditions
  hereof, each Term Loan Lender severally agrees to make a term loan (each a “Term Loan”, and
  collectively, the “Term Loans”) to the Borrowers on the Closing Date in an aggregate principal
  amount equal to the amount of the Term Loan Commitment of such Term Loan Lender. After
  the funding of the Term Loans on the Closing Date, the Term Loan Commitments shall expire.

                 (b) Subject to Sections 2.10 and 2.12, the Term Loans may from time to time
  be (i) LIBOR Loans, (ii) Base Rate Loans or (iii) a combination thereof, as determined by the
  Borrowers and notified to the Agent in accordance with the terms hereof. Notwithstanding any
  provision in this Agreement to the contrary, all Term Loans borrowed on the Closing Date shall
  be Base Rate Loans, unless the Agent receives a notice requesting LIBOR Loans at least two
  Business Days prior to the Closing Date.

                  (c)    Each Term Loan Lender shall maintain in its internal records an account
  or accounts evidencing the Indebtedness of the Borrowers to such Lender, including the amount
  of the Term Loan made by it and each payment, repayment and prepayment in respect thereof.
  Any such recordation shall be prima facie evidence thereof; provided, failure to make any such
  recordation, or any error in such recordation, shall not affect the Borrowers’ Obligations in
  respect of any Term Loans. If so requested by any Lender by written notice to the Borrowers
  (with a copy to the Agent) the Borrowers shall execute and deliver to such Lender a Term Note
  substantially in the form of Exhibit A-2 (a “Term Note”) to evidence such Lender’s Term Loan.

                (d) On each date set forth below, the Borrower shall repay the principal of the
  Term Loans in an aggregate amount equal to the corresponding amount set forth below (each
  such amount a “Term Reduction Installment”):

                      December 31, 2013               $387,500

                      March 31, 2014                  $387,500
                      June 30, 2014                   $387,500
                      September 30, 2014              $387,500
                      December 31, 2014               $581,250

                                          - 27 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                                   06/28/19 15:36:30
                                                                            14:56:52          Desc
                                                                                              Desc
                                  Exhibit    Page 275  of 680
                               Exhibit 1-29 Page 117 of 500



                       March 31, 2015                  $581,250
                       June 30, 2015                   $581,250
                       September 30, 2015              $581,250
                       December 31, 2015               $775,000

                       March 31, 2016                  $775,000
                       June 30, 2016                   $775,000
                       September 30, 2016              $775,000
                       December 31, 2016               $775,000

                       March 31, 2017                  $775,000
                       June 30, 2017                   $775,000
                       September 30, 2017              $775,000
                       December 31, 2017               $968,750

                       March 31, 2018                  $968,750
                       June 30, 2018                   $968,750

 provided, that the final Term Reduction Installment shall be due on the Term Loan Maturity Date
 and shall be in an amount equal to all principal and interest outstanding with respect to the Term
 Loans. The aggregate amount payable to any Term Loan Lender on any date set forth in this
 Section 2.2(d) shall be determined in accordance with the provisions of Section 2.11.

                 (e)   The Borrower shall give the Agent irrevocable written notice, substantially
  in the form of a Borrowing Notice (which notice must be received by the Agent prior to 10:00
  a.m., Los Angeles time, one Business Day prior to the requested borrowing date) requesting that
  the Term Loan Lenders make the Term Loans in accordance with their respective Term Loan
  Commitments on such borrowing date.

                 (f)   Neither the Agent nor any Term Loan Lender shall be responsible for the
  obligations or Term Loan Commitment of any other Term Loan Lender hereunder, nor will the
  failure of any Term Loan Lender to comply with the terms of this Agreement relieve any other
  Term Loan Lender or the Borrower of its obligations under this Agreement.

         2.3   CapEx Term Loans; CapEx Commitment.             (a) Subject to the terms and
  conditions hereof, each CapEx Lender severally agrees to make terms loans (each, a “CapEx
  Term Loan” and collectively the “CapEx Term Loans”) to the Borrowers from time to time
  from and including the Closing Date to but excluding the CapEx Commitment Expiration Date
  for its use in making Capital Expenditures and consummating Permitted Acquisitions in
  accordance with the terms of this Agreement; provided, however, that (1) the aggregate
  principal amount of CapEx Term Loans outstanding shall not exceed the CapEx Term Loan
  Commitment, and (2) each CapEx Term Loan shall be in the minimum principal amount of
  $200,000. The CapEx Term Loan Commitment shall terminate on the CapEx Commitment
  Expiration Date.



                                           - 28 -
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                                  Exhibit    Page 276  of 680
                               Exhibit 1-29 Page 118 of 500


                  (b) Subject to Sections 2.10 and 2.12, the CapEx Term Loans may from time
  to time be (i) LIBOR Loans, (ii) Base Rate Loans or (iii) a combination thereof, as determined
  by the Borrowers and notified to the Agent in accordance with the terms of this Agreement. No
  CapEx Term Loans shall be available for borrowing on the Closing Date.

                 (c)   Each Lender shall maintain in its internal records an account or accounts
  evidencing the Indebtedness of the Borrowers to such Lender, including the amount of the
  CapEx Term Loans made by it and each payment, repayment and prepayment in respect thereof.
  Any such recordation shall be prima facie evidence thereof; provided, failure to make any such
  recordation, or any error in such recordation, shall not affect the Borrowers’ Obligations in
  respect of any CapEx Term Loans. If so requested by any Lender by written notice to the
  Borrowers (with a copy to the Agent) the Borrowers shall execute and deliver to such Lender a
  CapEx Term Note substantially in the form of Exhibit A-3 (a “CapEx Term Note”) to evidence
  such Lender’s CapEx Term Loans.

                 (d) The Borrower shall give the Agent irrevocable written notice (which may
  be by e-mail to the Agent’s operations contact), substantially in the form of a Borrowing Notice
  (which notice must be received by the Agent prior to 9:00 a.m., Los Angeles time, on the
  Business Day preceding the proposed borrowing date or, if all or any part of the CapEx Loans
  are requested to be made as LIBOR Loans, at least three (3) Eurodollar Business Days prior to
  the proposed borrowing date) requesting that the CapEx Loan Lenders make CapEx Loans on
  the proposed borrowing date and specifying (i) the aggregate amount of CapEx Loans requested
  to be made, (ii) subject to Sections 2.10 and 2.12, whether the CapEx Loans are to be LIBOR
  Loans, Base Rate Loans or a combination thereof, (iii) if the CapEx Loans are to be entirely or
  partly LIBOR Loans, the respective amounts of each such Type of CapEx Loan and the
  respective lengths of the initial Interest Periods therefor, and (iv) the equipment to be purchased
  (and attaching the invoice therefor), or the Permitted Acquisition to be consummated, with the
  CapEx Term Loan. Upon receipt of such notice, the Agent shall promptly notify each CapEx
  Loan Lender thereof on the date of receipt of such notice. On the proposed borrowing date, not
  later than 11:00 a.m., Los Angeles time, each CapEx Loan Lender shall make available to the
  Agent the amount of such CapEx Loan Lender’s pro rata share of the aggregate borrowing
  amount in immediately available funds by wiring such amount to such account as the Agent
  shall specify. The Agent may, in the absence of notification from any CapEx Loan Lender that
  such CapEx Loan Lender has not made its pro rata share available to the Agent on such date (or,
  if each such Lender shall so have made available to the Agent such amount, the Agent shall),
  credit the account of the Borrower on the books of the Agent (or credit such other account as the
  Borrowers shall instruct the Agent in writing) with the aggregate amount of CapEx Loans.

                   (e)  On the CapEx Commitment Expiration Date, the aggregate principal
  amount of all outstanding CapEx Term Loans shall be considered a single term loan (the
  “Combined CapEx Term Loan”) and shall thereafter amortize as follows, with principal
  payments shall be due in equal quarterly installments (each such amount a “CapEx Term
  Reduction Installment”), on the last Business Day of each fiscal quarter, commencing on
  December 31, 2015: (i) the first four such Installments shall each be in the principal amount
  necessary to cause 5.0% of the Combined CapEx Term Loan to amortize during such 4-quarter
  period; (ii) the second four such Installments shall each be in the principal amount necessary to
  cause 7.5% of the Combined CapEx Term Loan to amortize during such 4-quarter period; and

                                            - 29 -
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 277  of 680
                               Exhibit 1-29 Page 119 of 500


  (iii) the third four such Installments shall each be in the principal amount necessary to cause
  10.0% of the Combined CapEx Term Loan to amortize during such 4-quarter period. The
  remaining principal balance of all outstanding CapEx Term Loans shall be due and payable on
  the CapEx Term Loan Maturity Date. No portion of any CapEx Term Loan repaid hereunder
  shall be available for re-borrowing.

                 (f)    Neither the Agent nor any other Lender shall be responsible for the
  obligations or CapEx Commitment of any other Lender hereunder, nor will the failure of any
  CapEx Lender to comply with the terms of this Agreement relieve any other Lender or the
  Borrowers of its obligations under this Agreement.

          2.4    Optional Prepayments. The Borrowers may, at any time and from time to time,
 subject to Section 2.15, prepay the Loans, in whole or in part, without premium or penalty, upon
 at least three Business Days’ irrevocable written notice in the case of LIBOR Loans and upon at
 least one Business Day’s irrevocable written notice in the case of Base Rate Loans, from the
 Borrowers to the Agent, specifying the date and amount of prepayment, and whether the
 prepayment is of LIBOR Loans, Base Rate Loans or a combination thereof and, if of a
 combination thereof, the amount allocable to each. Upon receipt of any such notice from the
 Borrowers, the Agent shall promptly notify each Lender thereof. If any such notice is given, the
 amount specified in such notice shall be due and payable by the Borrowers on the date specified
 therein, together with accrued interest to such date on the amount prepaid. Each prepayment of
 Term Loans under this Section 2.4 shall be applied to the remaining Term Loan Reduction
 Installments in the order specified by the Borrowers in their written notice of prepayment;
 provided that if no order is so specified, the prepayment will be applied to the remaining Term
 Loan Reduction Installments in inverse order of maturity. Each prepayment of CapEx Term
 Loans under this Section 2.4 shall be applied to the remaining CapEx Term Loan Reduction
 Installments in the order specified by the Borrowers in their written notice of prepayment;
 provided that if no order is so specified, the prepayment will be applied to the remaining CapEx
 Term Loan Reduction Installments in inverse order of maturity. No CapEx Term Loans prepaid
 under this Section 2.4 shall be available for re-borrowing. Partial prepayments of Loans shall be
 in the aggregate principal amount of $200,000 or an integral multiple of $100,000 in excess
 thereof, except, in each case, the outstanding amount owed with respect to the Loans is less than
 such amount, in which case such minimum amounts shall not apply.

        2.5    Mandatory Prepayments. (a) If at any time the aggregate principal amount of all
  Revolving Loans outstanding exceeds the lesser of the Aggregate Revolving Loan Commitment
  and the Borrowing Base, then the Borrowers shall immediately, without notice or request by the
  Agent, prepay the Revolving Loans in an aggregate amount equal to such excess.

                  (b) Within five Business Days of receipt by the Borrowers or any of their
  Subsidiaries of any Net Proceeds of an Asset Disposition, the Borrowers shall prepay the Loans
  in an amount equal to 100% of such Net Proceeds; provided that, so long as no Event of Default
  has occurred and is continuing, no prepayment shall be required with respect to an Asset
  Disposition to the extent that, within 90 days following such Asset Disposition, such Net
  Proceeds are used to repair or restore the assets disposed of, or to replace the assets disposed of
  with assets of the same or similar type and use as those disposed of, or to acquire other assets or
  property necessary or useful to the Borrowers’ or any Subsidiary’s business (as reasonably

                                            - 30 -
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                  Exhibit    Page 278  of 680
                               Exhibit 1-29 Page 120 of 500


  determined by the Borrowers) and provided that the Agent shall have a first-priority Lien
  thereon (subject to the Liens permitted by Section 6.3), provided further that the Borrowers
  notify the Agent of the Borrowers’ or such Subsidiary’s intent to reinvest and of the completion
  of such reinvestment at the time such proceeds are received and when such reinvestment occurs,
  respectively. On or prior to the date such prepayment is to be made, the Borrowers agree to
  provide the Agent with calculations used by the Borrowers in determining the amount of any
  such prepayment under this Section 2.5(b).

                 (c)   Within five Business Days of receipt by the Borrowers or any of its
  Subsidiaries of any Net Proceeds with respect to a Debt Offering, the Borrowers shall prepay
  the Loans in an amount equal to 100% of the Net Proceeds of such Debt Offering. On or prior
  to the date such prepayment is to be made, the Borrowers agree to provide the Agent with
  calculations used by the Borrowers in determining the amount of any such prepayment under
  this Section 2.5(c). Nothing in this Section 2.5(c) shall be deemed to constitute a waiver to or
  modification of Section 6.2.

                 (d) Within five Business Days of receipt by the Borrowers or any of its
  Subsidiaries of any Net Proceeds with respect to an Equity Offering, the Borrowers shall prepay
  the Loans in an amount equal to 100% of the Net Proceeds of such Equity Offering. On or prior
  to the date such prepayment is to be made, the Borrowers agree to provide the Agent with
  calculations used by the Borrowers in determining the amount of any such prepayment under
  this Section 2.5(d). Nothing in this Section 25.(d) shall be deemed to constitute a waiver or
  modification of Section 7.1(j).

                  (e)   If any Loan Party receives casualty or property insurance proceeds or
  condemnation proceeds aggregating more than $100,000 (or in any amount after the occurrence
  and during the continuance of an Event of Default) with respect to any damage, destruction or
  other loss of or to property which proceeds are not fully applied (or contractually committed)
  toward the repair or replacement of such damaged or condemned property by the earlier of (i)
  90 days after the receipt thereof and (ii) the occurrence of an Event of Default, within three
  Business Days thereof, the Borrowers shall prepay the Loans in an amount equal to the amount
  of such proceeds not so applied. The Borrowers shall give the Agent prompt written notice of
  all casualty or property insurance and condemnation proceeds received by any Loan Party on or
  after the Closing Date in excess of $50,000 per occurrence.

                 (f)    In the event that for any fiscal year of the Borrowers ending on or after
  December 31, 2014, there shall exist Excess Cash Flow with respect to such fiscal year, then on
  the earlier of (i) ten Business Days after receipt by the Borrowers of the audited financial
  statements of the Borrowers for such fiscal year and (ii) May 15, the Borrowers shall prepay the
  Loans in an amount equal to 50% of such Excess Cash Flow. On or prior to the date of any
  prepayment required by this Section 2.5(f), the Borrowers agree to provide the Agent with the
  calculations used by the Borrowers in determining the amount of any such prepayment.

                 (g) Each prepayment of the Loans pursuant to Sections 2.5(b), (c), (e) and (f)
  shall be applied first, to the outstanding principal balance of Term Loans, second, to the
  outstanding principal balance of the CapEx Term Loans and third, to the outstanding principal
  balance of Revolving Loans. Each prepayment of the Loans pursuant to Section 2.5(d) shall be

                                           - 31 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                                                   06/28/19 15:36:30
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                                  Exhibit    Page 279  of 680
                               Exhibit 1-29 Page 121 of 500


  applied first, to the outstanding principal balance of Revolving Loans, second, to the
  outstanding principal balance of the Term Loans and third, to the outstanding principal balance
  of CapEx Term Loans. Any prepayment proceeds remaining after application of such
  prepayment in accordance with the terms hereof shall, so long as no Default has occurred and is
  continuing, be returned to the Borrowers. Each prepayment under this Section 2.5 shall be
  accompanied by payment in full of all accrued interest and, if applicable, accrued commitment
  fees thereon to and including the date of such prepayment, together with any additional amounts
  owing pursuant to Section 2.15. Each prepayment of Term Loans under this Section 2.5 shall
  be applied to the remaining Term Reduction Installments on a pro rata basis, and no such
  amounts shall be available for reborrowing. Each prepayment of CapEx Term Loans under this
  Section 2.5 shall be applied to the remaining CapEx Term Reduction Installments on a pro rata
  basis, and no such amounts shall be available for reborrowing.

         2.6    Conversion and Continuation Options.

                 (a)    The Borrowers may elect from time to time to convert LIBOR Loans to
  Base Rate Loans, by the Borrowers giving the Agent at least two Business Days’ prior
  irrevocable written notice of such election pursuant to a Continuation Notice, provided that any
  such conversion of LIBOR Loans may only be made on the last day of an Interest Period with
  respect thereto. The Borrowers may elect from time to time to convert Base Rate Loans to
  LIBOR Loans by the Borrowers giving the Agent at least three Eurodollar Business Days’ prior
  irrevocable written notice of such election pursuant to a Continuation Notice. Any such notice
  of conversion to LIBOR Loans shall specify the length of the initial Interest Period or Interest
  Periods therefor. All or any part of outstanding LIBOR Loans and, subject to Sections 2.10 and
  2.12, Base Rate Loans, may be converted as provided herein, provided that (i) any such
  conversion may only be made if, after giving effect thereto, Section 2.7 shall not have been
  contravened, (ii) no such Loan may be converted into a LIBOR Loan after the date that is one
  month prior to the Maturity Date and (iii) unless the Agent shall otherwise agree in writing, the
  Borrowers shall not have the right to elect to continue at the end of the applicable Interest
  Period, or to convert to, a LIBOR Loan if an Event of Default shall have occurred and be
  continuing.

                  (b) Any LIBOR Loan may be continued as such upon the expiration of the
  then current Interest Period with respect thereto by the Borrowers giving notice to the Agent, in
  accordance with the applicable provisions of the term “Interest Period” set forth in Section 1.1,
  of the length of the next Interest Period to be applicable to such LIBOR Loan, provided that no
  LIBOR Loan may be continued as such (i) if, immediately after giving effect thereto,
  Section 2.7 would be contravened, (ii) after the date that is one month prior to the Maturity Date
  or (iii) unless the Agent shall otherwise agree in writing, if an Event of Default shall have
  occurred and be continuing and provided, further, that if the Borrowers shall fail to give any
  required notice as described above in this Section 2.6 or if such continuation is not permitted
  pursuant to the preceding proviso, such Loans shall be automatically converted to Base Rate
  Loans on the last day of such then-expiring Interest Period.

        2.7    Minimum Amounts of Tranches; Minimum Borrowings. All borrowings,
 conversions and continuations of LIBOR Loans hereunder and all selections of Interest Periods
 hereunder shall be in such amounts and be made pursuant to such elections so that, after giving

                                           - 32 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                                                    06/28/19 15:36:30
                                                                             14:56:52            Desc
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                                   Exhibit    Page 280  of 680
                                Exhibit 1-29 Page 122 of 500


 effect thereto, the aggregate principal amount of the Loans comprising each Tranche shall be
 equal to $250,000 or a whole multiple of $100,000 in excess thereof and, in any case, there shall
 not be more than seven Tranches. All borrowings of Base Rate Loans shall be in a minimum
 amount of $250,000 or a whole multiple of $100,000 in excess thereof.

         2.8    Interest Rates and Payment Dates.

                 (a)    Each Loan shall (i) if a LIBOR Loan, bear interest for each day during
  each Interest Period with respect thereto at a rate per annum equal to the LIBOR Adjusted Rate
  plus the Applicable Margin and (ii) if a Base Rate Loan, bear interest at a rate per annum equal
  to the Base Rate plus the Applicable Margin.

                 (b) If any Event of Default shall have occurred and be continuing, all amounts
  outstanding hereunder shall, at the written election of the Required Lenders, bear interest at a
  rate per annum equal to the rate determined pursuant to Section 2.8(a) plus 2% per annum, from
  the date of the occurrence of such Event of Default until such Event of Default is no longer
  continuing (after as well as before judgment).

                (c)   Interest shall be payable in arrears on each Interest Payment Date;
  provided, however, that interest accruing pursuant to paragraph (b) of this Section 2.8 shall be
  payable on demand.

                  (d) For purposes of determining the Applicable Margin, subject to the proviso
  in the definition thereof, interest rates on the Loans shall be calculated on the basis of the Total
  Leverage Ratio set forth in the most recent Pricing Certificate received by the Agent. A Pricing
  Certificate may be delivered to the Agent by the Borrowers no more frequently than quarterly,
  and shall be accompanied by the financial statements and other deliveries referred to in Section
  5.1(b) and 5.2(a) for the quarter then most-recently ended. For accrued and unpaid interest only
  (no changes being made for interest payments previously made), changes in interest rates on the
  Loans attributable to changes in the Applicable Margin caused by changes in the Total Leverage
  Ratio shall be calculated upon the delivery of a Pricing Certificate, and such change shall be
  effective with respect to Base Rate Loans and LIBOR Loans from the day which is five
  Business Days after receipt by the Agent of such Pricing Certificate. If, for any reason, the
  Borrowers shall fail to deliver a Pricing Certificate within 45 days following the end of its fiscal
  quarter at any time when the Total Leverage Ratio has increased, or shall fail to deliver a
  Covenant Compliance Certificate when due in accordance with Section 5.2(a), and such failure
  shall continue for a period of ten days, then the Leverage Level shall be deemed to be Leverage
  Level 1 retroactive to the date on which the Borrowers should have delivered such Pricing
  Certificate or Covenant Compliance Certificate, and shall continue until a Pricing Certificate or
  Covenant Compliance Certificate indicating a different Leverage Level is delivered to the
  Agent.

         2.9    Computation of Interest and Fees. Interest on Base Rate Loans shall be calculated
 on the basis of a year of 365/366 days, for the actual days elapsed, and interest on LIBOR Loans
 and all other Obligations shall be calculated on the basis of a year of 360 days, for the actual
 days elapsed. Each determination of an interest rate by the Agent pursuant to any provision of



                                            - 33 -
 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
                                                            Entered 03/31/20
                                                                    06/28/19 15:36:30
                                                                             14:56:52            Desc
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                                   Exhibit    Page 281  of 680
                                Exhibit 1-29 Page 123 of 500


 this Agreement shall be conclusive and binding on the Borrowers and the Lenders in the absence
 of manifest error.

         2.10 Inability to Determine Interest Rate. In the event that, prior to the first day of any
 Interest Period, (a) the Agent shall have reasonably determined (which determination shall be
 conclusive and binding upon the Borrowers absent manifest error) that, by reason of
 circumstances affecting the relevant market, adequate and reasonable means do not exist for
 ascertaining the LIBOR Adjusted Rate for such Interest Period or (b) the Agent shall have
 received notice from the Required Lenders providing that the LIBOR Adjusted Rate determined
 or to be determined for such Interest Period will not adequately and fairly reflect the cost to such
 Lenders (as conclusively certified by such Lenders) of making or maintaining their affected
 Loans during such Interest Period, the Agent shall give email, telecopy or telephonic notice
 thereof to the Borrowers and the Lenders as soon as practicable thereafter. If such notice is
 given, (i) any LIBOR Loans requested to be made after such notice is given on the first day of
 such Interest Period shall accrue interest at the Base Rate, (ii) Loans that were to have been
 converted after such notice is given on the first day of such Interest Period to LIBOR Loans shall
 be continued as Base Rate Loans and (iii) any outstanding LIBOR Loans shall be converted, on
 the last day of the current Interest Period, to Base Rate Loans. Until such notice has been
 withdrawn by the Agent (which Agent agrees to promptly withdraw such notice as soon as
 clauses (a) and (b) in the first sentence of this Section 2.10 no longer apply), no further LIBOR
 Loans shall be made or continued as such, nor shall the Borrowers have the right to convert Base
 Rate Loans to LIBOR Loans.

         2.11 Pro Rata Treatment and Payments. Each payment (including each prepayment)
 by the Borrowers on account of principal of and interest on the Loans shall be made pro rata
 according to the respective Revolving Loan Commitment Percentages, Term Loan Commitment
 Percentages and CapEx Term Loan Commitment Percentages, as applicable, then held by the
 Lenders. All payments (including prepayments) to be made by the Borrowers hereunder,
 whether on account of principal, interest, fees or otherwise, shall be made without setoff,
 deduction or counterclaim and shall be made prior to 11:00 a.m., Los Angeles time, on the due
 date thereof to the Agent, for the account of the Lenders, at its office specified in Section 9.2, in
 Dollars and in immediately available funds. The Agent shall distribute such payments to the
 applicable Lenders promptly upon receipt in like funds as received. If any payment hereunder
 (other than payments on the LIBOR Loans) becomes due and payable on a day other than a
 Business Day, such payment shall be extended to the next succeeding Business Day, and, with
 respect to payments of principal, interest thereon shall be payable at the then applicable rate
 during such extension. If any payment on a LIBOR Loan becomes due and payable on a day
 other than a Eurodollar Business Day, the maturity thereof shall be extended to the next
 succeeding Eurodollar Business Day (and interest shall continue to accrue thereon at the
 applicable rate) unless the result of such extension would be to extend such payment into another
 calendar month, in which event such payment shall be made on the immediately preceding
 Eurodollar Business Day. Each Borrower authorizes the Agent to debit any of its bank accounts
 with the Agent or make a draw of Revolving Loans for the purpose of effecting payment when
 due of principal, interest or, to the extent not paid as set forth herein, costs and expenses payable
 by the Borrowers under the Loan Documents.



                                            - 34 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
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                                                                    06/28/19 15:36:30
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                                   Exhibit    Page 282  of 680
                                Exhibit 1-29 Page 124 of 500


         2.12 Illegality. Notwithstanding any other provision herein, if any change after the
 Closing Date in any Requirement of Law or in the interpretation or application thereof shall
 make it unlawful for any Lender to maintain LIBOR Loans as contemplated by this Agreement,
 upon written notice to the Borrowers, (a) the commitment of such Lender hereunder to continue
 LIBOR Loans as such and convert Base Rate Loans to LIBOR Loans shall forthwith be
 suspended during such period of illegality and (b) the Loans of such Lender then outstanding as
 LIBOR Loans, if any, shall be converted automatically to Base Rate Loans on the respective last
 days of the then current Interest Periods with respect to such Loans or within such earlier period
 as required by law. If any such conversion of a LIBOR Loan occurs on a day which is not the
 last day of the then current Interest Period with respect thereto, the Borrowers shall pay to such
 Lender such amounts, if any, as may be required pursuant to Section 2.15. To the extent that a
 Lender’s LIBOR Loans have been converted to Base Rate Loans pursuant to this Section 2.12,
 all payments and prepayments of principal that otherwise would be applied to such Lender’s
 LIBOR Loans shall be applied instead to its Base Rate Loans.

         2.13   Increased Costs. (a) In the event that any Change in Law:

                 (i)    shall impose, modify or hold applicable any reserve, special deposit,
         compulsory loan or similar requirements against assets held by, letters of credit issued by,
         deposits or other liabilities in or for the account of, advances, loans or other extensions of
         credit by, or any other acquisition of funds by, any office of such Lender which is not
         otherwise included in the determination of the LIBOR Adjusted Rate hereunder; or

                (ii)    shall impose on such Lender any other condition;

 and the result of any of the foregoing is to increase the cost to any Lender of converting into,
 continuing or maintaining LIBOR Loans, or to reduce any amount of principal or interest
 receivable hereunder in respect of any LIBOR Loans, in any case by an amount which such
 Lender deems to be material, then, in any such case, the Borrowers shall pay to the Agent, on
 behalf of such Lender, within three Business Days after written demand of the Agent, any
 additional amounts necessary to compensate such Lender for such increased cost or reduced
 amount receivable. If any Lender becomes entitled to claim any additional amounts pursuant to
 this Section 2.13, it shall promptly notify the Borrowers in writing of the event by reason of
 which it has become so entitled. A certificate as to any additional amounts payable pursuant to
 this Section 2.13 submitted by the Agent, or such Lender through the Agent, to the Borrowers,
 which (A) shall be delivered by the Agent or such Lender at least five Business Days prior to the
 due date of any amounts payable pursuant to this Section 2.13 and (B) shall demonstrate in
 reasonable detail the computation of such amounts, shall be conclusive evidence of the accuracy
 of the information so recorded, absent manifest error. This covenant shall survive the
 termination of this Agreement and the payment of all Obligations.

                 (b) If, after the date of this Agreement, any Change in Law shall affect the
  amount of capital required or expected to be maintained by any Lender or any corporation
  controlling any Lender, and such Lender (taking into consideration such Lender’s or such
  corporation’s policies with respect to capital adequacy) reasonably determines that the amount
  of capital maintained by such Lender or such corporation which is attributable to or based upon
  the Loans or this Agreement must be increased as a consequence of such Change in Law by an

                                             - 35 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                                            Entered 03/31/20
                                                                    06/28/19 15:36:30
                                                                             14:56:52             Desc
                                                                                                  Desc
                                   Exhibit    Page 283  of 680
                                Exhibit 1-29 Page 125 of 500


  amount deemed by such Lender to be material, then, within five Business Days after written
  demand of the Agent, the Borrowers shall pay to the Agent, for the account of such Lender,
  additional amounts sufficient to compensate such Lender or such corporation for the increased
  costs to such Lender or corporation of such increased capital, provided that the Borrowers shall
  not be required to compensate such Lender or such corporation pursuant to this Section 2.13(b)
  for any increased costs incurred more than 210 calendar days prior to the date the Borrowers
  receipt of such demand. Any such demand shall be accompanied by a certificate of such Agent
  setting forth in reasonable detail the computation of any such increased costs, which certificate
  shall be conclusive, absent manifest error. The obligations of the Borrowers under this
  Section 2.13(b) shall survive the termination of this Agreement and the payment of all
  Obligations.

         2.14 Taxes. (a) All payments made by the Borrowers in respect of the Obligations
  shall be made free and clear of, and without deduction or withholding for or on account of, any
  present or future income, stamp or other taxes, levies, imposts, duties, charges, fees, deductions
  or withholdings, now or hereafter imposed, levied, collected, withheld or assessed by any
  Governmental Authority or any political subdivision or taxing authority thereof or therein,
  including any interest, additions to tax, penalties or other liabilities applicable thereto (all such
  items being referred to as “Taxes”), other than Excluded Taxes. If any Taxes are required to be
  withheld from any amounts payable to the Agent or any Lender in respect of the Obligations,
  then the applicable withholding agent shall be entitled to make such deduction or withholding
  and shall timely pay the full amount deducted or withheld to the relevant governmental
  authority in accordance with applicable law and the amounts so payable to the Agent or such
  Lender shall be increased to the extent necessary to ensure that the net amount actually received
  by the Agent or such Lender will equal the full amount the Agent or such Lender would have
  received had no such deduction or withholding for Taxes (other than Excluded Taxes) been
  required.

                 (b) Each Borrower agrees to indemnify the Agent and the Lenders for the full
  amount of Taxes but not Excluded Taxes (including any Taxes imposed or asserted by any
  Governmental Authority on amounts payable under this Section) paid by the Agent and/or any
  Lender, whether or not such Taxes were correctly or legally imposed or asserted by the relevant
  Governmental Authority. Whenever any Taxes are payable by the Borrowers, as promptly as
  possible thereafter, the Borrowers shall send to the Agent a copy of an original official receipt
  received by the Borrowers showing payment thereof or such other evidence of payment
  reasonably satisfactory to the Agent. If the Borrowers fails to pay any Taxes when due to the
  appropriate taxing authority or fails to remit to the Agent the required receipts or other required
  documentary evidence, the Borrowers shall indemnify the Agent and each Lender for any
  incremental taxes, interest or penalties, except to the extent attributable to the gross negligence
  or willful misconduct of the Agent or any Lender misconduct as determined by the final non-
  appealable judgment of a court of competent jurisdiction (and related reasonable and
  documented fees and expenses of counsel) that may become payable by the Agent or any
  Lender as a result of any such failure. The agreements in this Section shall survive the
  termination of this Agreement and the payment of all Obligations.

               (c)     Each Lender shall severally indemnify the Agent, within 10 days after
  demand therefor, for (i) any Taxes attributable to such Lender (but only to the extent that the

                                             - 36 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                                   06/28/19 15:36:30
                                                                            14:56:52          Desc
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                                  Exhibit    Page 284  of 680
                               Exhibit 1-29 Page 126 of 500


  Borrowers has not already indemnified the Agent for such Taxes and without limiting the
  obligation of the Borrowers to do so), (ii) any Taxes attributable to such Lender’s failure to
  comply with the provisions of Section 9.6 relating to the maintenance of a Participant Register
  and (iii) any Excluded Taxes attributable to such Lender, in each case, that are payable or paid
  by the Agent in connection with any Loan Document, and any reasonable expenses arising
  therefrom or with respect thereto, whether or not such Taxes were correctly or legally imposed
  or asserted by the relevant governmental authority. A certificate as to the amount of such
  payment or liability delivered to any Lender by the Agent shall be conclusive absent manifest
  error. Each Lender hereby authorizes the Agent to set off and apply any and all amounts at any
  time owing to such Lender under any Loan Document or otherwise payable by the Agent to the
  Lender from any other source against any amount due to the Agent under this paragraph (c).

                  (d) (i) Any Lender (for purposes of this Section 2.14(d), the term “Lender”
  includes the Agent) that is entitled to an exemption from or reduction of withholding Tax with
  respect to payments made under any Loan Document shall deliver to the Borrowers and the
  Agent, at the time or times reasonably requested by the Borrowers or the Agent, such properly
  completed and executed documentation reasonably requested by the Borrowers or the Agent as
  will permit such payments to be made without withholding or at a reduced rate of withholding.
  In addition, any Lender, if reasonably requested by the Borrowers or the Agent, shall deliver
  such other documentation prescribed by applicable law or reasonably requested by the
  Borrowers or the Agent as will enable the Borrowers or the Agent to determine whether or not
  such Lender is subject to backup withholding or information reporting requirements.
  Notwithstanding anything to the contrary in the preceding two sentences, the completion,
  execution and submission of such documentation (other than such documentation set forth in
  Section 2.14(d) (ii)(A), (ii)(B) and (ii)(D) below) shall not be required if in the Lender’s
  reasonable judgment such completion, execution or submission would subject such Lender to
  any material unreimbursed cost or expense or would materially prejudice the legal or
  commercial position of such Lender.

                       (ii) Without limiting the generality of the foregoing,

                      (A)     any Lender that is a U.S. Person shall deliver to the Borrowers and
               the Agent on or prior to the date on which such Lender becomes a Lender under
               this Agreement (and from time to time thereafter upon the reasonable request of
               the Borrowers or the Agent), executed originals of IRS Form W-9 certifying that
               such Lender is not subject to U.S. federal backup withholding tax;

                       (B)     any Foreign Lender shall, to the extent it is legally entitled to do
               so, deliver to the Borrowers and the Agent (in such number of copies as shall be
               requested by the recipient) on or prior to the date on which such Foreign Lender
               becomes a Lender under this Agreement (and to the extent it is legally entitled to
               do so, from time to time thereafter upon the reasonable request of the Borrowers
               or the Agent), whichever of the following is applicable:


                              (i)   in the case of a Foreign Lender claiming the benefits of an
                              income tax treaty to which the United States is a party (x) with


                                           - 37 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS     Doc
                          Doc 236-1
                              156-1 Filed
                                       Filed 03/31/20
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                                                                06/28/19 15:36:30
                                                                         14:56:52           Desc
                                                                                            Desc
                               Exhibit    Page 285  of 680
                            Exhibit 1-29 Page 127 of 500


                            respect to payments of interest under any Loan Document,
                            executed originals of IRS Form W-8BEN (or any successor form)
                            establishing an exemption from, or reduction of, U.S. federal
                            withholding Tax pursuant to the “interest” article of such tax treaty
                            and (y) with respect to any other applicable payments under any
                            Loan Document, IRS Form W-8BEN (or any successor form)
                            establishing an exemption from, or reduction of, U.S. federal
                            withholding Tax pursuant to the “business profits” or “other
                            income” article of such tax treaty;

                            (ii)   executed originals of IRS Form W-8ECI (or any successor
                            form);

                            (iii)   in the case of a Foreign Lender claiming the benefits of the
                            exemption for portfolio interest under Section 881(c) of the Code,
                            (x) a certificate in form and substance acceptable to the Agent and
                            the Borrowers to the effect that such Foreign Lender is not a
                            “bank” within the meaning of Section 881(c)(3)(A) of the Code, a
                            “10 percent shareholder” of the Borrowers within the meaning of
                            Section 881(c)(3)(B) of the Code, or a “controlled foreign
                            corporation” described in Section 881(c)(3)(C) of the Code (a
                            “U.S. Tax Compliance Certificate”) and (y) executed originals of
                            IRS Form W-8BEN (or any successor form);

                            (iv)     to the extent a Foreign Lender is not the beneficial owner,
                            executed originals of IRS Form W-8IMY (or any successor form),
                            accompanied by IRS Form W-8ECI (or any successor form), IRS
                            Form W-8BEN, and such certification documents in form and
                            substance acceptable to the Borrowers and the Agent as the Agent
                            may request from each beneficial owner, as applicable; provided
                            that if the Foreign Lender is a partnership and one or more direct
                            or indirect partners of such Foreign Lender are claiming the
                            portfolio interest exemption, such Foreign Lender may provide
                            such certification documents on behalf of each such direct and
                            indirect partner; or

                            (v)    in the case of a Foreign Lender not described in clauses (i)
                            through (iv), executed originals of IRS Form W-8BEN (or any
                            successor form);

                     (C)     any Foreign Lender shall, to the extent it is legally entitled to do
             so, deliver to the Borrowers and the Agent (in such number of copies as shall be
             requested by the recipient) on or prior to the date on which such Foreign Lender
             becomes a Lender under this Agreement (and from time to time thereafter upon
             the reasonable request of the Borrowers or the Agent), executed originals of any
             other form prescribed by applicable law as a basis for claiming exemption from or
             a reduction in U.S. federal withholding Tax, duly completed, together with such

                                        - 38 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
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                                                                    06/28/19 15:36:30
                                                                             14:56:52            Desc
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                                   Exhibit    Page 286  of 680
                                Exhibit 1-29 Page 128 of 500


                supplementary documentation as may be prescribed by applicable law to permit
                the Borrowers or the Agent to determine the withholding or deduction required to
                be made; and

                        (D)    if a payment made to a Lender under any Loan Document would
                be subject to U.S. federal withholding Tax imposed by FATCA if such Lender
                were to fail to comply with the applicable reporting requirements of FATCA
                (including those contained in Section 1471(b) or 1472(b) of the Code, as
                applicable), such Lender shall deliver to the Borrowers and the Agent at the time
                or times prescribed by law and at such time or times reasonably requested by the
                Borrowers or the Agent such documentation prescribed by applicable law
                (including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such
                additional documentation reasonably requested by the Borrowers or the Agent as
                may be necessary for the Borrowers and the Agent to comply with their
                obligations under FATCA and to determine the amount to deduct and withhold
                from such payment. Solely for purposes of this clause (D), “FATCA” shall
                include any amendments made to FATCA after the date of this Agreement.

       Each Lender agrees that if any form or certification it previously delivered expires or
 becomes obsolete or inaccurate in any respect, it shall update such form or certification or
 promptly notify the Borrowers and the Agent in writing of its legal inability to do so.

                  (e)    If any party determines, in its sole discretion exercised in good faith, that
  it has received a refund of any Taxes as to which it has been indemnified pursuant to this
  Section 2.14 (including by the payment of additional amounts pursuant to this Section 2.14), it
  shall pay to the indemnifying party an amount equal to such refund (but only to the extent of
  indemnity payments made under this Section with respect to the Taxes giving rise to such
  refund), net of all out-of-pocket expenses (including Taxes) of such indemnified party and
  without interest (other than any interest paid by the relevant governmental authority with
  respect to such refund). Such indemnifying party, upon the request of such indemnified party,
  shall repay to such indemnified party the amount paid over pursuant to this paragraph (e) (plus
  any penalties, interest or other charges imposed by the relevant governmental authority) in the
  event that such indemnified party is required to repay such refund to such governmental
  authority. This paragraph shall not be construed to require any indemnified party to make
  available its Tax returns (or any other information relating to its Taxes that it deems
  confidential) to the indemnifying party or any other Person.

         2.15 Indemnity. Each Borrower agrees to indemnify each Lender and to hold each
 Lender harmless from and to pay each Lender within five Business Days of demand the amount
 of any liability, loss or expense directly arising from the reemployment of funds obtained by it or
 from fees payable to terminate the deposits from which such funds were obtained (including
 reasonable fees and expenses of counsel but excluding any loss of the interest margin on any
 such Loan) which such Lender sustains or incurs as a consequence of (a) default by the
 Borrowers in payment when due of the principal amount of or interest on any LIBOR Loan,
 (b) default by the Borrowers in making a borrowing of, conversion into or continuation of
 LIBOR Loans after the Borrowers has given a notice requesting the same in accordance with the
 provisions of this Agreement, (c) default by the Borrowers in making any prepayment after the

                                            - 39 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                06/28/19 Entered
                                                           Entered 03/31/20
                                                                   06/28/19 15:36:30
                                                                            14:56:52          Desc
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                                  Exhibit    Page 287  of 680
                               Exhibit 1-29 Page 129 of 500


 Borrowers has given a notice thereof in accordance with the provisions of this Agreement or
 (d) the making by the Borrowers of a prepayment or conversion of LIBOR Loans on a day which
 is not the last day of an Interest Period with respect thereto (including any prepayment required
 as a result of acceleration of the Loans under Section 7). Such Lender’s certificate as to such
 liability, loss or expense, provided that it sets forth a reasonably detailed calculation thereof,
 shall be deemed conclusive, absent manifest error. This covenant shall survive the termination
 of this Agreement and the payment of all Obligations.

         2.16   Fees.

                 (a)   Fees. The Borrowers shall pay to Agent, for the Agent’s own account,
  fees in the amounts and at the times set forth in a letter agreement between the Borrowers and
  the Agent dated of even date herewith (as amended, modified or restated from time to time, the
  “Fee Letter”).

                  (b) Unused Commitment Fees. The Borrowers agree to pay to the Agent, for
  the benefit of the Revolving Loan Lenders, an unused commitment fee for the period from and
  including the Closing Date to but excluding the Revolving Loan Commitment Expiration Date,
  based on the aggregate amount, for each day during such period, of the Available Revolving
  Loan Commitment, and computed at a rate equal to 0.50% per annum. The Borrowers agree to
  pay to the Agent, for the benefit of the CapEx Lenders, an unused commitment fee for the
  period from and including the Closing Date to but excluding the CapEx Commitment
  Expiration Date, based on the aggregate amount, for each day during such period, of the
  Available CapEx Term Loan Commitment, and computed at a rate equal to 0.50% per annum.
  Such unused commitment fees shall be payable in installments quarterly in arrears on the last
  Business Day of each March, June, September and December and on the Revolving Loan
  Commitment Expiration Date (in the case of the fees payable with respect to the Available
  Revolving Loan Commitment) and the CapEx Term Loan Commitment Expiration Date (in the
  case of the fees payable with respect to the Available CapEx Term Loan Commitment), as
  applicable.

         2.17   Defaulting Lenders.

                (a)  Notwithstanding anything to the contrary contained in this Agreement, if
  any Lender becomes a Defaulting Lender, then, until such time as such Lender is no longer a
  Defaulting Lender:

                 (i)    Such Defaulting Lender’s right to approve or disapprove any amendment,
         waiver or consent with respect to this Agreement shall be restricted as set forth in the
         definition of Required Lenders.

                (ii)   Any payment of principal, interest, fees or other amounts received by the
         Agent for the account of such Defaulting Lender (whether voluntary or mandatory, at
         maturity, pursuant to Section 7.1 or otherwise) or received by the Agent from a
         Defaulting Lender pursuant to Section 9.7(a) shall be applied at such time or times as
         may be determined by the Agent as follows: first, to the payment of any amounts owing
         by such Defaulting Lender to the Agent hereunder; and second, as the Borrowers may


                                           - 40 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS          Doc
                               Doc 236-1
                                   156-1 Filed
                                            Filed 03/31/20
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                                                                     06/28/19 15:36:30
                                                                              14:56:52            Desc
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                                    Exhibit    Page 288  of 680
                                 Exhibit 1-29 Page 130 of 500


         request (so long as no Default or Event of Default exists), to the funding of any Loan in
         respect of which such Defaulting Lender has failed to fund its portion thereof as required
         by this Agreement; third, if so determined by the Agent and the Borrowers, to be held in
         a deposit account with the Agent and released in order to satisfy such Defaulting
         Lender’s potential future funding obligations with respect to Loans under this
         Agreement; fourth, to the payment of any amounts owing to the Agent or the Lenders as
         a result of any judgment of a court of competent jurisdiction obtained by the Agent or any
         Lender against such Defaulting Lender; and fifth, to such Defaulting Lender or as
         otherwise directed by a court of competent jurisdiction.

                 (iii) No Defaulting Lender shall be entitled to receive any commitment fees for
         any period during which such Lender is a Defaulting Lender (and the Borrowers shall not
         be required to pay any such fee that otherwise would have been required to have been
         paid to that Defaulting Lender).

         2.18 Substitution of Lenders. If any Lender makes a claim under Section 2.12 or
 requests compensation under Section 2.13 or 2.14, or if any Lender is a Defaulting Lender, then
 the Borrowers may, at their sole expense and effort, upon notice to such Lender and the Agent,
 require such Lender to assign and delegate, without recourse (in accordance with and subject to
 the restrictions contained in, and consents required by, Section 9.6(c)), all of its interests, rights
 (other than its existing rights to payments pursuant to Section 2.13 or Section 2.14) and
 obligations under this Agreement and the related Loan Documents to a Lender that shall assume
 such obligations (which assignee may be a new Lender or an existing Lender, if an existing
 Lender accepts such assignment); provided that:

                    (a)   the Borrowers shall have paid to the Agent the assignment fee specified in
  Section 9.6(c);

                  (b) such Lender shall have received payment of an amount equal to the
  outstanding principal of its Loans, accrued interest thereon, accrued fees and all other amounts
  payable to it hereunder and under the other Loan Documents from the assignee (to the extent of
  such outstanding principal and accrued interest and fees) or the Borrowers (in the case of all
  other amounts); and

                    (c)   such assignment does not conflict with applicable law; and

         A Lender shall not be required to make any such assignment or delegation if, prior
 thereto, as a result of a waiver by such Lender or otherwise, the circumstances entitling the
 Borrowers to require such assignment and delegation cease to apply. If a Lender is so required
 to make any such assignment or delegation, it promptly shall execute and deliver to the
 applicable Person such documents as the Borrowers reasonably require to evidence such
 assignment or delegation.

         2.19 Sweep Agreement. Notwithstanding any provision hereof to the contrary, and
 subject to Section 4.2, the Borrowers authorize and direct the Agent from time to time to make
 Revolving Loans into the Borrowers’ general operating account maintained with the Agent at
 such times as are contemplated by, and otherwise in accordance with, the provisions of the


                                             - 41 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
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                                                                    06/28/19 15:36:30
                                                                             14:56:52            Desc
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                                   Exhibit    Page 289  of 680
                                Exhibit 1-29 Page 131 of 500


 Sweep Agreement. Notwithstanding any other provision of this Agreement to the contrary, each
 Loan made in accordance with the Sweep Agreement shall be a Base Rate Loan, subject to
 conversion pursuant to Section 2.6. With respect to borrowings made in accordance with the
 Sweep Agreement, no borrowing request shall be required, and the minimum amounts set forth
 herein shall be inapplicable. In the event of a conflict between the provisions of this Agreement
 and the Sweep Agreement, the provisions of this Agreement shall control.

             SECTION 3. REPRESENTATIONS AND WARRANTIES

        To induce the Agent and the Lenders to enter into this Agreement and to make the Loans,
 the Borrowers hereby represent and warrant to the Agent and the Lenders that:

         3.1     Financial Condition. (a) BWP’s (i) audited consolidated balance sheet and
  statements of operations, members’ equity and cash flows for the fiscal year ended December
  31, 2012 and (ii) unaudited balance sheet and statement of operations for the seven-month
  period ended July 31, 2013, have been prepared in accordance with GAAP applied on a
  consistent basis throughout the periods covered thereby, present fairly the financial condition
  and results of operation of each Borrower as of such dates, are correct and complete in all
  material respects on such dates, and are consistent with the books and records of each Borrower
  (which books and records are correct and complete in all material respects), and there is no
  material contingent liability or guarantee or other similar obligation which is not set forth
  therein or in the footnotes thereto.

                 (b) The pro forma balance sheet of the Borrowers as of August 31, 2013, a
  copy of which has heretofore been furnished to the Agent and the Lenders, have been prepared
  based on stated assumptions made in good faith and having reasonable basis set forth therein
  and presents fairly in all material respects the pro forma financial condition of the Borrowers as
  at such date, assuming (i) the Loans to be made on the Closing Date had been made, (ii) the
  Subordinated Debt had been incurred by the Borrowers, (iii) CTG Advanced had become a
  Borrower hereunder, (iv) the HCMC/DHAN Acquisition had been consummated on the Closing
  Date in accordance with the terms of the Acquisition Agreement and (v) all Indebtedness to be
  repaid on the Closing Date had been repaid.

                  (c)    From December 31, 2012 through the Closing Date, there has not been an
  occurrence of a “material weakness” (as defined in statement on Auditing Standards No. 60) in,
  or fraud that involves management or other employees who have a significant role in, the Loan
  Parties’ internal controls over financial reporting, in each case as described in Section 404 of the
  Sarbanes-Oxley Act of 2002 and all rules and regulations promulgated thereunder and the
  accounting and auditing principles, rules, standards and practices promulgated or approved with
  respect thereto.

                 (d) As of the Closing Date, neither (i) the board of directors (or similar
  governing body) of any Loan Party, a committee thereof or an authorized officer of any Loan
  Party has concluded that any financial statement previously furnished to the Agent or the
  Lenders should no longer be relied upon because of an error, nor (ii) has any Loan Party been
  advised by its auditors or reviewers that a previously issued audit or review report or interim
  review cannot be relied on.


                                            - 42 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
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                                                                    06/28/19 15:36:30
                                                                             14:56:52             Desc
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                                   Exhibit    Page 290  of 680
                                Exhibit 1-29 Page 132 of 500


          3.2    Corporate Existence; Compliance with Law, Etc. (a) Each Borrower and each
 Subsidiary (i) is duly organized, validly existing and in good standing under the laws of the
 jurisdiction of its organization, (ii) is duly qualified as a foreign entity and in good standing
 under the laws of each jurisdiction where its ownership, lease or operation of property or the
 conduct of its business requires such qualification, except where the failure to be so qualified
 would not have a material and adverse effect on its business or operations, (iii) is in compliance
 in all respects with all laws, rules and regulations applicable to it, and all contractual obligations
 to which it is party, the non-compliance with which in each case, could reasonably be expected
 to have a Material Adverse Effect and (iv) has the corporate, partnership or limited liability
 company power, as the case may be, and authority, and the legal right, to own and operate its
 properties, to lease the property it operates as lessee and to conduct the business in which it is
 currently engaged and in which it proposes to be engaged after the Closing Date

                  (b) Without limiting the foregoing clause (a), (i) none of the Loan Parties or
  their Affiliates is (A) in violation of any Anti-Terrorism Law, (B) engages in or conspires to
  engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, or
  attempts to violate, any of the prohibitions set forth in any Anti-Terrorism Law, or (C) is a
  Blocked Person; (ii) none of the Loan Parties or their Affiliates, (A) conducts any business or
  engages in making or receiving any contribution of funds, goods or services to or for the benefit
  of any Blocked Person, or (B) deals in, or otherwise engages in any transaction relating to, any
  property or interest in property blocked pursuant to Executive Order No. 13224, any similar
  executive order or other Anti-Terrorism Law, and (iii) neither the making of the Loans
  hereunder nor the use of the proceeds thereof will violate the PATRIOT Act, the Trading with
  the Enemy Act, as amended, the Foreign Corrupt Practices Act or any of the foreign assets
  control regulations of the United States Treasury Department (31 CFR, Subtitle B, Chapter V,
  as amended) or any enabling legislation or executive order relating thereto. The Loan Parties
  are in compliance in all material respects with the PATRIOT Act.

        3.3     Corporate Power; Authorization; Consents; Enforceable Obligations; Compliance
 with Laws.

                 (a)    The execution, delivery and performance by each Loan Party of the Loan
  Documents and the Acquisition Agreement, in each case to which it is party, are within its
  powers, have been duly authorized by all necessary action and do not contravene any applicable
  law, rule, regulation or order or any contractual restriction binding on or affecting such Loan
  Party, the contravention of which could reasonably be expected to have a Material Adverse
  Effect.

                  (b) No consent or authorization of, filing with or other act by or in respect of,
  any Governmental Authority or any other Person is required in connection with the borrowings
  hereunder or the execution, delivery and performance by the Loan Parties or the validity or
  enforceability against the Loan Parties of the Loan Documents and the Acquisition Agreement
  except for (i) any consent, authorization, filing or other act which has been made or obtained
  and is in full force and effect, (ii) any consent, authorization, filing or other act which has been
  waived, (iii) with respect to the Loan Documents, the filings required to perfect the Liens
  created by the Loan Documents and (iv) with respect to the Acquisition Agreement, non-
  material consents, except where the failure to obtain such consents, individually or in the

                                             - 43 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                06/28/19 Entered
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                                                                   06/28/19 15:36:30
                                                                            14:56:52            Desc
                                                                                                Desc
                                  Exhibit    Page 291  of 680
                               Exhibit 1-29 Page 133 of 500


  aggregate, could reasonably be expected to have a Material Adverse Effect. Each Loan
  Document and the Acquisition Agreement has been, duly executed and delivered by each Loan
  Party party thereto. This Agreement and the Acquisition Agreement constitute, and each of the
  other Loan Documents when executed and delivered will constitute, the legal, valid and binding
  obligation of each Loan Party, enforceable against it in accordance with its terms, except as
  enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
  or similar laws affecting the enforcement of creditors’ rights generally and by general equitable
  principles.

                 (c)   The subordination provisions contained in the Management Sideletter are
  enforceable against BWP and BWCP, except as enforceability may be limited by bankruptcy,
  insolvency, reorganization, moratorium or other similar laws affecting creditors’ rights
  generally, by general equitable principles or by principles of good faith and fair dealing
  (regardless of whether enforcement is sought in equity or at law).

                 (d) Each Borrower is in compliance with all applicable Requirements of Law
  in respect of the conduct of its business and the ownership and operation of its properties,
  except in each case to the extent that the failure to comply therewith, individually or in the
  aggregate, could not reasonably be expected to have a Material Adverse Effect.

         3.4    No Legal Bar. The execution, delivery and performance of this Agreement, the
 other Loan Documents and the Acquisition Agreement, and the borrowings hereunder and the
 use of the proceeds thereof, will not violate any Requirement of Law applicable to the Borrowers
 or any Subsidiary or Contractual Obligation of the Borrowers or any Subsidiary, except where
 such violations, individually or in the aggregate, could not reasonably be expected to have a
 Material Adverse Effect, and will not result in, or require, the creation or imposition of any Lien
 on any of its properties pursuant to any such Requirement of Law or such Contractual
 Obligation, except pursuant to the Loan Documents.

        3.5     No Material Litigation. There is no litigation, proceeding, labor strike,
 condemnation or other dispute pending, or, to the knowledge of each Borrower, threatened in
 writing against or affecting each Borrower or any Subsidiary or its property, (i) as of the Closing
 Date, with respect to the Loan Documents, the HCMC/DHAN Acquisition or the Acquisition
 Agreement or (ii) otherwise that could reasonably be expected to have a Material Adverse Effect.

         3.6    Ownership of Property; Liens; Condition of Properties. Except as set forth in
 Schedule 3.6, the Borrowers and the Subsidiaries have good and, as applicable, valid record title
 to all properties purported to be owned thereby, free and clear of any Liens, except those
 permitted by Section 6.3. The property and assets owned, leased or licensed by the Borrowers
 and their Subsidiaries constitute all property and assets necessary for the business of the
 Borrowers and their Subsidiaries and are in good order and repair (ordinary wear, tear and
 obsolescence excepted). Neither the Borrowers nor any Subsidiary has used any legal name at
 any time during the five years immediately preceding the execution of this Agreement, except as
 identified on Schedule 3.6. Except as set forth on Schedule 3.6, as of the Closing Date, (x) no
 Loan Party is in default or alleged to be in default with respect to any of its material obligations
 under any real property lease to which it is a party the absence of which could reasonably be
 expected to have a Material Adverse Effect, and (y) to the Borrowers’ knowledge, no counter-

                                            - 44 -
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                                  Exhibit    Page 292  of 680
                               Exhibit 1-29 Page 134 of 500


 party to any such lease is in default with respect to such party’s material obligations under any
 such lease.

        3.7    Environmental Matters. (a) Except as set forth on Schedule 3.7, (i) all real
  property owned, leased or occupied by the Borrowers or any Subsidiary, and all operations at
  such properties, are in compliance with all applicable Environmental Laws, except for such
  noncompliance as could not reasonably be expected to have a Material Adverse Effect and (ii)
  there is no contamination at, under or about such properties, which has caused or could
  reasonably be expected to cause a Material Adverse Effect.

                 (b) Except as set forth on Schedule 3.7, neither the Borrower nor any
  Subsidiary has received any notice from any Governmental Authority of violation, alleged
  violation, non-compliance, liability or potential liability regarding environmental matters or
  compliance with Environmental Laws with regard to any of such properties or the business
  conducted at such properties, nor does any Borrower have knowledge that any such notice will
  be received or is being threatened, except in each case for such notices the subject matter of
  which could not reasonably be expected to have a Material Adverse Effect.

                (c)    Except as set forth on Schedule 3.7, no judicial proceedings or
 governmental or administrative action is pending, or, to the knowledge of the Borrowers,
 threatened, under any Environmental Law to which any Loan Party is named as a party with
 respect to such properties or the business conducted at such properties, nor are there any consent
 decrees or other decrees, consent orders, administrative orders or other orders, or other
 administrative or judicial requirements outstanding under any Environmental Law with respect
 to such properties or such business, except for such proceedings, actions, decrees, orders or
 requirements as could not reasonably be expected to have a Material Adverse Effect.

         3.8     Intellectual Property. Except as set forth on Schedule 3.8, each Borrower and
 each Subsidiary owns, or is licensed to use, all trademarks, trade names, patents and copyrights
 (the “Intellectual Property”) necessary for the conduct of its business, the absence of which could
 reasonably be expected to have a Material Adverse Effect. In the event of the enforcement by
 the Agent of its rights as a secured creditor under the Loan Documents, the Agent will not be
 required to own or otherwise possess the right to use any Intellectual Property, or any license to
 use the same, in order to sell any inventory of the Loan Parties. No written claim has been
 asserted and is pending by any Person against any Loan Party challenging or questioning the use
 of any Intellectual Property by any Loan Party or the validity or effectiveness of any Intellectual
 Property owned by such Loan Party, nor do the Borrowers or the Subsidiaries know of any valid
 basis for any such claim, in each case, which could reasonably be expected to have a Material
 Adverse Effect. The use of Intellectual Property by the Borrowers and their Subsidiaries does
 not infringe in any material respect on the rights of any Person, nor, to the knowledge of the
 Borrowers, does the use by other Persons of Intellectual Property infringe in any material respect
 on the rights of the Borrowers or any Subsidiary, in each case, which could reasonably be
 expected to have a Material Adverse Effect.

         3.9     Taxes. The Borrowers and the Subsidiaries have filed or caused to be filed all
 federal, state and other material tax returns which are required to be filed by it and have paid all
 taxes shown to be due and payable on said returns or on any assessments made against it or any

                                            - 45 -
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
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                                   Exhibit    Page 293  of 680
                                Exhibit 1-29 Page 135 of 500


 of its property and all other material taxes, fees or other charges imposed on it or any of its
 property by any Governmental Authority (other than any not yet delinquent or the amount or
 validity of which are currently being contested in good faith by appropriate proceedings and with
 respect to which reserves in conformity with GAAP have been provided on the books of the
 Borrowers or such Subsidiary, as appropriate); and no tax Lien has been filed and no claim is
 being asserted against any Loan Party with respect to any material tax, fee or other charge. Such
 returns accurately reflect in all material respects all liability for taxes of the Loan Parties for the
 periods covered thereby. As of the Closing Date, there is no ongoing audit or examination or, to
 the knowledge of any Borrower, other investigation by any Governmental Authority of the tax
 liability of any of the Loan Parties and there is no material unresolved claim by any
 Governmental Authority concerning the tax liability of any Loan Party for any period for which
 tax returns have been or were required to have been filed, other than unsecured claims for which
 adequate reserves have been established in accordance with GAAP. As of the Closing Date, no
 Loan Party has waived or extended or has been requested to waive or extend the statute of
 limitations relating to the payment of any taxes.

         3.10 Federal Regulations. No Loan and no part of the proceeds thereof will be used,
 directly or indirectly, for “purchasing” or “carrying” any Margin Stock within the respective
 meanings of each of the quoted terms under Regulation U or for any purpose which violates the
 provisions of Regulations T, U or X of the Board of Governors of the Federal Reserve System or
 any provision of the Exchange Act.

         3.11   ERISA Compliance.

                 (a)      With respect to any Plan, the Borrowers, each Subsidiary and each ERISA
 Affiliate thereof, is in compliance in all respects with all applicable provisions of ERISA and the
 Code, and all rules, regulations and orders implementing ERISA, except to the extent that the
 failure to comply therewith would not, in the aggregate, reasonably be expected to have a
 Material Adverse Effect.

                (b)   Except as would not have a Material Adverse Effect, neither the
 Borrowers, nor any Subsidiary or any ERISA Affiliate thereof maintains or contributes to (or has
 maintained or contributed to) any Multiemployer Plan under which the Borrowers, any
 Subsidiary or any ERISA Affiliate thereof could reasonably be expected to have any withdrawal
 liability.

               (c)    Except as would not have a Material Adverse Effect, neither the
 Borrowers, nor any Subsidiary or any ERISA Affiliate thereof sponsors or maintains any Plan
 under which there is a material accumulated funding deficiency within the meaning of Section
 412 of the Code, whether or not waived.

                (d)   Except as would not have a Material Adverse Effect, the liability for
 accrued benefits under each Plan that will be sponsored or maintained by the Borrowers, any
 Subsidiary or any ERISA Affiliate thereof (determined on the basis of the actuarial assumptions
 utilized by the PBGC) does not exceed the aggregate fair market value of the assets under each
 such Plan.



                                             - 46 -
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     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 294  of 680
                               Exhibit 1-29 Page 136 of 500


                (e)      Except as would not have a Material Adverse Effect, there does not exist
 any material unfunded liability (determined on the basis of actuarial assumptions utilized by the
 actuary for the plan in preparing the most recent annual report) of the Borrowers, any Subsidiary
 or any ERISA Affiliate thereof under any plan, program or arrangement providing
 post-retirement, life or health benefits.

              (f)     Except as would not have a Material Adverse Effect, no Reportable Event
 and no “Prohibited Transaction” (as defined in Section 406 of ERISA or Section 4975 of the
 Code) has occurred or is occurring with respect to any plan of the Borrowers or any Subsidiary
 or any ERISA Affiliate thereof.

         3.12 Investment Company Act; Regulated Industries. No Borrower and no Subsidiary
 is (i) registered as an “investment company”, or a company “controlled” by an “investment
 company”, within the meaning of the Investment Company Act of 1940, as amended or (ii)
 subject to regulation under the Public Utility Holding Company Act of 2005, as amended, the
 ICC Termination Act of 1995, as amended, or the Federal Power Act, as amended.

         3.13 Subsidiaries. As of the Closing Date, no Borrower has any Subsidiary (other
 than, in the case of BWP, CTG, EOI and CTG Advanced and, in the case of CTG, EOI).

        3.14 Purpose of Loans. (a) The proceeds of the Revolving Loans are intended to be
  and shall be used by the Borrowers (i) to consummate the HCMC/DHAN Acquisition, including
  the payment of fees and expenses in connection therewith and (ii) for working capital and
  general corporate purposes of the Borrowers and their Subsidiaries.

               (b)     The proceeds of the Term Loans are intended to be and shall be used by
 the Borrower to (i) consummate the HCMC/DHAN Acquisition, including the payment of fees
 and expenses in connection therewith and (ii) repay on the Closing Date all Indebtedness not
 permitted by Section 6.2.

               (c)  The proceeds of the CapEx Term Loans are intended to be and shall be
 used by the Borrower for making Capital Expenditures and the consummation of Permitted
 Acquisitions.

         3.15 Accuracy and Completeness of Information. To the knowledge of the Borrowers,
 all information contained in any application, schedule, report, certificate, or any other document
 relating to the Borrowers, any Subsidiary or any property of the Borrowers or any Subsidiary
 given to the Agent or any Lender by the Borrowers or any Subsidiary (or given to any consultant,
 appraiser, accountant or other advisor by the Borrowers or any Subsidiary, which consultant,
 appraiser, accountant or other advisor has then delivered any report or other document to the
 Agent or any Lender based on such information in connection with this Agreement), and
 prepared by or on behalf of the Borrowers or any Subsidiary, in connection with the Loan
 Documents (other than financial projections), is, when taken as a whole, true, accurate and
 complete in all material respects as of the date referred to therein, and no such Person has
 omitted to state therein (or failed to include in any such document) any material fact or any fact
 necessary to make such information, when taken as a whole, not materially misleading. All
 projections given to the Agent and the Lenders by or on behalf of the Borrowers or any


                                           - 47 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 295  of 680
                               Exhibit 1-29 Page 137 of 500


 Subsidiary represent the Borrowers’ good faith estimate, on the date such projections are
 delivered, of the future performance of the Borrowers and the Subsidiaries for the periods
 covered thereby based upon assumptions believed by the Borrowers to be reasonable at the time
 of the delivery thereof to the Agent or any Lender (it being understood that such projections are
 subject to uncertainties and contingencies, many of which are beyond the control of the
 Borrowers and their Subsidiaries, that no assurances can be given that such projections will be
 realized, and that actual results may differ in a material manner from such projections).

        3.16 Real Property Assets. Schedule 3.16 sets forth all real property that, as of the
 Closing Date, is owned, leased or occupied by the Borrowers and their Subsidiaries.

        3.17 Permits, Etc. The Borrowers and their Subsidiaries have all permits, licenses,
 authorizations and approvals required for each of them lawfully to own, lease, control, manage
 and operate their properties and businesses, the absence of which could reasonably be expected
 to have a Material Adverse Effect. No condition exists or event has occurred which, in itself or
 with the giving of notice or lapse of time or both, would result in the suspension, revocation,
 impairment, forfeiture or non-renewal of any such permit, license, authorization or approval, the
 suspension, revocation, impairment, forfeiture or non-renewal thereof which could reasonably be
 expected to result in a Material Adverse Effect.

        3.18 Nature of Business. Neither the Borrowers nor any Subsidiary is engaged in any
 business other than (a) the manufacturing and sale of piezoelectric ceramics, transducers made
 from piezoelectric ceramics, and advanced sonar systems engineered from components including
 such ceramics and transducers, (b) the manufacturing, sale and engineering of advanced infrared
 and visible light spectrum test and calibration equipment, (c) the development and manufacturing
 of piezoelectric single crystals and other derivatives and similar crystal products and items, (d)
 the resale of (i) quasi-static piezo d33/d31 meters and (ii) agate mortar pestles, and (e) any
 business incident to the foregoing.

         3.19 Capital Structure and Equity Ownership. Schedule 3.19 hereto accurately and
 completely discloses, as of the Closing Date, (i) the number and classes of equity ownership
 rights and interests in the Borrowers (whether existing as common or preferred stock, general or
 limited partnership interests, or limited liability company membership interests, or warrants,
 options or other instruments convertible into such equity) and (ii) the ownership thereof. All
 such shares and interests are validly existing, fully paid and non-assessable, as applicable. As of
 the Closing Date, none of such rights and interests is subject to any Equityholder Agreement
 other than those that are set forth on Schedule 3.19.

        3.20 Insolvency. On the Closing Date, immediately after giving effect to (i) the
 funding of the Loans to be made on the Closing Date, (ii) the funding of the Subordinated Debt
 on the Closing Date, (iii) consummation of the HCMC/DHAN Acquisition on the Closing Date
 in accordance with the terms of the Acquisition Agreement, (iv) repayment of all Indebtedness to
 be repaid on the Closing Date and (v) the payment of all legal, underwriting, investment banking,
 accounting and other fees related hereto and thereto contemplated to be paid on the Closing Date,
 the Borrowers and their Subsidiaries, taken as a whole, are Solvent.




                                           - 48 -
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                  Exhibit    Page 296  of 680
                               Exhibit 1-29 Page 138 of 500


        3.21 Labor Matters. There are no strikes or labor disputes against the Borrowers or
 any Subsidiary pending, or to the Borrowers’ knowledge, threatened in writing against it or any
 Subsidiary, (i) on the Closing Date or (ii) otherwise, that could reasonably be expected to have a
 Material Adverse Effect.

         3.22 Condemnation. No taking of any of the real property owned or leased by the
 Loan Parties or any part thereof through eminent domain, conveyance in lieu thereof,
 condemnation or similar proceeding is pending or, to the knowledge of the Borrowers,
 threatened in writing by any Governmental Authority, (i) on the Closing Date or (ii) otherwise,
 that would reasonably be expected to have a Material Adverse Effect.

         3.23 No Material Adverse Effect. As of the Closing Date, there have been no Material
 Adverse Effects since December 31, 2012, and there exists no event, condition or state of facts
 that could reasonably be expected to result in a Material Adverse Effect.

             SECTION 4. CONDITIONS PRECEDENT

         4.1 Conditions to Closing Date. The agreement of the Lenders to amend and restate the
 Existing Credit Agreement on the terms set forth herein, and the agreement of each Lender to
 make the Term Loans and the Revolving Loans requested to be made by it on the Closing Date,
 if any, is subject to the satisfaction, in each case in form and substance reasonably acceptable to
 the Agent, immediately prior to or concurrently with the making of the Term Loans and any such
 Revolving Loans on the Closing Date, of the following conditions precedent:

               (a)     Credit Agreement. The Agent shall have received this Agreement,
 executed and delivered by a Responsible Officer of each Borrower and each Lender.

                (b)    Other Loan Documents. The Agent shall have received the Security
 Agreement, the Intercreditor Agreement, each Patent Security Agreement required pursuant to
 the Security Agreement, the Management Sideletter, each Landlord Consent (with regard to
 Borrowers’ properties in Bolingbrook, Illinois), and any Notes requested by any Lender to be
 issued hereunder, each duly executed and delivered by an appropriate officer of the relevant
 Loan Party or other party thereto, as applicable.

                 (c)   Incumbency Certificate. The Agent shall have received an incumbency
 certificate of each Loan Party, each dated the Closing Date, executed by an appropriate officer
 thereof.

                 (d)    Organizational Proceedings, Etc. The Agent shall have received a copy of
 the resolutions of the Board of Directors, or similar governing body, of each Loan Party
 (i) authorizing the Loan Documents to which it is or will be a party, and (ii) in the case of the
 Borrowers, authorizing the borrowings contemplated hereunder, in each case certified by an
 appropriate officer of such Loan Party, as of the Closing Date, which certificate states that the
 resolutions thereby certified have not been amended, modified, revoked or rescinded and are in
 full force and effect.

             (e)    Certain Agreements. The Agent shall have received copies of (A) the
 Organic Documents of each Loan Party, (B) the Acquisition Documents and (C) each other

                                           - 49 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                   Exhibit    Page 297  of 680
                                Exhibit 1-29 Page 139 of 500


 Material Agreement, in each case certified by an appropriate officer of the applicable Loan Party
 to be true and correct and in full force and effect.

                (f)    Costs. The Agent shall have received payment or evidence of payment by
 the Borrowers of all reasonable costs expenses (including reasonable and documented legal fees
 of counsel to the Agent), accrued and unpaid and otherwise due and payable on or before the
 Closing Date by the Borrowers pursuant to this Agreement.

                (g)    Fees. The Agent shall have received the fees to be paid on the Closing
 Date pursuant to the Fee Letter.

                 (h)    Legal Opinion. The Agent shall have received the executed legal opinion
 of Holland & Knight LLP, counsel to the Loan Parties, in form and substance reasonably
 satisfactory to the Agent and dated the Closing Date.

                (i)     Lien Searches. The Agent shall have received such UCC searches and
 other Lien searches in respect of the Loan Parties as it shall request.

                 (j)     Good Standing Certificates. The Agent shall have received, with respect
  to each Loan Party, a certificate, dated a recent date, of the Secretary of State (or other relevant
  state authority) of the state of formation of such Loan Party and each other jurisdiction where
  such Loan Party is required to be qualified to do business under such jurisdiction’s law if the
  failure to so qualify could reasonably be expected to have a Material Adverse Effect, certifying
  as to the existence and good standing of, and, if generally available in such jurisdiction, the
  payment of taxes by, such Loan Party in such state.

                (k)     [Intentionally omitted].

                (l)     No Default/Representations. No Default shall have occurred and be
 continuing on the Closing Date or would occur after giving effect to (i) the funding of the Loans
 to be made on the Closing Date, (ii) the funding of the Subordinated Debt on the Closing Date,
 (iii) consummation of the HCMC/DHAN Acquisition on the Closing Date in accordance with the
 terms of the Acquisition Agreement, (iv) repayment of all Indebtedness to be repaid on the
 Closing Date and (v) the payment of all estimated legal, underwriting, investment banking,
 accounting and other fees related hereto and thereto, and the representations and warranties
 contained in this Agreement and each other Loan Document, and the representations and
 warranties contained in each certificate delivered to the Agent by the Borrowers or any other
 Loan Party in connection with this Agreement prior to or on the Closing Date, except (x) to the
 extent such representations and warranties expressly relate to an earlier date, shall be correct in
 all material respects on and as of the Closing Date and (y) for those representations and
 warranties that are conditioned by materiality, which shall be true and correct in all respects.

               (m)      Subordinated Debt. The Agent shall have received evidence that the
 Subordinated Debt, in the principal amount of $14,000,000, has been, or concurrently with the
 Closing Date will be, funded in full in cash to the Loan Parties.

             (n)    HCMC/DHAN Acquisition. The HCMC/DHAN Acquisition shall have
 been consummated in accordance with the Acquisition Documents, and the Agent shall have

                                            - 50 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                                                            14:56:52            Desc
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                                  Exhibit    Page 298  of 680
                               Exhibit 1-29 Page 140 of 500


 received a certificate of a Responsible Officer of BWP and CTG Advanced to the effect that the
 transactions contemplated by the Acquisition Documents have been consummated without any
 material amendment, material waiver or material modification of the terms thereof (other than
 any such amendments waivers or modifications approved by the Agent).

                 (o)     Equity Investment. The Agent shall have received evidence (i) that the
  Sponsor and certain other Persons have made a cash investment in the Borrowers on the Closing
  Date in an aggregate amount not less than $13,000,000, (ii) that BWP has received a rollover
  contribution of the its existing equity holders of approximately $26,000,000, and (iii) a rollover
  equity contribution was made by the stockholders of HCMC valued at not less than $9,200,000
  (in lieu of cash proceeds to such sellers in connection with the sale of HCMC).

                 (p)     Solvency Certificate. The Agent shall have received a certificate of a
 Responsible Officer of the Borrowers to the effect that the Borrowers and their Subsidiaries are,
 taken as a whole, Solvent immediately after giving effect to (i) the funding of the Loans to be
 made on the Closing Date, (ii) the funding of the Subordinated Debt on the Closing Date, (iii)
 consummation of the HCMC/DHAN Acquisition on the Closing Date in accordance with the
 terms of the Acquisition Agreement, (iv) repayment of all Indebtedness to be repaid on the
 Closing Date and (v) the payment of all legal, underwriting, investment banking, accounting and
 other fees related hereto and thereto contemplated to be paid on the Closing Date.

                 (q)     Insurance Policies. The Agent shall have received evidence that the
 insurance policies required under Section 5.5 are in full force and effect, together with
 appropriate evidence showing the Agent as an additional named insured or loss payee, as
 appropriate, all in form and substance satisfactory to the Agent.

               (r)     Closing Covenant Compliance. The Agent shall have received a Covenant
 Compliance Certificate prepared on a pro forma basis using Adjusted EBITDA as of August 31,
 2013, assuming (i) the funding of the Loans to be made on the Closing Date, (ii) the funding of
 the Subordinated Debt on the Closing Date, (iii) consummation of the HCMC/DHAN
 Acquisition on the Closing Date in accordance with the terms of the Acquisition Agreement, (iv)
 repayment of all Indebtedness to be repaid on the Closing Date and (v) the payment of all legal,
 underwriting, investment banking, accounting and other fees related hereto and thereto
 contemplated to be paid on the Closing Date and showing a Total Leverage Ratio of less than
 4.25:1.00.

                 (s)     Borrowing Base. The Agent shall have received a Borrowing Base
 Certificate as of August 31, 2013 showing availability of at least $3,500,000 after giving effect to
 (i) the funding of the Loans to be made on the Closing Date, (ii) the funding of the Subordinated
 Debt on the Closing Date, (iii) consummation of the HCMC/DHAN Acquisition on the Closing
 Date in accordance with the terms of the Acquisition Agreement, (iv) the repayment of all
 Indebtedness to be repaid on the Closing Date and (v) the payment of all legal, underwriting,
 investment banking, accounting and other fees related hereto and thereto contemplated to be paid
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                                            - 51 -
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Case 9:18-ap-01058-DS
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                                  Exhibit    Page 299  of 680
                               Exhibit 1-29 Page 141 of 500


                 (t)   Existing Debt. The Agent shall have received evidence satisfactory to it
 that all Indebtedness of the Loan Parties not permitted by Section 6.2 has been repaid, and all
 Liens in connection therewith released.

               (u)   Funding Notice. The Agent shall have received a fully executed
 Borrowing Notice with respect to the Term Loans and any Revolving Loans to be borrowed on
 the Closing Date.

               (v)    Funds Flow. The Agent shall have received a funds flow, in form and
 substance reasonably satisfactory to the Agent, executed by a Responsible Officer of the
 Borrowers certifying as to the flow of funds between the parties to the transactions to be
 consummated on the Closing Date.

        4.2     Conditions to Each Loan. The agreement each Lender to make Loans in
 accordance with the terms of this Agreement is subject to the satisfaction, immediately prior to
 or concurrently with the making of such Loan of the following conditions precedent:

                 (a)    Representations and Warranties; No Default. The following statements
 shall be true and the Borrowers’ acceptance of the proceeds of such Loan shall be deemed to be a
 representation and warranty of the Borrowers, on the date of such Loan that:

                 (i)    The representations and warranties contained in this Agreement, each
         other Loan Document and each certificate or other writing delivered by any Loan Party to
         the Agent in connection with this Agreement or any other Loan Document, are correct on
         and as of such date in all material respects as though made on and as of such date except
         (x) to the extent that such representations and warranties expressly relate to an earlier
         date and (y) for those representations and warranties that are conditioned by materiality,
         which shall be true and correct in all respects;

               (ii)    No Default has occurred and is continuing or would result from the
         making of the Loans to be made on such date; and

                 (iii) No event shall have occurred and be continuing, and no condition shall
         exist, which could reasonably be expected to have a Material Adverse Effect.

                (b)    Legality. The making of such Loans shall not contravene, in any material
 respect, any law, rule or regulation applicable to any Lender, the Agent, the Borrowers or any
 other Loan Party.

                (c)     Borrowing Notice. The Agent shall have received a Borrowing Notice
 pursuant to the provisions of this Agreement from the Borrowers.




                                           - 52 -
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                                  Exhibit    Page 300  of 680
                               Exhibit 1-29 Page 142 of 500


               SECTION 5. AFFIRMATIVE COVENANTS

         The Borrowers hereby agrees that from and after the Closing Date, so long as any Loan
 remains outstanding and unpaid, any Commitment remains in effect or any other Obligation
 (other than contingent indemnification obligations that are not due and payable) is due and owing
 to any Lender or the Agent hereunder:

         5.1    Financial Statements. The Borrowers shall furnish to the Agent:

                 (a)    as soon as possible, but in any event within 150 days after the fiscal year
 of the Borrowers ending December 31, 2013, and 120 days after the end of each fiscal year of the
 Borrowers thereafter, a copy of the audited consolidated balance sheet of the Borrowers and their
 Subsidiaries as at the end of such year and the related audited income statement, statement of
 members’ equity and operating cash flow statement, reported on without qualification or
 exception by Grant Thornton, LLC or another firm of independent certified public accountants
 satisfactory to the Agent (and accompanied by a management letter and by a certificate signed by
 such accountants stating that the financial statements fairly present in all material respects the
 consolidated financial condition of each Borrower and its Subsidiaries as of the date thereof and
 for the period covered thereby); and

                 (b)    as soon as possible, but in any event not later than 60 days after the end of
 each fiscal quarter of the Borrowers for the first four fiscal quarters of the Borrowers after the
 date hereof, and not later than 45 days after the end of each fiscal quarter of the Borrowers
 thereafter, the unaudited consolidated balance sheet of the Borrowers and their Subsidiaries as at
 the end of such quarter and the related unaudited income statement and cash flow statement for
 such quarter and the portion of the fiscal year through the end of such quarter, such quarterly
 financial statements to include a summary of the results for such period, and including a
 comparison of the results of such period with (A) the budgeted results set forth in the budget
 delivered to the Agent prior to the Closing Date or, thereafter, referred to in Section 5.2(b), and
 (B) the same period in the prior fiscal year, all certified by the chief financial officer of each
 Borrower as being fairly stated in all material respects (subject to normal year-end audit
 adjustments and the absence of footnotes);

 all such financial statements to be complete and correct in all material respects and to be
 prepared in reasonable detail and in accordance with GAAP applied consistently throughout the
 periods reflected therein and with prior periods.

         5.2    Certificates; Other Information. The Borrowers shall:

                 (a)     furnish to the Agent, concurrently with the delivery of the financial
 statements referred to in Section 5.1(a) and (b), a Covenant Compliance Certificate with respect
 to such fiscal quarter or fiscal year, as the case may be;

                (b)     furnish to the Agent, as soon as available but in any event by (i) the 60th
 day after the commencement of the 2014 fiscal year of the Borrowers and (ii) the 30th day after
 the commencement of subsequent fiscal years of the Borrowers, a copy of the annual operating
 budget for the Borrowers and their Subsidiaries for such fiscal year, in form and detail
 reasonably satisfactory to the Agent;

                                            - 53 -
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     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 301  of 680
                               Exhibit 1-29 Page 143 of 500


               (c)   within 20 days after the end of each fiscal month of the Borrowers, a
 Borrowing Base Certificate, an accounts payable and accounts receivable agings report and an
 inventory report;

                 (d)    furnish to the Agent, within five Business Days after the same are filed,
 copies of all financial statements and material reports and notices which the Borrowers or any
 Subsidiary may make to, or file with, the Securities and Exchange Commission or any successor
 or analogous Governmental Authority;

                  (e)    furnish to the Agent promptly but, in any event within five Business Days
 after the Borrowers’ receipt thereof, copies of all final financial reports (including management
 letters), if any, submitted to the Borrowers by its accountants in connection with any annual or
 interim audit of the books thereof;

                 (f)    furnish to the Agent as soon as possible and in any event within five
 Business Days after a Responsible Officer has knowledge of (i) the occurrence of a Default or, in
 the good faith determination of a Responsible Officer of the Borrowers, a Material Adverse
 Effect or (ii) the cancellation or termination, or threatened cancellation or termination, of any
 Material Agreement, the written statement by a Responsible Officer of the Borrowers, setting
 forth, in the case of (i), the details of such Default or Material Adverse Effect and the action
 which the Borrowers proposes to take with respect thereto;

                (g)     furnish to the Agent (i) as soon as possible and in any event within five
 Business Days after the Borrowers knows that any Termination Event with respect to any Plan
 has occurred, a statement of a Responsible Officer of the Borrowers describing such Termination
 Event and the action, if any, which the Borrowers proposes to take with respect thereto, (ii)
 promptly and in any event within five Business Days after receipt thereof by the Borrowers or
 any Subsidiary from the PBGC, copies of each notice received by the Borrowers or any
 Subsidiary of the PBGC’s intention to terminate any Plan or to have a trustee appointed to
 administer any Plan, (iii) promptly and in any event within five Business Days after the filing
 thereof with the Internal Revenue Service, copies of each Schedule B (Actuarial Information) to
 the annual report (Form 5500 Series) with respect to each Single Employer Plan maintained for
 or covering employees of the Borrowers or any of its Subsidiaries if the present value of the
 accrued benefits under the Plan (determined on the basis of the actuarial assumptions used in the
 minimum funding calculations reflected on such Schedule B) exceeds its assets by an amount
 which could cause a Material Adverse Effect and (iv) promptly and in any event within five
 Business Days after receipt thereof by the Borrowers or any Subsidiary from a sponsor of a
 Multiemployer Plan or from the PBGC, a copy of each notice received by the Borrowers or any
 Subsidiary concerning the imposition or amount of withdrawal liability under Section 4202 of
 ERISA or indicating that such Multiemployer Plan may enter Reorganization status under
 Section 4241 of ERISA;

                (h)   furnish to the Agent promptly upon the Borrowers obtaining knowledge
 thereof, notice of each action, suit or proceeding before any court or other Governmental
 Authority or any arbitrator involving an amount that could reasonably be expected to have a
 Material Adverse Effect;



                                           - 54 -
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                                    Exhibit    Page 302  of 680
                                 Exhibit 1-29 Page 144 of 500


               (i)   if requested by the Agent, furnish to the Agent a statement to the effect set
 forth in Section 3.10 in conformity with the requirements of Form U-1 referred to in
 Regulation U;

                (j)     furnish to the Agent promptly such additional financial and other
 information relating to any Loan Party as the Agent or any Lender may from time to time
 reasonably request; including, without limitation, monthly financial statements of the Borrowers
 and their Subsidiaries of the type referred to in Section 5.1(b) above.

                (k)     furnish to the Agent promptly upon the receipt thereof, copies of all
 material notices received or delivered pursuant to the Subordinated Debt Documents; and

                (l)     furnish to the Agent promptly upon (and in any event within five Business
 Days after) any Responsible Officer of any Loan Party obtaining knowledge thereof, written
 notice of any of the following:

                        (i)    the receipt by any Loan Party from any Governmental Authority of
         (A) any notice asserting any failure by any Loan Party to be in compliance with
         applicable Requirements of Law or that threatens the taking of any action against any
         Loan Party or sets forth circumstances that could reasonably be expected to have a
         Material Adverse Effect, or (B) any notice of any actual or threatened suspension,
         limitation or revocation of, failure to renew, or imposition of any restraining order,
         escrow or impoundment of funds in connection with, any license, permit, accreditation or
         authorization of any Loan Party, where such action could reasonably be expected to have
         a Material Adverse Effect; and

                        (ii)   (x) any dispute with, or claim against, any person or entity for
         which any Loan Party has a claim under the Acquisition Agreement which has a
         reasonably estimated value in excess of $500,000; and (y) copies of all material notices
         and demands sent or received by any Loan Party pursuant to the Acquisition Agreement.

        5.3     Payment of Obligations. The Borrowers shall, and shall cause each of its
 Subsidiaries to, pay, discharge or otherwise satisfy at or before maturity or before they become
 delinquent, as the case may be, all its obligations of whatever nature, except (i) where the
 amount or validity thereof is currently being contested in good faith by appropriate proceedings
 and reserves in conformity with GAAP with respect thereto have been provided on the books of
 the Borrowers or such Subsidiary, as applicable, or (ii) as could not reasonably be expected to
 have a Material Adverse Effect.

         5.4     Conduct of Business and Maintenance of Existence. The Borrowers shall, and
 shall cause each of its Subsidiaries to, (i) continue to engage in business of the same general type
 as conducted by the Borrowers and their Subsidiaries as of the Closing Date or as otherwise
 permitted by Section 3.18, (ii) preserve, renew and keep in full force and effect its corporate or
 other legal existence, as applicable, (iii) maintain all rights, registrations, authorizations, licenses,
 privileges and franchises necessary in the normal conduct of its business except to the extent the
 failure to do so would not reasonably be expected to have a Material Adverse Effect, (iv) comply
 with all Contractual Obligations except for such noncompliance as would not reasonably be


                                              - 55 -
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                                  Exhibit    Page 303  of 680
                               Exhibit 1-29 Page 145 of 500


 expected to have a Material Adverse Effect, (v) pay all lawful claims which if unpaid would
 become a Lien upon any of its Properties and (vi) comply with all other Requirements of Law
 except for such noncompliance as would not reasonably be expected to have a Material Adverse
 Effect.

        5.5     Maintenance of Property; Insurance. (a) The Borrowers shall, and shall cause
  each of its Subsidiaries to, keep all property necessary to its business in good working order and
  condition (ordinary wear and tear and obsolescence excepted).

                 (b)     The Borrowers shall, and shall cause each of its Subsidiaries to, maintain
 with financially sound and reputable insurance companies or associations insurance on such of
 its property in at least such amounts and against such risks as are usually insured against in the
 same general area by companies engaged in the same or a similar business, which insurance shall
 be in the same or greater amount and the same or greater levels of coverage as in existence on
 the date hereof (other than (x) the existing environmental pollution insurance policy and (y) the
 representations and warranties insurance policy obtained by BWP in connection with the
 Acquisition Agreement); and furnish to the Agent, upon request, full information as to the
 insurance carried. All such policies of insurance (other than worker’s compensation, public
 liability, public property, directors and officers, employment practice liability and fiduciary
 liability insurance policies) shall (i) designate the Agent, on behalf of the Lenders, as additional
 insured or loss payee, as appropriate, and (ii) provide that the insurance companies will give the
 Agent at least 30 days’ (or 10 days for notice of nonpayment) prior written notice before any
 such policy or policies of insurance shall be canceled. The Borrowers shall deliver to the Agent
 insurance certificates certified by the Loan Parties’ insurance brokers as to the existence and
 effectiveness of each policy of insurance and evidence of payment of all premiums then due and
 payable therefor. In addition, the Borrowers shall notify the Agent promptly of any occurrence
 causing a material loss of any insured property and the estimated (or actual, if available) amount
 of such loss.

         5.6     Inspection of Property; Books and Records; Discussions. The Borrowers shall,
 and shall cause each Subsidiary to, keep adequate records and books of account in which full and
 correct entries in conformity with GAAP shall be made of all their financial transactions, assets
 and business; at any reasonable time and from time to time upon reasonable prior written notice
 (which in no event shall be less than five Business Days unless an Event of Default has occurred
 and is continuing), but in no event more than once per calendar quarter (or, if an Event of Default
 shall have occurred and be continuing, at such frequency as the Agent shall reasonably
 determine), permit the Agent and the Lenders or any agents or representatives thereof, to
 examine and make copies and abstracts from the records and books of account of, and visit the
 properties of, the Borrowers and the Subsidiaries, and to discuss the affairs, finances and
 accounts of each Borrower and the Subsidiaries with any of its officers and its independent
 accountants; and, once per calendar year (or more frequently if an Event of Default has occurred
 and is continuing), permit the Agent to conduct collateral audits of the Loan Parties.

        5.7     Use of Proceeds. The Borrowers will use the proceeds of the Loans as set forth in
 Section 3.14, and not for the purchasing or carrying of any Margin Stock.




                                            - 56 -
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                                  Exhibit    Page 304  of 680
                               Exhibit 1-29 Page 146 of 500


         5.8    Interest Rate Protection. The Borrowers shall not, and shall not permit any of its
 Subsidiaries to, incur any Hedging Obligation, except that the Borrowers or any Subsidiary may
 enter into any Hedging Obligation that (i) is of a non-speculative nature and (ii) is for the
 purpose of hedging the Borrowers’ or such Subsidiary’s reasonably estimated interest rate or
 currency exposure.

        5.9     Acquisition of Real Property. The Borrowers shall promptly notify the Agent of
 any fee simple real property interest to be acquired by any Loan Party for consideration in excess
 of $500,000. With respect to any real property interest of the Loan Parties, the Required Lenders
 may require that such Loan Party enter into a mortgage or deed of trust to cause any such real
 property interest to become part of the Collateral, and that the Borrowers provide to the Agent, in
 connection therewith, title insurance, a Phase I environmental site assessment report, opinions of
 counsel and such other documents as the Agent shall reasonably request with respect thereto.

         5.10 Lease and License Compliance; Landlord Consents. (a) The Borrowers shall,
  and shall cause each Subsidiary to, perform and carry out in all material respects the terms and
  provisions of all leases, licenses, permits and other occupancy agreements relating to real
  property or real property interests that are owned, leased or occupied by the Borrowers or any
  Subsidiary a default or breach under which could reasonably expect to have a Material Adverse
  Effect (the “Occupancy Agreements”).

                (b)    With respect to each property leased by any Borrower or any Subsidiary or
 any warehouse used by any Borrower or any Subsidiary, in each case where material records are
 kept or where Collateral is stored or located, the Borrowers shall cause a Landlord Consent or
 warehouse letter, in each case in form and substance reasonably acceptable to the Agent, to be
 executed by the landlord or warehouse operator thereof, and delivered to the Agent and, in the
 case of a Landlord Consent, if requested by the Agent, recorded against such property in the
 relevant real property records. Notwithstanding the foregoing, no Landlord Consent or
 warehouse letter shall be required with respect to any location at which no material records are
 kept and at which Collateral with a value of less than $100,000, as to any one location, is held.

         5.11   Environmental Laws. The Borrowers shall, and shall cause each Subsidiary to:

                (a)    comply with, and take commercially reasonable steps to ensure
 compliance by all tenants and subtenants, if any, with, all applicable Environmental Laws and
 obtain and comply with any and all licenses, approvals, notifications, registrations or permits
 required by applicable Environmental Laws except for such noncompliance or failure to obtain
 as would not reasonably be expected to have a Material Adverse Effect;

                (b)    conduct and complete all investigations, studies, sampling and testing, and
 all remedial, removal and other reasonable actions required under applicable Environmental
 Laws due to a material release of hazardous materials at the real property owned, leased or
 occupied by the Borrowers or any Subsidiary and timely comply with all orders and directives of
 all Governmental Authorities regarding such Environmental Laws, except to the extent that the
 same are being contested in good faith by appropriate proceedings; and




                                           - 57 -
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                                   Exhibit    Page 305  of 680
                                Exhibit 1-29 Page 147 of 500


                  (c)    defend, indemnify and hold harmless the Agent, each Lender, and their
 respective employees, agents, officers and directors, shareholders, successors, attorneys and
 assigns from and against any and all claims, demands, penalties, fines, liabilities, settlements,
 damages, costs and expenses of whatever kind or nature known or unknown, contingent or
 otherwise, arising out of, or in any way relating to (i) the presence of contamination on any of the
 Properties, (ii) any violation of, noncompliance with or liability under any Environmental Laws
 applicable to the operations of the Borrowers or any Subsidiary, or the Properties, or (iii) any
 orders, requirements or demands of Governmental Authorities related thereto, including
 reasonable attorneys’ and consultants’ fees, investigation and laboratory fees, response costs,
 court costs and litigation expenses, except to the extent that any of the foregoing arise out of the
 gross negligence or willful misconduct of the party seeking indemnification therefor. This
 indemnity shall continue in full force and effect and survive the termination of this Agreement,
 and the payment of all Obligations.

         5.12 Covenants Regarding Subsidiaries. (a) cause each Subsidiary hereafter formed or
  acquired to execute and deliver to the Agent, upon the formation or acquisition thereof, (i) a
  joinder to this Agreement in form and substance reasonably acceptable to the Agent, pursuant to
  which it will become a Borrower hereunder and under the other Loan Documents and (ii) a
  joinder to the Security Agreement in form and substance reasonably acceptable to the Agent,
  together with appropriate Lien searches requested by the Agent indicating the Agent’s Lien on
  such Subsidiary’s personal property subject only to Liens permitted by Section 6.3 and, in
  connection with such deliveries, cause to be delivered to the Agent the following, in each case
  in form and substance acceptable to the Agent, (A) a favorable written opinion of counsel
  reasonably satisfactory to the Agent as to such matters relating thereto as the Agent may
  request, (B) to the extent certificated, original stock certificates or other certificates evidencing
  equity ownership, accompanied by stock or other appropriate transfer powers duly executed in
  blank, with regard to the Capital Stock of such Subsidiary, (C) certified copies of the
  organizational documents, resolutions and incumbency certificates of such Subsidiary (D)
  unless the Required Lenders agree otherwise in writing, a mortgage or deed of trust with respect
  to any owned interest of such Subsidiary in real property and (E) such other agreements,
  instruments, approvals or other documents as the Agent may reasonably request with respect
  thereto.

                 (b)     Notwithstanding any other provision of this Agreement or the other Loan
 Documents, in no event shall (i) more than 65% of the total outstanding voting Capital Stock of
 any first tier Subsidiary of the Borrowers that is a CFC be required to be pledged, (ii) any shares
 of a non-U.S. Subsidiary that is not a first-tier non-U.S. Subsidiary be required to be pledged or
 otherwise serve as security hereunder, (iii) any non-U.S. Subsidiary be a Guarantor or a
 Borrower or otherwise be required to guarantee any obligation of any Person under the Loan
 Documents or (iv) any assets of any non-U.S. Subsidiary be required to be pledged as Collateral.

         5.13 Bank Accounts. Within 120 days after the Closing Date, the Borrowers shall, and
 shall cause each Subsidiary to, (i) maintain its primary treasury management and its operating
 accounts with OneWest Bank and (ii) as to any account not maintained with OneWest Bank,
 cause Control Agreements with respect thereto to be executed and delivered to the Agent;
 provided that, for the avoidance of doubt, the Borrowers shall not be obligated to obtain Control
 Agreements with respect to, any account having a balance of less than $75,000 or $150,000 in

                                             - 58 -
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     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 306  of 680
                               Exhibit 1-29 Page 148 of 500


 the aggregate for all such accounts and shall not be obligated to obtain Control Agreements with
 respect to any payroll or similar benefits account. Notwithstanding the foregoing, with regard to
 the deposit accounts of the Borrowers held at Wells Fargo Bank, N.A. (in its capacity as
 depository “Wells Fargo”), in the event such accounts are not either closed or made subject to a
 Control Agreement within 15 days prior to the expiration of such 120 day period, the Borrowers
 shall give irrevocable written instructions to Wells Fargo (with a copy to the Agent) with regard
 to any deposit account not covered by a Control Agreement, pursuant to which instructions
 Wells Fargo shall wire transfer on each Business Day any funds in any such deposit accounts to
 a deposit account of the Borrowers (or one of them) maintained with OneWest Bank; provided
 that within one year after giving such instructions to Wells Fargo, the Borrowers shall have
 closed such deposit accounts with Wells Fargo.

         5.14 Post-Closing Deliveries. The Borrowers shall deliver to the Agent each of the
 following, in each case in form and substance acceptable to the Agent, by the respective due
 dates set forth below:

                  (a) Within seven Business Days after the Closing Date, original certificates
  representing all outstanding stock or membership interests owned by BWP in each other
  Borrower (other than CTG Advanced) and any other Subsidiary, in each case together with an
  undated transfer power for each of such certificates, duly executed in blank by an authorized
  officer of the pledgor thereof; and

                  (b) Within 90 days after the Closing Date, a Landlord Consent for the
  Borrowers’ property located in Santa Barbara, California; provided that, in the event the
  Borrowers are unable to deliver such Landlord Consent, the Agent shall, immediately following
  such 90th day, impose a rent reserve against the Borrowing Base in an amount equal to three
  months’ rent on such premises (it being represented by the Borrowers that, as of the Closing
  Date, base rent for such premises is approximately $124,000 per month), which rent reserve
  shall remain in place until such Landlord Consent is delivered.

               SECTION 6. NEGATIVE COVENANTS

         The Borrowers hereby agrees that from and after the Closing Date, so long as any Loan
 remains outstanding and unpaid, any Commitment remains in effect or any other Obligation
 (other than contingent indemnification obligations that are not due and payable) is due and owing
 to any Lender or the Agent hereunder:

         6.1    Financial Condition Covenants. The Borrowers shall not:

                (a)     Total Leverage Ratio. Permit the Total Leverage Ratio as of the end of
 any fiscal quarter of the Borrowers, commencing with the fiscal quarter ending December 31,
 2013, to be greater than the following with respect to the fiscal quarter set forth opposite each
 such ratio below:

                                                       Total Funded Debt
                                 Quarter                      Ratio



                                           - 59 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
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                                 Exhibit    Page 307  of 680
                              Exhibit 1-29 Page 149 of 500


                           December 31, 2013              5.25:1.00

                             March 31, 2014               5.25:1.00

                              June 30, 2014               5.25:1.00

                           September 30, 2014             5.25:1.00

                           December 31, 2014              5.25:1.00

                             March 31, 2015               5.10:1.00

                              June 30, 2015               5.00:1.00

                           September 30, 2015             4.85:1.00

                           December 31, 2015              4.75:1.00

                             March 31, 2016               4.60:1.00

                              June 30, 2016               4.50:1.00

                           September 30, 2016             4.25:1.00

                           December 31, 2016              4.00:1.00

                             March 31, 2017               4.00:1.00

                              June 30, 2017               3.75:1.00

                           September 30, 2017             3.50:1.00

                         December 31, 2017 and
                              thereafter                  3.25:1.00



                (b)     Fixed Charge Coverage Ratio. Permit the Fixed Charge Coverage Ratio
 as of the end of any fiscal quarter of the Borrowers, commencing with the fiscal quarter ending
 December 31, 2013, to be less than the following with respect to the fiscal quarter set forth
 opposite each such ratio below:

                                                   Fixed Charge Coverage
                             Quarter Ending                Ratio

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                                          - 60 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 308  of 680
                               Exhibit 1-29 Page 150 of 500


                           September 30, 2015

                         December 31, 2015 and
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               (c)      Maximum Capital Expenditures. Permit Capital Expenditures made by
 the Borrowers and their Subsidiaries in any fiscal year to exceed the following applicable
 amount: (i) for the fiscal year ending December 31, 2013, $4,550,000, (ii) for the fiscal year
 ending December 31, 2014, $5,200,000 and (iii) for each fiscal year thereafter, $2,500,000
 per fiscal year; provided that, if the Borrowers and the Subsidiaries do not use the entire
 amount of Capital Expenditures permitted in any fiscal year, they may carry forward 50.0%
 of such unused amount to the immediately succeeding fiscal year.

        6.2     Limitation on Indebtedness. The Borrowers shall not, and shall not permit any
 Subsidiary to, create, issue, incur, assume or suffer to exist any Indebtedness except for:

                (a)    Indebtedness created hereunder and under the other Loan Documents;

                (b)    the Subordinated Debt, so long as it remains subject to the Intercreditor
 Agreement;

                  (c)    Indebtedness (i) under any Hedging Agreement permitted under Section
 5.8, (ii) evidenced by performance, bid, appeal and surety bonds and completion guarantees
 issued in the ordinary course of business or reimbursement obligations in respect thereof,
 (iii) constituting endorsements for collection made in the ordinary course of business or (iv) for
 bank overdrafts incurred in the ordinary course of business that are promptly repaid;

                (d)     Capitalized Lease Obligations and Indebtedness for the acquisition of
 equipment secured by purchase money Liens, and any renewals, replacements, refinancing or
 extensions thereof, in an aggregate principal amount (for all Indebtedness under this clause (d))
 not exceeding $300,000 outstanding at any time;

                (e)    Intercompany Indebtedness among the Borrowers;

                (f)    Guarantee Obligations of the Borrowers or any of its Subsidiaries with
 respect to Indebtedness permitted by this Section 6.2;

                (g)      Indebtedness in the form of subordinated debt of the Borrowers incurred
 pursuant to the last paragraph of Section 7.3;

                 (h)     Indebtedness arising from the HCMC Put or any promissory note relating
 thereto, in each case, subject to the subordination agreement contemplated by Section 6.6 hereof;

              (i)     Contingent Purchase Price Obligations incurred in connection with
 Permitted Acquisitions;

                (j)    any other Indebtedness not to exceed $250,000 in the aggregate at any one
 time; and

                                           - 61 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                   Exhibit    Page 309  of 680
                                Exhibit 1-29 Page 151 of 500


                   (k)   Indebtedness referred to on Schedule 6.2 attached hereto.

        6.3     Limitation on Liens. The Borrowers shall not, and shall not permit any
 Subsidiary to, create, incur, assume or suffer to exist any Lien upon any of its property, assets or
 revenues, whether now owned or hereafter acquired, except for:

                   (a)   Liens created hereunder or under any of the other Loan Documents;

               (b)    Liens in favor of the Subordinated Agent and the Subordinated Lender
 under the Subordinated Debt Documents, at all times subject to the Intercreditor Agreement;

               (c)    Liens for taxes not yet delinquent or which are being contested in good
 faith by appropriate proceedings, provided that adequate reserves with respect thereto are
 maintained on the books of such Loan Party;

                (d)   Liens in the form of deposits or pledges for goods or services made in the
 ordinary course of business, pledges or deposits in connection with workers’ compensation,
 unemployment insurance and other social security legislation and deposits securing liability to
 insurance carriers;

                (e)    Liens arising by operation of law in favor of warehousemen, carriers,
 mechanics, materialmen, laborers, or suppliers incurred in the ordinary course of business for
 sums not constituting borrowed money that are not overdue for a period of more than 30 days or
 that are being contested in good faith by appropriate proceedings and for which adequate
 reserves have been established in accordance with GAAP (if so required);

               (f)     rights of offset or common law or statutory banker’s Liens arising in the
 ordinary course of business in favor of commercial banks, provided that any such Lien shall only
 extend to deposits and property in possession of such commercial bank;

               (g)     Liens on amounts deposited as security for surety or appeal bonds in
 connection with obtaining such bonds in the ordinary course of business;

                   (h)   Liens securing Indebtedness permitted by Section 6.2(d);

                   (i)   statutory and common law Liens affecting real property of landlords of the
 Borrowers;

                   (j)   inchoate Liens arising from judgments other than judgments described in
 Section 7.1(i);

                   (k)   Liens referred to on Schedule 6.3 attached hereto; and

                (l)     with respect to any real property occupied by the Borrowers or any of their
 Subsidiaries (a) all easements, rights of way, reservations, licenses, encroachments, variations
 and similar restrictions, charges and encumbrances on title that do not secure monetary
 obligations and do not materially impair the use of such property for its intended purpose or the



                                            - 62 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS          Doc
                               Doc 236-1
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                                    Exhibit    Page 310  of 680
                                 Exhibit 1-29 Page 152 of 500


 value thereof and (b) any other Lien or exception to coverage described in mortgagee policies of
 title insurance issued in favor of and accepted by the Agent.

        6.4      Limitation on Fundamental Changes. The Loan Parties shall not, and shall not
 permit any Subsidiary to, (i) make any amendment to its Organic Documents in a manner
 materially adverse to the Agent and the Lenders, or (ii) enter into any merger, consolidation or
 amalgamation, or liquidate, wind up or dissolve itself (or suffer any liquidation or dissolution)
 except any merger, consolidation or amalgamation of a Subsidiary into a Borrower, with such
 Borrower being the survivor thereof, or between or among the Borrowers; provided that no
 Event of Default has occurred and is continuing, the Borrowers shall give the Agent 30 days
 prior written notice thereof and shall comply with all reasonable actions requested by the Agent
 to protect and maintain its Liens granted pursuant to the Loan Documents; or (iii) except as
 permitted by Section 6.5, convey, sell, lease, assign, transfer or otherwise dispose of, all or
 substantially all of its property, business or assets.

         6.5    Limitation on Sale of Assets. The Borrowers shall not, and shall not permit any
 of their Subsidiaries to, make any Asset Disposition unless (i) such Asset Disposition is for fair
 market value, (ii) the consideration for such Asset Disposition is all cash, (iii) no Event of
 Default has occurred and is continuing or would result from such Asset Disposition and (iv) the
 consideration for such Asset Disposition, when aggregated with the consideration for all
 previous Asset Dispositions during the same fiscal year, does not exceed $500,000.

         6.6     Limitation on Restricted Payments. The Borrowers shall not, and shall not permit
 any of its Subsidiaries to, (a) if a corporation, declare or pay any dividend on (other than
 dividends payable solely in Capital Stock of the Borrowers or its Subsidiaries), or make any
 payment on account of, or set apart assets for a sinking or other analogous fund for, the purchase,
 redemption, defeasance, retirement or other acquisition of, any shares of any class of Capital
 Stock of the Borrowers or its Subsidiaries or any warrants or options to purchase any such
 Capital Stock, whether now or hereafter outstanding, (b) if a partnership, limited liability
 company or other entity, make any distribution (other than dividends payable solely in Capital
 Stock of the Borrowers or its Subsidiaries) with respect to the ownership interests therein, or, in
 either case, any other distribution in respect thereof, either directly or indirectly, whether in cash
 or property or in obligations of the Borrowers or any Subsidiary and (c) make any payments on
 the Subordinated Debt except to the extent permitted by the Intercreditor Agreement (such
 declarations, payments, setting apart, purchases, redemptions, defeasance, retirements,
 acquisitions and distributions being herein called “Restricted Payments”); provided, however,
 that the following Restricted Payments may be made:

             (i)   Restricted Payments by any Subsidiary to any Borrower;

         (ii)      Restricted Payments by any Borrower to another Borrower;

       (iii)       payments to the Subordinated Lender not prohibited by the Intercreditor
 Agreement;

         (iv)      Permitted Tax Distributions by BWP;

         (v)       Management Fees permitted to be paid under Section 6.8;

                                             - 63 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                                                   06/28/19 15:36:30
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                                  Exhibit    Page 311  of 680
                               Exhibit 1-29 Page 153 of 500


         (vi)   so long as no Event of Default shall have occurred and be continuing or would
 result therefrom, BWP may purchase, redeem, retire or otherwise acquire shares of its Capital
 Stock (or options or rights to acquire its Capital Stock) held by former officers, directors or
 employees of any Borrower following termination of service or employment, in an aggregate
 cash amount not exceeding $100,000 during any fiscal year or $500,000 for all such purchases,
 redemptions, retirements and acquisitions from and after the Closing Date, in each case net of
 any proceeds received by BWP as a result of resales of any such Capital Stock;

          (vii) in connection with the exercise by DHAN or its Permitted Transferees (as defined
 in the LLC Agreement) of the HCMC Put, Restricted Payments to DHAN and/or such Permitted
 Transferees of the Put Right Purchase Price (as defined in the LLC Agreement) or in respect of
 any promissory note related thereto to the extent permitted by the Subordination Agreement;
 provided that, at the time of making any such Restricted Payment, (i) no Event of Default has
 occurred and is continuing or would be caused thereby, (ii) such exercise does not occur prior to
 the fifth anniversary of the Closing Date, (iii) prior to such exercise and payment, the Borrowers
 and DHAN shall have entered into a subordination agreement in favor of the Agent (including
 with respect to permitted payments and enforcement actions) acceptable to the Agent with
 respect to any Indebtedness arising from such exercise, and (iv) such payment shall be permitted
 by the Subordinated Debt Documents. Notwithstanding any provision herein to the contrary, the
 Borrowers will not be entitled to exercise the Call Right without the prior written consent of the
 Agent.

         6.7     Limitation on Acquisitions, Investments, Etc. The Borrowers shall not, and shall
 not permit any Subsidiary to, consummate any Acquisition, make any advance, loan, extension
 of credit or capital contribution to, or purchase any stock, bonds, notes, debentures or other
 securities of or any assets constituting a business unit of, or make any other investment in (any of
 the foregoing, an “investment”), any Person, except:

                (a)     investments in cash and Cash Equivalents;

                (b)     the HCMC/DHAN Acquisition;

                (c)    Permitted Acquisitions having a purchase price (excluding, for the
 avoidance of doubt, transaction costs and any portion of such purchase price funded with
 proceeds of the issuance, sale or other disposition of the Capital Stock of BWP) not in excess of
 $10,000,000 in the aggregate for all Acquisitions consummated after the Closing Date;

                (d)    investments in securities or notes payable issued by account debtors and
 received pursuant to a plan of reorganization or similar arrangement upon the bankruptcy or
 insolvency of any such account debtor, or with respect to the settlement of such account debtor’s
 accounts;

                (e)     advances made in connection with the purchases of goods or services in
 the ordinary course of business;

              (f)     loans and advances to officers and employees of the Loan Parties in an
 aggregate amount not to exceed $500,000 at any time outstanding;


                                            - 64 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                06/28/19 Entered
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                                                                   06/28/19 15:36:30
                                                                            14:56:52          Desc
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                                  Exhibit    Page 312  of 680
                               Exhibit 1-29 Page 154 of 500


                (g)     advances to employees in the form of prepayment of expenses incurred in
 the ordinary course of business;

                (h)    investments made by any Borrower in any other Borrower; and

                (i)    investments in the form of Lender Hedging Agreements.

         6.8      Management Fees. The Borrowers and their Subsidiaries shall not pay any
 management fees to any Affiliate thereof for services rendered; provided that BWP may pay the
 Management Fees in an aggregate amount not exceeding the amount set forth in Sections F.1 and
 F.2(a) of the Management Agreement (as in effect on the Closing Date), in any fiscal year, so
 long as no Event of Default has occurred and is continuing or would result therefrom; provided,
 further, that, in the event payment of all or part of the Management Fees is prohibited under this
 Section or is deferred (such fees, the “Deferred Management Fees”), payment of Management
 Fees, including payment of Deferred Management Fees, may resume upon cure of such Event of
 Default, so long as no other Event of Default has occurred and is continuing or would result
 therefrom.

         6.9    Transactions with Affiliates. The Borrowers shall not, and shall not permit any
 Subsidiary to, enter into any transaction, including any purchase, sale, lease or exchange of
 property or the rendering of any service, with any Affiliate of any Loan Party or the Sponsor
 except (i) arms-length transactions in the ordinary course of business; (ii) the HCMC Put or
 HCMC Call; (iii) payment of the Management Fees, subject to Section 6.8; (iv) the payment of
 Board Fees of up to $225,000 in any fiscal year; (v) transactions described on Schedule 6.9; (vi)
 other transactions by and among the Borrowers not prohibited by this Agreement and (vii) the
 issuance, sale or other disposition of Capital Stock of BWP to directors, officers and employees
 (other than the Sponsor and any officer, director, employee, consultant, principal, founder,
 equityholders, manager, general partner or agent of the Sponsor or any non-Borrower Affiliate
 thereof.

       6.10 Fiscal Year. The Borrowers shall not permit the fiscal year of the Borrowers or
 any Subsidiary to end on a day other than December 31.




                                           - 65 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                                                    06/28/19 15:36:30
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                                   Exhibit    Page 313  of 680
                                Exhibit 1-29 Page 155 of 500


         6.11   Prohibitions on Certain Agreements, Modifications to Certain Agreements.

                (a)      The Borrowers shall not, nor shall it permit any Subsidiary to, enter into or
 permit to exist any indenture, agreement, instrument or other arrangement, other than the Loan
 Documents and the Subordinated Debt Documents that, directly or indirectly, prohibits or
 restrains, or has the effect of prohibiting or restraining (such provisions, a “Restrictive
 Provision”), the incurrence or payment of indebtedness, the granting of any Liens, the
 declaration or payment of dividends, the making of loans, advances or investments or the sale,
 assignment, transfer or other disposition of property except, in each case, to the extent such
 property is subject to a Lien permitted pursuant to Section 6.2(d), or which imposes any financial
 covenants on any Borrower or any Subsidiary, and in each case, where the existence of such
 Restrictive Provision could reasonably be expected to have a Material Adverse Effect.

                 (b)    No Loan Party shall consent to any amendment to any Material
 Agreement if the effect thereof would reasonably be expected to be materially adverse to the
 interests of the Agent and the Lenders.

        6.12 Sale-Leaseback Transactions. The Borrowers shall not, and shall not permit any
 Subsidiary to, sell, assign or otherwise transfer any of its properties, rights or assets (whether
 now owned or hereafter acquired) to any Person and thereafter directly or indirectly lease back
 the same or similar property.

         6.13   Line of Business; Activities of BWP.

                (a)     Neither the Borrowers nor any of its Subsidiaries shall engage in any
 business other than as described in Section 3.18.

                (b)    Notwithstanding the provisions of Section 6.13(a) or any other provision
 of this Agreement, BWP shall not (i) hold any assets other than (w) the Capital Stock of CTG,
 CTG Advanced and any Subsidiary created or acquired in connection with a Permitted
 Acquisition, (x) cash, (y) the DHAN Assets and (z) its interest as beneficiary under the Life
 Insurance Policy and insured under the R&W Insurance Policy (each as defined in the
 Acquisition Agreement) and any similar insurance policies acquired or obtained in connection
 with a Permitted Acquisition, and BWP shall not engage in any business or activity other than (a)
 the ownership of such Capital Stock; (b) maintaining its limited liability company existence; (c)
 participating in tax, accounting and other administrative activities as the parent of the
 consolidated group of companies, including the Borrowers; (d) the execution and delivery of the
 Subordinated Debt Documents and the Loan Documents to which it is or will become a party and
 the performance of its obligations thereunder; (e) the execution and delivery of the Acquisition
 Agreement or any other acquisition documents to which it is a party relating to Permitted
 Acquisitions, and the performance of its obligations thereunder; (f) the contribution by BWP of
 the DHAN Assets to CTG Advanced; (g) the making of capital contributions to its Subsidiaries,
 (h) engaging in transactions permitted by Section 6; and (i) other business activities incidental to
 the foregoing and other business activities customary for a holding company.

        6.14 Anti-Terrorism Laws. The Borrowers shall not, nor shall it permit any of its
 Subsidiaries to, directly or indirectly (a) knowingly enter into any Contractual Obligation with


                                            - 66 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                                   06/28/19 15:36:30
                                                                            14:56:52            Desc
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                                  Exhibit    Page 314  of 680
                               Exhibit 1-29 Page 156 of 500


 any Person listed on the OFAC Lists; (b) conduct any business or engage in any transaction or
 dealing with any Blocked Person, including the making or receiving of any contribution of funds,
 goods or services to or for the benefit of any Blocked Person; (c) deal in, or otherwise engage in
 any transaction relating to, any property or interests in property blocked pursuant to Executive
 Order No. 13224, any similar executive order or other Anti-Terrorism Law; or (d) engage in or
 conspire to engage in any transaction that evades or avoids, or has the purpose of evading or
 avoiding, or attempts to violate, any of the prohibitions set forth in Executive Order No. 13224
 or other Anti-Terrorism Law.

               SECTION 7. EVENTS OF DEFAULT

         7.1    Events of Default.

                 (a)    The Borrowers shall fail to pay (i) any principal of any Loan when due;
 (ii) any interest on any Loan when due or (iii) any other Obligation within two Business Days
 after any such other amount becomes due; or

                 (b)     Any representation or warranty made by any Loan Party herein or in any
 other Loan Document, as applicable, or which is contained in any certificate, document or
 financial or other statement furnished at any time under or in connection with this Agreement or
 any other Loan Document shall prove to have been incorrect or misleading in any material
 respect when made or deemed made; or

                (c)     (i) The Borrowers shall default in the observance or performance of any
 agreement contained in Section 5.1, 5.2, 5.4, 5.5, 5.6, 5.7, 5.12, 5.13 or 5.14; or (ii) the
 Borrowers shall default in the observance or performance of any provision of Section 6; or (iii)
 any default shall occur under the Intercreditor Agreement; or

               (d)      Any Loan Party shall default in the observance or performance of any
 other agreement contained in this Agreement or the other Loan Documents (other than as
 provided in paragraphs (a) through (c) of this Section 7.1), and such default shall continue
 unremedied for a period of 30 days after the earlier of (i) written notice thereof from the Agent to
 the Borrowers and (ii) actual knowledge thereof by a Responsible Officer of such Loan Party; or

                   (e) Any material provision of any Loan Document shall at any time for any
  reason be declared null and void, or the validity or enforceability of any Loan Document shall at
  any time be contested by any Loan Party or, if applicable, BWCP,in writing, or a proceeding
  shall be commenced by any Loan Party, BWCP, or by any Governmental Authority having
  jurisdiction over any Loan Party or BWCP, seeking to establish the invalidity or
  unenforceability thereof, or any Loan Party or BWCP shall deny in writing that it has any
  liability or obligation purported to be created under any Loan Document or any Loan Document
  shall cease to be in full force and effect; or

                 (f)    Any Loan Party shall (A) default in any payment of principal or interest,
 regardless of the amount, due (after giving effect to all grace periods and waivers thereof, if any)
 in respect of any (1) Indebtedness (other than (x) as described in Section 7.1(a) above, (y) the
 Subordinated Debt or (z) any debt arising from the exercise of the HMCM Put so long as such
 debt is covered by a subordination agreement in favor of Agent as contemplated by Section

                                            - 67 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
                                                            Entered 03/31/20
                                                                    06/28/19 15:36:30
                                                                             14:56:52              Desc
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                                   Exhibit    Page 315  of 680
                                Exhibit 1-29 Page 157 of 500


 6.6(vii) hereof), issued under the same indenture or other agreement, if the maximum principal
 amount of Indebtedness covered by such indenture or agreement is $500,000 or greater or
 (2) Guarantee Obligation with respect to an amount of $500,000 or greater; or (B) default in the
 observance or performance of any other material agreement or condition relating to any such
 Indebtedness or Guarantee Obligation or contained in any instrument or agreement evidencing,
 securing or relating thereto, or any other event shall occur or condition exist, the effect of which
 default or other event or condition is to cause, or to permit the holder or holders of such
 Indebtedness or beneficiary or beneficiaries of such Guarantee Obligation (or a trustee or agent
 on behalf of such holder or holders or beneficiary or beneficiaries) to cause, with the giving of
 notice if required, such Indebtedness to become due prior to its stated maturity or such Guarantee
 Obligation to become payable or such Indebtedness to be required to be defeased or purchased;
 or any “Event of Default” (as defined in the Subordinated Note Purchase Agreement or any other
 Subordinated Debt Documents) shall occur and be continuing; or

                   (g)    (i) The Borrowers or any other Loan Party shall commence any voluntary
 case, proceeding or other action (A) under the Bankruptcy Code or any other existing or future
 law of any jurisdiction, domestic or foreign, relating to bankruptcy, insolvency, reorganization or
 relief of debtors, seeking to have an order for relief entered with respect to it, or seeking to
 adjudicate it a bankrupt or insolvent, or seeking reorganization, arrangement, adjustment,
 winding-up, liquidation, dissolution, composition or other relief with respect to it or its debts, or
 (B) seeking appointment of a receiver, trustee, custodian or other similar official for it or for all
 or any substantial part of its assets, or the Borrowers or any other Loan Party shall make a
 general assignment for the benefit of its creditors; or (ii) there shall be commenced against the
 Borrowers or any other Loan Party any involuntary case, proceeding or other action of a nature
 referred to in clause (i) above which (A) results in the entry of an order for relief or any such
 adjudication or appointment and (B) remains undismissed, undischarged, unstayed or unbonded
 for a period of 60 consecutive days; or (iii) there shall be commenced against the Borrowers or
 any other Loan Party any case, proceeding or other action seeking issuance of a warrant of
 attachment, execution, distraint or similar process against all or any substantial part of its assets
 which results in the entry of an order for any such relief which shall not have been vacated,
 discharged, stayed or bonded pending appeal within 60 consecutive days from the entry thereof;
 or (iv) the Borrowers or any other Loan Party shall take any action in writing in furtherance of,
 or indicating its consent to, approval of, or acquiescence in, any of the acts set forth in clause (i),
 (ii), or (iii) above; or (v) the Borrowers or any other Loan Party shall generally not, or shall be
 unable to, or shall admit in writing its inability to, pay its debts as they become due or there shall
 be a general assignment for the benefit of creditors; or

                 (h)    Any of the following occurs and a Material Adverse Effect will result:
 (i) any Person shall engage in any non-exempt “prohibited transaction” (as defined in Section
 406 of ERISA or Section 4975 of the Code) involving any Plan, (ii) any “accumulated funding
 deficiency” (as defined in Section 302 of ERISA), whether or not waived, shall exist with respect
 to any Plan, (iii) a Reportable Event shall occur with respect to, or proceedings shall commence
 to have a trustee appointed, or a trustee shall be appointed, to administer or to terminate any
 Single Employer Plan, which Reportable Event or commencement of proceedings or
 appointment of a trustee would reasonably be expected to result in the termination of such Plan
 for purposes of Title IV of ERISA, (iv) any Single Employer Plan shall terminate for purposes of
 Title IV of ERISA (other than a standard termination within the meaning of Section 4041(b) of

                                             - 68 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
                                                            Entered 03/31/20
                                                                    06/28/19 15:36:30
                                                                             14:56:52            Desc
                                                                                                 Desc
                                   Exhibit    Page 316  of 680
                                Exhibit 1-29 Page 158 of 500


 ERISA) or (v) the Borrowers or any ERISA Affiliate thereof would reasonably be expected to
 incur any liability in connection with a withdrawal from, or the Insolvency or Reorganization of,
 a Multiemployer Plan; or

                 (i)    One or more judgments or decrees shall be entered against one or more of
 the Loan Parties involving in the aggregate a liability (to the extent not covered by insurance and
 the insurance carrier has not reserved the right to disallow all or any portion of such claims) for
 all Loan Parties of $500,000 or more, and all such judgments or decrees shall not have been
 vacated, discharged, stayed or bonded pending appeal within 30 consecutive days from the entry
 thereof or in any event five days before the date of any sale pursuant to such judgment or decree;
 or

                (j)     A Change of Control shall occur; or

                 (k)     Any Lien created under any Loan Document and perfected in accordance
 with the terms of the Loan Documents, shall for any reason other than pursuant to the terms
 thereof, cease to be a valid and perfected first priority (except for Liens permitted by Section 6.3)
 Lien in any material portion of the Collateral or the property purported to be covered thereby,
 except as a result of (i) a disposition of the applicable Collateral in a transaction permitted under
 this Agreement or (ii) an action or failure to act on the part of the Agent or any other Secured
 Party;

                (l)    Any one or more licenses, permits, accreditations or authorizations of any
 Borrower or any other Loan Party shall be suspended, limited or terminated or shall not be
 renewed, or any other action shall be taken, by any Governmental Authority in response to any
 alleged failure by any Borrower or any other Loan Party to be in compliance with applicable
 Requirements of Law, and such action, individually or in the aggregate, has or could reasonably
 be expected to have a Material Adverse Effect; or

                 (m)    There shall occur (i) any uninsured damage to, or loss, theft or destruction
 of any Collateral or other assets or properties of the Loan Parties that has had or could
 reasonably be expected to have a Material Adverse Effect or (ii) any labor dispute, act of God or
 other casualty that has had or could reasonably be expected to have a Material Adverse Effect;

 then, and in any such event, (A) if such event is an Event of Default specified in paragraph (g)
 above, automatically each Commitment shall immediately terminate and the Loans made to the
 Borrowers hereunder (with accrued interest thereon) and all other Obligations shall immediately
 become due and payable and (B) if such event is any other Event of Default, with the consent of
 the Required Lenders the Agent may, or upon the request of the Required Lenders the Agent
 shall, take any or all of the following actions: (i) by written notice to the Borrowers declare the
 Commitments to be terminated forthwith, whereupon the Commitments shall immediately
 terminate; and (ii) by written notice to the Borrowers, declare the Loans (with accrued interest
 thereon) and all other Obligations to be due and payable forthwith, whereupon the same shall
 immediately become due and payable. In all cases, with the consent of the Required Lenders,
 the Agent may enforce any or all of the Liens and other rights and remedies created pursuant to
 any Loan Document or available at law or in equity. Presentment, demand, protest and all other
 notices of any kind are hereby expressly waived by the Borrowers, to the extent permitted by


                                            - 69 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                                                    06/28/19 15:36:30
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                                   Exhibit    Page 317  of 680
                                Exhibit 1-29 Page 159 of 500


 applicable law. For purposes of clauses (A) and (B) of this paragraph of this Section 7.1, “Loan
 Documents” shall not include any Lender Hedging Agreement and “Obligations” shall not
 include obligations pursuant to any Lender Hedging Agreement.

         7.2    Application of Payments and Proceeds. Upon the occurrence and during the
 continuance of an Event of Default and after the acceleration of the principal amount of any of
 the Loans, all payments and proceeds in respect of any of the Obligations received by the Agent
 or any Lender under any Loan Document, including any proceeds of any sale of, or other
 realization upon, all or any part of the Collateral, shall be applied as follows:

                first, to all fees, costs, indemnities, liabilities, obligations and expenses incurred
         by or owing to the Agent with respect to this Agreement, the other Loan Documents or
         the Collateral;

                second, to all fees, costs, indemnities, liabilities, obligations and expenses
         incurred by or owing to any Lender with respect to this Agreement, the other Loan
         Documents or the Collateral;

                third, to accrued and unpaid interest on the Obligations (including any interest
         which, but for the provisions of the Bankruptcy Code, would have accrued on such
         amounts);

                fourth, to the principal amount of the Obligations, to the Obligations owing to any
         counterparty in respect of any Lender Hedging Agreement, and to any Cash Management
         Obligations;

              fifth, to any other Obligations owing to the Agent or any Lender under the Loan
         Documents; and

                sixth, to the Borrowers or to whoever may be lawfully entitled to receive such
         balance or as a court of competent jurisdiction may direct.

 In carrying out the foregoing, (a) amounts received shall be applied in the numerical order
 provided until exhausted prior to the application to the next succeeding category, and (b) each of
 the Persons entitled to receive a payment in any particular category shall receive an amount
 equal to its pro rata share of amounts available to be applied pursuant thereto for such category.
 Excluded Swap Obligations with respect to any Loan Party shall not be paid with amounts
 received from such Loan Party or its assets, but appropriate adjustments shall be made with
 respect to payments from other Loan Parties to preserve the allocation to Secured Obligations
 otherwise set forth in this Section.

         7.3 Equity Cure Right. (a) Upon the occurrence of an Event of Default under Section
 6.1(a) or (b) (a “Financial Covenant Default”) as of the end of any fiscal quarter of BWP (a
 “Relevant Quarter”), the Borrowers shall have the right to cure such Financial Covenant Default
 (the “Cure Right”) by causing the Sponsor and/or any other member of BWP to make a cash
 equity contribution to BWP during the period of 10 Business Days following the Agent’s receipt
 of the Covenant Compliance Certificate for such Relevant Quarter, provided that:


                                            - 70 -
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                  Exhibit    Page 318  of 680
                               Exhibit 1-29 Page 160 of 500


                (i)     the Borrowers shall deliver to the Agent written notice of their intent to
         exercise the Cure Right with respect to any Financial Covenant Default (a “Cure Notice”)
         concurrently with their delivery to the Agent of the Covenant Compliance Certificate for
         such Relevant Quarter;

                 (ii)   such equity contribution shall be added to Adjusted EBITDA for such
         Relevant Quarter, but only to the extent necessary to cure the relevant Financial Covenant
         Default; any equity contribution added to Adjusted EBITDA for such Relevant Quarter
         shall be added to Adjusted EBITDA for the following three fiscal quarters in addition to
         such Relevant Quarter;

                 (iii) the Borrowers may exercise the Cure Right not more than one time during
         each fiscal year of the Borrowers, and in no event in consecutive fiscal quarters;

                (iv)   such equity contribution must be used to immediately prepay the Term
         Loans and the Revolving Loans, on a pro rata basis;

                (v)     in no event will the aggregate equity contributions made to the Borrowers
         pursuant to the Cure Right exceed $5,000,000; and

                (vi)   no such contributions shall result in a Change of Control.

         Notwithstanding anything in the foregoing, any cure payments made pursuant to this
 Section may be in the form of equity or subordinated debt; provided, that the documents
 evidencing and securing any such subordinated debt and providing for the subordination of such
 subordinated debt and Liens, if any, to the Obligations shall be acceptable to Agent in its sole
 discretion.

         (b)     Upon receipt of evidence satisfactory to Agent of the Borrowers’ receipt of such
 equity contribution and compliance with the conditions set forth in the immediately preceding
 clause (a), together with a restated Covenant Compliance Certificate evidencing compliance with
 the Financial Covenants for the Relevant Quarter after giving effect to the exercise of the Cure
 Right, in each case within such ten Business Day period, the Borrowers shall be deemed to have
 satisfied the Financial Covenants for the Relevant Quarter with the same effect as though there
 had been no initial failure to comply therewith, and any Event of Default existing from a breach
 of such Financial Covenants that had occurred shall be deemed cured for the purposes of this
 Agreement and the other Loan Documents with no further action required by the Agent.

             SECTION 8. THE AGENT

         8.1     Appointment. Each Lender hereby irrevocably designates and appoints OneWest
 Bank, as Agent for such Lender under this Agreement and the other Loan Documents, and each
 such Lender irrevocably authorizes OneWest Bank, as the Agent for such Lender, to take such
 action on its behalf under the provisions of this Agreement and the other Loan Documents and to
 exercise such powers and perform such duties as are expressly delegated to the Agent, by the
 terms of this Agreement and the other Loan Documents, together with such other powers as are
 reasonably incidental thereto. Notwithstanding any provision to the contrary elsewhere in this
 Agreement, the Agent shall not have any duties or responsibilities, except those expressly set

                                           - 71 -
 100037025
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Case 9:18-ap-01058-DS
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                                   Exhibit    Page 319  of 680
                                Exhibit 1-29 Page 161 of 500


 forth herein, or any fiduciary relationship with any Lender, and no implied covenants, functions,
 responsibilities, duties, obligations or liabilities shall be read into this Agreement or any other
 Loan Document or otherwise exist against the Agent in such capacity.

         8.2    Delegation of Duties. The Agent may execute any of its duties under this
 Agreement and the other Loan Documents by or through agents or attorneys-in-fact and shall be
 entitled to advice of counsel concerning all matters pertaining to such duties. The Agent shall
 not be responsible for the negligence or misconduct of any agents or attorneys-in-fact selected by
 it with reasonable care.

         8.3     Exculpatory Provisions. Neither the Agent nor any of its officers, directors,
 employees, agents, attorneys-in-fact, Subsidiaries or Affiliates shall be (i) liable for any action
 lawfully taken or omitted to be taken by it or such Person under or in connection with this
 Agreement or any other Loan Document (except for its or such Person’s own gross negligence or
 willful misconduct as determined by the final non-appealable judgment of a court of competent
 jurisdiction) or (ii) responsible in any manner to any of the Lenders for any recitals, statements,
 representations or warranties made by the Borrowers, any other Loan Party, or any other party to
 the Loan Documents, or any officer thereof, contained in this Agreement or any other Loan
 Document or in any certificate, report, statement or other document referred to or provided for
 in, or received by the Agent under or in connection with, this Agreement or any other Loan
 Document or for the value, validity, effectiveness, genuineness, enforceability or sufficiency of
 this Agreement or any other Loan Document or for any failure of the Borrowers, any other Loan
 Party, or any other party to the Loan Documents to perform its obligations hereunder or
 thereunder. The Agent shall not be under any obligation to any Lender to ascertain or to inquire
 as to the observance or performance of any of the agreements contained in, or conditions of, this
 Agreement or any other Loan Document, or to inspect the properties, books or records of the
 Borrowers, any other Loan Party, or any other party to the Loan Documents.

         8.4     Reliance by Agent. The Agent shall be entitled to rely, and shall be fully
 protected in relying, upon any note, writing, resolution, notice (including any telephonic or
 electronic notice), consent, certificate, affidavit, letter, cablegram, telegram, telecopy, telex or
 teletype message, statement, order or other document or conversation reasonably believed by it
 to be genuine and correct and to have been signed, sent or made by the proper Person or Persons
 and upon advice and statements of legal counsel (including, without limitation, counsel to the
 Borrowers), the Accountants and independent accountants and other experts selected by the
 Agent. The Agent may deem and treat the payee of any Note or the holder of any Loan as set
 forth in the Register as the owner thereof for all purposes unless a written Assignment and
 Acceptance with respect thereto shall have been filed with the Agent. The Agent shall be fully
 justified in failing or refusing to take any action under this Agreement or any other Loan
 Document unless it shall first receive such advice or concurrence of the Required Lenders or all
 Lenders, as it deems appropriate, or it shall first be indemnified to its satisfaction by the Lenders
 against any and all liability and expense (except those incurred solely as a result of the Agent’s
 gross negligence or willful misconduct as determined by the final non-appealable judgment of a
 court of competent jurisdiction) which may be incurred by it by reason of taking or continuing to
 take any such action. The Agent shall in all cases be fully protected in acting, or in refraining
 from acting, under this Agreement and the other Loan Documents in accordance with a request
 of the Required Lenders or all Lenders, as may be required, and such request and any action

                                            - 72 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                  Exhibit    Page 320  of 680
                               Exhibit 1-29 Page 162 of 500


 taken or failure to act pursuant thereto shall be binding upon all the Lenders and all future
 holders of the Obligations.

         8.5    Notice of Default. Neither the Agent nor any Lender shall be deemed to have
 knowledge or notice of the occurrence of any Default hereunder unless such Person has received
 notice from the Agent, a Lender or the Borrowers referring to this Agreement, describing such
 Default and stating that such notice is a “notice of default”. In the event that the Agent or any
 Lender receives such a notice, the Agent or such Lender, as the case may be, shall give notice
 thereof to the Agent and the Lenders. The Agent shall take such action with respect to such
 Default as shall be reasonably directed by the Required Lenders or all Lenders as appropriate;
 provided that unless and until the Agent shall have received such directions, the Agent may (but
 shall not be obligated to) take such action, or refrain from taking such action, with respect to
 such Default as it shall deem advisable in the best interests of the Lenders or as the Agent shall
 believe necessary to protect the Agent and the Lenders’ interests in the Collateral.

         8.6    Non-Reliance on Agent and Other Lenders. Each Lender expressly acknowledges
 that none of the Agent or any of its respective officers, directors, employees, agents, attorneys-
 in-fact, Subsidiaries or Affiliates has made any representations or warranties to it and that no act
 by the Agent hereafter taken, including any review of the affairs of the Borrowers, any other
 Loan Party, or any other party to the Loan Documents, shall be deemed to constitute any
 representation or warranty by the Agent to any Lender. Each Lender represents to the Agent that
 it has, independently and without reliance upon the Agent or any other Lender, and based on
 such documents and information as it has deemed appropriate, made its own appraisal of and
 investigation into the business, operations, property, financial and other condition and
 creditworthiness of the Borrowers, the other Loan Parties, and any other party to the Loan
 Documents and made its own decision to make its Loans hereunder and enter into this
 Agreement. Each Lender also represents that it will, independently and without reliance upon
 the Agent or any other Lender, and based on such documents and information as it shall deem
 appropriate at the time, continue to make its own credit analysis, appraisals and decisions in
 taking or not taking action under this Agreement and the other Loan Documents, and to make
 such investigation as it deems necessary to inform itself as to the business, operations, property,
 financial and other condition and creditworthiness of the Borrowers, the other Loan Parties, and
 any other party to the Loan Documents. The Agent agrees to promptly furnish to each Lender a
 copy of all notices, reports and other documents received by it from the Borrowers pursuant to
 the terms hereof; provided that the Agent shall not have any duty or responsibility to provide any
 Lender with any credit or other information concerning the business, operations, property,
 condition (financial or otherwise), prospects or creditworthiness of the Borrowers, any other
 Loan Party, or any other party to the Loan Documents which may otherwise come into the
 possession of the Agent or any of its officers, directors, employees, agents, attorneys-in-fact,
 Subsidiaries or Affiliates.

         8.7     Indemnification. The Lenders hereby indemnify the Agent in its capacity as such
 (to the extent not reimbursed by the Borrowers and without limiting the obligation of the
 Borrowers to do so), ratably according to the respective amounts of their Aggregate Total
 Commitment Percentages, from and against any and all liabilities, obligations, losses, damages,
 penalties, actions, judgments, suits, costs (including, without limitation, the allocated cost of
 internal counsel), expenses or disbursements of any kind whatsoever which may at any time

                                            - 73 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
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                                   Exhibit    Page 321  of 680
                                Exhibit 1-29 Page 163 of 500


 (including, without limitation, at any time following the payment of the Obligations) be imposed
 on, incurred by or asserted against the Agent in any way relating to or arising out of this
 Agreement, any of the other Loan Documents or any documents contemplated by or referred to
 herein or therein or the transactions contemplated hereby or thereby or any action taken or
 omitted by the Agent under or in connection with any of the foregoing; provided that no Lender
 shall be liable for the payment of any portion of such liabilities, obligations, losses, damages,
 penalties, actions, judgments, suits, costs, expenses or disbursements to the extent resulting from
 the Agent’s gross negligence or willful misconduct as determined by the final non-appealable
 judgment of a court of competent jurisdiction. The agreements in this Section 8.7 shall survive
 the termination of this Agreement and the payment of all Obligations.

         8.8     Agent in Its Individual Capacity. The Agent and its Affiliates may make loans to,
 accept deposits from and generally engage in any kind of business with the Borrowers, the other
 Loan Parties and any other party to the Loan Documents as though the Agent were not the Agent
 hereunder and under the other Loan Documents. With respect to the Agent, the Loans made by
 the Agent, and the Notes issued to the Agent shall have the same rights and powers under this
 Agreement and the other Loan Documents as any Lender and the Agent may exercise the same
 as though it were not the Agent and the terms “Lender” and “Lenders” shall include the Agent in
 its individual capacity.

         8.9     Successor Agent. The Agent may resign as Agent upon thirty days’ notice to the
 Lenders and the Borrowers. If the Agent shall resign as Agent under this Agreement and the
 other Loan Documents, then the Required Lenders shall appoint (with the approval of the
 Borrowers, such approval not to be unreasonably withheld or delayed and not to be required if an
 Event of Default shall have occurred and be continuing) from among the Lenders a successor
 agent for the Lenders, whereupon such successor agent shall succeed to the rights, powers and
 duties of the Agent and the term “Agent” shall mean such successor agent, effective upon its
 appointment, and the former Agent’s rights, powers and duties as Agent shall be terminated,
 without any other or further act or deed on the part of such former Agent or any of the parties to
 this Agreement or any holders of any of the Obligations. Notice of such appointment shall be
 given by such successor agent to the Borrowers and each Lender. Whether or not a successor
 has been appointed, such resignation shall nonetheless become effective in accordance with such
 notice on such thirtieth day. After any retiring Agent’s resignation as Agent, the provisions of
 this Section 8.9 shall inure to its benefit as to any actions taken or omitted to be taken by it while
 it was Agent, under this Agreement and the other Loan Documents.

         8.10 Administrative Agent May File Proofs of Claim. In case of the pendency of any
 proceeding under the Bankruptcy Code or any similar debtor relief law or any other judicial
 proceeding relative to any Loan Party, the Agent (irrespective of whether the principal of any
 Loan shall then be due and payable as herein expressed or by declaration or otherwise and
 irrespective of whether the Agent shall have made any demand on the Borrowers) shall be
 entitled and empowered (but not obligated) by intervention in such proceeding or otherwise:

                  (a)    to file and prove a claim for the whole amount of the principal and interest
  owing and unpaid in respect of the Loans and all other Obligations that are owing and unpaid
  and to file such other documents as may be necessary or advisable in order to have the claims of
  the Lenders and the Agent (including any claim for the reasonable compensation, expenses,

                                             - 74 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
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                                                                    06/28/19 15:36:30
                                                                             14:56:52            Desc
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                                   Exhibit    Page 322  of 680
                                Exhibit 1-29 Page 164 of 500


  disbursements and advances of the Lenders and the Agent and their respective agents and
  counsel) allowed in such judicial proceeding; and

                 (b) to collect and receive any monies or other property payable or deliverable
  on any such claims and to distribute the same;

 and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
 any such judicial proceeding is hereby authorized by each Lender to make such payments to the
 Agent.

         8.11    Collateral Matters.

                  (a)   The Lenders hereby authorize the Agent, at its option and in its discretion,
  to release any Lien granted to or held by the Agent upon any Collateral (i) upon termination of
  the Commitments and payment and satisfaction of all monetary Obligations (other than
  contingent indemnification obligations that are not then due and payable) at any time arising
  under or in respect of this Agreement or the Loan Documents or the transactions contemplated
  hereby or thereby, (ii) constituting property being sold or otherwise disposed of upon the sale or
  other disposition thereof in compliance with Section 6.5, (iii) if approved, authorized or ratified
  in writing by the Required Lenders or all Lenders, as applicable. Upon request by the Agent at
  any time, the Lenders will confirm in writing the Agent’s authority to release particular types or
  items of Collateral pursuant to this Section 8.11. The Lenders hereby authorize the Agent, at its
  option and in its discretion to release any Subsidiary Guarantor from its obligations under the
  Subsidiary Guarantee if such Person ceases to be a Subsidiary as a result of a transaction
  permitted hereunder.

                  (b) Notwithstanding anything to the contrary contained herein or in any other
  Loan Document, the authority to enforce rights and remedies hereunder and under the other
  Loan Documents against the Borrowers or any of them shall be vested exclusively in, and all
  actions and proceedings at law in connection with such enforcement shall be instituted and
  maintained exclusively by, Agent for the benefit of all Lenders; provided, however, that the
  foregoing shall not prohibit (a) Agent from exercising on its own behalf the rights and remedies
  that inure to its benefit (solely in its capacity as Agent) hereunder and under the other Loan
  Documents, (b) any Lender from exercising setoff rights hereunder, or (c) any Lender from
  filing proofs of claim or appearing and filing pleadings on its own behalf during the pendency
  of any bankruptcy or similar proceeding relative to any Borrower.

                  (c)   The Agent shall not be responsible for or have a duty to ascertain or
  inquire into any representation or warranty regarding the existence, value or collectability of the
  Collateral, the existence, priority or perfection of any Lien thereon, or any certificate prepared
  by any Loan Party in connection therewith, and the Agent shall not be responsible or liable to
  the Lenders or any other Secured Party for any failure to monitor or maintain any portion of the
  Collateral.

                SECTION 9. MISCELLANEOUS

       9.1   Amendments and Waivers. Neither this Agreement, any other Loan Document,
 nor any terms hereof or thereof may be amended, supplemented or modified except in

                                            - 75 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                                                   06/28/19 15:36:30
                                                                            14:56:52           Desc
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                                  Exhibit    Page 323  of 680
                               Exhibit 1-29 Page 165 of 500


 accordance with the provisions of this Section 9.1. With the prior written consent of the
 Required Lenders, the Borrowers and the other Loan Parties may, from time to time, enter into
 written amendments, supplements or modifications hereto and to the other Loan Documents for
 the purposes of adding any provisions to this Agreement or the other Loan Documents or
 changing in any manner the rights of the Lenders, the Borrowers or any other Loan Party
 hereunder or thereunder or waiving, on such terms and conditions as may be specified in such
 instrument, any of the requirements of this Agreement or the other Loan Documents or any
 Default or Event of Default and its consequences; provided, however, that no such waiver and no
 such amendment, supplement or modification shall: (a) reduce the amount or extend the
 maturity of any Loan or any installment due thereon, or reduce the rate or extend the time of
 payment of interest thereon (it being agreed that waiver of the default interest margin shall only
 require the consent of Required Lenders), or reduce the amount or extend the time of payment of
 any fee, indemnity or reimbursement payable to any Lender hereunder, or increase any
 Commitment, in each case without the written consent of the Lender affected thereby; or (b) (i)
 amend, modify or waive any provision of this Section 9.1 or reduce the percentage specified in
 or otherwise modify the definition of Required Lenders, or consent to the assignment or transfer
 by any Loan Party of any of its rights and obligations under this Agreement and the other Loan
 Documents; or (ii) release any Loan Party from any liability under its respective Loan
 Documents; or (iii) release all or substantially all of the Collateral; or (iv) amend, modify or
 waive, directly or indirectly, any of the provisions of Section 2.1(f), 2.2(f), 2.3(f), 2.11 (first
 sentence) or 7.2; or (v) amend, modify or waive any provision of this Agreement requiring the
 consent or approval of all Lenders, in each case without the written consent of all the Lenders; or
 (c) amend, modify or waive any provision of Section 8 without the written consent of the Agent.
 Any such waiver and any such amendment, supplement or modification shall apply equally to
 each of the Lenders and shall be binding upon the Borrowers, the other Loan Parties, the
 Lenders, the Agent, and all future holders of the Obligations.

         Notwithstanding the foregoing, (i) any amendment, restatement or other modification to
 the Fee Letter shall require the written consent of the Borrowers and the Agent only, (ii) no
 amendment, modification or waiver of any Loan Document altering the priority of any Lender
 Hedging Agreement under Section 7.2 in a manner adverse to the counterparty to such Lender
 Hedging Agreement, or resulting in any Lender Hedging Agreement becoming unsecured (other
 than releases of Liens permitted in accordance with the terms of this Agreement) shall be
 effective without the written consent of such counterparty and (iii) the Agent and the Borrowers
 may amend or modify this Agreement and any other Loan Document to cure any ambiguity,
 omission, defect or inconsistency therein.

        In the case of any waiver, the Borrowers, the other Loan Parties, the Lenders and the
 Agent shall be restored to their former position and rights hereunder and under the other Loan
 Documents, and any Default waived shall be deemed to be cured and not continuing; but no such
 waiver shall extend to any subsequent or other Default, or impair any right consequent thereon.

         9.2    Notices; Effectiveness; Electronic Communication.

               (a)    Notices Generally. Except as provided in paragraph (b) below, all notices
  and other communications provided for herein shall be in writing and shall be delivered by hand


                                           - 76 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                                                            14:56:52          Desc
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                                  Exhibit    Page 324  of 680
                               Exhibit 1-29 Page 166 of 500


  or overnight courier service, mailed by certified or registered mail or sent by facsimile as
  follows:

                (i)     if to any Borrower, to it c/o Blue Wolf Capital Fund II, L.P., One Liberty
                   nd
         Plaza, 52 Floor, New York, NY 10006 Attention: Adam Blumenthal/Charles Miller,
         Facsimile: (646) 607-3889;

                              with a copy to (which shall not
                              constitute notice):

                              Holland & Knight LLP
                              10 St. James Avenue
                              Boston, MA 02116
                              Attention: Kerry S. Kehoe, Esq.
                              Facsimile: 617-523-6850

                (ii)   if to the Agent::

                              with respect to credit matters:

                               888 East Walnut Street
                               HQ-06-03
                               Pasadena, California 91101
                               Attention: David Ligon/ Jason Prather
                               Facsimile: (866) 486-5720

                              with a copy to (which shall not
                              constitute notice):

                              Katten Muchin Rosenman LLP
                              515 South Flower Street, Suite 1000
                              Los Angeles, CA 90017
                              Attention: Jan Harris Cate, Esq.
                              Telecopy Number: (213) 947-1151
                              Telephone Number: (213) 788-7447


                              with respect to operational matters:

                              OneWest Bank, FSB
                              Commercial Loan Operations
                              Mail code: HQ-05-01
                              888 E. Walnut St., 5th Floor
                              Pasadena, CA 91101
                              Fax No.: (866) 518-6540
                              Email: CL_Ops@owb.com



                                           - 77 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
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                                                                    06/28/19 15:36:30
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                                   Exhibit    Page 325  of 680
                                Exhibit 1-29 Page 167 of 500


               (iii) if to a Lender, to it at its address (or facsimile number) set forth in its
         Administrative Questionnaire.

         Notices sent by hand or overnight courier service, or mailed by certified or registered
 mail, shall be deemed to have been given when received; notices sent by facsimile shall be
 deemed to have been given when sent (except that, if not given during normal business hours for
 the recipient, shall be deemed to have been given at the opening of business on the next business
 day for the recipient). Notices delivered through electronic communications, to the extent
 provided in paragraph (b) below, shall be effective as provided in said paragraph (b).

                  (b) Electronic Communications. Notices and other communications to the
  Lenders may be delivered or furnished by electronic communication (including e mail and
  Internet or intranet websites) pursuant to procedures approved by the Agent, provided that the
  foregoing shall not apply to notices to any Lender pursuant to Section 2 of this Agreement if
  such Lender has notified the Agent that it is incapable of receiving notices under such Section
  by electronic communication. The Agent or the Borrowers may, in their discretion, agree to
  accept notices and other communications to it hereunder by electronic communications pursuant
  to procedures approved by it; provided that approval of such procedures may be limited to
  particular notices or communications.

          Unless the Agent otherwise prescribes, (i) notices and other communications sent to an e-
 mail address shall be deemed received upon the sender’s receipt of an acknowledgement from
 the intended recipient (such as by the “return receipt requested” function, as available, return e-
 mail or other written acknowledgement), and (ii) notices or communications posted to an Internet
 or intranet website shall be deemed received upon the deemed receipt by the intended recipient,
 at its e-mail address as described in the foregoing clause (i), of notification that such notice or
 communication is available and identifying the website address therefor; provided that, for both
 clauses (i) and (ii) above, if such notice, email or other communication is not sent during the
 normal business hours of the recipient, such notice or communication shall be deemed to have
 been sent at the opening of business on the next business day for the recipient.

                (c)    Change of Address, etc. Any party hereto may change its address or
  facsimile number for notices and other communications hereunder by notice to the other parties
  hereto.

                 (d)    Platform.

                (i)      The Borrowers agree that the Agent may, but shall not be obligated to,
         make the Communications (as defined below) available to the Lenders by posting the
         Communications (as defined below) on Debt Domain, Intralinks, Syndtrak or a
         substantially similar electronic transmission system (the “Platform”).

                  (ii)   The Platform is provided “as is” and “as available.” The Agent Parties (as
         defined below) do not warrant the adequacy of the Platform and expressly disclaim
         liability for errors or omissions in the Communications. No warranty of any kind,
         express, implied or statutory, including, without limitation, any warranty of
         merchantability, fitness for a particular purpose, non-infringement of third-party rights or


                                            - 78 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                                   06/28/19 15:36:30
                                                                            14:56:52           Desc
                                                                                               Desc
                                  Exhibit    Page 326  of 680
                               Exhibit 1-29 Page 168 of 500


         freedom from viruses or other code defects, is made by any Agent Party in connection
         with the Communications or the Platform. In no event shall the Agent or any agent or
         affiliate thereof collectively, the “Agent Parties”) have any liability to the Borrowers or
         the other Loan Parties, any Lender or any other Person or entity for damages of any kind,
         including, without limitation, direct or indirect, special, incidental or consequential
         damages, losses or expenses (whether in tort, contract or otherwise) arising out of the
         Borrowers’, any Loan Party’s or the Agent’s transmission of communications through the
         Platform. “Communications” means, collectively, any notice, demand, communication,
         information, document or other material provided by or on behalf of any Loan Party
         pursuant to any Loan Document or the transactions contemplated therein which is
         distributed to the Agent or any Lender by means of electronic communications pursuant
         to this Section, including through the Platform.

         9.3    No Waiver; Cumulative Remedies. No failure to exercise and no delay in
 exercising, on the part of the Agent, any right, remedy, power or privilege hereunder shall
 operate as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power
 or privilege hereunder preclude any other or further exercise thereof or the exercise of any other
 right, remedy, power or privilege. The rights, remedies, powers and privileges herein provided
 are cumulative and not exclusive of any rights, remedies, powers and privileges provided by law.

        9.4    Survival of Representations and Warranties. All representations and warranties
 made hereunder and in any document, certificate or statement delivered pursuant hereto or in
 connection herewith shall survive the execution and delivery of this Agreement.

         9.5    Payment of Expenses and Taxes. The Borrowers agree, whether or not the
 transactions contemplated hereby are consummated, (a) to pay or reimburse the Agent for all its
 reasonable costs and out-of-pocket expenses incurred in connection with the preparation and
 execution of, and any amendment, supplement or modification to, this Agreement and the other
 Loan Documents and any other documents prepared in connection herewith or therewith, and the
 consummation and administration of the transactions contemplated hereby and thereby
 (including the transactions to occur on the Closing Date), including due diligence expenses,
 appraisal and audit expenses, syndication expenses and the reasonable and documented fees and
 disbursements of outside counsel to the Agent (including any local counsel to the Agent) and as
 to any amendment, supplement or modification to this Agreement or any other Loan Document
 and the administration of the transactions contemplated thereby, including in connection with
 any proceeding or negotiation of the type referred to in clause (b) below, regardless of whether
 an Event of Default has occurred and is continuing and with respect to the foregoing legal fees,
 without duplication thereof, the allocated costs of internal counsel to the Agent, (b) after the
 occurrence and during the continuance of an Event of Default, to pay or reimburse the Agent and
 the Lenders for all their reasonable costs and out-of-pocket expenses incurred in connection with
 the enforcement or preservation of any rights under this Agreement, the other Loan Documents
 and any such other documents or in connection with any refinancing or restructuring of the
 Loans provided under this Agreement in the nature of a “work-out” or of any insolvency or
 bankruptcy proceeding, including reasonable legal fees and disbursements of outside counsel to
 the Agent and the Lenders (which shall be limited to one counsel on behalf of the Agent and one
 counsel on behalf of the Lenders) and, without duplication, the allocated cost of internal counsel
 to the Agent and the Lenders, as applicable, (c) to pay, and indemnify and hold harmless the

                                            - 79 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                  Exhibit    Page 327  of 680
                               Exhibit 1-29 Page 169 of 500


 Agent and the Lenders from, any and all recording and filing fees and any and all liabilities with
 respect to, or resulting from any delay in paying, stamp, excise and other taxes (other than
 Excluded Taxes), if any, which may be payable or determined to be payable in connection with
 the execution and delivery of, or consummation or administration of any of the transactions
 contemplated by, or any amendment, supplement or modification of, or any waiver or consent
 under or in respect of, this Agreement, the other Loan Documents and any such other documents,
 and (d) to pay, and indemnify and hold harmless the Agent and the Lenders from and against,
 any and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits,
 reasonable out of pocket costs, expenses or disbursements of any kind or nature whatsoever
 (including without duplication, the allocated cost of internal counsel to the Agent and the
 Lenders, as applicable), subject to the limitations set forth above, with respect to the execution,
 delivery and enforcement of this Agreement and the other Loan Documents, and the use of the
 proceeds of the Loans and any such other documents (all the foregoing, collectively, the
 “indemnified liabilities”), provided, that the Borrowers shall have no obligation hereunder to the
 Agent or any Lender with respect to indemnified liabilities arising from the gross negligence,
 bad faith, willful misconduct of the Agent or such Lender as determined by the final non-
 appealable judgment of a court of competent jurisdiction. The agreements in this Section 9.5
 shall survive the termination of this Agreement and the payment of all Obligations.

         9.6    Successors and Assigns; Participation; Purchasing Lenders.

                 (a)    This Agreement shall be binding upon and inure to the benefit of the
  Borrowers, the Agent and their respective successors and assigns, except that the Borrowers
  may not assign, transfer or delegate any of its rights or obligations under this Agreement
  without the prior written consent of the Lenders.

                   (b) Any Lender may at any time sell to one or more banks or other entities
  that are an Affiliate of a Lender, an Approved Fund, or to one or more additional banks or
  entities that are approved by the Borrowers (such approval not to be unreasonably withheld or
  delayed and not to be required if an Event of Default has occurred or is continuing)
  (“Participants”) participating interests in the rights of such Lender hereunder and under the
  other Loan Documents; provided any such sale must result in the Participant acquiring at least a
  $3,000,000 risk participation interest in the aggregate amount of obligations under this
  Agreement and the other Loan Documents. A Participant shall have the right only to vote on
  the extension of regularly scheduled maturity of principal or interest on the Loans, or reduction
  of the principal amount or rate of interest on the Loans. In the event of any such sale by a
  Lender of participating interests to a Participant, such Lender’s obligations under this
  Agreement to the other parties to this Agreement shall remain unchanged, such Lender shall
  remain solely responsible for the performance thereof, such Lender shall remain the holder of its
  Loans for all purposes under this Agreement and the other Loan Documents, and the Borrowers
  and the Agent shall continue to deal solely and directly with such Lender in connection with
  such Lender’s rights and obligations under this Agreement and the other Loan Documents.
  Each Lender that sells a participation shall, acting solely for this purpose as an agent of the
  Borrowers, maintain a register on which it enters the name and address of each Participant and
  the principal amounts (and stated interest) of each Participant’s interest in the Loans or other
  obligations under the Loan Documents (the “Participant Register”); provided that no Lender
  shall have any obligation to disclose all or any portion of the Participant Register (including the

                                            - 80 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
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                                                                    06/28/19 15:36:30
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                                   Exhibit    Page 328  of 680
                                Exhibit 1-29 Page 170 of 500


  identity of any Participant or any information relating to a Participant's interest in any
  commitments, loans, letters of credit or its other obligations under any Loan Document) to any
  Person except to the extent that such disclosure is necessary to establish that such commitment,
  loan, letter of credit or other obligation is in registered form under Section 5f.103-1(c) of the
  United States Treasury Regulations. The entries in the Participant Register shall be conclusive
  absent manifest error, and such Lender shall treat each Person whose name is recorded in the
  Participant Register as the owner of such participation for all purposes of this Agreement
  notwithstanding any notice to the contrary.

                  (c)     Any Lender may at any time sell to one or more Lenders, an Affiliate of a
  Lender or an Approved Fund or to one or more additional lenders that are approved by the
  Borrowers (“Purchasing Lenders”), such approval not to be unreasonably withheld or delayed
  and not to be required if an Event of Default has occurred and is continuing, and the Agent, all
  or any part of its rights and obligations under this Agreement and the other Loan Documents
  pursuant to an Assignment and Acceptance executed by such Purchasing Lender and such
  transferor Lender, and delivered to the Agent for its acceptance and recording in the Register,
  accompanied by a $3,500 processing fee; provided, however, that any such sale (other than a
  sale of all of the selling Lender’s interest hereunder or contemporaneous sales to related
  Approved Funds that equal at least the following amount in the aggregate) must result in the
  Purchasing Lender having an interest in at least $3,000,000 in aggregate amount of obligations
  under this Agreement and the other Loan Documents unless otherwise agreed to by the Agent.
  Upon such execution and delivery from and after the transfer effective date determined pursuant
  to such assignment document, (x) the Purchasing Lender thereunder shall be a party hereto and,
  to the extent provided in the Assignment and Acceptance, have the rights and obligations of a
  Lender hereunder with Commitments as set forth therein, and (y) the transferor Lender
  thereunder shall, to the extent of such assigned portion and as provided in the Assignment and
  Acceptance, be released from its obligations and relinquish its rights (except for those surviving
  termination of this Agreement and the payment in full of the Obligations) under this Agreement
  and the other Loan Documents (and, in the case of an Assignment and Acceptance covering all
  or the remaining portion of a transferor Lender’s rights and obligations under this Agreement,
  such transferor Lender shall cease to be a party hereto); provided, that except to the extent
  otherwise expressly agreed by the affected parties, no assignment by a Defaulting Lender will
  constitute a waiver or release of any claim of any party hereunder arising from that Lender’s
  having been a Defaulting Lender. Any such Assignment and Acceptance shall be deemed to
  amend this Agreement to the extent, and only to the extent, necessary to reflect the addition of
  such Purchasing Lender and the resulting adjustment of Aggregate Total Commitment
  Percentages arising from the purchase by such Purchasing Lender of all or a portion of the
  rights and obligations of such transferor Lender under this Agreement and the other Loan
  Documents. Notwithstanding the foregoing, no Purchasing Lender shall be (i) a Borrower or an
  Affiliate thereof, (ii) a Defaulting Lender or (iii) a natural person. Such Purchasing Lender, if it
  is not a Lender, shall deliver to the Agent an Administrative Questionnaire in the form provided
  by the Agent.

                 (d) The Agent shall maintain at its address referred to in Section 9.2 a copy of
  each Assignment and Acceptance delivered to it and a register (the “Register”) for the
  recordation of the names and addresses of the Lenders and the Commitments of, and principal
  amounts (and stated interest) of the Loans owing to. The entries in the Register shall be

                                            - 81 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                                   06/28/19 15:36:30
                                                                            14:56:52            Desc
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                                  Exhibit    Page 329  of 680
                               Exhibit 1-29 Page 171 of 500


  conclusive, in the absence of manifest error, and the Borrowers, the Agent and Lenders may
  treat each Person whose name is recorded in the Register as the owner of the Loans recorded
  therein for all purposes of this Agreement. The Register shall be available for inspection by the
  Borrowers or any Lender at any reasonable time and from time to time upon reasonable prior
  notice.

                 (e)    Upon its receipt of an Assignment and Acceptance executed by a
  transferor Lender and Purchasing Lender (and, in the case of a Purchasing Lender that is not
  then a Lender or an Affiliate thereof, by the Borrowers (if required) and the Agent), the Agent
  shall (i) accept such Assignment and Acceptance and (ii) on the effective date determined
  pursuant thereto record the information contained therein in the Register.

                  (f)   The Borrowers authorize each Lender to disclose to any Participant or
  Purchasing Lender (each, a “Transferee”) and any prospective Transferee any and all
  information in such Lender’s possession concerning the Borrowers, the other Loan Parties, and
  the Affiliates and Subsidiaries of any of the foregoing which has been delivered to such Lender
  by or on behalf of the Borrowers pursuant to this Agreement or any other Loan Document or
  which has been delivered to such Lender by or on behalf of the Borrowers in connection with
  such Lender’s credit evaluation of the Borrowers and the other Loan Parties; provided that such
  Transferee or prospective Transferee agrees in writing to maintain the confidentiality of such
  information in accordance with the provisions of Section 9.15.

                   (g) Nothing herein shall prohibit any Lender from pledging or assigning any
  of its interest and rights under this Agreement to any Federal Reserve Bank in accordance with
  applicable law.

                 (h) Each Lender (and each Person becoming a Lender pursuant to Section
  9.6(c)) represents, warrants and agrees with the Agent that it shall reimburse, indemnify and
  hold the Agent harmless from any and all liabilities, obligations, losses, damages, penalties,
  actions, judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever
  which may be imposed upon, incurred by or asserted against the Agent due to its reliance upon
  any representations made by such Lender that it is exempt from withholding of tax.

         9.7      Adjustments; Set-Off. (a) If any Lender (a “benefitted Lender”) shall at any time
  receive any payment of all or part of its Loans or interest thereon, or fees, or receive any
  collateral in respect thereof (whether voluntarily or involuntarily, by set-off, pursuant to events
  or proceedings of the nature referred to in Section 7.1(g) or 8.8, or otherwise), in a greater
  proportion than any such payment to or collateral received by any other Lender, if any, in
  respect of such other Lender’s Loans or interest thereon or fees, such benefitted Lender shall
  purchase for cash from the other Lenders such portion of each such other Lender’s Loans, or
  fees, or shall provide such other Lenders with the benefits of any such collateral, or the proceeds
  thereof, as shall be necessary to cause such benefitted Lender to share the excess payment or
  benefits of such collateral or proceeds ratably with each of the Lenders; provided, however, that
  if all or any portion of such excess payment or benefits is thereafter recovered from such
  benefitted Lender, such purchase shall be rescinded, and the purchase price and benefits
  returned, to the extent of such recovery, but without interest. The Borrowers agree that each
  Lender so purchasing a portion of another Lender’s Loans may exercise all rights of payment

                                            - 82 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
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                                                                    06/28/19 15:36:30
                                                                             14:56:52             Desc
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                                   Exhibit    Page 330  of 680
                                Exhibit 1-29 Page 172 of 500


  (including, without limitation, rights of set-off) with respect to such portion as fully as if such
  Lender were the direct holder of such portion.

                  (b) In addition to any rights and remedies of the Agent and the Lenders
  provided by law, the Agent and the Lenders shall have the right, exercisable upon the
  occurrence and during the continuance of an Event of Default, without prior notice to the
  Borrowers, any such notice being expressly waived by the Borrowers to the extent permitted by
  applicable law, to set-off and appropriate and apply against any such Obligations any and all
  deposits (general or special, time or demand, provisional or final), in any currency, and any
  other credits, indebtedness or claims in any currency, in each case whether direct or indirect,
  absolute or contingent, matured or unmatured, at any time held or owing by the Agent, any
  Lender or any branch or agency thereof or bank controlling the Agent or any Lender to or for
  the credit or the account of the Borrowers or any other Loan Party. No Lender shall execute any
  such right without the prior written consent of the Agent. The Agent or any Lender executing
  such right , as the case may be, agrees promptly to notify the Borrowers after any such set-off,
  provided that the failure to give such notice shall not affect the validity of such set-off.

         9.8     Counterparts. This Agreement may be executed by one or more of the parties to
 this Agreement on any number of separate counterparts, and all of said counterparts taken
 together shall be deemed to constitute one and the same instrument. Delivery of an executed
 counterpart of a signature page to this Agreement by telecopier or in electronic format shall be
 effective as delivery of a manually executed counterpart of this Agreement.

        9.9     Severability.    Any provision of this Agreement which is prohibited or
 unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
 prohibition or unenforceability without invalidating the remaining provisions hereof, and any
 such prohibition or unenforceability in any jurisdiction shall not invalidate or render
 unenforceable such provision in any other jurisdiction.

         9.10 Integration. This Agreement, together with the other Loan Documents, represents
 the entire agreement of the Borrowers, the Lenders and the Agent with respect to the subject
 matter hereof, and there are no promises, undertakings, representations or warranties by the
 Agent or any Lender relative to the subject matter hereof not expressly set forth or referred to
 herein or in the other Loan Documents.

         9.11   Governing Law; Jurisdiction.

                (a)   This Agreement and the rights and obligations of the Borrowers hereunder
  shall be governed by, and shall be construed and enforced in accordance with, the laws of the
  State of New York without regard to conflict of laws principles thereof.

                  (b) All judicial proceedings brought against the Borrowers arising out of or
  relating hereto, or any of the Borrowers’ obligations hereunder, may be brought in any state or
  Federal court of competent jurisdiction in the State, County and City of New York. By
  executing and delivering this Agreement, the Borrowers, for itself and in connection with its
  properties, irrevocably (a) accepts generally and unconditionally the nonexclusive jurisdiction
  and venue of such courts; (b) waives any defense of forum non conveniens; (c) agrees that


                                             - 83 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
                                                            Entered 03/31/20
                                                                    06/28/19 15:36:30
                                                                             14:56:52             Desc
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                                   Exhibit    Page 331  of 680
                                Exhibit 1-29 Page 173 of 500


  service of all process in any such proceeding in any such court may be made by registered or
  certified mail, return receipt requested, to the Borrowers at its address provided on the first page
  hereof; (d) agrees that service as provided in clause (c) above is sufficient to confer personal
  jurisdiction over the Borrowers in any such proceeding in any such court, and otherwise
  constitutes effective and binding service in every respect; and (e) agrees that the Agent retains
  the right to serve process in any other manner permitted by law or to bring proceedings against
  the Borrowers in the courts of any other jurisdiction.

      9.12 WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO HEREBY
 IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
 ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT
 OR THE TRANSACTIONS CONTEMPLATED HEREBY AND AGREES THAT ANY SUCH
 ACTION OR PROCEEDING SHALL BE TRIED BEFORE A COURT AND NOT BEFORE A
 JURY. EACH OF THE PARTIES HERETO ACKNOWLEDGES THAT THIS WAIVER IS A
 MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS RELATIONSHIP, THAT
 EACH HAS RELIED ON THE WAIVER IN EXECUTING AND ENTERING INTO THIS
 AGREEMENT, AND THAT EACH WILL CONTINUE TO RELY ON THIS WAIVER IN
 THEIR RELATED FUTURE DEALINGS. EACH OF THE PARTIES HERETO WARRANTS
 AND REPRESENTS THAT EACH HAS HAD THE OPPORTUNITY OF REVIEWING THIS
 JURY WAIVER WITH LEGAL COUNSEL, AND THAT EACH KNOWINGLY AND
 VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS.

         9.13   Acknowledgements. The Borrowers hereby acknowledge that:

                  (a)   they have been advised by counsel in the negotiation, execution and
  delivery of this Agreement and the other Loan Documents;

                  (b) neither the Agent nor any Lender has any fiduciary relationship to the
  Borrowers solely by virtue of any of the Loan Documents, and the relationship pursuant to the
  Loan Documents between the Agent and the Lenders on one hand, and the Borrowers on the
  other hand, is solely that of creditor and debtor; and

                (c)   no joint venture exists among the Agent or the Lenders, or among the
  Borrowers, the Agent and the Lenders.

        9.14 Headings. Section headings herein are included for convenience of reference only
 and shall not constitute a part of this Agreement for any other purpose.

         9.15 Confidentiality. Each Lender and the Agent shall exercise commercially
 reasonable efforts (on a several and neither a joint nor a joint and several basis) to maintain in
 confidence, in accordance with its customary procedures for handling confidential information,
 all Confidential Information; provided, that each Lender and Agent and their respective
 Affiliates shall have the right to disclose Confidential Information to the following Persons (and
 with respect to Persons covered under clauses (i), (ii), (iii), (iv), (v) and (vi), if it directs such
 Persons not to disclose such Confidential Information as required under this Agreement):

                (i)     such Person’s Affiliates;


                                             - 84 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
                                          Filed 03/31/20
                                                06/28/19 Entered
                                                           Entered 03/31/20
                                                                   06/28/19 15:36:30
                                                                            14:56:52          Desc
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                                  Exhibit    Page 332  of 680
                               Exhibit 1-29 Page 174 of 500


                (ii)    such Person’s or such Person’s Affiliates’ lenders, funding or financing
         sources and rating agencies;

                (iii) such Person’s or such Person’s Affiliates’ directors, officers, trustees,
         partners, members, managers, employees, agents, advisors, representatives, attorneys,
         equity owners, professional consultants and portfolio management services;

                (iv)   any other Lender and any successor or assign of any Lender;

                (v)      any Person to whom any Lender offers to sell, assign or transfer any Loan
         or any part thereof or any interest or participation therein;

                (vi)   any Person that provides statistical analysis and/or information services to
         such Lender or its Affiliates;

                (vii) any Person (A) to the extent required by applicable law, (B) in response to
         any subpoena or other legal process or informal investigative demand, (C) in connection
         with any litigation, or (D) in connection with the actual or potential exercise or
         enforcement of any right or remedy under any Loan Document;

                 (viii) any Person to the extent required by the Intercreditor Agreement or any
         other subordination agreement relating to the Obligations; and

                 (ix)   any Person to the extent demanded by any Governmental Authority
         (including, without limitation, in connection with filings, submissions and any other
         similar documentation required or customary to comply with Securities and Exchange
         Commission filing requirements).

 ; provided further, with the prior written consent of the Borrowers, which shall not be
 unreasonably withheld, delayed or conditioned, the Agent and any Lender may (at its own
 expense) place advertisements in financial and other newspapers and periodicals or on a home
 page or similar place for dissemination of information on the Internet or worldwide web as it
 may choose, and circulate similar promotional materials, in the form of a “tombstone” or
 otherwise describing the names of the Borrowers and their Affiliates (or any of them), and the
 amount, type and closing date with respect to the transactions contemplated hereby.

         9.16 Interest Rate Limitation. Notwithstanding anything herein to the contrary, if at
 any time the interest rate applicable to any Loan, together with all fees, charges and other
 amounts which are treated as interest on such Loan under applicable law (collectively the
 “Charges”), shall exceed the maximum lawful rate (the “Maximum Rate”) which may be
 contracted for, charged, taken, received or reserved by the Lender in accordance with applicable
 law, the rate of interest payable in respect of such Loan, together with all Charges payable in
 respect thereof, shall be limited to the Maximum Rate and, to the extent lawful, the interest and
 Charges that would have been payable in respect of such Loan but were not payable as a result of
 the operation of this Section shall be cumulated and the interest and Charges payable to the
 Lenders in respect of other Loans or periods shall be increased (but not above the Maximum
 Rate therefor) until such cumulated amount, together with interest thereon at the Federal Funds
 Effective Rate to the date of repayment, shall have been received by the Lender.

                                           - 85 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                                06/28/19 Entered
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                                                                   06/28/19 15:36:30
                                                                            14:56:52            Desc
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                                  Exhibit    Page 333  of 680
                               Exhibit 1-29 Page 175 of 500


         9.17 Joint and Several Liability of Borrowers. (a)          The Borrowers shall be
 jointly and severally liable for the Obligations, however incurred (and whether or not so
 specified in the Loan Documents), and all references to the term “Borrowers” with respect to the
 Obligations or any portion thereof shall mean each Borrower on a joint and several basis. Each
 Borrower agrees that its obligations hereunder are irrevocable, absolute, independent and
 unconditional and shall not be affected by any circumstance which constitutes a legal or
 equitable discharge of a guarantor or surety other than payment in full of the Obligations.

         (b)     In furtherance of the joint and several liability of the Borrowers for the
 Obligations, each Borrower hereby waives to the extent not prohibited by applicable law, for the
 benefit of the Lender: (i) any right to require the Agent or any Lender, as a condition of payment
 or performance by such Borrower, to (1) proceed against the other Borrower of the Obligations
 or any other Person, (2) proceed against or exhaust any security held from the other Borrower or
 any other Person, (3) proceed against or have resort to any balance of any account or credit on
 the books of the Lenders in favor of the other Borrower or any other Person, or (4) pursue any
 other remedy in the power of the Lenders or the Agent whatsoever; (ii) any defense arising by
 reason of the incapacity, lack of authority or any disability or other defense of the other
 Borrower including any defense based on or arising out of the lack of validity or the
 unenforceability of the Obligations or any agreement or instrument relating thereto or by reason
 of the cessation of the liability of the other Borrower from any cause other than payment in full
 of the Obligations; (iii) any defense based upon any statute or rule of law which provides that the
 obligation of a surety must be neither larger in amount nor in other respects more burdensome
 than that of the principal; (iv) any defense based upon the Lender’s errors or omissions in the
 administration of the Obligations, except behavior which amounts to gross negligence, bad faith
 or willful misconduct; (v) (1) any principles or provisions of law, statutory or otherwise, which
 are or might be in conflict with the terms hereof and any legal or equitable discharge of any other
 Borrower’s obligations hereunder, (2) the benefit of any statute of limitations affecting any other
 Borrower’s liability hereunder or the enforcement hereof, and (3) promptness, diligence and any
 requirement that the Agent or any Lender protect, secure, perfect or insure any security interest
 or Lien or any property subject thereto; (vi) notices, demands, presentments, protests, notices of
 protest, notices of dishonor and notices of any action or inaction, including acceptance hereof,
 notices of default hereunder or any agreement or instrument related thereto except as set forth
 herein, notices of any renewal, extension or modification of the Obligations or any agreement
 related thereto, notices of any extension of credit to the other Borrower; and (vii) any defenses or
 benefits that may be derived from or afforded by law which limit the liability of or exonerate
 guarantors or sureties, or which may conflict with the terms hereof.

         (c)    Until all non-contingent monetary Obligations shall have been paid in full and all
 Commitments shall have terminated, to the extent permitted by applicable law, (i) each Borrower
 hereby defers any claim, right or remedy, direct or indirect, that such Borrower now has or may
 hereafter have against any other Borrower or any of its assets in connection with the performance
 by such Borrower of its obligations hereunder, in each case whether such claim, right or remedy
 arises in equity, under contract, by statute, under common law or otherwise and including
 without limitation (1) any right of subrogation, reimbursement or indemnification that such
 Borrower now has or may hereafter have against any other Borrower with respect to the payment
 by such Borrower of Obligations, (2) any right to enforce, or to participate in, any claim, right or
 remedy that the Lender now has or may hereafter have against any other Borrower, and (3) any

                                            - 86 -
 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
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                                  Exhibit    Page 334  of 680
                               Exhibit 1-29 Page 176 of 500


 rights to set-offs, recoupments and counterclaims, and (4) any benefit of, and any right to
 participate in, any collateral or security now or hereafter held by the Agent or any Lender, and
 (ii) each Borrower shall withhold exercise of any right of contribution such Borrower may have
 against any other guarantor (including any other Borrower) of the Obligations. Each Borrower
 further agrees that, to the extent the agreement to defer the exercise of its rights of subrogation,
 reimbursement, indemnification and contribution as set forth herein is found by a court of
 competent jurisdiction to be void or voidable for any reason, any rights of subrogation,
 reimbursement or indemnification such Borrower may have against any other Borrower or
 against any collateral or security, and any rights of contribution such Borrower may have against
 any such other guarantor, shall be junior and subordinate to any rights the Lender may have
 against any other Borrower, to all right, title and interest the Agent or any Lender may have in
 any such collateral or security, and to any right the Lender may have against such other
 guarantor. If any amount shall be paid to any Borrower on account of any such subrogation,
 reimbursement, indemnification or contribution rights at any time when all non-contingent
 monetary Obligations shall not have been paid in full, such amount shall be held in trust for the
 Agent and the Lenders and shall forthwith be paid over to the Agent to be credited and applied
 against the Obligations, whether matured or unmatured, in accordance with the terms hereof.

         9.18 Patriot Act. Each Lender subject to Title III of the Uniting and Strengthening
 America by Providing Appropriate Tools Required to Intercept and Obstruct Terrorism Act of
 2001 (Public Law 107-56) (the “Patriot Act”) hereby notifies the Borrowers that, pursuant to the
 requirements of the Patriot Act, such Lender is required to obtain, verify and record information
 that identifies the Borrowers, which information includes the name and address of the Borrowers
 and other information that will allow such Lender to identify the Borrowers in accordance with
 the Patriot Act.

         9.19 Classified Information. The rights of the Agent and the Lenders under this
 Agreement and the other Loan Documents as they pertain to government contracts or other
 materials that contain classified or sensitive unclassified information are subject to applicable
 laws, including, without limitation, DOD Directive 5220.22-M, National Industrial Security
 Program Operations Manual, and nothing in this Agreement or the other Loan Document shall
 cause the Borrowers to violate such applicable laws.

         9.20 Intercreditor Agreement. Notwithstanding anything herein to the contrary, the
 Obligations evidenced by this Agreement and the other Loan Documents, the Liens and security
 interests granted to the Agent pursuant to the terms hereof and thereof and the exercise of any
 right or remedy by the Agent or the Lenders hereunder or thereunder are subject to the provisions
 of the Intercreditor Agreement. In the event of any conflict between the terms of the
 Intercreditor Agreement and any other Loan Document, the terms of the Intercreditor Agreement
 shall govern. Notwithstanding anything that may be contained herein to the contrary, all of the
 provisions of the Loan Documents, including the covenants of the Loan Parties contained herein
 and therein and all of the rights, remedies and powers provided for herein and therein, are subject
 to the provisions of the Intercreditor Agreement (it being understood that any breach by any
 Loan Party of its obligations hereunder or thereunder shall nonetheless constitute a default (and
 to the extent provided herein or therein, an Event of Default) hereunder or thereunder, as
 applicable, notwithstanding the foregoing).


                                            - 87 -
 100037025
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS    Doc
                         Doc 236-1
                             156-1 Filed
                                      Filed 03/31/20
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                                                               06/28/19 15:36:30
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                                                                                   Desc
                              Exhibit    Page 335  of 680
                           Exhibit 1-29 Page 177 of 500


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                                       - 88 -
 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                                           06/28/19 Entered
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                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 336  of 680
                          Exhibit 1-29 Page 178 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 337  of 680
                          Exhibit 1-29 Page 179 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                              06/28/19 15:36:30
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                                                                                  Desc
                             Exhibit    Page 338  of 680
                          Exhibit 1-29 Page 180 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                    Doc
                                         Doc 236-1
                                             156-1 Filed
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                                                                       Entered 03/31/20
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                                                                                        14:56:52                                             Desc
                                                                                                                                             Desc
                                              Exhibit    Page 339  of 680
                                           Exhibit 1-29 Page 181 of 500


                                                     TABLE OF CONTENTS

                                                                                                                                            Page


 SECTION 1. DEFINITIONS........................................................................................................ 2
      1.1   Defined Terms ........................................................................................................ 2
      1.2   Other Definitional Provisions ............................................................................... 24

 SECTION 2.          AMOUNT AND TERMS OF LOANS; COMMITMENT AMOUNTS .............. 25
      2.1            Revolving Loans; Revolving Loan Commitments ............................................... 25
      2.2            Term Loans; Term Loan Commitments. .............................................................. 27
      2.3            CapEx Term Loans; CapEx Commitment. ........................................................... 28
      2.4            Optional Prepayments ........................................................................................... 30
      2.5            Mandatory Prepayments ....................................................................................... 30
      2.6            Conversion and Continuation Options .................................................................. 32
      2.7            Minimum Amounts of Tranches; Minimum Borrowings ..................................... 32
      2.8            Interest Rates and Payment Dates. ........................................................................ 33
      2.9            Computation of Interest and Fees ......................................................................... 33
      2.10           Inability to Determine Interest Rate ...................................................................... 34
      2.11           Pro Rata Treatment and Payments ........................................................................ 34
      2.12           Illegality ................................................................................................................ 35
      2.13           Increased Costs. .................................................................................................... 35
      2.14           Taxes ..................................................................................................................... 36
      2.15           Indemnity .............................................................................................................. 39
      2.16           Fees ....................................................................................................................... 40
      2.17           Defaulting Lenders................................................................................................ 40
      2.18           Substitution of Lenders ......................................................................................... 41
      2.19           Sweep Agreement ................................................................................................. 41

 SECTION 3.          REPRESENTATIONS AND WARRANTIES..................................................... 42
      3.1            Financial Condition............................................................................................... 42
      3.2            Corporate Existence; Compliance with Law, Etc. ................................................ 43
      3.3            Corporate Power; Authorization; Consents; Enforceable Obligations ................. 43
      3.4            No Legal Bar ......................................................................................................... 44
      3.5            No Material Litigation .......................................................................................... 44
      3.6            Ownership of Property; Liens; Condition of Properties ....................................... 44
      3.7            Environmental Matters.......................................................................................... 45
      3.8            Intellectual Property .............................................................................................. 45
      3.9            Taxes ..................................................................................................................... 45
      3.10           Federal Regulations .............................................................................................. 46
      3.11           ERISA Compliance............................................................................................... 46
      3.12           Investment Company Act ..................................................................................... 47
      3.13           Subsidiaries ........................................................................................................... 47
      3.14           Purpose of Loans................................................................................................... 47
      3.15           Accuracy and Completeness of Information......................................................... 47
      3.16           Real Property Assets ............................................................................................. 48


 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                   Doc
                                        Doc 236-1
                                            156-1 Filed
                                                     Filed 03/31/20
                                                           06/28/19 Entered
                                                                      Entered 03/31/20
                                                                              06/28/19 15:36:30
                                                                                       14:56:52                                           Desc
                                                                                                                                          Desc
                                             Exhibit    Page 340  of 680
                                          Exhibit 1-29 Page 182 of 500


           3.17      Permits, Etc ........................................................................................................... 48
           3.18      Nature of Business ................................................................................................ 48
           3.19      Capital Structure and Equity Ownership .............................................................. 48
           3.20      Insolvency ............................................................................................................. 48
           3.21      Labor Matters ........................................................................................................ 49
           3.22      Condemnation ....................................................................................................... 49
           3.23      No Material Adverse Effect. ................................................................................. 49

 SECTION 4. CONDITIONS PRECEDENT .............................................................................. 49
      4.1   Conditions to Closing Date ................................................................................... 49
      4.2   Conditions to Each Loan ....................................................................................... 52

 SECTION 5.          AFFIRMATIVE COVENANTS .......................................................................... 53
      5.1            Financial Statements ............................................................................................. 53
      5.2            Certificates; Other Information ............................................................................. 53
      5.3            Payment of Obligations......................................................................................... 55
      5.4            Conduct of Business and Maintenance of Existence ............................................ 55
      5.5            Maintenance of Property; Insurance ..................................................................... 56
      5.6            Inspection of Property; Books and Records; Discussions .................................... 56
      5.7            Use of Proceeds..................................................................................................... 56
      5.8            Interest Rate Protection ......................................................................................... 57
      5.9            Acquisition of Real Property ................................................................................ 57
      5.10           Lease and License Compliance; Landlord Consents ............................................ 57
      5.11           Environmental Laws ............................................................................................. 57
      5.12           Covenants Regarding Subsidiaries ....................................................................... 58
      5.13           Bank Accounts ...................................................................................................... 58

 SECTION 6.          NEGATIVE COVENANTS ................................................................................. 59
      6.1            Financial Condition Covenants ............................................................................. 59
      6.2            Limitation on Indebtedness ................................................................................... 61
      6.3            Limitation on Liens ............................................................................................... 62
      6.4            Limitation on Fundamental Changes .................................................................... 63
      6.5            Limitation on Sale of Assets ................................................................................. 63
      6.6            Limitation on Restricted Payments ....................................................................... 63
      6.7            Limitation on Acquisitions, Investments, Etc ....................................................... 64
      6.8            Management Fees ................................................................................................. 65
      6.9            Transactions with Affiliates .................................................................................. 65
      6.10           Fiscal Year ............................................................................................................ 65
      6.11           Prohibitions on Certain Agreements, Modifications to Certain
                     Agreements. .......................................................................................................... 66
           6.12      Sale-Leaseback Transactions ................................................................................ 66
           6.13      Line of Business; Activities of BWP. ................................................................... 66
           6.14      Anti-Terrorism Laws ............................................................................................ 66

 SECTION 7. EVENTS OF DEFAULT ...................................................................................... 67
      7.1   Events of Default .................................................................................................. 67
      7.2   Application of Payments and Proceeds................................................................. 70


 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52                                            Desc
                                                                                                                                     Desc
                                       Exhibit    Page 341  of 680
                                    Exhibit 1-29 Page 183 of 500


         7.3   Equity Cure Right ................................................................................................. 70

 SECTION 8.    THE AGENT ........................................................................................................ 71
      8.1      Appointment ......................................................................................................... 71
      8.2      Delegation of Duties ............................................................................................. 72
      8.3      Exculpatory Provisions ......................................................................................... 72
      8.4      Reliance by Agent ................................................................................................. 72
      8.5      Notice of Default................................................................................................... 73
      8.6      Non-Reliance on Agent and Other Lenders .......................................................... 73
      8.7      Indemnification ..................................................................................................... 73
      8.8      Agent in Its Individual Capacity ........................................................................... 74
      8.9      Successor Agent .................................................................................................... 74
      8.10     Administrative Agent May File Proofs of Claim .................................................. 74
      8.11     Collateral Matters.................................................................................................. 75

 SECTION 9.    MISCELLANEOUS ............................................................................................. 75
      9.1      Amendments and Waivers .................................................................................... 75
      9.2      Notices; Effectiveness; Electronic Communication. ............................................ 76
      9.3      No Waiver; Cumulative Remedies ....................................................................... 79
      9.4      Survival of Representations and Warranties ......................................................... 79
      9.5      Payment of Expenses and Taxes ........................................................................... 79
      9.6      Successors and Assigns; Participation; Purchasing Lenders. ............................... 80
      9.7      Adjustments; Set-Off ............................................................................................ 82
      9.8      Counterparts .......................................................................................................... 83
      9.9      Severability ........................................................................................................... 83
      9.10     Integration ............................................................................................................. 83
      9.11     Governing Law; Jurisdiction................................................................................. 83
      9.12     WAIVER OF JURY TRIAL ................................................................................. 84
      9.13     Acknowledgements ............................................................................................... 84
      9.14     Headings ............................................................................................................... 84
      9.15     Confidentiality ...................................................................................................... 84
      9.16     Interest Rate Limitation ........................................................................................ 85
      9.17     Joint and Several Liability of Borrowers .............................................................. 86
      9.18     Patriot Act ............................................................................................................. 87
      9.19     Classified Information .......................................................................................... 87
      9.20     Intercreditor Agreement. ....................................................................................... 87




 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
                              Doc 236-1
                                  156-1 Filed
                                           Filed 03/31/20
                                                 06/28/19 Entered
                                                            Entered 03/31/20
                                                                    06/28/19 15:36:30
                                                                             14:56:52   Desc
                                                                                        Desc
                                   Exhibit    Page 342  of 680
                                Exhibit 1-29 Page 184 of 500



 Exhibits
        A-1       Form of Revolving Note
        A-2       Form of Term Note
        A-3       Form of CapEx Note
        B         Form of Continuation Notice
        C         Form of Borrowing Notice
        D         Form of Covenant Compliance Certificate
        E         Form of Assignment and Acceptance
        F         Form of Borrowing Base Certificate
        G         Form of Pricing Certificate

 Schedules

         1.1(A)   Adjusted EBITDA
         3.6      Legal and Operating Names
         3.7      Environmental Matters
         3.8      Intellectual Property
         3.16     Real Property
         3.19     Capital Structure and Equity Ownership
         6.2      Permitted Indebtedness
         6.3      Permitted Liens
         6.9      Affiliate Transactions




 100037025
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
                            Doc 236-1
                                156-1 Filed
                                         Filed 03/31/20
                                               06/28/19 Entered
                                                          Entered 03/31/20
                                                                  06/28/19 15:36:30
                                                                           14:56:52          Desc
                                                                                             Desc
                                 Exhibit    Page 343  of 680
                              Exhibit 1-29 Page 185 of 500


                                                                                   EXHIBIT A-1

                                 FORM OF REVOLVING NOTE


  $_____________                                                     Dated as of _____________


          FOR VALUE RECEIVED, the undersigned, BW Piezo Holdings, LLC, a Delaware
  limited liability company, Channel Technologies Group, LLC, a California limited liability
  company, Electro-Optical Industries, LLC, a California limited liability company and CTG
  Advanced Materials, LLC, a Delaware limited liability company (each, a “Borrower” and
  collectively, the “Borrowers”), jointly and severally, hereby unconditionally promises to pay to
  the order of _____________________ (the “Lender”), in lawful money of the United States
  and in immediately available funds, the aggregate unpaid principal amount of all Revolving
  Loans made by the Lender to the undersigned pursuant to Section 2.1 of the Credit Agreement
  (as hereinafter defined), in accordance with, and subject to, the provisions of the Credit
  Agreement. Such payment shall be made for the account of the Lender at the office of OneWest
  Bank, FSB, located at 888 East Walnut Street, HQ-05-03, Pasadena, California 91101,
  Attention: David Ligon / Jason Prather, or at such other office as the holder of this Note may
  notify the undersigned and as agreed to by OneWest Bank, FSB, as Agent. The undersigned
  further agrees to pay interest in like money at such office or such other office on the unpaid
  principal amount hereof from time to time at the rates per annum and on the dates specified in
  the Credit Agreement until paid in full (both before and after judgment to the extent permitted
  by law).

          This Note is one of the Revolving Notes referred to in that certain Amended and
  Restated Credit Agreement dated as of October 11, 2013 (as amended, restated, supplemented
  or otherwise modified from time to time, the “Credit Agreement”), among the undersigned, as a
  Lender, the other Lenders parties thereto and OneWest Bank, FSB, as administrative agent for
  the Lenders, is entitled to the benefits thereof and of the other Loan Documents and is subject
  to optional and mandatory prepayment in whole or in part as provided therein. Reference is
  hereby made to the Credit Agreement for a more complete statement of the terms and
  conditions under which the Revolving Loans evidenced hereby are made and are to be repaid.
  Capitalized terms used herein which are defined in the Credit Agreement shall have such
  meanings unless otherwise defined herein or unless the context otherwise requires.

          Upon the occurrence and continuation of any one or more of the Events of Default
  specified in the Credit Agreement, all amounts then remaining unpaid on this Note shall
  become, or may be declared to be, immediately due and payable, all as provided therein.

       THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
  UNDER THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN
  ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK (INCLUDING
  SECTIONS 5-1401 AND 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS
  LAW, BUT EXCLUDING ALL OTHER CHOICE OF LAW AND CONFLICTS OF
  LAW RULES).



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 344  of 680
                          Exhibit 1-29 Page 186 of 500




                                        BORROWERS:

                                        BW PIEZO HOLDINGS, LLC
                                        a Delaware limited liability company


                                        By:
                                        Name:
                                        Title:


                                        CHANNEL TECHNOLOGIES GROUP, LLC
                                        a California limited liability company


                                        By:
                                        Name:
                                        Title:


                                        ELECTRO-OPTICAL INDUSTRIES, LLC
                                        a California limited liability company


                                        By:
                                        Name:
                                        Title:


                                        CTG ADVANCED MATERIALS, LLC
                                        a Delaware limited liability company


                                        By:
                                        Name:
                                        Title:




  Revolving Note
                                      S-1
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
                            Doc 236-1
                                156-1 Filed
                                         Filed 03/31/20
                                               06/28/19 Entered
                                                          Entered 03/31/20
                                                                  06/28/19 15:36:30
                                                                           14:56:52           Desc
                                                                                              Desc
                                 Exhibit    Page 345  of 680
                              Exhibit 1-29 Page 187 of 500


                                                                                    EXHIBIT A-2


                                     FORM OF TERM NOTE


  $_____________                                                      Dated as of _____________


          FOR VALUE RECEIVED, the undersigned, BW Piezo Holdings, LLC, a Delaware
  limited liability company, Channel Technologies Group, LLC, a California limited liability
  company, Electro-Optical Industries, LLC, a California limited liability company and CTG
  Advanced Materials, LLC, a Delaware limited liability company (each, a “Borrower” and
  collectively, the “Borrowers”), jointly and severally, hereby unconditionally promises to pay to
  the order of _____________________ (the “Lender”), in lawful money of the United States
  and in immediately available funds, the aggregate unpaid principal amount of all Term Loans
  made by the Lender to the undersigned pursuant to Section 2.2 of the Credit Agreement (as
  hereinafter defined), in installments and in amounts in accordance with, and subject to, the
  provisions of the Credit Agreement. Such payment shall be made for the account of the Lender
  at the office of OneWest Bank, FSB, located at 888 East Walnut Street, HQ-05-03, Pasadena,
  California 91101, Attention: David Ligon/ Jason Prather, or at such other office as the holder of
  this Note may notify the undersigned and as agreed to by OneWest Bank, FSB, as Agent. The
  undersigned further agrees to pay interest in like money at such office or such other office on
  the unpaid principal amount hereof from time to time at the rates per annum and on the dates
  specified in the Credit Agreement until paid in full (both before and after judgment to the
  extent permitted by law).

          This Note is one of the Term Notes referred to in that certain Amended and Restated
  Credit Agreement dated as of October 11, 2013 (as amended, restated, supplemented or
  otherwise modified from time to time, the “Credit Agreement”) among the Borrowers, the
  Lender, the other Lenders parties thereto and OneWest Bank, FSB, as administrative agent for
  the Lenders, is entitled to the benefits thereof and of the other Loan Documents and is subject
  to optional and mandatory prepayment in whole or in part as provided therein. Reference is
  hereby made to the Credit Agreement for a more complete statement of the terms and
  conditions under which the Term Loans evidenced hereby are made and are to be repaid.
  Capitalized terms used herein which are defined in the Credit Agreement shall have such
  meanings unless otherwise defined herein or unless the context otherwise requires.

          Upon the occurrence and continuation of any one or more of the Events of Default
  specified in the Credit Agreement, all amounts then remaining unpaid on this Note shall
  become, or may be declared to be, immediately due and payable, all as provided therein.

       THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
  UNDER THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN
  ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK (INCLUDING
  SECTIONS 5-1401 AND 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS
  LAW, BUT EXCLUDING ALL OTHER CHOICE OF LAW AND CONFLICTS OF
  LAW RULES).
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                        Doc 236-1
                            156-1 Filed
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                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 346  of 680
                          Exhibit 1-29 Page 188 of 500


                                        BORROWERS:

                                        BW PIEZO HOLDINGS, LLC
                                        a Delaware limited liability company


                                        By:
                                        Name:
                                        Title:


                                        CHANNEL TECHNOLOGIES GROUP, LLC
                                        a California limited liability company


                                        By:
                                        Name:
                                        Title:


                                        ELECTRO-OPTICAL INDUSTRIES, LLC
                                        a California limited liability company


                                        By:
                                        Name:
                                        Title:


                                        CTG ADVANCED MATERIALS, LLC
                                        a Delaware limited liability company


                                        By:
                                        Name:
                                        Title:




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                                      S-1
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
                            Doc 236-1
                                156-1 Filed
                                         Filed 03/31/20
                                               06/28/19 Entered
                                                          Entered 03/31/20
                                                                  06/28/19 15:36:30
                                                                           14:56:52           Desc
                                                                                              Desc
                                 Exhibit    Page 347  of 680
                              Exhibit 1-29 Page 189 of 500


                                                                                    EXHIBIT A-3


                                FORM OF CAPEX TERM NOTE


  $_____________                                                      Dated as of _____________


          FOR VALUE RECEIVED, the undersigned, BW Piezo Holdings, LLC, a Delaware
  limited liability company, Channel Technologies Group, LLC, a California limited liability
  company, Electro-Optical Industries, LLC, a California limited liability company and CTG
  Advanced Materials, LLC, a Delaware limited liability company (each, a “Borrower” and
  collectively, the “Borrowers”), jointly and severally, hereby unconditionally promises to pay to
  the order of _____________________ (the “Lender”), in lawful money of the United States
  and in immediately available funds, the aggregate unpaid principal amount of all CapEx Term
  Loans made by the Lender to the undersigned pursuant to Section 2.3 of the Credit Agreement
  (as hereinafter defined), in installments and in amounts in accordance with, and subject to, the
  provisions of the Credit Agreement. Such payment shall be made for the account of the Lender
  at the office of OneWest Bank, FSB, located at 888 East Walnut Street, HQ-05-03, Pasadena,
  California 91101, Attention: David Ligon/ Jason Prather, or at such other office as the holder of
  this Note may notify the undersigned and as agreed to by OneWest Bank, FSB, as Agent. The
  undersigned further agrees to pay interest in like money at such office or such other office on
  the unpaid principal amount hereof from time to time at the rates per annum and on the dates
  specified in the Credit Agreement until paid in full (both before and after judgment to the
  extent permitted by law).

          This Note is one of the CapEx Term Notes referred to in that certain Amended and
  Restated Credit Agreement dated as of October 11, 2013 (as amended, restated, supplemented
  or otherwise modified from time to time, the “Credit Agreement”) among the Borrowers, the
  Lender, the other Lenders parties thereto and OneWest Bank, FSB, as administrative agent for
  the Lenders, is entitled to the benefits thereof and of the other Loan Documents and is subject
  to optional and mandatory prepayment in whole or in part as provided therein. Reference is
  hereby made to the Credit Agreement for a more complete statement of the terms and
  conditions under which the CapEx Term Loans evidenced hereby are made and are to be
  repaid. Capitalized terms used herein which are defined in the Credit Agreement shall have
  such meanings unless otherwise defined herein or unless the context otherwise requires.

          Upon the occurrence and continuation of any one or more of the Events of Default
  specified in the Credit Agreement, all amounts then remaining unpaid on this Note shall
  become, or may be declared to be, immediately due and payable, all as provided therein.

       THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
  UNDER THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN
  ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK (INCLUDING
  SECTIONS 5-1401 AND 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS
  LAW, BUT EXCLUDING ALL OTHER CHOICE OF LAW AND CONFLICTS OF
  LAW RULES).
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                             Exhibit    Page 348  of 680
                          Exhibit 1-29 Page 190 of 500


                                        BORROWERS:

                                        BW PIEZO HOLDINGS, LLC
                                        a Delaware limited liability company


                                        By:
                                        Name:
                                        Title:


                                        CHANNEL TECHNOLOGIES GROUP, LLC
                                        a California limited liability company


                                        By:
                                        Name:
                                        Title:


                                        ELECTRO-OPTICAL INDUSTRIES, LLC
                                        a California limited liability company


                                        By:
                                        Name:
                                        Title:


                                        CTG ADVANCED MATERIALS, LLC
                                        a Delaware limited liability company


                                        By:
                                        Name:
                                        Title:




  CapEx Term Note
                                      S-1
Case
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                             Doc 236-1
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                                  Exhibit    Page 349  of 680
                               Exhibit 1-29 Page 191 of 500


                                                                                      EXHIBIT B


                             FORM OF CONTINUATION NOTICE



 Date: __________, 20__


 To:    OneWest Bank, FSB, as Agent
        888 East Walnut Street
        HQ-05-03
        Pasadena, California 91101
        Attention: Commercial Loan Operations


        Re:    BW Piezo Holdings, LLC, a Delaware limited liability company, Channel
               Technologies Group, LLC, a California limited liability company, Electro-Optical
               Industries, LLC, a California limited liability company, and CTG Advanced
               Materials, LLC, a Delaware limited liability company (each, a “Borrower,”
               collectively, the “Borrowers”)

         We refer to that certain Amended and Restated Credit Agreement dated as of October 11,
 2013 among (1) the Borrowers, (2) the Lenders parties thereto and (3) OneWest Bank, FSB, as
 administrative agent to the Lenders (such agreement, as amended, modified, restated or
 supplemented from time to time, the “Credit Agreement”). Capitalized terms used herein and
 not defined have the meanings assigned to them in the Credit Agreement.

        [Pursuant to Section 2.6(a) of the Credit Agreement, the undersigned elects to convert the
 following LIBOR Loans to Base Rate Loans at the end of the current Interest Period for such
 LIBOR Loans:

 LIBOR Loan Amount                           Last Day of Current Interest Period

 1.
 2.
 3.     [and so on]                                                        ]


       [Pursuant to Section 2.6(a) of the Credit Agreement, the undersigned elects to convert
 Base Rate Loans in the aggregate amount of $__________ to LIBOR Loan(s) as follows:

                                      Desired Date                  Length of
 LIBOR Loan Amount                    of Conversion                 Interest Period

 1.
 2.
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
                            Doc 236-1
                                156-1 Filed
                                         Filed 03/31/20
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                                                                  06/28/19 15:36:30
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                                 Exhibit    Page 350  of 680
                              Exhibit 1-29 Page 192 of 500


 3.     [and so on]                                                       ]


         [Pursuant to Section 2.6(b) of the Credit Agreement, the undersigned elects to continue
 the Interest Periods with respect to the following LIBOR Loans for the following additional
 Interest Period:

                              Last Day of Current                 Length of Continued
 LIBOR Loan Amount            Interest Period                     Interest Period

 1.
 2.
 3.     [and so on]                                                       ]


                                            BORROWERS:


                                            BW PIEZO HOLDINGS, LLC,
                                            a Delaware limited liability company on behalf
                                            of all Borrowers to the Credit Agreement


                                            By: ________________________________
                                            Name: _____________________________
                                            Title: ______________________________




                                          -2-
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
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                                     Exhibit    Page 351  of 680
                                  Exhibit 1-29 Page 193 of 500


                                                                                    EXHIBIT C


                                  FORM OF BORROWING NOTICE


                                                                          ____________, 20___


 OneWest Bank, FSB, as Agent
 888 East Walnut Street
 HQ-05-03
 Pasadena, California 91101
 Attention: Commercial Loan Operations

 Ladies and Gentlemen:

         BW PIEZO HOLDINGS, LLC, a Delaware limited liability company, CHANNEL
 TECHNOLOGIES, LLC, a California limited liability company, ELECTRO-OPTICAL
 INDUSTRIES, LLC, a California limited liability company and CTG ADVANCED
 MATERIALS, LLC, a Delaware limited liability company (each, a “Borrower” and collectively,
 the “Borrowers”), refer to that certain Amended and Restated Credit Agreement dated as of
 October 11, 2013 (as it may be amended, restated, modified or supplemented from time to time,
 the “Credit Agreement”) among the Borrowers, the Lenders parties thereto and OneWest Bank,
 FSB, as administrative agent for said Lenders (in such capacity, the “Agent”). Terms defined in
 the Credit Agreement and not otherwise defined herein have the same respective meanings when
 used herein. Pursuant to the Credit Agreement, the undersigned hereby requests Loans under the
 Credit Agreement and in that connection sets forth below the information relating thereto
 (collectively, the “Proposed Loan”).

                1.       The date of the Proposed Loan is ___________, _____.

               2.    The aggregate amount of the Proposed Loan is $______________,
 comprised of [$________] in Revolving Loans, [$_________] in CapEx Term Loans and
 [$________] in Term Loans1.

               3.    The Type of Proposed Loan will be [a LIBOR Loan/a Base Rate Loan/a
 combination of a LIBOR Loan in the amount of $_____________ and a Base Rate Loan in the
 amount of $_____________].2

               4.       [With regard to the LIBOR Loan, the length of the initial Interest Period
 shall be ___ months.]3



 1      Bracketed alternatives to be used as appropriate.
 2      Bracketed alternatives to be used as appropriate.
 3      Use if Proposed Loan will include a LIBOR Loan.
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 352  of 680
                                   Exhibit 1-29 Page 194 of 500


                5.     [The Agent and the Lenders are agreeing to make available to the
 Borrowers the above-contemplated LIBOR Loans even though, as of today, the Amended and
 Restated Credit Agreement has not yet become effective. By submitting this request for LIBOR
 Loans, each Borrower agrees to the provisions of 2.15 of the Credit Agreement, and agrees to
 indemnify the Agent and the Lenders as contemplated by such section with respect to such
 borrowing as if such provision were currently in effect.]4

                6.     The undersigned hereby certifies that the following statements are true on
 the date hereof and will be true on the date of the Proposed Loan:

                 a.     The representations and warranties contained in the Credit Agreement,
         each other Loan Document and each certificate or other writing delivered by the
         Borrowers or any other Loan Party to the Agent in connection therewith are correct on
         and as of such date in all material respects (except for those representations and
         warranties that are conditioned by materiality, which shall be true and correct in all
         respects5) as though made on and as of such date except (i) to the extent that such
         representations and warranties expressly relate to an earlier date and (ii) the
         representations and warranties made under Section 3.1(a) of the Credit Agreement shall
         be deemed to refer to the most recent financial statements furnished to the Agent pursuant
         to Section 5.1 of the Credit Agreement6;

               b.      No Default has occurred and is continuing or would result from the
         making of the Proposed Loan as of the date hereof; and

                c.     No event has occurred and is continuing, and no condition exists, which
         could reasonably be expected to have a Material Adverse Effect.



                                                   Very truly yours,


                                                    BW PIEZO HOLDINGS, LLC,
                                                    a Delaware limited liability company, on behalf of
                                                    all Borrowers party to the Credit Agreement


                                                    By: ________________________________
                                                    Name: _____________________________
                                                    Title: ______________________________




 4 To be included on the Closing Date Borrowing Notice if requesting LIBOR Loans as of the Closing Date.
 5 This parenthetical will be added to the Credit Agreement in Sections 4.1(l) and 4.2(a)(i).
 6 We need to keep this provision otherwise Section 3.1(a) is not properly dated down at each borrowing.


 Borrowing Notice                                 S-1
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS        Doc
                             Doc 236-1
                                 156-1 Filed
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                                  Exhibit    Page 353  of 680
                               Exhibit 1-29 Page 195 of 500


                                                                                     EXHIBIT D


                    FORM OF COVENANT COMPLIANCE CERTIFICATE


         This Covenant Compliance Certificate (this “Certificate”) is delivered in connection with
 that certain Amended and Restated Credit Agreement dated as of October 11, 2013 (as further
 amended, restated, supplemented or otherwise modified from time to time, the “Credit
 Agreement”), among BW Piezo Holdings, LLC, a Delaware limited liability company, (“BWP”),
 Channel Technologies Group, LLC, a California limited liability company (“CTG”), Electro-
 Optical Industries, LLC, a California limited liability company (“EOI”), CTG Advanced
 Materials, LLC, a Delaware limited liability company (“CTG Advanced”) and such additional
 Subsidiaries of BWP that may from time to time hereafter become party to the Credit Agreement
 pursuant to Section 5.12 of the Credit Agreement (each of the foregoing a “Borrower” and
 collectively, the “Borrowers”), the lenders from time to time party thereto (the “Lenders”) and
 OneWest Bank, FSB, as administrative agent for the Lenders (in such capacity, the “Agent”).
 Capitalized terms used herein which are defined in the Credit Agreement shall have such
 meanings unless otherwise defined herein or unless the context otherwise requires.

         This Certificate is delivered by [insert name and title of Responsible Officer] of the
 Borrowers, who certifies that he/she is a duly elected, qualified and acting officer of the
 Borrowers holding such title and is authorized to execute this Certificate on behalf of the
 Borrowers. This Certificate is a Covenant Compliance Certificate contemplated by Section
 5.2(a) of the Credit Agreement.

        In such capacity, the undersigned hereby certifies as to the accuracy of the following as
 of ___________________, ____ (the “Compliance Date”):

 1.     Fixed Charge Coverage Ratio

        a.     Free Cash Flow

               i.      Adjusted EBITDA:

                       A. Net Income:                                    $_______

                       B. to the extent deducted in determining
                          Net Income, Net Interest Expense:              $_______

                       C. to the extent deducted in determining
                          Net Income, all amounts treated as
                          expenses for depreciation and
                          amortization (including amortization of
                          intangibles of any kind):                      $_______
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
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                                      156-1 Filed
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                                                                        06/28/19 15:36:30
                                                                                 14:56:52                          Desc
                                                                                                                   Desc
                                       Exhibit    Page 354  of 680
                                    Exhibit 1-29 Page 196 of 500


                           D. to the extent deducted in determining
                              Net Income, the aggregate amount of
                              Permitted Tax Distributions made:                        $_______

                           E. to the extent included in determining Net
                              Income, the sum for such period of any
                              extraordinary, unusual or non-recurring
                              non-cash expenses or losses, less non-
                              cash gains, in each case, acceptable to
                              the Agent (such acceptance not to be
                              unreasonably withheld, delayed or
                              conditioned):                                            $_______

                           F. Management Fees for such period to the
                              extent paid:                                             $_______

                           G. Board Fees, in each case reimbursed by
                              the Borrowers during such period and
                              not included under clause F above, in
                              amounts not to exceed $225,000 in the
                              aggregate in any consecutive 12-month
                              period:                                                  $_______

                           H. Integration Costs not to exceed an
                              aggregate amount of $2,000,000:                          $_______

                           I. Transaction Costs not to exceed an
                              aggregate amount of $6,000,000:                          $_______

                           J. A. + B. + C. + D. + E. + F. + G. + H. +
                              I.1 :                                                    $_______

                  ii.      maintenance Capital Expenditures made by
                           Borrowers and their Subsidiaries:                           $_______

                  iii.     cash Permitted Tax Distributions:                           $_______

                  iv.      i. – ii. – iii. :                                           $_______




 1 Note that Adjusted EBITDA for periods prior to the Closing Date is set forth on Schedule 1.1(A) to the Credit
 Agreement.
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS              Doc
                                   Doc 236-1
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                                        Exhibit    Page 355  of 680
                                     Exhibit 1-29 Page 197 of 500


          b.       Fixed Charges2:

                   i.       Gross Interest Expense of Borrowers and its
                            Subsidiaries on a consolidated basis paid or
                            required to be paid in cash:                                  $_______

                   ii.      aggregate amount of scheduled principal
                            payments on Indebtedness:                                     $_______

                   iii.     i. + ii.:                                                     $_______

          c.       Ratio of a. to b.:                                                        _____:1

          d.       Required Fixed Charge Coverage Ratio3:                                   [____]:1

 2.       Maximum Capital Expenditures

          a.       Actual Capital Expenditures:                                           $_______

          b.       Required Capital Expenditures4:                                        $_______

 3.       Total Leverage Ratio

          a.       Total Funded Debt:

                   i.       all indebtedness for borrowed money, or for
                            the deferred purchase price of property or
                            services (other than trade debt incurred and
                            payable in the ordinary course of business)
                            (including, but not limited to, the
                            Subordinated Debt):                                           $_______

                   ii.      all obligations evidenced by notes, bonds,
                            debentures or other similar instruments:                      $_______


 2        Solely for the purposes of calculating the Fixed Charge Coverage Ratio as of the last day of each of the
 fourth quarter of fiscal year 2013, the first quarter of fiscal year 2014, the second quarter of fiscal year 2014 and the
 third quarter of fiscal year 2014, Fixed Charges shall be annualized based on the actual Fixed Charges from the
 Closing Date until the last day of each such fiscal quarter.
 3        Section 6.1(b) of the Credit Agreement requires the Fixed Charge Coverage Ratio as of the end of any
 fiscal quarter, beginning with the fiscal quarter ending December 31, 2013, to be (i) no less than 1.25:1 for the fiscal
 quarter ending December 31, 2013 through September 30, 2015 and (ii) no less than 1.15:1.0 for the fiscal quarter
 ending December 31, 2015 and thereafter.
 4        Section 6.1(c) of the Credit Agreement requires that Capital Expenditures made by the Borrowers and their
 Subsidiaries in any fiscal year not exceed the following applicable amount: (i) for the fiscal year ending December
 31, 2013, $4,550,000, (ii) for the fiscal year ending December 31, 2014, $5,200,000 and (iii) for each fiscal year
 thereafter, $2,500,000 per fiscal year; provided that, if the Borrowers and the Subsidiaries do not use the entire
 amount of Capital Expenditures permitted in any fiscal year, they may carry forward 50.0% of such unused amount
 to the immediately succeeding fiscal year.
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     9:18-ap-01058-DS              Doc
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                                        Exhibit    Page 356  of 680
                                     Exhibit 1-29 Page 198 of 500


                   iii.     all indebtedness created or arising under any
                            conditional-sale or other title-retention
                            agreement with respect to property acquired:                 $_______

                   iv.      all Capitalized Lease Obligations:                           $_______

                   v.       all obligations, contingent or otherwise,
                            under acceptance, letter of credit or similar
                            facilities:                                                  $_______

                   vi.      indebtedness of any Borrower by virtue of it
                            being a general partner or joint venturer in
                            another Person:                                              $_______

                   vii.     indebtedness of another Person secured by
                            any Lien on any property or asset owned or
                            held by any Borrower:                                        $_______

                   viii.    any Guarantee Obligations:                                   $_______

                   ix.      i. + ii. + iii. + iv. + v. + vi. + vii. + viii.:             $_______

          b.       Adjusted EBITDA (see 1.a.i.J. above):                                 $_______

          c.       Ratio of a. to b.:                                                      _____:1

          d.       Required Total Leverage Ratio5:                                         [____]:1

 4.       Funds Subject to Mandatory Prepayment – Asset Dispositions

          Asset Dispositions during the current fiscal year6:                                              $_______

          [Borrowers to insert language describing Asset Dispositions, including
          the date of sale, the amount of Net Proceeds and a description of the
          assets sold.]

 5.       Funds Subject to Mandatory Prepayment – Debt Offering

 5        Section 6.1(a) of the Credit Agreement requires the Total Leverage Ratio, for any fiscal quarter, beginning
 with the fiscal quarter ending December 31, 2013, to be greater than (i) 5.25:1.00 for the five fiscal quarter period
 ending December 31, 2013 through and including December 31, 2014 (ii) 5.10:1.00 for the fiscal quarter period
 ending March 31, 2015 (iii) 5.00:1.00 for the fiscal quarter period ending June 30, 2015 (iv) 4.85:1.00 for the fiscal
 quarter period ending September 30, 2015 (v) 4.75:1.00 for the fiscal quarter period ending December 31, 2015 (vi)
 4.60:1.00 for the fiscal quarter period ending March 31, 2016 (vii) 4.50:1.00 for the fiscal quarter period ending June
 30, 2016 (viii) 4.25:1.00 for the fiscal quarter period ending September 30, 2016 (ix) 4.00:1.00 for the two fiscal
 quarter period ending December 31, 2016 through and including March 31, 2017 (x) 3.75:1.00 for the fiscal quarter
 period ending June 30, 2017 (xi) 3.50:1.00 for the fiscal quarter period ending September 20, 2017 and (xii)
 3.25:1.00 for the fiscal quarter period ending December 31, 2017 and thereafter.
 6        Section 6.5 of the Credit Agreement requires Asset Dispositions of the Borrowers and their Subsidiaries to
 be no greater than $500,000 for any fiscal year.
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS      Doc
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                                                                 06/28/19 15:36:30
                                                                          14:56:52    Desc
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                                Exhibit    Page 357  of 680
                             Exhibit 1-29 Page 199 of 500


       Net Proceeds with respect to a Debt Offering:                              $_______

       [Borrowers to insert language describing any Net Proceeds received with
       respect to a Debt Offering.]

 6.    Funds Subject to Mandatory Prepayment – Equity Offering

       Net Proceeds with respect to an Equity Offering:                           $_______

       [Borrowers to insert language describing any Net Proceeds received with
       respect to an Equity Offering.]

 7.    Funds Subject to Mandatory Prepayment – Insurance Proceeds

       Net Proceeds with respect to any insurance proceeds or condemnation
       proceeds aggregating more than $100,000 (or any amount after the
       occurrence and continuance of an Event of Default):                        $_______


       [Borrowers to insert language describing any Net Proceeds received with
       respect to insurance proceeds.]

 8.    Funds Subject to Mandatory Prepayment – Excess Cash Flow

       Excess Cash Flow during the current fiscal year:                           $_______

       [Borrowers to insert language describing any Excess Cash Flow as well as
       such Excess Cash Flow not subject to mandatory prepayment.]



                             [Remainder of page intentionally left blank.]
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS              Doc
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                                        Exhibit    Page 358  of 680
                                     Exhibit 1-29 Page 200 of 500


       As of the Compliance Date, the undersigned represents and warrants to the Agent and the
 Lenders as follows:

         a.      The representations and warranties contained in the Credit Agreement, each other
 Loan Document and each certificate or other writing delivered to the Agent prior to, on or after
 the Closing Date are correct on and as of the date hereof in all material respects (except for those
 representations and warranties that are conditioned by materiality, which shall be true and correct
 in all respects) as though made on and as of the date hereof except (i) to the extent that such
 representations and warranties expressly relate to an earlier date and (ii) the representations and
 warranties made under Section 3.1 of the Credit Agreement shall be deemed to refer to the most
 recent financial statements furnished to the Agent pursuant to Section 5.1 of the Credit
 Agreement;

          b.       No Event of Default has occurred and is continuing; and

        c.      No event has occurred and is continuing, and no condition exists, which would
 reasonably be expected to have a Material Adverse Effect.




 Covenant Compliance Certificate                S-1
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS              Doc
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                                                                         06/28/19 15:36:30
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                                        Exhibit    Page 359  of 680
                                     Exhibit 1-29 Page 201 of 500


       IN WITNESS WHEREOF, THE UNDERSIGNED HAS HEREUNTO SIGNED
 HIS/HER NAME AS OF THIS _____ DAY OF ____________, ____:


                                                 BW PIEZO HOLDINGS, LLC,
                                                 a Delaware limited liability company, on behalf of
                                                 all Borrowers party to the Credit Agreement


                                                 By: ________________________________
                                                 Name: _____________________________
                                                 Title: ______________________________




 Covenant Compliance Certificate                S-1
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS              Doc
                                   Doc 236-1
                                       156-1 Filed
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                                        Exhibit    Page 360  of 680
                                     Exhibit 1-29 Page 202 of 500


                                                                                                         EXHIBIT E


                             FORM OF ASSIGNMENT AND ACCEPTANCE


         This Assignment and Acceptance (the “Assignment and Acceptance”) is dated as of the
 Effective Date set forth below and is entered into by and between [the][each]1 Assignor
 identified in item 1 below ([the][each, an] “Assignor”) and [the][each]2 Assignee identified in
 item 2 below ([the][each, an] “Assignee”). [It is understood and agreed that the rights and
 obligations of [the Assignors][the Assignees]3 hereunder are several and not joint.]4 Capitalized
 terms used but not defined herein shall have the meanings given to them in the Credit Agreement
 identified below (as it may be amended, restated, modified or supplemented from time to time,
 the “Credit Agreement”), receipt of a copy of which is hereby acknowledged by [the][each]
 Assignee. The Standard Terms and Conditions set forth in Annex 1 attached hereto are hereby
 agreed to and incorporated herein by reference and made a part of this Assignment and
 Acceptance as if set forth herein in full.

         For an agreed consideration, [the][each] Assignor hereby irrevocably sells and assigns to
 [the Assignee][the respective Assignees], and [the][each] Assignee hereby irrevocably purchases
 and assumes from [the Assignor][the respective Assignors], subject to and in accordance with the
 Standard Terms and Conditions and the Credit Agreement, as of the Effective Date inserted by
 the Agent as contemplated below (i) all of [the Assignor’s][the respective Assignors’] rights and
 obligations in [its capacity as a Lender][their respective capacities as Lenders] under the Credit
 Agreement and any other documents or instruments delivered pursuant thereto to the extent
 related to the amount and percentage interest identified below of all of such outstanding rights
 and obligations of [the Assignor][the respective Assignors] under the respective facilities
 identified below (including without limitation any guarantees included in such facilities), and (ii)
 to the extent permitted to be assigned under applicable law, all claims, suits, causes of action and
 any other right of [the Assignor (in its capacity as a Lender)][the respective Assignors (in their
 respective capacities as Lenders)] against any Person, whether known or unknown, arising under
 or in connection with the Credit Agreement, any other documents or instruments delivered
 pursuant thereto or the loan transactions governed thereby or in any way based on or related to
 any of the foregoing, including, but not limited to, contract claims, tort claims, malpractice
 claims, statutory claims and all other claims at law or in equity related to the rights and
 obligations sold and assigned pursuant to clause (i) above (the rights and obligations sold and
 assigned by [the][any] Assignor to [the][any] Assignee pursuant to clauses (i) and (ii) above
 being referred to herein collectively as [the][an] “Assigned Interest”). Each such sale and

 1
   For bracketed language here and elsewhere in this form relating to the Assignor(s), if the assignment is from a
 single Assignor, choose the first bracketed language. If the assignment is from multiple Assignors, choose the
 second bracketed language.
 2
   For bracketed language here and elsewhere in this form relating to the Assignee(s), if the assignment is to a single
 Assignee, choose the first bracketed language. If the assignment is to multiple Assignees, choose the second
 bracketed language.
 3
   Select as appropriate.
 4
   Include bracketed language if there are either multiple Assignors or multiple Assignees.




                                                            1
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                 Doc
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                                                                            06/28/19 15:36:30
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                                           Exhibit    Page 361  of 680
                                        Exhibit 1-29 Page 203 of 500


 assignment is without recourse to [the][any] Assignor and, except as expressly provided in this
 Assignment and Acceptance, without representation or warranty by [the][any] Assignor.


 1.         Assignor[s]:                  ________________________________

                                          ______________________________

            [Assignor [is] [is not] a Defaulting Lender.]

 2.         Assignee[s]:                  ______________________________

                                          ______________________________


 3.         Borrowers:        BW Piezo Holdings, LLC, a Delaware limited liability company
                              Channel Technologies Group, LLC, a California limited liability company
                              Electro-Optical Industries, LLC, a California limited liability company
                              CTG Advanced Materials, LLC, a Delaware limited liability company

 4.         Agent:            OneWest Bank, FSB, as the administrative agent under the Credit
                              Agreement

       5.   Credit Agreement: Amended and Restated Credit Agreement dated as of October 11, 2013
                               among the Borrowers, the Lenders parties thereto and the Agent

 6.          Assigned Interest[s]:

                                                                                                                Percentage
                                                                     Aggregate Amount of                        Assigned of
                                                                                               Amount of
                                                                     Commitment/Loans for                      Commitment/
                   5                  6                          7                   8      Commitment/Loans            9
        Assignor[s]        Assignee[s]       Facility Assigned           all Lenders           Assigned8          Loans
                                                                     $                      $                           %
                                                                     $                      $                           %
                                                                     $                      $                           %


 [7.        Trade Date:                   ______________]10


 5
   List each Assignor, as appropriate.
 6
   List each Assignee, as appropriate.
 7
   Fill in the appropriate terminology for the types of facilities under the Credit Agreement that are being assigned
 under this Assignment (e.g., “Revolving Loan Commitment,” “Term Loan Commitment,” etc.).
 8
   Amount to be adjusted by the counterparties to take into account any payments or prepayments made between the
 Trade Date and the Effective Date.
 9
   Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
 10
    To be completed if the Assignor(s) and the Assignee(s) intend that the minimum assignment amount is to be
 determined as of the Trade Date.




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                        Doc 236-1
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                             Exhibit    Page 362  of 680
                          Exhibit 1-29 Page 204 of 500




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
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                                       Exhibit    Page 363  of 680
                                    Exhibit 1-29 Page 205 of 500

 8.   Effective Date: _____________ ___, 20___ [TO BE INSERTED BY AGENT AND
 WHICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
 REGISTER THEREFOR.]

 The terms set forth in this Assignment and Acceptance are hereby agreed to:

                                                                ASSIGNOR[S]11

                                                                [NAME OF ASSIGNOR]

                                                                By:
                                                                Name:
                                                                Title:

                                                                [NAME OF ASSIGNOR]

                                                                By:
                                                                Name:
                                                                Title:


                                                                ASSIGNEE[S]12

                                                                [NAME OF ASSIGNEE]

                                                                By:
                                                                Name:
                                                                Title:

                                                                [NAME OF ASSIGNEE]

                                                                By:
                                                                Name:
                                                                Title:

 [Consented to and]13 Accepted:

 AGENT

 ONEWEST BANK, FSB, as Agent

 By:
 Name:
 Title:


 11
    Add additional signature blocks as needed.
 12
    Add additional signature blocks as needed.
 13
    To be added only if the consent of the Agent is required by the terms of the Credit Agreement.
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                                          Exhibit    Page 364  of 680
                                       Exhibit 1-29 Page 206 of 500

 [Consented to:]14

 BORROWERS

 BW PIEZO HOLDINGS, LLC,
 a Delaware limited liability company

 By:
 Name:
 Title:

 CHANNEL TECHNOLOGIES GROUP, LLC,
 a California limited liability company

 By:
 Name:
 Title:

 ELECTRO-OPTICAL INDUSTRIES, LLC,
 a California limited liability company

 By:
 Name:
 Title:

 CTG ADVANCED MATERIALS, LLC,
 a Delaware limited liability company

 By:
 Name:
 Title:




 14
      To be added only if the consent of the Borrowers are required by the terms of the Credit Agreement.
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Case 9:18-ap-01058-DS
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                                  Exhibit    Page 365  of 680
                               Exhibit 1-29 Page 207 of 500


                                                                                          ANNEX 1

                         STANDARD TERMS AND CONDITIONS FOR
                            ASSIGNMENT AND ACCEPTANCE

                1.      Representations and Warranties.

                 1.1     Assignor[s]. [The][Each] Assignor (a) represents and warrants that (i) it is
 the legal and beneficial owner of [the][the relevant] Assigned Interest, (ii) [the][such] Assigned
 Interest is free and clear of any lien, encumbrance or other adverse claim, (iii) it has full power
 and authority, and has taken all action necessary, to execute and deliver this Assignment and
 Acceptance and to consummate the transactions contemplated hereby and (iv) it is [not] a
 Defaulting Lender; and (b) assumes no responsibility with respect to (i) any statements,
 warranties or representations made in or in connection with the Credit Agreement or any other
 Loan Document, (ii) the execution, legality, validity, enforceability, genuineness, sufficiency or
 value of the Loan Documents or any collateral thereunder, (iii) the financial condition of the
 Borrowers, any of its Subsidiaries or Affiliates or any other Person obligated in respect of any
 Loan Document, or (iv) the performance or observance by the Borrowers, any of its Subsidiaries
 or Affiliates or any other Person of any of their respective obligations under any Loan
 Document.

                 1.2. Assignee[s]. [The][Each] Assignee (a) represents and warrants that (i) it
 has full power and authority, and has taken all action necessary, to execute and deliver this
 Assignment and Acceptance and to consummate the transactions contemplated hereby and to
 become a Lender under the Credit Agreement, (ii) it meets all the requirements to be an assignee
 under Section 9.6(c) of the Credit Agreement (subject to such consents, if any, as may be
 required under Section 9.6(c) of the Credit Agreement), (iii) from and after the Effective Date, it
 shall be bound by the provisions of the Credit Agreement as a Lender thereunder and, to the
 extent of [the][the relevant] Assigned Interest, shall have the obligations of a Lender thereunder,
 (iv) it is sophisticated with respect to decisions to acquire assets of the type represented by the
 Assigned Interest and either it, or the Person exercising discretion in making its decision to
 acquire the Assigned Interest, is experienced in acquiring assets of such type, (v) it has received
 a copy of the Credit Agreement, and has received or has been accorded the opportunity to
 receive copies of the most recent financial statements delivered pursuant thereto, as applicable,
 and such other documents and information as it deems appropriate to make its own credit
 analysis and decision to enter into this Assignment and Acceptance and to purchase [the][such]
 Assigned Interest, (vi) it has, independently and without reliance upon the Agent or any other
 Lender and based on such documents and information as it has deemed appropriate, made its
 own credit analysis and decision to enter into this Assignment and Acceptance and to purchase
 [the][such] Assigned Interest, and (vii) attached to the Assignment and Acceptance is any
 documentation required to be delivered by it pursuant to the terms of the Credit Agreement, duly
 completed and executed by [the][such] Assignee; and (b) agrees that (i) it will, independently
 and without reliance on the Agent, [the][any] Assignor or any other Lender, and based on such
 documents and information as it shall deem appropriate at the time, continue to make its own
 credit decisions in taking or not taking action under the Loan Documents, and (ii) it will perform




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     9:18-ap-01058-DS        Doc
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                                  Exhibit    Page 366  of 680
                               Exhibit 1-29 Page 208 of 500


 in accordance with their terms all of the obligations which by the terms of the Loan Documents
 are required to be performed by it as a Lender.

                  2.     Payments. From and after the Effective Date, the Agent shall make all
 payments in respect of [the][each] Assigned Interest (including payments of principal, interest,
 fees and other amounts) to [the][the relevant] Assignee whether such amounts have accrued prior
 to, on or after the Effective Date. The Assignor[s] and the Assignee[s] shall make all appropriate
 adjustments in payments by the Agent for periods prior to the Effective Date or with respect to
 the making of this assignment directly between themselves. Notwithstanding the foregoing, the
 Agent shall make all payments of interest, fees or other amounts paid or payable in kind from
 and after the Effective Date to [the][the relevant] Assignee.

                 3.     General Provisions. This Assignment and Acceptance shall be binding
 upon, and inure to the benefit of, the parties hereto and their respective successors and assigns.
 This Assignment and Acceptance may be executed in any number of counterparts, which
 together shall constitute one instrument. Delivery of an executed counterpart of a signature page
 of this Assignment and Acceptance by telecopy shall be effective as delivery of a manually
 executed counterpart of this Assignment and Acceptance. This Assignment and Acceptance
 shall be governed by, and construed in accordance with, the laws of the State of New York
 (without reference to its choice of law rules).




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                             Exhibit    Page 367  of 680
                          Exhibit 1-29 Page 209 of 500


                                   EXHIBIT F

                FORM OF BORROWING BASE CERTIFICATE



                                    [Attached]
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Case 9:18-ap-01058-DS
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                                          Exhibit    Page 368  of 680
                                       Exhibit 1-29 Page 210 of 500
                                                 BORROWING BASE CERTIFICATE
                                                                               For:



         #    ACCOUNTS RECEIVABLE
         1         Total Accounts Receivable Current Period
         2         Less:       Total Ineligible Accounts
         3         Total Eligible Accounts Receivable (Line 1 - Line 2)                             $               -
         4         Accounts Receivable Advance Rate (80%)                                                           80%
         5         Accounts Receivable Availability (Line 3 * Line 4)                               $               -

         #    INVENTORY
         6          Total Inventory Current Period
         7          Less:       Total Ineligible Inventory
         8          Total Eligible Inventory (Line 6 - Line 7)                                      $               -
         9          Inventory Advance Rate (50%; may be 60% up to 90 consecutive days)                              50%
         10         Inventory Availability (Line 8 * Line 9)                                        $               -


              BORROWING BASE
         11        Total Collateral Availability (Line 5 + Line 10)                                 $               -
         12        Total Revolving Line of Credit                                                   $        10,000,000

         13             Borrowing Base (Lesser of Line 11 or Line 12)                               $                -

         14             Less: Outstanding L/C's (enter as negative)                                 $                -
         15             Less: Usage (Outstanding Line of Credit) (enter as negative)
         16             Total Outstanding                                                           $                -

         17             Net Borrowing Availability                                                  $                -

       This Borrowing Base Certificate is executed on _____________________, ________ by a responsible officer of each
       of the Borrowers (as defined in that certain Amended and Restated Credit Agreement, dated October 11, 2013, by
       and among BW Piezo Holdings, LLC, a Delaware limited liability company, Channel Technologies Group, LLC, a
       California limited liability company, Electro-Optical Industries, LLC, a California limited liability company, CTG
       Advanced Materials, LLC, a Delaware limited liability company, the lenders from time to time party thereto and
       OneWest Bank, FSB, as Agent). The undersigned hereby warrants and certifies that each and every matter contained
       herein is derived from the books and records of the Borrowers and is true and correct in all material respects.




              BW PIEZO HOLDINGS, LLC

              Signed:

              Title:

              CHANNEL TECHNOLOGIES GROUP, LLC

              Signed:

              Title:

              ELECTRO-OPTICAL INDUSTRIES, LLC

              Signed:

              Title:

              CTG Advanced Materials, LLC

              Signed:

              Title:
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS         Doc
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                                  156-1 Filed
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                                                                             14:56:52           Desc
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                                   Exhibit    Page 369  of 680
                                Exhibit 1-29 Page 211 of 500


                                                                                        EXHIBIT G


                               FORM OF PRICING CERTIFICATE


                               , a Responsible Officer of BW Piezo Holdings, LLC, a Delaware
 limited liability company, (“BWP”), Channel Technologies Group, LLC, a California limited
 liability company (“CTG”), Electro-Optical Industries, LLC, a California limited liability
 company (“EOI”), CTG Advanced Materials, LLC, a Delaware limited liability company (“CTG
 Advanced”) and such additional Subsidiaries of BWP that may from time to time hereafter
 become party to the Credit Agreement (as defined below) pursuant to Section 5.12 of the Credit
 Agreement (each of the foregoing a “Borrower” and collectively, the “Borrowers”), refer to that
 certain Amended and Restated Credit Agreement dated as of October 11, 2013, by and between
 the Borrowers, the lenders from time to time party thereto and OneWest Bank, FSB, as
 administrative agent for said Lenders (in such capacity, the “Agent”) (as it may be further
 amended, restated, modified or supplemented, the “Credit Agreement”; capitalized terms used
 herein and not defined shall have the meanings assigned to them in the Credit Agreement) and
 certify as to the accuracy of the following as of the fiscal quarter ended _______ ___, ______
 (the “Calculation Date”):

  1.     Pursuant to Section 2.8(d) of the Credit Agreement, the Applicable Margin for interest
 rates on the Loans shall be calculated on the basis of the Total Leverage Ratio set forth in the
 most recent Pricing Certificate. The Total Leverage Ratio for the Borrowers and their
 Subsidiaries on a consolidated basis for the fiscal quarter most recently ended and the
 immediately preceding three fiscal quarters, is the ratio of Total Funded Debt as of the last day of
 such quarter to Adjusted EBITDA for such period.

 2.      As of the Calculation Date, the Total Leverage Ratio is ____: 1 (as demonstrated in the
 calculation below), which corresponds to Leverage Level __. Therefore the Applicable Margin
 should move from [___]% to [___]% for LIBOR Loans and [___]% to [___]% for Base Rate
 Loans. Such change will be effective five (5) Business Days after the Agent’s receipt of this
 Pricing Certificate, as contemplated by Section 2.8(d) of the Credit Agreement.

   Total Leverage Ratio: (A) / (B) =
           (A)     Total Funded Debt: i. + ii. + iii. + iv. + v. + vi. + vii. +   $_______
                   viii.=
                   i.      all indebtedness for borrowed money, or for the        $_______
                           deferred purchase price of property or services
                           (other than trade debt incurred and payable in the
                           ordinary course of business) (including, but not
                           limited to, the Subordinated Debt):

                   ii.     all obligations evidenced by notes, bonds,             $_______
                           debentures or other similar instruments:
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
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                                                                        06/28/19 15:36:30
                                                                                 14:56:52                         Desc
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                                       Exhibit    Page 370  of 680
                                    Exhibit 1-29 Page 212 of 500


                      iii.    all indebtedness created or arising under any                    $_______
                              conditional-sale or other title-retention agreement
                              with respect to property acquired:

                      iv.     all Capitalized Lease Obligations:                               $_______

                      v.      all obligations, contingent or otherwise, under                  $_______
                              acceptance, letter of credit or similar facilities

                      vi.     indebtedness of any Borrower by virtue of it being a $_______
                              general partner or joint venturer in another Person

                      vii.    indebtedness of another Person secured by any Lien               $_______
                              on any property or asset owned or held by any
                              Borrower

                      viii.   any Guarantee Obligations                                        $_______

             (B)      Adjusted EBITDA1: i. + ii. + iii. + iv. + v. + vi. + vii. +              $_______
                      viii. + ix. =
                      i.      Net Income for the period:                                       $_______
                      ii.     Net Interest Expense *:                                          $_______
                      iii.    all amounts treated as expenses for depreciation and $_______
                              amortization (including amortization of intangibles
                              of any kind)*:
                      iv.     the aggregate amount of Permitted Tax                            $_______
                              Distributions made*:
                      v.      the sum for such period of any extraordinary,                    $_______
                              unusual or non-recurring non-cash expenses or
                              losses, less non-cash gains, in each case, acceptable
                              to the Agent (such acceptance not to be
                              unreasonably withheld, delayed or conditioned)*:
                      vi.     Management Fees for such period to the extent                    $_______
                              paid:
                      vii.    Board Fees, in each case reimbursed by the                       $_______
                              Borrowers during such period and not included in
                              clause vi above, in amounts not to exceed $225,000
                              in the aggregate in any consecutive 12-month
                              period:
                      viii.   Integration Costs not to exceed an aggregate                     $_______


 1Note that Adjusted EBITDA for periods prior to the Closing Date is set forth on Schedule 1.1(A) to the Credit
 Agreement.



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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS    Doc
                         Doc 236-1
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                                                               06/28/19 15:36:30
                                                                        14:56:52   Desc
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                              Exhibit    Page 371  of 680
                           Exhibit 1-29 Page 213 of 500


                      amount of $2,000,000:

               ix.    Transaction Costs not to exceed an aggregate      $_______
                      amount of $6,000,000:


            *to the extent deducted in the calculation of Net Income.




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                                                                   06/28/19 15:36:30
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                                  Exhibit    Page 372  of 680
                               Exhibit 1-29 Page 214 of 500


              3. Attached hereto are the financial statements required by Section 5.1(b) of the
 Credit Agreement for the fiscal quarter ending on the Calculation Date.

            IN WITNESS WHEREOF, EACH OF THE UNDERSIGNED HAS HEREUNTO
 SIGNED HIS/HER RESPECTIVE NAME AS OF THIS _____ DAY OF ___________, ______


                                             BW PIEZO HOLDINGS, LLC

                                             By:
                                             Name:
                                             Title:




                                             CHANNEL TECHNOLOGIES GROUP, LLC

                                             By:
                                             Name:
                                             Title: _________________________



                                             ELECTRO-OPTICAL INDUSTRIES, LLC

                                             By:
                                             Name:
                                             Title: _________________________



                                             CTG ADVANCED MATERIALS, LLC

                                             By:
                                             Name:
                                             Title: _________________________




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                                                                06/28/19 15:36:30
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                               Exhibit    Page 373  of 680
                            Exhibit 1-29 Page 215 of 500


                                     SCHEDULE 1.1(A)

                                     Adjusted EBTIDA

    Period                                   Actual Adjusted EBITDA
    Month ended September 30, 2012           $1,142,720.90
    Month ended October 31,2012              $ 434,106.59
    Month ended November 30, 2012            $ 909,724.95
    Month ended December 31, 2013            $1,372,184.56
    Month ended January 31, 2013             $ 584,085.36
    Month ended February 28, 2013            $ 943,308.54
    Month ended March 31, 2013               $1,855,557.97
    Month ended April 30, 2013               $ 570,142.44
    Month ended May 31, 2013                 $ 797,369.11
    Month ended June 30, 2013                $1,328,598.49
    Month ended July 31, 2013                $ 934,746.83
    Month ended August 31, 2013              $ 841,721.58




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                                  Exhibit    Page 374  of 680
                               Exhibit 1-29 Page 216 of 500
                                                                             Final Version


                   AMENDED AND RESTATED CREDIT AGREEMENT

                                  DISCLOSURE SCHEDULE

         The following matters are disclosed in connection with the Amended and Restated Credit
 Agreement, dated as of October 11, 2013 (the “Agreement”) by and among BW Piezo Holdings,
 LLC, CTG Advanced Materials, LLC, Channel Technologies Group, LLC, Electro-Optical
 Industries, LLC (collectively, the “Borrowers”), the Lenders (as defined therein), and OneWest
 Bank, FSB, as administrative agent for the Lenders (“Agent”). Capitalized terms used herein
 and not otherwise defined have the meanings specified in the Agreement.
         For purposes of the Disclosure Schedules, the schedule numbers of these Disclosure
 Schedules correspond to the section numbers of the Agreement. Any matter disclosed in any
 particular section of the Disclosure Schedules shall be deemed to be disclosed in reference to any
 other section of the Disclosure Schedules if the relevance of such information to such other
 Disclosure Schedule is reasonably apparent on its face.
        Certain information set forth in these Disclosure Schedules is included solely for
 informational purposes and may not be required to be disclosed pursuant to the Agreement. The
 disclosure of such information shall not be deemed to constitute an acknowledgment that such
 information is required to be disclosed in connection with the representations and warranties
 made by the Borrowers in the Agreement or that such information is material or would have a
 Material Adverse Effect.
         All references herein to any agreement, document, instrument or report shall be deemed
 to be a reference to such agreement, document, instrument or report, in its entirety and any
 identified amendments.




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     9:18-ap-01058-DS         Doc
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                                   Exhibit    Page 375  of 680
                                Exhibit 1-29 Page 217 of 500


                                           SCHEDULE 3.6

 In response to the first sentence in Section 3.6:

    1. As part of the HCMC/DHAN Acquisition, HCMC assigned to CTG Advanced its trade
       secrets. These trade secrets, however, have not been fully documented. Pursuant to
       Section 7.3 of the Acquisition Agreement, HCMC will be required to document such
       trade secrets following the closing of the HCMC/DHAN Acquisition.

    2. See the assets set forth in the attachment to Schedule 3.6 that are identified as “HC
       Owned/free for Navy to use”, “Navy owned/free for HC to use” and “GFE” (government
       furnished equipment).

 In response to the penultimate sentence in Section 3.6:

    1. On September 1, 2009, CTG was formed by the merger of two Channel Technologies,
       Inc. (“CTI”) subsidiaries—(i) Channel Industries, Inc., a California corporation (“CII”)
       and (ii) International Transducer Corp., a California corporation (“ITC”)—with and into
       Sonatech, Inc. (another CTI subsidiary), with Sonatech, Inc. as the surviving corporation.
       The Agreement and Plan of Merger relating to the above merger also amended the
       Articles of Incorporation of Sonatech to change Sonatech’s name to Channel
       Technologies Group, Inc.

    2. In December 2011, Channel Technologies Group, Inc. converted to a limited liability
       company and therefore became Channel Technologies Group, LLC.

    3. In December 2011, Electro-Optical Industries, Inc. converted to a limited liability
       company and therefore became Electro-Optical Industries, LLC.




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     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                             Exhibit    Page 376  of 680
                          Exhibit 1-29 Page 218 of 500
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                             Exhibit    Page 377  of 680
                          Exhibit 1-29 Page 219 of 500
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 378  of 680
                          Exhibit 1-29 Page 220 of 500
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                             Exhibit    Page 379  of 680
                          Exhibit 1-29 Page 221 of 500
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                          Exhibit 1-29 Page 222 of 500
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                             Exhibit    Page 381  of 680
                          Exhibit 1-29 Page 223 of 500
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                          Exhibit 1-29 Page 224 of 500
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                             Exhibit    Page 383  of 680
                          Exhibit 1-29 Page 225 of 500
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Case 9:18-ap-01058-DS
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                             Exhibit    Page 384  of 680
                          Exhibit 1-29 Page 226 of 500
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Case 9:18-ap-01058-DS
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                                Exhibit    Page 385  of 680
                             Exhibit 1-29 Page 227 of 500


                                       SCHEDULE 3.7

    1. Items disclosed by that certain Phase I Environmental Site Assessment: 839 Ward Drive,
       Goleta, California prepared by TRAK Environmental Group, Inc. dated January 19, 2007.

    2. Items disclosed by that certain Phase I Environmental Site Assessment: 859, 861, 869, &
       879 Ward Drive, Goleta, California prepared by TRAK Environmental Group, Inc. dated
       February 9, 2007.

    3. Items disclosed by that certain Phase I Environmental Site Assessment Report; 839, 859,
       861, 869, 879 Ward Drive, Goleta, California prepared by URS Corporation, dated
       August 2011.

    4. Items disclosed by that certain Master Plan and Comprehensive Strategy for Investigation
       and Corrective Action regarding 839, 859-861, and 869-879 Ward Drive, Goleta,
       California prepared by TRAK Environmental Group, Inc. dated September 16, 2010.

    5. Items disclosed by that certain letter from TRAK Environmental Group, Inc. to Apieh
       Claybrook, et al., regarding Proposal for Master Plan Comprehensive Investigation, 839,
       859-861, and 869-879 Ward Drive, Goleta, California dated September 27, 2010.

    6. Items disclosed by that certain Report of Master Plan Comprehensive Investigation
       regarding 839, 859-861, and 869-879 Ward Drive, Goleta, California prepared by TRAK
       Environmental Group, Inc. dated October 31, 2011.

    7. Items           disclosed          by           the          following       website:
       http://geotracker.waterboards.ca.gov/profile_report.asp?global_id=SLT3S2091340.

    8. Items disclosed by that certain memorandum from David Critchfield of EMSOURCE,
       Inc. to Haran Narulla regarding Environmental Review – Channel Industries, Inc.;
       Goleta, CA, dated August 31, 2011.

    9. Items disclosed by that certain memorandum from David Critchfield of EMSOURCE,
       Inc. to Haran Narulla regarding Environmental Review – Channel Industries, Inc.;
       Goleta, CA, dated September 22, 2011.

    10. Items disclosed by that certain Corrective Action Plan Addendum Comprehensive Master
        Plan regarding 839, 859-861, and 869-879 Ward Drive, Goleta, California prepared by
        TRAK Environmental Group, Inc. dated August, 31, 2012.

    11. Items disclosed by that certain Report of Master Plan Addendum Comprehensive
        regarding 839, 859-861, and 869-879 Ward Drive, Goleta, California prepared by TRAK
        Environmental Group, Inc. dated August 31, 2012.

    12. Items disclosed by that certain Report of Indoor Air Monitoring regarding 839 Ward
        Drive, Goleta, California prepared by TRAK Environmental Group, Inc. dated October
        31, 2012.


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
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                                 Exhibit    Page 386  of 680
                              Exhibit 1-29 Page 228 of 500


    13. Items disclosed by that certain Report of Indoor Air Monitoring 869 and 879 Ward Drive,
        and 859 Ward Drive, Alta Properties, Inc., Goleta, California prepared by TRAK
        Environmental Group, Inc., dated July 31, 2013.

    14. Items disclosed by that certain Report of Indoor Air Monitoring Follow-up Event, Alta
        Properties, Inc., Goleta, California prepared by TRAK Environmental Group, Inc., dated
        July 31, 2013.

    15. General Release, dated September 13, 2011, between Sonatech, Inc. (n/k/a Channel
        Technologies Group, LLC) and Marine Shale Processors Site PRP Group.

    16. Settlement Agreement, dated September 13, 2011, between Sonatech, Inc. (n/k/a Channel
        Technologies Group, LLC) and Marine Shale Processors Site PRP Group.

    17. Items disclosed by that certain Phase I Environmental Site Assessment and Limited
        Compliance Review: 479 & 475 Quadrangle Drive, Bolingbrook, Illinois prepared by
        ENVIRON International Corporation dated February 2010.

    18. Items disclosed by that certain Phase I Environmental Site Assessment: 475 & 479
        Quadrangle Drive, Bolingbrook, Illinois prepared by Conestoga-Rovers & Associates
        dated June 2013.

    19. Following the closing of the HCMC/DHAN Acquisition, CTG Advanced will seek a
        Lifetime Operating Permit issued by the Illinois Environmental Protection Agency. The
        application for the Lifetime Operating Permit can be filed with the Illinois Environmental
        Protection Agency within thirty (30) days following the transfer contemplated by the
        HCMC/DHAN Acquisition.




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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS      Doc
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                                Exhibit    Page 387  of 680
                             Exhibit 1-29 Page 229 of 500


                                       SCHEDULE 3.8

 As part of the HCMC/DHAN Acquisition, HCMC assigned to CTG Advanced its trade secrets.
 These trade secrets, however, have not been fully documented. Pursuant to Section 7.3 of the
 Acquisition Agreement, HCMC will be required to document such trade secrets following the
 closing of the HCMC/DHAN Acquisition.




                                              5
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS      Doc
                           Doc 236-1
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                                        Filed 03/31/20
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                                Exhibit    Page 388  of 680
                             Exhibit 1-29 Page 230 of 500


                                      SCHEDULE 3.16

    1. 479 Quadrangle Drive, Suites E and F, Bolingbrook, Illinois 60440 is leased by CTG
       Advanced pursuant to that certain Agreement of Lease, dated the date hereof, between
       CTG Advanced and DHAN.

    2. 475 Quadrangle Drive, Suites C and D, Bolingbrook, Illinois 60440 is leased by CTG
       Advanced, pursuant to that certain Agreement of Lease, dated the date hereof, between
       CTG Advanced and DHAN.

    3. 839, 859/861, and 869/879 Ward Drive, Santa Barbara, California 93111 are leased by
       CTG, pursuant to that certain Air Commercial Real Estate Association Standard
       Industrial/Commercial Single-Tenant Lease – Net, dated December 29, 2011, between
       CTG and Alta Properties, Inc (f/k/a Channel Technologies, Inc.). The office space at 861
       Ward Drive, Santa Barbara, California 93111 is occupied by GRT, Inc., as a sub-tenant
       of CTG.




                                               6
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
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                                 Exhibit    Page 389  of 680
                              Exhibit 1-29 Page 231 of 500


                                      SCHEDULE 3.19

    1. BWPH – See the attached.

    2. CTG Advanced – BWPH owns 100% of the outstanding equity in CTG Advanced.

    3. CTG – BWPH owns 100% of the outstanding membership interests in CTG.

    4. EOI – CTG owns 100% of the outstanding membership interests in EOI

    5. Equity Agreements:

          a. Limited Liability Company Agreement of CTG Advanced.

          b. Operating Agreement of CTG.

          c. Operating Agreement of EOI.

          d. BWPH Second Amended and Restated Limited Liability Company Agreement,
             dated the date hereof.

          e. Subscription Agreement, dated December 29, 2011, between Blue Wolf Capital
             Fund II, L.P. and BWPH.

          f. Subscription Agreement, dated December 29, 2011, between GAIN CTG
             Holdings Inc. and BWPH.

          g. Unit Grant Agreement, dated December 29, 2011, between Piezo Investment
             Holdings, LLC and BWPH, as amended on October 11, 2013.

          h. Capital Expenditures Letter Agreement, dated December 29, 2011, between
             BWPH and GAIN CTG Holdings Inc.

          i. Information Rights Letter Agreement, dated December 29, 2011, between BWPH
             and GAIN CTG Holdings, Inc.

          j. Letter Agreement between BWPH and DHAN, which will be entered into the day
             following the Closing Date.

          k. Unit Grant Agreement, effective as of September 13, 2012, between Piezo
             Investment Holdings, LLC and BWPH.

          l. Forfeiture and Termination of Underlying Units Agreement, dated October 11,
             2013 and effective as of the date set forth therein, between Piezo Investment
             Holdings, LLC and BWPH, relating to the repurchase of Art Campbell’s mirror
             units in Piezo Investment Holdings, LLC.


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS    Doc
                         Doc 236-1
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                              Exhibit    Page 390  of 680
                           Exhibit 1-29 Page 232 of 500


          m. Forfeiture and Termination of Underlying Units Agreement, dated October 11,
             2013 and effective as of the date set forth therein, between Piezo Investment
             Holdings, LLC and BWPH relating to the repurchase of Kevin Ruelas’ mirror
             units in Piezo Investment Holdings, LLC.

          n. First Amended and Restated Management Agreement, dated the date hereof,
             between Blue Wolf Capital Partners LLC and BW Piezo Holdings, LLC.

          o. Subscription Agreement, dated the date hereof, between BWPH and GAIN CTG
             Holdings Inc.

          p. Subscription Agreement, dated the date hereof, between BWPH and Blue Wolf
             Capital Fund II, L.P.

          q. Subscription Agreement, dated the date hereof, between Fidus Investment
             Holdings, Inc.

          r. Joinder to the BWPH Second Amended and Restated Limited Liability Company
             Agreement, dated the date hereof, executed by Fidus Investment Holdings, Inc.

          s. Subscription Agreement, dated the date hereof, between Avante Mezzanine
             Partners SBIC, L.P.

          t. Joinder to the BWPH Second Amended and Restated Limited Liability Company
             Agreement, dated the date hereof, executed by Avante Mezzanine Partners SBIC,
             L.P.

          u. On the Closing Date and the day following the Closing Date, BWPH will enter
             into a unit grant agreement with Piezo Investment Holdings, LLC in connection
             with management equity incentive grants to be issued by Piezo Investment
             Holdings, LLC in the form of mirror unit grants.




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                                                                                                                                                            Exhibit    Page 391  of 680
                                                                                                                                                         Exhibit 1-29 Page 233 of 500

Project Seawolf                                                                                                                                                                                                                                                                                                            BLUE WOLF
Equity Distribution

Initial Investment Date                                                      12/29/11
Transaction Date                                                             10/11/13
  Investment Period (Days)                                                     652.0
Cash Contributed                                                      $13,853,354.12
Preferred Return                                                                8.0%
  Accrued Preferred Return                                             $1,979,701.23
                                                                                                                                                                                                                                                                                    NOTES
CTG Economic Ownership At 10/11/2013
                                                       Cash Contributed                 Series A-1 Preferred Units   Series B-1 Preferred Units   Total Preferred Units     % of Total Preferred            Accrued Preferred Return   Total Common Units   Total Common Units
Blue Wolf Capital Fund II, L.P. Equity                 $12,129,738.45                            12,130                          0                      12,130                     87.6%                         $1,733,389.47            12,129,738               85.85%
Gladstone Equity                                        $1,598,615.66                             1,399                        200                       1,599                     11.5%                          $228,448.75              1,598,616               11.31%
Kevin Ruelas Equity                                         $0.00                                   0                            0                          0                      0.0%                              $0.00                      0                   0.00%
Mark Shaw Equity                                          $25,000.00                                25                           0                         25                      0.2%                            $3,572.60                 25,000                 0.18%
John Ladd Equity                                         $100,000.00                               100                           0                        100                      0.7%                            $14,290.41               100,000                 0.71%
Renaissance Strategic Partners 2011 LLC                       --                                    --                          --                         --                        --                                --                   145,647                 1.03%         RSA was issued 291,293 common units, 25% vest every year beg
Mark Shaw Equity Incentives                                   --                                    --                          --                         --                        --                                --                    32,547                 0.23%         Mark was issued 162,733 common units, 20% vest every year be
Gary Douville Equity Incentives                               --                                    --                          --                         --                        --                                --                    32,547                 0.23%         Douville was issued 162,734 total units, 20% vest every year beg
Paul Downey Equity Incentives                                 --                                    --                          --                         --                        --                                --                    40,683                 0.29%         Downey was issued 203,417 common units, 20% vest every year
Adm. Jay Donnelly Equity Incentives                           --                                    --                          --                         --                        --                                --                    8,137                  0.06%         Donnelly was issued 40,683 units, 20% vest every year beginning
Adm. Jerry Ellis Equity Incentives                            --                                    --                          --                         --                        --                                --                    8,137                  0.06%         Ellis was issued 40,683 units, 20% vest every year beginning on M
Adm. Nevin Carr Equity Incentives                             --                                    --                          --                         --                        --                                --                    8,137                  0.06%         Carr was issued 40,683 units, 20% vest every year beginning on M
  Total                                                $13,853,354.12                           13,654                         200                      13,853                     100%                         $1,979,701.23             14,129,187                100%

CTG Valuation at 10/11/2013
Negotiated TTM EBITDA at close                                         $5,777,000.00
Multiple                                                                         8.0x
  Enterprise Value                                                   $46,216,000.00
Less Debt                                                              (20,259,882.6)
  Equity Value                                                       $25,956,117.36
Less Preferred Principal and Return                                   (15,833,055.35)
Total Preferred Units Outstanding
  Common Units Value                                                 $10,123,062.01
Total Units Outstanding                                                  14,129,187
  Value Per Common Unit                                                        0.72

Value Per Preferred Unit (excl common component)                           $1,142.90
Value of 1,000 Common Units                                                   716.46
 Total Value/Preferred Unit                                                $1,859.37

CTG Economic Ownership At 10/11/2013 - Write-up

                                                                                                                                                                          Face Value + Accrued A-1
                                                   Series A-1 Preferred Units           Series B-1 Preferred Units     Total Preferred Units      % of Total Preferred                                        Total Common Units           % of Total       Value of Common         Total Capital Account
                                                                                                                                                                              Preferred Return

Blue Wolf Capital Fund II, L.P. Equity                     12,130                                 0                          12,130                      87.6%                $13,863,127.9                       12,129,738                 85.8%            $8,690,527.8             $22,553,655.7
Gladstone Equity                                            1,399                                200                          1,599                      11.5%                 $1,827,064.4                        1,598,616                 11.3%            $1,145,351.5             $2,972,415.9
Mark Shaw Equity                                              25                                  0                             25                        0.2%                  $28,572.6                            25,000                   0.2%             $17,911.6                 $46,484.2
John Ladd Equity                                             100                                  0                            100                        0.7%                  $114,290.4                          100,000                   0.7%             $71,646.5                $185,936.9
Renaissance Strategic Partners 2011 LLC                       --                                  --                            --                          --                      --                              145,647                   1.0%             $104,350.6               $104,350.6
Mark Shaw Equity Incentives                                   --                                  --                            --                          --                      --                               32,547                   0.2%             $23,318.5                 $23,318.5
Gary Douville Equity Incentives                               --                                  --                            --                          --                      --                               32,547                   0.2%             $23,318.6                 $23,318.6
Paul Downey Equity Incentives                                 --                                  --                            --                          --                      --                               40,683                   0.3%             $29,148.2                 $29,148.2
Adm. Jay Donnelly Equity Incentives                           --                                  --                            --                          --                      --                                8,137                   0.1%              $5,829.6                  $5,829.6
Adm. Jerry Ellis Equity Incentives                            --                                  --                            --                          --                      --                                8,137                   0.1%              $5,829.6                  $5,829.6
Adm. Nevin Carr Equity Incentives                             --                                  --                            --                          --                      --                                8,137                   0.1%              $5,829.6                  $5,829.6
  Total                                                    13,654                                200                         13,853                      100%                 $15,833,055.3                       14,129,187                 100%            $10,123,062.0             $25,956,117.4
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                                                                                                                                                                    Exhibit    Page 392  of 680
                                                                                                                                                                 Exhibit 1-29 Page 234 of 500

Pro Forma Ownership At 10/11/2013

                                                 Cash Contributed + Accrued A-1 Preferred
                                                                                            Series A-2 Cash Contributed   Series A-1 Preferred Units   Series A-2 Preferred Units   Series B-1 Preferred Units      Series B-2 Preferred Units   Total Preferred Units   % of Total Preferred    Common Capital Account   Total Common Units
                                                                 Return

Legacy BW Capital Fund II, L.P. Equity                      $13,863,127.93                              --                        12,130                          --                          --                               --                     12,130                   45.956%               $8,690,527.81          12,129,738
Legacy Gladstone                                             $1,827,064.41                              --                         1,399                          --                         200                               --                      1,599                   6.057%                $1,145,351.48           1,598,616
Legacy Mark Shaw Equity                                        $28,572.60                               --                           25                           --                          --                               --                        25                    0.095%                  $17,911.61              25,000
Legacy John Ladd Equity                                       $114,290.41                               --                          100                           --                          --                               --                       100                    0.379%                  $71,646.46             100,000
Renaissance Strategic Partners 2011 LLC                            --                                   --                           --                           --                          --                               --                         0                    0.000%                 $104,350.56             145,647
Mark Shaw Equity Incentives                                        --                                   --                           --                           --                          --                               --                         0                    0.000%                  $23,318.49              32,547
Gary Douville Equity Incentives                                    --                                   --                           --                           --                          --                               --                         0                    0.000%                  $23,318.63              32,547
Paul Downey Equity Incentives                                      --                                   --                           --                           --                          --                               --                         0                    0.000%                  $29,148.21              40,683
Adm. Jay Donnelly Equity Incentives                                --                                   --                           --                           --                          --                               --                         0                    0.000%                  $5,829.59                8,137
Adm. Jerry Ellis Equity Incentives                                 --                                   --                           --                           --                          --                               --                         0                    0.000%                  $5,829.59                8,137
Adm. Nevin Carr Equity Incentives                                  --                                   --                           --                           --                          --                               --                         0                    0.000%                  $5,829.59                8,137
New BW Equity                                                      --                            $10,030,614.74                      --                         5,395                         --                               --                      5,395                   20.439%                   $0.00               5,394,635
New Gladstone Equity                                               --                             $1,265,122.58                      --                          595                          --                              85                        680                    2.578%                    $0.00                680,404
Ralph Phillips Equity & Promissory Note                            --                              $500,000.00                       --                          269                          --                               --                       269                    1.019%                    $0.00                268,908
Ralph Phillips Equity Inventive                                    --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
DHAN LLC                                                           --                             $9,421,913.63                      --                         5,067                         --                               --                      5,067                   19.199%                   $0.00               5,067,265
Avante                                                             --                             $1,000,000.00                      --                          538                          --                               --                       538                    2.038%                    $0.00                537,817
Fidus                                                              --                             $1,000,000.00                      --                          538                          --                               --                       538                    2.038%                    $0.00                537,817
Gary Douville Contribution                                         --                              $100,000.00                       --                           54                          --                               --                        54                    0.204%                    $0.00                 53,782
Brent Febo Equity Incentive                                        --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
Steve Dynan Equity Incentive                                       --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
Huixin (Will) Pan Equity Incentive from Buyer                      --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
Huixin (Will) Pan Equity Incentive from Seller                     --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
Jian Tian Equity Incentive from Buyer                              --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
Jian Tian Equity Incentive from Seller                             --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
Reserve                                                            --                                   --                           --                           --                          --                               --                         0                    0.000%                      --                     --
  Total                                                     $15,833,055.35                       $23,317,650.94                   13,654                       12,456                        200                              85                      26,394                   100.0%               $10,123,062.01          26,669,815
  Check                                                                                                                                                                                                                         ok                                                                                                 ok




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                                                                                                                                        9:18-ap-01058-DS                                  Doc
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                                                                                                                                                                                               Exhibit    Page 393  of 680
                                                                                                                                                                                            Exhibit 1-29 Page 235 of 500

Pro Forma Ownership At 10/11/2013 (1)

                                                                Cash Contributed + Accrued A-1 Preferred
                                                                                                                     Series A-2 Cash Contributed     Series A-1 Preferred Units   Series A-2 Preferred Units   Series B-1 Preferred Units      Series B-2 Preferred Units   Total Preferred Units   % of Total Preferred    Common Capital Account   Total Common Units
                                                                                Return
Legacy BW Capital Fund II, L.P. Equity                                        $13,863,127.93                                      --                         12,130                          --                          --                               --                     12,130                   45.96%                $8,690,527.81          12,129,738
Legacy Gladstone                                                               $1,827,064.41                                      --                          1,399                          --                         200                               --                      1,599                    6.06%                $1,145,351.48           1,598,616
Legacy Mark Shaw Equity                                                          $28,572.60                                       --                            25                           --                          --                               --                        25                     0.09%                  $17,911.61              25,000
Legacy John Ladd Equity                                                         $114,290.41                                       --                           100                           --                          --                               --                       100                     0.38%                  $71,646.46             100,000
Renaissance Strategic Partners 2011 LLC                                              --                                           --                            --                           --                          --                               --                         0                     0.00%                 $104,350.56             145,647
Mark Shaw Equity Incentives                                                          --                                           --                            --                           --                          --                               --                         0                     0.00%                  $23,318.49              32,547
Gary Douville Equity Incentives                                                      --                                           --                            --                           --                          --                               --                         0                     0.00%                  $23,318.63              32,547
Paul Downey Equity Incentives                                                        --                                           --                            --                           --                          --                               --                         0                     0.00%                  $29,148.21              40,683
Adm. Jay Donnelly Equity Incentives                                                  --                                           --                            --                           --                          --                               --                         0                     0.00%                  $5,829.59                8,137
Adm. Jerry Ellis Equity Incentives                                                   --                                           --                            --                           --                          --                               --                         0                     0.00%                  $5,829.59                8,137
Adm. Nevin Carr Equity Incentives                                                    --                                           --                            --                           --                          --                               --                         0                     0.00%                  $5,829.59                8,137
New BW Equity                                                                        --                                    $10,030,614.74                       --                         5,395                         --                               --                      5,395                   20.44%                    $0.00               5,394,635
New Gladstone Equity                                                                 --                                     $1,265,122.58                       --                          595                          --                              85                        680                     2.58%                    $0.00                680,404
Ralph Phillips Equity & Promissory Note                                              --                                      $500,000.00                        --                          269                          --                               --                       269                     1.02%                    $0.00                268,908
Ralph Phillips Equity Inventive                                                      --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                     --
DHAN LLC                                                                             --                                     $9,421,913.63                       --                         5,067                         --                               --                      5,067                   19.20%                    $0.00               4,878,384
Avante                                                                               --                                     $1,000,000.00                       --                          538                          --                               --                       538                     2.04%                    $0.00                537,817
Fidus                                                                                --                                     $1,000,000.00                       --                          538                          --                               --                       538                     2.04%                    $0.00                537,817
Gary Douville Contribution                                                           --                                      $100,000.00                        --                           54                          --                               --                        54                     0.20%                    $0.00                 53,782
Brent Febo Equity Incentive                                                          --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                     --
Steve Dynan Equity Incentive                                                         --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                     --
Huixin (Will) Pan Equity Incentive from Buyer                                        --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                     --
Huixin (Will) Pan Equity Incentive from Seller                                       --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                  75,553
Jian Tian Equity Incentive from Buyer                                                --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                     --
Jian Tian Equity Incentive from Seller                                               --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                 113,329
Reserve                                                                              --                                           --                            --                           --                          --                               --                         0                     0.00%                      --                     --
  Total                                                                       $15,833,055.35                               $23,317,650.94                    13,654                       12,456                        200                              85                      26,394                    100%                $10,123,062.01          26,669,815

  (1) Total common units include equity grants to Will Pan and Jian Tian (effectively contributed) by DHAN LLC. The additional 50% of each
  grant is not reflected in this table. Additional equity grants, including those to Steve Dynan, are not reflected in this table. Following those
  grants, Steve Dynan’s common percentage will be approximately 1.5%, Will Pan’s common percentage will be approximately .50% and Jian
  Tian’s equity percentage will be approximately .75%.




                                                                                                                                                                                                                                 Page 3 of 3
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
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                             Exhibit    Page 394  of 680
                          Exhibit 1-29 Page 236 of 500




                   EXHIBIT 6
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
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                                 Exhibit    Page 395  of 680
                              Exhibit 1-29 Page 237 of 500
                                                                                Execution Copy




                                     INVESTMENT AGREEMENT

                                                 among

                BW PIEZO HOLDINGS, LLC, CTG ADVANCED MATERIALS, LLC, CHANNEL
              TECHNOLOGIES GROUP, LLC, and ELECTRO-OPTICAL INDUSTRIES, LLC

                                              as Borrowers,

                         AVANTE MEZZANINE PARTNERS SBIC, LP., as a Lender

                                                   and

                                 FIDUS MEZZANINE CAPITAL II, L.P.

                                     as a Lender and Collateral Agent


                           $14,000,000 Senior Secured Subordinated Term Loans


                                      Dated as of October 11, 2013




        THIS INSTRUMENT OR AGREEMENT AND THE RIGHTS AND OBLIGATIONS
 EVIDENCED HEREBY ARE SUBORDINATE IN THE MANNER AND TO THE EXTENT SET
 FORTH IN THAT CERTAIN INTERCREDITOR AGREEMENT (AS THE SAME MAY BE
 AMENDED OR OTHERWISE MODIFIED FROM TIME TO TIME PURSUANT TO THE TERMS
 THEREOF, THE “INTERCREDITOR AGREEMENT”) DATED AS OF OCTOBER 11 2013
 AMONG (1) FIDUS MEZZANINE CAPITAL II, L.P. AND AVANTE MEZZANINE PARTNERS
 SBIC, L.P. (EACH, A “SUBORDINATED CREDITOR” AND COLLECTIVELY, THE
 “SUBORDINATED CREDITORS”), (2) BW PIEZO HOLDINGS, LLC, CHANNEL
 TECHNOLOGIES GROUP, LLC, ELECTRO-OPTICAL INDUSTRIES, LLC, AND SUCH
 ADDITIONAL PARTIES AS MAY BECOME BORROWERS UNDER THE CREDIT AGREEMENT
 REFERRED TO THEREIN (THE “BORROWERS”), AND (3) ONEWEST BANK, FSB, AS
 ADMINISTRATIVE AGENT (THE “SENIOR AGENT”), TO THE INDEBTEDNESS OWED BY
 THE BORROWERS PURSUANT TO THAT CERTAIN CREDIT AGREEMENT DATED AS OF
 OCTOBER 11, 2013 AMONG THE BORROWERS, THE LENDERS REFERRED TO THEREIN AND
 SENIOR AGENT, AS SUCH CREDIT AGREEMENT MAY BE AMENDED, RESTATED,
 SUPPLEMENTED OR OTHERWISE MODIFIED FROM TIME TO TIME AS PERMITTED UNDER
 THE INTERCREDITOR AGREEMENT AND TO INDEBTEDNESS REFINANCING THE
 INDEBTEDNESS UNDER THE CREDIT AGREEMENT AS PERMITTED BY THE
 INTERCREDITOR AGREEMENT; AND EACH HOLDER OF THIS INSTRUMENT OR
 AGREEMENT, BY ITS ACCEPTANCE HEREOF, IRREVOCABLY AGREES TO BE BOUND BY
 THE PROVISIONS OF THE INTERCREDITOR AGREEMENT

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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                       Doc
                                            Doc 236-1
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                                                                                           14:56:52                                                       Desc
                                                                                                                                                          Desc
                                                 Exhibit    Page 396  of 680
                                              Exhibit 1-29 Page 238 of 500

                                                          TABLE OF CONTENTS

                                                                                                                                                       Page

                                                                     ARTICLE I

                                                                  DEFINITIONS

 1.1      Defined Terms ................................................................................................................................1
 1.2      Accounting Terms.........................................................................................................................18
 1.3      Other Terms; Construction ...........................................................................................................18

                                                                    ARTICLE II

                                           AMOUNT AND TERMS OF THE LOANS

 2.1      Loans.............................................................................................................................................19
 2.2      Disbursement; Domicile of Loans ................................................................................................20
 2.3      Evidence of Debt; Notes ...............................................................................................................20
 2.4      Mandatory Payments and Prepayments ........................................................................................20
 2.5      Voluntary Prepayments.................................................................................................................22
 2.6      Interest ..........................................................................................................................................22
 2.7      Fees ...............................................................................................................................................23
 2.8      Method of Payments; Computations; Apportionment of Payments .............................................23
 2.9      Recovery of Payments ..................................................................................................................24
 2.10     Use of Proceeds ............................................................................................................................25
 2.11     Pro Rata Treatment .......................................................................................................................25
 2.12     Change in Law; Illegality..............................................................................................................25
 2.13     Taxes.............................................................................................................................................26
 2.14     Mitigation of Costs .......................................................................................................................28

                                                                   ARTICLE III

                                                      CONDITIONS PRECEDENT

 3.1      Conditions of Closing ...................................................................................................................28

                                                                   ARTICLE IV

                                          REPRESENTATIONS AND WARRANTIES

 4.1      Corporate Organization and Power...............................................................................................32
 4.2      Authorization; Enforceability .......................................................................................................33
 4.3      No Violation .................................................................................................................................33
 4.4      Governmental and Third-Party Authorization; Permits................................................................33
 4.5      Litigation.......................................................................................................................................33
 4.6      Taxes.............................................................................................................................................34
 4.7      Subsidiaries; Capitalization ..........................................................................................................34
 4.8      Full Disclosure..............................................................................................................................34
 4.9      Margin Regulations.......................................................................................................................34
 4.10     No Material Adverse Effect ..........................................................................................................35

                                                                             -i-

 3203309v7 18865.00070
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                      Doc
                                           Doc 236-1
                                               156-1 Filed
                                                        Filed 03/31/20
                                                              06/28/19 Entered
                                                                         Entered 03/31/20
                                                                                 06/28/19 15:36:30
                                                                                          14:56:52                                                    Desc
                                                                                                                                                      Desc
                                                Exhibit    Page 397  of 680
                                             Exhibit 1-29 Page 239 of 500

                                                         TABLE OF CONTENTS
                                                              (continued)
                                                                                                                                                   Page

 4.11     Financial Matters ..........................................................................................................................35
 4.12     Ownership of Properties; Leases ..................................................................................................36
 4.13     ERISA...........................................................................................................................................36
 4.14     Environmental Matters..................................................................................................................36
 4.15     Compliance with Laws .................................................................................................................37
 4.16     Intellectual Property......................................................................................................................37
 4.17     Regulated Industries......................................................................................................................37
 4.18     Insurance.......................................................................................................................................37
 4.19     Material Contracts.........................................................................................................................38
 4.20     Security Documents ......................................................................................................................38
 4.21     Labor Relations.............................................................................................................................38
 4.22     Certain Transaction Documents....................................................................................................39
 4.23     No Burdensome Restrictions ........................................................................................................39
 4.24     OFAC; Anti-Terrorism Laws........................................................................................................39
 4.25     SBA Matters .................................................................................................................................39

                                                                   ARTICLE V

                                                   AFFIRMATIVE COVENANTS

 5.1      Financial Statements .....................................................................................................................40
 5.2      Other Business and Financial Information....................................................................................41
 5.3      Existence; Franchises; Maintenance of Properties........................................................................43
 5.4      Compliance with Laws .................................................................................................................43
 5.5      Payment of Obligations.................................................................................................................43
 5.6      Insurance.......................................................................................................................................43
 5.7      Maintenance of Books and Records; Inspection...........................................................................43
 5.8      Creation or Acquisition of Subsidiaries ........................................................................................44
 5.9      Additional Security .......................................................................................................................45
 5.10     Environmental Laws .....................................................................................................................46
 5.11     Board Observation Rights.............................................................................................................46
 5.12     OFAC, PATRIOT Act Compliance..............................................................................................47
 5.13     Further Assurances........................................................................................................................47
 5.14     SBA Matters .................................................................................................................................47
 5.15     Landlord Agreements....................................................................................................................48
 5.16     Bank Accounts..............................................................................................................................48
 5.17     Equity Certificates ........................................................................................................................49

                                                                  ARTICLE VI

                                                      FINANCIAL COVENANTS

 6.1      Leverage Ratio..............................................................................................................................49
 6.2      Fixed Charge Coverage Ratio.......................................................................................................50
 6.3      Capital Expenditures.....................................................................................................................50



                                                                           -ii-

 3203309v7 18865.00070
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                       Doc
                                            Doc 236-1
                                                156-1 Filed
                                                         Filed 03/31/20
                                                               06/28/19 Entered
                                                                          Entered 03/31/20
                                                                                  06/28/19 15:36:30
                                                                                           14:56:52                                                      Desc
                                                                                                                                                         Desc
                                                 Exhibit    Page 398  of 680
                                              Exhibit 1-29 Page 240 of 500

                                                          TABLE OF CONTENTS
                                                               (continued)
                                                                                                                                                      Page

                                                                  ARTICLE VII

                                                        NEGATIVE COVENANTS

 7.1      Merger; Consolidation ..................................................................................................................50
 7.2      Indebtedness..................................................................................................................................51
 7.3      Liens..............................................................................................................................................52
 7.4      Asset Dispositions.........................................................................................................................54
 7.5      Investments ...................................................................................................................................54
 7.6      Restricted Payments......................................................................................................................55
 7.7      Transactions with Affiliates..........................................................................................................56
 7.8      Transactions with Affiliates..........................................................................................................56
 7.9      Management Fees .........................................................................................................................57
 7.10     Indemnity Agreements..................................................................................................................57
 7.11     Lines of Business; Activities of Parent .........................................................................................57
 7.12     Sale-Leaseback Transactions ........................................................................................................57
 7.13     Certain Amendments ....................................................................................................................58
 7.14     Limitation on Certain Restrictions................................................................................................58
 7.15     No Other Negative Pledges...........................................................................................................59
 7.16     Ownership of Subsidiaries ............................................................................................................59
 7.17     Fiscal Year ....................................................................................................................................59
 7.18     Accounting Changes .....................................................................................................................59
 7.19     No Article 8 Opt-In.......................................................................................................................59
 7.20     HCM Call......................................................................................................................................59

                                                                  ARTICLE VIII

                                                          EVENTS OF DEFAULT

 8.1      Events of Default ..........................................................................................................................59
 8.2      Cure Right.....................................................................................................................................62
 8.3      Remedies: Acceleration, etc..........................................................................................................63
 8.4      Remedies: Set-Off.........................................................................................................................63

                                                                   ARTICLE IX

                                                     THE COLLATERAL AGENT

 9.1      Appointment and Authority ..........................................................................................................63
 9.2      Rights as a Lender.........................................................................................................................64
 9.3      Exculpatory Provisions .................................................................................................................64
 9.4      Reliance by Collateral Agent ........................................................................................................65
 9.5      Delegation of Duties .....................................................................................................................65
 9.6      Resignation of Collateral Agent....................................................................................................65
 9.7      Non-Reliance on Collateral Agent and Other Lenders .................................................................65
 9.8      Collateral Matters..........................................................................................................................66


                                                                            -iii-

 3203309v7 18865.00070
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                       Doc
                                            Doc 236-1
                                                156-1 Filed
                                                         Filed 03/31/20
                                                               06/28/19 Entered
                                                                          Entered 03/31/20
                                                                                  06/28/19 15:36:30
                                                                                           14:56:52                                                    Desc
                                                                                                                                                       Desc
                                                 Exhibit    Page 399  of 680
                                              Exhibit 1-29 Page 241 of 500

                                                         TABLE OF CONTENTS
                                                              (continued)
                                                                                                                                                    Page

                                                                   ARTICLE X

                                                             MISCELLANEOUS

 10.1     Expenses; Indemnity; Damage Waiver.........................................................................................66
 10.2     Governing Law; Submission to Jurisdiction; Waiver of Venue; Service of Process....................67
 10.3     Waiver of Jury Trial......................................................................................................................68
 10.4     Notices; Effectiveness; Electronic Communication .....................................................................68
 10.5     Amendments, Waivers, etc ...........................................................................................................69
 10.6     Successors and Assigns.................................................................................................................70
 10.7     No Waiver.....................................................................................................................................72
 10.8     Survival.........................................................................................................................................72
 10.9     Severability ...................................................................................................................................72
 10.10    Construction..................................................................................................................................72
 10.11    Counterparts; Integration; Effectiveness.......................................................................................73
 10.12    Confidentiality ..............................................................................................................................73
 10.13    USA Patriot Act Notice ................................................................................................................74
 10.14    Joint and Several Liability of Borrowers ......................................................................................74
 10.15    Intercreditor Agreement................................................................................................................75
 10.16    Classified Information ..................................................................................................................75

                                                                    EXHIBITS

 Exhibit A                  Form of Note
 Exhibit B                  Form of Compliance Certificate
 Exhibit C                  Form of Assignment and Assumption
 Exhibit D                  Form of Security Agreement
 Exhibit E                  Form of Financial Condition Certificate
 Exhibit F                  Management’s Discussion and Analysis Report

                                                                  SCHEDULES

 Schedule 1.1(a)            Commitments and Notice Addresses
 Schedule 1.1(b)            Consolidated EBITDA; Capital Expenditures
 Schedule 3.1(k)            Certain Continuing Indebtedness
 Schedule 4.1               Jurisdictions of Organization
 Schedule 4.4               Consents and Approvals
 Schedule 4.7               Subsidiaries
 Schedule 4.12              Real Property Interests
 Schedule 4.13(a)           ERISA
 Schedule 4.13(b)           ERISA
 Schedule 4.14(a)           Environmental Matters
 Schedule 4.14(b)           Environmental Matters
 Schedule 4.14(c)           Environmental Matters
 Schedule 4.15              Compliance with Laws
 Schedule 4.16              Intellectual Property

                                                                           -iv-

 3203309v7 18865.00070
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS              Doc
                                   Doc 236-1
                                       156-1 Filed
                                                Filed 03/31/20
                                                      06/28/19 Entered
                                                                 Entered 03/31/20
                                                                         06/28/19 15:36:30
                                                                                  14:56:52    Desc
                                                                                              Desc
                                        Exhibit    Page 400  of 680
                                     Exhibit 1-29 Page 242 of 500

                                            TABLE OF CONTENTS
                                                 (continued)
                                                                                             Page

 Schedule 4.18           Insurance Coverage
 Schedule 4.19           Material Contracts
 Schedule 7.2            Indebtedness
 Schedule 7.5            Investments
 Schedule 7.7            Transactions with Affiliates




                                                        -v-

 3203309v7 18865.00070
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
                                                                                                          Desc
                                     Exhibit    Page 401  of 680
                                  Exhibit 1-29 Page 243 of 500


                                      INVESTMENT AGREEMENT

           THIS INVESTMENT AGREEMENT, dated as of the 11th day of October, 2013, is made
 among BW PIEZO HOLDINGS, LLC, a Delaware limited liability company (“BWP” or the “Parent”),
 CTG ADVANCED MATERIALS, LLC, a Delaware limited liability company and wholly owned
 subsidiary of BWP (“CTG”), CHANNEL TECHNOLOGIES GROUP, LLC, a California limited
 liability company and wholly owned subsidiary of BWP (“Channel”), and ELECTRO-OPTICAL
 INDUSTRIES, LLC, a California limited liability company and wholly owned subsidiary of Channel
 (“Electro” and, together with BWP, CTG, and Channel, each, a “Borrower” and, collectively, the
 “Borrowers”), AVANTE MEZZANINE PARTNERS SBIC, L.P., a Delaware limited partnership, as a
 Lender (as hereinafter defined), the other Lenders from time to time party hereto, and FIDUS
 MEZZANINE CAPITAL II, L.P., a Delaware limited partnership, as a Lender and the Collateral Agent
 (as hereinafter defined).

                                     BACKGROUND STATEMENT

         The Borrowers have requested that the Lenders make available to the Borrowers term loans in the
 aggregate original principal amount of $14,000,000. The Borrowers will use the proceeds of such loans
 as provided in Section 2.10. The Lenders are willing to make available to the Borrowers the term loans
 described herein subject to and on the terms and conditions set forth in this Agreement.

                                               AGREEMENT

         NOW, THEREFORE, in consideration of the mutual provisions, covenants and agreements
 herein contained, the parties hereto hereby agree as follows:

                                                 ARTICLE I

                                               DEFINITIONS

         1.1      Defined Terms. For purposes of this Agreement, in addition to the terms defined
 elsewhere herein, the following terms have the meanings set forth below (such meanings to be equally
 applicable to the singular and plural forms thereof):

          “Acquisition” means any transaction or series of related transactions, consummated on or after
 the date hereof, by which the Parent or any of its Subsidiaries, (i) acquires all or substantially all of the
 assets of any Person or any going business, division thereof or line of business, whether through purchase
 of assets, merger or otherwise, or (ii) acquires Capital Stock of any Person having at least a majority of
 combined voting power of the then outstanding Capital Stock of such Person.

          “Affiliate” means, with respect to a specified Person, another Person that directly, or indirectly
 through one or more intermediaries, (i) Controls or is Controlled by or is under common Control with the
 Person specified, (ii) beneficially owns, is owned by or is under common ownership with respect to
 securities or other ownership interests of such Person having 10% or more of the combined voting power
 of the then outstanding securities or other ownership interests of such Person ordinarily (and apart from
 rights accruing under special circumstances) having the right to vote in the election of directors or other
 governing body of such Person, or (iii) any Person who is a director, officer, shareholder, member or
 partner of such Person or any Person described in clause (i) or (ii). Notwithstanding the foregoing,
 neither the Collateral Agent nor any Lender shall be deemed an “Affiliate” of any Credit Party.




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
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                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
                                                                                                          Desc
                                     Exhibit    Page 402  of 680
                                  Exhibit 1-29 Page 244 of 500


         “Agreement” means this Investment Agreement, as amended, modified, restated or supplemented
 from time to time.

          “Approved Fund” means any Person (other than a natural person) that invests in commercial
 loans in the ordinary course of business and that is advised or managed by (i) a Lender, (ii) an Affiliate of
 a Lender, or (iii) a Person (or an Affiliate of a Person) that advises or manages a Lender.

          “Asset Disposition” means the sale, transfer, conveyance, exchange, lease or disposal of any
 properties, business or assets of any Borrower or any Subsidiary, other than (a) the sale of inventory in the
 ordinary course of business, (b) sales or other dispositions of equipment that is substantially worn,
 damaged or obsolete in the ordinary course of business, (c) the use or transfer of money or cash
 equivalents in a manner not prohibited by the terms of this Agreement or the other Loan Documents, (d)
 the contribution of the DHAN Assets by the Parent to CTG Advanced, which shall occur within five (5)
 Business Days following the Closing Date, (e) other disposition of assets by and among the Borrowers
 (other than the Parent), (f) the sale, discount or write-off of past due or impaired accounts receivable for
 collection purposes (but not for factoring, securitization or other financing purposes), and the termination
 and unwinding of Hedge Agreements permitted hereunder, and (g) the sale or other disposition of assets
 pursuant to any Casualty Event, provided any Net Cash Proceeds therefrom are reinvested or, if required,
 applied to the prepayment of the Loans as provided herein.

          “Assignment and Assumption” means an Assignment and Assumption entered into by a Lender
 and an assignee (with the consent of any Person whose consent is required by Section 10.6(b)), in
 substantially the form of Exhibit C or any other form approved by the Required Lenders.

         “Authorized Officer” means, with respect to any action specified herein to be taken by or on
 behalf of a Credit Party, any officer of such Credit Party duly authorized by its governing documents or
 by resolution of its board of directors or other governing body to take such action on its behalf, and whose
 signature and incumbency shall have been certified to the Lenders by the secretary or an assistant
 secretary of such Credit Party.

         “Avante” means Avante Mezzanine Partners SBIC, L.P., a Delaware limited partnership, and its
 successors and assigns.

         “Bankruptcy Code” means 11 U.S.C. §§ 101 et seq., as amended from time to time, and any
 successor statute, and all regulations from time to time promulgated thereunder.

         “Bankruptcy Event” means the occurrence of an Event of Default pursuant to Section 8.1(f) or
 Section 8.1(g).

          “Borrower” has the meaning given to such term in the introductory paragraph hereof.

        “Business Day” means any day other than a Saturday or Sunday, a legal holiday or a day on
 which commercial banks in New York, New York are authorized or required by law to be closed.

          “BWCP” means Blue Wolf Capital Partners LLC, a Delaware limited liability company.

         “Capital Expenditures” means for any period, collectively, for any Person, the aggregate of all
 expenditures (including, for avoidance of doubt, related capitalized labor costs) which are made during
 such period (whether paid in cash or accrued as liabilities) by such Person for property, plant or
 equipment and which would be reflected as additions to property, plant or equipment on a balance sheet
 of such Person prepared in accordance with GAAP, including all Capital Lease Obligations; provided that

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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
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                                                                               14:56:52                   Desc
                                                                                                          Desc
                                     Exhibit    Page 403  of 680
                                  Exhibit 1-29 Page 245 of 500


 “Capital Expenditures” shall not include Permitted Acquisitions; provided, further, that notwithstanding
 the foregoing provisions of this definition, solely for purposes of Section 6.3, the amount of Capital
 Expenditures for periods prior to the Closing Date shall be as set forth on Schedule 1.1(b).

          “Capital Lease” means, with respect to any Person, any lease of property (whether real, personal
 or mixed) by such Person as lessee that is or is required to be, in accordance with GAAP, recorded as a
 capital lease on such Person’s balance sheet.

         “Capital Lease Obligations” obligations for the payment of rent for any real or personal property
 under leases or agreements to lease that, in accordance with GAAP, have been or should be capitalized on
 the books of the lessee and, for purposes hereof, the amount of any such obligation shall be the capitalized
 amount thereof determined in accordance with GAAP.

          “Capital Stock” means (i) with respect to any Person that is a corporation, any and all shares,
 interests or equivalents in capital stock (whether voting or nonvoting, and whether common or preferred)
 of such corporation, and (ii) with respect to any Person that is not a corporation, any and all partnership,
 membership, limited liability company or other equity interests of such Person; and in each case, any and
 all rights, warrants or options to purchase or acquire any of the foregoing and any other security or
 instrument representing, convertible into or exchangeable for any of the foregoing.

          “Cash Balance” means the aggregate amount of all unrestricted cash and Cash Equivalents held
 by the Borrowers and their Wholly Owned Subsidiaries in any bank account or securities account that is
 subject to a control agreement in favor of, and that is reasonably acceptable to, the Collateral Agent, for
 the benefit of the Lenders.

          “Cash Equivalents” means (i) securities issued or unconditionally guaranteed or insured by the
 United States of America or any agency or instrumentality thereof, backed by the full faith and credit of
 the United States of America and maturing within one year from the date of acquisition, (ii) commercial
 paper issued by any Person organized under the laws of the United States of America, maturing within
 180 days from the date of acquisition and, at the time of acquisition, having a rating of at least A-1 or the
 equivalent thereof by Standard & Poor’s Ratings Services or at least P-1 or the equivalent thereof by
 Moody’s Investors Service, Inc., (iii) time deposits and certificates of deposit maturing within 180 days
 from the date of issuance and issued by a bank or trust company organized under the laws of the United
 States of America or any state thereof (y) that has combined capital and surplus of at least $500,000,000
 or (z) that has (or is a subsidiary of a bank holding company that has) a long-term unsecured debt rating
 of at least A or the equivalent thereof by Standard & Poor’s Ratings Services or at least A2 or the
 equivalent thereof by Moody’s Investors Service, Inc., (iv) repurchase obligations with a term not
 exceeding 30 days with respect to underlying securities of the types described in clause (i) above entered
 into with any bank or trust company meeting the qualifications specified in clause (iii) above, and
 (v) money market funds at least 95% of the assets of which are continuously invested in securities of the
 foregoing types.

         “Casualty Event” means, with respect to any property (including any interest in property) of any
 Credit Party, any loss of, damage to, or condemnation or other taking of, such property for which such
 Credit Party receives insurance proceeds, proceeds of a condemnation award or other compensation.

          “Change in Law” means the occurrence, after the date of this Agreement, of any of the following:
 (i) the adoption or taking effect of any law, rule, regulation or treaty, (ii) any change in any law, rule,
 regulation or treaty or in the administration, interpretation, implementation, or application thereof by any
 Governmental Authority or (iii) the making or issuance of any request, rule, guideline or directive
 (whether or not having the force of law) by any Governmental Authority; provided that notwithstanding

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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
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                                     Exhibit    Page 404  of 680
                                  Exhibit 1-29 Page 246 of 500


 anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer Protection Act and
 all requests, rules, guidelines or directives thereunder or issued in connection therewith and (y) all
 requests, rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel
 Committee on Banking Supervision (or any successor or similar authority) or the United States or foreign
 regulatory authorities, in each case pursuant to Basel III, shall in each case be deemed to be a “Change in
 Law,” regardless of the date enacted, adopted or issued.

          “Change of Control” means any event, transaction or occurrence as a result of which (a) Sponsor
 shall cease to own or control, directly or indirectly, more than 50% of the outstanding equity interests of
 Parent on a fully diluted basis; (b) the Parent shall cease to directly own 100% of the outstanding equity
 interests of CTG, Channel and Electro on a fully-diluted basis; (c) Sponsor shall cease to have the right to
 appoint to the board of directors or similar governing body of the Parent at least a majority of the total
 members of such board or body; (d) an underwritten public offering of the equity or debt securities of the
 Parent shall become effective; or (e) the Parent or any of its Subsidiaries shall have effected a sale of all
 or substantially all of their assets.

         “Closing Date” means the date upon which the initial extensions of credit are made pursuant to
 this Agreement, which shall be the date upon which each of the conditions set forth in Section 3.1 shall
 have been satisfied or waived in accordance with the terms of this Agreement.

         “Code” means the Internal Revenue Code of 1986, as amended from time to time, and any
 successor statute, and all rules and regulations from time to time promulgated thereunder.

         “Collateral” means all the assets, property and interests in property that shall from time to time be
 pledged or be purported to be pledged as direct or indirect security for the Obligations pursuant to any one
 or more of the Security Documents.

         “Collateral Agent” means Fidus, in its capacity as Collateral Agent appointed under Section 9.1
 and any other Security Documents, and its successors and permitted assigns in such capacity.

        “Commitment” means, with respect to any Lender, the commitment of such Lender to make
 Loans on the Closing Date in an aggregate principal amount up to the amount set forth opposite such
 Lender’s name on Schedule 1.1(a).

         “Confidential Information” means all information, in each case, received from any Borrower, or
 any of their Affiliates and their employees, officers, directors or advisors relating to an Acquisition,
 Sponsor, any Borrower or their operations, other than any such information that becomes generally
 available to the public or becomes available to any Lender, any Affiliate or Approved Fund of any Lender
 or Collateral Agent from a source other than Sponsor, any Borrower or any of their Affiliates and their
 employees, officers, directors or advisors and that is not known to such recipient to be subject to
 confidentiality obligations.

        “Compliance Certificate” means a fully completed and duly executed certificate in the form of
 Exhibit B, together with a Covenant Compliance Worksheet.

         “Consolidated EBITDA” means, with respect to the Borrowers, on a consolidated basis, for any
 Reference Period, Consolidated Net Income for such period, plus (a) to the extent deducted in
 determining Consolidated Net Income, the sum for such period of (i) Net Interest Expense, plus (ii) all
 amounts treated as expenses for depreciation and amortization (including amortization of intangibles of
 any kind), plus (iii) the aggregate amount of Permitted Tax Distributions made; plus (b) to the extent
 included in determining Consolidated Net Income, the sum for such period of any extraordinary, unusual

 3203309v7 18865.00070                                 4
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
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                                     Exhibit    Page 405  of 680
                                  Exhibit 1-29 Page 247 of 500


 or non-recurring non-cash expenses or losses, less non-cash gains, in each case acceptable to the Required
 Lenders (such acceptance not to be unreasonably withheld, delayed or conditioned); plus (c) Management
 Fees for such period to the extent paid; plus (d) reasonable expenses of members of the board of directors
 or any similar governing body of any Borrower, observers of any such board or body and any board of
 advisors (collectively, “Board Fees”), in each case reimbursed by the Borrowers during such period and
 not included under clause (c) above, in amounts not to exceed $225,000 in the aggregate in any
 consecutive 12-month period, plus (e) integration expenses incurred during such period and on or before
 December 31, 2014 in connection with the HCM Acquisition, including (i) any duplicative costs relating
 to consolidation of operations, and (ii) to the extent not included in clause (i), any one-time, non-
 capitalized costs for technology transfer and security, duplication of crystal growing stations, and non-
 recurring employee retention payments (“Integration Costs”), not to exceed an aggregate amount of
 $2,000,0000 , plus (f) Transaction Costs not to exceed an aggregate amount of $6,000,000. Consolidated
 EBITDA for periods prior to the Closing Date is set forth on Schedule 1.1(b) attached hereto.

         “Consolidated Fixed Charges” for the Borrowers and their Subsidiaries and their Subsidiaries on
 a consolidated basis, for any Reference Period, without duplication, the sum of (a) Gross Interest Expense
 for such period paid or required to be paid in cash and (b) the aggregate amount of scheduled principal
 payments on Indebtedness for such period.

         “Consolidated Net Income” means, with respect to the Borrowers and their Subsidiaries, on a
 consolidated basis for any Reference Period, the aggregate of all amounts which, in accordance with
 GAAP, would be included as net income (or net loss, including any extraordinary losses) on a
 consolidated statement of income for such period.

         “Contingent Purchase Price Obligations” means any earnout obligations or similar deferred or
 contingent purchase price obligations (including all purchase price adjustments) and any indemnity
 obligations of the Parent or any of its Subsidiaries incurred or created in connection with an Acquisition,
 including the HCM Acquisition.

          “Control” means, with respect to any Person, the possession, direct or indirect, of the power to
 direct or cause the ultimate direction of the management and policies of such Person (but not including
 day-to-day operational management), whether through the ownership of voting securities, by contract or
 otherwise; and the terms “Controlled” and “Controlling” have correlative meanings.

         “Controlled Investment Affiliate” means, with respect to any Person, any other Person (including
 any fund or investment vehicle) that (i) directly, or indirectly through one or more intermediaries, is
 Controlled by the Person specified and (ii) is organized by such specified Person primarily for the purpose
 of making equity or debt investments in one or more companies.

       “Covenant Compliance Worksheet” means a fully completed worksheet in the form of
 Attachment A to Exhibit B.

          “CTG” has the meaning given to such term in the introductory paragraph hereof.

         “Credit Parties” means the Parent, each other Borrower, the Subsidiaries of the Parent and each
 other Borrower, and their respective successors.

          “Cure Right” has the meaning given to such term in Section 8.2.

         “Debt Issuance” means the incurrence, sale or issuance by any Borrower or any Subsidiary of any
 debt securities or other Indebtedness, except for any Indebtedness permitted under Section 7.2.

 3203309v7 18865.00070                                5
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Case 9:18-ap-01058-DS
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                                      Exhibit    Page 406  of 680
                                   Exhibit 1-29 Page 248 of 500


        “Default” means any event or condition that, with the passage of time or giving of notice, or both,
 would constitute an Event of Default.

          “DHAN” means DHAN LLC, an Illinois limited liability company.

           “Disqualified Capital Stock” means, with respect to any Person, any Capital Stock of such Person
 that, by its terms (or by the terms of any security into which it is convertible or for which it is
 exchangeable), or upon the happening of any event or otherwise, (i) matures or is mandatorily redeemable
 or subject to any mandatory repurchase requirement, pursuant to a sinking fund obligation or otherwise,
 (ii) is redeemable or subject to any mandatory repurchase requirement at the sole option of the holder
 thereof, or (iii) is convertible into or exchangeable for (whether at the option of the issuer or the holder
 thereof) (y) debt securities or (z) any Capital Stock referred to in (i) or (ii) above, in each case under (i),
 (ii) or (iii) above at any time on or prior to the first anniversary of the Maturity Date; provided, however,
 that only the portion of Capital Stock that so matures or is mandatorily redeemable or subject to any
 mandatory repurchase requirement, is so redeemable at the option of the holder thereof, or is so
 convertible or exchangeable on or prior to such date shall be deemed to be Disqualified Capital Stock.

          “Dollars” or “$” means dollars of the United States of America.

          “Domestic Subsidiary” means any Subsidiary that is not a Foreign Subsidiary.

          “Environmental Laws” means all federal, state and local laws, rules and regulations governing
 (a) environmental matters, (b) the generation, use, control, removal, storage, transportation, spill, release
 or discharge of hazardous materials or (c) the effect of the environment on occupational safety and health,
 industrial hygiene, land use or the protection of human, plant or animal health or welfare, including
 without limitation as provided in the provisions of and the regulations under (i) the Comprehensive
 Environmental Response, Compensation and Liability Act of 1980, as amended by the Superfund
 Amendment and Reauthorization Act of 1986, (ii) the Solid Waste Disposal Act, (iii) the Clean Water Act
 and the Clean Air Act, (iv) the Hazardous Materials Transportation Act, (v) the Resource Conservation
 and Recovery Act of 1976 and (vi) the Federal Water Pollution Control Act Amendments of 1972.

         “Equity Capitalization” means the contribution to the capital of the Parent by the Sponsor, its
 Controlled Investment Affiliates and certain other co-investors (including, but not limited to, Avante and
 Fidus and/or one or more Affiliates of Avante or Fidus) pursuant to the issuance and sale of the Parent’s
 Capital Stock for cash to such investors under the Equity Investment Documents to finance a portion of
 the HCM Acquisition.

          Equity Investment Documents” means the LLC Agreement and the subscription agreements, each
 dated on or about the date hereof, and all instruments, documents and certificates now or hereafter
 executed and delivered in connection therewith, in each case as amended, modified, supplemented or
 restated from time to time in accordance with the terms hereof and thereof.

          “Equity Issuance” means the sale or issuance (or reissuance) by any Borrower or any Subsidiary
 of any Capital Stock, provided, however, that the term Equity Issuance shall not include the (i) issuance
 or sale of the Capital Stock of the Parent issued in connection with the Equity Capitalization, (ii) issuance
 or sale of the Capital Stock of the Parent contemplated by Section 7.7(vii), (iii) the issuance or sale of
 Capital Stock of the Parent the proceeds of which are used in connection with the Cure Right, (iv) the
 issuance or sale of Capital Stock of the Parent the proceeds of which are used to make (in whole or in
 part), or such Capital Stock is used in connection with, a Permitted Acquisition or Capital Expenditures
 permitted by this Agreement, or (v) the issuance, sale or other disposition of Capital Stock of the Parent
 the proceeds of which are used for other business uses of the Borrowers and their Subsidiaries reasonably

 3203309v7 18865.00070                                 6
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Case 9:18-ap-01058-DS
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                                     Exhibit    Page 407  of 680
                                  Exhibit 1-29 Page 249 of 500


 acceptable to the Required Lenders (and for purposes of this clause (v), subject to the other provisions of
 this Agreement).

          “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from time
 to time, and any successor statute, and all rules and regulations from time to time promulgated thereunder.

          “ERISA Affiliate” means any Person (including any trade or business, whether or not
 incorporated) deemed to be under “common control” with, or a member of the same “controlled group”
 as, the Parent or any of its Subsidiaries, within the meaning of Sections 414(b), (c), (m) or (o) of the Code
 or Section 4001 of ERISA.

          “ERISA Event” means any of the following with respect to a Plan or Multiemployer Plan, as
 applicable: (i) a Reportable Event, (ii) a complete or partial withdrawal by any Borrower or any ERISA
 Affiliate from a Multiemployer Plan that results in liability under Section 4201 or 4204 of ERISA, or the
 receipt by any Borrower or any ERISA Affiliate of notice from a Multiemployer Plan that it is in
 reorganization or insolvency pursuant to Section 4241 or 4245 of ERISA or that it intends to terminate or
 has terminated under Section 4041A of ERISA, (iii) the distribution by any Borrower or any ERISA
 Affiliate under Section 4041 or 4041A of ERISA of a notice of intent to terminate any Plan or the taking
 of any action to terminate any Plan, (iv) the commencement of proceedings by the PBGC under Section
 4042 of ERISA for the termination of, or the appointment of a trustee to administer, any Plan, or the
 receipt by any Borrower or any ERISA Affiliate of a notice from any Multiemployer Plan that such action
 has been taken by the PBGC with respect to such Multiemployer Plan, (v) the institution of a proceeding
 by any fiduciary of any Multiemployer Plan against any Borrower or any ERISA Affiliate to enforce
 Section 515 of ERISA, which is not dismissed within 30 days, (vi) the imposition upon any Borrower or
 any ERISA Affiliate of any liability under Title IV of ERISA, other than for PBGC premiums due but not
 delinquent under Section 4007 of ERISA, or the imposition or threatened imposition of any Lien upon
 any assets of any Borrower or any ERISA Affiliate as a result of any alleged failure to comply with the
 Code or ERISA in respect of any Plan, (vii) the engaging in or otherwise becoming liable for a
 nonexempt Prohibited Transaction by any Borrower or any ERISA Affiliate, or a violation of the
 applicable requirements of Section 404 or 405 of ERISA or the exclusive benefit rule under Section
 401(a) of the Code by any fiduciary of any Plan for which any Borrower or any of its ERISA Affiliates
 may be directly or indirectly liable, (viii) the failure of any Plan to satisfy the minimum funding standard
 of Section 302 of ERISA and Section 412 of the Code, whether or not waived, (ix) with respect to plan
 years beginning prior to January 1, 2008, the adoption of an amendment to any Plan that, pursuant to
 Section 307 of ERISA, would require the provision of security to such Plan by any Borrower or an
 ERISA Affiliate, or (x) with respect to plan years beginning on or after the PPA 2006 Effective Date, the
 incurrence of an obligation to provide a notice under Section 101(j) of ERISA, the adoption of an
 amendment which may not take effect due to the application of Section 436(c)(1) of the Code or Section
 206(g)(2)(A) of ERISA, or the payment of a contribution in order to satisfy the requirements of Section
 436(c)(2) of the Code or Section 206(g)(2)(B) of ERISA.

          “Event of Default” has the meaning given to such term in Section 8.1.

         “Exchange Act” means the Securities Exchange Act of 1934, as amended from time to time, and
 any successor statute, and all rules and regulations from time to time promulgated thereunder.

          “Excluded Taxes” means, with respect to the Collateral Agent, any Lender or any other recipient
 of any payment to be made by or on account of any obligation of any Borrower hereunder, (i) taxes
 imposed on or measured by its overall net income (however denominated), and franchise taxes imposed
 on it (in lieu of net income taxes) including backup withholding required by Section 3406 of the Code, by
 the jurisdiction (or any political subdivision thereof) under the laws of which such recipient is organized

 3203309v7 18865.00070                                 7
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
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                                      Exhibit    Page 408  of 680
                                   Exhibit 1-29 Page 250 of 500


 or in which its principal office is located or, in the case of any Lender, in which its applicable Lending
 Office is located, (ii) any branch profits taxes imposed by the United States or any similar tax imposed by
 any other jurisdiction in which the Borrowers are located and (iii) in the case of a Foreign Lender, any
 withholding tax that is imposed on amounts payable to such Foreign Lender at the time such Foreign
 Lender becomes a party hereto (or designates a new Lending Office).

         “Federal Reserve Board” means the Board of Governors of the Federal Reserve System or any
 successor thereto.

          “Fee Letters” means (i) the letter from Avante to the Borrowers, dated as of the date hereof,
 relating to certain fees payable by the Borrowers to Avante in respect of the transactions contemplated by
 this Agreement, as amended, modified, restated or supplemented from time to time, and (ii) the letter
 from Fidus to the Borrowers, dated as of the date hereof, relating to certain fees payable by the Borrowers
 to Fidus in respect of the transactions contemplated by this Agreement, as amended, modified, restated or
 supplemented from time to time.

         “Fidus” means Fidus Mezzanine Capital II, L.P., a Delaware limited partnership, and its
 successors and assigns.

         “Financial Condition Certificate” means a fully completed and duly executed certificate, in
 substantially the form of Exhibit E, together with the attachments thereto.

        “Financial Officer” means, with respect to each Borrower, the chief financial officer, president,
 chairman, vice president - finance, principal accounting officer or treasurer of such Borrower.

          “fiscal quarter” means a fiscal quarter of the Parent and its Subsidiaries.

          “fiscal year” means a fiscal year of the Parent and its Subsidiaries.

          “Fixed Charge Coverage Ratio” means, as of any date of determination, for the Borrowers and
 their Subsidiaries on a consolidated basis, any Reference Period, for the ratio of (a) (i) Consolidated
 EBITDA less (ii) maintenance Capital Expenditures which shall equal $500,000 less (iii) cash Permitted
 Tax Distributions to (b) Consolidated Fixed Charges for such period; provided that, solely for purposes of
 calculating the Fixed Charge Coverage Ratio as of the last day of each of the fourth fiscal quarter of fiscal
 year 2013, the first fiscal quarter of fiscal year 2014, the second fiscal quarter of fiscal year 2014, and the
 third fiscal quarter of fiscal year 2014, Consolidated Fixed Charges shall be annualized based on the
 actual Consolidated Fixed Charges from the Closing Date until the last day of each such fiscal quarter.

          “Foreign Lender” means, with respect to the Borrowers, any Lender that is organized under the
 laws of a jurisdiction other than that in which the Borrowers are resident for tax purposes. For purposes
 of this definition, the United States, each State thereof and the District of Columbia shall be deemed to
 constitute a single jurisdiction.

         “Foreign Subsidiary” means a Subsidiary of the Parent that is a “controlled foreign corporation,”
 as such term is defined in Section 957 of the Code.

         “Funded Debt” means, as of any date of determination, without duplication, the sum of all
 Indebtedness of the Borrowers or any Subsidiary on such date, including the Subordinated Debt and any
 Guaranty Obligations in respect of Funded Debt, but excluding (i) Indebtedness of the types referred to in
 clause (v), (vii), (viii), and (x) of the definition of “Indebtedness” and (ii) Contingent Purchase Price
 Obligations.

 3203309v7 18865.00070                                  8
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
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                                                                      06/28/19 15:36:30
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                                     Exhibit    Page 409  of 680
                                  Exhibit 1-29 Page 251 of 500


         “GAAP” generally accepted accounting principles in the United States in effect from time to
 time. If, at any time, GAAP changes in a manner which will materially affect the calculations
 determining compliance by the Borrowers with any of its covenants in Section 6.1 or Section 6.2, such
 covenants shall continue to be calculated in accordance with GAAP in effect prior to such changes in
 GAAP.

          “Governmental Authority” means the government of the United States of America or any other
 nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
 instrumentality, regulatory body, court, central bank or other entity exercising executive, legislative,
 judicial, taxing, regulatory or administrative powers or functions of or pertaining to government
 (including any tribal governments or authorities) and any supranational bodies such as the European
 Union or the European Central Bank).

         “Gross Interest Expense” means, with respect to the Borrowers, on a consolidated basis, for any
 Reference Period as at any date of determination, cash interest expense for such period (including all
 commissions, discounts, fees and other charges under letters of credit and similar instruments and net
 costs under any Hedge Agreement).

          “Guaranty Obligations” mean, with respect to any Person, the guarantee obligations of such
 Person in respect of, and obligations (contingent or otherwise) to purchase or otherwise acquire, or
 otherwise to secure a credit against, a loss, liability or other obligation. The amount of any Guaranty
 Obligation of any guaranteeing Person shall be deemed to be the lesser of (i) an amount equal to the
 stated or determinable amount of the primary obligation in respect of which such Guaranty Obligation is
 made and (ii) the maximum amount for which such guaranteeing Person may be liable pursuant to the
 terms of the instrument embodying such Guaranty Obligation, unless such primary obligation and the
 maximum amount for which such guaranteeing Person may be liable are not stated or determinable, in
 which case the amount of such Guaranty Obligation shall be such guaranteeing person’s maximum
 reasonably anticipated liability in respect thereof as determined by the Borrowers in good faith.

          “Hazardous Substance” means any substance or material meeting any one or more of the
 following criteria: (i) it is or contains a substance designated as a hazardous waste, hazardous substance,
 hazardous material, pollutant, contaminant or toxic substance under any Environmental Law, (ii) it is
 toxic, explosive, corrosive, ignitable, infectious, radioactive, mutagenic or otherwise hazardous to human
 health or the environment and is or becomes regulated by any Governmental Authority, (iii) its presence
 may require investigation or response under any Environmental Law, (iv) it constitutes a nuisance,
 trespass or health or safety hazard to Persons or neighboring properties, or (v) it is or contains, without
 limiting the foregoing, asbestos, polychlorinated biphenyls, urea formaldehyde foam insulation,
 petroleum hydrocarbons, petroleum derived substances or wastes, crude oil, nuclear fuel, natural gas or
 synthetic gas.

          “HCM” means H.C. Materials Corporation, an Illinois corporation.

        “HCM Acquisition” means the (i) acquisition, pursuant to the HCM Acquisition Documents, by
 CTG of substantially all of the assets of HCM and (ii) contribution, pursuant to the HCM Acquisition
 Documents, of certain assets of DHAN to Parent (the “DHAN Assets”).

          “HCM Acquisition Agreement” means the Asset Purchase and Contribution Agreement, dated as
 of September 20, 2013, by and among HCM, DHAN, Dr. Pengdi Han, CTG and Parent, as amended by
 the First Amendment thereto dated as of October 11, 2013, as amended, modified, restated or
 supplemented from time to time in accordance with the terms thereof and this Agreement.


 3203309v7 18865.00070                                9
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                      Exhibit    Page 410  of 680
                                   Exhibit 1-29 Page 252 of 500


          “HCM Acquisition Documents” means (i) the HCM Acquisition Agreement, and (ii) all
 “Ancillary Documents” (as defined in the HCM Acquisition Agreement) (which, for avoidance of doubt,
 shall not include the Investment Documents or the Senior Loan Documents), as amended, modified,
 restated or supplemented in accordance with the terms thereof and this Agreement.

         “HCM Call” means the call right held by the Parent with respect to the Capital Stock of the
 Parent held by DHAN or any Permitted Transferee (as defined in the LLC Agreement) to require DHAN
 or any Permitted Transferee of DHAN to sell to the Parent such Capital Stock pursuant to and subject to
 the terms and conditions of the LLC Agreement.

         “HCM Put” means the put right held by DHAN with respect to the Capital Stock of the Parent
 held by DHAN and/or any Permitted Transferee of DHAN to require the Parent to purchase from DHAN
 and any Permitted Transferee of DHAN such Capital Stock pursuant to and subject to the terms and
 conditions of the LLC Agreement.

          “Hedge Agreement” means any interest or foreign currency rate swap, cap, collar, option, hedge,
 forward rate or other similar agreement or arrangement designed to protect against fluctuations in interest
 rates, currency exchange rates or spot prices of raw materials.

          “Indebtedness” means, as to any Person, (i) all indebtedness of such Person for borrowed money,
 or for the deferred purchase price of property or services (other than trade debt incurred and payable in
 the ordinary course of business), including any Contingent Purchase Price Obligations, (ii) all obligations
 of such Person evidenced by notes, bonds, debentures or other similar instruments, (iii) all indebtedness
 created or arising under any conditional-sale or other title-retention agreement with respect to property
 acquired by such Person, (iv) all Capital Lease Obligations of such Person, (v) all obligation of such
 Person under interest rate or foreign currency swaps or hedges, (vi) all obligations, contingent or
 otherwise, of such Person under acceptance, letter of credit or similar facilities, (vii) all mandatory
 redemption, repurchase or dividend obligations of such Person with respect to its stock or other equity
 interests, other than Permitted Tax Distributions, (viii) all liabilities in respect of unfunded vested benefits
 under plans covered by Title IV of ERISA, (ix) all indebtedness of the kinds referred to in clauses (i)
 through (viii) above (A) of any partnership or unincorporated joint venture in which such Person is a
 general partner or joint venturer to the extent such Person is liable therefor or (B) secured by any Lien on
 any property or asset owned or held by such Person regardless of whether or not the indebtedness secured
 thereby shall have been incurred or assumed by such Person or is nonrecourse to the credit of such
 Person, the amount thereof being equal to the value of the property or assets subject to such Lien, and (x)
 all Guaranty Obligations in respect of, indebtedness or obligations of others of the kinds referred to in
 clauses (i) through (ix) of this definition.

          “Indemnified Taxes” means Taxes other than Excluded Taxes.

         “Initial Public Offering” means an underwritten initial public offering of Capital Stock of the IPO
 Issuer pursuant to an effective registration statement filed with the Securities and Exchange Commission
 under the Securities Act of 1933, as amended.

         “Intellectual Property” means (i) all inventions (whether or not patentable and whether or not
 reduced to practice), all improvements thereto, and all patents, patent applications, and patent disclosures,
 together with all reissues, continuations, continuations-in-part, divisions, revisions, extensions, and
 reexaminations thereof, (ii) all trademarks, service marks, trade dress, logos, trade names, and corporate
 names, together with all goodwill associated therewith, and all applications, registrations, and renewals in
 connection therewith, (iii) all copyrightable works and all copyrights (registered and unregistered), (iv) all
 trade secrets and confidential information (including, without limitation, financial, business and

 3203309v7 18865.00070                                 10
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 411  of 680
                                   Exhibit 1-29 Page 253 of 500


 marketing plans and customer and supplier lists and related information), (v) all computer software and
 software systems (including, without limitation, data, databases and related documentation), (vi) all
 Internet web sites and domain names, (vii) all technology, know-how, processes and other proprietary
 rights, and (viii) all licenses or other agreements to or from third parties regarding any of the foregoing.

         Intercreditor Agreement” means the Intercreditor Agreement, dated as of the date hereof, among
 the Senior Agent, the Collateral Agent, the Lenders and the Borrowers, as amended, modified, restated or
 supplemented from time to time in accordance with the terms hereof and thereof.

          “Investment Documents” means this Agreement, the Notes, the Fee Letters, the Intercreditor
 Agreement, the Security Agreement, any other Security Documents, the Management Fee Subordination
 Agreement, the Equity Investment Documents, and all other agreements, instruments, documents and
 certificates in favor of the Collateral Agent or any Lender or to which the Collateral Agent or any Lender
 is party now or hereafter that is executed by any other Credit Party or BWCP with respect to this
 Agreement or any of the foregoing, in each case as amended, modified, supplemented or restated from
 time to time.

          “Investments” has the meaning given to such term in Section 7.5.

          “IP Security Agreements” has the meaning given to such term in Section 3.1(a)(vii).

         “IPO Issuer” means, in respect of any Initial Public Offering, the Person (as among the Parent,
 the other Borrowers or any holding company for the Parent or the other Borrowers created in connection
 therewith) that is the issuer of the Capital Stock offered in such Initial Public Offering.

        “Lender” means each Person signatory hereto as a “Lender” and each other Person that becomes
 a “Lender” hereunder pursuant to Section 10.6, and their respective successors and assigns.

          “Lending Office” means, with respect to any Lender, the office of such Lender designated as such
 in writing from time to time by such Lender to any Borrower.

        “Leverage Ratio” means, for the Borrowers and their Subsidiaries on a consolidated basis, for any
 Reference Period, the ratio of Funded Debt as of the last day of such Reference Period to Consolidated
 EBITDA for such Reference Period.

         “Lien” means any mortgage, pledge, hypothecation, assignment, security interest, lien (statutory
 or otherwise), charge or other encumbrance of any nature, whether voluntary or involuntary, including,
 without limitation, the interest of any vendor or lessor under any conditional sale agreement, title
 retention agreement, Capital Lease or any other lease or arrangement having substantially the same effect
 as any of the foregoing.

         “LLC Agreement” means the Second Amended and Restated Limited Liability Company
 Agreement of the Parent, dated as of the Closing Date, as amended, modified, restated or supplemented
 from time to time in accordance with the terms thereof and this Agreement.

           “Loans” has the meaning given to such term in Section 2.1.

         “Management Agreement” means the First Amended and Restated Management Agreement,
 dated as of the Closing Date, by and between BWP and BWCP, as amended, modified, restated or
 supplemented from time to time in accordance with the terms thereof and the Management Fee
 Subordination Agreement.

 3203309v7 18865.00070                                 11
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
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                                      Exhibit    Page 412  of 680
                                   Exhibit 1-29 Page 254 of 500


         “Management Fee Subordination Agreement” means the Management Fee Subordination
 Agreement, dated as of the Closing Date, by and between the Borrowers, BWCP, the Collateral Agent
 and the Lenders, as amended, modified, restated or supplemented from time to time in accordance with
 the terms thereof.

          “Margin Stock” has the meaning given to such term in Regulation U.

         “Material Adverse Effect” means (a) any material adverse effect upon the properties and assets,
 business, financial position or results of operations of the Borrowers taken as a whole, (b) the material
 impairment of the ability of the Borrowers taken as a whole to perform the Obligations, or (c) the material
 impairment of (i) the enforceability or priority of the Collateral Agent’s Liens with respect to a material
 portion of the Collateral, or (ii) the legality, validity, binding effect or enforceability of this Agreement or
 any of the other Investment Documents.

          “Material Contract” has the meaning given to such term in Section 4.19.

          “Maturity Date” means April 10, 2019.

          “Mortgage” means any mortgage, deed of trust, deed to secure debt, collateral assignment of
 lease or similar agreement or instrument pursuant to which any Credit Party grants in favor of the
 Collateral Agent, for its benefit and the benefit of the Lenders, a security interest in and Lien upon any fee
 or leasehold interest in real property owned by it, as amended, modified, restated or supplemented from
 time to time.

         “Multiemployer Plan” means any “multiemployer plan” within the meaning of Section 4001(a)(3)
 of ERISA to which a Borrower or any ERISA Affiliate makes, is making or is obligated to make
 contributions or has made or been obligated to make contributions.

          “Net Cash Proceeds” means, (A) with respect to any Asset Disposition, the net amount equal to
 the aggregate amount received in cash (including any cash received by way of deferred payment pursuant
 to a note receivable, other non-cash consideration or otherwise, but only as and when such cash is so
 received) in connection with such Asset Disposition minus the sum of (a) the reasonable attorneys’,
 accountants’, investment banking, financial advisory and other customary fees, commissions and
 expenses incurred by the Borrowers or any of its Subsidiaries in connection with such Asset Disposition
 (including any such bona fide fees, commissions, costs and expenses payable to any Affiliate of the Credit
 Parties), (b) Indebtedness, other than the Loans, required to be paid as a result of such Asset Disposition
 and (c) United States federal, state and local and non-United States taxes paid or required to be paid as a
 result of such Asset Disposition; (B) with respect to any Equity Issuance or Debt Issuance, the net amount
 equal to the aggregate amount received in cash (including any cash received by way of deferred payment
 pursuant to a note receivable, other non-cash consideration or otherwise, but only as and when such cash
 is so received) in connection with such Equity Issuance or Debt Issuance minus the reasonable attorneys’,
 accountants’, investment banking, financial advisory and other customary fees, commissions and
 expenses incurred by the Borrowers in connection with such Equity Issuance, or Debt Issuance (including
 any such bona fide fees, commissions, costs and expenses payable to any Affiliate of the Credit Parties);
 and (C) with respect to any Casualty Event, the net amount equal to the aggregate amount received in
 cash (including any cash insurance proceeds and condemnation awards, but only as and when such cash is
 so received) in connection with such Casualty Event minus the sum of (a) the reasonable fees and out of
 pocket expenses incurred by the Borrowers or any of its Subsidiaries in connection with such Casualty
 Event, (b) Indebtedness, other than the Loans, required to be paid as a result of such Casualty Event and
 (c) United States federal, state and local and non-United States taxes paid or required to be paid as a result
 of such Casualty Event.

 3203309v7 18865.00070                                 12
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
                                                                                                          Desc
                                     Exhibit    Page 413  of 680
                                  Exhibit 1-29 Page 255 of 500


           “Net Indemnification Proceeds” means the gross cash proceeds received by any Credit Party as a
 result of the indemnification provisions, purchase-price-adjustment provisions or similar provisions
 contained in the HCM Acquisition Documents or prior acquisition documents, or in connection with any
 Permitted Acquisition, in each case less the liabilities resulting from the circumstance or condition that
 resulted in the making of such payment to the extent that any Credit Party was required to satisfy such
 liabilities in cash.

         “Net Interest Expense” means with respect to the Borrowers on a consolidated basis, for any
 period as at any date of determination, (a) the sum of PIK Interest and any other non-cash interest accrued
 during such period plus Gross Interest Expense; less (b) interest income for such period and payments
 received under any Hedge Agreement.

           “Net Litigation Proceeds” means the gross cash proceeds received by any Credit Party as a result
 of any settlement, judgment or other disposition of any litigation action, claim, suit or proceeding less the
 liabilities resulting from any costs, fees or other expenses (including fees and expenses of counsel)
 incurred with respect to such action, claim, suit or proceeding.

          “Note” means, with respect to any Lender requesting the same, the promissory note of the
 Borrowers in favor of such Lender evidencing the Loan made by such Lender pursuant to Section 2.1, in
 substantially the form of Exhibit A, together with any amendments, modifications and supplements
 thereto, substitutions therefor and restatements thereof.

          “Obligations” means all principal of and interest (including interest accruing after the filing of a
 petition or commencement of a case by or with respect to a Borrower seeking relief under any applicable
 federal and state laws pertaining to bankruptcy, reorganization, arrangement, moratorium, readjustment of
 debts, dissolution, liquidation or other debtor relief, specifically including the Bankruptcy Code and any
 fraudulent transfer and fraudulent conveyance laws, whether or not the claim for such interest is allowed
 in such proceeding) on the Loans and all fees, expenses, indemnities and other obligations owing, due or
 payable at any time by the Parent, any other Borrower or any other Credit Party to the Collateral Agent,
 any Lender or any other Person entitled thereto, under this Agreement or any of the other Investment
 Documents (other than the Equity Investment Documents), in each case whether direct or indirect, joint or
 several, absolute or contingent, matured or unmatured, liquidated or unliquidated, secured or unsecured,
 and whether existing by contract, operation of law or otherwise.

         “OFAC” means the U.S. Department of the Treasury’s Office of Foreign Assets Control, and any
 successor thereto.

         “Other Taxes” means all present or future stamp or documentary taxes or any other excise or
 property taxes, charges or similar levies arising from any payment made hereunder or under any other
 Investment Document or from the execution, delivery or enforcement of, or otherwise with respect to, this
 Agreement or any other Investment Document.

          “Parent” has the meaning given to such term in the introductory paragraph hereof.

         “PATRIOT Act” means the Uniting and Strengthening America by Providing Appropriate Tools
 Required to Intercept and Obstruct Terrorism (USA PATRIOT Act) of 2001, as amended from time to
 time, and any successor statute, and all rules and regulations from time to time promulgated thereunder.

         “PBGC” means the Pension Benefit Guaranty Corporation established pursuant to Subtitle A of
 Title IV of ERISA, and any successor thereto.


 3203309v7 18865.00070                                13
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52                     Desc
                                                                                                              Desc
                                       Exhibit    Page 414  of 680
                                    Exhibit 1-29 Page 256 of 500


         “Permitted Acquisition” means an Acquisition by any Borrower of any ongoing business,
 division or all or substantially all of the assets of, or all of the Capital Stock of, a Person (each, an
 “Acquired Person”), provided that each of the following conditions is satisfied with respect to such
 Acquisition:

          (a)    if such Acquisition is of all of the Capital Stock of an Acquired Person, such Acquisition
 is not opposed by the board of directors or management of the Acquired Person;

          (b)      such Acquisition will not cause the Borrowers to violate Section 7.10;

         (c)      at the time of such Acquisition, no Event of Default shall have occurred and be
 continuing and no Event of Default would occur as a result thereof on a pro forma basis immediately after
 giving effect to such Acquisition;

          (d)     in the case of the acquisition of all or substantially all of the assets of a Person, all such
 assets shall be owned 100% by the Borrowers, and the Borrowers shall have taken all actions to subject
 such assets to the priority (second in priority only to the Lien of the Senior Agent securing the Senior
 Debt) Lien of the Collateral Agent (subject to Permitted Liens), in accordance with the terms and
 conditions hereof and of the other Loan Documents;

         (e)       in the case of the acquisition of Capital Stock, all of the Capital Stock (except for any
 such securities in the nature of directors’ qualifying shares required pursuant to applicable Law) acquired
 or otherwise issued by such Person or any newly formed Subsidiary of the Borrowers in connection with
 such acquisition shall be owned 100% by the Borrowers, and the Borrowers shall have taken each of the
 actions set forth in Section 5.8;

         (f)     the Person or business acquired shall have a positive financial contribution to the
 Borrowers after giving effect to such Acquisition, as determined in the reasonable good faith discretion of
 the operating committee for the Borrowers;

          (g)     Borrowers shall have provided to the Lenders, no later than ten Business Days prior to
 the date of consummation of the Acquisition, the following information and documentation pertaining to
 the Acquisition, in each case in form and substance reasonably satisfactory to the Required Lenders:
 (A) calculations certified by the Borrowers’ chief financial officer indicating pro forma compliance by the
 Borrowers with the covenants contained in Article VI subsequent to the Acquisition, (B) if available,
 historical financial statements of the Acquired Person for the three full fiscal years of the Acquired Person
 immediately preceding the date of the consummation of the Permitted Acquisition, and (C) consolidated
 projections of the Borrowers, by fiscal quarter, incorporating the results of operations of the Acquired
 Person, and which detail Consolidated EBITDA for each relevant fiscal period for the Acquired Person;
 and

          (h)      on or prior to the closing date for such Permitted Acquisition, the Borrowers shall have
 delivered to the Required Lenders a certificate of a Responsible Officer of the Borrowers certifying that
 all of the requirements set forth in this definition of “Permitted Acquisition” have been satisfied or will be
 satisfied on or prior to the consummation of such Acquisition.

          “Permitted Liens” has the meaning given to such term in Section 7.3.

         “Permitted Tax Distributions” means distributions by the Parent to its members in an amount
 which shall not exceed, with respect to any fiscal year of the Borrowers, the taxable net income of the
 Parent and its Subsidiaries allocated to its members for such fiscal year multiplied by the highest marginal

 3203309v7 18865.00070                                  14
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                    Desc
                                                                                                            Desc
                                      Exhibit    Page 415  of 680
                                   Exhibit 1-29 Page 257 of 500


 federal, state and local combined effective tax rate applicable to an individual Person resident in New
 York, New York during such fiscal year.

         “Person” means any natural person, corporation, limited liability company, trust, joint venture,
 association, company, partnership, Governmental Authority or other entity.

          “Plan” means any “employee pension benefit plan” within the meaning of Section 3(2) of ERISA
 that is subject to the provisions of Title IV of ERISA (other than a Multiemployer Plan) and to which a
 Borrower or any ERISA Affiliate may have any liability.

          “PPA 2006 Effective Date” means, with respect to any Plan, except as hereinafter provided, the
 first day of the first plan year beginning on or after January 1, 2008. However, solely with respect to a
 Plan maintained pursuant to one or more collective bargaining agreements between employee
 representatives and one or more employers ratified before January 1, 2008, such term means the first day
 of the first plan year beginning on or after the earlier of (A) and (B), where (A) is the later of (x) the date
 on which the last collective bargaining agreement relating to the Plan terminates (determined without
 regard to any extension thereof agreed to after August 17, 2006), or (y) the first day of the first plan year
 beginning on or after January 1, 2008; and (B) is January 1, 2010.

         “Prepayment Percentage” means (i) on or before the first anniversary of the Closing Date (or in
 the case of an acceleration or mandatory prepayment, if the loans are accelerated or required to be prepaid
 on or before the first anniversary of the Closing Date), 2.0%, (ii) after the first anniversary of the Closing
 Date but on or before the second anniversary of the Closing Date (or in the case of an acceleration or
 mandatory prepayment, if the loans are accelerated or required to be prepaid after the first anniversary of
 the Closing Date but on or before the second anniversary of the Closing Date), 1.0%, and (iii) after the
 second anniversary of the Closing Date (or in the case of an acceleration or mandatory prepayment, if the
 loans are accelerated or required to be prepaid after the second anniversary of the Closing Date), 0.0%.

          “Pro Forma Balance Sheet” has the meaning given to such term in Section 3.1(r).

          “Pro Forma Basis” has the meaning given to such term in Section 1.3(b).

         “Prohibited Transaction” means any transaction described in (i) Section 406 of ERISA that is not
 exempt by reason of Section 408 of ERISA or by reason of a Department of Labor prohibited transaction
 individual or class exemption or (ii) Section 4975(c) of the Code that is not exempt by reason of
 Section 4975(c)(2) or 4975(d) of the Code.

          “Put Subordination Agreement” has the meaning given to such term in Section 7.6(a)(v).

         “Realty” means all real property and interests in real property now or hereafter acquired or leased
 by any Credit Party.

          “Reference Period” with respect to any date of determination, means (except as may be otherwise
 expressly provided herein) the period of twelve consecutive fiscal months of the Parent and its
 Subsidiaries immediately preceding such date or, if such date is the last day of a fiscal quarter, the period
 of four consecutive fiscal quarters ending on such date.

         “Regulations T, U and X” means Regulations T, U and X, respectively, of the Federal Reserve
 Board, and any successor regulations.




 3203309v7 18865.00070                                 15
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
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                                     Exhibit    Page 416  of 680
                                  Exhibit 1-29 Page 258 of 500


         “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners,
 directors, officers, employees, agents, trustees, administrators, managers, advisors and representatives of
 such Person and of such Person’s Affiliates.

         “Release” means any release, threatened release, spill, emission, leaking, pumping, pouring,
 emitting, emptying, escape, injection, deposit, disposal, discharge, dispersal, dumping, leaching or
 migration of a Hazardous Substance into or through the environment.

          “Reportable Event” means, with respect to any Plan, (i) any “reportable event” within the
 meaning of Section 4043(c) of ERISA for which the 30-day notice under Section 4043(a) of ERISA has
 not been waived by the PBGC (including, without limitation, any failure to meet the minimum funding
 standard of, or timely make any required installment under, Section 412 of the Code or Section 302 of
 ERISA, regardless of the issuance of any waivers in accordance with Section 412 of the Code), (ii) any
 such “reportable event” subject to advance notice to the PBGC under Section 4043(b)(3) of ERISA,
 (iii) any application for a funding waiver or an extension of any amortization period pursuant to Section
 412 of the Code, and (iv) a cessation of operations described in Section 4062(e) of ERISA.

         “Required Lenders” means, at any time, the Lenders holding outstanding Loans representing at
 least 51% of the aggregate, at such time, of all outstanding Loans. In the event that Avante or Fidus or
 any of their Affiliates holds any of the then outstanding Loans, the Loans held directly or indirectly by the
 Sponsor, any Credit Party or any Affiliate of any of the foregoing shall not be included in the
 determination of Required Lenders and none of the Sponsor, any Credit Party or any Affiliate of the
 foregoing shall have any rights as Lenders hereunder to vote, approve or consent to any action requiring
 the vote, approval or consent of the Lenders or Required Lenders (provided that, for the avoidance of
 doubt, nothing in this sentence shall be deemed to permit any assignment not made in accordance with
 Section 10.6).

          “Requirement of Law” means, with respect to any Person, any statute, law, treaty, rule,
 regulation, order, decree, writ, injunction or determination of any arbitrator or court or other
 Governmental Authority, in each case applicable to or binding upon such Person or any of its property or
 to which such Person or any of its property is subject or otherwise pertaining to any or all of the
 transactions contemplated by this Agreement and the other Investment Documents.

          “Responsible Officer” means, with respect to any Credit Party, the chief executive officer or the
 chief financial officer thereof.

         “Sanctioned Country” means a country subject to a sanctions program identified on the list
 maintained by OFAC and available at http://www.treas.gov/offices/enforcement/ofac/
 programs/, or as otherwise published from time to time.

          “Sanctioned Person” means (i) a Person named on the list of Specially Designated Nationals or
 Blocked Persons maintained by OFAC available at http://www.treas.gov/
 offices/enforcement/ofac/sdn/index.shtml, or as otherwise published from time to time, or (ii) (A) an
 agency of the government of a Sanctioned Country, (B) an organization controlled by a Sanctioned
 Country, or (C) a Person resident in a Sanctioned Country, to the extent subject to a sanctions program
 administered by OFAC.

          “SBA” means the Small Business Administration.

        “SBIA” means the Small Business Investment Act of 1958, as amended, and the regulations
 promulgated thereunder.

 3203309v7 18865.00070                                16
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
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                                     Exhibit    Page 417  of 680
                                  Exhibit 1-29 Page 259 of 500


         “Security Agreement” means the Pledge and Security Agreement made by the Parent, each other
 Borrower, and the Subsidiaries of the Parent party thereto in favor of the Collateral Agent, in substantially
 the form of Exhibit D, as amended, modified, restated or supplemented from time to time.

         “Security Documents” means the Security Agreement, the IP Security Agreements, and all other
 pledge or security agreements, mortgages, assignments or other similar agreements or instruments
 executed and delivered by any Credit Party pursuant to Section 5.8, 5.9, 5.15, 5.16 or 5.17 or otherwise in
 connection with the transactions contemplated hereby, in each case as amended, modified, restated or
 supplemented from time to time .

          “Senior Agent” has the meaning given to such term in the Intercreditor Agreement.

          “Senior Debt” has the meaning given to such term in the Intercreditor Agreement.

          “Senior Lenders” has the meaning given to such term in the Intercreditor Agreement.

         “Senior Loan Agreement” has the meaning given to the term “Senior Credit Agreement” in the
 Intercreditor Agreement.

          “Senior Loan Documents” has the meaning given to such term in the Intercreditor Agreement.

          “Sponsor” means Blue Wolf Capital Partners Fund II, L.P., a Delaware limited partnership.

          “Sponsor Party” means any Person who is an officer, director, employee, consultant, principal,
 founder, equityholder, manager, general partner or agent of the Sponsor or any non-Credit-Party Affiliate
 thereof.

         “Subordinated Indebtedness” means Indebtedness subordinated in right of payment, performance
 and collection to the Obligations in accordance with Section 7.2(x).

          “Subsidiary” means, with respect to any Person, any corporation or other Person of which more
 than 50% of the outstanding Capital Stock having ordinary voting power to elect a majority of the board
 of directors, board of managers or other governing body of such Person, is at the time, directly or
 indirectly, owned or controlled by such Person and one or more of its other Subsidiaries or a combination
 thereof (irrespective of whether, at the time, securities of any other class or classes of any such
 corporation or other Person shall or might have voting power by reason of the happening of any
 contingency). Except when the context requires otherwise, the term “Subsidiary” shall be deemed to refer
 to a Subsidiary of a Borrower.

          “Subsidiary Guarantor” means any Guarantor that is a Subsidiary of any Borrower.

         “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings,
 assessments, fees or other charges imposed by any Governmental Authority, including any interest,
 additions to tax or penalties applicable thereto.

          “Terminating Indebtedness” has the meaning given to such term in Section 3.1(k).

         “Transaction Costs” all legal, accounting, broker, consulting and other fees, costs and expenses
 paid by the Borrowers, in each case in connection with the closing of the transactions contemplated by the
 Investment Documents and the HCM Acquisition.



 3203309v7 18865.00070                                17
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
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                                     Exhibit    Page 418  of 680
                                  Exhibit 1-29 Page 260 of 500


       “Transaction Documents” means, collectively, this Agreement and the other Investment
 Documents, the Senior Loan Agreement and the other Senior Loan Documents, the HCM Acquisition
 Documents.

          “Transactions” means, collectively, the transactions contemplated by the Transaction Documents,
 including (i) the HCM Acquisition, (ii) the making of the Loans hereunder, (iii) the extensions of credit
 under the Senior Loan Documents on the Closing Date, (iv) the Equity Capitalization, (v) the repayment
 in full of the Terminating Indebtedness, and (vi) the payment of permitted fees and expenses in
 connection with the foregoing.

         “Unfunded Pension Liability” means, with respect to any Plan, the excess of its benefit liabilities
 under Section 4001(a)(16) of ERISA over the current value of its assets, determined in accordance with
 the applicable assumptions used for funding under Section 412 of the Code for the applicable plan year.

          “Wholly Owned” means, with respect to any Subsidiary of any Person, that 100% of the
 outstanding Capital Stock of such Subsidiary is owned, directly or indirectly, by such Person. For the
 avoidance of doubt, except where the context requires otherwise, the term “Wholly Owned Subsidiary”
 shall be deemed to refer to a Wholly Owned Subsidiary of a Borrower.

          1.2      Accounting Terms. As used herein, in any other Investment Document, and in any
 certificate or other document made or delivered pursuant hereto or thereto, accounting terms not defined
 in Section 1.1 and accounting terms partly defined in Section 1.1, to the extent not defined, shall have the
 respective meanings given to them under GAAP. Unless otherwise provided herein, all financial
 calculations made with respect to the Borrowers for the purpose of determining compliance with the
 terms of this Agreement shall be made on a consolidated basis and in accordance with GAAP. For the
 avoidance of doubt, notwithstanding any change in GAAP after the Closing Date that would require lease
 obligations that would be treated as operating leases as of the Closing Date to be classified and accounted
 for as capital leases or otherwise reflected on the Borrowers’ consolidated balance sheet, such obligations
 shall continue to be excluded from the definition of Indebtedness.

          1.3      Other Terms; Construction.

          (a)     The definitions of terms herein shall apply equally to the singular and plural forms of the
 terms defined. Whenever the context may require, any pronoun shall include the corresponding
 masculine, feminine and neuter forms. The words “include,” “includes” and “including” shall be deemed
 to be followed by the phrase “without limitation.” The word “will” shall be construed to have the same
 meaning and effect as the word “shall.” Unless the context requires otherwise, (i) any definition of or
 reference to any agreement, instrument or other document shall be construed as referring to such
 agreement, instrument or other document as from time to time amended, supplemented, restated or
 otherwise modified (subject to any restrictions on such amendments, supplements, restatements or
 modifications set forth herein or in any other Investment Document), (ii) any reference herein to any
 Person shall be construed to include such Person’s successors and assigns permitted hereunder, (iii) the
 words “herein,” “hereof” and “hereunder,” and words of similar import when used in any Investment
 Document, shall be construed to refer to such Investment Document in its entirety and not to any
 particular provision thereof, (iv) all references in an Investment Document to Articles, Sections, Exhibits
 and Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to, the
 Investment Document in which such references appear, (v) any reference to any law or regulation herein
 shall, unless otherwise specified, refer to such law or regulation as amended, modified or supplemented
 from time to time, and (vi) the words “asset” and “property” shall be construed to have the same meaning
 and effect and to refer to any and all tangible and intangible assets and properties, including cash,
 securities, accounts and contract rights.

 3203309v7 18865.00070                                18
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                      Exhibit    Page 419  of 680
                                   Exhibit 1-29 Page 261 of 500


          (b)     Notwithstanding the foregoing, calculations to determine compliance by the Borrowers
 for any period with the Leverage Ratio covenant as set forth in Section 6.1 and calculations of the other
 financial covenants contained in Article VI to determine whether a condition to any transaction or event
 has been met, shall be determined in each case on a pro forma basis (a “Pro Forma Basis”) after giving
 effect to any Acquisition, Asset Disposition, incurrence or payment of Indebtedness or other transaction
 (each, a “transaction”) occurring during such Reference Period (or proposed to be consummated, as the
 case may be, whether or not during such Reference Period) as if such transaction had occurred as of the
 first day of such Reference Period, in accordance with the following:

                   (i)      any Indebtedness incurred or assumed by any Credit Party in connection with any
          transaction (including any Indebtedness of a Person acquired in an Acquisition that is not retired
          or repaid in connection therewith) shall be deemed to have been incurred or assumed as of the
          first day of the applicable Reference Period (and if such Indebtedness has a floating or formula
          rate, such Indebtedness shall, for purposes of such determination, have an implied rate of interest
          during the applicable Reference Period determined by utilizing the rate of interest that is or would
          be in effect with respect to such Indebtedness as of the date of determination);

                  (ii)     any Indebtedness retired or repaid in connection with any transaction (including
          any Indebtedness of a Person acquired in an Acquisition) shall be deemed to have been retired or
          repaid as of the first day of the applicable period;

                  (iii)    with respect to any Acquisition, income statement items (whether positive or
          negative) and balance sheet items attributable to the Person or assets acquired shall (to the extent
          not otherwise included in the consolidated financial statements of the Parent and its Subsidiaries
          in accordance with GAAP or in accordance with other provisions of this Agreement) be included
          in such calculations to the extent relating to the applicable Reference Period, provided that such
          income statement and balance sheet items are reflected in financial statements or other financial
          data reasonably acceptable to the Required Lenders; and

                  (iv)    with respect to any Asset Disposition, income statement items (whether positive
          or negative) and balance sheet items attributable to the assets disposed of shall be excluded from
          such calculations to the extent relating to the applicable Reference Period.

                                                 ARTICLE II

                                AMOUNT AND TERMS OF THE LOANS

          2.1     Loans. Each Lender severally agrees, subject to and on the terms and conditions of this
 Agreement, to make a term loan (each, a “Loan,” and collectively, the “Loans”) to the Borrowers on the
 Closing Date in an original principal amount of its Commitment. No Loans shall be made at any time
 after the Closing Date, and the Commitments shall be automatically and permanently terminated
 concurrently with the making of the Loans on the Closing Date. To the extent repaid or prepaid, Loans
 may not be reborrowed.

          2.2      Disbursement; Domicile of Loans.

        (a)     The Borrowers hereby authorize the Lenders to disburse the proceeds of the Loans in
 accordance with the terms of any written instructions from any Authorized Officer of any Borrower.

          (b)    Each Lender may, at its option, make and maintain any Loan at, to or for the account of
 any of its Lending Offices, provided that any exercise of such option shall not affect the obligation of the

 3203309v7 18865.00070                                 19
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
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                                     Exhibit    Page 420  of 680
                                  Exhibit 1-29 Page 262 of 500


 Borrowers to repay such Loan to or for the account of such Lender in accordance with the terms of this
 Agreement.

          2.3      Evidence of Debt; Notes.

         (a)      Each Lender shall maintain in accordance with its usual practice an account or accounts
 evidencing the indebtedness of the Borrowers to the applicable Lending Office of such Lender resulting
 from each Loan made by such Lending Office of such Lender from time to time, including the amounts of
 principal and interest payable and paid to such Lending Office of such Lender from time to time under
 this Agreement.

         (b)      The entries made in the accounts maintained pursuant to Section 2.3(a) shall, to the
 extent permitted by applicable law, be prima facie evidence of the existence and amounts of the
 obligations of the Borrowers therein recorded; provided, however, that the failure of any Lender to
 maintain such account, or any error therein, shall not in any manner affect the obligation of the Borrowers
 to repay (with applicable interest) the Loans made to the Borrowers by such Lender in accordance with
 the terms of this Agreement.

         (c)      The Loans made by each Lender shall, if requested by the applicable Lender (which
 request shall be made to the Borrowers), be evidenced by a Note appropriately completed in substantially
 the form of Exhibit A, executed by the Borrowers and payable to the order of such Lender and registered
 in such Lender’s name in accordance with Section 10.6(f). Each Note shall be entitled to all of the
 benefits of this Agreement and the other Investment Documents and shall be subject to the provisions
 hereof and thereof.

          2.4      Mandatory Payments and Prepayments.

          (a)     Except to the extent due or paid sooner pursuant to the provisions of this Agreement, the
 Borrowers shall repay the aggregate outstanding principal of the Loans on the Maturity Date, together
 with all accrued but unpaid interest and fees thereon.

          (b)     Promptly upon (and in any event not later than five (5) Business Days after) receipt
 thereof by any Credit Party, the Borrowers will prepay the outstanding principal amount of the Loans in
 an amount equal to 100% of the Net Cash Proceeds from any Equity Issuance and 100% of the Net Cash
 Proceeds from any Debt Issuance, and will deliver to the Lenders, concurrently with such prepayment, a
 certificate signed by a Financial Officer of the Borrowers in form and substance reasonably satisfactory to
 the Lenders and setting forth the calculation of such Net Cash Proceeds.

          (c)     Concurrently with (i) any Asset Disposition consisting of all or substantially all of the
 assets of the Parent or any of the other Borrowers, (ii) a Change of Control or (iii) an Initial Public
 Offering, the Borrowers shall prepay the Loans in full, together with all accrued but unpaid interest and
 fees thereon

          (d)     Not later than 30 days after receipt by any Credit Party of any proceeds of insurance,
 condemnation award or other compensation in respect of any Casualty Event (or, if earlier, upon its
 determination not to repair or replace any property subject to such Casualty Event or to acquire assets
 used or useable in the business of the Borrowers and their Subsidiaries), the Borrowers will prepay the
 outstanding principal amount of the Loans in an amount equal to 100% of the Net Cash Proceeds from
 such Casualty Event (less any amounts theretofore applied (or contractually committed to be applied) to
 the repair or replacement of property subject to such Casualty Event or to acquire assets used or useable
 in the business of the Borrowers and their Subsidiaries) and will deliver to the Lenders, concurrently with

 3203309v7 18865.00070                                20
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
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                                     Exhibit    Page 421  of 680
                                  Exhibit 1-29 Page 263 of 500


 such prepayment, a certificate signed by a Financial Officer of the Borrowers in form and substance
 reasonably satisfactory to the Required Lenders and setting forth the calculation of such Net Cash
 Proceeds; provided, however, that any such proceeds of insurance, condemnation award or other
 compensation in respect of any Casualty Event not applied (or contractually committed to be applied)
 within 30 days to the acquisition of other replacement assets as provided herein shall be applied by the
 Borrowers as a prepayment of the outstanding principal amount of the Loans no later than the first
 Business Day immediately following such 30-day period.

          (e)     Not later than 30 days after receipt by any Credit Party of proceeds in respect of any
 Asset Disposition (or, if earlier, upon its determination not to apply such proceeds to the acquisition of
 assets used or useable in the business of the Borrowers and their Subsidiaries), the Borrowers will prepay
 the outstanding principal amount of the Loans in an amount equal to 100% of the Net Cash Proceeds from
 such Asset Disposition (less any amounts theretofore applied (or contractually committed to be applied)
 to acquire assets used or useable in the business of the Borrowers and their Subsidiaries) and will deliver
 to the Lenders, concurrently with such prepayment, a certificate signed by a Financial Officer of the
 Borrowers in form and substance reasonably satisfactory to the Required Lenders and setting forth the
 calculation of such Net Cash Proceeds; provided, however, that any such Net Cash Proceeds not applied
 (or contractually committed to be applied) within 30 days to the acquisition of other assets as provided
 herein shall be applied by the Borrowers as a prepayment of the outstanding principal amount of the
 Loans no later than the first Business Day immediately following such 30-day period. Notwithstanding
 the foregoing, nothing in this Section 2.4(e) shall be deemed to permit any Asset Disposition not
 expressly permitted under Section 7.4 or any Capital Expenditures not expressly permitted under
 Section 6.3.

         (f)      Promptly upon (and in any event not later than one Business Day after) receipt by any
 Credit Party, the Borrowers will prepay the outstanding principal amount of the Loans in an amount equal
 to the Net Indemnification Proceeds received by such Credit Party.

         (g)      Promptly upon (and in any event not later than one Business Day after) receipt by any
 Credit Party, the Borrowers will prepay the outstanding principal amount of the Loans in an amount equal
 to the Net Litigation Proceeds received by such Credit Party.

          (h)     Each payment or prepayment of the Loans made pursuant to Sections 2.4(b) through
 2.4(g) shall be applied to reduce the outstanding principal amount of the Loans. Each payment or
 prepayment pursuant to the provisions of this Section 2.4 shall be applied ratably among the Lenders
 holding the Loans being prepaid, in proportion to the principal amount held by each Lender.

          (i)    Each prepayment made pursuant to this Section 2.4 shall be made with any prepayment
 fee due under Section 2.7(b), if applicable.

        (j)       The Borrowers shall use commercially reasonable efforts to give written notice to each
 Lender at least five Business Days prior to each mandatory prepayment pursuant to this Section 2.4.

          (k)    Notwithstanding anything to the contrary in this Section 2.4, the amount of each partial
 prepayment or repayment under this Section 2.4 shall be reduced by the amount required to be prepaid
 (and actually used for such prepayment) in respect of the Senior Debt with respect to the corresponding
 triggering events or circumstances; it being understood and agreed that, for the avoidance of doubt, only
 one prepayment shall be required with respect to the event or circumstance giving rise to such partial
 prepayment (although such single prepayment may be apportioned among more than one payee if, for
 example, the required partial prepayment is $2,000,000 and a payment of $1,000,000 under the Senior
 Loan Agreement satisfies all partial prepayment obligations then required to be satisfied (as a result of

 3203309v7 18865.00070                               21
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
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                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
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                                     Exhibit    Page 422  of 680
                                  Exhibit 1-29 Page 264 of 500


 waiver, consent or otherwise) under the Senior Loan Agreement, in which case the remaining $1,000,000
 would be paid to the Lenders under this Agreement); provided, however, that for the avoidance of doubt,
 the foregoing shall not apply to prepayments pursuant to Sections 2.4(a), 2.4(c) or any other subsection
 requiring, by its terms, prepayment in full of the Loans.

          2.5     Voluntary Prepayments. At any time and from time to time, the Borrowers shall have the
 right to prepay the Loans, in whole or in part, without premium or penalty (except as provided in Section
 2.7(b)), upon written notice given to the Lenders at least three Business Days prior to each intended
 prepayment. Each such notice shall specify the proposed date of such prepayment and the aggregate
 principal amount of the Loans to be prepaid, and shall be irrevocable and shall bind the Borrowers to
 make such prepayment on the terms specified therein. Any such prepayments of the Loans pursuant to
 this Section 2.5 may not be reborrowed. Each prepayment of the Loans made pursuant to this Section 2.5
 shall be applied ratably among the Lenders holding the Loans being prepaid, in proportion to the principal
 amount held by each.

          2.6      Interest.

         (a)      The Borrowers shall pay to the Lenders interest on the outstanding principal amount of
 the Loans at a rate equal to 12.25% per annum, compounded quarterly. Notwithstanding the provisions of
 Section 2.6(c) to the contrary, unless the Borrowers provide written notice to the Lenders not less than
 three days prior to any interest payment date of its election to pay all of the interest due and payable on
 such interest payment date in cash, then (i) the Borrowers shall pay and discharge in cash interest accrued
 on the outstanding principal amount of the Loans (including interest accrued on all PIK Interest
 previously added to the principal balance of the Loans prior to such interest payment date pursuant to this
 Section 2.6(a)) at the rate of 11% per annum, and (ii) interest accrued on the outstanding principal
 amount of the Loans at the rate of 1.25% per annum (“PIK Interest”) shall be paid and discharged,
 without the taking of further action, by adding such PIK Interest to the principal balance of the Loans.

          (b)     Upon the occurrence and during the continuance of any Event of Default under
 Sections 8.1(a), 8.1(f), or 8.1(g), and (at the election of the Required Lenders) upon the occurrence and
 during the continuance of any other Event of Default, all outstanding principal amounts of the Loans and,
 to the greatest extent permitted by law, all interest accrued on the Loans and all other accrued and
 outstanding fees and other amounts hereunder, shall bear interest at a rate per annum equal to the interest
 rate applicable from time to time thereafter to the Loans plus 2.0% per annum, compounded quarterly,
 and, in each case, such default interest shall be payable on demand. To the greatest extent permitted by
 law, interest shall continue to accrue after the filing by or against any Borrower of any petition seeking
 any relief in bankruptcy or under any law pertaining to insolvency or debtor relief.

          (c)     Notwithstanding anything contained herein, accrued (and theretofore unpaid) interest
 shall be due and payable (i) in cash (subject to Section 2.6(a)) quarterly in arrears on the last day of each
 March, June, September, and December of each year, commencing December 31, 2013, (ii) in cash, upon
 the date of any prepayment pursuant to Sections 2.4 or 2.5, to the extent such interest has accrued with
 respect to the principal being prepaid, and (iii) in cash at maturity (whether pursuant to acceleration or
 otherwise), upon prepayment in full of the Loans and, after maturity, on demand.

          (d)    Nothing contained in this Agreement or in any other Investment Document shall be
 deemed to establish or require the payment of interest to any Lender at a rate in excess of the maximum
 rate permitted by applicable law. If the amount of interest payable for the account of any Lender on any
 interest payment date would exceed the maximum amount permitted by applicable law to be charged by
 such Lender, the amount of interest payable for its account on such interest payment date shall be
 automatically reduced to such maximum permissible amount. In the event of any such reduction affecting

 3203309v7 18865.00070                                22
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 423  of 680
                                   Exhibit 1-29 Page 265 of 500


 any Lender, if from time to time thereafter the amount of interest payable for the account of such Lender
 on any interest payment date would be less than the maximum amount permitted by applicable law to be
 charged by such Lender, then the amount of interest payable for its account on such subsequent interest
 payment date shall be automatically increased to such maximum permissible amount, provided that at no
 time shall the aggregate amount by which interest paid for the account of any Lender has been increased
 pursuant to this sentence exceed the aggregate amount by which interest paid for its account has
 theretofore been reduced pursuant to the previous sentence.

          2.7      Fees. The Borrowers agree to pay:

         (a)      To each Lender, for each such Lender’s own account, on the Closing Date, the fees under
 the Fee Letters in the amounts due and payable on the Closing Date as required by the terms thereof; and

          (b)     To each Lender, if the Borrowers prepay, or are required to prepay, the Loans in full or in
 part (including pursuant to Section 2.4 (other than Section 2.4(d)) or Section 2.5, or an acceleration of
 the Loans), a fee equal to (i) the principal amount of such prepayment multiplied by (ii) the Prepayment
 Percentage, which fee shall be payable in connection with such prepayment or required prepayment;
 provided, however, that in the event that (x) any material consent, approval or other action is requested
 by the Borrowers to be given or taken by the Lenders, (y) there are only two Lenders and (z) one Lender
 has agreed to take or give such consent, approval or other action and the other Lenders has not so agreed,
 then the Borrowers shall be permitted to prepay the Loans held by the dissenting Lender or the Loans held
 by both Lenders, in each case in full and not in part, without application of the Prepayment Percentage so
 long as such prepayment is made within thirty (30) days following the date of such request made by the
 Borrowers to the Lenders.

          2.8      Method of Payments; Computations; Apportionment of Payments.

          (a)     All payments by the Borrowers hereunder shall be made without setoff, counterclaim or
 other defense, in Dollars and in immediately available funds to the Lenders entitled to such payment at
 the payment office designated by each such Lender prior to 3:00 p.m., New York time, on the date
 payment is due. Any payment made as required hereinabove, but after 3:00 p.m. New York time, shall be
 deemed to have been made on the next succeeding Business Day. If any payment falls due on a day that
 is not a Business Day, then such due date shall be extended to the next succeeding Business Day, and
 such extension of time shall then be included in the computation of payment of interest, fees or other
 applicable amounts.

          (b)     All computations of interest and fees hereunder shall be made on the basis of a year
 consisting of 360 days with regard to the actual number of days (including the first day, but excluding the
 last day) elapsed.

          (c)     Notwithstanding any other provision of this Agreement or any other Investment
 Document to the contrary, all amounts collected or received by any Lender or the Collateral Agent after
 acceleration of the Loans pursuant to Section 8.2 or in respect of any sale of, collection from or other
 realization upon all or any part of the Collateral pursuant to the exercise of its remedies shall be applied as
 follows:

                  (i)     first, to the payment of all reasonable out-of-pocket costs and expenses
          (including reasonable attorneys’ and consultants’ fees irrespective, subject to applicable law, of
          whether such fees are allowed as a claim after the occurrence of a Bankruptcy Event) of the
          Collateral Agent in connection with enforcing the rights of the Lenders under the Investment
          Documents and any protective advances made by the Collateral Agent with respect to the

 3203309v7 18865.00070                                 23
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
                                                                                                         Desc
                                     Exhibit    Page 424  of 680
                                  Exhibit 1-29 Page 266 of 500


          Collateral under or pursuant to the terms of the Security Documents or other Investment
          Documents, in each case, as set forth in the Investment Documents;

                  (ii)     second, to the payment of all reasonable out-of-pocket costs and expenses
          (including reasonable attorneys’ and consultants’ fees irrespective, subject to applicable law, of
          whether such fees are allowed as a claim after the occurrence of a Bankruptcy Event) of each of
          the Lenders in connection with enforcing its rights under the Investment Documents or otherwise
          with respect to the Obligations owing to such Lender, in each case, as set forth in the Investment
          Documents;

                   (iii)   third, to the payment of all of the Obligations consisting of accrued fees and
          interest (including fees incurred and interest accruing at the then applicable rate after the
          occurrence of a Bankruptcy Event, subject to applicable law, irrespective of whether a claim for
          such fees incurred and interest accruing is allowed in such proceeding);

                   (iv)   fourth, to the payment of the outstanding principal amount of the Obligations;

                 (v)    fifth, to the payment of all other Obligations and other obligations that shall have
          become due and payable under the Investment Documents or otherwise and not repaid; and

                   (vi)     sixth, to the payment of the surplus (if any) to whomever may be lawfully
          entitled to receive such surplus.

         In carrying out the foregoing, (x) amounts received shall be applied in the numerical order
 provided until exhausted prior to application to the next succeeding category, and (y) all amounts shall be
 apportioned ratably among the Lenders in proportion to the amounts of such principal, interest, fees or
 other Obligations owed to them respectively pursuant to clauses (ii) through (v) above.

          2.9      Recovery of Payments. The Borrowers agree that to the extent any Borrower makes a
 payment or payments to or for the account of any Lender or the Collateral Agent, which payment or
 payments or any part thereof are subsequently invalidated, declared to be fraudulent or preferential, set
 aside or required to be repaid to a trustee, receiver or any other party under any bankruptcy, insolvency or
 similar state or federal law, common law or equitable cause (whether as a result of any demand,
 settlement, litigation or otherwise), then, to the extent of such payment or repayment, the Obligation
 intended to be satisfied shall be revived and continued in full force and effect as if such payment had not
 been received. The agreements and obligations in this Section shall survive the payment in full of all
 Loans and any termination of this Agreement or any of the other Investment Documents.

          2.10 Use of Proceeds. The proceeds of the Loans shall be used solely (i) to finance a portion
 of the consideration to be paid to HCM in connection with the HCM Acquisition, (ii) to repay the
 Terminating Indebtedness in full, and (iii) to pay or reimburse fees and expenses in connection with the
 Transactions.

          2.11     Pro Rata Treatment.

          (a)      The funding of Loans on the Closing Date shall be made by the Lenders pro rata on the
 basis of their respective Commitments. All payments on account of principal of or interest on any Loans,
 fees or any other Obligations owing to or for the account of any one or more Lenders shall be apportioned
 ratably among such Lenders in proportion to the amounts of such principal, interest, fees or other
 Obligations owed to them respectively.


 3203309v7 18865.00070                                24
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                 Desc
                                                                                                         Desc
                                      Exhibit    Page 425  of 680
                                   Exhibit 1-29 Page 267 of 500


          (b)     If any Lender shall, by exercising any right of setoff or counterclaim or otherwise, obtain
 payment in respect of any principal of or interest on any of its Loans or other Obligations hereunder
 resulting in such Lender’s receiving payment of a proportion of the aggregate amount of its Loans and
 accrued interest thereon or other such Obligations greater than its pro rata share thereof as provided
 herein, then the Lender receiving such greater proportion shall (a) notify the other Lenders of such fact,
 and (b) purchase (for cash at face value) participations in the Loans and such other Obligations of the
 other Lenders, or make such other adjustments as shall be equitable, so that the benefit of all such
 payments shall be shared by the Lenders ratably in accordance with the aggregate amount of principal of
 and accrued interest on their respective Loans and other amounts owing them, provided that (i) if any
 such participations are purchased and all or any portion of the payment giving rise thereto is recovered,
 such participations shall be rescinded and the purchase price restored to the extent of such recovery,
 without interest, and (ii) the provisions of this Section shall not be construed to apply to (x) any payment
 made by the Borrowers pursuant to and in accordance with the express terms of this Agreement or (y) any
 payment obtained by a Lender as consideration for the assignment of or sale of a participation in any of
 its Loans to any assignee or participant, other than to the Parent or any Subsidiary thereof (as to which the
 provisions of this Section 2.11(b) shall apply). Each Borrower consents to the foregoing and agrees, to
 the extent it may effectively do so under applicable law, that any Lender acquiring a participation
 pursuant to the foregoing arrangements may exercise against the Borrowers rights of setoff and
 counterclaim with respect to such participation as fully as if such Lender were a direct creditor of the
 Borrowers in the amount of such participation. If under any applicable bankruptcy, insolvency or similar
 law, any Lender receives a secured claim in lieu of a setoff to which this Section 2.11(b) applies, such
 Lender shall, to the extent practicable, exercise its rights in respect of such secured claim in a manner
 consistent with the rights of the Lenders entitled under this Section 2.11(b) to share in the benefits of any
 recovery on such secured claim.

          2.12     Change in Law; Illegality.

          (a)      If any Change in Law shall:

                   (i)      impose, modify or deem applicable any reserve, special deposit, compulsory
          loan, insurance charge or similar requirement against assets of, deposits with or for the account
          of, or credit extended or participated in by, any Lender; or

                (ii)       impose on any Lender any other condition, cost or expense affecting this
          Agreement;

         and the result of any of the foregoing shall be to increase the cost to such Lender, or to reduce the
 amount of any sum received or receivable by such Lender hereunder (whether of principal, interest or any
 other amount), then, upon request of such Lender, the Borrowers will pay to such Lender, as the case may
 be, such additional amount or amounts as will compensate such Lender, as the case may be, for such
 additional costs incurred or reduction suffered.

          (b)     If any Lender determines that any Change in Law affecting such Lender or any Lending
 Office of such Lender or such Lender’s holding company, if any, regarding capital or liquidity
 requirements has or would have the effect of reducing the rate of return on such Lender’s capital or on the
 capital of such Lender’s holding company, if any, as a consequence of this Agreement, the Loans made
 by such Lender to a level below that which such Lender or such Lender’s holding company could have
 achieved but for such Change in Law (taking into consideration such Lender’s and the policies of such
 Lender’s holding company with respect to capital adequacy), then from time to time the Borrowers will
 pay to such Lender such additional amount or amounts as will compensate such Lender or such Lender’s
 holding company for any such reduction suffered.

 3203309v7 18865.00070                                25
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS          Doc
                               Doc 236-1
                                   156-1 Filed
                                            Filed 03/31/20
                                                  06/28/19 Entered
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                                    Exhibit    Page 426  of 680
                                 Exhibit 1-29 Page 268 of 500


          (c)     A certificate of a Lender setting forth the amount or amounts (and a reasonably detailed
 calculation thereof) necessary to compensate such Lender or its holding company, as the case may be, as
 specified in Section 2.12(a) or Section 2.12(b) and delivered to the Borrowers shall be conclusive absent
 manifest error. The Borrowers shall pay such Lender the amount shown as due on any such certificate
 within 10 days after receipt thereof.

          (d)     Failure or delay on the part of any Lender to demand compensation pursuant to the
 foregoing provisions of this Section shall not constitute a waiver of such Lender’s right to demand such
 compensation, provided that the Borrowers shall not be required to compensate a Lender pursuant to the
 foregoing provisions of this Section for any increased costs incurred or reductions suffered more than six
 months prior to the date that such Lender notifies the Borrowers of the Change in Law giving rise to such
 increased costs or reductions and of such Lender’s intention to claim compensation therefor (except that,
 if the Change in Law giving rise to such increased costs or reductions is retroactive, then the nine-month
 period referred to above shall be extended to include the period of retroactive effect thereof).

          2.13     Taxes.

          (a)     Any and all payments by or on account of any obligation of the Borrowers hereunder or
 under any other Investment Document shall be made free and clear of and without reduction or
 withholding for any Indemnified Taxes or Other Taxes, provided that if the Borrowers shall be required
 by applicable law to deduct any Indemnified Taxes (including any Other Taxes) from such payments,
 then (i) the sum payable shall be increased as necessary so that after making all required deductions
 (including deductions applicable to additional sums payable under this Section) the Lender receives an
 amount equal to the sum it would have received had no such deductions been made, (ii) the Borrowers
 shall make such deductions and (iii) the Borrowers shall timely pay the full amount deducted to the
 relevant Governmental Authority in accordance with applicable law.

        (b)      Without limiting the provisions of Section 2.13(a), the Borrowers shall timely pay any
 Other Taxes to the relevant Governmental Authority in accordance with applicable law.

          (c)     The Borrowers shall indemnify each Lender within 10 days after demand therefor, for the
 full amount of any Indemnified Taxes or Other Taxes (including Indemnified Taxes or Other Taxes
 imposed or asserted on or attributable to amounts payable under this Section) paid by such Lender and
 any penalties, interest and reasonable expenses arising therefrom or with respect thereto, whether or not
 such Indemnified Taxes or Other Taxes were correctly or legally imposed or asserted by the relevant
 Governmental Authority. A certificate as to the amount of such payment or liability delivered to the
 Borrowers by a Lender shall be conclusive absent manifest error.

          (d)     As soon as practicable after any payment of Indemnified Taxes or Other Taxes by any
 Borrower to a Governmental Authority, the Borrowers shall deliver to the applicable Lenders the original
 or a certified copy of a receipt issued by such Governmental Authority evidencing such payment, a copy
 of the return reporting such payment or other evidence of such payment reasonably satisfactory to such
 Lenders.

         (e)     Any Foreign Lender that is entitled to an exemption from or reduction of withholding tax
 under the law of the jurisdiction in which the Borrowers are resident for tax purposes, or any treaty to
 which such jurisdiction is a party, with respect to payments hereunder or under any other Investment
 Document shall deliver to the Borrowers, at the time or times prescribed by applicable law or reasonably
 requested by the Borrowers, such properly completed and executed documentation prescribed by
 applicable law as will permit such payments to be made without withholding or at a reduced rate of


 3203309v7 18865.00070                               26
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 427  of 680
                                   Exhibit 1-29 Page 269 of 500


 withholding. In addition, any Lender, if requested by the Borrowers, shall deliver such other
 documentation prescribed by applicable law or reasonably requested by the Borrowers as will enable the
 Borrowers to determine whether or not such Lender is subject to backup withholding or information
 reporting requirements.

         Without limiting the generality of the foregoing, in the event that the Borrowers are resident for
 tax purposes in the United States, any Foreign Lender shall deliver to the Borrowers on or prior to the
 date on which such Foreign Lender becomes a Lender under this Agreement (and from time to time
 thereafter upon the request of the Borrowers, but only if such Foreign Lender is legally entitled to do so),
 whichever of the following is applicable:

                    (i)     duly completed copies of Internal Revenue Service Form W-8BEN claiming
          eligibility for benefits of an income tax treaty to which the United States is a party,

                   (ii)    duly completed copies of Internal Revenue Service Form W-8ECI,

                   (iii)   in the case of a Foreign Lender claiming the benefits of the exemption for
          portfolio interest under Section 881(c) of the Code, (x) a certificate to the effect that such Foreign
          Lender is not (A) a “bank” within the meaning of Section 881(c)(3)(A) of the Code, (B) a “10
          percent shareholder” of the Borrowers within the meaning of Section 881(c)(3)(B) of the Code, or
          (C) a “controlled foreign corporation” described in Section 881(c)(3)(C) of the Code and (y) duly
          completed copies of Internal Revenue Service Form W-8BEN, or

                  (iv)    any other form prescribed by applicable law as a basis for claiming exemption
          from or a reduction in United States Federal withholding tax duly completed together with such
          supplementary documentation as may be prescribed by applicable law to permit the Borrowers to
          determine the withholding or deduction required to be made.

          (f)       If any Lender determines, in its sole discretion, that it has received a refund of any Taxes
 or Other Taxes as to which it has been indemnified by the Borrowers or with respect to which the
 Borrowers have paid additional amounts pursuant to this Section, it shall pay to the Borrowers an amount
 equal to such refund (but only to the extent of indemnity payments made, or additional amounts paid, by
 the Borrowers under this Section with respect to the Taxes or Other Taxes giving rise to such refund), net
 of all out-of-pocket expenses of such Lender and without interest (other than any interest paid by the
 relevant Governmental Authority with respect to such refund), provided that the Borrowers, upon the
 request of such Lender agree to repay the amount paid over to the Borrowers (plus any penalties, interest
 or other charges imposed by the relevant Governmental Authority) to such Lender in the event such
 Lender is required to repay such refund to such Governmental Authority. This Section 2.13(f) shall not
 be construed to require any Lender to make available its tax returns (or any other information relating to
 its taxes that it deems confidential) to the Borrowers or any other Person.

          2.14 Mitigation of Costs. If any Lender requests compensation under Sections 2.12(a) or
 2.12(b), or the Borrowers are required to pay any additional amount to any Lender or any Governmental
 Authority for the account of any Lender pursuant to Section 2.13, then such Lender shall use reasonable
 efforts to designate a different Lending Office for funding or booking its Loans hereunder or to assign its
 rights and obligations hereunder to another of its offices, branches or affiliates, if, in the judgment of such
 Lender, such designation or assignment (i) would eliminate or reduce amounts payable pursuant to
 Sections 2.12(a), 2.12(b) or 2.13, as the case may be, in the future, and (ii) in each case, would not
 subject such Lender to any unreimbursed cost or expense and would not otherwise be disadvantageous to
 such Lender. The Borrowers hereby agree to pay all reasonable costs and expenses incurred by any
 Lender in connection with any such designation or assignment.

 3203309v7 18865.00070                                 27
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
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                                                                        06/28/19 15:36:30
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                                       Exhibit    Page 428  of 680
                                    Exhibit 1-29 Page 270 of 500


                                                 ARTICLE III

                                        CONDITIONS PRECEDENT

          3.1     Conditions of Closing. The obligation of each Lender to make Loans on the Closing
 Date is subject to the satisfaction of the following conditions precedent:

         (a)     The Lenders shall have received the following, each dated as of the Closing Date (unless
 otherwise specified) and in such number of copies as the Lenders shall have requested:

                   (i)      executed counterparts of this Agreement

                  (ii)    to the extent requested by any Lender in accordance with Section 2.3(c), a Note
          or Notes for such Lender, in each case duly completed in accordance with the provisions of
          Section 2.3(c) and executed by the Borrowers;

                   (iii)    the Equity Investment Documents duly completed and executed by all parties;

                   (iv)     the Fee Letters, in each case, duly completed and executed by all parties thereto;

                  (v)     the Security Agreement, duly completed and executed by the Borrowers and each
          Subsidiary of the Parent;

                  (vi)     a collateral access agreement from each Person who possesses Collateral of any
          Credit Party, in form and substance reasonably satisfactory to the Required Lenders (other than
          with respect to the real property located at 839, 859-61 and 869-79 Ward Drive, Santa Barbara,
          CA 93111);

                  (vii)    Grants of Security Interests for the federally registered Intellectual Property
          referred to in Annexes D, E and F of the Security Agreement, in substantially the form of
          Exhibits A and B (as applicable) to the Security Agreement, in each case duly completed and
          executed by each applicable Credit Party (collectively, the “IP Security Agreements”);

                   (viii)   the Intercreditor Agreement, duly completed and executed by all parties thereto;

                   (ix)     the Management Fee Subordination Agreement, duly completed and executed by
          all parties thereto;

                  (x)      the consulting agreement, by and between Dr. Pengdi Han, CTG, and the Parent,
          dated as of the date hereof, duly completed and executed by all parties thereto, in form and
          substance satisfactory to the Required Lenders;

                  (xi)     the favorable opinions of Holland & Knight LLP, counsel to the Parent and its
          Subsidiaries, in form and substance reasonably satisfactory to the Required Lenders;

                 (xii)  properly completed SBA Form 652, SBA Form 480 and Parts A and B of SBA
          Form 1031 from each Borrower.

        (b)       The Lenders shall have received a certificate, signed by a Financial Officer of the
 Borrowers, dated the Closing Date and in form and substance reasonably satisfactory to the Required
 Lenders, certifying that (i) all representations and warranties of the Credit Parties contained in this

 3203309v7 18865.00070                                 28
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                                                       06/28/19 15:36:30
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                                      Exhibit    Page 429  of 680
                                   Exhibit 1-29 Page 271 of 500


 Agreement and the other Investment Documents are true and correct as of the Closing Date, both
 immediately before and after giving effect to the consummation of the Transactions, the making of the
 Loans and the application of the proceeds thereof (except to the extent any such representation or
 warranty is expressly stated to have been made as of a specific date, in which case such representation or
 warranty shall be true and correct as of such date), (ii) no Default or Event of Default has occurred and is
 continuing and no “Default” or “Event of Default” has occurred and is continuing under the Senior Loan
 Documents, in each case, both immediately before and after giving effect to the consummation of the
 Transactions, the making of the Loans and the application of the proceeds thereof, and (iii) all conditions
 to the closing set forth in this Section 3.1 have been satisfied or waived as required hereunder.

          (c)      The Lenders shall have received a certificate of the secretary or an assistant secretary of
 each Credit Party executing any Investment Documents as of the Closing Date, dated the Closing Date
 and in form and substance reasonably satisfactory to the Required Lenders, certifying (i) that attached
 thereto is a true and complete copy of the articles or certificate of incorporation, certificate of formation
 or other organizational document and all amendments thereto of such Credit Party, certified as of a recent
 date by the Secretary of State (or comparable Governmental Authority) of its jurisdiction of organization,
 and that the same has not been amended since the date of such certification, (ii) that attached thereto is a
 true and complete copy of the bylaws, operating or LLC agreement or similar governing document of
 such Credit Party, as then in effect and as in effect at all times from the date on which the resolutions
 referred to in clause (iii) below were adopted to and including the date of such certificate, (iii) that
 attached thereto is a true and complete copy of resolutions adopted by the board of directors (or similar
 governing body) of such Credit Party, authorizing the execution, delivery and performance of this
 Agreement and the other Investment Documents to which it is a party, and (iv) as to the incumbency and
 genuineness of the signature of each officer of such Credit Party executing this Agreement or any of such
 other Investment Documents, and attaching all such copies of the documents described above.

          (d)     The Lenders shall have received (i) a certificate as of a recent date (and, in any event, not
 more than 30 days prior to the Closing Date) of the good standing of each Credit Party executing any
 Investment Documents as of the Closing Date, under the laws of its jurisdiction of organization, from the
 Secretary of State (or comparable Governmental Authority) of such jurisdiction, and (ii) a certificate as of
 a recent date (and, in any event, not more than 30 days prior to the Closing Date) of the qualification of
 each Credit Party to conduct business as a foreign corporation in such jurisdictions as the Lenders may
 have reasonably requested, from the Secretary of State (or comparable Governmental Authority) of such
 jurisdiction;

          (e)      The Lenders shall have received final, executed copies of the HCM Acquisition
 Documents and all related agreements, documents and instruments as in effect on the Closing Date
 (including the HCM Acquisition Agreement), all of which shall be in form and substance reasonably
 satisfactory to the Required Lenders, and the Lenders shall be satisfied that, prior to or substantially
 concurrently with the making of the Loans hereunder, the HCM Acquisition shall have been
 consummated in accordance with the terms of the HCM Acquisition Documents and all other applicable
 documentation and in compliance with all applicable law and regulatory approvals, without any
 amendment or waiver of any condition or other provision thereof which is materially adverse to the
 Borrowers or the Lenders, except as approved by the Required Lenders;

          (f)      [reserved];

         (g)       The Equity Capitalization shall have been consummated and, upon consummation thereof
 and the other Transactions on the Closing Date and after giving effect thereto, the Parent shall have
 received (i) a rollover contribution of the Parent’s existing equity holders of total equity of BWP
 immediately prior to the consummation of the Transactions valued at approximately $26,000,000, (ii) a

 3203309v7 18865.00070                                29
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
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                                      Exhibit    Page 430  of 680
                                   Exhibit 1-29 Page 272 of 500


 rollover equity contribution by DHAN valued at not less than $9,200,000 (in lieu of cash proceeds to
 DHAN in connection with the sale of assets of HCM and contribution of the DHAN Assets), and (iii) a
 contribution of not less than $13,000,000 in cash by the Sponsor, its Controlled Investment Affiliates, and
 certain co-investors (including the Lenders or their Affiliates), resulting in a total equity capitalization of
 not less than approximately $48,200,000.

         (h)    The Lenders shall be reasonably satisfied with the terms and amounts of any
 intercompany Indebtedness among the Credit Parties;

          (i)      The Lenders have received a funds flow certificate, in form and substance reasonably
 satisfactory to the Lenders, executed by a Financial Officer of the Parent certifying as to the flow of funds
 between the parties to the Transactions in connection with the Transactions.

          (j)     The Lenders shall have received final, executed copies of the Senior Loan Documents as
 in effect on the Closing Date, all of which shall be satisfactory in form and substance to the Required
 Lenders, and the Lenders shall be satisfied that, prior to or substantially concurrently with the making of
 the Loans hereunder, the incurrence of Senior Debt pursuant to the terms of the Senior Loan Documents
 shall have been consummated in accordance with the terms of the Senior Loan Documents and in
 compliance with all applicable law and regulatory approvals, without any amendment or waiver of any
 material condition or other provision thereof except as approved by the Required Lenders, and the Senior
 Lenders shall have (i) advanced to the Borrowers up to $31,000,000 in Term Loans (as defined under the
 Senior Loan Agreement), (ii) made available to the Borrowers up to $10,000,000 in Revolving Loans (as
 defined in the Senior Loan Agreement) with not more than $3,000,000 in Revolver Loans (as defined in
 the Senior Loan Agreement) advanced on the Closing Date, and (iii) made available to the Borrowers up
 to $8,000,000 in CapEx Term Loans (as defined in the Senior Loan Agreement) which will be completely
 unfunded on the Closing Date, in each case pursuant to the Senior Loan Agreement.

          (k)      Concurrently with the making of the Loans hereunder, (i) all principal, interest and other
 amounts outstanding of the Indebtedness of the Parent or any of its Subsidiaries (other than
 (A) Indebtedness listed on Schedule 7.2 and (B) Indebtedness described on Schedule 3.1(k))
 (collectively, the “Terminating Indebtedness”), shall be repaid and satisfied in full and all guarantees by
 the Credit Parties relating thereto extinguished, (ii) all commitments to extend credit under the
 agreements and instruments relating to the Terminating Indebtedness shall be terminated, (iii) any Liens
 securing the Terminating Indebtedness shall be released and any related filings (including UCC filings,
 mortgages, and intellectual property filings) terminated of record (or arrangements satisfactory to the
 Lenders made therefor), and (iv) any letters of credit outstanding under any Terminating Indebtedness for
 which any Credit Party is obligated shall have been terminated, canceled or replaced; and the Lenders
 shall have received evidence of the foregoing satisfactory to them, including escrow agreements and/or
 payoff letters executed by the lenders or the agent (on behalf of and at the direction of) the lenders
 thereunder.

          (l)      The Lenders shall have received certified reports from an independent search service
 satisfactory to it listing any judgment or tax lien filing or Uniform Commercial Code financing statement
 that names the Parent, or any of the Parent’s Subsidiaries as debtor in any of the jurisdictions listed
 beneath its name on Annex B to the Security Agreement, and the results thereof shall be reasonably
 satisfactory to the Required Lenders.

         (m)       The Lenders shall have received evidence in form and substance reasonably satisfactory
 to them that all filings, recordings, registrations and other actions (including the filing of duly completed
 UCC-1 financing statements in each jurisdiction listed on Annex A to the Security Agreement) necessary


 3203309v7 18865.00070                                 30
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
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                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
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                                     Exhibit    Page 431  of 680
                                  Exhibit 1-29 Page 273 of 500


 to perfect the Liens created by the Security Documents shall have been completed, or arrangements
 satisfactory to the Lenders for the completion thereof shall have been made.

          (n)      All material approvals, permits and consents of any Governmental Authority or other
 Persons required in connection with the execution and delivery of this Agreement, the other Investment
 Documents and the consummation of the Transactions shall have been obtained, without the imposition of
 conditions that are not reasonably acceptable to the Lenders, and all related filings, if any, shall have been
 made, and all such approvals, permits, consents and filings shall be in full force and effect and the
 Lenders shall have received such copies thereof as they shall have reasonably requested; all applicable
 waiting periods shall have expired without any adverse action being taken or threatened by any
 Governmental Authority having jurisdiction; and no action, proceeding, investigation, regulation or
 legislation shall have been instituted, threatened or proposed before, and no order, injunction or decree
 shall have been entered by, any court or other Governmental Authority, in each case to enjoin, restrain or
 prohibit, to obtain substantial damages in respect of, or to impose materially adverse conditions upon, the
 HCM Acquisition and any other Transaction, this Agreement or any of the other Investment Documents,
 that would reasonably be expected to have a Material Adverse Effect.

          (o)     Each of the representations and warranties of the Credit Parties contained in this
 Agreement (including Article IV) and the other Investment Documents shall be true and correct on and as
 of the Closing Date, both immediately before and after giving effect to the consummation of the HCM
 Acquisition and the other Transactions, the making of the Loans and the application of the proceeds
 thereof (except to the extent any such representation or warranty is expressly stated to have been made as
 of a specific date, in which case such representation or warranty shall be true and correct as of such date).

         (p)      No Default or Event of Default shall have occurred and be continuing, and no “Default”
 shall have occurred and be continuing under the Senior Loan Documents, in each case both immediately
 before and after giving effect to the consummation of the HCM Acquisition and the other Transactions,
 the making of the initial Loans and the application of the proceeds thereof.

          (q)     The Lenders shall have received copies of the financial statements referred to in
 Section 4.11(a), together with copies of unaudited monthly consolidated financial statements of the
 Parent and its Subsidiaries through August 31, 2013 (the last day of the month most recently ended prior
 to the Closing Date for which financial statements of the Parent and its Subsidiaries are available), and all
 other financial information of the Credit Parties reasonably requested by the Lenders.

          (r)     The Lenders shall have received an executed Financial Condition Certificate, attaching an
 unaudited consolidated balance sheet of the Parent and its Subsidiaries as of August 31, 2013 (the last day
 of the month most recently ended prior to the Closing Date for which financial statements of the Parent
 and its Subsidiaries are available and for that portion of the current fiscal year then ended), showing
 adjustments on a Pro Forma Basis to give effect to the consummation of the Transactions, all as if such
 events had occurred on such date (the “Pro Forma Balance Sheet”), all of which shall be in form and
 substance satisfactory to the Required Lenders.

          (s)      The Lenders shall have received an executed certificate of the chief financial officer of
 the Parent as to the solvency of the Credit Parties (taken as a whole, after giving effect to the
 Transactions), addressed to the Collateral Agent and the Lenders, dated as of the Closing Date and in
 form and substance reasonably satisfactory to the Required Lenders;

        (t)       The Lenders shall be satisfied that, on a Pro Forma Basis after giving effect to the
 Transactions, all as if such events had occurred on the date of the Pro Forma Balance Sheet, (i) the
 Borrowers are in compliance with the financial covenants set forth in Article VI as of August 31, 2013

 3203309v7 18865.00070                                31
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
                                                                                                           Desc
                                      Exhibit    Page 432  of 680
                                   Exhibit 1-29 Page 274 of 500


 (assuming such covenants were applicable to the Borrowers at such date at the required levels of such
 covenants at their respective first measurement dates), (ii) Consolidated EBITDA for the twelve-month
 period ending on August 31, 2013 (“Closing EBITDA”) is not less than $11,600,000, (iii) Funded Debt is
 not greater than Closing EBITDA multiplied by 4.20, and (iv) Funded Debt represented by the Senior
 Debt is not greater than Closing EBITDA multiplied by 3.00; and the Lenders shall have received a
 certificate of a Financial Officer of the Borrower as to the foregoing, together with a completed Covenant
 Compliance Worksheet and other supporting documentation, all in form and substance satisfactory to the
 Required Lenders.

         (u)       The Lenders shall have received evidence in form and substance reasonably satisfactory
 to them that all of the requirements of Section 5.6 have been satisfied, including receipt of certificates of
 insurance evidencing the insurance coverages described on Schedule 4.18 and naming the Collateral
 Agent as loss payee or additional insured, as its interests may appear.

          (v)    The Lenders shall have received written instructions from an Authorized Officer of the
 Borrowers, including wire transfer information, directing the payment of the proceeds of the Loans to be
 made hereunder.

         The request by the Borrower and acceptance by the Borrower of the proceeds of the Loans on the
 Closing Date shall be deemed to constitute, as of the date thereof, a representation and warranty by the
 Borrower that the conditions in this Article III have been satisfied.

                                                ARTICLE IV

                               REPRESENTATIONS AND WARRANTIES

         To induce the Collateral Agent and the Lenders to enter into this Agreement and to induce the
 Lenders to extend the credit contemplated hereby, each of the Borrowers represents and warrants to the
 Collateral Agent and each Lender as follows:

          4.1      Corporate Organization and Power. Each Credit Party (i) is a corporation or a limited
 liability company duly organized or formed, validly existing and in good standing under the laws of the
 jurisdiction of its incorporation or formation, as the case may be (which jurisdictions are set forth on
 Schedule 4.1), (ii) has the full corporate or limited liability company power and authority to execute,
 deliver and perform the Transaction Documents to which it is or will be a party, to own and hold its
 property and to engage in its business as presently conducted, and (iii) is duly qualified to do business as
 a foreign corporation or limited liability company and is in good standing in each jurisdiction where the
 nature of its business or the ownership of its properties requires it to be so qualified, except where the
 failure to be so qualified, individually or in the aggregate, could not reasonably be expected to have a
 Material Adverse Effect.

          4.2     Authorization; Enforceability. Each Credit Party has taken, or on the Closing Date will
 have taken, all necessary corporate or limited liability company action, as applicable, to execute, deliver
 and perform each of the Transaction Documents to which it is or will be a party, and has, or on the
 Closing Date (or any later date of execution and delivery) will have, validly executed and delivered each
 of the Transaction Documents to which it is or will be a party. This Agreement constitutes, and each of
 the other Transaction Documents upon execution and delivery will constitute, the legal, valid and binding
 obligation of each Credit Party that is a party hereto or thereto, enforceable against it in accordance with
 its terms, except as enforceability may be limited by bankruptcy, insolvency, reorganization, moratorium
 or other similar laws affecting creditors’ rights generally, by general equitable principles or by principles
 of good faith and fair dealing (regardless of whether enforcement is sought in equity or at law).

 3203309v7 18865.00070                                 32
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
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                                       Exhibit    Page 433  of 680
                                    Exhibit 1-29 Page 275 of 500


         4.3       No Violation. The execution, delivery and performance by each Credit Party of each of
 the Transaction Documents to which it is or will be a party, and compliance by it with the terms hereof
 and thereof, do not and will not (i) violate any provision of its articles or certificate of incorporation or
 formation, its bylaws or operating or LLC agreement, or other applicable formation or organizational
 documents, (ii) contravene any other Requirement of Law applicable to it, (iii) conflict with, result in a
 breach of or constitute (with notice, lapse of time or both) a default under any indenture, mortgage, lease,
 agreement, contract or other instrument to which it is a party, by which it or any of its properties is bound
 or to which it is subject, or (iv) except for the Liens granted in favor of the Collateral Agent pursuant to
 the Security Documents and the Senior Agent pursuant to the Senior Loan Documents, result in or require
 the creation or imposition of any Lien upon any of its properties, revenues or assets; except, in the case of
 clauses (ii) and (iii) above, where such violations, conflicts, breaches or defaults, individually or in the
 aggregate, could not reasonably be expected to have a Material Adverse Effect.

          4.4       Governmental and Third-Party Authorization; Permits. No consent, approval,
 authorization or other action by, notice to, or registration or filing with, any Governmental Authority or
 other Person is or will be required as a condition to or otherwise in connection with the due execution,
 delivery and performance by each Credit Party of this Agreement or any of the other Transaction
 Documents to which it is or will be a party or the legality, validity or enforceability hereof or thereof,
 other than (i) filings of Uniform Commercial Code financing statements and other instruments and actions
 necessary to perfect the Liens created by the Security Documents and the Senior Loan Documents,
 (ii) consents, authorizations and filings that have been (or on or prior to the Closing Date will have been)
 made or obtained and that are (or on the Closing Date will be) in full force and effect, which consents,
 authorizations and filings are listed on Schedule 4.4, and (iii) consents and filings the failure to obtain or
 make which, individually or in the aggregate, could not reasonably be expected to have a Material
 Adverse Effect. Each Credit Party has, and is in good standing with respect to, all governmental
 approvals, licenses, permits and authorizations necessary to conduct its business as presently conducted
 and to own or lease and operate its properties, except for those the failure to obtain which, individually or
 in the aggregate, could not reasonably be expected to have a Material Adverse Effect.

         4.5      Litigation. There are no actions, investigations, suits or proceedings pending or, to the
 knowledge of any Borrower, threatened, at law, in equity or in arbitration, before any court, other
 Governmental Authority, arbitrator or other Person, (i) against or affecting any of the Credit Parties or
 any of their respective properties that could reasonably be expected to have, either individually or in the
 aggregate, a Material Adverse Effect, or (ii) with respect to this Agreement, any of the other Transaction
 Documents or any of the transactions contemplated hereby or thereby.

          4.6      Taxes. Each Credit Party has timely filed all federal, state, local and foreign tax returns
 and reports required to be filed by it and has paid, prior to the date on which penalties would attach
 thereto or a Lien would attach to any of the properties of a Credit Party if unpaid, all taxes, assessments,
 fees and other charges levied upon it or upon its properties that are shown thereon as due and payable,
 other than those that are not yet delinquent or that are being contested in good faith and by proper
 proceedings and for which adequate reserves have been established in accordance with GAAP. Such
 returns accurately reflect in all material respects all liability for taxes of the Credit Parties for the periods
 covered thereby. There is no ongoing audit or examination or, to the knowledge of any Borrower, other
 investigation by any Governmental Authority of the tax liability of any of the Credit Parties, and there is
 no material unresolved claim by any Governmental Authority concerning the tax liability of any Credit
 Party for any period for which tax returns have been or were required to have been filed, other than
 unsecured claims for which adequate reserves have been established in accordance with GAAP. No
 Credit Party has waived or extended or has been requested to waive or extend the statute of limitations
 relating to the payment of any taxes.


 3203309v7 18865.00070                                   33
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
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                                      Exhibit    Page 434  of 680
                                   Exhibit 1-29 Page 276 of 500


          4.7      Subsidiaries; Capitalization. Schedule 4.7 sets forth, after giving effect to the
 Transactions, (i) all of the Subsidiaries of the Parent (including the Borrowers) and (ii) as to each Credit
 Party, (x) the number of shares, units or other interests of each class of Capital Stock outstanding, and the
 number and effect, if exercised, of all outstanding options, warrants, rights of conversion or purchase and
 similar rights, (y) the direct holders of all such Capital Stock and the number of shares, units, interests,
 options, warrants or other purchase rights held by each, and (z) a detailed description of all Disqualified
 Capital Stock and the material terms thereof (including any conversion, exchange, repurchase, redemption
 or other payment terms thereof). All outstanding shares of Capital Stock of the Parent and each of its
 Subsidiaries are, to the extent applicable, duly and validly issued, fully paid, nonassessable, and free and
 clear of all Liens other than, with respect to the Capital Stock of the Borrower and Subsidiaries of the
 Borrower, those in favor of the Collateral Agent pursuant to the Security Documents and those in favor of
 the Senior Agent pursuant to the Senior Loan Documents. Except for the shares of Capital Stock and the
 other equity arrangements expressly indicated on Schedule 4.7, there are no shares of Capital Stock,
 warrants, rights, options or other equity securities, or other Capital Stock of any Credit Party outstanding
 or reserved for any purpose.

          4.8      Full Disclosure. To the knowledge of the Borrowers, all factual information heretofore,
 contemporaneously or hereafter furnished in writing to the Collateral Agent or any Lender by or on behalf
 of any Credit Party for purposes of or in connection with this Agreement, the other Investment
 Documents and the Transactions is or will be (when taken as a whole) true and accurate in all material
 respects on the date as of which such information is dated or certified (or, if such information has been
 updated, amended or supplemented, on the date as of which any such update, amendment or supplement
 is dated or certified) and not made incomplete by omitting to state a material fact necessary to make the
 statements contained herein and therein, in light of the circumstances under which such information was
 provided, not materially misleading.

          4.9       Margin Regulations. No Credit Party is engaged principally, or as one of its important
 activities, in the business of extending credit for the purpose of purchasing or carrying Margin Stock. No
 proceeds of the Loans will be used, directly or indirectly, to purchase or carry any Margin Stock, to
 extend credit for such purpose or for any other purpose, in each case that would violate or be inconsistent
 with Regulations T, U or X or any provision of the Exchange Act.

         4.10 No Material Adverse Effect. There has been no Material Adverse Effect since December
 31, 2012, and there exists no event, condition or state of facts that could reasonably be expected to result
 in a Material Adverse Effect.

          4.11     Financial Matters.

          (a)      The Borrowers have heretofore furnished to the Lenders copies of (i) the audited
 consolidated balance sheets of the Parent and its Subsidiaries as of December 31, 2012 and March 31,
 2012, in each case with the related statements of income, cash flows and stockholders’ equity for the
 fiscal years then ended, together with the opinion of the applicable accounting firm thereon, and (ii) the
 unaudited consolidated balance sheet of the Parent and its Subsidiaries as of August 31, 2013, and the
 related statements of income, cash flows and stockholders’ equity for the eight-month period then ended.
 Such financial statements have been prepared in accordance with GAAP (subject, with respect to the
 unaudited financial statements, to the absence of notes required by GAAP and to normal year-end
 adjustments) and present fairly in all material respects the financial condition of the Parent and its
 Subsidiaries on a consolidated basis as of the respective dates thereof and the results of operations of the
 Parent and its Subsidiaries on a consolidated basis for the respective periods then ended. Except as fully
 reflected in the most recent financial statements referred to above and the notes thereto, there are no
 material liabilities or obligations with respect to the Parent and its Subsidiaries of any nature whatsoever

 3203309v7 18865.00070                                34
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
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                                      Exhibit    Page 435  of 680
                                   Exhibit 1-29 Page 277 of 500


 (whether absolute, contingent or otherwise and whether or not due) that are required in accordance with
 GAAP to be reflected in such financial statements and that are not so reflected.

          (b)     The Pro Forma Balance Sheet reflects adjustments made on a Pro Forma Basis to give
 effect to the consummation of the Transactions, all as if such events had occurred on the date as of which
 the Pro Forma Balance Sheet is prepared. The Pro Forma Balance Sheet has been prepared based on
 stated assumptions made in good faith and having a reasonable basis set forth therein, presents fairly in all
 material respects the consolidated financial condition of the Parent and its Subsidiaries on an unaudited
 Pro Forma Basis as of the date set forth therein after giving effect to the consummation of the transactions
 described above.

          (c)      [reserved.]

          (d)      After giving effect to the consummation of the Transactions, the Credit Parties, taken as a
 whole, (i) have capital sufficient to carry on their businesses as conducted and as proposed to be
 conducted, (ii) have assets with a fair saleable value, determined on a going concern basis, which are
 (y) not less than the amount required to pay the probable liability on their existing debts as they become
 absolute and matured and (z) greater than the total amount of their liabilities (including identified
 contingent liabilities, valued at the amount that can reasonably be expected to become absolute and
 matured in their ordinary course), and (iii) do not intend to, and do not believe that they will, incur debts
 or liabilities beyond their ability to pay such debts and liabilities as they mature in their ordinary course.

         (e)      Since December 31, 2012, there has not been an occurrence of a “material weakness” (as
 defined in statement on Auditing Standards No. 60) in, or fraud that involves management or other
 employees who have a significant role in, the Credit Parties’ internal controls over financial reporting, in
 each case as described in Section 404 of the Sarbanes-Oxley Act of 2002 and all rules and regulations
 promulgated thereunder and the accounting and auditing principles, rules, standards and practices
 promulgated or approved with respect thereto.

         (f)     Neither (i) the board of directors (or similar governing body) of any Credit Party, a
 committee thereof or an authorized officer of any Credit Party has concluded that any financial statement
 previously furnished to the Lenders should no longer be relied upon because of an error, nor (ii) has any
 Credit Party been advised by its auditors or reviewers that a previously issued audit or review report or
 interim review cannot be relied on.

          4.12 Ownership of Properties; Leases. Each Credit Party (i) owns no real property, (ii) holds
 interests as lessee under leases which are in full force and effect with respect to all leased real and
 personal property used in connection with its business, the absence of which could reasonably be
 expected to result in a Material Adverse Effect, and (iii) has good title to all of its other material
 properties and assets reflected in the most recent financial statements referred to in Section 4.11(a)
 (except as sold or otherwise disposed of since the date thereof in the ordinary course of business), in each
 case free and clear of all Liens other than Permitted Liens. Schedule 4.12 lists, after giving effect to the
 Transactions, all Realty of the Credit Parties, indicating in each case the identity of the owner, the address
 of the property, the nature of use of the premises, and whether such interest is a leasehold or fee
 ownership interest. A true and complete copy of each lease of real property by any Credit Party has been
 made available to the Lenders. Except as set forth on Schedule 4.12, (x) no Credit Party is in default or
 alleged to be in default with respect to any of its material obligations under any real property lease, the
 absence of which could reasonably be expected to result in a Material Adverse Effect and (y) to the
 Borrowers’ knowledge, no party other than any Credit Party is in default with respect to such party’s
 material obligations under any such lease.


 3203309v7 18865.00070                                35
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
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                                                                      06/28/19 15:36:30
                                                                               14:56:52                 Desc
                                                                                                        Desc
                                     Exhibit    Page 436  of 680
                                  Exhibit 1-29 Page 278 of 500


          4.13     ERISA.

          (a)     Except as set forth on Schedule 4.13(a), each Credit Party and its ERISA Affiliates is in
 compliance with the applicable provisions of ERISA, and each Plan is and has been administered in
 compliance with all applicable Requirements of Law, including the applicable provisions of ERISA and
 the Code, in each case except where the failure so to comply, individually or in the aggregate, could not
 reasonably be expected to have a Material Adverse Effect. No ERISA Event that could reasonably be
 expected to have a Material Adverse Effect (i) has occurred within the five-year period prior to the
 Closing Date, (ii) has occurred and is continuing, or (iii) to the knowledge of any Borrower, is reasonably
 expected to occur with respect to any Plan. Except as could not reasonably be expected to have a
 Material Adverse Effect, no Plan has any Unfunded Pension Liability as of the most recent annual
 valuation date applicable thereto, and no Credit Party or any of its ERISA Affiliates has engaged in a
 transaction that could be subject to Section 4069 or 4212(c) of ERISA.

         (b)      Except as set forth on Schedule 4.13(b), no Credit Party or any of its ERISA Affiliates
 has any outstanding liability on account of a complete or partial withdrawal from any Multiemployer
 Plan, and no Credit Party or any of its ERISA Affiliates would become subject to any liability under
 ERISA if any such Credit Party or ERISA Affiliate were to withdraw completely from all Multiemployer
 Plans as of the most recent valuation date. No Multiemployer Plan is in “reorganization” or is “insolvent”
 within the meaning of such terms under ERISA.

          4.14     Environmental Matters.

         (a)     Except as set forth on Schedule 4.14(a), (i) all real property ever owned, leased or
 occupied by the Borrowers or any Subsidiary, and all operations at such properties conducted by
 Borrowers, their Subsidiaries, are in compliance with all applicable Environmental Laws, except for such
 noncompliance as could not reasonably be expected to have a Material Adverse Effect and (ii) there is no
 contamination at, under or about such properties, which has or could reasonably be expected to have a
 Material Adverse Effect.

          (b)     Except as set forth on Schedule 4.14(b), no Credit Party has received any notice from
 any Governmental Authority of violation, alleged violation, non-compliance, liability or potential liability
 regarding environmental matters or compliance with Environmental Laws with regard to any of such
 properties or the business conducted by the Borrowers, nor does any Borrower have knowledge that any
 such notice will be received or is being threatened, except in each case for such notices the subject matter
 of which could not reasonably be expected to have a Material Adverse Effect.

          (c)     Except as set forth on Schedule 4.14(c), no judicial proceedings or governmental or
 administrative action is pending, or, to the knowledge of the Borrowers, threatened, under any
 Environmental Law to which any Credit Party is named as a party with respect to such properties or the
 business conducted by the Borrowers, nor are there any consent decrees or other decrees, consent orders,
 administrative orders or other orders, or other administrative or judicial requirements outstanding under
 any Environmental Law with respect to such properties or such business, except for such proceedings,
 actions, decrees, orders or requirements as could not reasonably be expected to have a Material Adverse
 Effect.

         4.15 Compliance with Laws. Except as set forth on Schedule 4.15, each Credit Party has
 timely filed all material reports, documents and other materials required to be filed by it under all
 applicable Requirements of Law with any Governmental Authority, has retained all material records and
 documents required to be retained by it under all applicable Requirements of Law, and is otherwise in


 3203309v7 18865.00070                               36
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
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                                    156-1 Filed
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                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
                                                                                                         Desc
                                     Exhibit    Page 437  of 680
                                  Exhibit 1-29 Page 279 of 500


 compliance with all applicable Requirements of Law in respect of the conduct of its business and the
 ownership and operation of its properties, except in each case to the extent that the failure to comply
 therewith, individually or in the aggregate, could not reasonably be expected to have a Material Adverse
 Effect.

          4.16 Intellectual Property. Except as set forth on Schedule 4.16, each Borrower and each
 Subsidiary owns, or is licensed to use, all Intellectual Property necessary for the conduct of its business,
 the absence of which could reasonably be expected to have a Material Adverse Effect. In the event of the
 enforcement by the Collateral Agent of its rights as a secured creditor under the Investment Documents,
 the Collateral Agent will not be required to own or otherwise possess the right to use any Intellectual
 Property, or any license to use the same, in order to sell any inventory of the Credit Parties. No written
 claim has been asserted and is pending by any Person against any Credit Party challenging or questioning
 the use of any Intellectual Property by any Credit Party or the validity or effectiveness of any Intellectual
 Property owned by such Credit Party, nor do the Borrowers or the Subsidiaries know of any valid basis
 for any such claim, in each case, which could reasonably be expected to have a Material Adverse Effect.
 The use of Intellectual Property by the Borrowers and their Subsidiaries does not infringe in any material
 respect on the rights of any Person, nor, to the knowledge of the Borrowers, does the use by other Persons
 of Intellectual Property infringe in any material respect on the rights of the Borrowers or any Subsidiary,
 in each case, which could reasonably be expected to have a Material Adverse Effect.

          4.17   Regulated Industries. No Credit Party is (i) registered as an “investment company” or a
 company “controlled” by an “investment company,” or an “investment advisor,” within the meaning of
 the Investment Company Act of 1940, as amended, or (ii) subject to regulation under the Public Utility
 Holding Company Act of 2005, as amended, the ICC Termination Act of 1995, as amended, or the
 Federal Power Act, as amended.

          4.18    Insurance. Schedule 4.18 sets forth, after giving effect to the Transactions, an accurate
 and complete list and a brief description (including the insurer, policy number, type of insurance,
 coverage limits, deductibles, expiration dates and any special cancellation conditions) of all policies of
 property and casualty, liability (including, but not limited to, product liability), business interruption,
 workers’ compensation, and other forms of insurance owned or held by the Credit Parties or pursuant to
 which any of their respective assets are insured. The assets, properties and business of the Credit Parties
 are insured against such hazards and liabilities, under such coverages and in such amounts, as are
 customarily maintained by prudent companies similarly situated and under policies issued by insurers of
 recognized responsibility.

          4.19 Material Contracts. Schedule 4.19 lists, after giving effect to the Transactions, each
 agreement to which any Credit Party is a party, by which any Credit Party or its properties is bound or to
 which any Credit Party is subject, in each instance the breach or termination of which could reasonably be
 expected to result in a Material Adverse Effect (collectively, “Material Contracts”), and also indicates the
 parties thereto. After giving effect to the Transactions, (i) each Material Contract is in full force and
 effect and is enforceable by each Credit Party that is a party thereto in accordance with its terms, except
 as enforceability may be limited by bankruptcy, insolvency, reorganization, moratorium or other similar
 laws affecting creditors’ rights generally, by general or equitable principles or by principles of good faith
 and fair dealing, and (ii) no Credit Party or, to the knowledge of any Borrower, any other party thereto is
 in breach of or default under any Material Contract in any material respect or has given notice of
 termination or cancellation of any Material Contract.




 3203309v7 18865.00070                                37
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
                                                                                                           Desc
                                      Exhibit    Page 438  of 680
                                   Exhibit 1-29 Page 280 of 500


          4.20     Security Documents.

           (a)      The provisions of each of the Security Documents (whether executed and delivered prior
 to or on the Closing Date or thereafter) are and will be effective to create in favor of the Collateral Agent,
 for its benefit and the benefit of the Lenders, a valid and enforceable security interest in and Lien upon all
 right, title and interest of each Credit Party that is a party thereto in and to the Collateral purported to be
 pledged by it thereunder and described therein, and upon (i) the initial extension of credit hereunder,
 (ii) the filing of appropriately completed Uniform Commercial Code financing statements and
 continuations thereof in the jurisdictions specified therein, (iii) the filing of appropriately completed
 short-form assignments in the U.S. Patent and Trademark Office and the U.S. Copyright Office, as
 applicable, and (iv) the possession by the Collateral Agent of any certificates evidencing the securities
 pledged thereby, duly endorsed or accompanied by duly executed stock or equivalent powers, such
 security interest and Lien shall constitute a fully perfected and priority (second in priority only to the Lien
 of the Senior Agent securing the Senior Debt) security interest in and Lien upon such right, title and
 interest of the applicable Credit Party in and to such Collateral, to the extent that such security interest
 and Lien can be perfected by such filings, actions and possession, subject only to Permitted Liens.

          (b)      The provisions of each Mortgage (whether executed and delivered prior to or on the
 Closing Date or thereafter) are and will be effective to create in favor of the Collateral Agent, for its
 benefit and the benefit of the Lenders, a valid and enforceable security interest in and Lien upon all right,
 title and interest of each Credit Party that is a party thereto in and to the mortgaged premises described
 therein, and upon (i) the initial extension of credit hereunder and (ii) the filing of such Mortgage in the
 applicable real property recording office, such security interest and Lien shall constitute a fully perfected
 and priority (second in priority only to the Lien of the Senior Agent securing the Senior Debt) security
 interest in and Lien upon such right, title and interest of such Credit Party in and to such mortgaged
 premises, in each case prior and superior to the rights of any other Person and subject only to Permitted
 Liens.

          4.21 Labor Relations. No Credit Party is engaged in any unfair labor practice within the
 meaning of the National Labor Relations Act of 1947, as amended. There is (i) no unfair labor practice
 complaint before the National Labor Relations Board, or grievance or arbitration proceeding arising out
 of or under any collective bargaining agreement, pending or, to the knowledge of any Borrower,
 threatened, against any Credit Party, (ii) no strike, lock-out, slowdown, stoppage, walkout or other labor
 dispute pending or, to the knowledge of any Borrower, threatened, against any Credit Party, and (iii) to
 the knowledge of any Borrower, no petition for certification or union election or union organizing
 activities taking place with respect to any Credit Party. There are no collective bargaining agreements or
 Multiemployer Plans covering the employees of the Credit Parties.

          4.22     Certain Transaction Documents.

          (a)      The Borrowers have heretofore furnished to the Lenders true and complete copies of the
 HCM Acquisition Documents, and the Senior Loan Documents, in each case together with all schedules
 and exhibits referred to therein or delivered pursuant thereto and all amendments, modifications and
 waivers relating thereto. Immediately prior to giving effect to the consummation of the Transactions,
 (i) none of such Transaction Documents has been amended, modified or supplemented, nor any condition
 or provision thereof waived, in any respect which is materially adverse to the Borrowers or the Lenders
 other than as approved by the Required Lenders, and each such Transaction Document is in full force and
 effect and no Credit Party (nor, to the knowledge of any Borrower, any other party thereto) is in default
 thereunder or in breach thereof, (ii) all material conditions to the obligations of the Credit Parties under
 each of such Transaction Documents to consummate the transactions contemplated thereby have been
 satisfied or, with the consent of the Required Lenders, waived, and (iii) the Transactions will be

 3203309v7 18865.00070                                 38
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
                                                                                                          Desc
                                     Exhibit    Page 439  of 680
                                  Exhibit 1-29 Page 281 of 500


 consummated in accordance with the terms of such Transaction Documents and in compliance with all
 applicable Requirements of Law.

         (b)      The subordination provisions contained in the Management Fee Subordination
 Agreement are enforceable against BWP and BWCP and all of the Obligations constitute senior
 obligations thereunder, except as enforceability may be limited by bankruptcy, insolvency,
 reorganization, moratorium or other similar laws affecting creditors’ rights generally, by general equitable
 principles or by principles of good faith and fair dealing (regardless of whether enforcement is sought in
 equity or at law).

        4.23 No Burdensome Restrictions. No Credit Party is a party to any written agreement or
 instrument or subject to any other obligations or any charter or corporate restriction or any provision of
 any applicable Requirement of Law that, individually or in the aggregate, could reasonably be expected to
 have a Material Adverse Effect.

          4.24     OFAC; Anti-Terrorism Laws.

          (a)    No Credit Party or any Affiliate of any Credit Party (i) is a Sanctioned Person, (ii) has
 more than 10% of its assets in Sanctioned Countries, or (iii) derives more than 10% of its operating
 income from investments in, or transactions with, Sanctioned Persons or Sanctioned Countries. No part
 of the proceeds of any Loan hereunder will be used directly or indirectly to fund any operations in,
 finance any investments or activities in or make any payments to, a Sanctioned Person or a Sanctioned
 Country.

          (b)     Neither the making of the Loans hereunder nor the use of the proceeds thereof will
 violate the PATRIOT Act, the Trading with the Enemy Act, as amended, the Foreign Corrupt Practices
 Act or any of the foreign assets control regulations of the United States Treasury Department (31 CFR,
 Subtitle B, Chapter V, as amended) or any enabling legislation or executive order relating thereto. The
 Credit Parties are in compliance in all material respects with the PATRIOT Act.

          4.25 SBA Matters. The Borrowers acknowledge that Avante and Fidus are, and certain other
 Lenders may from time to time be or become, a Small Business Investment Company (as defined in the
 SBIA), subject to the rules and regulations contained in and promulgated under the SBIA. Each of the
 Borrowers, together with its “affiliates” (for purposes of this paragraph only, as that term is defined in
 Title 13, Code of Federal Regulations, §121.401), is a Small Business Concern (as defined in the SBIA’s
 implementing regulations at 13 CFR §121.301(c)). Neither the Parent nor any of its Subsidiaries
 presently engages in, and shall not hereafter engage in, any activities for which a Small Business Concern
 is prohibited from engaging in under the SBIA, nor shall any such Person use directly or indirectly the
 proceeds of the Loans for any purpose for which a Small Business Investment Company is prohibited
 from providing funds by SBIA’s implementing regulations at 13 CFR §121.301(c). The representations
 made by the Borrowers in the SBA forms delivered on the Closing Date pursuant to Section 3.1(a)(xii)
 shall be deemed to be representations made by the Borrowers under this Section 4.25.

                                                 ARTICLE V

                                      AFFIRMATIVE COVENANTS

        Each of the Borrowers covenants and agrees that, until the termination of the Commitments and
 the payment in full in cash of all principal and interest with respect to the Loans, together with all fees,
 expenses and other non-contingent monetary amounts then due and owing hereunder:


 3203309v7 18865.00070                                39
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                    Desc
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                                      Exhibit    Page 440  of 680
                                   Exhibit 1-29 Page 282 of 500


          5.1      Financial Statements. The Borrowers will deliver to each Lender:

          (a)     As soon as available and in any event within, (i) for the first twelve (12) months after the
 date hereof, 45 days after the end of each fiscal month (beginning with October 2013) and (ii) thereafter
 within 30 days after the end of each fiscal month, unaudited consolidated and consolidating balance
 sheets of the Parent and its Subsidiaries as of the end of such fiscal month and unaudited consolidated and
 consolidating statements of income, cash flows and members’ equity for the Parent and its Subsidiaries
 for the fiscal month then ended and for that portion of the fiscal year then ended, in each case setting forth
 comparative consolidated figures as of the end of and for the corresponding period in the preceding fiscal
 year together with comparative budgeted figures for the fiscal period then ended, all in reasonable detail
 and prepared in accordance with GAAP (subject to the absence of notes required by GAAP and subject to
 normal year-end adjustments) applied on a basis consistent with that of the preceding month or containing
 disclosure of the effect on the financial condition or results of operations of any change in the application
 of accounting principles and practices during such month;

          (b)      As soon as available and in any event within (i) for the first four (4) fiscal quarters after
 the date hereof, 60 days after the end of each fiscal quarter (beginning with the fiscal quarter ending
 December 31, 2013) and (ii) thereafter, 45 days after the end of each fiscal quarter, unaudited
 consolidated and consolidating balance sheets of the Parent and its Subsidiaries as of the end of such
 fiscal quarter and unaudited consolidated and consolidating statements of income, cash flows and
 stockholders’ equity for the Parent and its Subsidiaries for the fiscal quarter then ended and for that
 portion of the fiscal year then ended, in each case setting forth comparative consolidated figures as of the
 end of and for the corresponding period in the preceding fiscal year together with comparative budgeted
 figures for the fiscal period then ended, all in reasonable detail and prepared in accordance with GAAP
 (subject to the absence of notes required by GAAP and subject to normal year-end adjustments) applied
 on a basis consistent with that of the preceding quarter or containing disclosure of the effect on the
 financial condition or results of operations of any change in the application of accounting principles and
 practices during such quarter;

          (c)     As soon as available and in any event within (i) 150 days after the fiscal year ending
 December 31, 2013, and (ii) 120 days after the end of each fiscal year-end thereafter, an audited
 consolidated and unaudited consolidating balance sheet of the Parent and its Subsidiaries as of the end of
 such fiscal year and the related audited consolidated and unaudited consolidating statements of income,
 cash flows and stockholders’ equity for the Parent and its Subsidiaries for the fiscal year then ended,
 including the notes thereto, in each case setting forth comparative consolidated figures as of the end of
 and for the preceding fiscal year together with comparative budgeted figures for the fiscal year then
 ended, all in reasonable detail and (with respect to the audited statements) certified by the independent
 certified public accounting firm regularly retained by the Borrowers or another independent certified
 public accounting firm of recognized national standing reasonably acceptable to the Required Lenders,
 together with a report thereon by such accountants that is not qualified as to going concern or scope of
 audit and to the effect that such financial statements present fairly in all material respects the consolidated
 financial condition and results of operations of the Parent and its Subsidiaries as of the dates and for the
 periods indicated in accordance with GAAP applied on a basis consistent with that of the preceding year
 or containing disclosure of the effect on the financial condition or results of operations of any change in
 the application of accounting principles and practices during such year; and

         (d)     Concurrently with each delivery of the financial statements described in Sections 5.1(a)
 and 5.1(c), a management’s discussion and analysis report in form and substance substantially similar to
 the management’s discussion analysis report attached hereto as Exhibit F.



 3203309v7 18865.00070                                 40
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                                                       06/28/19 15:36:30
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                                                                                                           Desc
                                      Exhibit    Page 441  of 680
                                   Exhibit 1-29 Page 283 of 500


          5.2      Other Business and Financial Information. The Borrowers will deliver to each Lender:

         (a)     Concurrently with each delivery of the financial statements described in Sections 5.1(b)
 and 5.1(c), a Compliance Certificate with respect to the period covered by the financial statements being
 delivered thereunder, executed by a Financial Officer of the Parent, together with a Covenant Compliance
 Worksheet reflecting the computation of the financial covenants set forth in Article VI as of the last day
 of the period covered by such financial statements;

          (b)     As soon as available and in any event by (i) the 60th day after the commencement of the
 2014 fiscal year and (ii) the 30th day after the commencement of subsequent fiscal years, a consolidated
 and consolidating operating budget for the Parent and its Subsidiaries for such fiscal year (prepared on a
 monthly basis), consisting of consolidated and consolidating balance sheets and consolidated and
 consolidating statements of income and cash flows, together with a certificate of a Financial Officer of the
 Parent to the effect that such budget has been prepared in good faith and is a reasonable estimate of the
 financial position and results of operations of the Parent and its Subsidiaries for the period covered
 thereby;

         (c)      Promptly upon receipt thereof, copies of any “management letter” submitted to any
 Credit Party by its certified public accountants in connection with each annual, interim or special audit,
 and promptly upon completion thereof, any response reports from such Credit Party in respect thereof;

          (d)     Promptly upon the sending, filing or receipt thereof, copies of (i) all financial statements,
 reports, notices and proxy statements that any Credit Party shall send or make available generally to its
 equityholders, (ii) all regular, periodic and special reports, registration statements and prospectuses that
 any Credit Party shall render to or file with the Securities and Exchange Commission, the National
 Association of Securities Dealers, Inc. or any national securities exchange, and (iii) all press releases and
 other statements made available generally by any Credit Party to the public concerning material
 developments in the business of the Credit Parties, and (iv) all material notices received or delivered
 pursuant to the Senior Loan Documents;

          (e)    Promptly upon (and in any event within five Business Days after) any Responsible
 Officer of any Credit Party obtaining knowledge thereof, written notice of any of the following:

                  (i)      the occurrence of any Default or Event of Default, together with a written
          statement of a Responsible Officer of the Parent specifying the nature of such Default or Event of
          Default, the period of existence thereof and the action that the Borrowers have taken and proposes
          to take with respect thereto;

                  (ii)    the institution or threatened institution of any action, suit, investigation or
          proceeding against or affecting any Credit Party, including any such investigation or proceeding
          by any Governmental Authority (other than routine periodic inquiries, investigations or reviews),
          that could reasonably be expected, individually or in the aggregate, to have a Material Adverse
          Effect;

                  (iii)    the receipt by any Credit Party from any Governmental Authority of (A) any
          notice asserting any failure by any Credit Party to be in compliance with applicable Requirements
          of Law or that threatens the taking of any action against any Credit Party or sets forth
          circumstances that could reasonably be expected to have a Material Adverse Effect, or (B) any
          notice of any actual or threatened suspension, limitation or revocation of, failure to renew, or
          imposition of any restraining order, escrow or impoundment of funds in connection with, any


 3203309v7 18865.00070                                 41
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
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                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
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                                     Exhibit    Page 442  of 680
                                  Exhibit 1-29 Page 284 of 500


          license, permit, accreditation or authorization of any Credit Party, where such action could
          reasonably be expected to have a Material Adverse Effect;

                   (iv)    the occurrence of any ERISA Event, together with (x) a written statement of a
          Responsible Officer of the Borrowers specifying the details of such ERISA Event and the action
          that the applicable Credit Party has taken and proposes to take with respect thereto, (y) a copy of
          any notice with respect to such ERISA Event that may be required to be filed with the PBGC and
          (z) a copy of any notice delivered by the PBGC to any Credit Party or an ERISA Affiliate with
          respect to such ERISA Event;

                  (v)     the occurrence of (i) any material default under, or any proposed or threatened
          termination or cancellation of, any Material Contract or other material contract or agreement to
          which any Credit Party is a party, the default under or termination or cancellation of which could
          reasonably be expected to have a Material Adverse Effect or (ii) any “Event of Default” under
          any Senior Loan Document;

                   (vi)    the occurrence of any of the following: (x) the assertion of any environmental
          claim against or affecting any Credit Party or any real property leased, operated or owned by any
          Credit Party, or any Credit Party’s discovery of a basis for any such environmental claim; (y) the
          receipt by any Credit Party of notice of any alleged violation of or noncompliance with any
          Environmental Laws or release of any Hazardous Substance; or (z) the taking of any
          investigation, remediation or other responsive action by any Credit Party or any other Person in
          response to the actual or alleged violation of any Environmental Law by any Credit Party or
          generation, storage, transport, release, disposal or discharge of any Hazardous Substances on, to,
          upon or from any real property leased, operated or owned by any Credit Party; but in each case
          under clauses (x), (y) and (z) above, only to the extent the same could reasonably be expected to
          have a Material Adverse Effect;

                  (vii)    (x) any dispute with, or claim against, any person or entity for which any Credit
          Party has a claim under the HCM Acquisition Agreement which has a reasonably estimated value
          in excess of $500,000; and (y) copies of all material notices and demands sent or received by any
          Credit Party pursuant to the HCM Acquisition Agreement; and

                    (viii) the occurrence of (i) any unfair labor practice complaint before the National
          Labor Relations Board which could reasonably be expected to have a Material Adverse Effect, or
          grievance or arbitration proceeding arising out of or under any collective bargaining agreement,
          pending or, to the knowledge of any Borrower, threatened, against any Credit Party, or (ii) any
          strike, lock-out, slowdown, stoppage, walkout or other labor dispute pending or, to the knowledge
          of any Borrower, threatened, against any Credit Party.

         (f)      As promptly as reasonably possible, such other information about the business, condition
 (financial or otherwise), operations or properties of any Credit Party as any Lender may from time to time
 reasonably request.

          5.3      Existence; Franchises; Maintenance of Properties. Each Borrower will, and will cause
 each of its Subsidiaries to, (i) maintain and preserve in full force and effect its legal existence, except as
 expressly permitted otherwise by Section 7.1, (ii) obtain, maintain and preserve in full force and effect all
 other rights, franchises, licenses, permits, certifications, approvals and authorizations required by
 Governmental Authorities and necessary to the ownership, occupation or use of its properties or the
 conduct of its business, except to the extent the failure to do so could not reasonably be expected to have
 a Material Adverse Effect, and (iii) keep all material properties in good working order and condition

 3203309v7 18865.00070                                42
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
                                                                                                           Desc
                                      Exhibit    Page 443  of 680
                                   Exhibit 1-29 Page 285 of 500


 (normal wear and tear and damage by casualty excepted) and from time to time make all necessary repairs
 to and renewals and replacements of such properties, except to the extent that any of such properties are
 obsolete or are being replaced or, in the good faith judgment of the Borrowers, are no longer useful or
 desirable in the conduct of the business of the Credit Parties.

         5.4      Compliance with Laws. Each Borrower will, and will cause each of its Subsidiaries to,
 comply in all respects with all Requirements of Law applicable in respect of the conduct of its business
 and the ownership and operation of its properties, except to the extent the failure so to comply could not
 reasonably be expected to have a Material Adverse Effect.

          5.5      Payment of Obligations. Each Borrower will, and will cause each of its Subsidiaries to,
 (i) pay, discharge or otherwise satisfy at or before maturity all liabilities and obligations as and when due
 (subject to any applicable subordination, grace and notice provisions), except to the extent failure to do so
 could not reasonably be expected to have a Material Adverse Effect, and (ii) pay and discharge all taxes,
 assessments and governmental charges or levies imposed upon it, upon its income or profits or upon any
 of its properties, prior to the date on which penalties would attach thereto, and all lawful claims that, if
 unpaid, would become a Lien (other than a Permitted Lien) upon any of the properties of any Credit
 Party; provided, however, that no Credit Party shall be required to pay any such tax, assessment, charge,
 levy or claim that is being contested in good faith and by proper proceedings and as to which such Credit
 Party is maintaining adequate reserves with respect thereto in accordance with GAAP.

          5.6     Insurance. Each Borrower will, and will cause each of its Subsidiaries to, (i) maintain
 with financially sound and reputable insurance companies insurance in the same or greater amount and
 the same or greater levels of coverage as in existence on the date hereof (other than (a) the existing
 environmental pollution insurance policy and (b) the representations and warranties insurance policy
 obtained by the Parent in connection with the Acquisition Agreement), and (ii) deliver certificates of such
 insurance to the Collateral Agent with standard loss payable endorsements naming the Collateral Agent as
 loss payee (on property and casualty policies) and additional insured (on liability policies) as its interests
 may appear. Each such policy of insurance shall contain a clause requiring the insurer to give not less
 than thirty (30) days’ prior written notice to the Collateral Agent before any cancellation of the policies
 for any reason whatsoever and shall provide that any loss shall be payable in accordance with the terms
 thereof notwithstanding any act of any Credit Party that might result in the forfeiture of such insurance.

           5.7     Maintenance of Books and Records; Inspection. Each Borrower will, and will cause each
 of its Subsidiaries to, (i) maintain adequate books, accounts and records, in which full, true and correct
 entries shall be made of all financial transactions in relation to its business and properties, and prepare all
 financial statements required under this Agreement, in each case in accordance with GAAP and in
 compliance with the requirements of any Governmental Authority having jurisdiction over it, and
 (ii) permit employees or agents of any Lender to visit and inspect its properties and examine or audit its
 books, records, working papers and accounts and make copies and memoranda of them, and to discuss its
 affairs, finances and accounts with its officers and employees and, upon notice to the Borrowers, the
 independent public accountants of the Parent and its Subsidiaries (and by this provision each of the
 Borrowers authorizes such accountants to discuss the finances and affairs of the Parent and its
 Subsidiaries (all such rights in this clause (ii), collectively, “Inspections”)), all at such times and from
 time to time, upon reasonable notice (which in no event shall be less than five Business Days) and during
 business hours, as may be reasonably requested, provided, however, so long as no Event of Default shall
 have occurred and be continuing, no more than one Inspection can occur in any 12 month period.

         5.8    Creation or Acquisition of Subsidiaries. The Borrowers and their Wholly Owned
 Subsidiaries may from time to time create or acquire new Wholly Owned Subsidiaries in connection with
 Permitted Acquisitions or otherwise, provided that:

 3203309v7 18865.00070                                 43
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
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                                      Exhibit    Page 444  of 680
                                   Exhibit 1-29 Page 286 of 500


          (a)      Concurrently with (and in any event within ten (10) Business Days after) the creation or
 direct or indirect acquisition by any Borrower thereof, (i) each such new Subsidiary will execute and
 deliver to the Collateral Agent and the Lenders (A) a joinder or amendment to this Agreement, pursuant
 to which such new Subsidiary shall become a Borrower hereunder and shall become bound by each and
 all of the provisions of this Agreement, in form and substance reasonably satisfactory to the Required
 Lenders, (B) a joinder to the Security Agreement, pursuant to which such new Subsidiary shall become a
 party thereto and shall grant to the Collateral Agent a priority Lien, subject only to the Lien of the Senior
 Agent securing the Senior Debt and Permitted Liens, upon and security interest in its accounts receivable,
 inventory, equipment, general intangibles and all other personal property as Collateral for its obligations
 under the Investment Documents, and (C) unless the Required Lenders agree otherwise in writing, a
 Mortgage with respect to any owned interests of such new Subsidiary in real property and (ii) the
 Borrowers will, or will cause the parent Subsidiary that owns the Capital Stock of such new Subsidiary to,
 execute and deliver to the Collateral Agent an amendment or supplement to the Security Agreement
 pursuant to which all of the Capital Stock of such new Subsidiary shall be pledged to the Collateral
 Agent, together with the certificates, if any, evidencing such Capital Stock, along with undated stock or
 equivalent powers duly executed in blank;

          (b)     Concurrently with (and in any event within 10 Business Days after) the creation or
 acquisition of any new Subsidiary, the Borrowers will deliver to the Collateral Agent and the Lenders:

                   (i)     a written legal opinion of counsel to such Subsidiary addressed to the Collateral
          Agent and the Lenders, in form and substance reasonably satisfactory to the Required Lenders
          and their counsel, which shall cover such matters relating to such Subsidiary and the creation or
          acquisition thereof incident to the transactions contemplated by this Agreement and this
          Section 5.8 and the other Investment Documents as set forth in the legal opinion of counsel
          delivered to the Collateral Agent and the Lenders on the Closing Date;

                   (ii)     (A) a copy of the certificate of incorporation (or other charter documents) of such
          Subsidiary, certified as of a date that is acceptable to the Required Lenders by the applicable
          Governmental Authority of the jurisdiction of incorporation or organization of such Subsidiary,
          (B) a copy of the bylaws or operating or LLC agreement or similar organizational document of
          such Subsidiary, certified on behalf of such Subsidiary as of a date that is acceptable to the
          Required Lenders by the corporate secretary or assistant secretary of such Subsidiary, (C) an
          original certificate of good standing for such Subsidiary issued by the applicable Governmental
          Authority of the jurisdiction of incorporation or organization of such Subsidiary as of a date that
          is acceptable to the Required Lenders and (D) copies of the resolutions of the board of directors
          (or similar governing body) and, if required, stockholders or other equity owners of such
          Subsidiary authorizing the execution, delivery and performance of the agreements, documents
          and instruments executed pursuant to Sections 5.8(a), certified on behalf of such Subsidiary by an
          Authorized Officer of such Subsidiary, all in form and substance reasonably satisfactory to the
          Required Lenders;

                  (iii)   a report of Uniform Commercial Code financing statement, tax and judgment lien
          searches performed against such Subsidiary in each jurisdiction in which such Subsidiary is
          incorporated or organized, has a place of business or maintains any material assets, which report
          shall show no Liens on its assets (other than Permitted Liens);

                 (iv)    a certificate of the secretary or an assistant secretary of such Subsidiary as to the
          incumbency and signature of the officers executing agreements, documents and instruments
          executed pursuant to Sections 5.8(a);


 3203309v7 18865.00070                                 44
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
                                                                                                         Desc
                                     Exhibit    Page 445  of 680
                                  Exhibit 1-29 Page 287 of 500


                  (v)     a certificate as to the solvency of such Subsidiary taken together with the other
          Borrowers (after giving effect to the Permitted Acquisition), addressed to the Collateral Agent
          and the Lenders, dated as of the date of creation or acquisition of such Subsidiary and in form and
          substance reasonably satisfactory to the Required Lenders;

                   (vi)   evidence satisfactory to the Required Lenders that no Default or Event of Default
          shall exist immediately before or after the creation or acquisition of such Subsidiary or be caused
          thereby; and

                  (vii)    a certificate executed by an Authorized Officer of each of the Borrowers and
          such Subsidiary, which shall constitute a representation and warranty by the Borrowers and such
          Subsidiary as of the date of the creation or acquisition of such Subsidiary that all conditions
          contained in this Agreement and each other Investment Document to such creation or acquisition
          have been satisfied, in form and substance reasonably satisfactory to the Required Lenders;

         (c)      As promptly as reasonably possible, each Borrower and its Subsidiaries will deliver any
 such other documents, certificates and opinions as the Required Lenders may reasonably request in
 connection therewith, in form and substance reasonably satisfactory to the Required Lenders, and will
 take such other action as the Collateral Agent or the Lenders may reasonably request to create in favor of
 the Collateral Agent, for the benefit of the Lenders, a perfected security interest in the Collateral being
 pledged pursuant to the documents described above; and

          (d)    Any Subsidiary acquired or created by the Borrowers shall be a Domestic Subsidiary,
 unless otherwise consented to by the Required Lenders.

          5.9     Additional Security. Each Borrower will, and will cause each of its Subsidiaries to, grant
 to the Collateral Agent, for the benefit of the Lenders, from time to time security interests, mortgages and
 other Liens in and upon such of its assets and properties as are not covered by the Security Documents
 executed and delivered on the Closing Date or pursuant to Section 5.8 (including and within 10 Business
 Days after any acquisition of any fee interest in any real property by any Credit Party other than a Foreign
 Subsidiary, a Mortgage with respect thereto, unless the Required Lenders agree otherwise in writing) but
 in all events excluding any leasehold interests), and as may be reasonably requested from time to time by
 the Collateral Agent or the Required Lenders. Such security interests, mortgages and Liens shall be
 granted pursuant to documentation in form and substance reasonably satisfactory to the Collateral Agent
 and shall constitute valid and perfected security interests and Liens, subject to no Liens other than
 Permitted Liens. Without limitation of the foregoing, in connection with the grant of any Mortgage, each
 Borrower will, and will cause each applicable Subsidiary to, at the Borrowers’ expense, prepare, obtain
 and deliver to the Collateral Agent any environmental assessments, appraisals, surveys, title insurance and
 other matters or documents as the Collateral Agent may reasonably request or as may be required under
 applicable banking laws and regulations.

          5.10     Environmental Laws. The Borrowers shall, and shall cause each Subsidiary to:

         (a)     comply with, and take commercially reasonable steps to ensure compliance by all tenants
 and subtenants, if any, with, all applicable Environmental Laws and obtain and comply with any and all
 licenses, approvals, notifications, registrations or permits required by applicable Environmental Laws
 except for such noncompliance or failure to obtain as would not reasonably be expected to have a
 Material Adverse Effect;

        (b)     conduct and complete all investigations, studies, sampling and testing, and all remedial,
 removal and other reasonable actions required under applicable Environmental Laws due to a material

 3203309v7 18865.00070                                45
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
                                                                                                         Desc
                                     Exhibit    Page 446  of 680
                                  Exhibit 1-29 Page 288 of 500


 release of hazardous materials at the real property owned, leased or occupied by the Borrowers or any
 Subsidiary and timely comply with all orders and directives of all Governmental Authorities regarding
 such Environmental Laws, except to the extent that the same are being contested in good faith by
 appropriate proceedings; and

         (c)      defend, indemnify and hold harmless the Collateral Agent, each Lender, and their
 respective employees, agents, officers and directors, shareholders, successors, attorneys and assigns from
 and against any and all claims, demands, penalties, fines, liabilities, settlements, damages, costs and
 expenses of whatever kind or nature known or unknown, contingent or otherwise, arising out of, or in any
 way relating to (i) the presence of contamination on any of the properties of the Credit Parties, (ii) any
 violation of, noncompliance with or liability under any Environmental Laws applicable to the operations
 of the Borrowers or any Subsidiary, or any such properties, or (iii) any orders, requirements or demands
 of Governmental Authorities related thereto, including reasonable attorneys’ and consultants’ fees,
 investigation and laboratory fees, response costs, court costs and litigation expenses, except to the extent
 that any of the foregoing arise out of the gross negligence or willful misconduct of the party seeking
 indemnification therefor. This indemnity shall continue in full force and effect and survive the
 termination of this Agreement, and the payment of all Obligations.

          5.11     Board Observation Rights.

          (a)     For so long as the Loans remain outstanding, the Lenders shall have the right to appoint
 two representatives to exercise the rights as conferred pursuant to this Section 5.11 (each representative
 being referred to as the “Observation Party”) and shall notify the Parent of the identity of such
 representatives, which representatives shall be subject to the consent of the Borrowers in their sole
 discretion; provided, that the following representatives shall not require such consent: (i) Jerri Harman,
 Dan Moss and Paul Hayama, as representatives of Avante and (ii) Ed Ross, Andy Worth and Matt
 Shehorn, as representatives of Fidus; provided, further, each of Avante and Fidus, respectively, shall have
 the right to appoint one representative for so long as it holds any of the Notes.

          (b)     The boards of directors, boards of managers or similar governing bodies of the Parent
 shall hold general meetings at least four times in each calendar year for the purpose of discussing the
 business and operations of the Parent and its Subsidiaries. At least two such meetings each calendar year
 shall be held in person at the Parent’s principal place of business. The Parent shall notify each
 Observation Party of the date and time for each general or special meeting of its board of directors, board
 of managers or similar governing body (or any committee thereof) or of the adoption of any resolutions
 by any such body or committee by written consent (describing in reasonable detail the nature and
 substance of such action) at the time notice is provided to the outside directors or managers of the Parent,
 and concurrently deliver to each Observation Party any materials delivered to directors or managers of the
 Parent, including a draft of any resolutions proposed to be adopted by written consent. Each Observation
 Party shall be free during the period prior to the meeting to contact the directors of the Parent and discuss
 the pending actions to be taken.

         (c)      Each Observation Party shall be entitled to, or to select one representative to, attend and
 participate (but not vote) in all meetings of the board of directors, board of managers or other governing
 body (including any committee thereof) of the Parent, including telephonic meetings, and shall be entitled
 to reimbursement for reasonable out-of-pocket expenses incurred in connection with such attendance and
 participation. Each Observation Party (or its representative) shall be entitled to receive all written
 materials and other information given to the participants in such meetings.




 3203309v7 18865.00070                                46
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                     Desc
                                                                                                             Desc
                                      Exhibit    Page 447  of 680
                                   Exhibit 1-29 Page 289 of 500


         (d)      The Borrowers shall pay all reasonable out-of-pocket expenses (including reasonable out-
 of-pocket travel expenses) incurred by each Observation Party or Lender in connection with the exercise
 by such Observation Party or Lender of its rights under this Section 5.11.

           (e)     Notwithstanding anything to the contrary contained in this Section 5.11, no Observation
 Party (nor its representative) (i) shall be entitled to any information subject to the attorney/client privilege,
 (ii) shall be present during any portion of any meeting contemplated by this Section 5.11 (A) to the extent
 it involves information or analysis that would pose a conflict of interest relating to the Loans or
 information that is “highly confidential” about the operations of the business of the Credit Parties, or (B)
 if such Observation Party’s (or its representative’s) presence could reasonably be expected to result in a
 breach or default under any agreement to which any Borrower is party, (iii) shall be entitled to any rights
 under this Section 5.11 unless and until the Lender appointing such Observation Party (and its
 representatives in their official capacity) shall have entered into a confidentiality agreement in form and
 substance reasonably satisfactory to the Borrowers, and (iv) such Observation Party’s (and its
 representative’s) rights under this Section 5.11 and connection therewith shall be subject to applicable
 laws, including those described in Section 10.16.

         5.12 OFAC, PATRIOT Act Compliance. Each Borrower will, and will cause each of its
 Subsidiaries to, (i) refrain from doing business in a Sanctioned Country or with a Sanctioned Person in
 violation of the economic sanctions of the United States administered by OFAC, and (ii) provide, to the
 extent commercially reasonable, such information and take such actions as are reasonably requested by
 any Lender in order to assist the Lenders in maintaining compliance with the PATRIOT Act.

         5.13 Further Assurances. Each Borrower will, and will cause each of its Subsidiaries to,
 make, execute, endorse, acknowledge and deliver any amendments, modifications or supplements hereto
 and restatements hereof and any other agreements, instruments or documents, and take any and all such
 other actions, as may from time to time be reasonably requested by the Collateral Agent or the Required
 Lenders to perfect and maintain the validity and priority of the Liens granted pursuant to the Security
 Documents and to effect, confirm or further assure or protect and preserve the interests, rights and
 remedies of the Collateral Agent and the Lenders under this Agreement and the other Investment
 Documents.

          5.14     SBA Matters. Each Borrower will, and will cause each of its Subsidiaries to:

         (a)      Upon the request of any Lender that is a Small Business Investment Company (as defined
 in the SBIA), repay such Lender’s Loan in full (including the applicable prepayment fee), in immediately
 available funds, in the event that any Borrower or any other Credit Party changes the nature of its
 business within one year after the Closing Date (or, if applicable, any later borrowing date hereunder) in a
 manner that would cause such Lender to have provided funds to any Borrower or any other Credit Party
 pursuant to this Agreement or any other Investment Document in violation of 13 C.F.R. §§107.700 –
 107.760 (as amended from time to time).

          (b)      Upon the request of any Lender that is a Small Business Investment Company (as defined
 in the SBIA) or the SBA, (i) submit to such Lender and/or the SBA timely and accurate compliance
 reports at such times and in such form and containing such information as the SBA may determine to be
 necessary to enable the SBA to ascertain whether the Borrowers and each other Credit Party have
 complied or are complying with 13 C.F.R. Part 112 (“Part 112”), (ii) submit to such Lender such
 information as may be necessary to enable such Lender to meet its reporting requirements under Part 112,
 and (iii) permit the SBA to have access with advance written notice and during normal business hours to
 such of its books, records, accounts and other sources of information, and its facilities as may be pertinent
 to ascertain compliance with Part 112. Where any information required of the Borrowers or any other

 3203309v7 18865.00070                                  47
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                    Desc
                                                                                                            Desc
                                      Exhibit    Page 448  of 680
                                   Exhibit 1-29 Page 290 of 500


 Credit Party is in the exclusive possession of any other agency, institution or Person and such agency,
 institution or Person shall fail or refuse to furnish this information, the Borrowers and each other Credit
 Party shall so certify in its report and shall set forth what efforts it has made to obtain this information.

         (c)     Upon any Lender’s request, take any and all actions required to permit any Lender to
 comply with SBIA and applicable law, in the event such Lender is restricted or prohibited from holding
 Loans or Capital Stock in any Credit Party or any Affiliate thereof as a result of any noncompliance
 thereunder.

          5.15     Landlord Agreements.

          (a)     For each parcel of real property leased by a Credit Party on or after the Closing Date
 (including by virtue of any extension or other amendment or restatement of a lease existing on the
 Closing Date), each Borrower will, and will cause each of its Subsidiaries to, deliver to the Lenders a
 landlord agreement or waiver in form and substance reasonably acceptable to the Required Lenders not
 later than the execution and delivery of the lease or lease agreement with respect to such real property;
 provided, however, (x) no such landlord agreement or waiver shall be required with respect to (i) any one
 parcel of real property at which no material records are kept and at which Collateral with a value of less
 than $100,000, is held, and (ii) the real property located at 839, 859-61 and 869-79 Ward Drive, Santa
 Barbara, CA 93111; and (y) the landlord agreements for real property located at 479 Quadrangle Drive,
 Suites E and F, Bollingbrook, Illinois 60440 , and 475 Quadrangle Drive, Suites C and D, Bolingbrook,
 Illinois 60440 shall not be required until 1 business day following the Closing Date.

         (b)     For each parcel of real property leased by a Credit Party prior to the Closing Date, each
 Borrower will, and will cause each of its Subsidiaries to, deliver to the Lenders a landlord agreement or
 waiver in form and substance reasonably acceptable to the Required Lenders.

          5.16 Bank Accounts. Within one hundred twenty (120) days after the Closing Date, the
 Borrowers shall, and shall cause each Subsidiary to, (i) maintain its primary treasury management and its
 operating accounts with OneWest Bank, FSB and (ii) as to any account not maintained with OneWest
 Bank, FSB cause a Control Agreement with respect thereto to be executed and delivered to the Senior
 Agent and the Collateral Agent; provided that, for the avoidance of doubt, the Borrowers shall not be
 obligated to obtain Control Agreements with respect to, any account having a balance of less than
 $75,000 or $150,000 in the aggregate for all such accounts and shall not be obligated to obtain Control
 Agreements with respect to any payroll or similar benefits account. Notwithstanding the foregoing, with
 regard to the deposit accounts of the Borrowers held at Wells Fargo Bank, N.A. (in its capacity as
 depository “Wells Fargo”), in the event such accounts are not either closed or made subject to a Control
 Agreement within fifteen (15) days prior to the expiration of such one hundred twenty (120)-day period,
 the Borrowers shall give irrevocable written instructions to Wells Fargo (with a copy to the Collateral
 Agent) with regard to any deposit account not covered by a Control Agreement, pursuant to which
 instructions Wells Fargo shall wire transfer on each Business Day any funds in any such deposit accounts
 to a deposit account of the Borrowers (or one of them) maintained with OneWest Bank, FSB; provided
 that within one year after giving such instructions to Wells Fargo, the Borrowers shall have closed such
 deposit accounts with Wells Fargo.

         5.17 Equity Certificates. Within seven (7) Business Days following the Closing Date, the
 Borrowers shall deliver to the Senior Agent original certificates representing all outstanding stock or
 membership interests owned by the Parent in each other Borrower (other than CTG) and any other
 Subsidiary, in each case together with an undated transfer power for each of such certificates, duly
 executed in blank by an authorized officer of the pledgor thereof.


 3203309v7 18865.00070                                 48
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52                   Desc
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                                       Exhibit    Page 449  of 680
                                    Exhibit 1-29 Page 291 of 500


                                                  ARTICLE VI

                                        FINANCIAL COVENANTS

        Each Borrower covenants and agrees that, until the termination of the Commitments and the
 payment in full in cash of all principal and interest with respect to the Loans, together with all fees,
 expenses and other non-contingent monetary amounts then due and owing hereunder:

         6.1      Leverage Ratio. The Borrowers will not permit the Leverage Ratio as of the last day of
 any fiscal quarter to be greater than the ratio set forth below opposite such fiscal quarter (or opposite the
 period that includes such fiscal quarter):

                                                                                   Maximum
                                                                                 Leverage Ratio
                                          Period
                          Closing Date through December 31, 2014                        5.50:1.00
                          January 1, 2015 through March 31, 2015                        5.35:1.00
                            April 1, 2015 through June 30, 2015                         5.25:1.00
                          July 1, 2015 through September 30, 2015                       5.10:1.00
                         October 1, 2015 through December 31, 2015                      5.00:1.00
                          January 1, 2016 through March 31, 2016                        4.85:1.00
                            April 1, 2016 through June 30, 2016                         4.75:1.00
                          July 1, 2016 through September 30, 2016                       4.50:1.00
                         October 1, 2016 through December 31, 2016                      4.38:1.00
                          January 1, 2017 through March 31, 2017                        4.25:1.00
                            April 1, 2017 through June 30, 2017                         4.00:1.00
                                        Thereafter                                      3.75:1.00



         6.2      Fixed Charge Coverage Ratio. The Borrowers will not permit the Fixed Charge
 Coverage Ratio as of the last day of any fiscal quarter to be less than the ratio set forth below opposite
 such fiscal quarter (or opposite the period that includes such fiscal quarter):

                                                                           Minimum Fixed Charge
                                                                              Coverage Ratio
                                         Period
                         Closing Date through December 31, 2014                   1.20:1.00
                                       Thereafter                                 1.08:1.00



          6.3       Capital Expenditures. The Borrowers will not permit Capital Expenditures during any
 fiscal year set forth below to be greater than the sum of (i) the amount set forth below opposite such fiscal
 year plus (ii) fifty percent (50%) of the excess, if any, of the amount set forth below applicable to the


 3203309v7 18865.00070                                 49
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                    Desc
                                                                                                            Desc
                                      Exhibit    Page 450  of 680
                                   Exhibit 1-29 Page 292 of 500


 immediately preceding fiscal year (without giving effect to any carryover from any prior fiscal year) over
 the actual amount of Capital Expenditures for such immediately preceding fiscal year:

                                                        Maximum Amount of
                                    Fiscal Year         Capital Expenditures

                                       2013                    $4,550,000
                                       2014                    $5,200,000
                                  Each fiscal year             $2,500,000
                                    thereafter




                                                  ARTICLE VII

                                         NEGATIVE COVENANTS

        Each Borrower covenants and agrees that, until the termination of the Commitments and the
 payment in full in cash of all principal and interest with respect to the Loans, together with all fees,
 expenses and other non-contingent amounts then due and owing hereunder:

         7.1      Merger; Consolidation. Each Borrower will not, and will not permit or cause any of its
 Subsidiaries to, liquidate, wind up or dissolve, or enter into any consolidation, merger or other
 combination, or agree to do any of the foregoing; provided, however, that:

                   (i)     any Wholly Owned Subsidiary of a Borrower may merge or consolidate with, or
          be liquidated into, (x) such Borrower (so long as such Borrower is the surviving or continuing
          entity) or (y) any other Wholly Owned Subsidiary (other than a Foreign Subsidiary) (so long as, if
          either constituent entity is a Wholly Owned Subsidiary Guarantor, the surviving or continuing
          entity is a Wholly Owned Subsidiary Guarantor), and in each case so long as no Default or Event
          of Default has occurred and is continuing or would result therefrom;

                   (ii)     any Wholly Owned Subsidiary of a Borrower may merge or consolidate with
          another Person (other than another Credit Party), so long as (x) the surviving entity is a Wholly
          Owned Subsidiary Guarantor that is a Domestic Subsidiary, (y) such merger or consolidation
          constitutes a Permitted Acquisition and the applicable conditions and requirements of Section 5.8
          are satisfied, and (z) no Default or Event of Default has occurred and is continuing or would
          result therefrom;

                  (iii)    a Borrower may merge or consolidate with another Person (other than another
          Credit Party), so long as (x) such Borrower is the surviving entity, (y) such merger or
          consolidation constitutes a Permitted Acquisition, and (z) no Default or Event of Default has
          occurred and is continuing or would result therefrom; and

                   (iv)   to the extent not otherwise permitted under the foregoing clauses, any Wholly
          Owned Subsidiary that has sold, transferred or otherwise disposed of all or substantially all of its
          assets in connection with an Asset Disposition permitted under this Agreement and no longer
          conducts any active trade or business may be liquidated, wound up and dissolved, so long as no
          Default or Event of Default has occurred and is continuing or would result therefrom.


 3203309v7 18865.00070                                 50
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
                                                                                                          Desc
                                      Exhibit    Page 451  of 680
                                   Exhibit 1-29 Page 293 of 500


         7.2      Indebtedness. Each Borrower will not, and will not permit or cause any of its
 Subsidiaries to, create, incur, assume or suffer to exist any Indebtedness other than (without duplication):

                 (i)     Indebtedness of the Credit Parties in favor of the Collateral Agent and the
          Lenders incurred under this Agreement and the other Investment Documents;

                 (ii)    Senior Debt in an aggregate principal amount at any time outstanding not
          exceeding the maximum amount of “Senior Debt” permitted pursuant to the Intercreditor
          Agreement at such time;

                   (iii)   purchase money Indebtedness of the Borrowers and their Subsidiaries incurred
          solely to finance the acquisition, construction or improvement of any equipment, real property or
          other fixed assets in the ordinary course of business (or assumed or acquired by the Borrowers
          and their Subsidiaries in connection with a Permitted Acquisition or other transaction permitted
          under this Agreement), including Capital Lease Obligations, and any renewals, replacements,
          refinancings or extensions thereof, provided that all such Indebtedness (including any such
          Indebtedness described in Schedule 7.2) shall not exceed $300,000 in aggregate principal amount
          outstanding at any one time;

                  (iv)     unsecured loans and advances (A) by and among the Borrowers, (B) by any
          Borrower or any Wholly Owned Subsidiary Guarantor to any Wholly Owned Subsidiary
          Guarantor (other than a Foreign Subsidiary), or (C) by any Wholly Owned Subsidiary Guarantor
          to any Borrower provided in each case that any such loan or advance is subordinated in right and
          time of payment to the Obligations and is evidenced by a promissory note, in form and substance
          reasonably satisfactory to the Required Lenders and pledged to the Collateral Agent pursuant to
          the Security Documents;

                   (v)     Indebtedness of any Borrower under Hedge Agreements entered into in the
          ordinary course of business to manage existing or anticipated interest rate or commodity risks and
          not for speculative purposes;

                   (vi)     Indebtedness (other than Indebtedness described in Section 7.2(iv)) existing on
          the Closing Date and described in Schedule 7.2 and any renewals, replacements, refinancings or
          extensions of any such Indebtedness that do not increase the outstanding principal amount thereof
          or result in an earlier final maturity date or decreased weighted average life thereof;

                  (vii)   Indebtedness consisting of Guaranty Obligations of any Borrower or any of its
          Subsidiaries incurred in the ordinary course of business for the benefit of any other Borrower or
          any Wholly Owned Subsidiary Guarantor (other than a Foreign Subsidiary), provided that the
          primary obligation being guaranteed is expressly permitted by this Agreement;

                   (viii) Indebtedness that may be deemed to exist pursuant to any performance bond,
          surety, statutory appeal or similar obligation entered into or incurred by any Borrower or any of
          its Subsidiaries in the ordinary course of business;

                  (ix)     Indebtedness of any Borrower and its Subsidiaries arising from the honoring by a
          bank or other financial institution of a check, draft or similar instrument inadvertently (except in
          the case of daylight overdrafts) drawn against insufficient funds in the ordinary course of
          business, provided that such Indebtedness is extinguished within five Business Days of its
          incurrence; and


 3203309v7 18865.00070                                51
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
                                                                                                         Desc
                                     Exhibit    Page 452  of 680
                                  Exhibit 1-29 Page 294 of 500


                   (x)     unsecured Indebtedness of the Borrowers and its Subsidiaries (A) incurred in
          connection with Permitted Acquisitions (other than any Contingent Purchase Obligations), (B)
          any exercise of the Cure Right, or (C) arising due solely to the existence of the HCM Put or the
          HCM Call prior to any exercise thereof (and arising with respect to the HCM Put following
          exercise thereof), provided that in each case such Indebtedness (other than arising solely due to
          the existence of the HCM Put or the HCM Call) is subordinated in right of payment, performance
          and collection to the Obligations pursuant to a subordination agreement (including with respect to
          permitted payments and enforcement actions) acceptable to the Required Lenders;

                  (xi)    Contingent Purchase Price Obligations incurred in connection with Permitted
          Acquisitions; and

                 (xii)   other unsecured Indebtedness of the Borrowers and their Subsidiaries not
          exceeding $250,000 in the aggregate amount outstanding at any time.

         Notwithstanding any provision herein to the contrary, each Borrower will not, and will not permit
 or cause any of its Subsidiaries to, create, incur, assume or suffer to exist any Indebtedness that is (a)
 subordinate or junior in right of payment to the Senior Debt and (b) senior in any respect in right of
 payment to any of the Obligations.

          7.3      Liens. Each Borrower will not, and will not permit or cause any of its Subsidiaries to,
 directly or indirectly, (a) make, create, incur, assume or suffer to exist, any Lien upon or with respect to
 any part of its property or assets, whether now owned or hereafter acquired or (b) cause to be filed any
 financing statement or other similar notice of any Lien with respect to any such property, asset, income or
 profits under the Uniform Commercial Code of any state or under any similar recording or notice statute,
 or agree to do any of the foregoing, other than the following (collectively, “Permitted Liens”):

                  (i)     Liens in favor of the Collateral Agent and the Lenders created by or otherwise
          existing under or in connection with this Agreement and the other Investment Documents;

                  (ii)  Liens in favor of the Senior Agent and the Senior Lenders created under the
          Senior Loan Documents securing Senior Debt expressly permitted under Section 7.2(ii).

                   (iii)   Liens imposed by law, such as Liens of carriers, warehousemen, mechanics,
          materialmen and landlords, incurred in the ordinary course of business for sums not constituting
          borrowed money that are not overdue for a period of more than 30 days or that are being
          contested in good faith by appropriate proceedings and for which adequate reserves have been
          established in accordance with GAAP (if so required);

                   (iv)    Liens (other than any Lien imposed by ERISA, the creation or incurrence of
          which would result in an Event of Default under Section 8.1(k)) incurred in the ordinary course
          of business in connection with worker’s compensation, unemployment insurance or other forms
          of governmental insurance or benefits, or to secure the performance of letters of credit, bids,
          tenders, statutory obligations, surety and appeal bonds, leases, public or statutory obligations,
          government contracts and other similar obligations (other than obligations for borrowed money)
          entered into in the ordinary course of business;

                   (v)     Liens for taxes, assessments or other governmental charges or statutory
          obligations that are not delinquent or remain payable without any penalty or that are being
          contested in good faith by appropriate proceedings and for which adequate reserves have been
          established in accordance with GAAP (if so required);

 3203309v7 18865.00070                                52
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52                  Desc
                                                                                                           Desc
                                       Exhibit    Page 453  of 680
                                    Exhibit 1-29 Page 295 of 500


                  (vi)   any attachment or judgment Lien (other than for payment of taxes, assessments
          or governmental charges) not constituting an Event of Default under Section 8.1(h);

                   (vii)    Liens securing the purchase money Indebtedness permitted under
          Section 7.2(iii), provided that (x) any such Lien shall attach to the property being acquired,
          constructed or improved with such Indebtedness concurrently with or within 90 days after the
          acquisition (or completion of construction or improvement) or the refinancing thereof by a
          Borrower or a Subsidiary, (y) the amount of the Indebtedness secured by such Lien shall not
          exceed 100% of the cost to such Borrower or such Subsidiary of acquiring, constructing or
          improving the property and any other assets then being financed solely by the same financing
          source, and (z) any such Lien shall not encumber any other property of the Parent or any of its
          Subsidiaries except assets then being financed solely by the same financing source and proceeds
          thereof;

                   (viii) customary rights of set-off, revocation, refund or chargeback under deposit
          agreements or under the Uniform Commercial Code of banks or other financial institutions where
          the Parent or any of its Subsidiaries maintains deposits (other than deposits intended as cash
          collateral) in the ordinary course of business;

                 (ix)    Liens that arise in favor of banks under Article 4 of the Uniform Commercial
          Code on items in collection and the documents relating thereto and proceeds thereof;

                   (x)     Liens arising from the filing (for notice purposes only) of UCC-1 financing
          statements (or equivalent filings, registrations or agreements in foreign jurisdictions) in respect of
          true leases otherwise permitted hereunder;

                    (xi)    with respect to any Realty occupied by the Borrowers or any of their
          Subsidiaries, (a) all easements, rights of way, reservations, licenses, encroachments, variations
          and similar restrictions, charges and encumbrances on title that do not secure monetary
          obligations and do not materially impair the use of such property for its intended purposes or the
          value thereof and (b) any other Lien or exception to coverage described in mortgagee policies of
          title insurance issued in favor of and accepted by the Required Lenders;

                   (xii)    statutory and common law liens affecting Realty; and

                   (xiii)   other Liens in existence on the Closing Date and described on Schedule 7.3.

         7.4      Asset Dispositions. Each Borrower will not, and will not permit or cause any of its
 Subsidiaries to, directly or indirectly, make or agree to make any Asset Disposition unless such Asset
 Disposition meets each of the conditions below:

                   (i)      such Asset Disposition is for fair market value,

                   (ii)     the consideration for such Asset Disposition is all cash;

                 (iii)    no Event of Default has occurred and is continuing or would result from such
          Asset Disposition;

                  (iv)    the consideration for such Asset Disposition, when aggregated with the
          consideration for all previous Asset Dispositions during the same fiscal year, does not exceed
          $500,000.

 3203309v7 18865.00070                                  53
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52                  Desc
                                                                                                         Desc
                                     Exhibit    Page 454  of 680
                                  Exhibit 1-29 Page 296 of 500


          7.5      Investments. Each Borrower will not, and will not permit or cause any of its Subsidiaries
 to, directly or indirectly, purchase, own, invest in or otherwise acquire any Capital Stock, evidence of
 indebtedness or other obligation or security or any interest whatsoever in any other Person, or make or
 permit to exist any loans, advances or extensions of credit to, or any investment in cash or by delivery of
 property in, any other Person, or purchase or otherwise acquire (whether in one or a series of related
 transactions) any portion of the assets, business or properties of another Person (including pursuant to an
 Acquisition), or create or acquire any Subsidiary, or become a partner or joint venturer in any partnership
 or joint venture (collectively, “Investments”), or make a commitment or otherwise agree to do any of the
 foregoing, other than:

                   (i)    Investments consisting of Cash Equivalents;

                 (ii)    Investments consisting of the extension of trade credit, the creation of prepaid
          expenses and the purchase of inventory, supplies, equipment and other assets, in each case by the
          Borrowers and their Subsidiaries in the ordinary course of business (but subject to any limitations
          on Capital Expenditures in Section 6.3);

                  (iii)   Investments consisting of loans and advances to employees, officers or directors
          of the Borrowers and their Subsidiaries (other than any such Person who is a Sponsor Party) in
          the ordinary course of business not exceeding $500,000 at any time outstanding;

                  (iv)    Investments (including equity securities and debt obligations) of the Borrowers
          and their Subsidiaries received in connection with the bankruptcy or reorganization of suppliers
          and customers and in good faith settlement of delinquent obligations of, and other disputes with,
          customers and suppliers arising in the ordinary course of business;

                  (v)     without duplication, Investments consisting of intercompany Indebtedness
          permitted under Section 7.2(iv);

                   (vi)   Investments existing as of the Closing Date and described on Schedule 7.5;

                   (vii)   Investments of the Borrowers under Hedge Agreements entered into in the
          ordinary course of business to manage existing or anticipated interest rate or commodity risks and
          not for speculative purposes;

                 (viii) Investments of the Borrowers in their Subsidiaries, in each case to the extent
          made prior to the Closing Date;

                  (ix)     Investments consisting of the making of capital contributions or the purchase of
          Capital Stock by any (A) Borrower in any other Borrower, and (B) Borrower or any Wholly
          Owned Subsidiary Guarantor in any other Wholly Owned Subsidiary (other than a Foreign
          Subsidiary) that either is a Wholly Owned Subsidiary Guarantor immediately prior to, or will
          become a Wholly Owned Subsidiary Guarantor immediately after giving effect to, such
          Investment, and in compliance with the provisions of Section 5.8 and all other requirements of
          this Agreement (including those applicable to Permitted Acquisitions); provided, however, that in
          no event shall any Foreign Subsidiary create or acquire any Domestic Subsidiary;

                   (x)    the HCM Acquisition;

                 (xi)    Permitted Acquisitions, taken together as a whole on a combined basis, having an
          aggregate purchase price, including Contingent Purchase Price Obligations (other than earn out

 3203309v7 18865.00070                                54
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
                                                                                                           Desc
                                      Exhibit    Page 455  of 680
                                   Exhibit 1-29 Page 297 of 500


          obligations) and all transaction costs and expenses, but excluding all earn out obligations and the
          portion of any such purchase price funded with proceeds of the issuance by the Parent of its
          Capital Stock (other than Disqualified Capital Stock), in each case associated with such Permitted
          Acquisitions, not in excess of $13,000,000; and

                  (xii)   advances to employees in the form of prepayment if expenses incurred in the
          ordinary course of business.

          7.6      Restricted Payments.

          (a)     Each Borrower will not, and will not permit or cause any of its Subsidiaries to, directly or
 indirectly, declare or make any dividend payment, or make any other distribution of cash, property or
 assets, in respect of any of its Capital Stock or any warrants, rights or options to acquire its Capital Stock,
 or purchase, redeem, retire or otherwise acquire for value any shares of its Capital Stock or any warrants,
 rights or options to acquire its Capital Stock, or set aside funds for any of the foregoing, except that:

                  (i)    the Parent and any of its Wholly Owned Subsidiaries may declare and make
          dividend payments or other distributions payable solely in its Capital Stock (other than
          Disqualified Capital Stock);

                   (ii)    so long as no Event of Default shall have occurred and be continuing or would
          result therefrom, the Borrowers may declare and make dividend payments and other distributions
          to the Parent to enable the Parent to purchase, redeem, retire or otherwise acquire shares of its
          Capital Stock (or options or rights to acquire its Capital Stock) held by former officers, directors
          or employees (other than the Sponsor or any such Person who is a Sponsor Party) following
          termination of service or employment, in an aggregate cash amount not exceeding $250,000
          during any fiscal year or $500,000 for all such purchases, redemptions, retirements and
          acquisitions from and after the Closing Date, in each case net of any proceeds received by the
          Parent as a result of resales of any such Capital Stock;

                   (iii)   the Parent may make Permitted Tax Distributions;

                  (iv)     each Subsidiary of any Borrower may declare and make dividend payments or
          other distributions to such Borrower or to a Wholly Owned Subsidiary Guarantor (other than a
          Foreign Subsidiary) (but not to any other Person), in each case to the extent not prohibited under
          applicable Requirements of Law; and

                   (v)      Restricted Payments to DHAN and/or any Permitted Transferee in connection
          with the exercise of the HCM Put or any promissory note issued in connection therewith and
          subject to the terms and conditions of the Put Subordination Agreement (as defined below) and
          the LLC Agreement; provided that, (i) no Event of Default has occurred and is continuing or
          would be caused thereby, (ii) such exercise does not occur prior to the fifth anniversary of the
          Closing Date; and (iii) prior to such exercise, the Borrowers and DHAN shall have entered into a
          subordination agreement in form and substance acceptable to the Collateral Agent with respect to
          any payment or any Indebtedness arising from such exercise (the “Put Subordination
          Agreement”).

         (b)      Each Borrower will not, and will not permit or cause any of its Subsidiaries to, make (or
 give any notice in respect of) any payment or prepayment of principal on, or interest, fees or premium (if
 any) with respect to any Subordinated Indebtedness, or directly or indirectly make any redemption
 (including pursuant to any change of control or asset disposition provision), retirement, defeasance or

 3203309v7 18865.00070                                 55
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                 Desc
                                                                                                         Desc
                                      Exhibit    Page 456  of 680
                                   Exhibit 1-29 Page 298 of 500


 other acquisition for value of any Subordinated Indebtedness, or make any deposit or otherwise set aside
 funds for any of the foregoing purposes, except to the extent permitted under the applicable subordination
 agreement to which the Lenders are party in form and substance satisfactory to the Required Lenders in
 their sole discretion or under the Management Fee Subordination Agreement.

         (c)      Each Borrower will not and will not permit any of its Subsidiaries to make any payments
 in respect of any Contingent Purchase Price Obligations unless (i) the Borrowers will be in compliance on
 a Pro Forma Basis with Article VI determined as of the last day of the last full fiscal quarter ending
 immediately prior to such payments for which financial statements are required to have been delivered
 and assuming such payment was made on the first day of the relevant period and (ii) there is no Event of
 Default that has occurred and remains in existence or would result from the making of any such payments
 (including with respect to Sections 7.2(xi) and 7.5(xi)).

         7.7      Transactions with Affiliates. The Borrowers shall not, and shall not permit any
 Subsidiary to, enter into any transaction, including any purchase, sale, lease or exchange of property or
 the rendering of any service, with any Affiliate of any Credit Party or the Sponsor except:

                   (i)     arms-length transactions in the ordinary course of business;

                   (ii)    the HCM Put or HCM Call;

                   (iii)   payment of the Management Fees, subject to Section 7.8;

                   (iv)    the payment of Board Fees of up to $225,000 in any fiscal year;

                   (v)     transactions described on Schedule 7.7;

                   (vi)     other transactions by and among the Borrowers not prohibited by this Agreement
          (provided that such transactions shall remain subject to the any other applicable limitations and
          restrictions set forth in this Agreement);

                   (vii)   Equity Issuance with respect to the Parent’s Capital Stock to directors, officers
          and employees (other than the Sponsor or any such Person who is a Sponsor Party) of the Credit
          Parties pursuant to employee benefit plans, employment agreements or other employment
          arrangements approved by the Board of Directors of the Parent; and

                  (viii) the contribution of the DHAN Assets by the Parent to Channel, which shall occur
          within five (5) Business Days of the Closing Date.

          7.8     Management Fees. The Borrowers and their Subsidiaries shall not pay any management
 fees to any Affiliate thereof for services rendered; provided that the Parent may pay the Management Fees
 pursuant to and in accordance with the Management Agreement as in effect on the Closing Date, so long
 as no Event of Default has occurred and is continuing or would result therefrom; provided, that, in the
 event payment of all or part of the Management Fees is prohibited under this Section or is deferred (such
 fees, the “Deferred Management Fees”), payment of Management Fees, including payment of Deferred
 Management Fees (without interest), may resume upon (x) cure of such Event of Default, so long as no
 other Event of Default has occurred and is continuing or would result therefrom, and (y) with respect to
 the payment of any Deferred Management Fees, the Borrowers are in compliance on a Pro Forma Basis
 with Article VI determined as of the last day of the last full fiscal quarter ending immediately prior to
 such payments for which financial statements are required to have been delivered and assuming such
 payment was made on the first day of the relevant period.

 3203309v7 18865.00070                                56
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
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                                      Exhibit    Page 457  of 680
                                   Exhibit 1-29 Page 299 of 500


         7.9      Indemnity Agreements. Each Borrower will not, and will not permit or cause any of its
 Subsidiaries to, enter into any agreement to indemnify any third party for any losses of or damages to
 such third party resulting from the gross negligence or willful misconduct of such third party.

          7.10     Lines of Business; Activities of Parent.

          (a)     Each of Borrower will not, and will not permit or cause any of its Subsidiaries to, engage
 in any lines of business other than the businesses engaged in by it on the Closing Date and businesses and
 activities reasonably related thereto.

          (b)      Notwithstanding the provisions of Section 7.10(a) or any other provision of this
 Agreement, the Parent shall not (i) hold any assets other than (w) the Capital Stock of CTG, Channel and
 any Subsidiary created or acquired in connection with a Permitted Acquisition, (x) cash, (y) on or prior to
 the fifth (5th) Business Day after the Closing Date, the DHAN Assets and (z) its interest as the beneficiary
 under the Life Insurance Policy and its interest as the insured under the R&W Insurance Policy (each as
 defined in the Acquisition Agreement) and any similar insurance policies acquired or obtained in
 connection with a Permitted Acquisition, and the Parent shall not engage in any business or activity other
 than (a) the ownership of such Capital Stock; (b) maintaining its limited liability company existence; (c)
 participating in tax, accounting and other administrative activities as the parent of the consolidated group
 of companies, including the Borrowers; (d) the execution and delivery of the Investment Documents and
 the Senior Loan Documents to which it is or will become a party and the performance of its obligations
 thereunder; (e) the execution and delivery of the HCM Acquisition Documents or any other acquisition
 documents to which it is a party relating to Permitted Acquisitions, and the performance of its obligations
 thereunder; (f) the contribution by the Parent of the DHAN Assets to Channel, which shall occur within
 five (5) Business Days of the Closing Date; (g) the making of capital contributions to its Subsidiaries; (h)
 engaging in transactions permitted by Article VII; and (i) other business activities incidental to the
 foregoing and other business activities customary for a holding company.

          7.11 Sale-Leaseback Transactions. Each Borrower will not, and will not permit or cause any
 of its Subsidiaries to, directly or indirectly, become or remain liable as lessee or as guarantor or other
 surety with respect to any lease, whether an operating lease or a Capital Lease, of any property (whether
 real, personal or mixed, and whether now owned or hereafter acquired) (i) that any Credit Party has sold
 or transferred (or is to sell or transfer) to a Person that is not a Credit Party or (ii) that any Credit Party
 intends to use for substantially the same purpose as any other property that, in connection with such lease,
 has been sold or transferred (or is to be sold or transferred) by a Credit Party to another Person that is not
 a Credit Party, in each case except for transactions otherwise expressly permitted under this Agreement.

          7.12     Certain Amendments.

         (a)      Each Borrower will not, and will not permit or cause any of its Subsidiaries to, amend,
 modify or waive (i) any provision of any Senior Loan Document in any manner not permitted by the
 Intercreditor Agreement, (ii) any provision of any Subordinated Indebtedness, the effect of which would
 be (A) to increase the principal amount due thereunder or provide for any mandatory prepayments not
 already provided for by the terms thereof, (B) to shorten or accelerate the time of payment of any amount
 due thereunder or shorten the average life to maturity thereof, (C) to increase the applicable interest rate
 or amount of any fees or costs due thereunder, (D) to amend any of the subordination provisions
 thereunder (including any of the definitions relating thereto), (E) to make any covenant or event of default
 therein more restrictive or add any new covenant or event of default, (F) to grant any security or collateral
 to secure payment thereof, or (G) to effect any change in the rights or obligations of the Credit Parties
 thereunder or of the holders thereof that would be adverse in any material respect to the rights or interests
 of the Lenders, or designate any Indebtedness other than the Obligations and the Senior Debt as “Senior

 3203309v7 18865.00070                                 57
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
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                                                                      06/28/19 15:36:30
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                                     Exhibit    Page 458  of 680
                                  Exhibit 1-29 Page 300 of 500


 Obligations” “Senior Indebtedness” or term of similar import within the meaning of the subordination
 provisions applicable thereto, (iii) any provision of the HCM Acquisition Agreement or any related
 Transaction Document contemplated thereby that could reasonably be expected to be adverse in any
 material respect to the rights or interests of the Borrowers or the Lenders, (iv) any provision of the
 Management Agreement in any manner not expressly permitted by the Management Fee Subordination
 Agreement, (v) any material non-compete or non-solicitation provision under any agreement delivered
 pursuant to Section 3.1(a)(x), or (iv) any provision of its articles or certificate of incorporation or
 formation, bylaws, operating or LLC agreement or other applicable formation or organizational
 documents, as applicable, the terms of any class or series of its Capital Stock, or any agreement among
 the holders of its Capital Stock or any of them, in each case other than in a manner that could not
 reasonably be expected to adversely affect the Lenders in any material respect (provided that the
 Borrowers shall give the Lenders notice of any such amendment, modification or change, together with
 certified copies thereof).

          7.13 Limitation on Certain Restrictions. Except to the extent it does not have and could not
 reasonably be expected to have a Material Adverse Effect, each Borrower will not, and will not permit or
 cause any of its Subsidiaries to, directly or indirectly, create or otherwise cause or suffer to exist or
 become effective, any restriction or encumbrance on (a) the ability of the Credit Parties to perform and
 comply with their respective obligations under the Investment Documents or (b) the ability of any
 Subsidiary of any Borrower to make any dividend payment or other distribution in respect of its Capital
 Stock, to repay Indebtedness owed to the Borrowers or any other Subsidiary, to make loans or advances
 to the Borrowers or any other Subsidiary, or to transfer any of its assets or properties to the Borrowers or
 any other Subsidiary, except (in the case of clause (b) only) for such restrictions or encumbrances existing
 under or by reason of (i) this Agreement and the other Investment Documents, (ii) applicable
 Requirements of Law, (iii) customary non-assignment provisions in leases and licenses of real or personal
 property entered into by any Borrower or any Subsidiary as lessee or licensee in the ordinary course of
 business, restricting the assignment or transfer thereof or of property that is the subject thereof,
 (iv) customary restrictions and conditions contained in any agreement relating to the sale of assets
 (including Capital Stock of a Subsidiary) pending such sale, provided that such restrictions and conditions
 apply only to the assets being sold and such sale is permitted under this Agreement, and (v) the Senior
 Loan Documents.

          7.14 No Other Negative Pledges. Each Borrower will not, and will not permit or cause any of
 its Subsidiaries to, enter into or suffer to exist any agreement or restriction that, directly or indirectly,
 prohibits or conditions the creation, incurrence or assumption of any Lien upon or with respect to any part
 of its property or assets, whether now owned or hereafter acquired, or agree to do any of the foregoing,
 except for such agreements or restrictions existing under or by reason of (i) this Agreement and the other
 Investment Documents, (ii) applicable Requirements of Law, (iii) any agreement or instrument creating a
 Permitted Lien (but only to the extent such agreement or restriction applies to the assets subject to such
 Permitted Lien), (iv) customary provisions in leases and licenses of real or personal property entered into
 by any Borrower or any Subsidiary as lessee or licensee in the ordinary course of business, restricting the
 granting of Liens therein or in property that is the subject thereof, and (v) customary restrictions and
 conditions contained in any agreement relating to the sale of assets (including Capital Stock of a
 Subsidiary) pending such sale, provided that such restrictions and conditions apply only to the assets
 being sold and such sale is permitted under this Agreement, (vi) the Senior Loan Documents, and (vii)
 such other agreements the breach or default under which could not reasonably be expected to result in a
 Material Adverse Effect.

         7.15 Ownership of Subsidiaries. Each Borrower will not, and will not permit or cause any of
 its Subsidiaries to, have any Subsidiaries other than Domestic Subsidiaries that are Wholly Owned


 3203309v7 18865.00070                                58
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                                       06/28/19 15:36:30
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                                                                                                           Desc
                                      Exhibit    Page 459  of 680
                                   Exhibit 1-29 Page 301 of 500


 Subsidiaries, in each case, created or acquired in accordance with the terms of the Investment Documents
 (including, without limitation, Section 5.8).

         7.16 Fiscal Year. Each Borrower will not, and will not permit or cause any of its Subsidiaries
 to, change its fiscal year or its method of determining fiscal quarters.

          7.17 Accounting Changes. Other than as permitted pursuant to Section 1.2, each of the Parent
 and each Borrower will not, and will not permit or cause any of its Subsidiaries to, make or permit any
 material change in its accounting policies or reporting practices, except as may be required by GAAP (or,
 in the case of Foreign Subsidiaries, generally accepted accounting principles in the jurisdiction of its
 organization).

          7.18 No Article 8 Opt-In. If any Pledged Interests (whether now owned or hereafter acquired)
 (as defined in the Security Agreement) are not “securities” under Article 8 of the Uniform Commercial
 Code, each Borrower will not, and will not permit any of its Subsidiaries to take any action to cause the
 issuer of such Pledged Interests to “opt in” to Article 8 of the Uniform Commercial Code.

         7.19 HCM Call. The Parent shall not exercise the HCM Call, or make any payment in
 connection therewith, until the payment in full of all non-contingent monetary Obligations.

                                               ARTICLE VIII

                                          EVENTS OF DEFAULT

         8.1     Events of Default. The occurrence of any one or more of the following events shall
 constitute an “Event of Default”:

          (a)     Any Borrower shall fail to pay when due (i) any principal of any Loan, (ii) any interest on
 any Loan or any fee payable under this Agreement or any other Investment Document, or (iii) except as
 provided in clauses (i) or (ii) above) any other Obligation and (in the case of this clause (iii) only) such
 failure shall continue for a period of three Business Days;

          (b)      Any Borrower or any other Credit Party shall (i) fail to observe, perform or comply with
 any condition, covenant or agreement contained in any of Sections 2.10, 5.1, 5.2(a), 5.2(e)(i), 5.3(i), 5.8,
 5.11, 5.14, 5.16 and 5.17 or in Article VI or Article VII or (ii) fail to observe, perform or comply with
 any condition, covenant or agreement contained in Section 5.2 (other than Sections 5.2(a) and 5.2(e)(i))
 and (in the case of this clause (ii) only) such failure shall continue unremedied for a period of five days
 after the earlier of (y) the date on which a Responsible Officer of a Credit Party acquires knowledge
 thereof and (z) the date on which written notice thereof is delivered by the Collateral Agent or any Lender
 to any Borrower;

         (c)      Any Borrower or any other Credit Party shall fail to observe, perform or comply with any
 condition, covenant or agreement contained in this Agreement or any of the other Investment Documents
 other than those enumerated in Sections 8.1(a) and 8.1(b), and such failure (i) by the express terms of
 such Investment Document, constitutes an Event of Default, or (ii) shall continue unremedied for any
 grace period specifically applicable thereto or, if no grace period is specifically applicable, for a period of
 30 days after the earlier of (y) the date on which a Responsible Officer of a Credit Party acquires
 knowledge thereof and (z) the date on which written notice thereof is delivered by the Collateral Agent or
 any Lender to the Borrowers;



 3203309v7 18865.00070                                 59
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
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                                                                        06/28/19 15:36:30
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                                       Exhibit    Page 460  of 680
                                    Exhibit 1-29 Page 302 of 500


         (d)      Any representation or warranty made or deemed made by or on behalf of any Borrower
 or any other Credit Party in this Agreement, any of the other Investment Documents or in any certificate,
 instrument, report or other document furnished at any time in connection herewith or therewith shall
 prove to have been incorrect, false or misleading in any material respect (without duplication of other
 materiality qualifiers contained therein) as of the time made, deemed made or furnished;

          (e)     Any Borrower or any other Credit Party (A) fails to pay when due (whether by scheduled
 maturity, required prepayment, acceleration, demand or otherwise) any principal of or interest on any
 Indebtedness (other than Indebtedness hereunder, under the Senior Debt or arising from the exercise of
 the HCM Put (so long as such Indebtedness arising from the exercise of the HCM Put is covered by a
 subordination agreement in favor of the Lenders as contemplated by Section 7.6(a)(v)7.6(c)) having an
 aggregate principal amount (including undrawn committed or available amounts and including amounts
 owing to all creditors under any combined or syndicated credit arrangement) of at least $500,000 or any
 termination payment under any Hedge Agreement resulting in a payment obligation of any Credit Party of
 at least $500,000, (B) fails to observe, perform or comply with any other agreement, covenant or
 condition relating to any such Indebtedness or contained in any instrument or agreement evidencing,
 securing or relating thereto, or any other default or event of default occurs or condition exists in respect
 thereof, the effect of which default, event of default or other event is to cause or to permit the holder(s) of
 such Indebtedness (or a trustee or agent on behalf of such holder(s)) to cause, with the giving of notice, if
 required, such Indebtedness to be demanded or to become due or to be repurchased, prepaid, defeased,
 redeemed or cash-collateralized (automatically or otherwise), or an offer to repurchase, prepay, defease,
 redeem or cash-collateralize such Indebtedness to be made, prior to its stated maturity (without regard to
 any subordination terms with respect thereto) or (C) the Senior Agent or the holders of the Senior Debt
 accelerate and declare all or any part of the Senior Debt to be due and payable prior to its stated maturity;

          (f)       Any Borrower or any other Credit Party shall (i) file a voluntary petition or commence a
 voluntary case seeking liquidation, winding-up, reorganization, dissolution, arrangement, readjustment of
 debts, composition or any other relief under the Bankruptcy Code or under any other applicable
 bankruptcy, insolvency or similar law now or hereafter in effect, (ii) consent to the institution of, or fail to
 controvert in a timely and appropriate manner, any petition or case of the type described in
 Section 8.1(g), (iii) apply for or consent to the appointment of or taking possession by a custodian,
 trustee, receiver, conservator or similar official for or of itself or all or a substantial part of its properties
 or assets, (iv) fail generally, or admit in writing its inability, to pay its debts generally as they become
 due, (v) make a general assignment for the benefit of creditors or (vi) take any corporate action to
 authorize or approve any of the foregoing;

           (g)      Any involuntary petition or case shall be filed or commenced against any Borrower or
 any other Credit Party seeking liquidation, winding-up, reorganization, dissolution, arrangement,
 readjustment of debts, the appointment of a custodian, trustee, receiver, conservator or similar official for
 it or all or a substantial part of its properties or any other relief under the Bankruptcy Code or under any
 other applicable bankruptcy, insolvency or similar law now or hereafter in effect, and such petition or
 case shall continue undismissed and unstayed for a period of 60 days; or an order, judgment or decree
 approving or ordering any of the foregoing shall be entered in any such proceeding;

          (h)     Any one or more money judgments, writs or warrants of attachment, executions or
 similar processes involving an aggregate amount (to the extent not paid or fully bonded or covered by
 insurance as to which the surety or insurer, as the case may be, has the financial ability to perform and has
 acknowledged liability in writing) in excess of $500,000 shall be entered or filed against any Borrower or
 any other Credit Party or any of their respective properties and the same shall not be paid, dismissed,
 bonded, vacated, stayed or discharged within a period of 30 days or in any event later than five days prior
 to the date of any proposed sale of such property thereunder;

 3203309v7 18865.00070                                  60
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
                                                                                                          Desc
                                      Exhibit    Page 461  of 680
                                   Exhibit 1-29 Page 303 of 500


         (i)      Any one or more non-monetary judgments, orders or decrees shall be rendered against
 any one or more of the Credit Parties or any of their respective Subsidiaries which has or could
 reasonably be expected to have, either individually or in the aggregate, a Material Adverse Effect, and
 there shall be any period of ten (10) consecutive days during which a stay of enforcement of such
 judgment or order, by reason of a pending appeal or otherwise, shall not be in effect;

          (j)     Any Lien created under any Investment Document and perfected in accordance with the
 terms of the Investment Documents, shall for any reason other than pursuant to the terms thereof, cease to
 be a valid and perfected priority Lien (subject to Permitted Liens) in any material portion of the
 Collateral or the property purported to be covered thereby, except as a result of (i) a disposition of the
 applicable Collateral in a transaction permitted under this Agreement or (ii) an action or failure to act on
 the part of the Collateral Agent or any other Lender;

          (k)     Any ERISA Event or any other event or condition shall occur or exist with respect to any
 Plan or Multiemployer Plan and, as a result thereof, together with all other ERISA Events and other
 events or conditions then existing, any Credit Party and its ERISA Affiliates have incurred, or could
 reasonably be expected to incur, liability to any one or more Plans or Multiemployer Plans or to the
 PBGC (or to any combination thereof) that has had or could reasonably be expected to have a Material
 Adverse Effect;

         (l)       Any one or more licenses, permits, accreditations or authorizations of any Borrower or
 any other Credit Party shall be suspended, limited or terminated or shall not be renewed, or any other
 action shall be taken, by any Governmental Authority in response to any alleged failure by any Borrower
 or any other Credit Party to be in compliance with applicable Requirements of Law, and such action,
 individually or in the aggregate, has or could reasonably be expected to have a Material Adverse Effect;

          (m)      [reserved]

          (n)     There shall occur any uninsured damage to, or loss, theft or destruction of any Collateral
 or other assets or properties of the Credit Parties that has had or could reasonably be expected to have a
 Material Adverse Effect or (ii) any labor dispute, act of God or other casualty that has had or could
 reasonably be expected to have a Material Adverse Effect;

          (o)      A Change of Control or Initial Public Offering shall have occurred;

          (p)    Any change in any Borrower or any other Credit Party’s business results of operations or
 condition (financial or otherwise) that has had or could reasonably be expected to have a Material
 Adverse Effect;

         (q)      The Sponsor, any Credit Party or any Affiliate or Subsidiary of any of the foregoing or
 any other direct or indirect holder of Capital Stock of the Parent (but excluding Avante, Fidus or their
 respective Affiliates) shall purchase, own or otherwise hold, directly or indirectly, any Senior Debt or any
 other Indebtedness that is senior or pari passu in any respect in right of payment to any of the Obligations;

         (r)      Any Investment Document or any material provision thereof shall for any reason cease to
 be valid and binding on or enforceable against any Credit Party, any Subsidiary of any Credit Party, the
 Sponsor, the holder of any Senior Debt (or agent thereof), the holder of any Subordinated Indebtedness
 (or agent thereof) or any other Person party thereto (other than the Collateral Agent and the Lenders) or
 any of their respective Affiliates or successors and assigns party thereto, (ii) any such Person or the
 Sponsor shall contest in any manner the validity, effectiveness or enforceability thereof or deny that it has


 3203309v7 18865.00070                                61
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
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                                      Exhibit    Page 462  of 680
                                   Exhibit 1-29 Page 304 of 500


 any further liability or obligation thereunder, (iii) any such Person shall breach or violate any material
 provision thereof, or (iv) the Obligations, for any reason, shall cease to have the priority contemplated by
 this Agreement and the other Investment Documents or the subordination provisions hereof or thereof.

          8.2    Cure Right. (a) Upon the occurrence of an Event of Default under Section 6.1 or Section
 6.2 (a “Financial Covenant Default”) as of the end of any fiscal quarter of the Parent (a “Relevant
 Quarter”), the Borrowers shall have the right to cure such Financial Covenant Default (the “Cure Right”)
 by causing the Sponsor and/or any other member of the Parent to contribute cash to the Parent in
 exchange for the issuance of equity or, to the extent permitted by Section 7.2(x), Subordinated
 Indebtedness during (but only during) the period of 10 Business Days following the earlier of the delivery
 by the Borrowers of the Compliance Certificate for such Relevant Quarter or the date such delivery is
 required pursuant to this Agreement, provided that:

                  (i)     the Borrowers shall deliver to the Lenders written notice of their intent to
          exercise the Cure Right with respect to any Financial Covenant Default (a “Cure Notice”)
          concurrently with their delivery to the Lenders of the Compliance Certificate for such Relevant
          Quarter;

                  (ii)     such contribution shall be added to Consolidated EBITDA for such Relevant
          Quarter, but only to the extent necessary to cure the relevant Financial Covenant Default; any
          equity contribution added to Consolidated EBITDA for such Relevant Quarter shall be added to
          Consolidated EBITDA for the following three fiscal quarters in addition to such Relevant
          Quarter;

                 (iii)    the amount of such contribution shall not reduce the amount of Funded Debt for
          purposes of calculating compliance with the Financial Covenant Default;

                 (iv)    the Borrowers may exercise the Cure Right not more than one time during any
          consecutive twelve-month period, and in no event in consecutive fiscal quarters;

                 (v)    such contribution must be used to immediately prepay the “Term Loans” and the
          “Revolving Loans” (as each such term is defined in the Senior Loan Agreement), on a pro rata
          basis;

                  (vi)    in no event will the aggregate contributions made to the Borrowers pursuant to
          the Cure Right exceed $5,000,000 in the aggregate for all exercises of the Cure Right; and

                   (vii)   no such contributions shall result in a Change of Control.

         8.3      Remedies: Acceleration, etc. Upon and at any time after the occurrence and during the
 continuance of any Event of Default, the Required Lenders may take any or all of the following actions at
 the same or different times:

         (a)      Declare all or any part of the outstanding principal amount of the Loans to be
 immediately due and payable, whereupon the principal amount so declared to be immediately due and
 payable, together with all interest accrued thereon and all other amounts payable under this Agreement
 and the other Investment Documents, shall become immediately due and payable without presentment,
 demand, protest, notice of intent to accelerate or other notice or legal process of any kind, all of which are
 hereby knowingly and expressly waived by each Borrower; provided that, upon the occurrence of a
 Bankruptcy Event, all of the outstanding principal amount of the Loans and all other amounts described in
 this Section 8.3(a) shall automatically become immediately due and payable without presentment,

 3203309v7 18865.00070                                62
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
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                                                                      06/28/19 15:36:30
                                                                               14:56:52                   Desc
                                                                                                          Desc
                                     Exhibit    Page 463  of 680
                                  Exhibit 1-29 Page 305 of 500


 demand, protest, notice of intent to accelerate or other notice or legal process of any kind, all of which are
 hereby knowingly and expressly waived by each Borrower;

         (b)      Subject to applicable law, appoint or direct the appointment of a receiver for the
 properties and assets of the Credit Parties, both to operate and to sell such properties and assets, and each
 Borrower, for itself and on behalf of its Subsidiaries, hereby consents to such right and such appointment
 and hereby waives any objection any Borrower or any of its Subsidiaries may have thereto or the right to
 have a bond or other security posted by the Collateral Agent on behalf of the Lenders, in connection
 therewith; and

        (c)    Exercise all rights and remedies available to it under this Agreement, the other
 Investment Documents and applicable law.

          8.4      Remedies: Set-Off. Upon and at any time after the occurrence and during the
 continuance of any Event of Default, each Lender and each of its respective Affiliates is hereby
 authorized at any time and from time to time, to the fullest extent permitted by applicable law, to set off
 and apply any and all deposits (general or special, time or demand, provisional or final, in whatever
 currency) at any time held and other obligations (in whatever currency) at any time owing by such Lender
 or any such Affiliate to or for the credit or the account of any Borrower against any and all non-
 contingent monetary obligations of any Borrower now or hereafter existing under this Agreement or any
 other Investment Document to such Lender, irrespective of whether or not such Lender shall have made
 any demand under this Agreement or any other Investment Document. The rights of each Lender and its
 respective Affiliates under this Section are in addition to other rights and remedies (including other rights
 of setoff) that such Lender or its Affiliates may have. Each Lender agrees to notify the Borrowers and the
 Collateral Agent promptly after any such setoff and application; provided that the failure to give such
 notice shall not affect the validity of such setoff and application.

                                                ARTICLE IX

                                       THE COLLATERAL AGENT

          9.1      Appointment and Authority. Each of the Lenders hereby irrevocably appoints Fidus to
 act on its behalf as the Collateral Agent hereunder and under the other Investment Documents and
 authorizes the Collateral Agent to take such actions on its behalf and to exercise such powers as are
 delegated to the Collateral Agent by the terms hereof or thereof, together with such actions and powers as
 are reasonably incidental thereto. The provisions of this Article are solely for the benefit of the Collateral
 Agent and the Lenders, and neither the Parent nor any other Credit Party shall have rights as a third party
 beneficiary of any of such provisions. Notwithstanding any provision to the contrary contained elsewhere
 in this Agreement or in any other Investment Document, the Collateral Agent shall not have any duties or
 responsibilities, except those expressly set forth herein, nor shall the Collateral Agent have or be deemed
 to have any fiduciary relationship with any Lender, and no implied covenants, functions, responsibilities,
 duties, obligations or liabilities shall be read into this Agreement or any other Investment Document or
 otherwise exist against the Collateral Agent. Any action required or permitted to be taken by the
 Collateral Agent hereunder shall be taken with the prior approval of the Required Lenders.

          9.2      Rights as a Lender. The Person serving as the Collateral Agent hereunder shall have the
 same rights and powers in its capacity as a Lender as any other Lender and may exercise the same as
 though it were not the Collateral Agent and the term “Lender” or “Lenders” shall, unless otherwise
 expressly indicated or unless the context otherwise requires, include the Person serving as the Collateral
 Agent hereunder in its individual capacity. Such Person and its Affiliates may lend money to, own
 securities of, act as the financial advisor or in any other advisory capacity for and generally engage in any

 3203309v7 18865.00070                                63
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 464  of 680
                                   Exhibit 1-29 Page 306 of 500


 kind of business with the Parent or any Subsidiary or other Affiliate thereof as if such Person were not the
 Collateral Agent hereunder and without any duty to account therefor to the Lenders.

         9.3      Exculpatory Provisions. The Collateral Agent shall not have any duties or obligations
 except those expressly set forth herein and in the other Investment Documents. Without limiting the
 generality of the foregoing, the Collateral Agent:

         (a)     shall not be subject to any fiduciary or other implied duties, regardless of whether a
 Default or Event of Default has occurred and is continuing;

           (b)      shall not have any duty to take any discretionary action or exercise any discretionary
 powers, except discretionary rights and powers expressly contemplated hereby or by the other Investment
 Documents that the Collateral Agent is required to exercise as directed in writing by the Required Lenders
 (or such other number or percentage of the Lenders as shall be expressly provided for herein or in the
 other Investment Documents), provided that the Collateral Agent shall not be required to take any action
 that, in its opinion or the opinion of its counsel, may expose the Collateral Agent to liability or that is
 contrary to any Investment Document or applicable law; and

         (c)     shall not, except as expressly set forth herein and in the other Investment Documents,
 have any duty to disclose, and shall not be liable for the failure to disclose, any information relating to
 any Borrower or any of its Affiliates that is communicated to or obtained by the Person serving as the
 Collateral Agent or any of its Affiliates in any capacity.

          The Collateral Agent shall not be liable for any action taken or not taken by it (i) with the consent
 or at the request of the Required Lenders (or such other number or percentage of the Lenders as shall be
 necessary, or as the Collateral Agent shall believe in good faith shall be necessary, under the
 circumstances as provided in Sections 10.5 and 8.2) or (ii) in the absence of its own gross negligence or
 willful misconduct as determined by a court of competent jurisdiction by final and nonappealable
 judgment. The Collateral Agent shall be deemed not to have knowledge of any Default or Event of
 Default unless and until notice describing such Default or Event of Default is given to the Collateral
 Agent in writing by the Borrowers or a Lender.

          The Collateral Agent shall not be responsible for or have any duty to ascertain or inquire into
 (i) any statement, warranty or representation made in or in connection with this Agreement or any other
 Investment Document, (ii) the contents of any certificate, report or other document delivered hereunder or
 thereunder or in connection herewith or therewith, (iii) the performance or observance of any of the
 covenants, agreements or other terms or conditions set forth herein or therein or the occurrence of any
 Default or Event of Default, (iv) the validity, enforceability, effectiveness or genuineness of this
 Agreement, any other Investment Document or any other agreement, instrument or document or (v) the
 satisfaction of any condition set forth in Article III or elsewhere herein, other than to confirm receipt of
 items expressly required to be delivered to the Collateral Agent.

           9.4      Reliance by Collateral Agent. The Collateral Agent shall be entitled to rely upon, and
 shall not incur any liability for relying upon, any notice, request, certificate, consent, statement,
 instrument, document or other writing (including any electronic message, internet or intranet website
 posting or other distribution) believed by it to be genuine and to have been signed, sent or otherwise
 authenticated by the proper Person. The Collateral Agent also may rely upon any statement made to it
 orally or by telephone and believed by it to have been made by the proper Person, and shall not incur any
 liability for relying thereon. The Collateral Agent may consult with legal counsel (who may be counsel
 for the Borrowers), independent accountants and other experts selected by it, and shall not be liable for


 3203309v7 18865.00070                                 64
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                                                       06/28/19 15:36:30
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                                      Exhibit    Page 465  of 680
                                   Exhibit 1-29 Page 307 of 500


 any action taken or not taken by it in accordance with the advice of any such counsel, accountants or
 experts.

          9.5      Delegation of Duties. The Collateral Agent may perform any and all of its duties and
 exercise its rights and powers hereunder or under any other Investment Document by or through any one
 or more sub-agents appointed by the Collateral Agent. The Collateral Agent and any such sub-agent may
 perform any and all of its duties and exercise its rights and powers by or through their respective Related
 Parties. The exculpatory provisions of this Article shall apply to any such sub-agent and to the Related
 Parties of the Collateral Agent and any such sub-agent. The Collateral Agent shall not be responsible for
 the negligence or misconduct of any sub-agent except to the extent that a court of competent jurisdiction
 determines in a final and nonappealable judgment that the Collateral Agent acted with gross negligence or
 willful misconduct in the selection of such sub-agent.

          9.6     Resignation of Collateral Agent. The Collateral Agent may at any time give notice of its
 resignation to the Lenders and the Borrowers. Upon receipt of any such notice of resignation, the
 Required Lenders shall have the right, in consultation with the Borrowers so long as no Default or Event
 of Default has occurred and is continuing, to appoint a successor. If no such successor shall have been so
 appointed by the Required Lenders and shall have accepted such appointment within 30 days after the
 retiring Collateral Agent gives notice of its resignation, then the retiring Collateral Agent may, on behalf
 of the Lenders, appoint a successor Collateral Agent. Upon the acceptance of a successor’s appointment
 as Collateral Agent hereunder, such successor shall succeed to and become vested with all of the rights,
 powers, privileges and duties of the retiring (or retired) Collateral Agent, and the retiring Collateral Agent
 shall be discharged from all of its duties and obligations hereunder or under the other Investment
 Documents (if not already discharged therefrom as provided above in this Section). After the retiring
 Collateral Agent’s resignation hereunder and under the other Investment Documents, the provisions of
 this Article and Section 10.1 shall continue in effect for the benefit of such retiring Collateral Agent, its
 sub-agents and their respective Related Parties in respect of any actions taken or omitted to be taken by
 any of them while the retiring Collateral Agent was acting as Collateral Agent.

          9.7     Non-Reliance on Collateral Agent and Other Lenders. Each Lender acknowledges that it
 has, independently and without reliance upon the Collateral Agent or any other Lender or any of their
 Related Parties and based on such documents and information as it has deemed appropriate, made its own
 credit analysis and decision to enter into this Agreement. Each Lender also acknowledges that it will,
 independently and without reliance upon the Collateral Agent or any other Lender or any of their Related
 Parties and based on such documents and information as it shall from time to time deem appropriate,
 continue to make its own decisions in taking or not taking action under or based upon this Agreement,
 any other Investment Document or any related agreement or any document furnished hereunder or
 thereunder.

          9.8      Collateral Matters.

         (a)      The Collateral Agent is hereby authorized on behalf of the Lenders, without the necessity
 of any notice to or further consent from the Lenders, from time to time (but without any obligation) to
 take any action with respect to the Collateral and the Security Documents that may be deemed by the
 Collateral Agent in its discretion to be necessary or advisable to perfect and maintain perfected the Liens
 upon the Collateral granted pursuant to the Security Documents. The Collateral Agent shall not be
 responsible for or have a duty to ascertain or inquire into any representation or warranty regarding the
 existence, value or collectability of the Collateral, the existence, priority or perfection of the Collateral
 Agent’s Lien thereon, or any certificate prepared by any Credit Party in connection therewith, nor shall
 the Collateral Agent be responsible or liable to the Lenders for any failure to monitor or maintain any
 portion of the Collateral.

 3203309v7 18865.00070                                65
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
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                                     Exhibit    Page 466  of 680
                                  Exhibit 1-29 Page 308 of 500


           (b)      The Lenders hereby authorize the Collateral Agent, at its option and in its discretion,
 (i) to release any Lien granted to or held by the Collateral Agent upon any Collateral (A) upon
 termination of the Commitments and payment in full of all of the Obligations (other than inchoate
 indemnity obligations), (B) constituting property sold or to be sold or disposed of as part of or in
 connection with any disposition expressly permitted hereunder or under any other Investment Document
 or to which the Required Lenders have consented in writing or (C) otherwise pursuant to and in
 accordance with the provisions of any applicable Investment Document, and (ii) to subordinate any Lien
 on any property granted to or held by the Collateral Agent under any Investment Document to the holder
 of any Lien on such property that is permitted by Section 7.2(iii). Upon request by the Collateral Agent
 at any time, the Lenders will confirm in writing the Collateral Agent’s authority to release or subordinate
 its interest in particular types or items of property pursuant to this Section 9.8(b).

                                                ARTICLE X

                                            MISCELLANEOUS

          10.1     Expenses; Indemnity; Damage Waiver.

         (a)      The Borrowers shall pay (i) all reasonable out-of-pocket expenses incurred by the
 Collateral Agent and any Lender (including the reasonable fees, charges and disbursements of counsel;
 provided, that so long as no Default or Event of Default has occurred and is continuing, such fees, charges
 and disbursements shall be limited to only one set of shared counsel on behalf of the Collateral Agent and
 all Lenders), in connection with the preparation, negotiation, execution, delivery and administration of
 this Agreement and the other Investment Documents or any amendments, modifications or waivers of the
 provisions hereof or thereof (whether or not the transactions contemplated hereby or thereby shall be
 consummated), and (ii) all reasonable out-of-pocket expenses incurred by the Collateral Agent and any
 Lender (including the reasonable fees, charges and disbursements of counsel for the Collateral Agent and
 for each Lender), in connection with the enforcement or protection of its rights (A) in connection with this
 Agreement and the other Investment Documents, including its rights under this Section, or (B) in
 connection with the Loans made hereunder, including all such out-of-pocket expenses incurred during any
 workout, restructuring or negotiations in respect of such Loans.

           (b)     The Borrowers shall indemnify the Collateral Agent (and any sub agent thereof), each
 Lender, and each Related Party of any of the foregoing Persons (each such Person being called an
 “Indemnitee”) against, and hold each Indemnitee harmless from, any and all losses, claims, damages,
 liabilities and related expenses (including the fees, charges and disbursements of any counsel for any
 Indemnitee), incurred by any Indemnitee or asserted against any Indemnitee by any Person (including any
 Borrower or any other Credit Party) other than such Indemnitee and its Related Parties arising out of, in
 connection with, or as a result of (i) the execution or delivery of this Agreement, any other Investment
 Document or any agreement or instrument contemplated hereby or thereby, the performance by the
 parties hereto of their respective obligations hereunder or thereunder or the consummation of the
 transactions contemplated hereby or thereby, (ii) any Loan or the use or proposed use of the proceeds
 therefrom, (iii) any actual or alleged presence or release of Hazardous Substances on or from any property
 owned or operated by any Credit Party, or any Environmental Claim related in any way to any Credit
 Party, or (iv) any actual or prospective claim, litigation, investigation or proceeding relating to any of the
 foregoing, whether based on contract, tort or any other theory, whether brought by a third party or by any
 Borrower or any other Credit Party, and regardless of whether any Indemnitee is a party thereto; provided
 that such indemnity shall not, as to any Indemnitee, be available to the extent that such losses, claims,
 damages, liabilities or related expenses (x) are determined by a court of competent jurisdiction by final
 and nonappealable judgment to have resulted from the gross negligence, willful misconduct or bad faith
 of such Indemnitee, (y) result from a claim brought by any Borrower or any other Credit Party against an

 3203309v7 18865.00070                                66
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
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                                      Exhibit    Page 467  of 680
                                   Exhibit 1-29 Page 309 of 500


 Indemnitee for breach of such Indemnitee’s obligations hereunder or under any other Investment
 Document, if such Borrower or such Credit Party has obtained a final and nonappealable judgment in its
 favor on such claim as determined by a court of competent jurisdiction, or (z) arise or result from any
 investment by any Lender pursuant to the Equity Investment Documents.

         (c)      To the extent that the Borrowers for any reason fails to pay any amount required under
 Section 10.1(a) or Section 10.1(b) to be paid by it to the Collateral Agent (or any sub-agent thereof) or
 any Related Party of any of the foregoing, each Lender severally agrees to pay to the Collateral Agent (or
 any such sub-agent) or such Related Party, as the case may be, such Lender’s proportion (based on the
 percentages as used in determining the Required Lenders as of the time that the applicable unreimbursed
 expense or indemnity payment is sought) of such unpaid amount, provided that the unreimbursed expense
 or indemnified loss, claim, damage, liability or related expense, as the case may be, was incurred by or
 asserted against the Collateral Agent (or any such sub-agent) or against any Related Party of any of the
 foregoing acting for the Collateral Agent (or any such sub-agent).

          (d)     To the fullest extent permitted by applicable law, the Borrowers and each other Credit
 Party and each Related Party of any of the foregoing Persons, shall not assert, and hereby waives, any
 claim against any Indemnitee, on any theory of liability, for special, indirect, consequential or punitive
 damages (as opposed to direct or actual damages) arising out of, in connection with, or as a result of, this
 Agreement, any other Investment Document or any agreement or instrument contemplated hereby, the
 transactions contemplated hereby or thereby, any Loan or the use of the proceeds thereof. No Indemnitee
 referred to in Section 10.1(b) shall be liable for any damages arising from the use by unintended
 recipients of any information or other materials distributed by it through telecommunications, electronic
 or other information transmission systems in connection with this Agreement or the other Investment
 Documents or the transactions contemplated hereby or thereby, except to the extent such damages arise
 from the gross negligence or willful misconduct of such Indemnitee as determined by a court of
 competent jurisdiction in a final and non-appealable judgment.

          (e)      All amounts due under this Section shall be payable by the Borrowers upon demand
 therefor.

          10.2     Governing Law; Submission to Jurisdiction; Waiver of Venue; Service of Process.

          (a)     This Agreement and the other Investment Documents shall and any claims, controversy,
 dispute or cause of action (whether in contract or tort or otherwise) based upon, arising out of or relating
 to this Agreement or any other Investment Document (except as may be expressly otherwise provided in
 any Investment Document) shall be governed by, and construed in accordance with, the law of the State
 of New York (including Sections 5-1401 and 5-1402 of the New York General Obligations Law, but
 excluding all other choice of law and conflicts of law rules).

          (b)      Each Borrower irrevocably and unconditionally agrees that it will not commence any
 action, litigation or proceeding of any kind or description, whether in law or equity, whether in contract or
 in tort or otherwise, against any Lender, the Collateral Agent or any Related Party of any of the foregoing
 in any way relating to this Agreement or any other Investment Document or the transactions relating
 hereto or thereto, in any forum other than the courts of (a) the State of New York sitting in the City and
 County of New York and of the United States District Court of the Southern District of New York, and
 (b) any appellate court from any thereof, and each of the parties hereto irrevocably and unconditionally
 submits to the jurisdiction of such courts and agrees that all claims in respect of any such action, litigation
 or proceeding may be heard and determined in such state court or, to the fullest extent permitted by
 applicable law, in such federal court. Each of the parties hereto agrees that a final judgment in any such
 action, litigation or proceeding shall be conclusive and may be enforced in other jurisdictions by suit on

 3203309v7 18865.00070                                 67
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
                                                                                                          Desc
                                      Exhibit    Page 468  of 680
                                   Exhibit 1-29 Page 310 of 500


 the judgment or in any other manner provided by law. Nothing in this Agreement or in any other
 Investment Document shall affect any right that any Lender or the Collateral Agent may otherwise have
 to bring any action or proceeding relating to this Agreement or any other Investment Document against
 any Borrower or any other Credit Party or its properties in the courts of any jurisdiction.

         (c)      Each Borrower irrevocably and unconditionally waives, to the fullest extent permitted by
 applicable law, any objection that it may now or hereafter have to the laying of venue of any action or
 proceeding arising out of or relating to this Agreement or any other Investment Document in any court
 referred to in Section 10.2(b). Each of the parties hereto hereby irrevocably waives, to the fullest extent
 permitted by applicable law, the defense of an inconvenient forum to the maintenance of such action or
 proceeding in any such court.

          (d)     Each party hereto irrevocably consents to service of process in the manner provided for
 notices in Section 10.4, provided a copy of any such service of process simultaneously will be sent to
 such party by nationally recognized overnight courier. Nothing in this Agreement will affect the right of
 any party hereto to serve process in any other manner permitted by applicable law.

       10.3 Waiver of Jury Trial. EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES,
 TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE
 TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING
 OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER INVESTMENT DOCUMENT
 OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON
 CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT
 NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
 REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD NOT, IN
 THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
 (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED
 TO ENTER INTO THIS AGREEMENT AND THE OTHER INVESTMENT DOCUMENTS BY,
 AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

          10.4     Notices; Effectiveness; Electronic Communication.

          (a)      Except in the cases of notices and other communications expressly permitted to be given
 by telephone (and except as provided in Section 10.4(b)), all notices and other communications provided
 for herein shall be in writing and shall be delivered by hand or overnight courier service, mailed by
 certified or registered mail or sent by facsimile as follows:

                  (i)      if to a Borrower or the Collateral Agent, to it at the address (or facsimile number)
          specified for such Person on Schedule 1.1(a); and

                  (ii)   if to any Lender, to it at its address (or facsimile number) specified for such
          Person on Schedule 1.1(a) or set forth on its signature page to the Assignment and Assumption
          under which Loans or Commitments are first assigned to such Lender.

         Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall
 be deemed to have been given when received; notices sent by facsimile shall be deemed to have been
 given when sent (except that, if not given during normal business hours for the recipient, shall be deemed
 to have been given at the opening of business on the next Business Day for the recipient). Notices
 delivered through electronic communications to the extent provided in Section 10.4(b) shall be effective
 as provided in Section 10.4(b).


 3203309v7 18865.00070                                 68
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
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                                                                                                             Desc
                                      Exhibit    Page 469  of 680
                                   Exhibit 1-29 Page 311 of 500


          (b)      Notices and other communications to the Lenders hereunder may be delivered or
 furnished by electronic communication (including e-mail and internet or intranet websites) pursuant to
 procedures approved by each Lender. The Borrowers may, in their discretion, agree to accept notices and
 other communications to them hereunder by electronic communication pursuant to procedures approved
 by them, provided that approval of such procedures may be limited to particular notices or
 communications. Subject to such agreement by the Borrowers, (i) notices and other communications sent
 to an e-mail address shall be deemed received upon the sender’s receipt of an acknowledgement from the
 intended recipient (such as by the “return receipt requested” function, as available, return e-mail or other
 written acknowledgement), provided that if such notice or other communication is not sent during the
 normal business hours of the recipient, such notice or communication shall be deemed to have been sent
 at the opening of business on the next Business Day for the recipient, and (ii) notices or other
 communications posted to an internet or intranet website shall be deemed received upon the deemed
 receipt by the intended recipient at its e-mail address as described in the foregoing clause (i) of
 notification that such notice or communication is available and identifying the website address therefor.

         (c)     Any party hereto may change its address or facsimile number for notices and other
 communications hereunder by notice to the other parties hereto (except that each Lender need not give
 notice of any such change to the other Lenders in their capacities as such).

          10.5    Amendments, Waivers, etc. No amendment, modification, waiver or discharge or
 termination of, or consent to any departure by any Credit Party from, any provision of this Agreement or
 any other Investment Document shall be effective unless in a writing signed by the Required Lenders, and
 then the same shall be effective only in the specific instance and for the specific purpose for which given;
 provided, however, that no such amendment, modification, waiver, discharge, termination or consent
 shall:

          (a)      unless agreed to by each Lender directly affected thereby, (i) reduce or forgive the
 principal amount of any Loan, reduce the rate of or forgive any interest thereon (provided that only the
 consent of the Required Lenders shall be required to (x) reduce the amount of interest required to be paid
 in cash (but not the overall interest rate) in respect of the Loans or (y) waive the applicability of any post-
 default increase in interest rates), or reduce or forgive any fees hereunder, (ii) extend the final scheduled
 maturity date or any other scheduled date for the payment of any principal of or interest on any Loan
 (including any scheduled date for the mandatory reduction or termination of any Commitments, but
 excluding any mandatory prepayment of the Loans pursuant to Sections 2.4(b) though 2.4(h) or reduction
 or termination of Commitments in connection therewith), or extend the time of payment of any fees
 hereunder, (iii) increase any Commitment of any such Lender over the amount thereof in effect or extend
 the maturity thereof (it being understood that a waiver of any condition precedent set forth in Article III
 or of any Default or Event of Default or mandatory reduction in the Commitments, if agreed to by the
 Required Lenders or all Lenders (as may be required hereunder with respect to such waiver), shall not
 constitute such an increase) or (iv) reduce the percentage of the aggregate Commitments or of the
 aggregate unpaid principal amount of the Loans, or the number or percentage of Lenders, that shall be
 required for the Lenders or any of them to take or approve, or direct the Collateral Agent to take, any
 action hereunder or under any other Investment Document (including as set forth in the definition of
 “Required Lenders”);

         (b)       unless agreed to by all of the Lenders, (i) release all or substantially all of the Collateral
 (except as may be otherwise specifically provided in this Agreement or in any other Investment
 Document), (ii) change any other provision of this Agreement or any of the other Investment Documents
 requiring, by its terms, the consent or approval of all the Lenders for such amendment, modification,
 waiver, discharge, termination or consent, or (iii) change or waive any provision of Section 2.11, any


 3203309v7 18865.00070                                  69
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                  Desc
                                                                                                          Desc
                                      Exhibit    Page 470  of 680
                                   Exhibit 1-29 Page 312 of 500


 other provision of this Agreement or any other Investment Document requiring pro rata treatment of any
 Lenders, or this Section 10.5; and

         (c)     unless agreed to by the Collateral Agent in addition to the Lenders required as provided
 hereinabove to take such action, affect the respective rights or obligations of the Collateral Agent, as
 applicable, hereunder or under any of the other Investment Documents;

 (d)     provided, further, that the Fee Letter may only be amended or modified, and any rights thereunder
 waived, in a writing signed by the parties thereto.

          Notwithstanding the fact that the consent of all Lenders is required in certain circumstances as set
 forth above, each Lender is entitled to vote as such Lender sees fit on any bankruptcy reorganization plan
 that affects the Loans, and each Lender acknowledges that the provisions of Section 1126(c) of the
 Bankruptcy Code supersedes the unanimous consent provisions set forth herein.

          10.6     Successors and Assigns.

          (a)      The provisions of this Agreement shall be binding upon and inure to the benefit of the
 parties hereto and their respective successors and assigns permitted hereby, except that neither the
 Borrowers nor any other Credit Party may assign or otherwise transfer any of its rights or obligations
 hereunder without the prior written consent of the Collateral Agent and each Lender and no Lender may
 assign or otherwise transfer any of its rights or obligations hereunder except (i) to an assignee in
 accordance with the provisions of Section 10.6(b), or (ii) by way of pledge or assignment of a security
 interest subject to the restrictions of Section 10.6(c) (and any other attempted assignment or transfer by
 any party hereto shall be null and void). Nothing in this Agreement, expressed or implied, shall be
 construed to confer upon any Person (other than the parties hereto, their respective successors and assigns
 permitted hereby and, to the extent expressly contemplated hereby, the Related Parties of each of the
 Collateral Agent and the Lenders) any legal or equitable right, remedy or claim under or by reason of this
 Agreement.

         (b)     Any Lender may at any time assign to one or more assignees all or a portion of its rights
 and obligations under this Agreement (including all or a portion of its Commitments and/or the Loans at
 the time owing to it); provided that any such assignment shall be subject to the following conditions:

                   (i)     each partial assignment shall be made as an assignment of a proportionate part of
          all the assigning Lender’s rights and obligations under this Agreement with respect to the Loan or
          Commitment assigned;

                   (ii)    no consent shall be required for any assignment, except:

                            (A)     the consent of the Borrowers (such consent not to be unreasonably
                   withheld or delayed) shall be required unless (x) an Event of Default has occurred and is
                   continuing at the time of such assignment or (y) such assignment is to a Lender, an
                   Affiliate of a Lender or an Approved Fund; and

                            (B)     the consent of the Required Lenders (not to be unreasonably withheld)
                   shall be required unless such assignment is to a Lender, an Affiliate of a Lender or an
                   Approved Fund;

                   (iii)   no such assignment shall be made to the Sponsor, any Credit Party or any
          Affiliate or Subsidiary of any of the foregoing; and

 3203309v7 18865.00070                                70
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
                                                                                                           Desc
                                      Exhibit    Page 471  of 680
                                   Exhibit 1-29 Page 313 of 500


                   (iv)   no such assignment shall be made to a natural person.

         All references to assignments in this Section 10.6 shall include assignments of participation rights
 in the Notes.

         From and after the effective date specified in each Assignment and Assumption, the assignee
 thereunder shall be a party to this Agreement and, to the extent of the interest assigned by such
 Assignment and Assumption, have the rights and obligations of a Lender under this Agreement, and the
 assigning Lender thereunder shall, to the extent of the interest assigned by such Assignment and
 Assumption, be released from its obligations under this Agreement (and, in the case of an Assignment
 and Assumption covering all of the assigning Lender’s rights and obligations under this Agreement, such
 Lender shall cease to be a party hereto) but shall continue to be entitled to the benefits of Sections 2.12,
 2.13 and 10.1 with respect to facts and circumstances occurring prior to the effective date of such
 assignment. If requested by or on behalf of the assignee, each Borrower, at its own expense, will execute
 and deliver a new Note or Notes to the order of the assignee (and, if the assigning Lender has retained any
 portion of its rights and obligations hereunder, to the order of the assigning Lender), prepared in
 accordance with the applicable provisions of Section 2.3 as necessary to reflect, after giving effect to the
 assignment, the Commitments and/or outstanding Loans, as the case may be, of the assignee and (to the
 extent of any retained interests) the assigning Lender, in substantially the form of Exhibit A. Any
 assignment or transfer by a Lender of rights or obligations under this Agreement that does not comply
 with this Section 10.6(b) shall be treated for purposes of this Agreement as a sale by such Lender of a
 participation in such rights and obligations.

          (c)      Any Lender may at any time pledge or assign a security interest in all or any portion of its
 rights under this Agreement (including under its Notes, if any) to secure obligations of such Lender or its
 Affiliates, including any pledge or assignment to secure obligations to a Federal Reserve Bank; provided
 that no such pledge or assignment shall release such Lender from any of its obligations hereunder or
 substitute any such pledgee or assignee for such Lender as a party hereto.

         (d)      The words “execution,” “signed,” “signature,” and words of like import in any
 Assignment and Assumption shall be deemed to include electronic signatures or the keeping of records in
 electronic form, each of which shall be of the same legal effect, validity or enforceability as a manually
 executed signature or the use of a paper-based recordkeeping system, as the case may be, to the extent and
 as provided for in any applicable law, including the Federal Electronic Signatures in Global and National
 Commerce Act or any state laws based on the Uniform Electronic Transactions Act.

         (e)     Any Lender may, in connection with any assignment, participation, pledge or proposed
 assignment, participation or pledge pursuant to this Section 10.6, disclose to the assignee, participant or
 pledgee or proposed assignee, participant or pledgee any information relating to the Parent and its
 Subsidiaries furnished to it by or on behalf of any other party hereto.

          (f)      The Borrowers shall keep at their principal executive office a register for the registration
 and registration of transfers of Notes and interests in the Loans. The name and address of each holder of
 one or more Notes or interests in the Loans and the amount of outstanding principal and interest related
 thereto, each transfer thereof and the name and address of each transferee of one or more Notes or
 interests in the Loans shall be registered by the Borrowers in such register. Prior to due presentment for
 registration of transfer, the Person in whose name any Note or interests in the Loans shall be registered
 shall be deemed and treated as the owner and holder thereof for all purposes hereof. The Borrowers shall
 give to any holder of a Note or interests in the Loans promptly upon request therefor, a complete and
 correct copy of the names and addresses of all registered holders of Notes and interests in the Loans.


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                                     Exhibit    Page 472  of 680
                                  Exhibit 1-29 Page 314 of 500


          10.7 No Waiver. The rights and remedies of the Collateral Agent and the Lenders expressly
 set forth in this Agreement and the other Investment Documents are cumulative and in addition to, and
 not exclusive of, all other rights and remedies available at law, in equity or otherwise. No failure or delay
 on the part of the Collateral Agent or any Lender in exercising any right, power or privilege shall operate
 as a waiver thereof, nor shall any single or partial exercise of any such right, power or privilege preclude
 other or further exercise thereof or the exercise of any other right, power or privilege or be construed to be
 a waiver of any Default or Event of Default. No course of dealing between any Credit Party, the
 Collateral Agent or the Lenders or their agents or employees shall be effective to amend, modify or
 discharge any provision of this Agreement or any other Investment Document or to constitute a waiver of
 any Default or Event of Default. No notice to or demand upon any Credit Party in any case shall entitle
 any Credit Party to any other or further notice or demand in similar or other circumstances or constitute a
 waiver of the right of the Collateral Agent or any Lender to exercise any right or remedy or take any other
 or further action in any circumstances without notice or demand.

          10.8 Survival. All representations, warranties and agreements made by or on behalf of any
 Borrower or any other Credit Party in this Agreement and in the other Investment Documents shall
 survive the execution and delivery hereof or thereof, the making and repayment of the Loans. In addition,
 notwithstanding anything herein or under applicable law to the contrary, the provisions of this Agreement
 and the other Investment Documents relating to indemnification or payment of costs and expenses,
 including, without limitation, the provisions of Sections 2.12, 2.13 and 10.1, shall survive the payment in
 full of all Loans, the termination of the Commitments and any termination of this Agreement or any of the
 other Investment Documents.

         10.9 Severability. To the extent any provision of this Agreement is prohibited by or invalid
 under the applicable law of any jurisdiction, such provision shall be ineffective only to the extent of such
 prohibition or invalidity and only in such jurisdiction, without prohibiting or invalidating such provision
 in any other jurisdiction or the remaining provisions of this Agreement in any jurisdiction.

          10.10 Construction. The headings of the various articles, sections and subsections of this
 Agreement and the table of contents have been inserted for convenience only and shall not in any way
 affect the meaning or construction of any of the provisions hereof. Except as otherwise expressly
 provided herein and in the other Investment Documents, in the event of any inconsistency or conflict
 between any provision of this Agreement and any provision of any of the other Investment Documents,
 the provision of this Agreement shall control.

          10.11 Counterparts; Integration; Effectiveness. This Agreement may be executed in
 counterparts (and by different parties hereto in different counterparts), each of which shall constitute an
 original, but all of which when taken together shall constitute a single contract. This Agreement and the
 other Investment Documents constitute the entire contract among the parties relating to the subject matter
 hereof and supersede any and all previous agreements and understandings, oral or written, relating to the
 subject matter hereof (except for the Fee Letters). Except as provided in Section 3.1, this Agreement
 shall become effective when it shall have been executed by the Lenders and when the Lenders shall have
 received counterparts hereof that, when taken together, bear the signatures of each of the other parties
 hereto. Delivery of an executed counterpart of a signature page of this Agreement by facsimile or in
 electronic format (e.g., “pdf,” “tif” or similar file formats) shall be effective as delivery of a manually
 executed counterpart of this Agreement.

         10.12 Confidentiality. Each Lender and the Collateral Agent shall exercise the same degree of
 care that it exercises with respect to its own proprietary information of the same types to maintain in
 confidence, in accordance with its customary procedures for handling confidential information, all
 Confidential Information; provided, that each Lender and the Collateral Agent and their respective

 3203309v7 18865.00070                                72
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
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                                       Exhibit    Page 473  of 680
                                    Exhibit 1-29 Page 315 of 500


 Affiliates shall have the right to disclose Confidential Information to the following Persons (and with
 respect to Persons covered under clauses (a) through (f), if it directs such Persons not to disclose such
 Confidential Information as required under this Agreement):

          (a)       such Person’s Affiliates;

          (b)       such Person’s or such Person’s Affiliates’ lenders, funding or financing sources and
 rating agencies;

         (c)     such Person’s or such Person’s Affiliates’ directors, officers, trustees, partners, members,
 managers, employees, agents, advisors, representatives, attorneys, equity owners, professional consultants
 and portfolio management services, or current or prospective investors;

          (d)       any other Lender and any successor or assign of any Lender;

         (e)      any Person to whom any Lender offers to sell, assign or transfer any Loan or any part
 thereof or any interest or participation therein;

          (f)       any Person that provides statistical analysis and/or information services to such Lender or
 its Affiliates;

          (g)     any Person (A) to the extent required by applicable law, (B) in response to any subpoena
 or other legal process or informal investigative demand, (C) in connection with any litigation, or (D) in
 connection with the actual or potential exercise or enforcement of any right or remedy under any Loan
 Document;

         (h)     any Person to the extent required by the Intercreditor Agreement or any other
 subordination agreement relating to the Obligations;

          (i)       any Person to the extent expressly contemplated or permitted by the Investment
 Documents;

         (j)      any Person in order to disclose the tax treatment and tax aspects of the transactions
 contemplated by the Investment Documents, and all materials of any kind (including opinions or other tax
 analyses) that are provided to such parties related to such tax treatment and tax aspect;

         (k)     any Governmental Authority (including, without limitation, in connection with filings,
 submissions and any other similar documentation required or customary to comply with Securities and
 Exchange Commission filing requirements) having or claiming authority to regulate or oversee any aspect
 of such Person’s business or any Affiliate of such Person in connection with the exercise of such authority
 or claimed authority.

          In addition to the foregoing, each the Borrowers agrees and consents that the Collateral Agent,
 each Lender and each Affiliate thereof shall be permitted to (i) disclose information about the financing
 transactions in the ordinary course of its business and in a manner consistent with the public disclosures
 by such Person in respect of similar financings (including, without limitation, (x) the publication of
 announcements, tombstone and press releases regarding the transactions subject to the consent of the
 Borrowers, which consent shall not be unreasonably withheld, delayed or conditioned and (y) both during
 and after the termination of this Agreement, including on its website a link to the website(s) of the Credit
 Parties), (ii) make any disclosures required by or deemed advisable under applicable Requirements of
 Law, including federal and state securities laws and applicable securities exchanges and markets; and (iii)

 3203309v7 18865.00070                                  73
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
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                                     Exhibit    Page 474  of 680
                                  Exhibit 1-29 Page 316 of 500


 make public disclosures to its investors, potential investors and analysts customary in the ordinary course
 of its business and in a manner consistent with the public disclosures by such Person in respect of similar
 financings. The parties hereto expressly agree that nothing in this Agreement or any other Investment
 Document shall restrict the Collateral Agent, any Lender or any Affiliate thereof from disclosing the
 amount of the Loans in the ordinary course of its business, including without limitation in (x) filings with
 or communications to investors required by the United States Securities and Exchange Commission or
 applicable foreign counterpart, (y) earnings press releases and (z) finance industry publications for the
 purpose of obtaining league table credit or similar rankings.

         10.13 USA Patriot Act Notice. Each Lender that is subject to the PATRIOT Act hereby notifies
 each Borrower that pursuant to the requirements of the PATRIOT Act, it is required to obtain, verify and
 record information that identifies each Borrower, which information includes the name and address of the
 Borrowers and other information that will allow such Lender to identify the Borrowers in accordance with
 the PATRIOT Act.

          10.14 Joint and Several Liability of Borrowers.

         (a)      The Borrowers are jointly and severally liable for the Obligations. The Obligations of the
 Borrowers are independent of each other, and a separate action or actions may be brought and prosecuted
 against any Borrower to enforce this Agreement the other Investment Documents, irrespective of whether
 any action is brought against any other Borrower or whether any other Borrower is joined in any such
 action or actions.

          (b)      Notwithstanding any provision to the contrary contained herein or in any other of the
 Investment Documents, to the extent the obligations of any Borrower to repay any Obligations incurred
 by another Borrower shall be adjudicated to be invalid or unenforceable for any reason (including,
 without limitation, because of any applicable state or federal law relating to fraudulent conveyances or
 transfers) then the obligations of such Borrower hereunder shall be limited to the maximum amount that is
 valid and enforceable under applicable law (whether federal or state and including, without limitation, the
 Bankruptcy Code).

          (c)     Each Borrower agrees that all indebtedness and other obligations, whether now or
 hereafter existing, of any Credit Party to such Borrower, and any intercompany receivables, together with
 any interest thereon, shall be, and hereby are, subordinated and made junior in right of payment to the
 Obligations. Each Borrower further agrees that if any amount shall be paid to or any distribution received
 by it (i) on account of any such indebtedness at any time after the occurrence and during the continuance
 of an Event of Default, or (ii) on account of any such rights of subrogation, indemnity, contribution or
 reimbursement at any time prior to the satisfaction of Obligations hereunder, such amount or distribution
 shall be deemed to have been received and to be held in trust for the benefit of the Lenders, and shall
 forthwith be delivered to the Lenders in the form received (with any necessary endorsements in the case
 of written instruments), to be applied against the Obligations, whether or not matured, in accordance with
 the terms hereof or the applicable Investment Documents and without in any way discharging, limiting or
 otherwise affecting the liability of such Borrower under any other provision of this Agreement or any
 other Investment Document.

          (d)      To the fullest extent permitted under applicable law, each Borrower hereby waives any
 right to require the Collateral Agent or any Lender to (i) proceed against any Borrower, any other
 guarantor or any other party, or (ii) pursue any other remedy in the Collateral Agent’s or any Lender’s
 power whatsoever. Each Borrower waives any defense based on or arising out of any defense of any
 other Borrower, any other guarantor or any other party other than the satisfaction in full of the
 Obligations, including without limitation any defense based on or arising out of the disability of any other

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     9:18-ap-01058-DS            Doc
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                                      Exhibit    Page 475  of 680
                                   Exhibit 1-29 Page 317 of 500


 Borrower, any other guarantor or any other party or the cessation from any cause of the liability of any
 other Borrower other than the satisfaction in full of Obligations. Each Borrower waives all presentments,
 demands for performance, protests and notices, including without limitation notices of nonperformance,
 notices of protest, notices of dishonor, notices of acceptance, and notices of the existence, creation or
 incurring of new or additional indebtedness.

          10.15 Intercreditor Agreement. Notwithstanding anything herein to the contrary, the
 Obligations evidenced by this Agreement and the other Investment Documents, the Liens and security
 interests granted to the Collateral Agent pursuant to the terms hereof and thereof and the exercise of any
 right or remedy by the Collateral Agent or the Lenders hereunder or thereunder are subject to the
 provisions of the Intercreditor Agreement. In the event of any conflict between the terms of the
 Intercreditor Agreement and any other Investment Document, the terms of the Intercreditor Agreement
 shall govern. Notwithstanding anything that may be contained herein to the contrary, all of the provisions
 of the Investment Documents, including the covenants of the Credit Parties contained herein and therein
 and all of the rights, remedies and powers provided for herein and therein, are subject to the provisions of
 the Intercreditor Agreement, provided that (i) any breach by any Credit Party of its obligations hereunder
 or thereunder shall nonetheless constitute a default (and to the extent provided herein or therein, an Event
 of Default) hereunder or thereunder, as applicable, notwithstanding the foregoing and (ii) the requirement
 to deliver possession or control of any collateral to the Collateral Agent shall be subject to the
 requirements under the Senior Loan Agreement for the Borrowers to deliver such collateral to the Senior
 Agent.

          10.16 Classified Information. The rights of the Investor under this Agreement and the other
 Investment Documents as they pertain to government contracts or other materials that contain classified
 or sensitive unclassified information are subject to Applicable Laws, including, without limitation, DOD
 Directive 5220.22-M, National Industrial Security Program Operations Manual, and nothing in this
 Agreement or the other Investment Documents shall cause the Borrowers to violate such applicable laws.

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                          Exhibit 1-29 Page 318 of 500
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                          Exhibit 1-29 Page 320 of 500
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                          Exhibit 1-29 Page 321 of 500
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                                      Exhibit    Page 480  of 680
                                   Exhibit 1-29 Page 322 of 500


                                                     Schedule 1.1(a)

                                                 Commitments and
                                                 Notice Addresses

                                                      Commitments

                              Lender                                          Commitment

              Avante Mezzanine Partners SBIC, L.P.                             $7,000,000
                  Fidus Mezzanine Capital II, L.P.                             $7,000,000

                               Total                                          $14,000,000

                                                     Notice Addresses

                             Party                                            Address

          Borrowers and Parent                            c/o Blue Wolf Capital Fund II, L.P.
                                                          One Liberty Plaza, 52nd Floor
                                                          New York, NY 10006
                                                          Attention: Adam Blumenthal/Charles Miller
                                                          Facsimile: (646) 607-3889

                                                          With a copy to (which shall not constitute
                                                          notice):

                                                          Holland & Knight LLP
                                                          10 St. James Avenue
                                                          Boston, MA 02116
                                                          Attention: Kerry S. Kehoe, Esq.
                                                          Facsimile: (617) 523-6850

          Avante Mezzanine Partners SBIC, L.P.            Avante Mezzanine Partners SBIC, L.P.
                                                          c/o Avante Mezzanine Partners
                                                          11150 Santa Monica Boulevard, Suite 1470
                                                          Los Angeles, CA 90025
                                                          Attention:       Cliff A. Lyon
                                                          Electronic Mail: clyon@avantemezzanine.com
                                                          Facsimile:        (310) 728-1755
                                                          Telephone:       (310) 667-9242

                                                          With a copy to:

                                                          Avante Mezzanine Partners SBIC, L.P.
                                                          c/o Avante Mezzanine Partners
                                                          11150 Santa Monica Boulevard, Suite 1470
                                                          Los Angeles, CA 90025
                                                          Attention: Jeri J. Harman
                                                          Electronic Mail: jharman@avantemezzanine.com

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                                     Exhibit    Page 481  of 680
                                  Exhibit 1-29 Page 323 of 500


                                                  Facsimile: (310) 728-1762
                                                  Telephone: (310) 667-9242

          Fidus Mezzanine Capital II, L.P.        1603 Orrington Avenue
                                                  Suite 1005
                                                  Evanston, IL 60201
                                                  Attention: Andy Worth and Cary Schaefer
                                                  Fax: (847) 859-3953

                                                  with a copy to (which shall not constitute
                                                  notice) :

                                                  Robinson, Bradshaw & Hinson, P.A.
                                                  101 North Tryon Street, Suite 1900
                                                  Charlotte, NC 28246
                                                  Attention: John Herring
                                                  Fax: (704) 373-3985




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                                    Exhibit    Page 482  of 680
                                 Exhibit 1-29 Page 324 of 500


                                                  Schedule 1.1(b)

                                    Consolidated EBITDA; Capital Expenditures


              Month                        Consolidated EBITDA                  Capital Expenditures
          September 2012                          $1,142,700                           $358,300
           October 2012                           $ 434,100                            $126,800
          November 2012                           $ 909,700                            $582,900
          December 2012                           $1,372,200                           $505,900
           January 2013                           $ 584,100                            $214,300
           February 2013                          $ 943,300                            $ 89,900
            March 2013                            $1,855,600                           $101,900
             April 2013                           $ 570,100                            $481,400
             May 2013                             $ 797,400                            $117,800
             June 2013                            $1,328,600                           $233,100
             July 2013                            $ 934,700                            $135,500
            August 2013                           $ 841,700                            $358,900
          September 2013              Actual Consolidated EBITDA of        Actual Capital Expenditures of
                                           the Borrowers and their             the Borrowers and their
                                      Subsidiaries and HCM calculated     Subsidiaries and HCM calculated
                                       in a manner consistent with the     in a manner consistent with the
                                        calculations used to derive the     calculations used to derive the
                                            foregoing amounts and               foregoing amounts and
                                         reasonably approved by the          reasonably approved by the
                                               Required Lenders                    Required Lenders
  October 2013 (for periods prior     Actual Consolidated EBITDA of        Actual Capital Expenditures of
       to the Closing Date)                the Borrowers and their             the Borrowers and their
                                      Subsidiaries and HCM calculated     Subsidiaries and HCM calculated
                                       in a manner consistent with the     in a manner consistent with the
                                        calculations used to derive the     calculations used to derive the
                                            foregoing amounts and               foregoing amounts and
                                         reasonably approved by the          reasonably approved by the
                                               Required Lenders                    Required Lenders




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                          Exhibit 1-29 Page 325 of 500




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                                     Exhibit    Page 484  of 680
                                  Exhibit 1-29 Page 326 of 500




                               PLEDGE AND SECURITY AGREEMENT

          THIS PLEDGE AND SECURITY AGREEMENT, dated as of the 11th day of October, 2013
 (this “Agreement”), is made by BW PIEZO HOLDINGS, LLC, a Delaware limited liability company
 (“BWP” or the “Parent”); CTG ADVANCED MATERIALS, LLC, a Delaware limited liability
 company and wholly owned subsidiary of BWP (“CTG”); CHANNEL TECHNOLOGIES GROUP,
 LLC, a California limited liability company and wholly owned subsidiary of BWP (“Channel”); and
 ELECTRO-OPTICAL INDUSTRIES, LLC, a California limited liability company and wholly owned
 subsidiary of Channel (“Electro” and, together with BWP, CTG, Channel, and certain Subsidiaries of
 BWP that from time to time after the date hereof become Borrowers under the Investment Agreement,
 each, a “Borrower” and, collectively, the “Borrowers”), and by each other Subsidiary of the Parent that,
 after the date hereof, executes an instrument of accession hereto substantially in the form of Exhibit C (a
 “Pledgor Accession”; the undersigned and such other Subsidiaries, collectively, together with the Parent
 and the Borrowers, the “Pledgors”), in favor of FIDUS MEZZANINE CAPITAL II, L.P., as Collateral
 Agent for the Lenders party to the Investment Agreement referred to below (in such capacity, the
 “Collateral Agent”), for the benefit of the Secured Parties (as hereinafter defined). Except as otherwise
 provided herein, capitalized terms used herein without definition have the meanings given to them in the
 Investment Agreement referred to below.

                                                RECITALS

         A.       The Borrowers, the Lenders and the Collateral Agent are parties to an Investment
 Agreement, dated as of the date hereof (as amended, modified, restated or supplemented from time to
 time, the “Investment Agreement”), providing for a term loan in the aggregate original principal amount
 of $14,000,000 to the Borrowers upon the terms and subject to the conditions set forth therein.

        B.    Certain other Subsidiaries of the Borrowers may from time to time after the date hereof
 become Borrowers under the Investment Agreement by executing a joinder thereto.

          C.      It is a condition to the extension of credit to the Borrowers under the Investment
 Agreement that the Pledgors as of the Closing Date shall have agreed, by executing and delivering this
 Agreement, to secure the payment in full of their respective obligations under the Investment Agreement
 and the other Investment Documents (other than the Equity Investment Documents). The Secured Parties
 are relying on this Agreement in their decision to extend credit to the Borrowers under the Investment
 Agreement, and would not enter into the Investment Agreement without the execution and delivery of this
 Agreement by the Pledgors.

         D.      The Pledgors will obtain benefits as a result of the extension of credit to the Borrowers
 under the Investment Agreement, which benefits are hereby acknowledged, and, accordingly, desire to
 execute and deliver this Agreement.

                                    STATEMENT OF AGREEMENT

          NOW, THEREFORE, in consideration of the foregoing and other good and valuable
 consideration, the receipt and sufficiency of which are hereby acknowledged, to induce the Secured
 Parties to enter into the Investment Agreement and to induce the Lenders to extend credit to the
 Borrowers thereunder, each Pledgor hereby agrees as follows:




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                                     Exhibit    Page 485  of 680
                                  Exhibit 1-29 Page 327 of 500


                                                ARTICLE I

                                              DEFINITIONS

         1.1      Defined Terms. The following terms that are defined in the Uniform Commercial Code
 (as hereinafter defined) are used in this Agreement as so defined (and, in the event any such term is
 defined differently for purposes of Article 9 of the Uniform Commercial Code than for any other purpose
 or purposes of the Uniform Commercial Code, the Article 9 definition shall govern): Account, Chattel
 Paper, Commercial Tort Claim, Commodity Account, Commodity Intermediary, Deposit Accounts,
 Documents, Electronic Chattel Paper, Equipment, Fixtures, General Intangibles, Goods, Instruments,
 Inventory, Investment Property, Letter-of-Credit Rights, Record, Securities Account, Securities
 Intermediary, Software, Supporting Obligations and Tangible Chattel Paper. In addition, the following
 terms have the meanings set forth below:

          “Acquisition Seller Undertakings” means collectively, all representations, warranties, covenants,
 indemnification agreements and other agreements by HCM, DHAN and Dr. Pengdi Han (collectively,
 the “HCM Sellers”) under the HCM Acquisition Agreement in favor of any of the Borrowers in each case
 pursuant to the terms of the HCM Acquisition Agreement and (ii) all representations, warranties,
 covenant, indemnification agreements and other agreements by any other sellers under any other
 acquisition agreement in favor of any of the Borrowers or any other Credit Party, in each case pursuant to
 the terms thereof.

          “Collateral” has the meaning given to such term in Section 2.1.

          “Collateral Accounts” has the meaning given to such term in Section 6.3.

         “Contracts” means, collectively, all rights of each Pledgor under all leases, contracts and
 agreements to which such Pledgor is now or hereafter a party, including, without limitation, all rights,
 privileges and powers under Ownership Agreements and Licenses, together with any and all extensions,
 modifications, amendments and renewals of such leases, contracts and agreements and all rights of such
 Pledgor to receive moneys due or to become due thereunder or pursuant thereto and to amend, modify,
 terminate or exercise rights under such leases, contracts and agreements.

         “Copyright Collateral” means, collectively, all Copyrights and Copyright Licenses to which any
 Pledgor is or hereafter becomes a party.

          “Copyright License” means any agreement now or hereafter in effect granting any right to any
 third party under any Copyright now or hereafter owned by any Pledgor or which any Pledgor otherwise
 has the right to license, or granting any right to any Pledgor under any property of the type described in
 the definition of Copyright herein now or hereafter owned by any third party, and all rights of any Pledgor
 under any such agreement.

          “Copyrights” means, collectively, all of each Pledgor’s copyrights, copyright registrations and
 applications for copyright registration, whether under the laws of the United States or any other country
 or jurisdiction, including all recordings, supplemental registrations and derivative or collective work
 registrations, and all renewals and extensions thereof, in each case whether now owned or existing or
 hereafter acquired or arising.

          “License” means any Copyright License, Patent License or Trademark License.




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                      Exhibit    Page 486  of 680
                                   Exhibit 1-29 Page 328 of 500


           “Mobile Goods” means, collectively, all of each Pledgor’s motor vehicles, tractors, trailers,
 aircraft, rolling stock and other like property, whether or not the title thereto is governed by a certificate
 of title or ownership, in each case whether now owned or existing or hereafter acquired.

           “Ownership Agreement” means any partnership agreement, joint venture agreement, limited
 liability company operating agreement, stockholders agreement or other agreement creating, governing or
 evidencing any capital stock or equity interests and to which any Pledgor is now or hereafter becomes a
 party, as any such agreement may be amended, modified, supplemented, restated or replaced from time to
 time.

          “Patent Collateral” means, collectively, all Patents and all Patent Licenses to which any Pledgor
 is or hereafter becomes a party.

          “Patent License” means any agreement now or hereafter in effect granting to any third party any
 right to make, use or sell any invention on which a Patent, now or hereafter owned by any Pledgor or
 which any Pledgor otherwise has the right to license, is in existence, or granting to any Pledgor any right
 to make, use or sell any invention on which property of the type described in the definition of Patent
 herein, now or hereafter owned by any third party, is in existence, and all rights of any Pledgor under any
 such agreement.

         “Patents” means, collectively, all of each Pledgor’s letters patent, whether under the laws of the
 United States or any other country or jurisdiction, all recordings and registrations thereof and applications
 therefor, including, without limitation, the inventions and improvements described therein, and all
 reissues, continuations, divisions, renewals, extensions, substitutions and continuations-in-part thereof, in
 each case whether now owned or existing or hereafter acquired or arising.

           “Pledged Interests” means, collectively, (i) all of the issued and outstanding shares, interests or
 other equivalents of capital stock of each Person that is a direct Subsidiary of any Pledgor as of the date
 hereof or that becomes a direct Subsidiary of any Pledgor at any time after the date hereof, at any time
 now or hereafter owned by any Pledgor, whether voting or non-voting and whether common or preferred;
 (ii) all partnership, joint venture, limited liability company or other equity interests in each Person not a
 corporation that is a direct Subsidiary of any Pledgor as of the date hereof or that becomes a direct
 Subsidiary of any Pledgor at any time after the date hereof, at any time now or hereafter owned by any
 Pledgor; (iii) all options, warrants and other rights to acquire, and all securities convertible into, any of the
 foregoing; (iv) all rights to receive interest, income, dividends, distributions, returns of capital and other
 amounts (whether in cash, securities, property, or a combination thereof), and all additional stock,
 warrants, options, securities, interests and other property, from time to time paid or payable or distributed
 or distributable in respect of any of the foregoing (but subject to the provisions of Section 5.3), including,
 without limitation, all rights of such Pledgor to receive amounts due and to become due under any
 Ownership Agreement or upon the termination thereof; (v) all rights of access to the books and records of
 any such Person; and (vi) all other rights, powers, privileges, interests, claims and other property in any
 manner in respect of any of the foregoing, of whatever kind or character (including any tangible or
 intangible property or interests therein), and whether provided by contract or granted or available under
 applicable law in connection therewith, including, without limitation, such Person’s right to vote and to
 manage and administer the business of any such Subsidiary pursuant to any applicable Ownership
 Agreement, in each case together with all certificates, instruments and entries upon the books of financial
 intermediaries at any time evidencing any of the foregoing.

          “Proceeds” has the meaning given to such term in Section 2.1.

          “Secured Parties” means, collectively, the Lenders and the Collateral Agent.


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 487  of 680
                                   Exhibit 1-29 Page 329 of 500


         “Trademark Collateral” means, collectively, all Trademarks and Trademark Licenses to which
 any Pledgor is or hereafter becomes a party.

          “Trademark License” means any agreement now or hereafter in effect granting any right to any
 third party under any Trademark now or hereafter owned by any Pledgor or which any Pledgor otherwise
 has the right to license, or granting any right to any Pledgor under any property of the type described in
 the definition of Trademark herein now or hereafter owned by any third party, and all rights of any
 Pledgor under any such agreement.

          “Trademarks” means, collectively, all of each Pledgor’s trademarks, service marks, trade names,
 corporate and company names, business names, logos, trade dress, trade styles, other source or business
 identifiers, designs and general intangibles of a similar nature, whether under the laws of the United
 States or any other country or jurisdiction, all recordings and registrations thereof and applications
 therefor, all renewals, reissues and extensions thereof, all rights corresponding thereto, and all goodwill
 associated therewith or symbolized thereby, in each case whether now owned or existing or hereafter
 acquired or arising.

         “Uniform Commercial Code” means the Uniform Commercial Code as the same may be in effect
 from time to time in the State of New York; provided that if, by reason of applicable law, the validity or
 perfection of any security interest in any Collateral granted under this Agreement is governed by the
 Uniform Commercial Code as in effect in another jurisdiction, then as to the validity or perfection, as the
 case may be, of such security interest, “Uniform Commercial Code” means the Uniform Commercial
 Code as in effect from time to time in such other jurisdiction.

         1.2      Other Terms; Construction. All terms in this Agreement that are not capitalized shall,
 unless the context otherwise requires, have the meanings provided by the Uniform Commercial Code to
 the extent the same are used or defined therein.

                                                   ARTICLE II

                                 CREATION OF SECURITY INTEREST

         2.1      Pledge and Grant of Security Interest. Each Pledgor hereby pledges and collaterally
 assigns to the Collateral Agent, for the ratable benefit of the Secured Parties, and grants to the Collateral
 Agent, for the ratable benefit of the Secured Parties, a Lien upon and security interest in, all of such
 Pledgor’s right, title and interest in and to the following personal property of such Pledgor, in each case
 whether now owned or existing or hereafter acquired or arising and wherever located (collectively, the
 “Collateral”):

                   (i)     all Accounts;

                   (ii)    all Chattel Paper;

                   (iii)   the Commercial Tort Claims (if any) set forth on Annex I hereto;

                 (iv)     all Contracts (including, without limitation, all of the Credit Parties’ rights and
          remedies with respect to any and all of the Acquisition Seller Undertakings);

                   (v)     all Copyright Collateral;

                   (vi)    all Deposit Accounts;



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
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                                                                        06/28/19 15:36:30
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                                       Exhibit    Page 488  of 680
                                    Exhibit 1-29 Page 330 of 500


                   (vii)    all Documents;

                   (viii)   all Equipment;

                   (ix)     all Fixtures;

                   (x)      all General Intangibles;

                   (xi)     all Goods;

                   (xii)    all Instruments;

                   (xiii)   all Inventory;

                   (xiv)    all Investment Property;

                   (xv)     all Letter-of-Credit Rights;

                   (xvi)    all Patent Collateral;

                   (xvii)   all Pledged Interests;

                   (xviii) all Software;

                   (xix)    all Supporting Obligations;

                   (xx)     all Trademark Collateral;

                   (xxi)    all cash, cash equivalents and money of such Pledgor, wherever held;

                  (xxii) to the extent not covered or not specifically excluded by clauses (i) through (xxi)
          above, all of such Pledgor’s other personal property;

                  (xxiii) all Records evidencing or relating to any of the foregoing or that are otherwise
          necessary or useful in the collection thereof;

                   (xxiv) all accessions, additions, attachments, improvements, modifications and upgrades
          to, replacements of and substitutions for any of the foregoing; and

                   (xxv) any and all proceeds, as defined in the Uniform Commercial Code, products,
          rents, royalties and profits of or from any and all of the foregoing and, to the extent not otherwise
          included in the foregoing, (w) all payments under any insurance (whether or not the Collateral
          Agent is the loss payee thereunder), indemnity, warranty or guaranty with respect to any of the
          foregoing Collateral, (x) all payments in connection with any requisition, condemnation, seizure
          or forfeiture with respect to any of the foregoing Collateral, (y) all claims and rights (but not
          obligations) to recover for any past, present or future infringement or dilution of or injury to any
          Copyright Collateral, Patent Collateral or Trademark Collateral, and (z) all other amounts from
          time to time paid or payable under or with respect to any of the foregoing Collateral (collectively,
          “Proceeds”). For purposes of this Agreement, the term “Proceeds” includes whatever is
          receivable or received when Collateral or Proceeds are sold, exchanged, collected or otherwise
          disposed of, whether voluntarily or involuntarily.



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                                                       06/28/19 15:36:30
                                                                                14:56:52                    Desc
                                                                                                            Desc
                                      Exhibit    Page 489  of 680
                                   Exhibit 1-29 Page 331 of 500


                   Notwithstanding the foregoing, the Collateral Agent may, in its sole discretion, reject or
          refuse to accept for credit toward payment of the Secured Obligations any Collateral that is an
          Account, Instrument, Chattel Paper, lease or other obligation or property of any kind due or
          owing from or belonging to a Sanctioned Person.

                   Notwithstanding anything to the contrary contained herein, the term “Collateral” shall not
          include: (i) any rights or interests in any permit, lease, license, contract, or agreement, as such, if
          under the terms of such permit, lease, license, contract or agreement, or applicable law with
          respect thereto, the valid grant of a security interest or lien therein to the Collateral Agent is
          prohibited or would result in a default thereunder and such prohibition or default has not been or
          is not waived or the consent of the other party to such permit, lease, license, contract or
          agreement has not been or is not otherwise obtained or under applicable law such prohibition or
          default cannot be waived; provided that, any permit, license, contract or agreement excluded in
          accordance with the foregoing shall not be so excluded (a) to the extent such terms are, or would
          be (in the case of after-acquired property or changes to applicable law), rendered ineffective
          under Sections 9-406, 9-407, 9-408 or 9-409 of the Uniform Commercial Code of any relevant
          jurisdiction (or any successor provision) or any other applicable law (including the Bankruptcy
          Code) or principles of equity (as determined by an applicable court); or (b) if the applicable
          Pledgor has obtained all of the consents of such Governmental Authority or the other parties to
          such permit, lease, license, contract or agreement necessary for the collateral assignment of, or
          creation of a security interest in, such permit, lease, license, contract or agreement; provided
          further that, immediately upon the ineffectiveness, lapse or termination of any such terms in any
          such permit, lease, license, contract or agreement, the Collateral shall include, and the applicable
          Pledgor shall be deemed to have granted a security interest in, all such rights and interests therein
          as if such provision had never been in effect; and (ii) any application for a Trademark filed with
          the United States Patent and Trademark Office (“PTO”) pursuant to 15 U.S.C. § 1501 Section
          1(b) unless and until evidence of use of the Trademark in interstate commerce is submitted to the
          PTO pursuant to 15 U.S.C. § 1501 Section 1(c) or Section 1(d), at which time such Trademark
          shall automatically become part of the Collateral and subject to the security interest granted
          hereunder. In the event that any material personal property of a Pledgor is excluded from the
          term “Collateral” by virtue of clause (i) above, such Grantor agrees to use commercially
          reasonable efforts, when requested by the Collateral Agent, to obtain all requisite consents to
          enable such Grantor to provide a security interest in such property pursuant hereto as promptly as
          practicable.

           2.2     Security for Secured Obligations. This Agreement and the Collateral secure the full and
 prompt payment, at any time and from time to time as and when due (whether at the stated maturity, by
 acceleration or otherwise), of all Obligations of the Borrowers under the Investment Agreement and the
 other Investment Documents (other than, for avoidance of doubt, the Equity Investment Documents),
 including, without limitation, all principal of and interest on the Loans, and all fees, expenses, indemnities
 and other amounts payable by the Borrowers under the Investment Agreement or any other Investment
 Document other than the Equity Investment Documents (including interest accruing after the filing of a
 petition or commencement of a case by or with respect to any Borrower seeking relief under any
 applicable federal and state laws pertaining to bankruptcy, reorganization, arrangement, moratorium,
 readjustment of debts, dissolution, liquidation or other debtor relief, specifically including, without
 limitation, the Bankruptcy Code and any fraudulent transfer and fraudulent conveyance laws, whether or
 not the claim for such interest is allowed in such proceeding), including, but not limited to, (i) all such
 liabilities and obligations that, but for the operation of the automatic stay under Section 362(a) of the
 Bankruptcy Code, would become due, and (ii) all fees, costs and expenses payable by the Pledgors under
 Section 8.1, in each case under (a) and (b) above whether now existing or hereafter created or arising and
 whether direct or indirect, absolute or contingent, due or to become due (the liabilities and obligations of


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                              Filed 03/31/20
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                                                                                14:56:52                    Desc
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                                      Exhibit    Page 490  of 680
                                   Exhibit 1-29 Page 332 of 500


 the Pledgors described in this Section 2.2, collectively, the “Secured Obligations”). Notwithstanding
 anything to the contrary contained herein, in no event shall “Secured Obligations” include any obligations
 or liabilities of the Parent under or arising from the Equity Investment Documents.

                                                 ARTICLE III

                               REPRESENTATIONS AND WARRANTIES

          Each Pledgor represents and warrants as follows:

          3.1       Ownership of Collateral. Each Pledgor owns, or has valid rights as a lessee or licensee
 with respect to, all Collateral purported to be pledged by it hereunder, free and clear of any Liens except
 for the Liens granted to the Collateral Agent, for the benefit of the Secured Parties, pursuant to this
 Agreement, and except for other Permitted Liens. No security agreement, financing statement or other
 public notice with respect to all or any part of the Collateral is on file or of record in any government or
 public office, and no Pledgor has filed or consented to the filing of any such statement or notice, except
 (i) Uniform Commercial Code financing statements naming the Collateral Agent as secured party,
 (ii) security instruments filed in the U.S. Copyright Office or the U.S. Patent and Trademark Office
 naming the Collateral Agent as secured party, (iii) filings with respect to which termination statements
 and other necessary releases have been delivered to the Collateral Agent for filing, (iv) termination filings
 not yet made with respect to which the underlying Liens have been released, and (v) as may be otherwise
 permitted by the Investment Agreement.

          3.2      Security Interests; Filings. This Agreement, together with (i) the filing, with respect to
 each Pledgor, of duly completed Uniform Commercial Code financing statements naming such Pledgor as
 debtor, the Collateral Agent as secured party, and describing the Collateral, in the jurisdictions set forth
 with respect to such Pledgor on Annex A hereto, (ii) to the extent required by applicable law, the filing,
 with respect to each relevant Pledgor, of duly completed and executed security agreements in the forms
 set forth as Exhibits A and B with the PTO, as appropriate, with regard to registered Copyright Collateral,
 Patent Collateral and Trademark Collateral of such Pledgor, as the case may be, (iii) in the case of
 uncertificated Pledged Interests consisting of capital stock, registration of transfer thereof to the Collateral
 Agent on the issuer’s books or the execution by the issuer of a control agreement satisfying the
 requirements of Section 8-106 (or its successor provision) of the Uniform Commercial Code, and (iv) the
 delivery to the Collateral Agent, for its benefit and the benefit of the Secured Parties, of all stock
 certificates and Instruments included in the Collateral (and assuming continued possession thereof by the
 Collateral Agent), creates, and, to the extent such Collateral is subject to Article 9 of the Uniform
 Commercial Code and of such filings, registrations of transfer and delivery, at all times shall constitute, a
 valid and perfected security interest in and Lien upon the Collateral in favor of the Collateral Agent, for
 the benefit of the Secured Parties, to the extent a security interest therein can be perfected by such filings
 or possession, as applicable, superior and prior to the rights of all other Persons therein (except for
 Permitted Liens).

          3.3      Locations. Annex B lists, as to each Pledgor, (i) its exact legal name, (ii) the jurisdiction
 of its incorporation or organization, its federal tax identification number, and (if applicable) its
 organizational identification number, (iii) the addresses of its chief executive office and each other place
 of business, (iv) the address of each location of all material books and records or material information
 evidencing or relating to the Collateral of each Pledgor, and (v) the address of each location at which any
 material Equipment or material Inventory (other than Mobile Goods and Goods in transit) owned by such
 Pledgor is kept or maintained. Except as may be otherwise noted therein, all locations identified in
 Annex B are leased by the applicable Pledgor. No Pledgor (x) presently conducts business under any
 prior or other corporate or company name or under any trade or fictitious names, except as indicated


 3207414v1 18865.00070
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
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                                      Exhibit    Page 491  of 680
                                   Exhibit 1-29 Page 333 of 500


 beneath its name on Annex B, (y) has entered into any contract or granted any Lien within the past five
 years under any name other than its legal corporate name or a trade or fictitious name indicated on
 Annex B, or (z) has filed any tax return under any name other than its exact legal name, except as
 indicated beneath its name on Annex B.

           3.4     Authorization; Consent. No authorization, consent or approval of, or declaration or filing
 with, any Governmental Authority (including, without limitation, any notice filing with state tax or
 revenue authorities required to be made by account creditors in order to enforce any Accounts in such
 state) is required for the valid execution, delivery and performance by any Pledgor of this Agreement, the
 grant by it of the Lien and security interest in favor of the Collateral Agent provided for herein, or the
 exercise by the Collateral Agent of its rights and remedies hereunder, except for (i) the filings described
 in Section 3.2, (ii) in the case of Accounts owing from any federal governmental agency or authority, the
 filing by the Collateral Agent of a notice of assignment in accordance with the federal Assignment of
 Claims Act of 1940, as amended, and (iii) in the case of Pledged Interests, such filings and approvals as
 may be required in connection with a disposition of any such Pledged Interests by laws affecting the
 offering and sale of securities generally.

          3.5     No Restrictions. There are no statutory or regulatory restrictions, prohibitions or
 limitations on any Pledgor’s ability to grant to the Collateral Agent a Lien upon and security interest in
 the Collateral pursuant to this Agreement or (except for the provisions of the federal Anti-Assignment Act
 and Anti-Claims Act, as amended) on the exercise by the Collateral Agent of its rights and remedies
 hereunder (including any foreclosure upon or collection of the Collateral), and there are no contractual
 restrictions on any Pledgor’s ability to grant such Lien and security interest.

           3.6    Pledged Interests. As of the date hereof, the Pledged Interests required to be pledged
 hereunder by each Pledgor consist of the number and type of shares of capital stock (in the case of issuers
 that are corporations) or the percentage and type of other equity interests (in the case of issuers other than
 corporations) as described beneath such Pledgor’s name in Annex C. All of the Pledged Interests have
 been duly and validly issued and are fully paid and nonassessable (or, in the case of partnership, limited
 liability company or similar Pledged Interests, not subject to any capital call or other additional capital
 requirement) and not subject to any preemptive rights, warrants, options or similar rights or restrictions in
 favor of third parties or any contractual or other restrictions upon transfer under the applicable
 organizational documents. As to each issuer thereof, the Pledged Interests pledged hereunder constitute
 100% of the outstanding capital stock of or other equity interests in such issuer, except as set forth in
 Annex C .

          3.7     Intellectual Property. Annexes D, E and F correctly set forth all registered Copyrights,
 Patents and Trademarks owned by any Pledgor as of the date hereof (and as amended from time to time
 pursuant to Section 4.4) and used or proposed to be used in its business. Each such Pledgor owns or
 possesses the valid right to use all such Copyrights, Patents and Trademarks which are material to the
 Pledgors business; no claim has been made in writing that any of the registered Copyrights, Patents or
 Trademarks is invalid or unenforceable or violates or infringes the rights of any other Person to the extent
 such invalidity, enforceability or infringement could reasonably be expected to have a Material Adverse
 Effect, and there is no such violation or infringement in existence; and to the knowledge of such Pledgor,
 no other Person is presently infringing upon the rights of such Pledgor with regard to any such
 Copyrights, Patents or Trademarks.

         3.8      Deposit Accounts. Annex G lists, as of the date hereof (and as amended from time to
 time pursuant to Section 4.6), all Deposit Accounts maintained by any Pledgor, and lists in each case the
 name in which the account is held, the name of the depository institution, the account number, and a
 description of the type or purpose of the account.


 3207414v1 18865.00070
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                 Desc
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                                      Exhibit    Page 492  of 680
                                   Exhibit 1-29 Page 334 of 500


         3.9     Securities and Commodity Accounts. Annex H lists, as of the date hereof (and as
 amended from time to time pursuant to Section 4.7), all Securities Accounts and Commodity Accounts
 maintained by any Pledgor with any Securities Intermediary or Commodity Intermediary, and lists in each
 case the name in which the account is held, the name of the Securities Intermediary or Commodity
 Intermediary, the account number, and a description of the type or purpose of the account.

         3.10     Documents of Title. No bill of lading, warehouse receipt or other Document or
 Instrument of title is outstanding with respect to any Collateral other than Mobile Goods and other than
 Inventory in transit in the ordinary course of business to a location set forth on Annex B or to a customer
 of a Pledgor.

         3.11    Commercial Tort Claims. Annex I lists, as of the date hereof and to the knowledge of
 each Pledgor, all Commercial Tort Claims existing in favor of any Pledgor.

                                               ARTICLE IV

                                               COVENANTS

          4.1      Change of Name, Locations, etc. No Pledgor will (i) change its name, identity or
 corporate structure, (ii) change its chief executive office from the location thereof listed on Annex B,
 (iii) change the jurisdiction of its incorporation or organization from the jurisdiction listed on Annex B
 (whether by merger or otherwise), (iv) file any document with the Internal Revenue Service using any
 name other than its exact legal name listed on Annex B, or (v) remove any Collateral (other than in the
 ordinary course of business), or any books, records or other information relating to Collateral, from the
 applicable location thereof listed on Annex B, or keep or maintain any Collateral at a location not listed
 on Annex B, unless in each case such Pledgor has (1) given twenty (20) days’ prior written notice to the
 Collateral Agent of its intention to do so, together with information regarding any such new location and
 such other information in connection with such proposed action as the Collateral Agent may reasonably
 request, and (2) delivered to the Collateral Agent ten (10) days prior to any such change or removal such
 documents, instruments and financing statements as may be required by the Collateral Agent, all in form
 and substance reasonably satisfactory to the Collateral Agent, paid all necessary filing and recording fees
 and taxes, and taken all other actions reasonably requested by the Collateral Agent (including, at the
 request of the Collateral Agent, delivery of opinions of counsel reasonably satisfactory to the Collateral
 Agent to the effect that all such actions have been taken), in order to perfect and maintain the Lien upon
 and security interest in the Collateral provided for herein in accordance with the provisions of
 Section 3.2.

          4.2      Records; Inspection.

          (a)      Each Pledgor will keep and maintain at its own cost and expense satisfactory and
 complete records of the Accounts and all other Collateral, including, without limitation, records of all
 payments received, all credits granted thereon, all merchandise returned and all other documentation
 relating thereto, and will furnish to the Collateral Agent from time to time such statements, schedules and
 reports (including, without limitation, accounts receivable aging schedules) with regard to the Collateral
 as the Collateral Agent may reasonably request.

         4.3      Delivery of Certain Collateral; Further Actions. All certificates or Instruments
 representing or evidencing any Accounts, Investment Property or other Collateral with a value in excess
 of $25,000 shall be delivered promptly to the Collateral Agent pursuant hereto to be held as Collateral
 hereunder, shall be in form suitable for transfer by delivery and shall be delivered together with undated
 stock powers duly executed in blank, appropriate endorsements or other necessary instruments of


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                                       Exhibit    Page 493  of 680
                                    Exhibit 1-29 Page 335 of 500


 registration, transfer or assignment, duly executed and in form and substance satisfactory to the Collateral
 Agent, and in each case together with such other instruments or documents as the Collateral Agent may
 reasonably request. Each Pledgor will, at its own cost and expense, cooperate with the Collateral Agent
 in obtaining a control agreement, in form and substance reasonably satisfactory to the Collateral Agent,
 and in taking such other actions as may be requested by the Collateral Agent from time to time with
 respect to any Investment Property or other Collateral in which a security interest may be perfected by (or
 can be perfected only by) control under the Uniform Commercial Code; provided, however, Pledgors
 shall not be obligated to obtain control agreements with respect to any (i) payroll or similar benefits
 deposit accounts, (ii) account having a balance of less than $75,000 or $150,000 in the aggregate for all
 such accounts, (iii) account maintained with the Senior Agent, or (iv) any other account for which a
 control agreement is not required to be obtained pursuant to Section 5.16(a) of the Investment
 Agreement.

          4.4      Intellectual Property.

           (a)     Each applicable Pledgor will, at its own expense, execute and deliver to the Collateral
 Agent on the Closing Date fully completed assignments in the forms of Exhibits A and B, as applicable,
 for recordation in the U.S. Copyright Office or the U.S. Patent and Trademark Office with regard to any
 Copyright Collateral, Patent Collateral or Trademark Collateral, as the case may be, described in
 Annex D, E or F hereto. In the event that after the date hereof any Pledgor shall acquire any registered
 Copyright, Patent or Trademark, or effect any registration of any Copyright, Patent or Trademark or file
 any application for registration thereof, whether within the United States or any other country or
 jurisdiction, such Pledgor shall on a monthly basis furnish written notice thereof to the Collateral Agent
 together with information sufficient to permit the Collateral Agent, upon its receipt of such notice, to (and
 each Pledgor hereby authorizes the Collateral Agent to) modify this Agreement, as appropriate, by
 amending Annexes D, E and F hereto or to add additional exhibits hereto to include any Copyright, Patent
 or Trademark that becomes part of the Collateral under this Agreement, and such Pledgor shall
 additionally, at its own expense, execute and deliver to the Collateral Agent, as promptly as possible (but
 in any event within 10 days) after the date of the monthly notice of such acquisition, registration or
 application, as applicable, with regard to United States Patents, Trademarks and Copyrights, fully
 completed assignments in the forms of Exhibits A and B, as applicable, for recordation in the U.S.
 Copyright Office or the U.S. Patent and Trademark Office as more fully described hereinabove, together
 in all instances with any other agreements, instruments and documents that the Collateral Agent may
 reasonably request from time to time to further effect and confirm the assignment and security interest
 created by this Agreement in such Copyrights, Patents and Trademarks, and each Pledgor hereby appoints
 the Collateral Agent its attorney-in-fact to execute, deliver and record any and all such agreements,
 instruments and documents for the foregoing purposes, all acts of such attorney being hereby ratified and
 confirmed and such power, being coupled with an interest, shall be irrevocable for so long as this
 Agreement shall be in effect with respect to such Pledgor.

          (b)      Each Pledgor shall:

                  (i)       use commercially reasonable efforts so as not to permit the inclusion in any
          contract with respect to the acquisition of any material intellectual property to which it hereafter
          becomes a party (other than any shrink-wrap or off-the-shelf license or similar contract of
          adhesion) any provision that could reasonably be expected to impair or prevent the creation of a
          security interest in, or the assignment of, such Pledgor's rights and interests in any intellectual
          property Collateral;




 3207414v1 18865.00070
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                                                       06/28/19 15:36:30
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                                      Exhibit    Page 494  of 680
                                   Exhibit 1-29 Page 336 of 500


                   (ii)     take commercially reasonable steps to protect the secrecy of all trade secrets
          relating to the products and services sold or delivered under or in connection with intellectual
          property Collateral;

                   (iii)   use a commercially appropriate standard of quality (which may be consistent
          with such Pledgor's past practices) in the manufacture, sale and delivery of products and services
          sold or delivered under or in connection with the Trademarks;

                   (iv)   promptly notify the Collateral Agent in writing in the event that such Pledgor
          becomes an exclusive licensee of any material intellectual property Collateral, other than those set
          forth in Schedule 4.4, and shall execute any and all documents, instruments or agreement and
          perform any and all actions reasonably requested by the Collateral Agent to give a collateral
          assignment thereof including procuring the consent of the licensor thereto;

                  (v)     take all action necessary to preserve and maintain all rights in intellectual
          property Collateral, to the extent the failure to do so reasonably could be expected to have a
          Material Adverse Effect (any expenses incurred in connection with the foregoing shall be borne
          by such Pledgor).

          (c)       Except as otherwise provided in this Section 4.3, each Pledgor shall use commercially
 reasonable efforts to continue to collect, at its own expense, all material amounts due or to become due to
 such Pledgor in respect of intellectual property Collateral or any portion thereof. In connection with such
 collections, such Pledgor may take (and, after the occurrence and during the continuance of any Event of
 Default at the Collateral Agent's reasonable direction, shall take) such action as such Pledgor or the
 Collateral Agent (if applicable) may deem reasonably necessary or advisable to enforce collection of such
 amounts; provided, the Collateral Agent shall have the right at any time, upon the occurrence and during
 the continuation of an Event of Default and written notice from the Collateral Agent to such Pledgor, to
 notify the obligors with respect to any such amounts of the existence of the security interest created
 hereby and to direct such obligors to make payment of all such amounts directly to the Collateral, and,
 upon such notification and at the expense of such Pledgor, to enforce collection of any such amounts and
 to adjust, settle or compromise the amount or payment thereof, in the same manner and to the same extent
 as such Pledgor might have done. After receipt by any Pledgor of the notice from the Collateral Agent
 referred to in the proviso to the preceding sentence and upon the occurrence and during the continuance
 of any Event of Default, (i) all amounts and proceeds (including checks and Instruments) received by
 each Pledgor in respect of amounts due to such Pledgor in respect of intellectual property Collateral or
 any portion thereof shall be received in trust for the benefit of the Collateral Agent hereunder, shall be
 segregated from other funds of such Pledgor and shall be forthwith paid over or delivered to the Collateral
 Agent in the same form as so received (with any necessary endorsement) to be held as cash Collateral and
 applied as set forth herein, and (ii) no Pledgor shall adjust, settle or compromise the amount or payment
 of any such amount or release wholly or partly any obligor with respect thereto or allow any credit or
 discount thereon, except to the extent consistent with past practices.

          (d)     Except as provided herein, each Pledgor, shall have the right to commence and prosecute
 in its own name, as real party in interest, for its own benefit and at its own expense, such suits,
 proceedings or other actions for infringement, unfair competition, dilution, misappropriation or other
 damage, or reexamination or reissue proceedings as are necessary to protect intellectual property
 collateral. Each Pledgor shall promptly, following its becoming aware thereof, notify the Collateral
 Agent of the institution of, or of any adverse determination in, any proceeding (whether in any U.S.
 intellectual property filing office or any federal, state, local or foreign court) or regarding such Pledgor's
 ownership, right to use, or interest in any material intellectual property Collateral. Each Pledgor shall



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
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                                     Exhibit    Page 495  of 680
                                  Exhibit 1-29 Page 337 of 500


 provide to the Collateral Agent any information with respect thereto reasonably requested by the
 Collateral Agent.

         4.5       Mobile Goods. Upon the request of the Collateral Agent at any time, whether or not an
 Event of Default shall have occurred and be continuing, each Pledgor will deliver to the Collateral Agent
 originals of the certificates of title or ownership for all Mobile Goods owned by it with a value greater
 than $50,000, together with the Collateral Agent listed as lienholder and, if applicable, odometer
 statements and together in all other cases with appropriate instruments or certificates of transfer and
 delivery, duly completed and executed, and will take such other action as the Collateral Agent may deem
 reasonably necessary to perfect the security interest created by this Agreement in all such Mobile Goods.

         4.6      Deposit Accounts. Each Pledgor agrees that, unless the Collateral Agent consents
 otherwise in writing, (i) it will not open or maintain any Deposit Account (other than Deposit Accounts
 used exclusively for payroll purposes) except with a bank or financial institution, if required under
 Section 4.2, that has executed and delivered to the Collateral Agent a control agreement with respect to
 such Deposit Account in form and substance reasonably satisfactory to the Collateral Agent, and (ii) in
 the event any Pledgor opens any Deposit Account not already listed on Annex G, such Pledgor shall (in
 addition to complying with the other requirements of this Section) furnish written notice thereof to the
 Collateral Agent within 30 days of any such opening, together with information sufficient to permit the
 Collateral Agent, upon its receipt of such notice, to (and each Pledgor hereby authorizes the Collateral
 Agent to) modify this Agreement, as appropriate, by amending Annex G to include such information.

         4.7      Securities and Commodity Accounts. Each Pledgor agrees that, unless the Collateral
 Agent consents otherwise in writing, (i) it will not open or maintain any Securities Account or
 Commodity Account unless the Collateral Agent is the entitlement holder or Commodity Intermediary or
 unless the Securities Intermediary or Commodity Intermediary (as applicable) has executed and delivered
 to the Collateral Agent a control agreement with respect to such Securities Account or Commodity
 Account in form and substance reasonably satisfactory to the Collateral Agent, and (ii) in the event any
 Pledgor opens any Securities Account or Commodity Account not already listed on Annex H, such
 Pledgor shall (in addition to complying with the other requirements of this Section) promptly furnish
 written notice thereof to the Collateral Agent together with information sufficient to permit the Collateral
 Agent, upon its receipt of such notice, to (and each Pledgor hereby authorizes the Collateral Agent to)
 modify this Agreement, as appropriate, by amending Annex H to include such information.

          4.8      Collateral in Possession of Third Party. Without limiting the generality of any other
 provision of this Agreement, each Pledgor agrees that it shall not permit any Collateral to be in the
 possession of any bailee, warehouseman, agent, processor or other third party at any time unless (i) such
 bailee or other Person shall have been notified of the security interest created by this Agreement (or, if
 required under applicable law in order to perfect the Collateral Agent’s security interest in such
 Collateral, such bailee or other Person shall have acknowledged to the Collateral Agent in writing that it
 is holding such Collateral for the benefit of the Collateral Agent and subject to such security interest and
 to the instructions of the Collateral Agent) and such Pledgor shall have exercised its commercially
 reasonable efforts to obtain from such bailee or other Person, at such Pledgor’s sole cost and expense, the
 written acknowledgement described above (if not already required by applicable law to perfect the
 Collateral Agent’s security interest) and agreement to waive or subordinate any Lien (whether arising by
 operation of law or otherwise) it may have with respect to such Collateral, such agreement to be in form
 and substance reasonably satisfactory to the Collateral Agent, or (ii) no material records are kept at
 location of such Collateral and the aggregate value of Collateral located at such location is less than
 $100,000.




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                                                                14:56:52                     Desc
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                                      Exhibit    Page 496  of 680
                                   Exhibit 1-29 Page 338 of 500


          4.9     Commercial Tort Claims. Each Pledgor agrees that it will, promptly upon becoming
 aware of any Commercial Tort Claim in excess of $100,000 in its favor, furnish to the Collateral Agent a
 description thereof meeting the requirements of Section 9-108(e) of the Uniform Commercial Code,
 execute and deliver such documents, financing statements and other instruments, and take such other
 action, as the Collateral Agent may reasonably request in order to include such Commercial Tort Claim as
 Collateral hereunder and to perfect the security interest of the Collateral Agent therein.

         4.10    Protection of Security Interest. Each Pledgor agrees that it will, at its own cost and
 expense, take any and all actions reasonably necessary to warrant and defend the right, title and interest of
 the Secured Parties in and to material Collateral against the claims and demands of all other Persons.

          4.11    Collateral Assignment of HCM Acquisition Agreement and Other Acquisition
 Agreements. Each Pledgor acknowledges that pursuant to Article II, it hereby collaterally assigns and
 grants to the Collateral Agent, for its benefit and the benefit of the Lenders, a security interest in all of its
 rights and remedies with respect to any and all of the Acquisition Seller Undertakings. Each Pledgor
 hereby irrevocably authorizes and empowers the Collateral Agent as its agent at any time after the
 occurrence and during the continuance of an Event of Default to (i) either directly or on behalf of such
 Pledgor, assert any claims and demands and enforce any rights and remedies as such Pledgor may have,
 from time to time, against the HCM Sellers or any other Person under the HCM Acquisition Agreement
 or any other acquisition agreements, as the Collateral Agent may deem proper, and (ii) receive and collect
 any and all proceeds, awards or amounts due to such Pledgor under the HCM Acquisition Agreement or
 any other acquisition agreement (including, without limitation, any amounts due such Pledgor in respect
 of any indemnification claims thereunder) and apply all such amounts in accordance with the terms of this
 Agreement and the Investment Agreement. Each Pledgor hereby irrevocably makes, constitutes and
 appoints the Collateral Agent (and all officers, employees or agents designated by the Collateral Agent) as
 the Company’s true and lawful attorney (and agent-in-fact) for the purpose of enabling the Collateral
 Agent or its agent to assert, at any time after the occurrence and during the continuance of an Event of
 Default, any claims and demands or enforce any rights and remedies and collect such proceeds, awards
 and amounts and to apply such monies in accordance with the terms of this Agreement and the
 Investment Agreement. Each Pledgor hereby agrees and acknowledges that neither the Collateral Agent
 nor any Lender shall be deemed to have assumed any of the obligations or liabilities of such Pledgor
 under the HCM Acquisition Agreement or any such other acquisition agreement by reason of this
 Section 4.11 or otherwise.

         4.12 Government Contracts. After the Senior Debt is paid in full, at the request of the
 Collateral Agent or the Required Lenders, each Pledgor shall cause the appropriate
 Governmental Authority to execute and deliver a consent to the assignment of such Pledgor’s
 payment rights under each of its government contracts, such consent to be in compliance with the
 Assignment of Claims Act of 1940, in favor of the Collateral Agent for the benefit of the Secured
 Parties, and in form and substance reasonably acceptable to the Collateral Agent; provided,
 however, so long as no Event of Default has occurred and is continuing, the Collateral Agent
 shall not make any such request with respect to any government contracts with a remaining
 duration of less than 12 months or expected annual revenue of less than $500,000.

                                                  ARTICLE V

                    CERTAIN PROVISIONS RELATING TO PLEDGED INTERESTS

          5.1      After-Acquired Equity Interests; Ownership.



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
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                                                                       06/28/19 15:36:30
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                                      Exhibit    Page 497  of 680
                                   Exhibit 1-29 Page 339 of 500


         (a)       If any Pledgor shall, at any time and from time to time after the date hereof, acquire any
 additional capital stock or other Pledged Interests in any Person of the types described in the definition of
 the term “Pledged Interests,” the same shall be automatically deemed to be Pledged Interests hereunder,
 and to be pledged to the Collateral Agent pursuant to Section 2.1, and such Pledgor will forthwith pledge
 and deposit the same with the Collateral Agent and deliver to the Collateral Agent any certificates
 therefor, together with undated stock powers or other necessary instruments of transfer or assignment,
 duly executed in blank and in form and substance reasonably satisfactory to the Collateral Agent, together
 with such other certificates and instruments as the Collateral Agent may reasonably request (including
 Uniform Commercial Code financing statements or appropriate amendments thereto), and will promptly
 thereafter deliver to the Collateral Agent a fully completed and duly executed amendment to this
 Agreement in the form of Exhibit D (each, a “Pledge Amendment”) in respect thereof. Each Pledgor
 hereby authorizes the Collateral Agent to attach each such Pledge Amendment to this Agreement, and
 agrees that all such Collateral listed on any Pledge Amendment shall for all purposes be deemed
 Collateral hereunder and shall be subject to the provisions hereof; provided that the failure of any Pledgor
 to execute and deliver any Pledge Amendment with respect to any such additional Collateral as required
 hereinabove shall not impair the security interest of the Collateral Agent in such Collateral or otherwise
 adversely affect the rights and remedies of the Collateral Agent hereunder with respect thereto.

          (b)      If any Pledged Interests (whether now owned or hereafter acquired) included in the
 Collateral are “uncertificated securities” within the meaning of the Uniform Commercial Code or are
 otherwise not evidenced by any certificate or instrument, each applicable Pledgor will promptly notify the
 Collateral Agent thereof and will promptly take and cause to be taken, and will (if the issuer of such
 uncertificated securities is a Person other than a Subsidiary of the Parent) use commercially reasonable
 efforts to cause the issuer to take, all actions required under Articles 8 and 9 of the Uniform Commercial
 Code and any other applicable law, to enable the Collateral Agent to acquire “control” of such
 uncertificated securities (within the meaning of such term under Section 8-106 (or its successor provision)
 of the Uniform Commercial Code) and as may be otherwise necessary to perfect the security interest of
 the Collateral Agent therein.

          (c)      Except to the extent otherwise expressly permitted by or pursuant to the Investment
 Agreement, the Pledgors will cause the Pledged Interests in each issuer pledged hereunder to constitute at
 all times 100% of the capital stock or other Pledged Interests in such issuer, such that the issuer shall be a
 direct or indirect Wholly Owned Subsidiary of the Parent and unless the Collateral Agent shall have given
 its prior written consent or except as may be expressly permitted by the Investment Agreement, no
 Pledgor will cause or permit any such issuer to issue or sell any new capital stock, any warrants, options
 or rights to acquire the same, or other Pledged Interests of any nature to any Person other than such
 Pledgor, or cause, permit or consent to the admission of any other Person as a stockholder, partner or
 member of any such issuer.

           5.2      Voting Rights. So long as no Event of Default shall have occurred and be continuing
 and, in an Event of Default shall have occurred and is continue, the Collateral Agent shall not have given
 the Pledgors notice thereof referring to this Section 5.2 (a “Triggering Notice”), each Pledgor shall be
 entitled to exercise all voting and other consensual rights pertaining to its Pledged Interests (subject to its
 obligations under Section 5.1(a)), and for that purpose the Collateral Agent will execute and deliver or
 cause to be executed and delivered to each applicable Pledgor all such proxies and other instruments as
 such Pledgor may reasonably request in writing to enable such Pledgor to exercise such voting and other
 consensual rights; provided, however, that no Pledgor will cast any vote, give any consent, waiver or
 ratification, or take or fail to take any action, in any manner that would, or could reasonably be expected
 to, violate with any of the terms of this Agreement, the Investment Agreement or any other Investment
 Document or have a Material Adverse Effect.



 3207414v1 18865.00070
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
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                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
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                                      Exhibit    Page 498  of 680
                                   Exhibit 1-29 Page 340 of 500


          5.3       Dividends and Other Distributions. So long as no Event of Default shall have occurred
 and be continuing (or would occur as a result thereof), and except as provided otherwise herein, all
 interest, income, dividends, distributions and other amounts payable in cash in respect of the Pledged
 Interests may be paid to and retained by the Pledgors; provided, however, that all such interest, income,
 dividends, distributions and other amounts shall, at all times after the occurrence and during the
 continuance of an Event of Default, be paid to the Collateral Agent and retained by it as part of the
 Collateral (except to the extent applied upon receipt to the repayment of the Secured Obligations). The
 Collateral Agent shall also be entitled at all times (whether or not during the continuance of an Event of
 Default) to receive directly, and to retain as part of the Collateral, (i) all interest, income, dividends,
 distributions or other amounts paid or payable in cash or other property in respect of any Pledged Interests
 in connection with the dissolution, liquidation, recapitalization or reclassification of the capital of the
 applicable issuer to the extent representing (in the reasonable judgment of the Collateral Agent) an
 extraordinary, liquidating or other distribution in return of capital, (ii) all additional Pledged Interests or
 other securities or property (other than cash) paid or payable or distributed or distributable in respect of
 any Pledged Interests in connection with any noncash dividend, distribution, return of capital, spin-off,
 stock split, split-up, reclassification, combination of shares or interests or similar rearrangement, and
 (iii) without affecting any restrictions against such actions contained in the Investment Agreement, all
 additional Pledged Interests or other securities or property (including cash) paid or payable or distributed
 or distributable in respect of any Pledged Interests in connection with any consolidation, merger,
 exchange of securities, liquidation or other reorganization. All interest, income, dividends, distributions
 or other amounts that are received by any Pledgor in violation of the provisions of this Section shall be
 received in trust for the benefit of the Collateral Agent, shall be segregated from other property or funds
 of such Pledgor and shall be forthwith delivered to the Collateral Agent as Collateral in the same form as
 so received (with any necessary endorsements). Any and all money and other property paid over to or
 received by the Collateral Agent pursuant to the provisions of this Section shall be retained by the
 Collateral Agent in a Collateral Account (as hereinafter defined) upon receipt of such money or other
 property and shall be applied in accordance with the provisions of Section 6.2. The Collateral Agent
 shall, within five (5) Business Days after all Events of Default have been cured or waived, repay to each
 applicable Pledgor all cash interest, income, dividends, distributions and other amounts that such Pledgor
 would otherwise be permitted to retain pursuant to the provisions of this Section and that remain in such
 Collateral Account.

                                                 ARTICLE VI

                                                 REMEDIES

         6.1      Remedies. If an Event of Default shall have occurred and be continuing, the Collateral
 Agent shall be entitled to exercise in respect of the Collateral all of its rights, powers and remedies
 provided for herein or otherwise available to it under any other Investment Document, by law, in equity
 or otherwise, including all rights and remedies of a secured party under the Uniform Commercial Code,
 and shall be entitled in particular, but without limitation of the foregoing, to exercise the following rights,
 which each Pledgor agrees to be commercially reasonable:

         (a)      To notify any or all account debtors or obligors under any Accounts, Contracts or other
 Collateral of the security interest in favor of the Collateral Agent created hereby and to direct all such
 Persons to make payments of all amounts due thereon or thereunder directly to the Collateral Agent or to
 an account designated by the Collateral Agent; and in such instance and from and after such notice, all
 amounts and Proceeds (including wire transfers, checks and other Instruments) received by any Pledgor in
 respect of any Accounts, Contracts or other Collateral shall be received in trust for the benefit of the
 Collateral Agent hereunder, shall be segregated from the other funds of such Pledgor and shall be
 forthwith deposited into such account or paid over or delivered to the Collateral Agent in the same form


 3207414v1 18865.00070
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                   Desc
                                                                                                           Desc
                                      Exhibit    Page 499  of 680
                                   Exhibit 1-29 Page 341 of 500


 as so received (with any necessary endorsements or assignments), to be held as Collateral and applied to
 the Secured Obligations as provided herein; and by this provision, each Pledgor irrevocably authorizes
 and directs each Person who is or shall be a party to or liable for the performance of any Contract, upon
 receipt of notice from the Collateral Agent to the effect that an Event of Default has occurred and is
 continuing, to attorn to or otherwise recognize the Collateral Agent as owner under such Contract and to
 pay, observe and otherwise perform the obligations under such Contract to or for the Collateral Agent or
 the Collateral Agent’s designee as though the Collateral Agent or such designee were such Pledgor named
 therein, and to do so until otherwise notified by the Collateral Agent;

          (b)     To take possession of, receive, endorse, assign and deliver, in its own name or in the
 name of any Pledgor, all checks, notes, drafts and other Instruments relating to any Collateral, including
 receiving, opening and properly disposing of all mail addressed to any Pledgor concerning Accounts and
 other Collateral; to verify with account debtors or other contract parties the validity, amount or any other
 matter relating to any Accounts or other Collateral, in its own name or in the name of any Pledgor; to
 accelerate any indebtedness or other obligation constituting Collateral that may be accelerated in
 accordance with its terms; to take or bring all actions and suits deemed necessary or appropriate to effect
 collections and to enforce payment of any Accounts or other Collateral; to settle, compromise or release
 in whole or in part any amounts owing on Accounts or other Collateral; and to extend the time of payment
 of any and all Accounts or other amounts owing under any Collateral and to make allowances and
 adjustments with respect thereto, all in the same manner and to the same extent as any Pledgor might have
 done;

         (c)      To notify any or all depository institutions with which any Deposit Accounts are
 maintained and which Deposit Accounts are subject to Control in favor of the Collateral Agent to remit
 and transfer all monies, securities and other property on deposit in such Deposit Accounts or deposited or
 received for deposit thereafter to the Collateral Agent, for deposit in a Collateral Account or such other
 accounts as may be designated by the Collateral Agent, for application to the Secured Obligations as
 provided herein;

         (d)     To the extent permitted by applicable law, to transfer to or register in its name or the
 name of any of its Collateral Agents or nominees all or any part of the Collateral, without notice to any
 Pledgor and with or without disclosing that such Collateral is subject to the security interest created
 hereunder;

         (e)     To require any Pledgor to, and each Pledgor hereby agrees that it will at its expense and
 upon request of the Collateral Agent forthwith, assemble all or any part of the Collateral as directed by
 the Collateral Agent and make it available to the Collateral Agent at a place reasonably designated by the
 Collateral Agent;

          (f)     To enter and remain upon the premises of any Pledgor and take possession of all or any
 part of the Collateral, with or without judicial process; to use the materials, services, books and records of
 any Pledgor for the purpose of liquidating or collecting the Collateral, whether by foreclosure, auction or
 otherwise; and to remove the same to the premises of the Collateral Agent or any designated agent for
 such time as the Collateral Agent may desire, in order to effectively collect or liquidate the Collateral;

          (g)     Subsequent to giving a Triggering Notice to the Pledgors, to the extent permitted by
 applicable law, to exercise (i) all voting, consensual and other rights and powers pertaining to the Pledged
 Interests (whether or not transferred into the name of the Collateral Agent), at any meeting of
 shareholders, partners, members or otherwise, and (ii) any and all rights of conversion, exchange,
 subscription and any other rights, privileges or options pertaining to the Pledged Interests as if it were the
 absolute owner thereof (including, without limitation, the right to exchange at its discretion any and all of


 3207414v1 18865.00070
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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52                       Desc
                                                                                                                Desc
                                       Exhibit    Page 500  of 680
                                    Exhibit 1-29 Page 342 of 500


 the Pledged Interests upon the merger, consolidation, reorganization, reclassification, combination of
 shares or interests, similar rearrangement or other similar fundamental change in the structure of the
 applicable issuer, or upon the exercise by any Pledgor or the Collateral Agent of any right, privilege or
 option pertaining to such Pledged Interests), and in connection therewith, the right to deposit and deliver
 any and all of the Pledged Interests with any committee, depositary, transfer agent, registrar or other
 designated agency upon such terms and conditions as the Collateral Agent may determine, and give all
 consents, waivers and ratifications in respect of the Pledged Interests, all without liability except to
 account for any property actually received by it, but the Collateral Agent shall have no duty to exercise
 any such right, privilege or option or give any such consent, waiver or ratification and shall not be
 responsible for any failure to do so or delay in so doing; and for the foregoing purposes each Pledgor will
 promptly execute and deliver or cause to be executed and delivered to the Collateral Agent, upon request,
 all such proxies and other instruments as the Collateral Agent may reasonably request to enable the
 Collateral Agent to exercise such rights and powers; AND IN FURTHERANCE OF THE FOREGOING
 AND WITHOUT LIMITATION THEREOF, EACH PLEDGOR HEREBY IRREVOCABLY
 CONSTITUTES AND APPOINTS THE COLLATERAL AGENT AS THE TRUE AND LAWFUL
 PROXY AND ATTORNEY-IN-FACT OF SUCH PLEDGOR, WITH FULL POWER OF
 SUBSTITUTION IN THE PREMISES, TO EXERCISE ALL SUCH VOTING, CONSENSUAL AND
 OTHER RIGHTS AND POWERS TO WHICH ANY HOLDER OF ANY PLEDGED INTERESTS
 WOULD BE ENTITLED BY VIRTUE OF HOLDING THE SAME, WHICH PROXY AND POWER
 OF ATTORNEY, BEING COUPLED WITH AN INTEREST, IS IRREVOCABLE AND SHALL BE
 EFFECTIVE FOR SO LONG AS THIS AGREEMENT SHALL BE IN EFFECT; and

          (h)       To sell, resell, assign and deliver, in its sole discretion, all or any of the Collateral, in one
 or more parcels, on any securities exchange on which any Pledged Interests may be listed, at public or
 private sale, at any of the Collateral Agent’s offices or elsewhere, for cash, upon credit or for future
 delivery, at such time or times and at such price or prices and upon such other terms as the Collateral
 Agent may deem satisfactory. If any of the Collateral is sold by the Collateral Agent upon credit or for
 future delivery, the Collateral Agent shall not be liable for the failure of the purchaser to purchase or pay
 for the same and, in the event of any such failure, the Collateral Agent may resell such Collateral. In no
 event shall any Pledgor be credited with any part of the Proceeds of sale of any Collateral until and to the
 extent cash payment in respect thereof has actually been received by the Collateral Agent. To the extent
 permitted by applicable law, each purchaser at any such sale shall hold the property sold absolutely, free
 from any claim or right of whatsoever kind, including any equity or right of redemption of any Pledgor,
 and to the extent permitted by applicable law, each Pledgor hereby expressly waives all rights of
 redemption, stay or appraisal, and all rights to require the Collateral Agent to marshal any assets in favor
 of such Pledgor or any other party or against or in payment of any or all of the Secured Obligations, that it
 has or may have under any rule of law or statute now existing or hereafter adopted. No demand,
 presentment, protest, advertisement or notice of any kind (except any notice required by law, as referred
 to below), all of which are hereby expressly waived by each Pledgor, shall be required in connection with
 any sale or other disposition of any part of the Collateral. If any notice of a proposed sale or other
 disposition of any part of the Collateral shall be required under applicable law, the Collateral Agent shall
 give the applicable Pledgor at least ten (10) days’ prior notice of the time and place of any public sale and
 of the time after which any private sale or other disposition is to be made, which notice each Pledgor
 agrees is commercially reasonable. The Collateral Agent shall not be obligated to make any sale of
 Collateral if it shall determine not to do so, regardless of the fact that notice of sale may have been given.
 The Collateral Agent may, without notice or publication, adjourn any public or private sale or cause the
 same to be adjourned from time to time by announcement at the time and place fixed for sale, and such
 sale may, without further notice, be made at the time and place to which the same was so adjourned.
 Upon each public sale and, to the extent permitted by applicable law, upon each private sale, the
 Collateral Agent may purchase all or any of the Collateral being sold, free from any equity, right of
 redemption or other claim or demand, and may make payment therefor by endorsement and application


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
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                                      Exhibit    Page 501  of 680
                                   Exhibit 1-29 Page 343 of 500


 (without recourse) of the Secured Obligations in lieu of cash as a credit on account of the purchase price
 for such Collateral.

          6.2      Application of Proceeds.

          (a)     All Proceeds collected by the Collateral Agent upon any sale, other disposition of or
 realization upon any of the Collateral, together with all other moneys received by the Collateral Agent
 hereunder, shall be applied in accordance with the provisions of the Investment Agreement. Unless it has
 actual knowledge (including by way of written notice from any such Secured Party) to the contrary, the
 Collateral Agent, in acting hereunder, shall be entitled to assume that no Secured Obligations in respect
 thereof are in existence between any Secured Party and any Borrower.

         (b)       In the event that the proceeds of any such sale, disposition or realization are insufficient
 to pay all amounts to which the Secured Parties are legally entitled, the Pledgors shall be jointly and
 severally liable for the deficiency, together with interest thereon at the highest rate specified in any
 applicable Investment Document for interest on overdue principal or such other rate as shall be fixed by
 applicable law, together with the costs of collection and all other fees, reasonable costs and expenses
 payable hereunder.

         (c)      Upon any sale of any Collateral hereunder by the Collateral Agent (whether by virtue of
 the power of sale herein granted, pursuant to judicial proceeding, or otherwise), the receipt of the
 Collateral Agent or the officer making the sale shall be a sufficient discharge to the purchaser or
 purchasers of the Collateral so sold, and such purchaser or purchasers shall not be obligated to see to the
 application of any part of the purchase money paid over to the Collateral Agent or such officer or be
 answerable in any way for the misapplication thereof.

          6.3     Collateral Accounts. Upon the occurrence and during the continuance of an Event of
 Default, the Collateral Agent shall have the right to cause to be established and maintained, at its principal
 office or such other location or locations as it may establish from time to time in its discretion, one or
 more accounts (collectively, “Collateral Accounts”) for the collection of cash Proceeds of the Collateral.
 Such Proceeds, when deposited, shall continue to constitute Collateral for the Secured Obligations and
 shall not constitute payment thereof until applied as herein provided. The Collateral Agent shall have
 sole dominion and control over all funds deposited in any Collateral Account, and such funds may be
 withdrawn therefrom only by the Collateral Agent. Upon the occurrence and during the continuance of
 an Event of Default, the Collateral Agent shall have the right to (and, if directed by the Required Lenders
 pursuant to the Investment Agreement, shall) apply amounts held in the Collateral Accounts in payment
 of the Secured Obligations in the manner provided for in Section 6.2.

          6.4     Grant of License. Each Pledgor hereby grants to the Collateral Agent an irrevocable,
 non-exclusive license (exercisable without payment of royalty or other compensation to any Pledgor) to
 use, license or sublicense any Patent Collateral, Trademark Collateral or Copyright Collateral now owned
 or licensed or hereafter acquired or licensed by such Pledgor, wherever the same may be located
 throughout the world, for such term or terms, on such conditions and in such manner as the Collateral
 Agent shall determine, whether general, special or otherwise, and whether on an exclusive or
 nonexclusive basis, and including in such license reasonable access to all media in which any of the
 licensed items may be recorded or stored and to all computer software and programs used for the
 compilation or printout thereof. The use of such license or sublicense by the Collateral Agent shall be
 exercised, at the option of the Collateral Agent, only upon the occurrence and during the continuation of
 an Event of Default; provided that any license, sublicense or other transaction entered into by the
 Collateral Agent in accordance herewith shall be binding upon each applicable Pledgor notwithstanding
 any subsequent cure of an Event of Default.


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     9:18-ap-01058-DS               Doc
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                                         Exhibit    Page 502  of 680
                                      Exhibit 1-29 Page 344 of 500


          6.5      Private Sales.

          (a)      Each Pledgor recognizes that the Collateral Agent may be compelled, at any time after
 the occurrence and during the continuance of an Event of Default, to conduct any sale of all or any part of
 the Pledged Interests without registering or qualifying such Pledged Interests under the Securities Act of
 1933, as amended (the “Securities Act”), and/or any applicable state securities laws in effect at such time.
 Each Pledgor acknowledges that any such private sales may be made in such manner and under such
 circumstances as the Collateral Agent may deem necessary or advisable in its sole and absolute discretion,
 including at prices and on terms that might be less favorable than those obtainable through a public sale
 without such restrictions (including, without limitation, a public offering made pursuant to a registration
 statement under the Securities Act), and, notwithstanding such circumstances, agrees that any such sale
 shall not be deemed not to have been made in a commercially reasonable manner solely because it was
 conducted as a private sale, and agrees that the Collateral Agent shall have no obligation to conduct any
 public sales and no obligation to delay the sale of any Pledged Interests for the period of time necessary to
 permit its registration for public sale under the Securities Act and applicable state securities laws, and
 shall not have any responsibility or liability as a result of its election so not to conduct any such public
 sales or delay the sale of any Pledged Interests, notwithstanding the possibility that a substantially higher
 price might be realized if the sale were deferred until after such registration. Each Pledgor hereby waives
 any claims against the Collateral Agent or any other Secured Party arising by reason of the fact that the
 price at which any Pledged Interests may have been sold at any private sale was less than the price that
 might have been obtained at a public sale or was less than the aggregate amount of the Secured
 Obligations, even if the Collateral Agent accepts the first offer received and does not offer such Pledged
 Interests to more than one offeree.

          (b)    Each Pledgor agrees that a breach of any of the covenants contained in this Section will
 cause irreparable injury to the Collateral Agent and the other Secured Parties, that the Collateral Agent
 and the other Secured Parties have no adequate remedy at law in respect of such breach and, as a
 consequence, that each and every covenant contained in this Section shall be specifically enforceable
 against the Pledgors.

          6.6      The Pledgors Remain Liable. Notwithstanding anything herein to the contrary, (i) each
 Pledgor shall remain liable under all Contracts to which it is a party included within the Collateral
 (including, without limitation, all Ownership Agreements) to perform all of its obligations thereunder to
 the same extent as if this Agreement had not been executed, (ii) the exercise by the Collateral Agent of
 any of its rights or remedies hereunder shall not release any Pledgor from any of its obligations under any
 of such Contracts, and (iii) except as specifically provided for hereinbelow, the Collateral Agent shall not
 have any obligation or liability by reason of this Agreement under any of such Contracts, nor shall the
 Collateral Agent be obligated to perform any of the obligations or duties of any Pledgor thereunder or to
 take any action to collect or enforce any claim for payment assigned hereunder. The powers, rights and
 remedies conferred on the Collateral Agent hereunder are solely to protect its interest and privilege in
 such Contracts, as Collateral, and shall not impose any duty upon it to exercise any such powers, rights or
 remedies.

          6.7       Waivers. Each Pledgor, to the greatest extent not prohibited by applicable law, hereby
 (i) waives all rights that it has or may have under any rule of law or statute now existing or hereafter
 adopted to require the Collateral Agent to marshal any Collateral or other assets in favor of such Pledgor
 or any other party or against or in payment of any or all of the Secured Obligations, and (ii) waives all
 rights that it has or may have under any rule of law or statute now existing or hereafter adopted to
 demand, presentment, protest, advertisement or notice of any kind (except notices expressly provided for
 herein or in the other Investment Documents). In addition, each Pledgor defers any and all rights of



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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
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                                      Exhibit    Page 503  of 680
                                   Exhibit 1-29 Page 345 of 500


 contribution or subrogation upon the sale or disposition of all or any portion of the Collateral by the
 Collateral Agent until the occurrence of the Termination Requirements.

                                                ARTICLE VII

                                       THE COLLATERAL AGENT

          7.1     The Collateral Agent; Standard of Care. The Collateral Agent will hold all items of the
 Collateral at any time received under this Agreement in accordance with the provisions hereof. The
 obligations of the Collateral Agent as holder of the Collateral and interests therein and with respect to the
 disposition thereof, and otherwise under this Agreement and the other Investment Documents, are only
 those expressly set forth in this Agreement and the other Investment Documents. The Collateral Agent
 shall act hereunder at the direction, or with the consent, of the Required Lenders on the terms and
 conditions set forth in the Investment Agreement. The powers conferred on the Collateral Agent
 hereunder are solely to protect its interest, on behalf of the Secured Parties, in the Collateral, and shall not
 impose any duty upon it to exercise any such powers. Except for treatment of the Collateral in its
 possession in a manner substantially equivalent to that which the Collateral Agent, in its individual
 capacity, accords its own property of a similar nature, and the accounting for moneys actually received by
 it hereunder, the Collateral Agent shall have no duty as to any Collateral or as to the taking of any
 necessary steps to preserve rights against prior parties or any other rights pertaining to the Collateral.
 Neither the Collateral Agent nor any other Secured Party shall be liable to any Pledgor (i) for any loss or
 damage sustained by such Pledgor, or (ii) for any loss, damage, depreciation or other diminution in the
 value of any of the Collateral that may occur as a result of or in connection with or that is in any way
 related to any exercise by the Collateral Agent or any other Secured Party of any right or remedy under
 this Agreement, any failure to demand, collect or realize upon any of the Collateral or any delay in doing
 so, or any other act or failure to act on the part of the Collateral Agent or any other Secured Party, except
 to the extent that the same is caused by its own gross negligence or willful misconduct.

          7.2      Further Assurances; Attorney-in-Fact.

          (a)     Each Pledgor hereby irrevocably authorizes the Collateral Agent at any time and from
 time to time to file in any filing office in any Uniform Commercial Code jurisdiction any financing
 statements and amendments thereto that (a) indicate the Collateral (i) as all assets of such Pledgor or
 words of similar effect, regardless of whether any particular asset included within the Collateral falls
 within the scope of Article 9 of the Uniform Commercial Code of any such jurisdiction, or (ii) as being of
 an equal or lesser scope or with greater detail, and (b) provide any other information required by Part 5 of
 Article 9 of the Uniform Commercial Code for the sufficiency or filing office acceptance of any financing
 statement or amendment.

          (b)     Each Pledgor agrees that it will do such further acts and things (including, without
 limitation, making any notice filings with state tax or revenue authorities required to be made by account
 creditors in order to enforce any Accounts in such state) and to execute and deliver to the Collateral Agent
 such additional conveyances, assignments, agreements and instruments as the Collateral Agent may
 reasonably require or deem advisable to perfect, establish, confirm and maintain the security interest and
 Lien provided for herein, to carry out the purposes of this Agreement or to further assure and confirm
 unto the Collateral Agent its rights, powers and remedies hereunder.

         (c)      Each Pledgor hereby irrevocably appoints the Collateral Agent its lawful attorney-in-fact,
 with full authority in the place and stead of such Pledgor and in the name of such Pledgor, the Collateral
 Agent or otherwise, and with full power of substitution in the premises (which power of attorney, being
 coupled with an interest, is irrevocable for so long as this Agreement shall be in effect), from time to time


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
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                                      Exhibit    Page 504  of 680
                                   Exhibit 1-29 Page 346 of 500


 in the Collateral Agent’s discretion after the occurrence and during the continuance of an Event of Default
 (except for the actions described in clause (i) below, which may be taken by the Collateral Agent without
 regard to whether an Event of Default has occurred) to take any action and to execute any instruments that
 the Collateral Agent may deem necessary or advisable to accomplish the purpose of this Agreement,
 including, without limitation:

                   (i)      to sign the name of such Pledgor on any financing statement, continuation
          statement, notice or other similar document that, in the Collateral Agent’s opinion, should be
          made or filed in order to perfect or continue perfected the security interest granted under this
          Agreement (including, without limitation, any title or ownership applications for filing with
          applicable state agencies to enable any motor vehicles now or hereafter owned by such Pledgor to
          be retitled and the Collateral Agent listed as lienholder thereon);

                  (ii)     to ask, demand, collect, sue for, recover, compound, receive and give acquittance
          and receipts for moneys due and to become due under or in respect of any of the Collateral;

                   (iii)   to receive, endorse and collect any checks, drafts, Instruments, Chattel Paper and
          other orders for the payment of money made payable to such Pledgor representing any interest,
          income, dividend, distribution or other amount payable in respect of any of the Collateral and to
          give full discharge for the same;

                  (iv)   to obtain, maintain and adjust any property or casualty insurance required to be
          maintained by such Pledgor under Section 5.6 of the Investment Agreement and direct the
          payment of proceeds thereof to the Collateral Agent;

                  (v)     to pay or discharge taxes, Liens or other encumbrances levied or placed on or
          threatened against the Collateral, the legality or validity thereof and the amounts necessary to
          discharge the same to be determined by the Collateral Agent in its sole discretion, any such
          payments made by the Collateral Agent to become Secured Obligations of the Pledgors to the
          Collateral Agent, due and payable immediately and without demand;

                  (vi)    to file any claims or take any action or institute any proceedings that the
          Collateral Agent may deem necessary or advisable for the collection of any of the Collateral or
          otherwise to enforce the rights of the Collateral Agent with respect to any of the Collateral; and

                  (vii)   to use, sell, assign, transfer, pledge, make any agreement with respect to or
          otherwise deal with any and all of the Collateral as fully and completely as though the Collateral
          Agent were the absolute owner of the Collateral for all purposes, and to do from time to time, at
          the Collateral Agent’s option and the Pledgors’ expense, all other acts and things deemed
          necessary by the Collateral Agent to protect, preserve or realize upon the Collateral and to more
          completely carry out the purposes of this Agreement.

          (d)      If any Pledgor fails to perform any covenant or agreement contained in this Agreement
 after written request to do so by the Collateral Agent (provided that no such request shall be necessary at
 any time after the occurrence and during the continuance of an Event of Default), the Collateral Agent
 may itself perform, or cause the performance of, such covenant or agreement and may take any other
 action that it deems necessary and appropriate for the maintenance and preservation of the Collateral or its
 security interest therein, and the reasonable expenses so incurred in connection therewith shall be payable
 by the Pledgors under Section 8.1.




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
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                                     Exhibit    Page 505  of 680
                                  Exhibit 1-29 Page 347 of 500


                                              ARTICLE VIII

                                             MISCELLANEOUS

          8.1      Indemnity and Expenses.

         (a)     The Pledgors jointly and severally agree to indemnify the Collateral Agent from and
 against any and all claims, losses and liabilities in any way relating to, growing out of or resulting from
 this Agreement and the transactions contemplated hereby (including, without limitation, enforcement of
 this Agreement), except to the extent such claims, losses or liabilities result from the Collateral Agent's
 gross negligence, bad faith, willful misconduct or Collateral Agent's or any Lender's breach of its
 obligations hereunder or under any other Loan Document, as applicable, as finally determined by a court
 of competent jurisdiction.

         (b)     The Pledgors jointly and severally agree to pay to the Collateral Agent Agent and the
 Lenders upon demand the amount of any and all costs and expenses in accordance with Section 10.1 of
 the Investment Agreement.

       (c)      The obligations of the Pledgors in this Section 8.1 shall survive the termination of this
 Agreement and the discharge of the Pledgors’ other obligations under this Agreement, the Investment
 Agreement and the other Loan Documents.

          8.2      No Waiver. The rights and remedies of the Secured Parties expressly set forth in this
 Agreement and the other Investment Documents are cumulative and in addition to, and not exclusive of,
 all other rights and remedies available at law, in equity or otherwise. No failure or delay on the part of
 any Secured Party in exercising any right, power or privilege shall operate as a waiver thereof, nor shall
 any single or partial exercise of any such right, power or privilege preclude any other or further exercise
 thereof or the exercise of any other right, power or privilege or be construed to be a waiver of any Default
 or Event of Default. No course of dealing between the Pledgors and the Secured Parties or their agents or
 employees shall be effective to amend, modify or discharge any provision of this Agreement or any other
 Investment Document or to constitute a waiver of any Default or Event of Default. No notice to or
 demand upon any Pledgor in any case shall entitle such Pledgor or any other Pledgor to any other or
 further notice or demand in similar or other circumstances or constitute a waiver of the right of any
 Secured Party to exercise any right or remedy or take any other or further action in any circumstances
 without notice or demand.

          8.3     Enforcement. By its acceptance of the benefits of this Agreement, each Lender agrees
 that this Agreement may be enforced only by the Collateral Agent, acting upon the instructions or with
 the consent of the Required Lenders as provided for in the Investment Agreement, and that no Lender
 shall have any right individually to enforce or seek to enforce this Agreement or to realize upon any
 Collateral or other security given to secure the payment and performance of the Secured Obligations.

         8.4      Amendments, Waivers, etc. No amendment, modification, waiver, discharge or
 termination of, or consent to any departure by any Pledgor from, any provision of this Agreement, shall
 be effective unless in a writing signed by the Collateral Agent and such of the Lenders as may be required
 under the provisions of the Investment Agreement to concur in the action then being taken, and then the
 same shall be effective only in the specific instance and for the specific purpose for which given.

          8.5     Continuing Security Interest; Term; Successors and Assigns; Assignment; Termination
 and Release; Survival. This Agreement shall create a continuing security interest in the Collateral and
 shall secure the payment and performance of all of the Secured Obligations as the same may arise and be


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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
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                                                                      06/28/19 15:36:30
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                                     Exhibit    Page 506  of 680
                                  Exhibit 1-29 Page 348 of 500


 outstanding at any time and from time to time from and after the date hereof, and shall (i) remain in full
 force and effect until the occurrence of the Termination Requirements (as hereinafter defined), (ii) be
 binding upon and enforceable against each Pledgor and its successors and assigns (provided, however,
 that no Pledgor may sell, assign or transfer any of its rights, interests, duties or obligations hereunder
 without the prior written consent of the Lenders) and (iii) inure to the benefit of and be enforceable by
 each Secured Party and its successors and assigns. Upon any sale or other disposition by any Pledgor of
 any Collateral in a transaction expressly permitted hereunder or under or pursuant to the Investment
 Agreement or any other applicable Investment Document, the Lien and security interest created by this
 Agreement in and upon such Collateral shall be automatically released, and upon the satisfaction of all of
 the Termination Requirements, this Agreement and the Lien and security interest created hereby shall
 terminate (provided, that the provisions of Section 6.7 shall survive the termination of this Agreement);
 and in connection with any such release or termination, the Collateral Agent, at the request and expense
 of the applicable Pledgor, will execute and deliver to such Pledgor such documents and instruments
 evidencing such release or termination as such Pledgor may reasonably request and will assign, transfer
 and deliver to such Pledgor, without recourse and without representation or warranty, such of the
 Collateral as may then be in the possession of the Collateral Agent (or, in the case of any partial release of
 Collateral, such of the Collateral so being released as may be in its possession). All representations,
 warranties, covenants and agreements herein shall survive the execution and delivery of this Agreement
 and any Pledgor Accession. For purposes of this Agreement, “Termination Requirements” means (x) the
 payment in full in cash of the Secured Obligations (other than contingent and indemnification obligations
 not then due and payable), and (y) the termination of the Commitments.

         8.6     Additional Pledgors. Each Pledgor recognizes that the provisions of the Investment
 Agreement require Persons that become Subsidiaries of the Parent, and that are not already parties hereto,
 to execute and deliver a Pledgor Accession in the form of Exhibit C attached hereto, whereupon each such
 Person shall become a Pledgor hereunder with the same force and effect as if originally a Pledgor
 hereunder on the date hereof, and agrees that its obligations hereunder shall not be discharged, limited or
 otherwise affected by reason of the same, or by reason of the Collateral Agent’s actions in effecting the
 same or in releasing any Pledgor hereunder, in each case without the necessity of giving notice to or
 obtaining the consent of such Pledgor or any other Pledgor.

          8.7      Notices. All notices and other communications provided for hereunder shall be given to
 the parties in the manner and subject to the other notice provisions set forth in the Investment Agreement
 (and any joinder thereto).

         8.8     Governing Law. This Agreement and any claims, controversy, dispute or cause of action
 (whether in contract or tort or otherwise) based upon, arising out of or relating to this Agreement shall be
 governed by and construed and enforced in accordance with the laws of the State of New York (including
 Sections 5-1401 and 5-1402 of the New York General Obligations Law, but excluding all other choice of
 law and conflicts of law rules).

         8.9      Severability. To the extent any provision of this Agreement is prohibited by or invalid
 under the applicable law of any jurisdiction, such provision shall be ineffective only to the extent of such
 prohibition or invalidity and only in such jurisdiction, without prohibiting or invalidating such provision
 in any other jurisdiction or the remaining provisions of this Agreement in any jurisdiction.

         8.10    Construction. The headings of the various sections and subsections of this Agreement
 have been inserted for convenience only and shall not in any way affect the meaning or construction of
 any of the provisions hereof. Unless the context otherwise requires, words in the singular include the
 plural and words in the plural include the singular.



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     9:18-ap-01058-DS           Doc
                                Doc 236-1
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                                     Exhibit    Page 507  of 680
                                  Exhibit 1-29 Page 349 of 500


         8.11     Counterparts. This Agreement may be executed in counterparts (and by different parties
 hereto in different counterparts), each of which shall constitute an original, but all of which when taken
 together shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
 Agreement by facsimile or in electronic format (e.g, “pdf,” “tif” or similar file formats) shall be effective
 as delivery of a manually executed counterpart of this Agreement.

          8.12    Classified Information. The rights of the Collateral Agent under this Agreement and the
 other Investment Documents as they pertain to government contracts or other materials that contain
 classified or sensitive unclassified information are subject to Applicable Laws, including, without
 limitation, DOD Directive 5220.22-M, National Industrial Security Program Operations Manual, and
 nothing in this Agreement or the other Investment Documents shall cause the Pledgors to violate such
 applicable laws.

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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 508  of 680
                          Exhibit 1-29 Page 350 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 509  of 680
                          Exhibit 1-29 Page 351 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 510  of 680
                          Exhibit 1-29 Page 352 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS    Doc
                         Doc 236-1
                             156-1 Filed
                                      Filed 03/31/20
                                            06/28/19 Entered
                                                       Entered 03/31/20
                                                               06/28/19 15:36:30
                                                                        14:56:52   Desc
                                                                                   Desc
                              Exhibit    Page 511  of 680
                           Exhibit 1-29 Page 353 of 500


                                      ANNEX A

                                 FILING LOCATIONS



              Name of Pledgor                             Filing Location
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52   Desc
                                                                                            Desc
                                       Exhibit    Page 512  of 680
                                    Exhibit 1-29 Page 354 of 500


                                                ANNEX B

                   JURISDICTION OF ORGANIZATION, CERTAIN LOCATIONS


 BW PIEZO HOLDINGS, LLC:

 Jurisdiction of Incorporation/Organization:      ______________________

 Federal Tax ID no.:                              ______________________

 Organizational ID no.:                           ______________________

 Chief Executive Office Address:                  ______________________
                                                  ______________________
                                                  ______________________

 Records Related to Collateral:                   ______________________
                                                  ______________________
                                                  ______________________

 Locations of Equipment or Inventory:             ______________________
                                                  ______________________
                                                  ______________________

 Other places of business:                        ______________________
                                                  ______________________
                                                  ______________________

 Trade/fictitious or prior corporate names (last five
 years):                                              ______________________

 Names used in tax filings (last five years):     ______________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52   Desc
                                                                                            Desc
                                       Exhibit    Page 513  of 680
                                    Exhibit 1-29 Page 355 of 500


 CTG ADVANCED MATERIALS, LLC:

 Jurisdiction of Incorporation/Organization:      _____________________

 Federal Tax ID no.:                              ______________________

 Organizational ID no.:                           ______________________

 Chief Executive Office Address:                  ______________________
                                                  ______________________
                                                  ______________________

 Records Related to Collateral:                   ______________________
                                                  ______________________
                                                  ______________________

 Locations of Equipment or Inventory:             ______________________
                                                  ______________________
                                                  ______________________

 Other places of business:                        ______________________
                                                  ______________________
                                                  ______________________

 Trade/fictitious or prior corporate names (last five
 years):                                              ______________________

 Names used in tax filings (last five years):     ______________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52   Desc
                                                                                            Desc
                                       Exhibit    Page 514  of 680
                                    Exhibit 1-29 Page 356 of 500


 CHANNEL TECHNOLOGIES GROUP, LLC:

 Jurisdiction of Incorporation/Organization:      _____________________

 Federal Tax ID no.:                              ______________________

 Organizational ID no.:                           ______________________

 Chief Executive Office Address:                  ______________________
                                                  ______________________
                                                  ______________________

 Records Related to Collateral:                   ______________________
                                                  ______________________
                                                  ______________________

 Locations of Equipment or Inventory:             ______________________
                                                  ______________________
                                                  ______________________

 Other places of business:                        ______________________
                                                  ______________________
                                                  ______________________

 Trade/fictitious or prior corporate names (last five
 years):                                              ______________________

 Names used in tax filings (last five years):     ______________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52   Desc
                                                                                            Desc
                                       Exhibit    Page 515  of 680
                                    Exhibit 1-29 Page 357 of 500


 ELECTRO-OPTICAL INDUSTRIES, LLC:

 Jurisdiction of Incorporation/Organization:      ______________________

 Federal Tax ID no.:                              ______________________

 Organizational ID no.:                           ______________________

 Chief Executive Office Address:                  ______________________
                                                  ______________________
                                                  ______________________

 Records Related to Collateral:                   ______________________
                                                  ______________________
                                                  ______________________

 Locations of Equipment or Inventory:             ______________________
                                                  ______________________
                                                  ______________________

 Other places of business:                        ______________________
                                                  ______________________
                                                  ______________________

 Trade/fictitious or prior corporate names (last five
 years):                                              ______________________

 Names used in tax filings (last five years):     ______________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52      Desc
                                                                                     Desc
                             Exhibit    Page 516  of 680
                          Exhibit 1-29 Page 358 of 500


                                      ANNEX C

                              PLEDGED INTERESTS

                                                                                Percentage of
                                                                                 Outstanding
                                Type of         Certificate    No. of shares      Interests
      Name of Issuer            Interests        Number       (if applicable)     in Issuer
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 517  of 680
                          Exhibit 1-29 Page 359 of 500


                                     ANNEX D

                  COPYRIGHTS AND COPYRIGHT APPLICATIONS
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 518  of 680
                          Exhibit 1-29 Page 360 of 500


                                     ANNEX E

                        PATENTS AND PATENT APPLICATIONS
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52     Desc
                                                                                    Desc
                             Exhibit    Page 519  of 680
                          Exhibit 1-29 Page 361 of 500


                                      ANNEX F

                 TRADEMARKS AND TRADEMARK APPLICATIONS


                                 Application or                         Issue or
     Owner         Mark         Registration No.     Country          Filing Date
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 520  of 680
                          Exhibit 1-29 Page 362 of 500


                                     ANNEX G

                               DEPOSIT ACCOUNTS
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 521  of 680
                          Exhibit 1-29 Page 363 of 500


                                     ANNEX H

                              SECURITIES ACCOUNTS
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
                                                                                  Desc
                             Exhibit    Page 522  of 680
                          Exhibit 1-29 Page 364 of 500


                                     ANNEX I

                           COMMERCIAL TORT CLAIMS
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
                                                    06/28/19 Entered
                                                               Entered 03/31/20
                                                                       06/28/19 15:36:30
                                                                                14:56:52                    Desc
                                                                                                            Desc
                                      Exhibit    Page 523  of 680
                                   Exhibit 1-29 Page 365 of 500


                                                 EXHIBIT A

                        GRANT OF SECURITY INTEREST IN COPYRIGHTS


          WHEREAS, [NAME OF PLEDGOR] (the “Pledgor”) is the owner of the copyright applications
 and registrations listed on Schedule A attached hereto (all such copyrights, registrations and applications,
 collectively, the “Copyrights”); and

         WHEREAS, the Pledgor has entered into a Pledge and Security Agreement (as amended,
 modified, restated or supplemented from time to time, the “Security Agreement”), dated as of
 [__________ ___, 2013], in which the Pledgor has agreed with Fidus Mezzanine Capital II, L.P., as
 Collateral Agent (the “Collateral Agent”), with offices at 1603 Orrington Avenue, Suite 1005, Evanston,
 IL 60201, to execute this Grant;

          NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, as security for the payment and performance of the Secured Obligations (as
 defined in the Security Agreement), the Pledgor does hereby grant to the Collateral Agent, for the ratable
 benefit of the Secured Parties (as defined in the Security Agreement), a security interest in all of its right,
 title and interest in and to the Copyrights, and the use thereof, together with all proceeds and products
 thereof. This Grant has been given in conjunction with the security interest granted to the Collateral
 Agent under the Security Agreement, and the provisions of this Grant are without prejudice to and in
 addition to the provisions of the Security Agreement, which are incorporated herein by this reference.

         This Grant and any claims, controversy, dispute or cause of action (whether in contract or tort or
 otherwise) based upon, arising out of or relating to this Grant shall be governed by and construed and
 enforced in accordance with the laws of the State of New York (including Sections 5-1401 and 5-1402 of
 the New York General Obligations Law, but excluding all other choice of law and conflicts of law rules).



                                                    [NAME OF PLEDGOR]


                                                    By:      ________________________________

                                                    Title:   ________________________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
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                                                                                      Desc
                             Exhibit    Page 524  of 680
                          Exhibit 1-29 Page 366 of 500


                                       Schedule A

                  COPYRIGHTS AND COPYRIGHT APPLICATIONS



                         Application or                             Registration or
        Owner           Registration No.            Country          Filing Date




                                           2
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                               Entered 03/31/20
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                                                                                14:56:52                    Desc
                                                                                                            Desc
                                      Exhibit    Page 525  of 680
                                   Exhibit 1-29 Page 367 of 500


                                                  EXHIBIT B

                                   GRANT OF SECURITY INTEREST
                                   IN PATENTS AND TRADEMARKS


         WHEREAS, [NAME OF PLEDGOR] (the “Pledgor”) is the owner of the trademark applications
 and registrations listed on Schedule A attached hereto, (all such trademarks, registrations and
 applications, collectively, the “Trademarks”) and is the owner of the patents and patent applications listed
 on Schedule A attached hereto (all such patents, registrations and applications, collectively, the
 “Patents”); and

         WHEREAS, the Pledgor has entered into a Pledge and Security Agreement (as amended,
 modified, restated or supplemented from time to time, the “Security Agreement”), dated as of [________
 ___, 2013], in which the Pledgor has agreed with Fidus Mezzanine Capital II, L.P., as Collateral Agent
 (the “Collateral Agent”) , with offices at 1603 Orrington Avenue, Suite 1005, Evanston, IL 60201, to
 execute this Grant;

          NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, as security for the payment and performance of the Secured Obligations (as
 defined in the Security Agreement), the Pledgor does hereby grant to the Collateral Agent, for the ratable
 benefit of the Secured Parties (as defined in the Security Agreement), a security interest in all of its right,
 title and interest in and to the Trademarks and the Patents, and the use thereof, together with all proceeds
 and products thereof and the goodwill of the businesses symbolized by the Trademarks. This Grant has
 been given in conjunction with the security interest granted to the Collateral Agent under the Security
 Agreement, and the provisions of this Grant are without prejudice to and in addition to the provisions of
 the Security Agreement, which are incorporated herein by this reference.

         This Grant and any claims, controversy, dispute or cause of action (whether in contract or tort or
 otherwise) based upon, arising out of or relating to this Grant shall be governed by and construed and
 enforced in accordance with the laws of the State of New York (including Sections 5-1401 and 5-1402 of
 the New York General Obligations Law, but excluding all other choice of law and conflicts of law rules).

                                                    [NAME OF PLEDGOR]


                                                    By:      ________________________________

                                                    Title:   ________________________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS    Doc
                         Doc 236-1
                             156-1 Filed
                                      Filed 03/31/20
                                            06/28/19 Entered
                                                       Entered 03/31/20
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                                                                        14:56:52      Desc
                                                                                      Desc
                              Exhibit    Page 526  of 680
                           Exhibit 1-29 Page 368 of 500


                                       Schedule A

                 TRADEMARKS AND TRADEMARK APPLICATIONS


                                      Application or                      Issue or
      Owner             Mark         Registration No.    Country        Filing Date




                        PATENTS AND PATENT APPLICATIONS




                   Application or                                        Issue or
      Owner       Registration No.       Country        Inventor        Filing Date




                                            2
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
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                                                                                 14:56:52                      Desc
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                                       Exhibit    Page 527  of 680
                                    Exhibit 1-29 Page 369 of 500


                                                   EXHIBIT C

                                                FORM OF
                                           PLEDGOR ACCESSION


         THIS PLEDGOR ACCESSION (this “Accession”), dated as of _____________, ____, is
 executed and delivered by [NAME OF NEW PLEDGOR], a ______________ (the “New Pledgor”), in
 favor of Fidus Mezzanine Capital II, L.P., in its capacity as Collateral Agent under the Investment
 Agreement referred to hereinbelow (in such capacity, the “Collateral Agent”), pursuant to the Security
 Agreement referred to hereinbelow.

          Reference is made to the Investment Agreement, dated as of October___, 2013, among BW Piezo
 Holdings, LLC, a Delaware limited liability company (“BWP” or the “Parent”); CTG Advanced
 Materials, LLC, a Delaware limited liability company and wholly owned subsidiary of BWP (“CTG”);
 Channel Technologies Group, LLC, a California limited liability company and wholly owned
 subsidiary of BWP (“Channel”); and Electro-Optical Industries, LLC, a California limited liability
 company and wholly owned subsidiary of Channel (“Electro” and, together with BWP, CTG, and
 Channel, each, a “Borrower” and, collectively, the “Borrowers”); the Lenders party thereto; and the
 Collateral Agent (as amended, modified, restated or supplemented from time to time, the “Investment
 Agreement”). In connection with and as a condition to the initial and continued extensions of credit under
 the Investment Agreement, the Borrowers, pursuant to a Pledge and Security Agreement, dated as of the
 date of the Investment Agreement (as amended, modified, restated or supplemented from time to time, the
 “Security Agreement”), have granted in favor of the Collateral Agent a security interest in and Lien upon
 the Collateral described therein as security for their obligations under the Investment Agreement and the
 other Investment Documents. Capitalized terms used herein without definition shall have the meanings
 given to them in the Security Agreement.

          The Parent has agreed under the Investment Agreement to cause each of its future direct and
 indirect subsidiaries to become a party to the Investment Agreement as a Borrower thereunder and to the
 Security Agreement as a Pledgor thereunder. The New Pledgor is a direct or indirect subsidiary of the
 Parent and, as required by the Investment Agreement, has become a Borrower under the Investment
 Agreement as of the date hereof. The New Pledgor will obtain benefits as a result of the continued
 extension of credit to the Borrowers under the Investment Agreement, which benefits are hereby
 acknowledged, and, accordingly, desire to execute and deliver this Accession. Therefore, in consideration
 of the foregoing and other good and valuable consideration, the receipt and sufficiency of which are
 hereby acknowledged, and to induce the Lenders to continue to extend credit to the Borrowers under the
 Investment Agreement, the New Pledgor hereby agrees as follows:

          1.      The New Pledgor hereby joins in and agrees to be bound by each and all of the provisions
 of the Security Agreement as a Pledgor thereunder. In furtherance (and without limitation) of the
 foregoing, pursuant to Section 2.1 of the Security Agreement, and as security for all of the Secured
 Obligations, the New Pledgor hereby pledges, assigns and delivers to the Collateral Agent, for the ratable
 benefit of the Secured Parties, and grants to the Collateral Agent, for the ratable benefit of the Secured
 Parties, a Lien upon and security interest in, all of its right, title and interest in and to the Collateral as set
 forth in Section 2.1 of the Security Agreement, all on the terms and subject to the conditions set forth in
 the Security Agreement.

         2.      The New Pledgor hereby represents and warrants that (i) Schedule 1 hereto sets forth all
 information required to be listed on Annexes A, B, C, D, E, F, G, H and I to the Security Agreement in
 order to make each representation and warranty contained in Article III of the Security Agreement true
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS           Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
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                                                                                                         Desc
                                     Exhibit    Page 528  of 680
                                  Exhibit 1-29 Page 370 of 500


 and correct with respect to the New Pledgor as of the date hereof and after giving effect to this Accession
 and (ii) after giving effect to this Accession and to the incorporation into such Annexes, as applicable, of
 the information set forth in Schedule 1, each representation and warranty contained in Article III of the
 Security Agreement is true and correct with respect to the New Pledgor as of the date hereof, as if such
 representations and warranties were set forth at length herein.

         3.      This Accession shall be a Investment Document (within the meaning of such term under
 the Investment Agreement), shall be binding upon and enforceable against the New Pledgor and its
 successors and assigns, and shall inure to the benefit of and be enforceable by each Secured Party and its
 successors and assigns. This Accession and its attachments are hereby incorporated into the Security
 Agreement and made a part thereof.




                                                      2
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS       Doc
                            Doc 236-1
                                156-1 Filed
                                         Filed 03/31/20
                                               06/28/19 Entered
                                                          Entered 03/31/20
                                                                  06/28/19 15:36:30
                                                                           14:56:52        Desc
                                                                                           Desc
                                 Exhibit    Page 529  of 680
                              Exhibit 1-29 Page 371 of 500


          IN WITNESS WHEREOF, the New Pledgor has caused this Accession to be executed under
 seal by its duly authorized officer as of the date first above written.


                                            [NAME OF NEW PLEDGOR]


                                            By:      ________________________________

                                            Name: _______________________________

                                            Title:   ________________________________




                                               3
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS             Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
                                                                        06/28/19 15:36:30
                                                                                 14:56:52   Desc
                                                                                            Desc
                                       Exhibit    Page 530  of 680
                                    Exhibit 1-29 Page 372 of 500


                                                Schedule 1


 Information to be added to Annex A of the Security Agreement:


                                           FILING LOCATIONS

                   Name of Pledgor                                    Filing Location
                                                     Secretary of State of ____________


 Information to be added to Annex B of the Security Agreement:


                   JURISDICTION OF ORGANIZATION, CERTAIN LOCATIONS

 [Name of Pledgor:]

 Jurisdiction of Incorporation/Organization:       ______________________

 Federal Tax ID no.:                               ______________________

 Organizational ID no.:                            ______________________ [N/A]

 Chief Executive Office Address:                   ______________________
                                                   ______________________
                                                   ______________________

 Records Related to Collateral:                    ______________________
                                                   ______________________
                                                   ______________________

 Locations of Equipment or Inventory:              ______________________
                                                   ______________________
                                                   ______________________

 Other places of business:                         ______________________
                                                   ______________________
                                                   ______________________

 Trade/fictitious or prior corporate names (last five
 years):                                              ______________________

 Names used in tax filings (last five years):      ______________________


 Information to be added to [Annexes C/D/E/F/G/H/I] of the Security Agreement:

 [Complete as applicable]


                                                    4
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS          Doc
                               Doc 236-1
                                   156-1 Filed
                                            Filed 03/31/20
                                                  06/28/19 Entered
                                                             Entered 03/31/20
                                                                     06/28/19 15:36:30
                                                                              14:56:52                 Desc
                                                                                                       Desc
                                    Exhibit    Page 531  of 680
                                 Exhibit 1-29 Page 373 of 500


                                               EXHIBIT D

                                        PLEDGE AMENDMENT


          THIS PLEDGE AMENDMENT, dated as of _______________, _____, is delivered by
 [NAME OF PLEDGOR] (the “Pledgor”) pursuant to Section 5.1 of the Security Agreement referred to
 hereinbelow. The Pledgor hereby agrees that this Pledge Amendment may be attached to the Pledge and
 Security Agreement, dated as of [________ ___, 2013], made by the Pledgor and certain other pledgors
 named therein in favor of Fidus Mezzanine Capital II, L.P., as Collateral Agent (as amended, modified,
 restated or supplemented from time to time, the “Security Agreement,” capitalized terms defined therein
 being used herein as therein defined), and that the Pledged Interests listed on Schedule 1 to this Pledge
 Amendment shall be deemed to be part of the Pledged Interests within the meaning of the Security
 Agreement and shall become part of the Collateral and shall secure all of the Secured Obligations as
 provided in the Security Agreement. This Pledge Amendment and its attachments are hereby
 incorporated into the Security Agreement and made a part thereof.



                                                  [NAME OF PLEDGOR]


                                                  By:      ________________________________

                                                  Name: ________________________________

                                                  Title:   ________________________________
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52         Desc
                                                                                        Desc
                             Exhibit    Page 532  of 680
                          Exhibit 1-29 Page 374 of 500


                                      Schedule 1

                               PLEDGED INTERESTS



                                                                                   Percentage of
                                                                                    Outstanding
                                Type of            Certificate    No. of shares      Interests
      Name of Issuer            Interests           Number       (if applicable)     in Issuer
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
                                                      Entered 03/31/20
                                                              06/28/19 15:36:30
                                                                       14:56:52   Desc
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                             Exhibit    Page 533  of 680
                          Exhibit 1-29 Page 375 of 500




                   EXHIBIT 8
   Case
   Case 9:18-ap-01058-DS
        9:18-ap-01058-DS                  Doc
                                          Doc 236-1
                                              156-1 Filed
                                                       Filed 03/31/20
                                                             06/28/19 Entered
                                                                        Entered 03/31/20
                                                                                06/28/19 15:36:30
                                                                                         14:56:52           Desc
                                                                                                            Desc
                                               Exhibit    Page 534  of 680
                                            Exhibit 1-29 Page 376 of 500


                         PE-backed Channel Tech makes first add-on deal
                                                          The Deal Pipeline
                                                      October 15, 2013 Tuesday


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Length: 435 words
Byline: by Tatjana Kulkarni

Body


Private equity-backed Channel Technologies Group LLC has acquired piezoelectric crystal producer H.C.
Materials Inc. for an undisclosed amount, its first add-on deal since Blue Wolf Capital Partners LLC annexed it to
its portfolio nearly two years ago.

Santa Barbara, Calif.-based CTG, a ceramic solutions manufacturer, acquired H.C. Materials from entrepreneur
Pingdi Han, who will remain in a management role.

"We are working on strengthening and growing CTG," said Adam Blumenthal, managing partner of New York PE
firm Blue Wolf Capital, by phone. "We plan on keeping the company in our portfolio for several years before selling
it."

CTG, which was acquired by Blue Wolf Capital on Jan. 3, 2012, manufactures and distributes piezoelectric ceramic
solutions, transducers and navigation systems.

"The fit is perfect," Blumenthal said about the add-on deal. "H.C. makes the high-quality crystals, which Channel will
now use in manufacturing its products."

Prior to the acquisition, CTG's key customers were from the military and navy industries. With the addition of H.C.
Materials, CTG will be poised to expand its customer base to markets such as medical ultrasound imaging, ocean
mining and sonar systems.

"The quality of crystal H.C. makes will really give (CTG) a huge advantage in the medical and ocean exploration
space," Blumenthal stated.

In a statement, CTG CEO Ralph L. Phillips specifically mentioned that the acquisition "strengthens our advanced
materials segment."

H.C. Materials will maintain its headquarters in Bolingbrook, Ill.

Geoff Ligibel from Houlihan Lokey Inc.was H.C. Materials' financial adviser on the transaction.

CTG's financial adviser was Lincoln International LLC. It received legal counsel from Holland & Knight LLP.

Blue Wolf typically invests a minimum of $10 million in middle-market companies that have revenues of at least $25
million and are in the midst of some structural, financial or regulatory difficulty.

"We are a special-situation investment firm," Blumenthal said, "so when we noticed that Channel, which had such
strong technical capabilities, was going through a lot of financial challenges, we became interested."




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                                     Exhibit 1-29 Page 377 of 500
                                 PE-backed Channel Tech makes first add-on deal

Blumenthal, who sits on CTG's board, declined to specify what type of financial difficulty CTG was facing at the
time. But he did say the company was suffering "from neglect from its previous owners."

"What we have done was really give it the operational and strategic assistance it needed to strengthen ties with its
customers, specifically the Navy industry," Blumenthal said.

H.C. Materials officials couldn't be reached for comment.

DEAL SIZE

Undisclosed


Load-Date: October 29, 2013


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                          Exhibit 1-29 Page 378 of 500




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                          Exhibit 1-29 Page 391 of 500




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                                       Exhibit 1-29 Page 392 of 500

Ewelina Johnson

From:               Lynn Chen
Sent:               Friday, February 05, 2016 9:58 AM
To:                 Katherine Carrington
Subject:            Re: October Board Minutes
Attachments:        CTG Q3 2015 BoD minutes.pdf



Here you go

>>> On 2/5/2016 at 6:31 AM, in message <882846ac0a144e1e901c7d14e21034a5@bw-prod-exch.blue-
wolf.com>, Katherine Carrington <Katherine@bluewolfcapital.com> wrote:

  Hi Lynn,



  Do you mind sending me the October Board minutes?



  Best,

  Katherine



  Katherine Carrington

  Blue Wolf Capital Partners

  One Liberty Plaza, 52nd Floor

  New York, NY 10006

  Phone: 212‐488‐3685

  Fax: 917‐677‐8233

  katherine@bluewolfcapital.com




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                          Exhibit 1-29 Page 397 of 500




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                                       Exhibit 1-29 Page 398 of 500

Ewelina Johnson

From:              Lynn Chen
Sent:              Wednesday, January 27, 2016 12:55 PM
To:                Sergio De Hoyos; John Hager
Cc:                Art Ortega; Stephen Dynan
Subject:           Re: CTGAM Cash Flow Forecast
Attachments:       CTGAM Cash Flow Roll Forward-we 1-25-2015-16 WK.xlsx



Hi John,

Thanks for doing that quickly, that helps for today. However, we do need you to stretch your payments out to
suppliers as much as possible, at least a week out from your current payment stream. As you know we are
managing our cash very tightly and will need AM to slow down the outflows as well. We need you to reduce
payments by at least $45k over the next week (through Feb 5).

Thanks, lynn

>>> On 1/27/2016 at 9:31 AM, in message
<BY2PR05MB2542A65688434259E29047692D90@BY2PR05MB254.namprd05.prod.outlook.com>, John
Hager <john.hager@hcmat.com> wrote:

  I was able to get it completed – buyers are on a tour. See attached



  John P. Hager

  Controller




  CTG Advanced Materials

  Formerly HC Materials

  John.hager@hcmat.com

  630‐754‐8630 direct

  479 Quadrangle Dr

  Bolingbrook, Il 60440




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                          Exhibit 1-29 Page 400 of 500




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                                        Exhibit 1-29 Page 401 of 500

Ewelina Johnson

From:                Lynn Chen
Sent:                Friday, January 22, 2016 9:37 AM
To:                  Jeff Rumsey
Cc:                  Jim Smith; Vinnie Odell
Subject:             Re: Payments - NRL & Associates


Hi Jeff,
I understand your frustration and apologize for the delay. Let me follow up today and let you know what we can do to
catch up.
Thanks,
Lynn

> On Jan 22, 2016, at 7:26 AM, Jeff Rumsey <jrumsey@nrlassoc.com> wrote:
>
> Good morning Lynn. I have been working with Cheryl Hanna for several months and wanted to reach out to you.
>
> I'm writing regarding the recent payment patterns of CTG. In November, Terry Jamba requested that NRL push out
several deliveries into January 2016. We accepted his request and moved several orders to January 2016 deliveries to
assist CTG with your inventory issues. Terry agreed to a payment schedule and left a week later for another company.
Damon made sure our payments were received as promised.
>
> On January 13, 2016 Damon sent Vinnie Odell a schedule with expected pay dates for our open invoices totaling
$424,120. We expected a payment of $88,601.56 on Jan 15th based on Damon's prior commitment to Terry's payment
schedule, our commitment to CTG by delaying shipments, and Damon's expected payment schedule. We didn't receive
a payment until Jan 20th and it was for only $47,178.40. Per Cheryl, after several emails, we received another $21,120
towards the original amount of $88,601 today. We are still short of our original expectations by $20,303 and this invoice
is now at 53 days.
>
> We are requesting that our invoices be paid as Damon proposed based on our flexibility with CTG at year end and the
Net 30 terms we agreed to on the PO's. We are asking for your commitment to meet these dates. Cheryl tells us each
week that she doesn't know what the payments will be and that she has no say in what gets paid.
>
> Please contact us with any questions or comments. Thanks in advance for your reply.
>
> Best regards,
>
> Jeff Rumsey
> Controller
> NRL & Associates, Inc
> 410‐643‐4063 x 315
> <Mime.822>




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                             Exhibit    Page 560  of 680
                          Exhibit 1-29 Page 402 of 500




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                                                Exhibit    Page 561  of 680
                                             Exhibit 1-29 Page 403 of 500

Ewelina Johnson

From:                     Sergio De Hoyos
Sent:                     Tuesday, February 09, 2016 12:34 PM
To:                       Lynn Chen
Cc:                       Art Ortega; Cheryl Hanna; David Oldham
Subject:                  Cash Flow Forecast, 2.8.16
Attachments:              CTG Daily Cash Flow Forecast_02.08.16.xlsx


Lynn,

Attached is the latest cash flow forecast. It does not look good. I took out the $1.8m of ‘existing AP’ payments but we still go negative
on 3/31 (plenty of liquidity through then) and remain so for most of April.

One reason for the dip versus the prior forecast is that we had ~$650k of collections this quarter for MK-54shipments that have been
(and were then already) delayed.

I’ll revise again after discussion.

Sergio




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                             Exhibit    Page 562  of 680
                          Exhibit 1-29 Page 404 of 500




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                                           Exhibit    Page 563  of 680
                                        Exhibit 1-29 Page 405 of 500

Ewelina Johnson

From:                Cheryl Hanna
Sent:                Wednesday, February 17, 2016 9:51 AM
To:                  John Hager
Subject:             Re: Cash needs


Okay thanks. I'll send it now. Art had on his list that you had 10k in CapEx and 16,484 in AP and 152,534 in fixed costs
(PR/401K is 99K so I don't know what the rest was) Is his report correct? As I stated before it looks like you only have
enough for payroll this week.

Thanks,
Cheryl

+ for AP and 155K for PR and I'm assuming more AP, but there isn't enough in your account for that. Is his forecast
incorrect?

Cheryl

>>> John Hager <john.hager@hcmat.com> 2/17/2016 7:49 AM >>>
Cheryl with the addition of another $20K+ today you only need to send us $35K for payroll.

Thanks,

John P. Hager
Controller
[cid:image001.png@01D09213.D3015C20]
CTG Advanced Materials
Formerly HC Materials
John.hager@hcmat.com<mailto:John.hager@hcmat.com>
630‐754‐8630 direct
479 Quadrangle Dr
Bolingbrook, Il 60440




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                             Exhibit    Page 564  of 680
                          Exhibit 1-29 Page 406 of 500




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                                           Exhibit    Page 565  of 680
                                        Exhibit 1-29 Page 407 of 500

Ewelina Johnson

From:                Chris Holmes
Sent:                Friday, June 24, 2016 11:21 AM
To:                  Vic Caruso
Subject:             FW: EOI Sale


Please review before I send to Adam and Charlie. Thanks

From: Bill Cidzik
Sent: Friday, June 24, 2016 8:28 AM
To: Chris Holmes <CHolmes@channeltech.com>
Subject: EOI Sale

As discussed earlier this week…

   The sale of EOI to a foreign interest and the way it was handled has far reaching implications that may adversely
   impact CTG’s business going forward.

   First off, the Department of State is appalled that they were not notified, as required by law, 60‐days in advance of
   the sale. Notifications were subsequently submitted however we don’t yet know what, if any, fines, penalties, or
   criminal charges may be levied on CTG or its employees. There may also be ITC related escapes that occurred during
   the due diligence process with prospective buyers and the new owners which could compound the situation.

   Defense Security Services (DSS) is also distraught that they were not notified of the pending sale and doesn’t
   understand why the FSO was not consulted during the process. Although we are working collaboratively with DSS to
   clean up the mess and process the appropriate notifications and update the various government databases and
   systems, CTG’s security accreditation is at risk. At a minimum, I don’t expect CTG’s annual audit by DSS to go as
   smoothly as they have in the past and the corrective actions could be onerous to our business.

   And, EOI has a classified contract with NAWC that was awarded 4/18/2016. NAWC is extremely upset that they
   were not notified of 1) The pending sale before they entered into the contract and 2) Not notified until after the sale
   took place which may be a violation of the terms of the contract. As a result, NAWC is reviewing the situation with
   their legal department and will be terminating the contract. The type of termination (default or convenience) is
   unknown at this time. Termination for default has long term (7–years) ramifications that may adversely impact our
   ability to compete for new government contracts. It may also impact option year awards for IDIQ contracts that we
   have in‐house.

   Summary of Discoveries/Actions to Date follows:

       DSS was notified of sale EOI to HGH Infrared Systems, Inc. on Monday 6/13.

       It was determined that EOI had one active classified contract, this order was issued on 4/18/2016, no production
        work has been done.

       Cecily met with Steve Scopatz, Thierry Campos (HGH President) and Cliff Warren (HGH Consultant) to discuss the
        facility clearance and the company organizational structure.

       After reporting the organizational structure to DSS it was determined that the Facility Clearance could not be
        transferred without sponsorship from the Government Customer or a currently cleared defense contractor.


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                                              Exhibit    Page 566  of 680
                                           Exhibit 1-29 Page 408 of 500
         All classified holdings were pulled from EOI and moved to CTG Security safe while awaiting direction from NAWC
          Customer.

         All cleared EOI employees were debriefed and removed from our PSM net in JPAS with the exception of Chris
          Holmes, Linda Akens and Cecily. Chris will be debrief upon his return to the office, Linda and Cecily are waiting
          for direction from DSS.

         Cecily notified Billie Tomlinson Security Specialist for NAWC of the sale on 6/17 as requested by DSS.

         On 6/22 NAWC decided to cancel the classified contract and will not be sponsoring EOI for a facility clearance at
          this time because of their foreign ownership.

              o   We will be receiving a final dd‐254 with disposition of the classified documents involved in the contract.

              o   Faith Lagore, Contracting Officer with NAWC will be send a bilateral modification to cancel the
                  contract. Not sure who will need to sign the modification however, Brent Lindstrom is the POC on the
                  contract.

         Cecily met with Steve and Brent today 6/22 to inform them of NAWC’s decision.

              o   Steve would like to know what happens with all the purchased parts for the order.

              o   Brent will be contacting customer to follow up on decision.

         The 27751 Cage code will stay with BWPH Services LLC and will eventually expire in SAM.

         Linda Akens was called in to handle all Export/ITAR actions, a letter was written and signed by Chris. Maria
          should have sent it to the state department.

         Cecily left a voicemail for the DSS Rep today 6/22 to find out what our next step is to void the facility clearance
          and remove it from JPAS.

Let me know if you need anything else.

‐ Bill




                                                               2
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                             Exhibit    Page 567  of 680
                          Exhibit 1-29 Page 409 of 500




                 EXHIBIT 16
      Case
      Case 9:18-ap-01058-DS
           9:18-ap-01058-DS            Doc
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                                            Exhibit    Page 568  of 680
                                         Exhibit 1-29 Page 410 of 500

Ewelina Johnson

From:                Chris Holmes
Sent:                Monday, June 20, 2016 5:30 PM
To:                  Vic Caruso
Cc:                  Dave Oldham
Subject:             EOI Sale


As expected, the first major issue has emerged regarding the sale.

Within a contract that EOI has is a requirement that DSS be informed 60 days prior to any change in control. In our haste
to get the deal done a proper review was not completed nor was the customer informed.

As such, both DSS and Navy legal have been engaged and we have quarantined the product, documentation, de‐briefed
personnel and removed their names from JPAS.

This will likely cause either an additional audit of CTG and will likely put our company clearance under review during the
next audit. We received a commendable rating last time.

The inability of CTG to have a compliant security system will jeopardize existing work and the ability to quote/perform
future work in our core array business.

I will have a complete report generated and ready for submittal to BW by week end.

I hope the deal was worth it.




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Case 9:18-ap-01058-DS
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                        Doc 236-1
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                             Exhibit    Page 569  of 680
                          Exhibit 1-29 Page 411 of 500




                 EXHIBIT 17
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                             Exhibit    Page 570  of 680
                          Exhibit 1-29 Page 412 of 500




    Channel Technologies Group



                                              Making the Invisible Visible


                            CTG COMPANY C O N F I D E N T I A L                          1
Corporate Organization
                   Case
                   Case 9:18-ap-01058-DS
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                                                 Exhibit    Page 571  of 680
                                              Exhibit 1-29 Page 413 of 500




 Blue Wolf Capital Partners                               Board                                  Strategic Advisory Board
 Acquisitions:                                              of                                Pierre Chao, Renaissance Strategic Advisors
                                                                                                 Vice Admiral John Donnelly, USN Ret’d
 - CTG December 2011                                     Directors                                 Rear Admiral Nevin Carr, USN Ret’d
                                                                                                   Rear Admiral Jerry Ellis, USN Ret’d
 - HC Material October 2013




  Single Crystal            Piezoelectric              Acoustic and                   Underwater Acoustic               Optical Test /
    Ceramics                  Ceramics                  Ultrasonic                       Systems and               Calibration Equipment
                                                       Transducers                       Components

           Advanced Materials                              Acoustic & Ultrasound Systems                                      Optics

                                                CTG COMPANY C O N F I D E N T I A L                                                         2
History
             Case
             Case 9:18-ap-01058-DS
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                                     Doc 236-1
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                                          Exhibit    Page 572  of 680
                                       Exhibit 1-29 Page 414 of 500




 CTG Corporate History
  Founded in 1959
  Located in Santa Barbara, CA and
   Bolingbrook, IL
  Approximately 275 Employees
   • 60 Program Mgmt and
     Engineering
     Personnel

 Revenues
  ~$50M Annual Revenues

 Multiple End Markets:
    • 50% Defense
    • 50% Energy / Medical / Sonar /
      Ocean Technology


        Engineered High-Quality Piezoelectric Ceramics, Sensors and Systems Since 1959

                                         CTG COMPANY C O N F I D E N T I A L                          3
            Case
            Case 9:18-ap-01058-DS   Doc
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Complimentary Technologies from Materials to Systems
                 9:18-ap-01058-DS                                                  14:56:52                      Desc
                                         Exhibit    Page 573  of 680
                                      Exhibit 1-29 Page 415 of 500




                                                  Global leader in:
                                                  •   Development of manufacturing of high performance piezoceramic single
                                                      crystals
                                                      ‒ PMN – PT Based
                                                  •   Primary supplier to global tier I ultrasound providers
                                                  •   Critical supplier to meet general USN products and programs
      Advanced
      Materials                                   Leading manufacturer of piezoelectrical compositions
                                                      ‒ Lead Zironate Titanate
                                                      ‒ Barium Titanate

                                                  Complete Shapes:
                                                     ‒ Hollow Cylinders, Striped Cylinders, Hemispheres, Spheres, Discs,
                                                       Rings, Discs with Holes, and Custom Shapes


                                                  Leading manufacturer of acoustic transducer for
                                                  •   Strip and submarine sonar
                                                  •   Oceanographic survey
                                                  •   Marine life research
                                                  •   Medical devices
       Acoustic                                   •   Torpedo arrays
          and
      Ultrasound                                  Global leader in:
       Systems                                    •   Sonar Systems
                                                  •   Navigation and Range Systems
                                                  •   Flexible Arrays
                                                  •   Underwater Acoustic Sciences
                                                  •   Ocean Instrumentation


                                                  Global leader in:
                                                  •   Advanced infrared and visible light spectrum test and calibration
        Optics                                        equipment
                                                  •   Solves customers Electro-Optical testing challenges by understanding end
                                                      use requirements and providing best value solution




                                        CTG COMPANY C O N F I D E N T I A L                                                      4
Management Organization
                Case
                Case 9:18-ap-01058-DS
                     9:18-ap-01058-DS   Doc
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                                             Exhibit    Page 574  of 680
                                          Exhibit 1-29 Page 416 of 500




                                                    President & CEO
                                                    Ralph L. Phillips




                                         Senior Fellow
                                          Pengdi Han




                                                                                      Business              Finance &
 HC Materials             EOI           VSM / Operations             Engineering
                                                                                     Development          Administration
  S. Dynan            S. Scopatz          G. Douville                 M. Shaw
                                                                                       B. Febo             P. Downey




                                              Ceramics VSM
                                              G. Springfield




                                            Transducers VSM
                                               B. Hinnrichs




                                              Systems VSM
                                                J. Mather


                                             CTG COMPANY C O N F I D E N T I A L                                           5
Engineering Strengths
                Case
                Case 9:18-ap-01058-DS
                     9:18-ap-01058-DS   Doc
                                        Doc 236-1
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                                             Exhibit    Page 575  of 680
                                          Exhibit 1-29 Page 417 of 500




 CTG has developed unparalleled in-house expertise,
 enabling the Company to design and manufacture
 piezoelectric ceramics to complete turn-key sonar
 systems.

 • HC Materials is the world leader in high performance single crystal
   piezoelectric development. HC provides elements for transduction
   devices such as actuators, position sensors, ultrasound imaging,
   active vibration control, acoustic transducers and projectors

 • CII employs an internationally recognized group of engineers. This
   engineering talent, specialized design and manufacturing facilities
   present a significant competitive advantage.

 • ITC has developed and manufactured over 5,000 different acoustic
   transducer designs. ITC builds, standard products, custom designs
   and partners with customers as part of its customers’ product
   development efforts.

 • STI’s core strength is its ability to provide a complete
   acoustic solution for its customers. STI has developed
   products deployed on virtually every class of
   underwater system in operation by the US military.


                                            CTG COMPANY C O N F I D E N T I A L                          6
Manufacturing Strengths
             Case
             Case 9:18-ap-01058-DS
                  9:18-ap-01058-DS   Doc
                                     Doc 236-1
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                                          Exhibit    Page 576  of 680
                                       Exhibit 1-29 Page 418 of 500




  Two state-of-the-art ceramics processing facilities

  In-house sub-system and system manufacturing and
   capabilities
   • Prototypes to full high-rate production
   • ~ 90+% of assemblies / sub-assemblies produced in-house
   • Full Spectrum Machine Shop

  Broad spectrum of product / component manufacturing
   • State-of-the-art Cloud Based ERP System
   • Cellular manufacturing / dedicated resources

  Strong manufacturing workforce
   • Technical aptitude and experienced technicians
   • Excellent safety record




                                         CTG COMPANY C O N F I D E N T I A L                          7
Selected Key Customers
       Case
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                                    Exhibit    Page 577  of 680
                                 Exhibit 1-29 Page 419 of 500




                                   CTG COMPANY C O N F I D E N T I A L                          8
Facilities
         Case
         Case 9:18-ap-01058-DS
              9:18-ap-01058-DS           Doc
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                                              Exhibit    Page 578  of 680
                                           Exhibit 1-29 Page 420 of 500




         Santa Barbara, CA, 130,000 Sq Ft                                            Aerial Map Of The CTG Campus
            Ceramic Powder Formulation and Manufacture
            Transducer Design and Manufacture
            Complete Turn-Key System Design and Manufacture
            In-House Prototype Machine Shop
            Manufacturing
                Low-Rate Initial Production
                High-Rate Production
            Specialized Test of Undersea Products
            ISO9001:2008 Certified




             HC Materials Facility
                                                              Bolingbrook, IL, 20,000 Sq Ft
                                                                  Single crystal scientists and application engineering
                                                                  Comprehensive crystal growth and processing
                                                                  Platinum crucible manufacturing, chemical batch
                                                                   purification, crystal orientation, machining and plasma
                                                                   magnetron sputtering
                                                                  Comprehensive testing capability
                                                                  ISO9001:2008 Certified




                                   Well capitalized, State-of-Art Facilities

                                               CTG COMPANY C O N F I D E N T I A L                                           9
Summary
         Case
         Case 9:18-ap-01058-DS
              9:18-ap-01058-DS   Doc
                                 Doc 236-1
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                                      Exhibit    Page 579  of 680
                                   Exhibit 1-29 Page 421 of 500




      54 Years of Innovation and Delivery of Value Added
       Products
      Comprehensive Design, Build and Test Capability
         • Advanced Materials to Complete Systems
      Focus on High-Quality / Consistent Performance /
       Excellent Delivery Performance
      Strong Private Equity Backing with active Strategic
       Advisory Board
      Excellent Track Record in Application of Advanced
       Materials and Electronics to Provide Our Customers with
       a Competitive Advantage… from Materials to Systems



    Engineered High-Quality Piezoelectric Ceramics, Sensors and Systems Since 1959

                                     CTG COMPANY C O N F I D E N T I A L                          10
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 580  of 680
                          Exhibit 1-29 Page 422 of 500




                 EXHIBIT 18
Case
Case 9:18-ap-01058-DS
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                                    Doc 236-1
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                                         Exhibit    Page 581  of 680
                                      Exhibit 1-29 Page 423 of 500




  CTS Acquires Market Leader of Piezoelectric Single Crystals for the
                         Medical Industry
March 14, 2016 08:32 AM Eastern Daylight Time

LISLE, Ill.--(BUSINESS WIRE)--CTS Corporation (NYSE: CTS) has announced the acquisition of CTG Advanced
Materials, LLC (CTG-AM) for $73 million in cash. CTG-AM, formerly operated as H.C. Materials, is the market leading
designer and manufacturer of single crystal piezoelectric materials, serving major Original Equipment Manufacturers
throughout the medical marketplace. These materials enable high definition ultrasound imaging (3D and 4D), as well as
intravascular ultrasound technology. Other applications for these materials include wireless pacemakers, implantable
hearing aids and defense technologies.

Located in Bolingbrook, Ill., CTG-AM was founded in 1997 and since 2013 has been a portfolio company of Blue Wolf
Capital Fund II, L.P. CTG-AM is the only company to have vertically integrated its entire single crystal manufacturing
process. With the acquisition of CTG-AM, CTS gains intellectual property and proprietary manufacturing methods that
expand its offering of piezoelectric materials. This allows CTS to become the leading large-scale commercial producer of
both single crystal materials and traditional piezoelectric ceramics.

“CTG-AM’s market leadership, technological expertise and winning spirit are a perfect fit for CTS,” stated Kieran
O’Sullivan, CEO of CTS Corporation. “The acquisition of CTG-AM increases CTS’ involvement in the medical industry, and
expands our portfolio of products and technologies around the categories of Sense, Connect and Move.”

About CTS

CTS (NYSE: CTS) is a leading designer and manufacturer of sensors, actuators and electronic components to OEMs in
the aerospace, communications, defense, industrial, information technology, medical and transportation markets. CTS
manufactures products in North America, Europe and Asia.

About Blue Wolf Capital Partners

Blue Wolf Capital Partners LLC, a private equity firm founded in 2005, specializes in control investments in middle-market
companies. Leading by experience, and with a reputation for excellence, Blue Wolf transforms companies. Combining a
collaborative approach with strategic and operations resources, Blue Wolf manages challenging situations and complex
relationships between business, customers, employees and regulators to build value for stakeholders. For additional
information, please visit www.bluewolfcapital.com.


Contacts
Case
CTS   9:18-ap-01058-DS
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                                Exhibit    Page 582  of 680
                             Exhibit 1-29 Page 424 of 500
Nick Hajewski, Marketing Communications Manager, +1 630-577-8865
E-mail: nick.hajewski@ctscorp.com
Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 583  of 680
                          Exhibit 1-29 Page 425 of 500




                 EXHIBIT 19
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         Case 9:18-ap-01058-DS
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                                        Doc 236-1
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                                             Exhibit    Page 584  of 680
                                          Exhibit 1-29 Page 426 of 500

Ewelina Johnson

From:                Lynn Chen
Sent:                Tuesday, January 26, 2016 5:20 PM
To:                  Cheryl Hanna
Cc:                  Art Ortega
Subject:             Re: BDO statement to Blue Wolf forwarded to you



No, we need to pay and book it to BWP to consulting


>>> On 1/26/2016 at 3:11 PM, in message <56A78FF1.8D9F.00F8.0@channeltech.com>, Cheryl Hanna <Hanna@channeltech.com>
wrote:
   If it's for CTGAM, I can book it to intercompany in CTG to CTGAM and we can pay it, or I can send the invoice to
   CTGAM to pay it themselves, or we can book pay it in CTG and book it in BWP. Since I don't know what it is for, I
   don't know which is the correct option. I'll get an invoice and then I'll let you decide once we see what we are getting
   billed for.


   Cheryl


   >>> Lynn Chen 1/26/2016 3:02 PM >>>
   I dont know about it except that BDO was doing some work for Advanced Materials. So, this would normally be
   charged to BWP and you definitely dont need to pay it this week. Go ahead and ask for an invoice(s). Do you know
   where they came from (who gave it to Lia)?


   >>> On 1/26/2016 at 2:41 PM, in message <56A78B91.8D9F.00F8.0@channeltech.com>, Cheryl Hanna
   <Hanna@channeltech.com> wrote:
   Hi Lynn


   Lia put a statement from BDO on my chair because it was with the Holland and Knight invoices she was
   given. Am I to pay this? The statement was originally mailed to Blue Wolf so I am assuming they are
   telling us that we should pay it. Is it okay for me to call BDO and ask for an invoice? The statement
   doesn't tell me anything. Also, it's for 69,752.14 invoice dated 12/09. Am I to pay it this week? Does it
   reduce the 300K AP Art said we should pay this week? Damon's Critical list alone was 316K. Mine for CTG is
   56K (once again ignoring the 16K customer reimbursements we owe from Aug.) I'm about to look at EOI's
   aging now.


   Thanks,
   Cheryl




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     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 585  of 680
                          Exhibit 1-29 Page 427 of 500




                 EXHIBIT 20
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                                           Exhibit    Page 586  of 680
                                        Exhibit 1-29 Page 428 of 500

Ewelina Johnson

From:                Lynn Chen
Sent:                Tuesday, January 05, 2016 8:39 PM
To:                  Cheryl Hanna
Cc:                  Art Ortega
Subject:             Re: Funds transfer to CTGAM


Ok

> On Jan 5, 2016, at 6:27 PM, Cheryl Hanna <Hanna@channeltech.com> wrote:
>
> I still need to send CTGAM 100K to cover their payroll, but do you want me to go ahead and send them 75K for AP?
They had originally asked for 150K, but since they got 74K in today, I'm guessing I can get away with just sending the
75K. We do have confirmations for tomorrow from BAE 135K and Northrop 601K so we have the money.
>
> Thanks,
> Cheryl




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                             Exhibit    Page 587  of 680
                          Exhibit 1-29 Page 429 of 500




                 EXHIBIT 21
         Case
         Case 9:18-ap-01058-DS
              9:18-ap-01058-DS          Doc
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                                             Exhibit    Page 588  of 680
                                          Exhibit 1-29 Page 430 of 500

Ewelina Johnson

From:                 Lynn Chen
Sent:                 Wednesday, December 02, 2015 8:19 PM
To:                   Cheryl Hanna
Cc:                   Art Ortega
Subject:              Re: AP Selections 345,579.22 (includes the 56,991.00 for Nabertherm that was supposed to be 80k
                      last week)



Go ahead and borrow and pay all that you have this week.
Thanks


>>> On 12/2/2015 at 6:14 PM, in message <565F3729.8D9F.00F8.0@channeltech.com>, Cheryl Hanna <Hanna@channeltech.com>
wrote:
   Is that 250K including the 56,991.00 for Nabertherm that was supposed to go out last week? This week's selections
   were 288K so we are over 38k. Do you want me to take off some of mine or Terry's to try to get to 250K? We would
   still be short 60K unless anything more money comes in tomorrow that we didn't know about. CTGAM has only had a
   deposit on Monday and I took 275K from that as John Hager said that's what he could give us. He still has 63K
   available, but he probably is still doing payments this week.



   Cheryl


   >>> Lynn Chen 12/2/2015 6:07 PM >>>
   Hi Cheryl,
   Ok. We were only going to pay out $250k or so per our cash flow. I suppose all of this is critical? If so, go ahead and
   borrow what we need to pay these. Do you know if AM has extra cash?
   Thanks, lynn


   >>> On 12/2/2015 at 6:05 PM, in message <565F3439.8D9F.00F8.0@channeltech.com>, Cheryl Hanna
   <Hanna@channeltech.com> wrote:
   Damon added another 66K for NRL to keep to Terry's original schedule that he had given them that I did
   not adhere to because that was not what was on the 11/17 file. Damon also had to add 4,400.00 for Brylen
   because they won't bring back Hioki equipment (I think that's what Damon said) until we get caught
   up. Terry didn't have that until next week. Mine went up because the projections were not known by week
   and I have to use the current aging to see what really is due.        The one I just sent out had the most recent
   updated file by week. Damon only gave me what had to be paid this week. He didn't look any further for
   adjusting the future payments so I left Terry's schedule out there. Does that answer your question?


   Cheryl




   >>> Lynn Chen 12/2/2015 5:40 PM >>>
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  Case 9:18-ap-01058-DS
       9:18-ap-01058-DS             Doc
                                    Doc 236-1
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                                         Exhibit    Page 589  of 680
                                      Exhibit 1-29 Page 431 of 500
Cheryl,
This went up by about $100k for Terry/Damons input for this week (from the schedule that you sent out to
be updated to this one now). Do you know why? We still need a schedule that goes out by week, do you
have that?
Thanks, lynn


>>> On 12/2/2015 at 5:29 PM, in message <565F9AF8.A8A : 170 : 37913>, Cheryl Hanna <> wrote:
I've attached the updated selections on the combined file and also the detail files from each company that I
will use to select from Plex and so you can see the detail and the real days since the combined file has the
days old from a 11/17 aging. I did pick some old invoices that were not very much money on vendors I
normally don't select. They total around 10K so I can take them off if you want. You can filter on the "x" on
column "U" if you want to see what I'm talking about. I already know of 96,620.00 that is supposed to be
deposited in our account tomorrow from Alcon and Raytheon. After that we will still be short about 100K
to cover all of this. We will need to borrow tomorrow morning before 9:00 to get the funds in our account
tomorrow. Damon's list is critical. He only picked 4 suppliers, but I kept what Terry had for this week
also.     I didn't include Sergio or Katherine on this until it's approved.




Cheryl


CTG257,627.44
EOI27,649.61
MSI3,311.17
288,588.22
56,991.00 ARSEN LAST WEEK'S 80k
345,579.22




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Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                                     Filed 03/31/20
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                             Exhibit    Page 590  of 680
                          Exhibit 1-29 Page 432 of 500




                 EXHIBIT 22
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS               Doc
                                    Doc 236-1
                                        156-1 Filed
                                                 Filed 03/31/20
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                                         Exhibit    Page 591  of 680
                                      Exhibit 1-29 Page 433 of 500

  From:               Lynn Chen
  To:                 Sergio De Hoyos
  Subject:            Re: Fwd: 2016 Budget - Revenues meeting
  Date:               Thursday, January 21, 2016 1:43:50 PM


  Sergio,

  When you do this, can you do it in this format:

                              Year Total


  Ceramics                       4,340,074


  Sensors Total                30,646,422

             MK-54               5,051,938

             TR-343              2,900,000

             CPFF                4,472,856

             FFP Shipments   18,221,628


  CTG                          34,986,496


  Optics                         5,455,226


  Santa Barbara                40,441,722


  CTG AM                       14,817,039


  CTG Total                    55,258,762



  >>> On 1/21/2016 at 5:50 AM, in message <56A0E215.875 : 248 : 56735>, Lynn Chen
  <lchen@channeltech.com> wrote:


      Sergio,



      Can you give me a one pager for Revenues today that shows 2015 Budget, 2015 Actuals and
      2016 Budget by business with the biggest variances by customer or program? I know there is
      still the POC change to do but can I get one version pre-change and we'll do one after?
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS            Doc
                                 Doc 236-1
                                     156-1 Filed
                                              Filed 03/31/20
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                                                                                14:56:52                     Desc
                                                                                                             Desc
                                      Exhibit    Page 592  of 680
                                   Exhibit 1-29 Page 434 of 500



     Thanks,

     Lynn

     Begin forwarded message:

            From: "Lynn Chen" <LChen@channeltech.com>
            Date: January 20, 2016 at 6:27:50 PM PST
            To: "Arsen Melconian" <AMelconian@channeltech.com>, "Brad Hinnrichs"
            <BHinnrichs@channeltech.com>, "Greg Hutchison"
            <GHutchison@channeltech.com>, "Maria Miller" <MMiller@channeltech.com>,
            "Tim Jock" <TJock@channeltech.com>, "Stephen Scopatz" <sscopatz@electro-
            optical.com>, "Brent Febo" <Bfebo@channeltech.com>, "John Mather"
            <mather@channeltech.com>
            Cc: "Sergio De Hoyos" <SDeHoyos@channeltech.com>
            Subject: 2016 Budget - Revenues meeting

            Hi Maria,

            Could you set up a meeting for Chris H and those copied on this email to review 2016 Revenues,
            mid-week next week?

            Sergio will send out the most recent Revenues Budget in the next few days to this group.

            Arsen, Brad, Greg, John, Tim and Steve,

            Could you let us know where you think you will end up for January in the mean time?

            Thanks, lynn
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
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                             Exhibit    Page 593  of 680
                          Exhibit 1-29 Page 435 of 500




                 EXHIBIT 23
         Case
         Case 9:18-ap-01058-DS
              9:18-ap-01058-DS           Doc
                                         Doc 236-1
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                                              Exhibit    Page 594  of 680
                                           Exhibit 1-29 Page 436 of 500

Ewelina Johnson

From:                 Lynn Chen
Sent:                 Thursday, January 21, 2016 6:58 PM
To:                   Art Ortega; Cheryl Hanna
Subject:              Fwd: Re: Equ



Yes into our CTG account since I think we only have the Escrow account for BWP, right?
So CIT account# 1311010565, ABA 322270288 ?


>>> On 1/21/2016 at 4:56 PM, in message <56A10F4C.8D9F.00F8.0@channeltech.com>, Cheryl Hanna <Hanna@channeltech.com>
wrote:
   So the money is going to come to our CTG bank account? I know that info, just not any BWP bank accounts :) The
   bank name is now CIT Bank and not OWB


   Cheryl


   >>> Art Ortega 1/21/2016 4:53 PM >>>
   Lynn
   See red below. Money for cure was sent to us and then we sent to bank.
   Hope this helps.




   Art Ortega
   Controller
   Office: (805) 690-5236
   Cell : (818) 274-8008
   >>> Haran Narulla <haran@bluewolfcapital.com> 12/29/2014 10:17 AM >>>
   Thanks, got it.




   > On Dec 29, 2014, at 13:13, Cheryl Hanna <Hanna@channeltech.com> wrote:
   >
   > Attached should be sufficient information.
   >
   > Cheryl
   >
   >>>> Haran Narulla <haran@bluewolfcapital.com> 12/29/2014 9:29 AM >>>
   > Can you get the full info for the account, including bank location details, etc.? They sometimes ask that for wire
   funding purposes.
   >
                                                                 1
    Case
    Case 9:18-ap-01058-DS
         9:18-ap-01058-DS          Doc
                                   Doc 236-1
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                                                                                                          Desc
                                        Exhibit    Page 595  of 680
                                     Exhibit 1-29 Page 437 of 500
> On Dec 29, 2014, at 11:17 AM, "Art Ortega" <AOrtega@channeltech.com<mailto:AOrtega@channeltech.com>>
wrote:
>
> Haran
> See account information in red below. Also attached is banking info sheet referenced by Cheryl
> ao
>
>
>
>
> Art Ortega
> Controller
> Office: (805) 690-5236
> Cell : (818) 274-8008
>>>> Cheryl Hanna 12/29/2014 8:05 AM >>>
> That is the correct account and ABA. Attached is the banking info sheet we send our customers in case you ever
need it and I am not available.
>
> Cheryl
>
>>>> Art Ortega 12/29/2014 7:39 AM >>>
>
> Cheryl
> See Message from Haran below.
>
> Please confirm right away that this is where the money should be wired to and is there any other info needed - i
don't think so but confirm
>.
> OWB account# 1311010565, ABA 322270288.
>
> thanks
> ao
>
>
>
>
> Art Ortega
> Controller
> Office: (805) 690-5236
> Cell : (818) 274-8008
>>>> Haran Narulla <haran@bluewolfcapital.com<mailto:haran@bluewolfcapital.com>> 12/29/2014 6:17 AM >>>
>
> Art,
> Can you send us the wire information for your main CTG operating account? As you know, we need to wire some
funds to OneWest to cure the financial covenant default. The game plan is for everyone to send wires to the CTG
account, and then for you and Chris to wire the funds to OneWest Bank. Please send the wire information along
                                                         2
    Case
    Case 9:18-ap-01058-DS
         9:18-ap-01058-DS            Doc
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                                         156-1 Filed
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                                                                                                    Desc
                                          Exhibit    Page 596  of 680
                                       Exhibit 1-29 Page 438 of 500
ASAP.
>
> Thanks,
>
>
> ____________________________________
> Haranjeet Narulla
> Blue Wolf Capital Partners
> One Liberty Plaza, 52nd Floor
> New York, NY 10006
> p: 212.488.1343
> f:   646.607.3889
> haran@bluewolfcapital.com<mailto:haran@bluewolfcapital.com>
>
> Please note that all Blue Wolf Capital email addresses have changed effective December 8, 2014.
>
> <CTG banking instructions_divisions_05-2014 OWB_1 from Cheryl.pdf>
>
> <OWB CONFIRMATION LETTER ACCT 565.pdf>




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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
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                             Exhibit    Page 597  of 680
                          Exhibit 1-29 Page 439 of 500




                 EXHIBIT 24
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS                Doc
                                     Doc 236-1
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                                          Exhibit    Page 598  of 680
                                       Exhibit 1-29 Page 440 of 500

  From:               Lynn Chen
  To:                 Cheryl Hanna
  Cc:                 Art Ortega
  Subject:            Re: EH&S Liability Accrual
  Date:               Friday, January 15, 2016 2:16:54 PM


 Whatever is easiest for you, changing it now or doing a JE to fix and change later.
 Thanks, lynn

 >>> On 1/15/2016 at 12:08 PM, in message <5698E48C.8D9F.00F8.0@channeltech.com>, Cheryl Hanna
 <Hanna@channeltech.com> wrote:
      Do you want me to override the expense account on the POs that have already been received this month?
      The first Advanced Geoenvironmental invoice for 2,000.00 lead awareness training was coded to 6600-01-
      4000 (Ceramics training and education manufacturing) You want all of this to 9132-00-0000 Other expenses
      (non-operating), right? If this is all part of the 640K, I need to correct every invoice that has been received
      to something different than the other expense account or do a journal entry to correct the account. I need
      to make all of the invoices received + the accrual equal 640K to 9132-00-0000

      Cheryl

      >>> Lynn Chen 1/15/2016 11:35 AM >>>
      Hi Cheryl,
      Why dont you move that back to CTG for now, and accrue in CTG.
      Sorry for the confusion, thanks, lynn

      >>> On 1/15/2016 at 11:22 AM, in message <5698DAE4.8D9F.00F8.0@channeltech.com>, Cheryl Hanna
      <Hanna@channeltech.com> wrote:
      I think Lia was told to put the legal as I/C and put that on BWP books. We already accrued
      43K in Dec. in BWP for EHS on a Holland & Knight bill. Do you want me to move that back to
      CTG or accrue the whole 161,000 legal fees portion of the 640K accrual into BWP (less the 43K
      already accrued)?

      Cheryl

      >>> Lynn Chen 1/8/2016 3:23 PM >>>
      Hi Cheryl,
      As discussed yesterday, please accrue $640K (see attached pdf) to accrued liabilities at
      12/31/15 for the EH&S clean up project (non-Capex), less any invoices already paid or accrued
      related to this project (see detail list attached of POs for reference). Lets charge all EH&S
      clean up (non-Capex) to CTG CO Other Non-Operating Expenses (if possible).
      Let me know if you have any questions.
      Thanks, lynn
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
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                             Exhibit    Page 599  of 680
                          Exhibit 1-29 Page 441 of 500




                 EXHIBIT 25
      Case
      Case 9:18-ap-01058-DS
           9:18-ap-01058-DS              Doc
                                         Doc 236-1
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                                              Exhibit    Page 600  of 680
                                           Exhibit 1-29 Page 442 of 500

Ewelina Johnson

From:                 Lynn Chen
Sent:                 Tuesday, February 02, 2016 3:01 PM
To:                   Dave Oldham
Subject:              Re: Dave expenses


Yes if it is to be charged to BWP, we do that here. Bill, for example is charging everything to BW first, who reimburses
him, and eventually gets paid by us.

>>> On 2/2/2016 at 12:44 PM, in message <1494711272.500272.1454445844082.JavaMail.yahoo@mail.yahoo.com>,
Dave Oldham <dave.oldham@ymail.com> wrote:

   BWP, so that is handled by you guys there, right? Still copying receipts, but use $35k for Feb payment as my round
   number guess.



   Thanks.




   From: Lynn Chen <LChen@channeltech.com>
   To: Dave Oldham <dave.oldham@ymail.com>
   Cc: Art Ortega <AOrtega@channeltech.com>
   Sent: Tuesday, February 2, 2016 2:48 PM
   Subject: Dave expenses



   Hi Dave,

   Should we be accruing any consulting or expenses for you? Will you be invoicing BW or CTG?

   Thanks, lynn




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Case
Case 9:18-ap-01058-DS
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                             Exhibit    Page 601  of 680
                          Exhibit 1-29 Page 443 of 500




                 EXHIBIT 26
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS               Doc
                                    Doc 236-1
                                        156-1 Filed
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                                         Exhibit    Page 602  of 680
                                      Exhibit 1-29 Page 444 of 500

  From:               Cheryl Hanna
  To:                 Art Ortega; Jane Alexander
  Subject:            Re: Legal Confirmation Templates
  Date:               Tuesday, March 08, 2016 5:49:09 PM




  All invoices get paid by CTG and I don't have BWP letterhead so I will just use the CTG template.

  Thanks,
  Cheryl

  >>> "Alexander, Jane" <Jane.Alexander@us.gt.com> 3/8/2016 10:52 AM >>>
  Hi Cheryl and Art,

  Please see attached for legal confirmation templates. There are 3 law firms to confirm with:


  1.      Under BWP - McDermott, Will, & Emery

  2.      Under CTG - Holland & Knight and Tressler LLP

  I wasn't sure if a separate letterhead/letter was needed for BWP, but I attached a BWP version just in case.

  Thanks,

  Jane Alexander | Audit - Senior Associate, CPA
  Grant Thornton LLP
  515 S. Flower Street, 7th Floor | Los Angeles, CA | 90071 | United States
  T +1 213 596 6728
  E jane.alexander@us.gt.com

  www.grantthornton.com


  ________________________________
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                             Exhibit    Page 603  of 680
                          Exhibit 1-29 Page 445 of 500




                 EXHIBIT 27
     Case
     Case 9:18-ap-01058-DS
          9:18-ap-01058-DS          Doc
                                    Doc 236-1
                                        156-1 Filed
                                                 Filed 03/31/20
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                                         Exhibit    Page 604  of 680
                                      Exhibit 1-29 Page 446 of 500

Ewelina Johnson

From:              Lynn Chen
Sent:              Tuesday, January 12, 2016 3:29 PM
To:                Cheryl Hanna
Cc:                Art Ortega; Sergio De Hoyos
Subject:           Fwd: FW: CTG rent deferral
Attachments:       Legal fees statement.pdf; Union Bank Escrow fee invoice.pdf



Cheryl,

Could you please process this wire this week to Alta for $14,045 ($9,545 reimbursement of legal fees) and
$4,500 (escrow bank fees), and charge both to BWP GL? Let me know once it is paid.

Thanks, lynn

>>> On 1/12/2016 at 1:10 PM, in message <382910a7aa52431b96886448872358d6@bw-prod-exch.blue-
wolf.com>, Charlie Miller <charlie@bluewolfcapital.com> wrote:

  Lynn:



  See below from Tom Harding on behalf of Alta properties.



  As noted, these amounts must be paid within 10 days.



  Please confirm that payment has been made.



  Thanks,

  Charlie




  From: Tom Harding [mailto:THARDING@seedmackall.com]
  Sent: Tuesday, January 12, 2016 4:07 PM
  To: Charlie Miller <charlie@bluewolfcapital.com>
  Cc: Apieh Claybrook <aclaybrook@altapropertiesinc.com>; Ralph Phillips <RPhillips@channeltech.com>; Lynn Chen
  <LChen@channeltech.com>
  Subject: CTG rent deferral




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   Case
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        9:18-ap-01058-DS         Doc
                                 Doc 236-1
                                     156-1 Filed
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                                      Exhibit    Page 605  of 680
                                   Exhibit 1-29 Page 447 of 500
Charlie



I hope your new year is off to a good start.



I am following up on Section 7 of the letter agreement dated December 9, 2015 executed by BW Piezo
Holdings, Channel Technologies Group, and Alta Properties. It provides that BWP and CTG will reimburse
Alta for legal fees incurred in connection with the negotiation and preparation of the letter
agreement. Attached is our firm’s statement in the amount of $9,545.00. The letter agreement provides for
payment within 10 days.



Separately, Union Bank (the escrow agent for the transaction) belated determined that it had not billed the
annual escrow fee on the environmental escrow for the last three years. Accordingly, it withheld $9,000
(three years at $3,000 per year) from the final disbursement paid to Alta. Union Bank’s invoice is attached.
Section 7 of the Environmental Escrow Agreement provides that BWP and Alta are each responsible for
50% of all fees. Accordingly, BWP should reimburse Alta for $4,500.00.



Please arrange for a wire transfer of both of these amounts to Alta using the following wire transfer
instructions:



          Bank Name:          Wells Fargo Bank, N.A.

          Address:           1026 Anacapa St., Santa Barbara, CA 93101

          ABA No.:           121000248

          Account No.:       153-433-5441

          Account Name:       Alta Properties, Inc. (f/k/a Channel Technologies, Inc.)




Best regards.



Tom

Thomas N. Harding
Seed Mackall LLP

                                                     2
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   Case 9:18-ap-01058-DS
        9:18-ap-01058-DS        Doc
                                Doc 236-1
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                                     Exhibit    Page 606  of 680
                                  Exhibit 1-29 Page 448 of 500
1332 Anacapa St., Suite 200
Santa Barbara, CA 93101
Phone: (805) 963-0669
Fax: (805) 435-1498
E-Mail: tharding@seedmackall.com
______________________________________________________________________________________

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Case
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                             Exhibit    Page 607  of 680
                          Exhibit 1-29 Page 449 of 500




                 EXHIBIT 28
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          Case 9:18-ap-01058-DS
               9:18-ap-01058-DS           Doc
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                                               Exhibit    Page 608  of 680
                                            Exhibit 1-29 Page 450 of 500

Ewelina Johnson

From:                  Lynn Chen
Sent:                  Saturday, December 26, 2015 8:53 AM
To:                    David Ligon; Ryan Lassen
Cc:                    Ralph Phillips; Jeremy Kogler
Subject:               CTG November MD&A
Attachments:           CTG November 2015 MD&A - Lender Group.pdf; November 2015 CTG Financials - Lender Group.xlsx


Hi all,

November results attached. Let me know if you have any questions or would like to set up a call.

Thanks, and very happy holidays!

lynn




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       Case
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                                    Exhibit    Page 609  of 680
                                 Exhibit 1-29 Page 451 of 500                                   December 21, 2015




            Channel Technologies Group

November 2015 Monthly Operating Report
Management Discussion & Analysis (MD&A) – Lender Group
       Case
       Case 9:18-ap-01058-DS
            9:18-ap-01058-DS   Doc
                               Doc 236-1
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                                    Exhibit    Page 610  of 680
                                 Exhibit 1-29 Page 452 of 500




November 2015 Summary




   Channel Technologies Group                                                                   Confidential   1
                 Case
                 Case 9:18-ap-01058-DS
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                                               Exhibit    Page 611  of 680
                                            Exhibit 1-29 Page 453 of 500
    November Results - Summary
•    No reportable Safety incidents in November
•    Sales for the month of $3,696K, unfavorable to Plan by $1,095K and unfavorable to last Board Forecast
     by $183K
•    Bookings for the month of $3,899K, unfavorable to Plan by 1,662K
•    Backlog at the end of November of $31.5M, down $0.9M from October and below Plan of $36.5M
•    Gross Margin for the month at 23% vs. 49% Plan (variance -$1,501K) and 36% Forecast (variance -
     $856K), primarily driven by mix of low margin sales for all divisions, inventory adjustments in Santa
     Barbara (scrap, cycle retires), and under absorption of overhead
•    SG&A for the month favorable to Plan by $500K and favorable to Forecast by $148K, due primarily to
     positive headcount trends, cost containment & reduction actions, as well as savings from MSI integration
•    Management EBITDA for the month of $248K vs. $1,300K Plan and $1,005K Forecast negatively driven
     by volume, gross margin, with some offset by favorable SG&A
•    $1,288K Bank EBITDA vs. $1,684K Plan
•    $2.1M Liquidity; $7.9M Revolver o/s vs. $2.9M plan
•    Net Working Capital at $10.7M (slightly down by $0.2M from the end of October) vs Budget of $7.6M –
     driven by increase in an current liabilities ($0.8M), partially offset by an increase in AR/Unbilled ($0.3M)
     and increase in Inventory ($0.3M) during the month
•    YTD Capital Expenditures of $2.3M, below Plan of $2.6 YTD, with full year expected to be below Plan of
     $2.8M
•    MSI Integration on-track; Project-to-date costs of $930K vs. original plan of $1.7M; Annualized Hard
     Cost Savings of $1.0M, favorable to budget of $0.4M

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                Case
                Case 9:18-ap-01058-DS
                     9:18-ap-01058-DS      Doc
                                           Doc 236-1
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                                                        Filed 03/31/20
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                                                Exhibit    Page 612  of 680
                                             Exhibit 1-29 Page 454 of 500
Safety




                  Dec-14   Jan-15 Feb-15 Mar-15 Apr-15 May-15       Jun-15     Jul-15 Aug-15 Sep-15   Oct-15    Nov-15
# Recordables       -           1   -        2      1    -            -            1      1    -        -         -
Headcount           305      305    310    309    301    304          288        286    273    274      267       262
RIR                 1.5       1.9    1.9   2.5    2.9    2.5           2.0       2.4    2.8     2.8     2.5       2.1


        •    No reportable incidents in November
        •    Company reinforcing training to reduce RIR, avoidable accidents



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                    Case
                    Case 9:18-ap-01058-DS
                         9:18-ap-01058-DS     Doc
                                              Doc 236-1
                                                  156-1 Filed
                                                           Filed 03/31/20
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                                                   Exhibit    Page 613  of 680
                                                Exhibit 1-29 Page 455 of 500
Combined Company Results – P&L
              COMBINED             Nov 15      Nov 15                             Nov 15     Nov 15
               COMPANY             Month       Month      Variance    Var%         YTD        YTD       Variance     Var%
           (CTG SBA, AM, MSI)      Actual       Plan                              Actual      Plan
    Revenue                          3,696        4,791     (1,095)     -23%       46,329     52,911      (6,582)       -12%

    Cost of Sales                    2,859        2,453       (406)     -17%       29,735     30,488        752           2%

    Gross Margin                       837        2,338     (1,501)     -64%       16,594     22,423      (5,829)       -26%
                                       23%          49%       -26%                    36%        42%         -7%

    SG&A                             1,012        1,511       499       33%        14,029     17,352       3,322        19%
    (Inc. R&D, B&P)
    Operating Income                  (175)        826      (1,001)    -121%        2,564      5,071      (2,507)       -49%

    Management EBITDA                  248        1,300     (1,052)     -81%        7,461     10,074      (2,613)       -26%
       % of Sales                      6.7%       27.1%                              16.1%     19.0%

    Bank EBITDA                      1,288        1,684       (397)     -24%        8,500     10,458      (1,958)       -19%




•   Revenues for November below October Board Forecast at Ceramics (-$35K), Systems (-$146K), and Optics (-$131K), and
    favorable to Forecast at AM (+$54K), Transducers (+$35K) and MSI (+$30K)
•   GM% behind plan and behind forecast for the month primarily due to under absorption of overhead costs in Santa
    Barbara, mix of lower margin sales, plus higher inventory adjustments (scrap and cycle retires) during the month than
    planned
•   SG&A favorable to plan and to forecast, including R&D, B&P Expenses, primarily due to headcount and cost containment
    actions in place, and lower MSI integration costs.


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                   Case
                   Case 9:18-ap-01058-DS
                        9:18-ap-01058-DS    Doc
                                            Doc 236-1
                                                156-1 Filed
                                                         Filed 03/31/20
                                                               06/28/19 Entered
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                                                                                  06/28/19 15:36:30
                                                                                           14:56:52   Desc
                                                                                                      Desc
                                                 Exhibit    Page 614  of 680
                                              Exhibit 1-29 Page 456 of 500
Combined Company Results – Balance Sheet
                                 30-Nov     30-Nov
           BALANCE SHEET         Month      Month      Var ($)     Var%
                                 Actual      Plan
                Summary                                                      •   AR (incl. Unbilled) - $1M higher
   Cash                             225        249          (24)     -10%        than Plan and increase of $0.3M from
   Accounts Receivable             7,405      8,816      (1,411)     -16%        October. DSO decreased from 43 to
   Unbilled A.R.                   3,734      1,291      2,442      189%         52 during November due to TR-343
   Inventory                       9,360      6,453      2,907       45%         milestone billing of $1.1M not in
   Other Current Assets             870        857          13        2%         revenue (POC revenue recognition),
 Total Current Assets             21,594     17,667      3,927       22%         collected in December.
   Fixed Assets                   12,662     12,402         260        2%    •   Inventory - $2.9M higher than Plan
   Other Non-Current Assets       56,320     63,230      (6,910)     -11%        and slight increase of $0.3M from
 Total Assets                     90,576     93,299      (2,723)      -3%        October. Inventory turns decreased
                                                                                 slightly from 3.8 to 3.7 during
   Accounts Payable                3,242      1,602      1,640      102%         November, consistent with to buildup
   Deferred Revenue                1,620      1,715         (95)      -6%
                                                                                 from MK-54, TR-343 and BAE
                                                                                 programs.
   Other Current Liabilities       5,789      6,528       (739)      -11%
 Total Current Liabilities        10,651      9,845        805        8%     •   Revolver - $5.0M unfavorable to
                                                                                 Plan, due to delays in shipments of
   Revolver                        7,950      2,931      5,019      171%
                                                                                 some major programs and cash outlay
                                                                                 to build inventory and investments at
   Long-Term Debt                 43,015     41,208      1,807        4%
                                                                                 AM and Ceramics.
     Less Current Portion         (3,003)    (2,519)       (484)      19%
   Other Liabilities               1,164      6,603      (5,440)     -82%    •   Long-Term Debt - $1.3M
 Total Long-Term Liabilities      49,126     48,224         902        2%        unfavorable to plan, due to borrowing
 Equity                           30,800     35,230      (4,430)     -13%        against Capex Term Loan.
 Total Liabilities & Equity       90,576     93,299      (2,723)      -3%



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        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS   Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52   Desc
                                                                                          Desc
                                     Exhibit    Page 615  of 680
                                  Exhibit 1-29 Page 457 of 500
Performance Summary – Key Metrics




                                 Budget       Actual        Prior Year

    Channel Technologies Group                                                                   Confidential   6
                                      Case
                                      Case 9:18-ap-01058-DS
                                           9:18-ap-01058-DS                               Doc
                                                                                          Doc 236-1
                                                                                              156-1 Filed
                                                                                                       Filed 03/31/20
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                                                                                               Exhibit    Page 616  of 680
                                                                                            Exhibit 1-29 Page 458 of 500
     Bank Covenant Compliance - November

                                       Actual            Actual        Actual        Actual        Actual        Actual        Actual        Actual        Actual       Actual         Actual
                                                                                                                                                                                                     • MSI Annualized Hard
                                       Jan-15            Feb-15        M ar-15       Apr-15        M ay-15       Jun-15        Jul-15        Aug-15        Sep-15       Oct-15         Nov-15          Cost Savings are
                                                                                                                                                                                                       ahead of Plan at the
M anagement EBITDA                     $536,100          $984,936     $1,304,615     $533,495      $457,671      $461,596      $583,602      $432,610     $1,401,102     $516,490       $248,373
HC Integration Costs Add-Back                 0                 0              0            0             0             0             0             0              0            0              0       end of November
Equity Cure                                   0                 0              0            0             0             0             0             0              0            0              0       ($1,039K vs $384K
EBITDA incl HC Integ. And Cure         $536,100          $984,936     $1,304,615     $533,495      $457,671      $461,596      $583,602      $432,610     $1,401,102     $516,490       $248,373
                                                                                                                                                                                                       Plan) and will stay
LTM EBITDA                        $9,802,131       $10,173,280       $10,397,986   $10,550,690  $9,878,574      $9,024,151    $9,298,454    $9,080,090    $8,988,591    $8,434,597     $7,669,737      ahead of Plan ($300K
Annualized Cost Savings
LTM Adjusted EBITDA
                                     611,106
                                 $10,413,237
                                                       877,262
                                                   $11,050,542
                                                                         852,738
                                                                     $11,250,725
                                                                                       942,270     827,329
                                                                                   $11,492,960 $10,705,903
                                                                                                                 1,018,916
                                                                                                               $10,043,067
                                                                                                                                 873,366
                                                                                                                             $10,171,820
                                                                                                                                               727,053
                                                                                                                                            $9,807,143
                                                                                                                                                           1,049,088
                                                                                                                                                         $10,037,679
                                                                                                                                                                           878,803
                                                                                                                                                                        $9,313,400
                                                                                                                                                                                        1,039,257
                                                                                                                                                                                       $8,708,994
                                                                                                                                                                                                       Plan) at the end of Q4
                                                                                                                                                                                                       due to additional
Net Funded Debt                  $48,451,750       $48,601,750       $48,606,077   $49,606,077   $48,956,077   $48,410,404   $49,110,404   $49,560,404   $48,364,732   $51,864,732    $50,964,732      unplanned departures
Leverage ratio                             4.65x             4.40x         4.32x         4.32x         4.57x         4.82x         4.83x         5.05x         4.82x         5.57x          5.85x
 Senior Covenant                 --                --                      5.10x            –             –          5.00x            –             –          4.85x            –              –
 Junior Covenant                 --                --                      5.35x            –             –          5.25x            –             –          5.10x            –              –
                                                                                                                                                                                                     • Leverage ratio at the
M onthly interest expense               284,402          $272,312      $301,213      $290,852      $278,580      $298,140      $291,836      $285,356      $308,064      $299,489       $298,174       end of Q4 2015 will
Quarterly Term Loan Reduction    --                --                   545,673             –             –       545,673             –             –       545,673             –              –       be very tight against
TTM Principal Payments                $1,743,750        $1,743,750    $1,901,923    $1,901,923    $1,901,923    $2,060,096    $2,060,096    $2,060,096    $2,218,268    $2,218,268     $2,218,268      covenant of 4.75x
TTM Interest Payments                  3,597,825         3,581,751     3,591,621     3,574,123     3,539,212     3,538,156     3,539,201     3,534,337     3,530,334     3,531,397      3,549,541      due to higher debt
TTM Fixed Charges                     $5,341,575        $5,325,501    $5,493,543    $5,476,046    $5,441,135    $5,598,252    $5,599,296    $5,594,433    $5,748,603    $5,749,666     $5,767,810
                                                                                                                                                                                                       balances and lower
LTM Adjusted EBITDA           $10,413,237 $11,050,542 $11,250,725 $11,492,960 $10,705,903 $10,043,067 $10,171,820                           $9,807,143 $10,037,679      $9,313,400     $8,708,994      EBITDA than Plan.
Less: Capital Expenditures       (500,000)   (500,000)   (500,000)   (500,000)   (500,000)   (500,000)   (500,000)                            (500,000)   (500,000)       (500,000)      (500,000)
LTM Adjusted EBITDA less CapEx $9,913,237 $10,550,542 $10,750,725 $10,992,960 $10,205,903  $9,543,067  $9,671,820                           $9,307,143  $9,537,679      $8,813,400     $8,208,994

Fixed Charge Coverage ratio                1.86x             1.98x         1.96x         2.01x         1.88x         1.70x         1.73x         1.66x         1.66x         1.53x          1.42x
 Senior Covenant                 --                --                      1.25x            –             –          1.25x            –             –          1.25x            –              –
 Junior Covenant                 --                --                      1.08x            –             –          1.08x            –             –          1.08x            –              –     • Fixed Charge ratio
Net Funded Debt
                                                                                                                                                                                                       should continue to be
Revolver                           5,500,000        $5,650,000        $6,200,000    $7,200,000    $6,550,000    $6,550,000    $6,850,000    $7,300,000    $6,650,000    $8,850,000     $7,950,000      ahead of Q4 2015
Term Loan
M ezz Loans
                                  27,101,750
                                  14,000,000
                                                    27,101,750
                                                    14,000,000
                                                                      26,556,077
                                                                      14,000,000
                                                                                    26,556,077
                                                                                    14,000,000
                                                                                                  26,556,077
                                                                                                  14,000,000
                                                                                                                26,010,404
                                                                                                                14,000,000
                                                                                                                              26,010,404
                                                                                                                              14,000,000
                                                                                                                                            26,010,404
                                                                                                                                            14,000,000
                                                                                                                                                          25,464,732
                                                                                                                                                          14,000,000
                                                                                                                                                                        25,464,732
                                                                                                                                                                        14,000,000
                                                                                                                                                                                       25,464,732
                                                                                                                                                                                       14,000,000
                                                                                                                                                                                                       covenant of 1.15x
Capex Line                         1,850,000         1,850,000         1,850,000     1,850,000     1,850,000     1,850,000     2,250,000     2,250,000     2,250,000     3,550,000      3,550,000
Total Debt                       $48,451,750       $48,601,750       $48,606,077   $49,606,077   $48,956,077   $48,410,404   $49,110,404   $49,560,404   $48,364,732   $51,864,732    $50,964,732




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        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS   Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
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                                                                      06/28/19 15:36:30
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                                     Exhibit    Page 617  of 680
                                  Exhibit 1-29 Page 459 of 500




Sales, Bookings, Backlog




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           Case
           Case 9:18-ap-01058-DS
                9:18-ap-01058-DS      Doc
                                      Doc 236-1
                                          156-1 Filed
                                                   Filed 03/31/20
                                                         06/28/19 Entered
                                                                    Entered 03/31/20
                                                                            06/28/19 15:36:30
                                                                                     14:56:52           Desc
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                                           Exhibit    Page 618  of 680
                                        Exhibit 1-29 Page 460 of 500
Sales vs. Forecast*

                            MONTH (NOV)      MONTH (NOV)
                              ACTUAL          FORECAST           VARIANCE           VARIANCE RATIONALE


    REVENUE:

                                                                                Syqwest $49K unfav to forecast
     CERAMICS               $    288,945     $    330,324    $      (41,379)
                                                                                    (due to credit issued)

                                                                               POC revenue ($324K) unfav to fcst
     TRANSDUCERS            $   1,092,275    $   1,594,420   $     (502,145)    BAE ($162K) unfav to fcst (delay)
                                                                                  NUWC ($201K) unfav to fcst


     SYSTEMS                $    668,702     $    815,000    $     (146,298)       AAS ($136K) unfav to fcst

                                                                                 Nightline ($180K) unfav to fcst
     OPTICS                 $    221,020     $    478,963    $     (257,943)
                                                                               New Business ($58K) unfav to fcst


     ADV MAT                $   1,054,796    $   1,094,951   $      (40,155)     InfraredX ($63K) unfav to fcst


                                                                               MK-54/Progeny $194K fav to fcst;
     MSI                    $    446,769     $    395,072    $      51,697
                                                                                AQS-20 ($127K) unfav to fcst
     INTERCOMPANY           $     (76,646)   $           -   $      (76,646)


    TOTAL CTG REVENUE       $   3,695,859    $   4,708,729   $ (1,012,870)


      * Forecast presented at Q3 Board Meeting in October


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           Case
           Case 9:18-ap-01058-DS
                9:18-ap-01058-DS    Doc
                                    Doc 236-1
                                        156-1 Filed
                                                 Filed 03/31/20
                                                       06/28/19 Entered
                                                                  Entered 03/31/20
                                                                          06/28/19 15:36:30
                                                                                   14:56:52                  Desc
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                                         Exhibit    Page 619  of 680
                                      Exhibit 1-29 Page 461 of 500
Sales vs. Budget (Plan)
                           MONTH (NOV)      MONTH (NOV)
                             ACTUAL           BUDGET            VARIANCE                VARIANCE RATIONALE

    REVENUE:

                                                                              Syqwest ($39K) unfav to plan (credit issued);
                                                                                 Ultra Electronic ($30K) unfav to plan
     CERAMICS              $    288,945     $    623,380    $     (334,435)
                                                                                   Ultra-USSI ($35K) unfav to plan;
                                                                              ENL, Kodak, Tenex ($25K) ea. unfav to plan
                                                                                    POC Revenue $464K fav to plan;
                                                                                      OTAA ($250K) unfav to plan;
     TRANSDUCERS           $   1,092,275    $   1,157,815   $      (65,541)
                                                                                    DT-511/574 ($70K) unfav to plan;
                                                                                Colleague Medical ($100K unfav to plan)

     SYSTEMS               $    668,702     $    799,142    $     (130,440)            Navy ($42K) unfav to plan

                                                                               Nightline/NV Goggles ($78K) unfav to plan
     OPTICS                $    221,020     $    497,137    $     (276,117)
                                                                                  Catalog / Repairs & Cal under plan

                                                                                     Philips ($183K) unfav to plan;
     ADV MAT               $   1,054,796    $   1,084,098   $      (29,302)
                                                                                      Samsung $135K fav to plan


     MSI                   $    446,769     $    629,549    $     (182,780)          MLTA program delay to FY16

     INTERCOMPANY          $     (76,646)   $           -   $      (76,646)


    TOTAL CTG REVENUE      $   3,695,859    $   4,791,121   $ (1,095,262)




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                         Case
                         Case 9:18-ap-01058-DS
                              9:18-ap-01058-DS        Doc
                                                      Doc 236-1
                                                          156-1 Filed
                                                                   Filed 03/31/20
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                                                                                            06/28/19 15:36:30
                                                                                                     14:56:52                        Desc
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                                                           Exhibit    Page 620  of 680
                                                        Exhibit 1-29 Page 462 of 500
    Bookings / Backlog vs Plan
                                                   Nov 15        Nov 15                                  Nov 15        Nov 15
                BOOKINGS                           Month         Month     Variance      Var%             YTD           YTD        Variance           Var%
                                                   Actual         Plan                                   Actual         Plan
                TOTAL COMPANY                         3,899        5,562     (1,662)       -30%           44,506        55,463       (10,958)           -20%
                Ceramics                                    65      599        (534)       -89%                1,790     5,529           (3,740)        -68%
                Transducers                             (16)       2,160     (2,176)      -101%           14,462        16,410           (1,948)        -12%
                Systems                               1,569         411       1,158        282%                9,837     7,868           1,969          25%
                Optics                                 619          482        136          28%                4,381     5,810           (1,429)        -25%
                Advanced Materials                    1,663        1,788       (125)         -7%          12,561        12,478              83            1%
                MSI                                     -           121        (121)      -100%                1,473     7,367           (5,894)        -80%
Bookings:
                                                                                                                            Nov 15         Nov 15
•    Ceramics behind Plan due to focus on improving operational issues during the  BACKLOG                                  Month          Month       Variance      Var%
     year. November Plan included $117K in Defense customers not booked, plus                                               Actual          Plan
     $120K Ultrasonic, and $180K Western Geco. YTD negative variance primarily due TOTAL COMPANY
                                                                                                                                31,499       36,468      (4,969)       -14%
     to Defense customers, largest being Ultra Electronics (-$1.2M).
                                                                                          Ceramics                               2,227        4,572      (2,345)       -51%
•    Transducers Plan in November included $1M for MK-48 (not yet booked), and
                                                                                          Transducers                           15,522       15,850          (328)      -2%
     actuals included a debooking for RA Industries of $668K. YTD positive to Plan
     for BAE ($2.1M) and MK-54 ($7M), negative for TR-343 ($2.7M), MK-54 Mod 0            Systems                                4,403        3,201       1,201        38%
     ($2.5M), Ion ($0.7M) and Baxter ($0.6M)                                              Optics                                 1,975        3,070      (1,094)       -36%
•    Systems ahead YTD primarily due to Navy NT-120/121 $4.0M ($1.4M Plan)                Advanced Materials                     6,368        6,139         229          4%
•    Optics behind primarily due to lower NV goggles bookings (YTD $0.4M Actuals vs       MSI                                    1,004        3,636      (2,632)       -72%
     $1.2M Plan YTD)
•    AM unfavorable for the month due to Samsung ($-180K), partially offset by a           Backlog – behind Plan due to lower bookings in November for all
     positive variance for Humanscan (+$49K), partially offset by Philips. YTD actuals     divisions, except Systems, due to timing vs Plan or weak order
     include Samsung $2.5M ($2.2M Plan), Philips $5.0M ($5.1M Plan), GE $2.4M              activity as noted in Bookings variance explanation
     ($2.9M Plan)
•    MSI YTD actuals include AQS-20 partial award of $.4M with additional $1.6M to
     book in December ($1.1M Plan), MLTA $0 ($2.0M Plan), Atlas delayed ($.8M
     Plan), Archerfish ($.6M Plan) and SAES $.1M ($.7M Plan) awarded late.

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        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS   Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
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                                                                      06/28/19 15:36:30
                                                                               14:56:52   Desc
                                                                                          Desc
                                     Exhibit    Page 621  of 680
                                  Exhibit 1-29 Page 463 of 500




Divisional Results




    Channel Technologies Group                                                                   Confidential   12
                 Case
                 Case 9:18-ap-01058-DS
                      9:18-ap-01058-DS    Doc
                                          Doc 236-1
                                              156-1 Filed
                                                       Filed 03/31/20
                                                             06/28/19 Entered
                                                                        Entered 03/31/20
                                                                                06/28/19 15:36:30
                                                                                         14:56:52     Desc
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                                               Exhibit    Page 622  of 680
                                            Exhibit 1-29 Page 464 of 500
Ceramics
                                   Nov 15     Nov 15                         Nov 15      Nov 15
                 CERAMICS          Month      Month     Variance    Var%      YTD         YTD      Variance    Var%
                                   Actual      Plan        $                 Actual       Plan
     Revenue                           289        623       (334)     -54%     3,925       5,319     (1,394)     -26%

     Cost of Sales                     752       457        (295)     -65%     5,546       5,162       (384)      -7%

     Gross Margin                     (463)      166        (629)    -378%     (1,621)      157      (1,778)   -1133%
      GM%                            -160%       27%       -187%                 -41%        3%        -44%

     SG&A                                8         2          (6)    -278%        26         22          (4)     -20%
     (Inc. R&D, B&P)
     Operating Income                 (470)      164        (635)    -386%     (1,648)      135      (1,782)   -1321%


     Management EBITDA                (419)      228        (647)    -283%     (1,079)      732      (1,811)    -247%
        % of Sales                  -145.0%     36.6%                          -27.5%      13.8%

 •    Sales for the month behind Plan but in line with last Forecast (excluding the Syqwest credits). Largest customers
      for the month included Alcon Surgical ($92K), Ultra Electronics ($57K), Kaiyo ($39K), and Syqwest ($38K shipped
      less credits of $47K)
 •    Operating Income and EBITDA below Plan, due to unfavorable inventory adjustments ($323K) from scrap and
      inventory clean up efforts, plus under absorption of OH ($138K).
 •    Ceramics KPIs show consistent performance in November as the recent months:
          •    Consistent G/L scrap charges ~$45K vs $50K in October (over $100K per month during most of 1H)
          •    Overtime % at 3.1%, slightly up from 1.7% in October (down from over 14.0% in Q1)
          •    Low utilization for the month at 62% (over 80% since June)
          •    Continued high yield for the month at 89% (89% in October and 62% target)

        Channel Technologies Group                                                                             Confidential   13
                 Case
                 Case 9:18-ap-01058-DS
                      9:18-ap-01058-DS    Doc
                                          Doc 236-1
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                                               Exhibit    Page 623  of 680
                                            Exhibit 1-29 Page 465 of 500
Transducers
                                  Nov 15      Nov 15                           Nov 15    Nov 15
               TRANSDUCERS        Month       Month     Variance    Var%        YTD       YTD       Variance     Var%
                                  Actual       Plan                            Actual     Plan
     Revenue                        1,092       1,158        (66)      -6%      13,022    14,642      (1,620)      -11%

     Cost of Sales                    746        722         (24)      -3%       8,683     9,924       1,241        13%

     Gross Margin                     346        435         (90)     -21%       4,339     4,718        (379)        -8%
      GM%                             32%        38%         -6%                   33%       32%          1%

     SG&A                                18       86          68      79%         621       948         326         34%
     (Inc. R&D, B&P)
     Operating Income                 328        349         (21)      -6%       3,718     3,770         (53)        -1%


     Management EBITDA                338        367         (29)      -8%       3,833     3,905         (71)        -2%
        % of Sales                   30.9%      31.7%                            29.4%     26.7%



•   Sales for the month behind Plan but in line with forecast. Largest shipments for the month included MK-54 OY1 ($449K),
    TR-343 ($139K), MK-54 ($72K), BAE ($110K) and NUWC ($65K). YTD variance primarily due to delays in MK-54 and TR-
    343 deliveries.
•   Gross Margin for the month unfavorable to Plan due to higher mix of low margin programs (MK-54 at 15%, MK-54 OY1
    at 14%, TR-343 at 0%), under absorption on OH ($83K), offset by positive inventory adjustments ($117KK). YTD GM in
    line with Plan.
•   SG&A favorable to Plan by for the month and YTD due to lower direct R&D and B&P charged to Transducers ($72K for
    the month and $330K YTD)
•   EBITDA in line with Plan for the month and YTD

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                    Case
                    Case 9:18-ap-01058-DS
                         9:18-ap-01058-DS        Doc
                                                 Doc 236-1
                                                     156-1 Filed
                                                              Filed 03/31/20
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                                                      Exhibit    Page 624  of 680
                                                   Exhibit 1-29 Page 466 of 500
Systems
                                    Nov 15          Nov 15                            Nov 15     Nov 15
                SYSTEMS             Month           Month     Variance    Var%         YTD        YTD      Variance       Var%
                                    Actual           Plan                             Actual      Plan
    Revenue                             669             799       (130)     -16%        8,922      8,154       768             9%

    Cost of Sales                       466            508          42       8%          5,545     5,846       301             5%

    Gross Margin                        202            291         (89)     -30%         3,376     2,307      1,069           46%
     GM%                                30%            36%         -6%                     38%       28%        10%

    SG&A                                    25          39          13      35%           597       427        (170)         -40%
    (Inc. R&D, B&P)
    Operating Income                    177            252         (75)     -30%         2,779     1,880       899            48%


    Management EBITDA                   190            267         (77)     -29%         2,925     2,036       889            44%
       % of Sales                      28.4%          33.4%                              32.8%     25.0%



•   Sales for the month primarily to the Navy ($576K), unfavorable to Plan and Forecast due to NT-120.
•   GM unfavorable to Plan for the month due to lower margin recorded for NT-120 sales (20%) and under absorption of OH
    ($26K). YTD GM favorable to Plan due to mix of higher margin sales.
•   SG&A favorable to Plan by for the month and YTD due to higher direct R&D and B&P charged to Systems ($14K for the
    month and $170K YTD)
•   EBITDA unfavorable to Plan for the month due to unfavorable GM%, and favorable YTD due to mix of higher margin
    sales, partially offset by unfavorable SG&A


           Channel Technologies Group                                                                                  Confidential   15
                     Case
                     Case 9:18-ap-01058-DS
                          9:18-ap-01058-DS     Doc
                                               Doc 236-1
                                                   156-1 Filed
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                                                    Exhibit    Page 625  of 680
                                                 Exhibit 1-29 Page 467 of 500
Optics
                                    Nov 15      Nov 15                           Nov 15     Nov 15
                    OPTICS          Month       Month     Variance    Var%        YTD        YTD      Variance    Var%
                                    Actual       Plan                            Actual      Plan
    Revenue                             221         497       (276)     -56%       3,966      4,300       (335)      -8%

    Cost of Sales                      186         279          92      33%        3,239      2,875       (364)     -13%

    Gross Margin                        35         218        (184)     -84%         727      1,426       (699)     -49%
     GM%                               16%         44%        -28%                   18%        33%       -15%

    SG&A                                 98        121          24      20%        1,297      1,265        (32)      -2%
    (Inc. R&D, B&P)
    Operating Income                    (63)        97        (160)    -165%        (570)      160        (730)    -456%


    Management EBITDA                   (54)       107        (162)    -151%        (470)      272        (742)    -272%
       % of Sales                     -24.5%      21.6%                            -11.8%      6.3%




•   Sales below Plan and Forecast for the month and year primarily due to Nightline shipment delays and lower catalog
    sales. Largest shipments for the month include Bost ($73K), Nightline ($72K) and L-3 ($63K).
•   Negative GM due primarily to low sales volume and high mix of low margin sales (Nightline and L-3)
•   SG&A in line with Plan for the month and YTD with higher R&D costs ($188K), offset by favorable commissions ($106K),
    reversal of bonus accrual ($28K) and other cost containment efforts and actions




           Channel Technologies Group                                                                              Confidential   16
                      Case
                      Case 9:18-ap-01058-DS
                           9:18-ap-01058-DS     Doc
                                                Doc 236-1
                                                    156-1 Filed
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                                                                                               14:56:52    Desc
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                                                     Exhibit    Page 626  of 680
                                                  Exhibit 1-29 Page 468 of 500
Advanced Materials
                                      Nov 15      Nov 15                           Nov 15    Nov 15
           ADVANCED MATERIALS         Month       Month     Variance    Var%        YTD       YTD      Variance    Var%
                                      Actual       Plan                            Actual     Plan
      Revenue                           1,055       1,084        (29)      -3%      12,196    12,342       (146)      -1%

      Cost of Sales                      346         305         (41)     -13%       3,966     3,494       (472)     -14%
                                         -           -                                 -         -
      Gross Margin                       709         779         (70)      -9%       8,230     8,848       (618)      -7%
       GM%                               67%         72%         -5%                   67%       72%

      SG&A                               393         401           8       2%        4,001     4,419       419        9%
      (Inc. R&D, B&P)
      Operating Income                   316         378         (62)     -16%       4,229     4,428       (199)      -4%


      Management EBITDA                  514         593         (79)     -13%       6,331     6,770       (440)      -6%
         % of Sales                     48.7%       54.7%                            51.9%     54.9%


•   November sales in line with Plan with an unfavorable variance with Philips (-$183K) offset by a favorable variance with
    Samsung (+$135K). Sales ahead of Forecast due to positive variances at GE ($97K), and Samsung ($93K), and a
    negative variance at Infraredx ($63K). Largest shipments for the month include Philips ($191K), Samsung ($363K), GE
    ($312K), and Humanscan ($67K),
•   GM unfavorable to Plan in the month due primarily to higher temp labor and overtime costs ($31K), and higher scrap
    than planned.
•   SG&A in line with Budget for the month, with lower benefits and costs savings, partially offset by higher sales
    commissions and rent. Favorable to Plan YTD primarily due to positive adjustments on bonus accruals and other cost
    containment efforts (lower benefits, R&D, consulting, and recruiting), partially offset by a higher allocation from CTG,
    legal costs and rent
•   EBITDA unfavorable to Plan due to unfavorable GM for the month and YTD, partially offset by savings in SG&A

           Channel Technologies Group                                                                               Confidential   17
                     Case
                     Case 9:18-ap-01058-DS
                          9:18-ap-01058-DS     Doc
                                               Doc 236-1
                                                   156-1 Filed
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                                                    Exhibit    Page 627  of 680
                                                 Exhibit 1-29 Page 469 of 500
MSI
                                      Nov 15        Nov 15                           Nov 15     Nov 15
                      MSI             Month         Month     Variance    Var%        YTD        YTD      Variance      Var%
                                      Actual         Plan                            Actual      Plan
     Revenue                              447           630       (183)     -29%       4,892      8,155     (3,262)        -40%

     Cost of Sales                           428       176        (252)    -144%       3,076      3,195       119            4%

     Gross Margin                             19       454        (435)     -96%       1,817      4,960     (3,144)        -63%
      GM%                                     4%       72%        -68%                   37%        61%

     SG&A                                    131       364        233       64%        2,814      4,459      1,645          37%
     (Inc. R&D, B&P)
     Operating Income                    (113)          90        (202)    -226%        (998)      501      (1,499)       -299%


     Management EBITDA                       (77)      101        (178)    -177%        (609)      624      (1,233)       -198%
        % of Sales                      -17.3%        16.0%                            -12.4%      7.7%




•   November sales lower than Plan due to delays in Alion MLTA program, but above Forecast due to a positive variance for
    Progeny (+$194K), partially offset by a negative variance for AQS-20 (-$127K). Largest shipments for the month include
    MK-54 (Progeny) ($214K), AQS-20 ($137K), and ARL-UT ($53K)
•   GM unfavorable to Plan due to lower sales than Plan and high mix of low margin product
•   SG&A ahead of plan due to lower integration costs and more headcount savings than planned




          Channel Technologies Group                                                                                 Confidential   18
                        Case
                        Case 9:18-ap-01058-DS
                             9:18-ap-01058-DS                 Doc
                                                              Doc 236-1
                                                                  156-1 Filed
                                                                           Filed 03/31/20
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                                                                   Exhibit    Page 628  of 680
                                                                Exhibit 1-29 Page 470 of 500
CTG CO (SG&A)
                                                Nov 15        Nov 15                                       Nov 15     Nov 15
                       CTG CO                   Month         Month        Variance        Var%             YTD        YTD         Variance    Var%
                                                Actual         Plan                                        Actual      Plan
       Revenue                                      -              -             -               -             -           -            -         -

       Cost of Sales                                     10            6             (4)        -72%          274          (7)         (281)    3791%

       Gross Margin                                  (10)           (6)              (4)        72%           (274)            7       (281)    -3791%
        GM%

       SG&A                                          310          469           159             34%          4,350      5,488         1,139       21%
       (Inc. R&D, B&P)
       Operating Income                             (320)        (475)          155             -33%        (4,623)    (5,481)         858        -16%


       Management EBITDA                            (243)        (364)          120             -33%        (3,471)    (4,266)         795       -19%



                                                                                                       •      SG&A for the month favorable due to no
                                             Cost Type                       Variance, Actuals vs.            bonus accrual booked ($73K), lower
Cost Center                                     Actuals       Budget              Budget (U)                  spend in Advanced Systems ($31K) and
0006 - General G&A                                  (6,165)     15,793                21,958                  other cost containment actions in all
1000 - Office of the President                     43,371      119,500                76,129                  departments
1200 - Business Development                        46,283       65,470                19,187
1250 - Advanced Systems                            21,482       52,455                30,973
                                                                                                       •      YTD favorable due to reversal of
1400 - Support services (Contracts, legal)         26,794       36,538                 9,744                  bonuses accrued ($575K), lower spend
1401 - IT                                          61,949       58,582                (3,366)                 in Advanced Systems ($238K), Finance
1402 - HR                                          25,452       22,776                (2,676)                 ($148K) and BD ($68K), and cost
1600 - Accounting and Finance                      90,906       97,897                 6,991                  containment efforts in all departments
                                                  310,071      469,011               158,940
                                                                                                              (less travel, lower discretionary spend,
                                                                                                              delay in hiring and increases, and PTO
                                                                                                              actions
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       Case
       Case 9:18-ap-01058-DS
            9:18-ap-01058-DS   Doc
                               Doc 236-1
                                   156-1 Filed
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                                                  06/28/19 Entered
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                                                                     06/28/19 15:36:30
                                                                              14:56:52   Desc
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                                    Exhibit    Page 629  of 680
                                 Exhibit 1-29 Page 471 of 500




Overhead and SG&A




   Channel Technologies Group                                                                   Confidential   20
                   Case
                   Case 9:18-ap-01058-DS
                        9:18-ap-01058-DS     Doc
                                             Doc 236-1
                                                 156-1 Filed
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                                                  Exhibit    Page 630  of 680
                                               Exhibit 1-29 Page 472 of 500
Total SG&A, including R&D and B&P
                                   Nov 15     Nov 15                               Nov 15     Nov 15
    SG&A                           Month      Month     Variance     Var%           YTD        YTD       Variance      Var%
                                   Actual      Plan                                Actual      Plan
    TOTAL SANTA BARBARA                458        717        259        36%           6,892      8,151      1,259          15%
     General G&A                        72        167         94        57%           1,832      1,832             0        0%
     Office of the President            60        146         85        58%            742       1,386       644           46%
     Business Development               99        137         38        28%           1,435      1,618       183           11%
     Advanced Systems                   21         52         31        59%            250        487        238           49%
     Support services                   27         37         10        27%            432        442             10        2%
     IT                                 62         59          (3)      -6%            641        657             16        3%
     HR                                 25         23          (3)     -12%            272        293             21        7%
     Accounting and Finance             91         98          7         7%           1,288      1,436       148           10%
    CTG AM                             393        401          8         2%           4,001      4,419       419            9%
    MSI                                131        364        233        64%           2,814      4,459      1,645          37%
    BWP                                 29         29          (0)       0%            323        323         -             0%
    TOTAL SG&A                       1,012      1,511        499        33%          14,029     17,352      3,322          19%
•     Total SG&A variance for the month of $259K is a result of $186K favorable for SG&A and $73K favorable for R&D and
      B&P*. YTD variance of $1,259K is a result of $1,318K favorable for SG&A and $59K unfavorable for R&D and B&P.
•     SG&A variance, excluding R&D and B&P, is primarily due to lower costs for CTG CO (see CTG CO SG&A slide), lower
      commissions ($106K) and bonus ($28K) at Optics, cost containment efforts at Advanced Materials, and MSI
      integration costs significantly below plan
•     YTD R&D and B&P variance is primarily due to higher R&D costs (-$188K) at EOI than planned for new product
      development (primarily NV-2500), offset by a favorable B&P variance for Transducers/Systems
* R&D and B&P costs within SG&A departments (including those charged to product lines) are included in the figures above

             Channel Technologies Group                                                                                Confidential   21
                        Case
                        Case 9:18-ap-01058-DS
                             9:18-ap-01058-DS           Doc
                                                        Doc 236-1
                                                            156-1 Filed
                                                                     Filed 03/31/20
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                                                             Exhibit    Page 631  of 680
                                                          Exhibit 1-29 Page 473 of 500
    Overhead Spending (Santa Barbara)
                                            Nov 15        Nov 15                                 Nov 15      Nov 15
       OVERHEAD                             Month         Month     Variance     Var%             YTD         YTD      Variance      Var%
                                            Actual         Plan                                  Actual       Plan
       TOTAL SANTA BARBARA                      1,088       1,154         67          6%          12,217      12,778         561          4%
       General Overhead                          131          157         25        16%            1,326       1,649         323        20%
       EHS/Facilities                            248          226        (23)       -10%           2,733       2,518        (215)        -9%
       Manufacturing                             349          320        (30)        -9%           3,696       3,427        (268)        -8%
       Mat & Prod Planning                         91          84          (8)       -9%           1,138         977        (161)       -16%
       Quality                                     54          66         12        18%              743         785          41          5%
       IMS                                         21          29          8        27%              253         297          44        15%
       Procurement                                 30          31          0          1%             351         371          20          5%
       Engineering                               132          185         53        29%            1,617       2,079         462        22%
       Program Management                          29          58         29        49%              360         675         315        47%

•    These costs represent the actual incurred overhead costs in Santa Barbara, including Optics, before absorption
•    Overhead costs in line with Plan for November overall, favorable from SB ($76K) and unfavorable from EOI (-$9K)
•    YTD favorable variance to Plan from SB ($663K) and unfavorable from EOI (-$102K) due to:
       •     General Overhead due to lower Depreciation & Amortization ($137K), and Business Insurance ($19K)
       •     EHS/Facilities due to higher costs for EH&S, including consulting fees ($82K), higher janitorial costs ($43K), security ($11K), licenses
             ($17K) and higher general repairs & maintenance and facilities costs offset in Manufacturing below ($99K), slightly offset by lower
             payroll costs ($37K)
       •     Manufacturing supplies and uniforms ($86K), recruiting costs ($19K), consulting ($35K), payroll related costs ($472K), offset by lower
             maintenance and facilities costs (offset in EHS above) ($96K), travel ($25K), tooling & supplies ($122K)
       •     Mat & Prod Planning due to higher payroll costs ($107K), recruiting costs ($12K) and higher freight costs ($59K)
       •     Engineering due to lower payroll related costs ($237K), recruiting ($47K), consulting costs ($32K), supplies ($32K), and travel ($55K)
       •     Program Management due to lower payroll related costs ($314K)
              Channel Technologies Group                                                                                             Confidential       22
        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS   Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
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                                     Exhibit    Page 632  of 680
                                  Exhibit 1-29 Page 474 of 500




Capital Expenditures




    Channel Technologies Group                                                                   Confidential   23
                                       Case
                                       Case 9:18-ap-01058-DS
                                            9:18-ap-01058-DS                                    Doc
                                                                                                Doc 236-1
                                                                                                    156-1 Filed
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                                                                                                     Exhibit    Page 633  of 680
                                                                                                  Exhibit 1-29 Page 475 of 500
          Capital Expenditures
CTG CAPITAL EXPENDITURES - NOVEMBER 2015


                                                                      2015           2015             2015           2015           2015           2015           2015           2015           2015           2015           2015            2015      Nov YTD
Number                Description                                      Jan           Feb              Mar            Apr            May            Jun             Jul           Aug            Sep            Oct            Nov            TOTAL      Budget     Variance
CTG Santa Barbara
 2014-C006-01   C     Tooling - Ceramics                           $      422 $          640      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $     1,062
 2015-C001-01   C     Multifunction Reconfigurable I/O device      $      -     $      7,568      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $     7,568
 2015-C002-01   C     Tooling requirements for pressing equipment on
                                                                   $ new orders.
                                                                          -     $     18,690      $       -      $     9,750    $     7,255    $      (590)   $       -      $       516    $     4,800    $     9,103    $     9,338    $ 58,863
 2014-C014-01   C     Blanchard                                    $      -     $     20,000      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $ 20,000
 2014-C018-00   C     Remodel mezzanine                            $ 47,630 $         38,973      $    33,413    $     5,448    $    15,764    $    11,212    $    13,987    $     2,920    $     7,707    $       -      $       -      $ 177,054
 2014-C019-01   C     Environmental Chamber                        $      -     $      5,156      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $     5,156
 2012-0043-01   C     New Powder Room                              $      -     $        -        $     6,366    $    (6,366)   $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -
 2014-C016-01   C     Powder Scales                                $      -     $        -        $     5,683    $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $     5,683
 2015-C005-01   C     Weigh Out Improvement                        $      -     $        -        $    11,781    $       -      $     7,683    $     3,031    $       -      $       -      $       -      $       -      $       -      $ 22,496
 2014-T019-00   T     Remodel 2nd floor                            $    3,285 $       52,496      $       -      $       -      $       -      $     1,329    $       -      $       210    $       -      $       -      $       -      $ 57,319
 2014-T020-01   T     Pressers                                     $    7,673 $          -        $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $     7,673
 2015-T003-01   T     Test Equipment                               $      -     $        256      $    37,232    $   132,496    $    87,149    $   131,818    $    85,729    $    17,259    $    16,153    $     1,192    $       137    $ 509,421
 2015-T004-01   T     MSI move to Transducers                      $      -     $        -        $    16,633    $    (1,102)   $       -      $       400    $       648    $       705    $       -      $       -      $       174    $ 17,457
 2015-T010-01   T     Motor Controller for Acoustic Tank #2        $      -     $        -        $       -      $       -      $     3,182    $       -      $       -      $       -      $       -      $       -      $       -      $     3,182
 2014-S011-01   S     3 D prototype printer for engineering        $      -     $          66     $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $         66
 2015-S006-01   S     Systems Engineering Computers                $      -     $        -        $    15,734    $         50   $       -      $       -      $       -      $       -      $       -      $       -      $       -      $ 15,783
 2015-0007-01         SCIF Electronic Locks                        $      -     $        -        $       -      $     4,190    $      (196)   $       -      $     1,265    $       -      $       -      $       -      $       -      $     5,260
 2015-0008-01         Workstation                                  $      -     $        -        $       -      $     2,624    $         42   $       -      $       -      $       -      $       -      $       -      $       -      $     2,666
 2013-0009-01         Planning for Facility Modernization          $      -     $        -        $     1,071    $    (1,072)   $       -      $       -      $       -      $       -      $       -      $       -      $       -      $         (1)
 2014-0017-01         Software                                     $      -     $        -        $     1,215    $       -      $       -      $       -      $       -      $       -      $       -      $       -      $       -      $     1,215
 2014-C015-01   C     Inkprint System                              $      -     $        -        $       -      $       -      $       -      $       -      $     7,265    $       -      $       -      $       -      $       -      $     7,265
 2015-0013-01         Shredder/Alarm upgrade                       $      -     $        -        $       -      $       -      $       -      $       -      $     3,153    $       -      $       -      $       -      $       -      $     3,153
 2015-C015-01   C     Security cameras                             $      -     $        -        $       -      $       -      $       -      $       -      $     7,068    $       -      $       -      $       -      $       -      $     7,068
 2015-C014-01   C     Optical CMM Inspection Equipment             $      -     $        -        $       -      $       -      $       -      $       -      $    58,978    $     2,590    $       -      $       -      $       -      $ 61,568
 2015-C012-01   C     Coolant filtration systemCeramic grinding    $      -     $        -        $       -      $       -      $       -      $       -      $       -      $     1,040    $       -      $       -      $       -      $     1,040
 2015-S017-01   S     Frequency counters, engineering test lab     $      -     $        -        $       -      $       -      $       -      $       -      $       -      $     3,018    $       (92)   $       -      $       -      $     2,926
 PLEX2015             Plex Reimplementation 2015                   $    9,648 $       10,720      $    16,088    $     5,360    $    16,080    $    11,801    $    65,318    $    26,111    $     9,495    $    12,637    $     9,495    $ 192,751
                        CTG Santa Barbara                          $ 68,658 $        154,565      $   145,215    $   151,379    $   136,959    $   159,001    $   243,409    $    54,368    $    38,064    $    22,932    $    19,143    $ 1,193,694 $ 1,535,667 $ 341,973

EOI             E      EOI                                        $          -   $          -     $          -   $          -   $          -   $          -   $          -   $          -   $          -   $          -   $          -   $       -     $   59,000 $ 59,000

Adv Mat         AM    Advanced Materials                          $    71,900 $      113,609 $        109,767 $      136,680 $      323,449 $      103,058 $       79,609 $       25,810 $             -   $    67,083 $       30,682    $ 1,061,648   $ 713,000 $ (348,648)
MSI             MSI   MSI Computers & Equipment                   $     5,549 $          -   $            -   $          -   $        5,035 $          -   $          -   $          -   $             -   $       -   $          -      $ 10,584      $ 276,000 $ 265,416
                       CTG AM/MSI                                 $    77,449 $      113,609 $        109,767 $      136,680 $      328,484 $      103,058 $       79,609 $       25,810 $             -   $    67,083 $       30,682    $ 1,072,231

                       TOTAL                                      $   146,107 $      268,174 $        254,982 $      288,059 $      465,443 $      262,059 $      323,019 $       80,178 $       38,064 $       90,014 $       49,825    $ 2,265,925   $ 2,583,667 $ 317,742




                             Channel Technologies Group                                                                                                                                                                                      Confidential              24
        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS   Doc
                                Doc 236-1
                                    156-1 Filed
                                             Filed 03/31/20
                                                   06/28/19 Entered
                                                              Entered 03/31/20
                                                                      06/28/19 15:36:30
                                                                               14:56:52   Desc
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                                     Exhibit    Page 634  of 680
                                  Exhibit 1-29 Page 476 of 500




MSI Integration




    Channel Technologies Group                                                                   Confidential   25
              Case
              Case 9:18-ap-01058-DS
                   9:18-ap-01058-DS    Doc
                                       Doc 236-1
                                           156-1 Filed
                                                    Filed 03/31/20
                                                          06/28/19 Entered
                                                                     Entered 03/31/20
                                                                             06/28/19 15:36:30
                                                                                      14:56:52   Desc
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                                            Exhibit    Page 635  of 680
                                         Exhibit 1-29 Page 477 of 500
MSI Integration – Status Update
Update
•   As of November 30, we are 14 months in. Both integrations costs and synergies are favorable to plan.
•   Integration costs through November 30 are $930K, below the original plan of $1.7M and the revised plan of
    $953K. Some equipment moves were not completed and are planned for a later date.
•   Plans to transition additional programs (MLTA, AQS20, PS60, Archerfish) are being developed as orders arrive
    using the Stage Gate process.

Synergies Achieved
•   Total synergies to date include: Carol Bowen (at closing – on target), Thomas Tiano (engineer terminated in
    April 2014 – favorable to plan), Patricia Modzelewski (on 10/31/2014 – favorable to plan of 01/31/2015),
    Nazeeh Shaheen (on 12/4/2014 – favorable to plan of 01/31/2015), Gary Douville (favorable to plan of June
    2015), Phira Chep (on 2/6/2014 – favorable to plan), and Phil Canada (on 2/13/2015 – favorable to plan).
    Five MSI operators (Chea, Phouthakhio, Ramos, Urrutia, and Vann) on 3/31/2015 – on target. Additional
    synergies on 5/29/2015 include: Barbara Lilley, Karen Cerritelli, and 2 technicians (Gogoun, Lindsay), Nazeeh
    Shaheen is the synergy BD position. Gary Douville is a synergy management position. Additional savings
    beginning September 2015 include a Director of Manufacturing, a contracts position, an engineer, and a
    technician; former Vice President of MSI beginning in November 2015. Favorable to plan.

Annualized Hard Cost Savings
• As of November 30, actual annualized hard cost savings of $1,039K vs Budget of $384K due to additional
    reductions and timing of planned reductions.




        Channel Technologies Group                                                                      Confidential   26
              Case
              Case 9:18-ap-01058-DS
                   9:18-ap-01058-DS            Doc
                                               Doc 236-1
                                                   156-1 Filed
                                                            Filed 03/31/20
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                                                    Exhibit    Page 636  of 680
                                                 Exhibit 1-29 Page 478 of 500
MSI Integration – Budget vs. Actual



   Integration Costs
                                                     Original Plan          Revised Plan*          November ITD    November Month
   Item
                                                     November ITD           November ITD              Actuals          Actuals

   Severance / Relocation Packages               $               540 $                  349 $                394 $             31
   Integration Manager/Professional Services     $               280 $                  250 $                302 $             -
   Travel                                        $                   50 $                   50 $              78 $             -
   Elect. Product Data Management S/W            $                   50 $                   44 $             -     $           -
   Video / Conf. and IT Misc.                    $                   50 $                   20 $             -     $           -
   Move Equipment                                $               110 $                  100 $                 24 $             -
   Training                                      $                   50 $                   10 $              18 $             -
   Scrap (Process Exp.)                          $                   50 $                   10 $             -     $           -
   Recruiting Fees                               $                   60 $                   20 $             -     $           -
   Misc.                                         $               440 $                  100 $                113 $                 2
   Integration Costs ($000)                      $             1,680    $              953     $             930   $           33
   *Budget revised 12Mar15




     Channel Technologies Group                                                                                             Confidential   27
          Case
          Case 9:18-ap-01058-DS
               9:18-ap-01058-DS   Doc
                                  Doc 236-1
                                      156-1 Filed
                                               Filed 03/31/20
                                                     06/28/19 Entered
                                                                Entered 03/31/20
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                                       Exhibit    Page 637  of 680
                                    Exhibit 1-29 Page 479 of 500




Appendix

  •   Financial Statements
  •   Working Capital
  •   Borrowing Base




      Channel Technologies Group                                                                   Confidential   28
                                 Case
                                 Case 9:18-ap-01058-DS
                                      9:18-ap-01058-DS                      Doc
                                                                            Doc 236-1
                                                                                156-1 Filed
                                                                                         Filed 03/31/20
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                                                                                                                           14:56:52                              Desc
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                                                                                 Exhibit    Page 638  of 680
                                                                              Exhibit 1-29 Page 480 of 500
     Income Statement
                                              Favorable/    Favorable/                                                                                                      Favorable/    Favorable/
    Nov 15           2015           2014     (Unfavorable) (Unfavorable)                                                       Nov 15          Nov 15            2014      (Unfavorable) (Unfavorable)
    Month           Month           Month      Difference    Difference            BWP-CTG-EOI-AM-MSI Combined                  YTD              YTD              YTD        Difference    Difference
    Actual           Plan          Prior Yr       Plan        Prior Yr                 Statement of Earnings                   Actual           Plan            Prior Yr        Plan        Prior Yr
$    3,695,859    $ 4,791,121    $ 5,258,538 $ (1,095,262) $ (1,562,679)                  Sales/Shipments                  $   46,329,076    $ 52,910,751     $ 43,498,302 $ (6,581,675) $ 2,830,775
           -              -               -             -              -                Inter-Company Sales                           -               -                 -             -            -
    3,695,859       4,791,121        5,258,538     (1,095,262)     (1,562,679)              Total Revenue                      46,329,076      52,910,751       43,498,302    (6,581,675)     2,830,775


    2,858,806       2,453,281        3,347,203       (405,526)       488,396                 Cost of Sales                     29,735,207      30,487,537       28,489,044      752,330       (1,246,163)

      837,053       2,337,840        1,911,336     (1,500,788)     (1,074,283)              Gross Margin                       16,593,870      22,423,214       15,009,258    (5,829,344)     1,584,612

    22.6%            48.8%           36.3%         -26.1%          -13.7%                  Gross Margin %                      35.8%            42.4%            34.5%         -6.6%           1.3%

      926,537       1,346,615        1,118,346       420,079         191,810      General & Administrative Expenses            12,145,199      15,453,798        9,948,069     3,308,599      (2,197,131)
       75,678         111,861           83,725        36,183           8,047                   IR&D                             1,506,796       1,315,031          476,777      (191,764)     (1,030,018)
        9,793          53,000           26,684        43,207          16,891                    B&P                               377,499         583,000          619,507       205,501         242,007
    1,012,007       1,511,476        1,228,755       499,469         216,748                 Total SG&A                        14,029,494      17,351,829       11,044,352     3,322,335      (2,985,141)

     (174,954)        826,364         682,581      (1,001,319)      (857,535)            Operating earnings                     2,564,376       5,071,385        3,964,905    (2,507,009)     (1,400,530)

    -4.7%            17.2%           13.0%         -22.0%          -17.7%               Operating earnings %                   5.5%              9.6%             9.1%         -4.0%           -3.6%

       (47,501)       (43,660)       (159,975)          3,841       (112,474)     Non-Operation Income (Expenses)              (1,001,914)       (480,260)      (2,003,921)     521,654       (1,002,008)

     (222,455)        782,704         522,606      (1,005,159)      (745,060)       Income Before Interest Expense              1,562,462       4,591,125        1,960,984    (3,028,662)      (398,522)

     (298,174)       (256,329)       (280,030)        (41,846)       (18,144) Interest Expense & Other Financial Charges       (3,208,418)      (3,002,042)     (3,260,469)     (206,376)        52,051

     (520,629)        526,376         242,576      (1,047,005)      (763,205)           Pretax Income (Loss)                   (1,645,956)      1,589,083       (1,299,484)   (3,235,038)      (346,471)

            -                -             -                -               -               Income Taxes                          (32,990)          (2,100)         (2,479)      (30,890)       (30,511)

$    (520,629) $      526,376    $    242,576    $ (1,047,005) $    (763,205)                Net Income                    $   (1,678,945) $    1,586,983     $ (1,301,963) $ (3,265,928) $    (376,982)




                      Channel Technologies Group                                                                                                                              Confidential            29
                              Case
                              Case 9:18-ap-01058-DS
                                   9:18-ap-01058-DS                Doc
                                                                   Doc 236-1
                                                                       156-1 Filed
                                                                                Filed 03/31/20
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                                                                                                                  14:56:52                       Desc
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                                                                        Exhibit    Page 639  of 680
                                                                     Exhibit 1-29 Page 481 of 500
     EBITDA Detail

                                         Favorable/     Favorable/                                                                                          Favorable/    Favorable/
    Nov 15       2015           2014    (Unfavorable) (Unfavorable)                                            Nov 15           Nov 15          2014       (Unfavorable) (Unfavorable)
    Month        Month          Month     Difference     Difference        BWP-CTG-EOI-AM-MSI Combined          YTD               YTD            YTD         Difference    Difference
    Actual        Plan         Prior Yr      Plan         Prior Yr             Statement of Earnings           Actual            Plan          Prior Yr         Plan        Prior Yr
$    (520,629) $  526,376     $ 242,576 $ (1,047,005) $      (763,205)              Net Income             $   (1,678,945) $     1,586,983   $ (1,301,963) $ (3,265,928) $ (376,982)



$         -     $       -     $       -     $        -     $       -                Income Taxes           $       32,990   $       2,100    $       2,479   $      30,890 $     30,511
      302,015       256,329       280,030         45,687        21,985       Interest Expense and other         3,736,183       3,002,042        3,323,562         734,141      412,621
      387,739       438,111       341,908        (50,372)       45,832      Depreciation & Amortization         4,498,641       4,610,839        3,662,226        (112,198)     836,415
       29,338        29,338        29,338               0            0             G&A Loan Fees                  322,713         322,713          322,713             -            -
        1,993         1,993         1,993            -             -              Non Op Loan Fees                 21,924          21,924           21,924             -               0
        6,250         6,250         6,250            -             -                  Board Fees                   68,750          68,750           68,750             -            -
       41,667        41,667        41,667              (0)         -        Blue Wolf Management Fees             458,333         458,336          458,334               (2)          (1)

$     248,373   $ 1,300,063   $   943,761   $ (1,051,691) $    (695,388)              EBITDA               $    7,460,589   $ 10,073,686     $   6,558,025   $ (2,613,097) $    902,563

$   1,039,257   $   384,394                                                 Annualized Hard Cost Savings   $    1,039,257   $     384,394

$   1,287,629   $ 1,684,458                                                        Bank EBITDA             $    8,499,845   $ 10,458,081




                    Channel Technologies Group                                                                                                                   Confidential       30
        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS           Doc
                                        Doc 236-1
                                            156-1 Filed
                                                     Filed 03/31/20
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                                                                              06/28/19 15:36:30
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                                             Exhibit    Page 640  of 680
                                          Exhibit 1-29 Page 482 of 500
Balance Sheet - Assets
                                                          Total Combined     Total Combined          Variance
                                 NOV 2015                   NOV 2015           NOV 2015             NOV 2015
                      CHANNEL TECHNOLOGIES COMBINED          Actual 15           Budget          Actual vs Budget
                               Balance Sheet
                                                             Combined            Combined            Combined
               Balance Sheet                                 NOV 2015            NOV 2015            NOV 2015

               CURRENT ASSETS
               Cash                                      $        225,499 $           249,456 $           (23,958)
               Accounts Receivable                              7,408,199           8,896,453          (1,488,255)
               Unbilled A/R                                     3,733,691           1,291,353           2,442,338
               Allowance for bad debt                              (3,257)            (80,029)             76,772
               Other Receivables                                      235                 235                  (0)
               Inventories                                      9,360,178           6,452,915           2,907,262
               Prepaid Expenses                                   869,631             856,412              13,219
                                                                                                              -
               TOTAL CURRENT ASSETS                            21,594,176          17,666,796           3,927,380

               FIXED ASSETS
               Projects in process                              1,331,743           2,201,869            (870,126)
               Shop Equipment                                  10,255,230          10,504,173            (248,943)
               Lab. Demo & Test Equip                           1,674,992             799,982             875,009
               Office Equipment                                 1,981,876           1,926,862              55,014
               Vehicle Equipment                                   24,250              24,250                 -
               Leasehold Improvement                            2,909,160           2,736,468             172,692
                                                               18,177,251          18,193,604             (16,354)
               Less Depreciation                               (5,514,813)         (5,791,337)            276,524
               TOTAL FIXED ASSETS                              12,662,438          12,402,268             260,170

               OTHER ASSETS
               Restricted Cash                                  1,138,283           6,578,018          (5,439,735)
               Deposits                                            53,699              39,669              14,030
               Goodwill                                        24,888,354          28,948,467          (4,060,113)
               Identified Intangible Assets:                   26,229,313          23,661,465           2,567,848
               Trained & Assembled Workforce:                   2,715,000           2,715,000                 -
               Long Term Note                                     268,351             260,500               7,851
               Prepaid Loan Fee                                 1,026,813           1,026,813                 -
               TOTAL OTHER ASSETS                              56,319,812          63,229,932          (6,910,119)

               TOTAL ASSETS                              $     90,576,426    $     93,298,995    $     (2,722,569)

    Channel Technologies Group                                                                                              Confidential   31
        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS             Doc
                                          Doc 236-1
                                              156-1 Filed
                                                       Filed 03/31/20
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                                               Exhibit    Page 641  of 680
                                            Exhibit 1-29 Page 483 of 500
Balance Sheet – Liabilities & Equity
                                                                  Total Combined      Total Combined          Variance
                                NOV 2015                            NOV 2015            NOV 2015             NOV 2015
                     CHANNEL TECHNOLOGIES COMBINED                   Actual 15            Budget          Actual vs Budget
                              Balance Sheet
                                                                     Combined             Combined            Combined
              Balance Sheet                                          NOV 2015             NOV 2015            NOV 2015

              CURRENT LIABILITIES
              Accounts Payable                                   $       3,241,999    $      1,601,917    $      1,640,082
              Accrued Expenses                                           2,786,266           4,009,650          (1,223,384)
              Deferred Revenue                                           1,619,505           1,715,000             (95,495)
              Current Portion Long Term Debt                             3,002,755           2,518,750             484,005


              TOTAL CURRENT LIABILITIES                                 10,650,525           9,845,317            805,208

              LONG TERM LIABILITIES
              Revolver OWB                                                7,950,000          2,930,844           5,019,156
              Contingent Liability -Indemnification & Environmental Escrow1,138,283          6,578,018          (5,439,735)
              OWB Term Loan                                              25,464,732         25,358,000             106,732
              Avante Junior Financing                                     7,000,000          7,000,000                 -
              Fidus Junior Financing                                      7,000,000          7,000,000                 -
              OWB CapEx Term                                              3,550,000          1,850,000           1,700,000
              Rent: Security Deposit                                         25,413             25,413                 -
              Total Gross Long Term                                      52,128,427         50,742,275           1,386,152

              Less Amounts Due in 1 Year                                (3,002,755)         (2,518,750)           (484,005)
              TOTAL LONG TERM LIABILITIES                               49,125,672          48,223,525             902,147

              STOCKHOLDERS' EQUITY
              Members Equity                                            32,479,175           6,451,000          26,028,175
              Retained Earnings -                                                           27,192,171         (27,192,171)
              Net Profit Y-T-D                                          (1,678,945)          1,586,983          (3,265,928)
                                                                                                                          0
              TOTAL STOCKHOLDERS EQUITY                                 30,800,229          35,230,153          (4,429,924)

              TOTAL LIABILITIES &
               STOCKHOLDERS' EQUITY                              $      90,576,426    $     93,298,995    $     (2,722,569)

    Channel Technologies Group                                                                                                  Confidential   32
                              Case
                              Case 9:18-ap-01058-DS
                                   9:18-ap-01058-DS      Doc
                                                         Doc 236-1
                                                             156-1 Filed
                                                                      Filed 03/31/20
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                                                              Exhibit    Page 642  of 680
                                                           Exhibit 1-29 Page 484 of 500
    Balance Sheet – Trend

         BALANCE SHEET ($K)           DEC-14    JAN-15   FEB-15    MAR-15   APR-15   MAY-15   JUN-15   JUL-15   AUG-15    SEP-15        OCT-15    NOV-15

               Summary
  Cash                                   234       956      277       161      590       36       81      491      307           53       1,069        225
  Accounts Receivable                   8,572    6,187     7,348    9,106    8,508    7,618    6,566    5,185    5,917      5,828         6,364       7,405
  Unbilled A.R.                         1,189    1,865     2,317    2,987    3,328    3,391    2,031    2,686    3,195      3,651         4,490       3,734
  Inventory                             6,316    6,669     6,965    7,078    7,113    7,256    7,359    8,012    8,491      8,688         9,037       9,360
  Other Current Assets                   871       879      852       744    1,525      812      916      811      747          925        900         870
Total Current Assets                   17,181   16,556    17,759   20,076   21,063   19,113   16,953   17,185   18,657     19,146        21,859      21,594
  Fixed Assets                         12,724   12,680    12,745   12,743   12,832   13,090   13,145   13,257   13,125     12,951        12,827      12,662
  Other Non-Current Assets             64,297   64,055    63,811   63,577   63,344   63,040   62,805   62,536   62,303     57,072        56,566      56,320
Total Assets                           94,201   93,291    94,314   96,396   97,239   95,243   92,902   92,978   94,085     89,168        91,252      90,576


  Accounts Payable                      2,410    1,473     1,993    2,261    1,997    1,568    2,536    2,173    2,734      3,823         3,180       3,242
  Other Current Liabilities             6,795    6,816     6,954    8,479    8,842    8,419    6,286    6,409    6,995      6,801         6,681       7,409
Total Current Liabilities               9,206    8,289     8,947   10,740   10,839    9,987    8,822    8,582    9,729     10,623         9,862      10,651


  Revolver                              5,250    5,500     5,650    6,200    7,200    6,550    6,550    6,850    7,300      6,650         8,850       7,950
  Long-Term Debt                       40,564   40,564    40,564   39,836   39,836   39,836   39,063   39,463   39,463     38,712        40,012      40,012
  Other Liabilities                     6,603    6,604     6,587    6,587    6,587    6,516    6,514    6,495    6,495      1,497         1,208       1,164
Total Long-Term Liabilities            52,417   52,668    52,801   52,623   53,624   52,903   52,127   52,807   53,257     46,859        50,070      49,126
Equity                                 32,578   32,334    32,566   33,033   32,777   32,353   31,954   31,589   31,099     31,686        31,321      30,800
Total Liabilities & Equity             94,201   93,291    94,314   96,396   97,239   95,243   92,902   92,978   94,085     89,168        91,252      90,576




                   Channel Technologies Group                                                                                         Confidential      33
        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS   Doc
                                Doc 236-1
                                    156-1 Filed
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                                     Exhibit    Page 643  of 680
                                  Exhibit 1-29 Page 485 of 500
Balance Sheet – Trends




    Channel Technologies Group                                                                   Confidential   34
             Case
             Case 9:18-ap-01058-DS
                  9:18-ap-01058-DS                          Doc
                                                            Doc 236-1
                                                                156-1 Filed
                                                                         Filed 03/31/20
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                                                                 Exhibit    Page 644  of 680
                                                              Exhibit 1-29 Page 486 of 500
Cash Flow Statement
                                                                    Combined BWP-CTG Combined BWP-CTG-AM
                                November 2014                           NOV 2015           NOV 2015

                              BWP-CTG-EOI-AM-MSI                          YTD                  YTD
                                                                         Actual               Budget
     Statement of Cash Flow

     Pretax income                                                  $      (1,645,956) $           1,589,083
     Income taxes                                                             (32,990)                (2,100)

     Adjustments to reconcile net income to net cash:
     Depreciation & amortization                                            4,498,641              4,610,839
     Other adjustments:                                                           -
     Change in Accounts Receivable                                          1,243,639               (244,616)
     Change in Unbilled Revenue-Milestone Billings                         (2,545,130)             4,797,495
     Change in Allowance for bad debt                                         (76,772)                   -
     Change in Inventories
     Change in Prepaid Expenses
                                                                           (3,044,533)
                                                                                1,311
                                                                                                    (137,271)
                                                                                                      50,144
                                                                                                                 •   YTD Cash flow from Operations
     Change in Deposits                                                         1,789                (19,794)        impacted by growth in Unbilled
     Change in Goodwill/Intangible Assets
     Change in Trained & Assembled Workforce:
                                                                             (198,601)
                                                                              198,601                    -
                                                                                                           (0)
                                                                                                                     Revenue and Inventory vs.
     Change in Long Term Note                                                  (7,851)                   -           Plan, partially offset by strong
     Change in Prepaid Loan Fee
     Change in Accts Payable
                                                                              322,713
                                                                              831,653
                                                                                                     322,713
                                                                                                    (808,429)
                                                                                                                     collections and increase in AP
     Change in Accrued Expenses                                              (327,564)               900,457
     Change in Deferred Revenue                                               325,820             (4,478,971)

     Cash From Operations                                           $        (455,229) $           6,579,549

     Investing & financing activities:
     Purchase & retirement of property, plant & equipment                  (2,217,142)            (2,502,516)

     Cash from internal operations                                         (2,672,372)             4,077,034

     Cash Flow From Financing Activities
     Revolver OWB                                                           2,700,000             (2,319,156)
     OWB Term Loan                                                         (1,637,018)            (1,743,750)
     OWB CapEx Term                                                         1,700,000                    -
     Refund of Former President Equity                                         25,000                    -
     Additional Equity Investment                                            (124,065)                   -
     Total From Financing Activities                                        2,663,917             (4,062,906)

     Total Cash Generated (Used)                                    $             (8,455) $             14,128
     Net-Inter-company change-borrowing (payback)                                     0                    -
     Total change in cash                                                     ($8,455)                 $14,128

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                     Case
                     Case 9:18-ap-01058-DS
                          9:18-ap-01058-DS              Doc
                                                        Doc 236-1
                                                            156-1 Filed
                                                                     Filed 03/31/20
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                                                                                                       14:56:52                 Desc
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                                                             Exhibit    Page 645  of 680
                                                          Exhibit 1-29 Page 487 of 500
 Working Capital – AR, AP
          Metric                 Jan-15        Feb-15       Mar-15       Apr-15      May-15      Jun-15     Jul-15    Aug-15    Sep-15    Oct-15    Nov-15

 Accounts Receivable Aging
Current                             $3,485       $4,884       $6,336      $4,440      $4,067      $4,233    $2,988     $3,579   $4,944    $4,660         $5,193
31-60 Days                          $2,170       $1,383       $1,945      $3,170      $2,968      $1,604    $1,796     $1,507     $694    $1,454         $1,507
61-90 Days                            $251         $722         $426        $350        $188        $593      $279       $546      $22       $83           $480
> 90 Days                             $309         $380         $408        $552        $398        $139      $125       $289     $171      $169           $228

Gross Trade AR               $       6,215 $      7,369 $      9,115 $     8,511 $     7,622 $     6,569 $ 5,189 $ 5,921 $ 5,831 $ 6,367 $                7,408

           DSO                        46.1         53.1         63.0        57.5        51.4        44.5       35.2      40.4      39.6     43.5           52.2



  Accounts Payable Aging         Jan-15        Feb-15       Mar-15       Apr-15      May-15      Jun-15     Jul-15    Aug-15    Sep-15    Oct-15    Nov-15
Current                             $1,354       $1,592      $1,722       $1,405      $1,126       $1,956    $1,443    $1,442    $1,861    $2,084     $1,366
31-60 Days                            $115         $397        $472         $584        $421         $506      $697      $945      $994      $732     $1,360
61-90 Days                              $3           $4          $27          $7         $20          $24        $9      $330      $771      $109       $207
> 90 Days                               $1           $1          $40          $0          $1          $50       $24       $16      $198      $255       $308

Gross Trade AP               $       1,473 $      1,993 $      2,261 $     1,997 $     1,568 $     2,536 $ 2,173 $ 2,734 $ 3,823 $ 3,180 $                3,242

          AP Days                     36.8         48.7         52.2        43.9        34.2        54.3       46.7      58.6      88.9     72.0           75.7


      •    Positive trend in accounts receivable collections, with improved and stable DSO in recent months. Increase in
           November due to invoicing of TR-343 ($1.1M) not included in Revenues in November (POC revenue recognition
           method)
      •    Cash outflows at quarter end restricted to critical vendor payments, and therefore higher AP days than the
           normal trend.

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                          Case
                          Case 9:18-ap-01058-DS
                               9:18-ap-01058-DS                 Doc
                                                                Doc 236-1
                                                                    156-1 Filed
                                                                             Filed 03/31/20
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                                                                     Exhibit    Page 646  of 680
                                                                  Exhibit 1-29 Page 488 of 500
  Working Capital – Inventory


           Metric                 Jan-15             Feb-15          Mar-15          Apr-15         May-15         Jun-15         Jul-15     Aug-15      Sep-15      Oct-15          Nov-15
         Inventory
Raw Material                  $       4,540      $      4,544    $      4,556    $     4,481    $     4,328    $     4,101    $     4,220    $ 4,673     $ 4,660     $ 5,130     $      5,369
WIP                           $       5,543      $      6,262    $      6,781    $     7,230    $     7,347    $     8,145    $     8,856    $ 8,491     $ 9,679     $ 10,334    $     10,623
Eng/PM                        $       1,419      $      1,589    $      1,753    $     1,979    $     2,135    $     2,335    $     2,485    $ 2,776     $ 3,010     $ 3,611     $      3,928
POC                           $      (4,808)     $     (5,348)   $     (5,849)   $    (6,412)   $    (6,694)   $    (7,082)   $    (7,139)   $ (7,259)   $ (8,326)   $ (9,553)   $    (10,326)
WIP Total                     $       2,154      $      2,502    $      2,684    $     2,797    $     2,788    $     3,398    $     4,203    $ 4,007     $ 4,363     $ 4,392     $      4,225
FG                            $         626      $        663    $        703    $       819    $       837    $       848    $       882    $ 971       $ 979       $ 1,019     $      1,100
Reserves                      $        (651)     $       (745)   $       (865)   $      (984)   $      (697)   $      (987)   $    (1,293)   $ (1,161)   $ (1,315)   $ (1,504)   $     (1,334)
Net Inventory                 $       6,669      $      6,965    $      7,078    $     7,113    $     7,256    $     7,359    $     8,013    $ 8,491     $ 8,688     $ 9,037     $      9,360

Total Inventory               $       6,669 $           6,965 $         7,078 $        7,113 $        7,256 $        7,359 $ 8,013 $ 8,491 $ 8,688 $ 9,037 $                            9,360

        Inventory Turns                    5.0            4.8             4.9            5.0            4.9            4.8            4.4         4.2         4.0         3.8             3.7




    •      Inventory turns deterioration in last 6 months due to delays in shipping and inventory builds on MK-54, TR-343 and
           BAE programs




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        Case
        Case 9:18-ap-01058-DS
             9:18-ap-01058-DS            Doc
                                         Doc 236-1
                                             156-1 Filed
                                                      Filed 03/31/20
                                                            06/28/19 Entered
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                                                                               06/28/19 15:36:30
                                                                                        14:56:52          Desc
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                                              Exhibit    Page 647  of 680
                                           Exhibit 1-29 Page 489 of 500
Borrowing Base – November 30, 2015
                                            BORROWING BASE CERTIFICATE
                                                                          For:      11/30/15



         #    ACCOUNTS RECEIVABLE
         1         Total Accounts Receivable Current Period                                    $    7,408,199
         2         Less:      Total Ineligible Accounts                                        $     (226,534)
         3         Total Eligible Accounts Receivable (Line 1 - Line 2)                        $    7,181,665
         4         Accounts Receivable Advance Rate (80%)                                                 80%
         5         Accounts Receivable Availability (Line 3 * Line 4)                          $    5,745,332

         #    INVENTORY
         6          Total Inventory Current Period (A)                                         $    9,360,178
         7          Less:      Total Ineligible Inventory                                      $          -
         8          Total Eligible Inventory (Line 6 - Line 7)                                 $    9,360,178
         9          Inventory Advance Rate (50%; may be 60% up to 90 consecutive days)                    50%
         10         Inventory Availability (Line 8 * Line 9)                                   $    4,680,089


              BORROWING BASE
         11        Total Collateral Availability (Line 5 + Line 10)                            $   10,425,421
         12        Total Revolving Line of Credit                                              $   10,000,000

         13          Borrowing Base (Lesser of Line 11 or Line 12)                             $   10,000,000

         14          Less: Outstanding L/C's (enter as negative)                               $   (7,950,000)
         15          Less: Usage (Outstanding Line of Credit) (enter as negative)              $          -
         16          Total Outstanding                                                         $   (7,950,000)

         17          Net Borrowing Availability                                                $    2,050,000
                     (A) Inventory is net of reserves.


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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                                       14:56:52   Desc
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                             Exhibit    Page 648  of 680
                          Exhibit 1-29 Page 490 of 500




                 EXHIBIT 29
       Case
       Case 9:18-ap-01058-DS
            9:18-ap-01058-DS                    Doc
                                                Doc 236-1
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                                                             Filed 03/31/20
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                                                     Exhibit    Page 649  of 680
                                                  Exhibit 1-29 Page 491 of 500

Ewelina Johnson

From:                    Lynn Chen
Sent:                    Tuesday, January 19, 2016 12:30 PM
To:                      Joshua Cherry-Seto; Tom Ellis
Cc:                      Damon Frier; Kenny Shrainer; Rich Simitian
Subject:                 Re: FW: CTS Corp - CTG Conflict Waiver
Attachments:             Conflict Waiver Letter_CTS Corp - CTG LC signed.pdf


Hi Tom,

Here is my signature.

Thanks, lynn

Lynn Chen
Chief Financial Officer



Channel Technologies Group
879 Ward Drive
Santa Barbara, CA 93111
805-690-5132 (direct)
805-403-5488 (cell)
www.channeltechgroup.com

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>>> On 1/19/2016 at 9:05 AM, in message
<DM2PR0801MB556E231C8AAE8FB5F36D42AD3C10@DM2PR0801MB556.namprd08.prod.outlook.com>, "Ellis, Tom"
<Thomas.Ellis@us.gt.com> wrote:

   Mr, Cherry-Seto,



   Rich Simitian has asked me to revise the subject waiver letter to refer to Blue Wolf Capital Fund II, L.P. rather than
   Blue Wolf Capital Management. I have attached the amended waiver letter as you requested.



   If you agree with the changes, please sign and return to me and Rich Simitian. Ms. Chen may also use the attached
   letter to sign and return to me and Rich as well.




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   Case
   Case 9:18-ap-01058-DS
        9:18-ap-01058-DS            Doc
                                    Doc 236-1
                                        156-1 Filed
                                                 Filed 03/31/20
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                                                                          06/28/19 15:36:30
                                                                                   14:56:52   Desc
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                                         Exhibit    Page 650  of 680
                                      Exhibit 1-29 Page 492 of 500
We greatly appreciate your assistance.



Best regards,

Tom



Thomas Ellis | Managing Director

Grant Thornton LLP

T 214 561 2566

M 214 215-6442

E thomas.ellis@us.gt.com | W www.grantthornton.com



From: Simitian, Rich
Sent: Tuesday, January 19, 2016 9:37 AM
To: Ellis, Tom <Thomas.Ellis@us.gt.com>
Subject: Fwd: CTS Corp ‐ CTG Conflict Waiver




Begin forwarded message:

From: Joshua Cherry‐Seto <jcs@bluewolfcapital.com>
Date: January 19, 2016 at 7:29:51 AM PST
To: "Simitian, Rich" <Rich.Simitian@us.gt.com>, Lynn Chen <LChen@channeltech.com>
Cc: "Frier, Damon" <Damon.Frier@us.gt.com>
Subject: RE: CTS Corp ‐ CTG Conflict Waiver

Rich – please update to reflect Blue Wolf Capital Fund II, L.P. throughout for us.



I can then sign.



Josh



____________________________________
Joshua Cherry‐Seto
                                                          2
   Case
   Case 9:18-ap-01058-DS
        9:18-ap-01058-DS           Doc
                                   Doc 236-1
                                       156-1 Filed
                                                Filed 03/31/20
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                                                                 Entered 03/31/20
                                                                         06/28/19 15:36:30
                                                                                  14:56:52                Desc
                                                                                                          Desc
                                        Exhibit    Page 651  of 680
                                     Exhibit 1-29 Page 493 of 500
Blue Wolf Capital Partners
One Liberty Plaza, 52nd Floor

New York, NY 10006

p: 212.488.1347
f: 917.677.8980

c: 917.204.5967

jcs@bluewolfcapital.com




From: Simitian, Rich [mailto:Rich.Simitian@us.gt.com]
Sent: Tuesday, January 19, 2016 10:20 AM
To: Lynn Chen <LChen@channeltech.com>; Joshua Cherry‐Seto <jcs@bluewolfcapital.com>
Cc: Frier, Damon <Damon.Frier@us.gt.com>
Subject: Fwd: CTS Corp ‐ CTG Conflict Waiver



Josh



Per our phone call this morning I am attaching the conflict waiver. CTS has signed. I will need both you and Lynn to
sign as well



Once in place I will coordinate with Damon on the tax side and we will talk to you about next steps



Thank you



Rich Simitian

7143214481 mobile




Begin forwarded message:

From: "Ellis, Tom" <Thomas.Ellis@us.gt.com>
Date: January 18, 2016 at 8:31:46 PM PST


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         9:18-ap-01058-DS                      Doc
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                                                    Exhibit    Page 652  of 680
                                                 Exhibit 1-29 Page 494 of 500
To: "Simitian, Rich" <Rich.Simitian@us.gt.com>
Subject: CTS Corp ‐ CTG Conflict Waiver

Hi, Rich,



I’ve attached a copy of the subject waiver letter executed by CTS Corp.



Please provide the CTS-executed letter to CTG and Blue Wolf for their files after they have executed and returned the
letters you provided to them for signature.



Thanks, Rich!

Tom



Thomas Ellis | Managing Director

Grant Thornton LLP

T 214 561 2566

M 214 215-6442

E thomas.ellis@us.gt.com | W www.grantthornton.com




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                                                 Exhibit    Page 653  of 680
                                              Exhibit 1-29 Page 495 of 500
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Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
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                             Exhibit    Page 654  of 680
                          Exhibit 1-29 Page 496 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                                                                       14:56:52   Desc
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                             Exhibit    Page 655  of 680
                          Exhibit 1-29 Page 497 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                                           06/28/19 Entered
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                             Exhibit    Page 656  of 680
                          Exhibit 1-29 Page 498 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
                                     Filed 03/31/20
                                           06/28/19 Entered
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                             Exhibit    Page 657  of 680
                          Exhibit 1-29 Page 499 of 500
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                            156-1 Filed
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                                                              06/28/19 15:36:30
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                             Exhibit    Page 658  of 680
                          Exhibit 1-29 Page 500 of 500
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 659 of 680




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 Case9:18-ap-01058-DS
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                            Exhibit
                          Main DocumentPage 660  of 680
                                              Page 1 of 4
Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/02/19
                            204 Filed     03/31/20 Entered
                                                     Entered10/02/19
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                            Exhibit
                          Main DocumentPage 661  of 680
                                              Page 2 of 4
Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/02/19
                            204 Filed     03/31/20 Entered
                                                     Entered10/02/19
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                            Exhibit
                          Main DocumentPage 662  of 680
                                              Page 3 of 4
Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/02/19
                            204 Filed     03/31/20 Entered
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                            Exhibit
                          Main DocumentPage 663  of 680
                                              Page 4 of 4
Case
Case 9:18-ap-01058-DS
     9:18-ap-01058-DS   Doc
                        Doc 236-1
                             204-1 Filed
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                              Exhibit    Page 664  of 680
                        Exhibit Return of Service Page 1 of 1
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 665 of 680




         EXHIBIT E
Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/03/19
                            207 Filed
                            136           03/31/20 Entered
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                            Exhibit
                          Main DocumentPage 666  of 680
                                              Page 1 of 8
                                                        4


                         STATUS CONFERENCE PROCEDURES
                           JUDGE DEBORAH J. SALTZMAN


           1.     The Court will set an initial status conference in all adversary
    proceedings to be held approximately 60 days after the matter is filed and in all
    chapter 11 cases to be held approximately 30 – 40 days after the matter is filed.
    Trial counsel must appear at the initial adversary proceeding status conference in
    person, and debtor’s counsel must appear at the initial chapter 11 status
    conference in person. Unless otherwise ordered by the Court, parties and
    counsel may attend subsequent status conferences telephonically in accordance
    with Judge Saltzman’s telephonic appearance procedures, which are available
    on the Court’s website, www.cacb.uscourts.gov, by clicking on “Information,” and
    then the judge’s name.

            2.      A thorough, written status report, filed 14 days in advance, is
    required before each adversary proceeding and chapter 11 status conference.
    For adversary proceeding status conferences, the status report must be a Joint
    Status Report in a form substantially similar to Local Rule Form F 7016-
    1.STATUS.REPORT. This form is available on the Court’s website, and the
    plaintiff shall attach a copy of the form to this document as Exhibit A. Failure to
    file such a Joint Status Report may result in the imposition of monetary sanctions
    and/or the status conference being continued and parties being ordered to redo
    the status report to conform to the Local Rule Form.

           3.      Pursuant to Local Bankruptcy Rule 7016-1(a)(3), if a defendant has
    not responded to the complaint or fails to cooperate in the preparation of a joint
    status report, the plaintiff is required to file a unilateral status report not less than
    10 days before the date scheduled for the status conference. This unilateral
    status report should contain the information in Sections A-E of Local Rule Form
    F 7016-1.STATUS.REPORT, which the plaintiff shall attach to this document as
    Exhibit A. The unilateral status report shall include a declaration setting forth the
    attempts made by the plaintiff to contact or obtain the cooperation of the
    defendant in the preparation of a joint status report.

           A status report is not required only in the following limited circumstances:

           A.      The matter is an adversary proceeding and, prior to the date
           scheduled for the status conference, the parties have filed and the Court
           has entered an order approving a stipulation that resolves all issues raised
           by the adversary proceeding and provides either for dismissal of the action
           in its entirety or the entry of judgment in the action.

           B.     The matter is an adversary proceeding, defaults have been entered
           as against all defendants and the plaintiff has filed and served a motion for
           default judgment prior to the date scheduled for the status conference.



                                                                             Revised 3/5/13
Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/03/19
                            207 Filed
                            136           03/31/20 Entered
                                         04/04/19    Entered10/03/19
                                                             03/31/2015:49:23
                                                            04/04/19  15:36:30 Desc
                                                                     14:18:09   Desc
                            Exhibit
                          Main DocumentPage 667  of 680
                                              Page 2 of 8
                                                        4



           C.     The parties have filed, and prior to the date scheduled for the status
           conference, the Court has entered an order approving, a stipulation
           continuing the status conference to a later date (in which case a written
           status report must be filed not less than 14 days in advance of the
           continued status conference date).

           D.      The Court has expressly relieved the parties of the obligation to file
           a written status report.

           4.     Unless one of the four exceptions outlined above applies, status
    reports must be filed in a timely manner. Parties that fail to do so will be subject
    to a minimum sanction of $150, or such other sanctions as may be warranted
    under the circumstances or allowed under Local Bankruptcy Rule 7016-1(f).

           5.     Failure to appear for a status conference in an adversary
    proceeding may result in a minimum sanction of $250, dismissal of the adversary
    proceeding for failure to prosecute or such other sanctions as may be warranted
    under the circumstances or allowed under Local Bankruptcy Rule 7016-1(f).

           6.     If a response to the complaint is not timely filed:

           A.     The plaintiff should file a request for entry of default by the clerk.
           The plaintiff also may request entry of a default judgment by filing and
           serving (if necessary) an appropriate motion; see Fed. R. Bankr. P. 7055
           and Local Bankruptcy Rule 9021-1(d);

                  AND

           B.    No later than ten days prior to the status conference, each
           appearing party must file a Unilateral Status Report (containing the
           information set forth in Sections A-E of Local Rule Form F 7016-
           1.STATUS.REPORT) as required by Local Bankruptcy Rule 7016-1(a)(2).

            7.     If the parties dispute whether the adversary proceeding is “core”
    within the meaning of 28 U.S.C. § 157(b), they must file points and authorities in
    support of their positions. Any party contending that the proceeding is “non-core”
    must file and serve a memorandum of points and authorities and evidence in
    support of its position no less than 14 days before the status conference. Any
    response must be filed at least seven days before the status conference. If a
    party does not file and serve its papers in a timely manner, that failure may
    be deemed consent to whatever determination the Court makes.




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Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/03/19
                            207 Filed
                            136           03/31/20 Entered
                                         04/04/19    Entered10/03/19
                                                             03/31/2015:49:23
                                                            04/04/19  15:36:30 Desc
                                                                     14:18:09   Desc
                            Exhibit
                          Main DocumentPage 668  of 680
                                              Page 3 of 8
                                                        4


            8.     Any party claiming a right to trial by jury must make a timely
    demand as set forth in Local Bankruptcy Rule 9015-2. If the parties dispute
    whether a party has a right to a jury trial, they must file points and authorities in
    support of their positions. Any party asserting a right to a jury trial must file and
    serve a memorandum of points and authorities and evidence in support of its
    position no less than 14 days before the status conference. Any response must
    be filed at least seven days before the status conference. If a party does not
    file and serve its papers in a timely manner, that failure may be deemed
    consent to whatever determination the Court makes.

           9.    Unless otherwise ordered by the Court, within seven days after the
    status conference, the plaintiff must submit a Scheduling Order which complies
    with Local Bankruptcy Rule 7016-1(a)(3).

           10.     Extensions of time to respond to a pleading are ineffective by
    stipulation of the parties unless approved by the Court. The Court is likely to deny
    requests to extend the response deadline to a date within five days of the hearing
    date unless the hearing date is continued to a date which permits the Court
    adequate time to consider the pleadings.

          11.   A copy of these instructions—including Exhibit A, Local Rule Form
    F 7016-1.STATUS.REPORT—must be attached to every copy of the complaint
    served upon a party, and the affidavit of service must state that these instructions
    were served along with a copy of the summons and complaint.




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Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/03/19
                            207 Filed
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                                                            04/04/19  15:36:30 Desc
                                                                     14:18:09   Desc
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                          Main DocumentPage 669  of 680
                                              Page 4 of 8
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                           EXHIBIT A
                  (The plaintiff shall attach a copy of Local Rule Form
                           F 7016-1.STATUS.REPORT here)




                                                                      Revised 3/5/13
         Case
          Case9:18-ap-01058-DS
         Case  9:18-ap-01058-DS Doc
              9:18-ap-01058-DS   Doc236-1
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                                    AP-Summons  Page
                                        Document Page670  of 680
                                                       Page1 5ofof4 8


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &         FOR COURT USE ONLY
Email Address

Christian A Orozco
Lynn Pinker Cox & Hurst LLP
2100 Ross Ave Ste 2700
Dallas, TX 75201
214−981−3800




Plaintiff or Attorney for Plaintiff

                                      UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA − SANTA BARBARA
In re:

                                                                               CASE NO.:    9:16−bk−11912−DS

Channel Technologies Group, LLC                                                CHAPTER:     11


                                                                               ADVERSARY NUMBER:         9:18−ap−01058−DS
                                                                Debtor(s).

Corporate Recovery Associates, LLC

                                                                                            ANOTHER
                                                                Plaintiff(s)
                                Versus
                                                                                   SUMMONS AND NOTICE OF STATUS
                                                                                     CONFERENCE IN ADVERSARY
Blue Wolf Capital Partners, LLC                                                       PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                            Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
05/06/2019. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                June 12, 2019
             Time:                01:00 PM
             Hearing Judge:       Deborah J. Saltzman
             Location:            1415 State St., Crtrm 201, Santa Barbara, CA 93101



             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                   Page 1                        F 7004−1.SUMMONS.ADV.PROC
    Case
     Case9:18-ap-01058-DS
    Case  9:18-ap-01058-DS Doc
         9:18-ap-01058-DS   Doc236-1
                           Doc 136-1    Filed
                                207 Filed     03/31/20
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                                                                  04/04/1915:49:23   Desc
                                                                           14:18:09 Desc
                                                                                     Desc
                                Exhibit
                              Main
                               AP-Summons  Page
                                   Document Page671  of 680
                                                  Page2 6ofof4 8


You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Alias Summons and Notice of Status Conference in Adversary Proceeding: April 4, 2019




                                                                                        By:        "s/" Amber Ortiz
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
    Case
     Case9:18-ap-01058-DS
    Case  9:18-ap-01058-DS Doc
         9:18-ap-01058-DS   Doc236-1
                           Doc 136-1    Filed
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                                Exhibit
                              Main
                               AP-Summons  Page
                                   Document Page672  of 680
                                                  Page3 7ofof4 8



                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Corporate Recovery Associates, LLC                                           Blue Wolf Capital Partners, LLC
                                                                             Blue Wolf Capial Fund II, L.P.
                                                                             Gladstone Investment Corporation
                                                                             Blue Wolf Capital Advisors L.P.
                                                                             BW Piezo Holdings, LLC
                                                                             Fidus Investment Corporation
                                                                             Fidus Mezzanine Capital II, L.P.
                                                                             Avante Mezzanine Partners SBIC, LP
                                                                             Avante Mezzanine Partners II, Inc.
                                                                             Pengdi Han, Dhan, LLC
                                                                             Grant Thornton, LLP
                                                                             CTG Advanced Materials, LLC
                                                                             CTS Corporation
                                                                             Electro Optical Industries
                                                                             Duff & Phelps
                                                                             CIT BANK, N.A.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
Case
 Case9:18-ap-01058-DS
      9:18-ap-01058-DS Doc
                        Doc236-1    Filed10/03/19
                            207 Filed     03/31/20 Entered
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                            Exhibit
                          Main DocumentPage 673  of 680
                                              Page 8 of 8
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 674 of 680




         EXHIBIT F
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 675 of 680
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 676 of 680
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 677 of 680
Case 9:18-ap-01058-DS   Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30   Desc
                             Exhibit Page 678 of 680




                EXHIBIT F-1
     Case 9:18-ap-01058-DS Doc 236-1 Filed 03/31/20 Entered 03/31/20 15:36:30 Desc
Department of Defense Manpower Data Center Page 679 of 680
                                  Exhibit                              Results as of : Nov-11-2019 12:01:50 PM

                                                                                                                                                                                         SCRA 5.1




SSN:                          XXX-XX-5753
Birth Date:
Last Name:                    HAN
First Name:                   PENGDI
Middle Name:
Status As Of:                 Nov-11-2019
Certificate ID:               XPVMS2TDZG3371P

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
          Case 9:18-ap-01058-DS                    Doc 236-1           Filed 03/31/20            Entered 03/31/20 15:36:30                    Desc
                                                         Exhibit
The Defense Manpower Data Center (DMDC) is an organization             Page 680
                                                              of the Department           of 680
                                                                                    of Defense    (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
